        Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 1 of 534




        ****EXECUTIONS SCHEDULED FOR APRIL 17, 20, 24, and 27, 2017****
                                                                               FILED
                      IN THE UNITED STATES DISTRICT COURT EAST~·RNi'fllHfc!r«i'1t'l'1is
                     FOR THE EASTERN DISTRICT OF ARKANSAS                               AS
                                                                                MAR! 7 2017
JASON McGEHEE, STACEY JOHNSON,                    )
BRUCE WARD, TERRICK NOONER,                       )
JACK JONES, MARCEL WILLIAMS,                      )
KENNETH WILLIAMS, DON DAVIS,                      )
and LEDELL LEE,                                   )
                                                  )
                             Plaintiffs,          )
                                                  )
                                                                          4:17-cv-00179-KGB
v.                                                )      Case Number___~~-
                                                  )
ASA HUTCHINSON, Governor of the                 )
State of Arkansas, in his official capacity, and)
WENDY KELLEY, Director, Arkansas                )
Department of Correction,                       )
in her official capacity,                       )
                           Defendants.          )

                                       COMPLAINT

1. Plaintiffs are nine inmates currently on death row in Arkansas. The Governor has set

     eight of their execution dates for a ten-day period at the end of April, with two

     executions to occur back-to-back on four separate nights. The executions are

     scheduled as follows, at a time not yet disclosed to inmates or their counsel:

            •   Don Davis and Bruce Ward on April 17, 2017;

            •   Stacey Johnson and Ledell Lee on April 20, 2017;

            •   Marcel Williams and Jack Jones on April 24, 2017; and

            •   Jason McGehee and Kenneth Williams on April 27, 2017.
          Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 2 of 534



   The order of executions on each date is unknown.

2. Plaintiffs bring this action under 42 U.S.C. § 1983 for (1) violations and threatened

   violations of their right to be free from cruel and unusual punishment under the

   Eighth and Fourteenth Amendments to the United States Constitution; (2) violations

   and threatened violations of their right to counsel during the pre-execution period,

   as guaranteed by 18 U.S.C. § 3599; and (3) violations of their right to access the

   courts and to § 3599 counsel during the executions themselves. Plaintiffs seek

   equitable, injunctive, and declaratory relief.

Jurisdiction and Venue

3. Jurisdiction over this matter arises under 28 U.S.C. §§ 1331 (federal question) and

   1343(a)(3) (civil rights violations and equitable relief under an act of Congress). This

   Court also has jurisdiction to enforce its orders appointing counsel under 18 U.S.C. §

   3599.

4. Venue is appropriate in the Eastern District of Arkansas under 28 U.S.C. § 1391(b).

Parties

5. Plaintiffs are all citizens of the United States and of Arkansas. They are all death-

   sentenced inmates currently incarcerated at the Varner facility of the Arkansas

   Department of Correction ("ADC"), which is in the Eastern District of Arkansas and

   under Defendants' supervision and control. With the exception of Nooner, Plaintiffs

   all have pending execution dates as set out in Paragraph 1.


                                             2
        Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 3 of 534



6. Defendant Wendy Kelley is the Director of the ADC. She or her designee is

   statutorily responsible for "order[ing] the dispensation and administration of the

   drug or drugs ... for the purpose of carrying out the lethal-injection procedure."

   Ark. Code Ann.§ 5-4-617(b). Kelley is statutorily responsible for conducting "an

   execution for a sentence of death" or for designating "some assistant or assistants"

   to do so. Ark. Code Ann.§ 16-90-502(b), (d). Kelley alone is responsible for

   "develop[ing] logistical procedures necessary to carry out the sentence of death."

   Ark. Code Ann.§ 5-4-617(g).

7. Defendant Asa Hutchinson is the Governor of Arkansas. He is the final executive

   authority in the state. As Governor, Hutchinson is statutorily responsible for setting

   execution dates by warrant. Ark. Code Ann. § 16-90-507(a). The Governor also has

   the power to suspend execution of a judgment of death. Ark Const. art. 6, § 18; Ark.

   Code Ann.§ 16-90-506(c)(l).

Facts

   A. Arkansas's lethal-injection protocol.

8. Arkansas statute provides two options for execution by lethal injection: "(1) a

   barbiturate; or (2) Midazolam, followed by vecuronium bromide, followed by

   potassium chloride." Ark. Code Ann.§ 5-4-617(c).

9. Kelley has adopted a written and largely undisclosed lethal-injection protocol for

   executions using midazolam ("midazolam protocol").


                                            3
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 4 of 534



10. The entirety of Plaintiffs' knowledge about the midazolam protocol is encompassed

   in a public document known as "Attachment C." Attachment C describes the

   procedure for mixing the execution drugs and for injecting them into Plaintiffs. This

   document is attached to this Complaint as Exhibit 1.

11. Attachment C calls for the drugs to be administered in the following manner. First,

   the executioner will inject 500 mg of midazolam, which is intended to-but which,

   as described further below, will not-render the condemned inmate insensate to the

   pain caused by the subsequent drugs. Second, five minutes after the midazolam has

   been injected, the executioner will inject 100 mg of vecuronium bromide, which is

   intended to paralyze the condemned inmate. Third, the executioner will inject 240

   mEq of potassium chloride, which is intended to stop the condemned inmate's heart

   and to cause his death.

12. Between injection of the midazolam and injection of the vecuronium bromide,

   Attachment C calls for the ADC' s Deputy Director, or his designee, to "confirm the

   condemned inmate is unconscious by using all necessary and medically-appropriate

   methods." If the condemned inmate remains conscious, the executioner will inject

   another 500 mg midazolam. Attachment C is silent on what happens if the

   condemned inmate remains conscious after that.

13. Attachment C calls for IV lines to be set up by an unknown number of people called

   the "IV team." Members of the IV team are to have at least two years of professional


                                            4
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 5 of 534




   experience in one of the following disciplines: emergency medical technician-

   intermediate; emergency medical technician-paramedic; nurse; physician assistant;

   or physician. The Deputy Director or his designee, who is the person directly in

   charge in the execution chamber, is not required to have these qualifications, though

   she must be "healthcare trained, educated, and/or experienced in matters related to

   the establishment and monitoring of IVs, the mixing and administration of the

   chemicals, and assessing the presence or absence of consciousness." If there is a

   problem with the IV lines, unknown "trained, educated and experienced person(s)

   necessary to establish a primary IV line as a peripheral line or as a central venous

   line will be summoned to facilitate an IV infusion site."

14. Plaintiffs have sought additional information about the lethal-injection procedure.

   See Exhibit 2. Kelley's counsel responded to these requests in a letter dated March

   15, 2017, attached as Exhibit 3, as follows:

       a. Kelley refuses to disclose execution protocols besides Attachment C.

      b. Kelley has no documents establishing whether the IV team members will

          remain the same during the eight executions that Kelley intends to carry out

          from April 17, 2017, to April 27, 2017.

       c. Kelley has no documents other than Attachment C explaining what she

          considers to be "necessary and medically-appropriate methods" for




                                             5
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 6 of 534



          determining whether a condemned inmate is unconscious after the injection

          of midazolam.

       d. Kelley has no documents other than Attachment C concerning plans for

          suspending the execution should there be a problem with the IV lines.

      e. Kelley has no documents establishing a contingency plan for stopping the

          execution if the condemned inmate appears to be conscious after the

          midazolam is administered.

   B. Botched midazolam executions.

15. Since 2014, there have been at least four botched executions across the United States

   using midazolam.

      a. On January 16, 2014, Ohio executed Dennis McGuire using a combination of

          10 mg midazolam and 40 mg hydromorphone. The execution took twenty-

          five minutes and "was accompanied by movement and gasping, snorting and

          choking sounds." Erica Goode, After a Prolonged Execution in Ohio, Questions

          over 'Cruel and Unusual', N.Y. TIMES, Jan. 17, 2014, available at

          http://nyti.ms/2gl0Uyl.

      b. On April 29, 2014, Oklahoma executed Clayton Lockett using 100 mg

          midazolam followed by a paralytic and potassium chloride. Lockett awoke

          during administration of the second and third drugs. Though the execution

          was halted, Lockett died forty minutes after the execution began. See Glossip


                                              6
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 7 of 534



   v. Gross, 135 S. Ct. 2726, 2782 (2015) (Sotomayor, J., dissenting). This execution

   was scheduled to be a double execution, with Lockett followed by Charles

   Warner. After the botch, the Oklahoma Department of Public Safety

   concluded that executions should be spaced at least seven days apart. See

   Exhibit4.

c. On July 23, 2014, Arizona subjected Joseph Wood to an execution in which he

   was injected with 750 mg midazolam and 750 mg hydromorphone. Wood

   "gasped and snorted for nearly two hours" before he finally died. Glossip, 135

   S. Ct. at 2791; see also Mark Berman, Arizona Execution Lasts Nearly Two Hours;

   Lawyer Says Joseph Wood Was 'Gasping and Struggling to Breathe,' WASH. POST,

   July 23, 2014, http://wapo.st/2nsiJrk. Wood's attorneys convened a hearing

   during the execution. See Exhibit 5.

d. Most recently, on December 8, 2016, Alabama executed Ronald Bert Smith

   using 500 mg of midazolam followed by 600 mg of rocuronium bromide

   followed by 240 mEq potassium chloride. This protocol is effectively the same

   as the one Arkansas intends to use. During the execution, which took thirty-

   four minutes, Smith "was apparently struggling for breath as he heaved and

   coughed for about 13 minutes." Mark Berman & Robert Barnes, After Divided

   Supreme Court Allows Alabama Execution, Inmate Heaves and Coughs During

   Lethal Injection, WASH. POST, Dec. 9, 2016, available at http://wapo.st/2hnRs7p.

                                      7
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 8 of 534



          According to Spencer Hahn, an attorney for Smith present at the execution,

          two minutes after the midazolam began flowing, Smith began having

          "regular asthmatic-sounding barking coughs every ten seconds or so."

          Exhibit 617. "He also lifted his head and looked around, moved his arms,

          clenched his left hand, and moved his lips in what appeared to be an attempt

          to say something. [His] eyes never closed, and he moved and coughed

          regularly throughout approximately the next fifteen minutes." Id. Smith was

          awake after the first consciousness check, "as he was still moving his head,

          hands and arms, coughing, and attempting to speak." Id. 18. After the second

          consciousness check, Smith's "eyes remained open" (despite a guard's

          attempt to push his left eye closed), and Smith "moved his right arm." Id.

          110-11. "Shortly thereafter, they must have administered the paralytic, as

          [Smith's] breathing became very shallow and he stopped moving. His eyes

          remained open, with the left eye opening further as his breathing became

          imperceptible." Id. 111.

16. In light of midazolam' s obvious impropriety as an execution drug, state corrections

   departments have abandoned it. Kentucky abandoned it in 2014. Arizona has

   recently agreed that it will never again use midazolam in an execution. Florida has

   eliminated midazolam from its most recent execution protocol.




                                            8
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 9 of 534



   C. Kelley's drug supply.

17. Arkansas statute allows Kelley to choose the quality of the drugs she will use in

   executions. The drugs may be "approved by the United States Food and Drug

   Administration [("FDA")] and made by a manufacturer approved by the [FDA]" or

   they may be "obtained by a compounding pharmacy that has been accredited by a

   national organization that accredits compounding pharmacies." Ark. Code Ann. § 5-

   4-617(d).

18. Compounded drugs are much riskier than FDA-approved drugs. FDA-approved

   drugs come with manufacturer-provided labels; compounded drugs do not. Kelley

   has previously provided (redacted) labels for the midazolam and the vecuronium

   bromide. She has refused to provide labels for the potassium chloride.

19. Kelley obtained the ADC's supply of midazolam sometime in the summer of 2015.

   Its expiration date is April 2017. Kelley obtained the vecuronium bromide in July

   2016. Its expiration date is March 1, 2018. Kelley obtained the potassium chloride in

   March 2017. Its expiration date is August 2018.

20. Kelley has previously tested some of the ADC' s execution drugs to ensure their

   purity and potency. She tested the current supply of midazolam in November 2015

   and provided Plaintiffs with a redacted report showing the midazolam was

   sufficiently potent at that time. See Exhibit 7. She tested the vecuronium bromide in




                                            9
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 10 of 534



   July 2016 but has not provided any record of the results. Plaintiffs do not know

   whether she has tested the potassium chloride.

   D., Hutchinson's execution schedule.

21. In Arkansas, the Governor sets execution dates after receiving a letter from the

   Attorney General asking him to do so. On Friday, February 24, 2017, the Attorney

   General sent letters requesting execution dates for all Plaintiffs but Nooner. On

   Monday, February 27, Hutchinson ordered the execution schedule set out in

   Paragraph 1.

22. Hutchinson has admitted in press interviews that he scheduled the executions so as

   to exhaust the State's supply of midazolam before it expires. See Matthew Haag &

   Richard Fausset, Arkansas Rushes to Execute 8 Men in the Space of 10 Days, N.Y. TIMES,

   Mar. 3, 2017, available at http://nyti.ms/2ln3kc4.

23. Since the return of the death penalty in Gregg v. Georgia, 428 U.S. 153 (1976), no state

   has carried out executions in such a compressed time frame. No state has attempted

   as many as eight executions in even a month since 1997.

24. No state has conducted a double execution since 2000. The last time a double

   execution was attempted, in 2014, the result was the botched Lockett execution,

   discussed in Paragraph 15b. The Lockett execution spurred an investigation in

   which the Oklahoma Department of Public Safety recommended that "executions

   should not be scheduled within seven calendar days of each other" and that there be


                                             10
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 11 of 534




   sufficient time between executions for a review in which "all involved personnel

   [may] voice their opinions, concerns and/or recommendations in order for

   continuous improvement to the process." See Exhibit 4 at 28.

   E. Kelley's policies governing the execution.

25. Historically, Kelley's predecessors in office have permitted multiple attorneys to

   view executions.

26. Despite Kelley's refusal to share any execution policies besides Attachment C,

   Plaintiffs' counsel have sought additional information about whether each Plaintiff's

   attorneys will be able to witness their client's execution and whether they will have

   access to a phone during the execution. See Exhibit 8.

27. Kelley's counsel has informed Plaintiffs' counsel that if a Plaintiff has more than one

   attorney, only one attorney will be allowed to witness the execution. See Exhibit 9.

28. Kelley's counsel has informed Plaintiffs' counsel that a Plaintiff's attorney will not

   have access to a telephone during the execution if she chooses to view the execution.

   See Exhibit 10.

29. Kelley's predecessor provided Plaintiffs a more complete version of the ADC' s

   execution procedures, AD 08-28, which became effective on May 22, 2008. Exhibit 11.

   AD 08-28 places no restrictions on attorney viewing or phone access during the

   execution. Because Kelley has not provided later versions of the procedures, it is

   unknown when the viewing and telephone policies changed.


                                             11
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 12 of 534




30. Kelley's policies prevent any witness, including the attorneys, from viewing and

   hearing the complete execution process. The policies do not permit witnesses to

   view the execution until the IV lines have been affixed to the prisoner and the drugs

   are ready to flow. Members of the execution team have discretion to pull the curtain

   during drug flow in the event of a problem. Audio to the witness room is shut down

   after the inmate's last words.

CLAIM I (ON BEHALF OF ALL PLAINTIFFS BUT NOONER): THE COMPRESSED EXECUTION
SCHEDULE RESULTS IN DENIAL OF PLAINTIFFS' RIGHT TO COUNSEL PURSUANT TO 18 U.S.C.
§ 3599.

31. The previous paragraphs of this complaint are incorporated by reference as if fully

   stated herein.

32. The execution of eight of the Plaintiffs in a period of ten days denies each of them

   the effective representation of counsel, which was guaranteed to them when they

   were appointed counsel by the federal courts under 18 U.S.C. § 3359.

   Unambiguously, this federal statute provides that death-sentenced inmates are

   entitled to appointment of counsel. The statute recognizes that counsel is authorized

   to represent Plaintiffs in various stages of capital litigation including "applications

   for stays of execution and other appropriate motions and procedures, and shall also

   represent the defendant in such competency proceedings and proceedings for

   executive or other clemency as may be available to the defendant."




                                            12
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 13 of 534




33. Each Plaintiff set to be executed has been appointed counsel under this statute. The

   current execution schedule, in a serial fashion and with only two months' notice for

   the setting of all eight execution dates, denies each of them the effective

   representation of counsel in each of the areas guaranteed by § 3599, including, but

   not limited to, effective and meaningful representation during executive clemency

   proceedings, effective and meaningful representation in competency proceedings,

   effective and meaningful representation concerning stays of ex~cutions, and

   effective and meaningful representation in other motions and proceedings

   concerning execution of their sentence of death. See Harbison v. Bell, 556 U.S. 180, 190

   (2009).

34. The current schedule places an inordinate burden on counsel, who represent

   multiple clients with execution dates. Consequently, it has a deleterious effect on the

   adequacy of the legal representation counsel is able to provide. The effect of the

   compressed execution schedule amounts to denial of counsel contemplated by§

   3599. This denial can easily be remedied by spreading the execution dates out over a

   more reasonable time period.

35. Counsel must prioritize any client who is facing an execution date. However, an

   execution date does not dispel deadlines in counsel's other pending cases. The

   burden of an execution date upon a pre-existing caseload is expected. The undue




                                            13
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 14 of 534




   burden of multiple execution dates upon counsel's caseload is rare and extremely

   difficult. This burden erodes effectiveness of representation.

36. Each Plaintiff has been appointed counsel by either the United States District Court

   for the Eastern or Western District of Arkansas under 18 U.S.C. §3599. 21 U.S.C. §

   848(q) was recodified in 2006 as 18 U.S.C. § 3599. The provisions in§ 848 remain the

   same. See Harbison, 556 U.S. at 190.

37. On March 7, 2000, Jack Jones moved for appointment of counsel under 21 U.S.C. §

   848 and McFarland v. Scott, 512 U.S. 849 (1994). Motion, No. 4:00mc0008-JMM, E.D.

   Ark., ECF Doc. 1. This motion was granted on April 1, 2000, and counsel was

   appointed. Order, ECF Doc. 2. Jeff Rosenzweig represents Jones.

38. On July 27, 2001, Don Davis moved for appointment of counsel. Motion, No. 5:01-cv-

   05188, W.D. Ark., ECF Doc. 1. This motion was granted on August 2, 2001, and Al

   Schay was appointed. Order, ECF Doc. 2. On May 13, 2004, Deborah Sallings was

   appointed as pro bono counsel without compensation. Order, ECF Doc. 34. After Al

   Schay's death in January 2016, on March 20, 2017, the Court entered an order

   appointing the Capital Habeas Unit of the Federal Public Defender for the Eastern

   District of Arkansas to represent Davis under 18 U.S.C. § 3599. Order, ECF Doc. 45.

39. On September 17, 2002, Jason McGehee moved for appointment of counsel. Motion,

   No. 4:02-mc-00015-SWW, E.D. Ark., ECF Doc. 1. On the.same day, an order was




                                           14
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 15 of 534




   entered appointing Al Schay and the Federal Public Defender's Office for the

   Eastern District of Arkansas. Order, ECF Doc. 2.

40. On February 25, 2002, Al Schay moved to be appointed to represent Marcel

   Williams. Motion, Case No. 4:02mc00005SMR, E.D. Ark., ECF Doc.1. This motion

   was granted on March 18, 2002. Order, ECF Doc. 5. On November 12, 2002, Schay

   moved that the Federal Public Defender's Office for the Eastern District of Arkansas

   be appointed as co-counsel. Motion, ECF Doc. 6. This request was granted on

   December 2, 2002. Order, ECF Doc. 7.

41. On July 12, 2004, Kent Gipson and William C. Odle moved to be appointed to

   represent Ledell Lee "pursuant to U.S.C. § 848(q)(B) and 18 U.S.C. § 3006(A)."

   Motion, No. 5:01cv00377 JH, E.D. Ark., ECF Doc. 26 at 1. On July 28, 2004, this

   motion was granted. ECF Doc. 27. Subsequently, Gary Brotherton was substituted

   for Odle. On May 24, 2016, Gipson sought to withdraw. ECF Doc. 148. This motion

   was denied on July 18, 2016. ECF Doc. 155. On August 16, 2016, Lee Short was

   permitted to substitute for Brotherton, as Brotherton had been suspended from the

   Missouri Bar because of mental illness. ECF Doc. 157.

42. On May 23, 2006, Stacey Johnson moved for appointment of counsel under 21 U.S.C.

   § 848 and McFarland v. Scott, 512 U.S. 849 (1994). Motion, No. 4:06mc00017GH, E.D.

   Ark., ECF Doc. 1. This motion was granted on June 6, 2006, and Jeff Rosenzweig was

   appointed. Order, ECF Doc. 2.


                                           15
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 16 of 534




43. On April 9, 2007, Kenneth Williams moved for appointment of counsel under 21

   U.S.C. § 848 and McFarland v. Scott, 512 U.S. 849 (1994). Motion, No. 4:07mc00008,

   E.D. Ark., ECF Doc. 1. This motion was granted on April 12, 2007, and Jeff

   Rosenzweig was appointed. Order, ECF Doc. 2.

44. On August 26, 2015, Jennifer Merrigan was appointed to represent Bruce Ward

   along with the Federal Public Defender's Office for the Eastern District of Arkansas.

   Order, No. 5:03-cv-00201-BSM, E.D. Ark., ECF Doc. 170. The Federal Public

   Defender had been appointed on June 10, 2003. Order, ECF Doc. 5. On December 14,

   2015, the Court granted a motion to permit Joseph Perkovich to substitute for Joe

   Luby. Order, ECF Doc. 174. Merrigan and Perkovich represented two other clients

   who were executed in other states earlier this year, thus reducing the time they have

   had to devote to Ward's case and requiring them to rely on the work of the CHU.

45. Undersigned attorney Jeff Rosenzweig represents Stacey Johnson, Jack Jones, and

   Kenneth Williams individually with effectively no co-counsel. Dale Adams was also

   appointed to represent Jones, but Adams' s recent involvement has been limited to

   correspondence with Jones and the ADC on some of Jones's medical issues. Gerald

   Coleman was appointed to represent Johnson. Coleman has performed essentially

   no work on the case. Rosenzweig is also co-counsel for Jason McGehee.

46. Undersigned attorneys from the Federal Public Defender's Capital Habeas Unit

   (CHU) for the Eastern District of Arkansas represent Marcel Williams and Jason


                                           16
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 17 of 534




   McGehee. The CHU is also co-counsel for Bruce Ward and Don Davis. Of note,

   Bruce Ward and Don Davis are scheduled to be executed on the same day during

   the first round of executions.

47. Undersigned attorney Lee Short represents Ledell Lee. Short only came into the case

   after Lee's longtime attorney Gipson unsuccessfully sought to withdraw. Short has

   been provided only seven months to become knowledgeable about Lee's case, to

   create a working relationship with Lee, and to begin investigation for potential

   litigation and clemency issues. Gipson, who is technically still appointed, has been

   unable to provide guidance.

48. The scheduling of eight executions in ten days unduly strains the resources of the

   CHU office, of Jeff Rosenzweig, and of Lee Short; requires an inordinate amount of

   counsel's time; and significantly decreases the quality of representation afforded

   Plaintiffs.

49. There is a small community of counsel qualified to represent an inmate under

   warrant of death. The complexity of a capital case, including the voluminous record,

   prevents last-minute entry of alternate counsel to alleviate the burden of multiple

   execution dates on current counsel.

50. This hardship is further exacerbated by the fact that these executions were

   announced and set on February 27, 2017, giving all counsel less than sixty days to

   prepare for these executions, consult with their clients, apply for clemency, and


                                           17
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 18 of 534




   litigate important constitutional claims on an exceptionally short and altogether

   inadequate timetable.

51. There is no more serious undertaking than representing a client facing a death

   sentence. This undertaking is most serious when the client is under a death warrant.

   Multiple death-penalty attorneys will attest to the enormous responsibility placed

   on capital counsel once execution warrants are set. See Exhibit 12 (Declaration of

   Brian Mendelsohn); Exhibit 13 (Declaration of Robert Edward Lee, Jr.); Exhibit 14

   (Declaration of Dale A. Baich). Those responsibilities include the following:

   a. Counsel must litigate issues not legally available until an execution is imminent,

      such as challenges to competency to be executed. See, e.g., Panetti v. Quarterman,

      551U.S.930, 942-48 (2007) (claims regarding competency to be executed not ripe

      until after an execution date has been scheduled).

   b. Counsel must pursue executive clemency, which, in Arkansas, is not available to

      an inmate until his execution date is set. This pursuit includes extensive

      investigation and preparation of the petition.

   c. Counsel must pursue challenges that seek to ensure that any execution process is

      fair and that do not ripen until the execution process is set in place. See Ohio

      Adult Parole Authority v. Woodard, 523 U.S. 272 (1998).




                                            18
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 19 of 534




   d. Counsel must frequently consult with the client, must communicate with the

       client's family and friends, and must make arrangements with the client in the

       event he is executed.

    e. Counsel must determine whether issues disposed of in earlier proceedings may

      be revisited due to subsequent developments in the law.

52. Rosenzweig and the CHU attorneys will potentially be required to challenge the

   execution process up until moments before, or even during, the execution itself.

   Then they will have to continue challenging that process for another client just

   minutes after watching another client die.

53. Congress recognized that taking on these substantial obligations takes significant

   time. The legal proceedings in death-penalty cases are notoriously lengthy and

   complex. Establishing a detailed understanding of these proceedings is a time-

   consuming task and a basic prerequisite to competent performance. Competent

   representation of inmates under an execution warrant takes substantial time.

54. Competent representation of a client under an execution warrant also takes

   substantial emotional resources. Competent representation in capital cases requires

   establishing a relationship of trust with the client. In the context of this relationship,

   the client will often share the most sensitive details of his life. No matter how

   professional the relationship between a death-sentenced client and his counsel,

   having a client executed is a uniquely taxing professional experience.


                                             19
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 20 of 534




55. The scheduled pace of executions is preventing and will prevent Plaintiffs' counsel

   from performing competently as contemplated by Congress when it enacted§ 3599.

   It is professionally and emotionally impossible to pursue all avenues of litigation

   and defense available to each Plaintiff currently scheduled for execution due to (1)

   the setting of executions with such short notice, which drastically compresses the

   amount of time available to prepare clemency petitions and litigation and (2) the

   setting of eight executions to occur over a span of just ten days when certain

   Plaintiffs are represented by the same counsel.

56. It will be professionally and emotionally impossible for counsel to fully, adequately,

   and competently represent a client by witnessing his execution and raising

   challenges (if warranted) while also preparing for the execution of another client

   either on the same night or within a matter of days-time after time after time.

57. Even if competent representation of a single client were possible in the expedited

   timeframe in which these executions were set, the physical and psychological toll of

   litigating under warrant and losing one or more clients prevents competent

   representation of subsequent clients. Additionally, the impending prospect of losing

   additional clients detracts and distracts from the ability to fully focus on critical

   matters that may arise in the days and moments leading up to-and during-

   executions of Plaintiffs that are scheduled on the first date.




                                             20
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 21 of 534




58. Undersigned counsel also have other pre-existing cases and responsibilities,

   including other clients whose cases must still be litigated. The burden imposed by

   multiple death warrants will prevent adequate and competent advocacy in those

   cases, potentially giving rise to more issues-including ineffective assistance of

   counsel-to be litigated in the future.

Denial of Counsel in Clemency Proceedings

59. The right to effective and meaningful counsel in state clemency proceedings is

   guaranteed by 18 U.S.C. § 3599. Harbison v. Bell, 556 U.S. 180 (2009). A clemency

   application alone is a substantial undertaking, requiring a "complete and

   persuasive" presentation, "utilizing all appropriate resources in support (e.g.,

   relevant outside organizations, the trial judge, prominent citizens), and discussing

   explicitly why the clemency-dispenser should act favorably notwithstanding the

   repeated affirmation of the client's conviction and sentence by the judicial system."

   ABA Guidelines for the Appointment and Performance of Defense Counsel in Death

   Penalty Cases(" ABA Guidelines"), Guideline 10.15.2: Duties of Clemency Counsel

   (Feb. 2003).

60. Preparing for the clemency process requires a thorough examination of all prior

   phases of the case and independent investigation to tailor the clemency presentation

   to the client and case. Counsel must also ensure that consideration of the client's

   clemency application is substantively and procedurally just.


                                            21
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 22 of 534




61. Generally, if executions are spaced apart by a period of weeks or months, as they

   have been in the past, counsel is afforded time necessary to give complete focus to

   the client in most imminent danger of execution-including the clemency process (if

   the client desires)-before shifting focus to the next client.

62. Stacey Johnson, Ledell Lee, Marcel Williams, Jason McGehee, and Kenneth Williams

   are all seeking executing clemency. Jeff Rosenzweig is therefore responsible for

   preparing two clemency applications (for Stacey Johnson and Kenneth Williams)

   and preparing for two clemency hearings (and securing witnesses, paperwork, etc.)

   within a span of less than two weeks on very short notice. The CHU likewise is

   responsible for preparing two clemency applications (for Marcel Williams and Jason

   McGehee) and preparing for two day-long clemency hearings (and securing

   witnesses, paperwork, etc.) within a span of less than a week on very short notice.

63. Plaintiffs were given seventeen days at most to file their clemency applications.

   Some were given only eight days. Johnson and Lee had ten days; Marcel Williams

   had fifteen days; McGehee and Kenneth Williams had seventeen. Even seventeen

   days is an insufficient amount of time, especially considering counsel's other

   professional obligations that are ongoing during this time, including competing

   clemency applications and other obligations to these clients themselves.




                                            22
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 23 of 534




Denial of Counsel for 11 Appropriate Motions and Procedures"
64. The current compressed time period leaves absolutely no time for a critical

   assessment or debriefing period after each execution. Those assessments will

   generally include an autopsy report, review of practices and procedures, gathering

   feedback from participants, checking qualifications of those involved, etc. This is a

   vitally important step in the process and an important safeguard against

   unconstitutional practices.

65. The compressed schedule leaves no time for this critical assessment period after the

   initial execution and no time for an assessment period after the subsequent

   executions until the last one is performed. Counsel rely on these assessments to

   determine whether Defendants' actual practices (as opposed to the written protocol,

   which is far from exhaustive) are in line with what is required by state law and the

   United States Constitution. This compressed schedule prevents counsel from

   presenting meaningfully "any appropriate motion" or initiating any meaningful

   "procedure" concerning the executions as they happen over the ten-day period.

Denial of Counsel for "Applications for Stays of Execution"

66. Under the ABA Guidelines, the paramount duty of counsel in a capital case is to

   seek a stay of execution. Guideline 10.15.l(B). This duty is reflected in§ 3599 which




                                           23
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 24 of 534




   mandates that counsel pursue "applications for stays of execution and other

   appropriate motions and procedures."

67. The execution of eight inmates in a period of ten days denies each of them the

   effective representation of counsel guaranteed by 18 U.S.C. § 3359. Harbison v. Bell,

   556 U.S. 180, 190 (2009).

68. It is an impossible task for counsel to effectively litigate on behalf of each client

   during overlapping periods of time, or to litigate on behalf of one client and then

   gear up within minutes or hours to zealously advocate for the next client on the

   assembly line of death.

69. Stays of executions are often litigated until the final moments before an execution

   takes place and may even be litigated during an execution if an issue arises.

70. Counsel will be required to visit with each client numerous times during the period

   leading up to the client's execution, especially in the days just before and the day of

   the scheduled execution. This entails travel to and from Grady, Arkansas, from

   counsel's offices in Little Rock, as well as time spent going through security and

   with the client himself. Counsel will likely make daily trips to and from Grady

   during the critical time period, beginning just before the first scheduled executions

   (over Easter weekend) and throughout the following weeks as additional clients are

   scheduled for execution. At the same time, counsel must also be litigating

   vigorously on behalf of each client, coordinating with each client's family and


                                              24
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 25 of 534




   friends, and making practical arrangements attendant to an execution. It is simply

   not possible for counsel to perform effectively in these circumstances.

71. Furthermore, the current schedule places counsel in violation of both state and

   federal ethical guidelines.

72. Arkansas Rule of Professional Conduct 1.3 mandates that counsel "shall act with

   reasonable diligence and promptness in representing a client." Comment 2 to this

   Rule states that a "lawyer's work load must be controlled so that each matter can be

   handled competently." The scheduling of executions for three or four clients

   represented by a single counsel or office within a ten-day period presumptively

   violates this state ethical duty.

73. Guideline 10.3 of the ABA Guidelines states that counsel should limit their caseloads

   so as to provide "each client with high quality legal representation in accordance

   with" the ABA Guidelines.

74. Because counsel in these circumstances must be familiar with complex and nuanced

   issues that arise in litigation for stays of executions and the clemency process, as

   well as with the extensive record of the case and with the client himself, counsel

   cannot unload a case onto new counsel at the last minute. That in itself would

   violate counsel's ethical obligations to the client.

CLAIM II (ON BEHALF OF ALL PLAINTIFFS BUT NOONER): EXECUTIONS IN THE CURRENT
COMPRESSED TIMEFRAME VIOLATE THE EIGHTH AMENDMENT.




                                             25
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 26 of 534




75. The previous paragraphs of this complaint are incorporated by reference as if fully

   stated herein.

76. Governor Hutchinson has scheduled eight men to be executed over the span of ten

   days, commencing on Easter Monday, April 17, 2017, with two men to be executed

   on each of four nights as set out in Paragraph 1. This compressed schedule poses an

   unnecessary and objectively intolerable risk of substantial harm that is sure or very

   likely to occur. The compressed ,,schedule is also contrary to evolving standards of

   human decency.

77. Because the death penalty is the most serious penalty available to a state, and

   because of its unique irrevocability, the procedures for such penalty must be

   implemented in a reasoned, deliberate, and ultimately constitutional manner.

78. Any execution imposes an extraordinary amount of stress on corrections officers

   and others involved in the elaborate process.

79. The stress is multiplied when multiple executions are scheduled for the same day, or

   when executions are scheduled without a reasonable period for rest, recovery, and

   assessment, including participants' self-assessment of their well-being and

   willingness to participate in additional executions.

80. As former corrections officials attest, the stress placed on corrections officers during

   a ten-day string of executions will heighten physical and mental fatigue, will

   prevent any meaningful post-execution review of death-chamber procedures, and


                                             26
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 27 of 534




   will accordingly increase the risk that the condemned inmate will suffer during the

   execution. "[I]t would essentially be professional malpractice for only department of

   corrections official to attempt to stage eight executions as currently scheduled in

   Arkansas." Exhibit 15 at 6 (Declaration of Jennie Lancaster).

81. Execution teams are generally made up largely of staff from the department of

   corrections. Corrections officers are not hired executioners. They are tasked with the

   protection of inmates in the custody of the department of corrections. Killing people

   is certainly outside their regular course of duty and is an extraordinary task.

82. The intricacies of an execution go far beyond what happens during the final hour.

   Each step in the process requires focus and attention to detail. Just one mistake at

   any point can have disastrous consequences.

83. The people who will make up the execution team(s) for Plaintiffs' scheduled

   executions will be called upon to take part in the killing of an otherwise healthy

   human being, under intense scrutiny and pressure, in a process that they have little

   to no prior experience with, using a drug that has not been used before for

   executions in this State. And then they are going to be asked to do it again. And then

   come back to work and do it again. And again. And again:. And again. And again.

   And finally again for the eighth time. With little to no rest in between.

84. Once the execution or double-execution process is over, the veil of secrecy

   enshrouding that process prevents the participants from seeking solace from their


                                            27
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 28 of 534




   friends, church groups, or even co-workers. The State has indicated in

   communications with the press that counseling will be made available to all staff

   members involved. Given the current schedule, however, staff members will have

   no meaningful opportunity to receive any necessary or desired counseling between

   executions, particularly those executions scheduled for the same day. The

   availability of such counseling is necessary to ensure a healthy and appropriate

   mindset and level of focus and professionalism required for each execution.

85. Physical, emotional, and mental fatigue of those involved in this execution schedule

   substantially increases the risk that a critical detail will be overlooked, that a mistake

   will be made, and that Plaintiffs will unconstitutionally suffer the consequences.

86. Defendants' obligations do not cease once an execution has been performed. For

   instance, procedures must be followed for appropriate handling and medical review

   of the body. Each Plaintiff's property must be accounted for and distributed to a

   designated person or persons. Each Plaintiff has a family and friends who will be

   impacted by these executions, and Defendants have a responsibility to ensure that

   appropriate outreach is made to those people. All of this activity will presumably be

   ongoing at the same time other executions are being prepared for and carried out.

87. Preparation for each individual execution requires individual attention to each

   Plaintiff. Each Plaintiff must be medically evaluated and have their vein viability

   checked. Each Plaintiff is to be provided access to a spiritual adviser. Each Plaintiff


                                             28
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 29 of 534




   must be counseled on an individual basis about what to expect during their

   executions. Traditionally, each Plaintiff would receive a last meal of their choosing

   before their execution. In the days leading up to the execution, Plaintiffs will be

   transported to the death house. Provisions must be made to house multiple death-

   row inmates in a different facility to await their executions. Visits from family

   members, legal counsel, and spiritual advisers are to be accommodated. A detailed

   log is to be made of each Plaintiffs' activities while they await execution. The drugs

   to be used in each execution must be measured, mixed, put in syringes, and

   transported to the death house. Equipment must be inventoried and inspected. All

   of these things, and more, are required of the numerous people involved in the

   preparation for each execution, before the actual execution even begins. All of these

   actions are significant in ensuring that the human dignity of each condemned man is

   retained in our civilized society in accordance with the Constitution.

88. In light of the complex and coordinated nature of executions, and the intense

   scrutiny under which they are performed, the increased stress of even two

   executions in quick succession poses an objectively intolerable risk of substantial

   harm. That risk is compounded by the prospect of doing eight executions in quick

   succession.

89. If Defendants proceed with this schedule, they are doing so in deliberate

   indifference to Plaintiffs' constitutional rights. Defendants are on notice that


                                            29
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 30 of 534




   multiple executions, especially those using midazolam, are stressful and likely to

   result in objectively intolerable pain suffered by Plaintiffs. The one state-

   Oklahoma-to even attempt a double execution using midazolam as the first drug in

   a three-drug protocol was unable to complete both executions as scheduled.

90. After the botched execution of Clayton Lockett in Oklahoma, an investigation of

   Oklahoma's execution practices (which were substantially similar to what Arkansas

   has planned) found that intravenous lines in Lockett's case had been mishandled in

   part because of the "extra stress" from the state's scheduling of two executions on

   the same day. After the bungling of Lockett's execution, the second execution

   scheduled for that same day did not occur. The report resulting from the Lockett

   investigation recommended that executions not be scheduled within seven calendar

   days of each other in deference to manpower and facility concerns. See Exhibit 4.

   Those same concerns are heightened in this case, with not one but four double-

   header midazolam executions scheduled over a ten-day period in a state that has not

   performed an execution in over eleven years.

91. The Missouri Supreme Court recently adopted a rule limiting the number of

   executions to be carried out in a one-month period. The rule, effective January 1,

   2016, reads that "[t]he department of corrections shall not be required to execute

   more than one warrant of execution per month." Mo. S. Ct. R. 30.30(£).




                                            30
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 31 of 534




92. In tacit recognition of the unnecessary stress and risk involved in multiple or mass

   executions and in recognition of our society's evolved standards of decency, no state

   (apart from Oklahoma's failed attempt in 2014, which in itself is a cautionary tale)

   has conducted multiple executions in one day in seventeen years. And no state in

   modem history has attempted to execute so many men in such a short time period.

93. Arkansas has not executed anyone since November 29, 2005, and has not carried out

   a dual execution since September 8, 1999. Defendant Kelley has not presided over an

   execution. It is unknown whether any member of the team or teams that will execute

   Plaintiffs has ever participated in an execution. Unless participants are being

   recruited from out of state, certainly none of the participants will have taken part in

   an execution involving midazolam. The collective institutional memory as to the

   intricate process involved in an execution by lethal injection is minimal to non-

   existent in the ADC. And there is no viable protocol for execution by assembly line.

94. In this situation, it is vitally important that there be a period of time after an

   execution for quality assessment and debriefing. All persons involved in the

   intricate and complex procedure of lethal injection, which requires coordinated

   movements and action by multiple teams of people, must be assessed after any

   execution-but certainly after the first execution a state performs in over eleven

   years. Other states engage in a comprehensive post-execution assessment to identify

   problems, discuss improvements, and make necessary modifications to the lethal-


                                              31
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 32 of 534




   injection process. See, e.g., Ohio Execution Procedures§ Vl.1.10-12, available at

   http://bit.ly/2n9PeKs.

95. The compressed schedule, with two executions scheduled for April 17, 2017, and

   two more every three or four days thereafter until April 27, leaves no time for this

   critical assessment period after the initial execution and no time for an assessment

   period after the subsequent executions until the last one is performed. Indeed, the

   preparation for all eight executions is presumably happening on an overlapping

   basis, without any regard for the individualized.challenges posed by each unique

   Plaintiff. If the current schedule proceeds, no meaningful assessment will be possible

   until all eight executions have been performed. The State will have no time to

   determine how to correct errors that occur during earlier executions.

96. Defendants have indicated through the media that they believe this schedule is no

   less onerous than spreading executions out over the course of months. No rationale

   for that belief has been given, which is especially problematic given Defendant

   Kelley and Defendant Hutchinson's lack of experience overseeing executions.

   Plaintiffs' request for communications between the ADC and the Governor's office

   on the workability of the execution schedule was denied. See Exhs. 2-3.

97. There is no justifiable rationale to hold multiple executions on the same day. Nor is

   there a justifiable rationale to hold eight executions within ten days. The expiration




                                            32
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 33 of 534




   of a drug that Defendants have already shown they can obtain is not a valid reason

   for rushing these executions.

98. Under the current schedule, the additional stress on execution participants-with its

   attendant increase in the potential for error-creates a substantial risk that Plaintiffs

   will be subject to unnecessary pain and suffering during their executions.

99. Ultimately, the schedule set out in Paragraph 1 pushes the contemplated executions

   outside the bounds of evolving (and evolved) standards of decency. Our country

   does not participate in mass executions. Execution schedules such as the one

   Defendants contemplate do not respect the innate human dignity of the condemned,

   who are to suffer the ultimate punishment at the hands of the State in the name of

   the State's citizens.

100.   To the extent that pleading an alternative is necessary for this claim, the

   alternative is simple: the ADC can easily choose a different schedule. The ADC must

   give adequate notice and time to prepare for each execution. It must ensure that

   executions are appropriately spaced so as not to overburden or overtax necessary

   resources and personnel. And it must ensure that each execution is given sufficient

   attention to detail on an individualized basis.

CLAIM Ill (ON BEHALF OF ALL PLAINTIFFS): USE OF MIDAZOLAM AS THE FIRST DRUG IN A
THREE-DRUG PROTOCOL VIOLATES THE EIGHTH AMENDMENT'S PROHIBITION AGAINST
CRUEL AND UNUSUAL PUNISHMENT.




                                            33
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 34 of 534




101.   The previous paragraphs of this complaint are incorporated by reference as if

   fully stated herein.

102.   Use of midazolam as the first drug in Arkansas's three-drug protocol poses an

   objectively intolerable risk of substantial harm that is sure or very likely to occur.

   Alternative execution methods that would avoid this risk are feasible and readily

   available to Kelley. Accordingly, the ex~cution protocol Kelley intends to use in

   Plaintiffs' executions would cause cruel and unusual punishment proscribed by the

   Eighth Amendment.

   A. Midazolam cannot anesthetize Plaintiffs to the suffering the second and third
      drugs cause.

103.   Pharmacological experts and anesthesiologists familiar with midazolam have

   determined that its inclusion in a three-drug execution protocol is all but certain to

   cause Plaintiffs excruciating suffering. See Exhibit 16 (Declaration of Craig Stevens,

   Ph.D.); Exhibit 17 (Declaration of Joel Zivot, MD). The reasons for that conclusion

   are as follows:

104.   The second drug in the midazolam protocol, vecuronium bromide, paralyzes the

   recipient's diaphragm and prevents breathing. Exhibit 17 <[12. Administered by

   itself, it leaves the recipient unable to communicate and feeling as if he has been

   buried alive. Researchers have determined that vecuronium bromide should not be

   used alone because it causes serious psychic trauma. Exhibit 16at19-20.



                                            34
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 35 of 534




105.    The third drug in the midazolam protocol, potassium chloride, stops the heart.

   Administered by itself, it would cause the recipient to experience an excruciating

   burning pain. Exhibit 16 at 20-21; Exhibit 17113.

106.   Unless the prisoner is placed under general anesthesia, he will feel the physical

   and psychological suffering caused by the second and third drugs in the midazolam

   protocol. Exhibit 16 at 21. Anesthesia occurs on a spectrum; a level of sedation lower

   than general anesthesia in a lethal injection is insufficient. Id. at 9-11.

107.   Midazolam is a benzodiazepine, a class of drug that also includes Valium and

   Xanax. Unlike barbiturates, which are typically used in lethal injections and which

   can render general anesthesia, midazolam has no independent depressive effect.

   Rather, it binds with a neurotransmitter called "GABA" to produce sedation.

   Because GABA is present in limited quantities in the brain, midazolam' s sedative

   properties are also limited. Id. at 4-8. Scientists refer to this as the drug's "ceiling

   effect." Id. at 8; Exhibit 17121.

108.   Midazolam's ceiling effect prevents it from producing general anesthesia. Thus,

   it cannot render Plaintiffs insensate to the pain and suffering caused by the

   vecuronium bromide and the potassium chloride. 500 mg midazolam will sedate

   Plaintiffs, but it will not anesthetize them to pain. Exhibit 16 at 34. The executioner

   could pump Plaintiffs with a limitless amount of midazolam, but they would still be

   aroused by the harrowing effects of the second and third drugs.


                                              35
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 36 of 534




109.   The second drug in the protocol has the additional effect of pr~venting Plaintiffs

   from communicating any distress caused by the third drug. Were there no paralytic,

   the arousal and pain caused by the potassium chloride would be obvious to any

   observer. Id. at 33. With the paralytic, the observer is prevented from seeing

   something that is scientifically verifiable to pharmacological experts: midazolam is

   incapable of anesthetizing the prisoners to the agonizing pain caused by the third

   drug.

   B. There are multiple alternative execution methods that are feasible, readily
      available, and that would significantly reduce Plaintiffs' suffering.

110.   The State could execute Plaintiffs by a lethal injection of FDA-approved,

   manufactured pentobarbital. Pentobarbital is a barbiturate and would adequately

   anesthetize Plaintiffs to the pain the second and third drugs otherwise would cause.

   At least one other state (Missouri) has obtained FDA-approved, manufactured

   pentobarbital in the recent past. See Exhibit 18. Additionally, Arkansas has passed

   laws to shield drug suppliers from public view, Ark. Code Ann. § 5-4-617(i)(2), thus

   facilitating its ability to acquire drugs, as exhibited by its recent purchases of

   vecuronium bromide and potassium chloride.

111.   A two-drug cocktail of midazolam and potassium chloride would reduce a

   significant quantum of suffering inherent in the three-drug protocol. Though

   Plaintiffs would still feel the effects of the potassium chloride, they would not

   experience the psychological trauma and sensation of being buried alive that the
                                             36
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 37 of 534




   vecuronium bromide causes. The vecuronium bromide serves only to inflict

   gratuitous torment, which the Constitution forbids. A two-drug cocktail will effect

   Plaintiffs' deaths while removing a significant and unnecessary element of suffering.

   This method is obviously available and feasible.

112.   Execution by firing squad would be a more humane and reliable means of death

   than the torturous chemical procedure Defendants now use. Properly performed-

   and proper performance is a simple matter for trained marksmen-execution by

   firing squad will cause a painless and nearly instantaneous death. See Exhibit 19

   (Declaration of Dr. Jonathan I. Groner). The State has all the personnel and

   implements necessary to carry out an execution by firing squad. And such a method

   is plainly feasible, as evidenced by Utah's use of a firing squad in 2010. Utah has a

   detailed protocol for firing squad executions, which it would be easy for Arkansas to

   either adopt or adapt. Exhibit 19.

113.   An injection of compounded pentobarbital, implemented with appropriate

   safeguards, would significantly reduce the risk of Plaintiffs' suffering. Like FDA-

   approved, manufactured pentobarbital, compounded pentobarbital would

   adequately anesthetize Plaintiffs to the pain caused by the second and third drugs.

   Compounded drugs come with additional risks, but with easily implemented

   safeguards-for example, acquisition from a reputable pharmacy and adequate

   testing of the drug-this method would significantly reduce the suffering the


                                            37
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 38 of 534




   midazolam protocol is sure to cause. Compounded drugs are available to the State-

   indeed, Texas and Georgia, states that have carried out numerous executions in

   recent years, have done so with compounded pentobarbital.

114.   Execution using a massive overdose of sevoflurane as the sole lethal agent would

   significantly reduce the pain and suffering inherent in the midazolam protocol.

   Sevoflurane is a gas that has the same mechanism of action as barbiturate drugs and,

   like barbiturates, is sufficient to cause death on its own. Exhibit 16 at 34--35. The gas

   is available to the ADC for use in executions from Piramal Critical of Bethlehem, PA.

   Exhibit 21 (Declaration of Joseph Cummings). The equipment required for

   administration is also available from online vendors, and medical expertise is not

   required to operate it. Exhibit 16 at 35.

115.   Execution by nitrogen hypoxia would significantly reduce the pain and suffering

   inherent in the midazolam protocol. Hypoxia is a process favored by right-to-die

   proponents in which a gas displaces a person's oxygen supply, thereby causing

   rapid unconsciousness and a painless death within minutes. Oklahoma has recently

   adopted hypoxia as a feasible execution method. Exhibit 22. Louisiana has also

   studied it. Exhibit 23. These states have concluded that the supplies needed for

   nitrogen hypoxia are widely available for purchase.




                                               38
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 39 of 534




   C. In the alternative, the State's unwillingness to even consider more humane
      execution methods dispenses with the need for Plaintiffs to plead and prove
      alternative execution methods to show an Eighth Amendment violation.

116.   In October 2016, the Committees of the Arkansas House and Senate Judiciary

   met jointly to consider a possible study of nitrogen hypoxia as an alternative

   execution method. The legislator sponsoring the study pitched it as a way to explore

   more humane execution methods. Cory Cox, the Attorney General's legislative

   director, told the Joint Committees they should not adopt hypoxia because the

   current midazolam protocol is preferable. Rep. Laurie Rushing told the Joint

   Committees, in comments quoted by the Arkansas Democrat-Gazette, that Plaintiffs

   and others on death row "need to be punished instead of wasting taxpayer money,"

   "even if it's in the least humane way." See John Moritz, Execution by Gas Gets Panel

   Flak, ARK. DEM.-GAZ., Oct. 11, 2016, at Al (attached as Exhibit 24). The Joint

   Committees elected not to study hypoxia after these comments.

117.   In March 2017, Rep. Jimmy Gazaway filed a bill "to establish a more humane

   method of execution" and to sanction hypoxia as an execution method. The bill was

   withdrawn three days later, for reasons unknown.

118.   The State has shown that it is unwilling to even consider an execution method

   that is more humane than the midazolam protocol. Typically a prisoner is required

   to plead and prove a feasible and readily available alternative execution method to

   successfully challenge the current method. However, if such an effort would be


                                            39
        Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 40 of 534




   futile, and if the State has exhibited that it would rather use "the least humane"

   execution method instead of "wasting taxpayer money," the prisoner need not show

   that an alternative exists. The State's insistence on a gratuitously painful execution

   method is sufficient to show an Eighth Amendment violation.

CLAIM IV (ON BEHALF OF ALL PLAINTIFFS): THE EXECUTION PROTOCOL (OR LACK THEREOF)
VIOLATES THE EIGHTH AMENDMENT'S PROHIBITION AGAINST CRUEL AND UNUSUAL
PUNISHMENT.


119.    The previous paragraphs of this complaint are incorporated by reference as if

   fully stated herein.

120.    Choice of drugs aside, the current lethal-injection protocol carries unacceptable

   risks of severe pain in violation of the Eighth Amendment. Defendants have failed to

   employ available safeguards that would avoid much of the risk inherent in lethal

   injection. Defendants should adopt procedures and safeguards that will

   substantially mitigate the grave risks of suffering lethal injection entails.

   A. The protocol (or absence of protocol) carries objectively intolerable risks of
      suffering.

121.    The avoidable risks incumbent in the Defendants' plan to execute the Plaintiffs

   include the following:

   i.      Risks caused by improper training, lack of adequate personnel, or lack of
           adequate protocQl.

122.    Lack of Sufficient Training, Education, and Expertise. The ADC lethal injection

   protocol sets vague and improperly low or non-existent professional criteria for


                                             40
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 41 of 534




   execution team members responsible for setting IV lines, mixing and verifying

   drugs, and injecting drugs. The protocol does not require a physician to supervise

   and monitor the administration of any of the three drugs. No member of the

   execution team is required to be qualified by professional training and education to

   administer anesthesia, nor must they be licensed to do so under Arkansas law or

   regulations. While the protocol requires that the IV team have some kind of training

   and experience, it has no requirement that the training and experience be recent.

   There is no requirement in the protocol that the executioners (who actually inject the

   lethal chemicals) be medically trained.

123.   Cursory "Consciousness" Check. It is essential that Plaintiffs achieve general

   anesthesia before they are injected with the second or third drugs. There is a

   continuum of sedation, the deepest being general anesthesia. Only general

   anesthesia is sufficient to prevent the experiencing of painful stimulus. As set forth

   in Claim Three, midazolam is unsuitable to achieve general anesthesia, and the

   consciousness check is futile. Exhibit 16 at 21. Assuming the drug were capable of

   inducing general anesthesia, the execution protocol fails to provide necessary

   guidance to assess for general anesthesia.

124.   Attachment C provides that, after the injection of midazolam, the Deputy

   Director or designee "will confirm the condemned inmate is unconscious by using

   all necessary and medically-appropriate methods." Exhibit 1 at 5. The term


                                             41
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 42 of 534




   "unconscious" is not a term of art. Exhibit 17 CU:20. A sleeping person is

   "unconscious," but she would wake when injected with vecuronium bromide,

   which causes air hunger, or potassium chloride, "the chemical equivalent of burning

   alive." Glossip, 135 S. Ct. at 2795. It is possible for a person to exhibit no movement,

   suppressed reflexes, and no responsiveness to verbal or physical stimuli and still not

   have reached the surgical plane of anesthesia. Exhibit 17 CU:20. Thus, there is a

   substantial risk that plaintiff will be judged "unconscious" by the Deputy Director

   or designee but will immediately regain awareness and experience pain upon the

   injection of vecuronium bromide or potassium chloride. Id. CU:22.

125.   Plaintiffs requested additional documents regarding how the execution team

   would determine if the Plaintiffs are "unconscious." The ADC responded that they

   have "no additional records, beyond Attachment C, which are responsive to [the]

   request." Exhibit 3. Failure to provide guidance to execution-team members on how

   to assess for a sufficient level of anesthesia creates a substantial risk that Plaintiffs

   will be aware and sensate to the painful effects of the second and third drugs.

   Exhibit 17. CU:CU:20-22.

126.   Even if the ADC provided sufficient guidance regarding the appropriate plane of

   anesthesia, the protocol fails to require personnel with sufficient training and

   education to assess anesthetic depth. The protocol provides that the person who

   "assess[es] the presence or absence of consciousness" will have two years of


                                              42
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 43 of 534




   professional training and certification as an Emergency Medical Technician (EMT),

   Nurse, Physician's Assistant, or Physician. Exhibit 1 at 6. In all but rare cases, an

   EMT, nurse, or physician's assistant lacks sufficient experience to assess anesthetic

   depth. Even a physician, if not an anesthesiologist, lacks the training and experience

   to assess anesthetic depth during general anesthesia for surgical procedures.

   Assessing sedation depth is a complicated process that requires simultaneous

   consideration of numerous sources of information, including but not limited to

   movement, changes in blood pressure and respiratory rate, brain waves and

   electrical activity, initiation of skin moisture, and enlarged pupils. To verify a

   surgical plane of anesthesia, a person must have extensive training and clinical

   experience in monitoring anesthetic depth. Exhibit 17 at 22.

127.   Even if midazolam were capable of inducing general anesthesia, and even were

   the personnel qualified to assess for onset and maintenance of general anesthesia,

   the protocol fails to provide necessary equipment to monitor anesthetic depth.

   Equipment exists for medical professionals to monitor physiological signs of

   anesthetic depth, such as brain activity. Id. 121. The protocol fails to require this

   equipment be used and fails to require qualified personnel to operate and interpret

   the equipment.

128.   Lack of Resuscitation Plan/Equipment. As explained in Paragraph 15 and in

   Claim Three, it is all but certain that the midazolam will not anesthetize the


                                             43
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 44 of 534




   Plaintiffs and that they will still be able to move, vocalize, and feel pain after the

   injection of the sedative. Plaintiffs requested that the ADC provide "all policies,

   documents, correspondence, or records of any kind in the Department's possession

   that concern the Department's contingency plan, including any plan for stopping the

   execution, should the prisoner appear to be conscious after administration of the

   backup syringes, or should the prisoner show movement at any point during the

   execution." Exhibit 2. In failing to tum over the documents requested, the ADC

   responded as follows: "[T]he ADC has determined that there are no additional

   records, beyond Attachment C, which are responsive to your request. In so

   responding the ADC notes that your request seeks records related to a hypothetical

   fact situation not specifically referenced in Attachment C. Nonetheless, the response

   is the same. There are no records responsive to this inquiry, beyond Attachment C."

   Exhibit 3.

129.   Attachment C itself fails to create any contingency plan for the very real

   likelihood that the midazolam will fail to render the inmate insensate to pain, or the

   very real likelihood that the inmate will show signs of consciousness after he feels

   the suffocating effects of the vecuronium bromide or the intense pain of the

   potassium chloride. The protocol fails to provide for this contingency and have at

   the ready personnel, equipment, and medication to reverse the effects of a tortuous,




                                             44
         Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 45 of 534




   botched execution attempt. For example, in Arizona, Joseph Wood gasped for air for

   almost two hours after he was injected with midazolam. See Exhibit 5.

130.     Due to the massive dosage of midazolam, the inmate could suffer reduced

   oxygen to the brain because of a collapsed airway or the inability to sense and clear

   his own airway. Exhibit 17124. The reduction in oxygen could create sub-lethal

   brain damage. In the event that the prisoner is conscious and suffering through

   these events, the ADC is deliberately indifferent to his suffering by failing to have on

   hand a readily available antidote for midazolam. The effect of the midazolam can be

   reversed with the administration of flumazenil. Id. At least one state, Ohio, has

   opted to secure flumazenil to reverse the effects of the midazolam in the event it is

   not successful at anesthetizing the prisoner. See Andrew Welsh Huggins, Ohio Is

   Looking for an Antidote for Lethal Injections, Just in Case, Toronto Star, Jan. 13, 2017,

   available at http://on.thestar.com/2nsy5fn.

131.     If the inmate moves after injection with vecuronium bromide, the ADC should

   reverse the effect of that drug. The effects of vecuronium bromide can be reversed

   with the drug sugammadex. Exhibit 17123.

132.     In the event a Plaintiff moves after the burning effects of the potassium chloride

   are felt, that too can be reversed with successive injections of insulin, D-50 (dextrose

   and water), and calcium chloride. Id. 125.

   ii.      Risks inherent in the administration of drugs.


                                              45
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 46 of 534




133.   IV Setting. The execution protocol fails to require that the person setting the     1y
   lines has sufficient training and education. The protocol provides that the person

   who sets the IV will have two years of professional training and certification as an

   EMT, nurse, physician's assistant, or physician. Exhibit 1 at 6. However, the protocol

   fails to require that this training be recent or that the certification be current. Two

   years of training or certification in the requisite disciplines, at some point unknown,

   does not equate to capability of establishing venous access in an execution chamber.

134.   Failure to provide for sufficient safeguards regarding establishment of venous

   access creates a risk of painful execution through repeated attempts at venous

   access, infusion of the injection site, or perforations in the vein. If the injection site

   becomes infiltrated, the chemical flows into the tissue rather than the vein and does

   not enter the circulatory system. Exhibit 17117. Moreover, the protocol places no

   time limits or limits on attempts to secure venous access by sticking needles into

   Plaintiffs, a safeguard that at least one state, Kentucky, has previously adopted by

   requiring the execution cease if the executioners fail to locate a vein after an hour.

135.   If venous access is not achieved through the arms, the protocol provides that

   other "possible infusion sites" will be evaluated. If peripheral venous access is not

   established, the protocol calls for gaining central access. A central line involves the

   placement of an intravenous tube directly into the large vein in the neck, the chest,

   or the groin. This is a complicated medical procedure. When a central line is placed,


                                              46
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 47 of 534



       I

   the vein is not visible to the eye. In a clinical settin& a central line would be placed

   with the assistance of an ultrasound machine. An EMT or nurse does not have the

   requisite training and experience to place a central line. A physician's assistant

   would not set a central line without the supervision of a physician. The lethal-

   injection protocol allows for the placement of a "blind" central line by unqualified

   persons. Worse still, without equipment to verify the placement of the central line, it

   is likely that the person placing the line will not be aware it is misplaced. A

   misplaced central line can cause the lung to collapse, which can lead to a painful

   death by suffocation and cardiovascular collapse. Id. <][18.

136.   Drug Pushing. The lethal chemicals are administered by two executioners in a

   chemical room, which is separated from the execution chamber by a one-way

   mirror. There is a hole in the wall through which IV tubing travels between the body

   of the condemned and the chemical room. The protocol provides that the gurney

   shall be positioned so that the executioners can see the face of the condemned

   inmate. Exhibit 1 at 1. However, the distance between the inmate and the chemical

   room prevents the executioners from seeing the veins of the condemned in order to

   regulate proper flow of chemicals.

137.   The lethal-injection protocol provides that two syringes containing 250 mg of

   midazolam be injected into the vein of the condemned inmate. This is about 1/3 a

   standard measuring cup of liquid. With such a high volume of liquid and such a


                                             47
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 48 of 534




   large syringe, if the plunger of the syringe is pushed too quickly, the vein will burst,

   causing pain and infiltration of the site. In order to prevent bursting the veins of the

   condemned, the person pushing the plunger on the syringe should be able to see the

   vein to regulate proper rate of flow. The distance between the executioner and the

   condemned creates an unnecessary risk of pain. Exhibit 17119.

138.   Even if the executioner were able to see the vein of the condemned from their

   distant chamber, they lack the proper qualifications to monitor subtle changes in

   vein appearance and adjust administration of the chemicals accordingly.

139.   Precipitation. Because of the large dose of midazolam called for in the protocol,

   there is also a substantial risk that the drug will precipitate when mixed with the

   saline present in the intravenous line or the blood in the inmate's vein. Precipitation

   is caused when a strong acid is mixed with a weak acid or base. Midazolam has a

   pH of 2.5-3.5. Normal saline has a pH of 5-6. When the two substances are mixed

   either in the line or the vein of the inmate, it is likely that a salt will be formed which

   can obstruct the line and cause pain in the vein. The midazolam precipitate is

   pharmacologically inactive and will lower the amount of midazolam delivery in a

   completely unpredictable fashion. Id. 110.

140.   Paradoxical Effects. Another risk associated with the large dose of midazolam

   used in the lethal injection protocol is that the drug will have the opposite effect and

   cause hyper-reactivity, agitation, and movement. The protocol, which calls for the


                                             48
          Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 49 of 534




   administration of more midazolam if unconsciousness is not achieved, will only

   make the agitation worse. Id. <j[l l.

   iii.      Risks inherent in the composition of pharmaceuticals.

141.      Expired or Expiring Drugs. The ADC will use midazolam with the expiration

   date of April 2017. Assuming midazolam could render general anesthesia at all, use

   of midazolam close to the expiration date creates a substantial risk that it will have

   reduced efficacy and thus subject Plaintiffs to intolerable pain upon injection of the

   second and third drugs. Id. <:1[14.

142.      Recalled Drugs. Certain midazolam injection drugs are subject to recall due to

   "failed impurities/degradations." Due to Defendants' refusal to disclose the source

   of the midazolam, Plaintiffs are unable to determine whether this recall affects the

   expiring drugs in the ADC' s possession.

143.      Drug Storage. The execution protocol fails to create adequate safeguards against

   degraded or impure midazolam by not specifying the conditions under which the

   execution drugs are to be stored. Improper storage can speed the degradation of

   pharmaceuticals. The label on the midazolam Defendants intend to inject into

   Plaintiffs requires the product be stored at a temperature of between 68 and 77

   degrees Fahrenheit. See Exhibit 25.

144.      Drug Inspection. The protocol fails to require that a qualified person (such as a

   physician or pharmacist), or any person, inspect the lethal chemicals for particulate


                                               49
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 50 of 534




   matter or discoloration prior to administration of the drug. When a solution that is

   supposed to be clear turns cloudy, it indicates one of a number of serious problems

   that render the drug unusable and dangerous. One reason for a drug appearing

   cloudy is suspended particulate matter. Injection of a substance with particulates

   can cause extreme pain if the particulate lodges in a small blood vessel. On March 2,

   2015, Georgia halted the execution of Kelly Gissendaner because the drugs had

   become cloudy. See Gissendaner v. Bryson, 2015 WL 10710264 (N.D. Ga Aug 10, 2015).

   Arkansas's lethal-injection protocol contains no similar safeguards.

145.   Drug Preparation. The execution protocol requires the Deputy Director or

   designee to mix or reconstitute the chemicals and to prepare the syringes and then

   transport the chemicals in a box to the Cummins Unit. Exhibit 1at1. The

   preparation of drugs in advance, at a distant location, creates a risk that they will

   become mislabeled, contaminated, and at an increased risk of falling out of solution

   as a precipitate. Drugs sold in sterile injectable form are designed to be placed into a

   syringe and injected immediately. Defendants' plan to execute two inmates on a

   single night means that the drugs used in the second execution will have been stored

   in the syringes for two to three additional hours and are even more likely to become

   contaminated or fall out of solution. The protocol's requirement that the drugs be

   transferred to syringes at a distant location hours before the execution creates an

   unnecessary risk of substantial harm to the plaintiffs. Exhibit 17 <[16.


                                            50
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 51 of 534




146.   In sum, Plaintiffs' executions under the current protocol (or lack thereof) are all

   but certain to cause unnecessary pain. There is a substantial risk that Defendants'

   failures to provide sufficient guidance and safeguards in their lethal-injection

   protocol will cause Plaintiffs to needlessly suffer in their last hours of life. There is

   also a significant risk that the execution will fail and that Plaintiffs will suffer

   irreversible brain damage. Plaintiffs have a fundamental right under the Eighth

   Amendment to be free from cruel and unusual punishment.

   B. Alternatives are available that would eliminate the substantial risks of harm
      inherent in the protocol (or lack of protocol).

147.   The alternatives to the ADC's defective protocol are easily stated. Defendants can

   and should adopt sufficient safeguards, as detailed below, in order to avoid the

   substantial risks detailed above. Those safeguards include the following:

  i.   Safeguards to prevent risks caused by improper training, lack of adequate
       personnel, or lack of adequate protocol.

148.   Medical Training. Defendants can and should require that persons with current

   and appropriate pharmacy and medical training and experience perform the critical

   functions of drug inspection, drug mixing, IV setting, level-of-anesthesia

   determination, and injection of lethal chemicals. Medical doctors can and do

   participate in executions throughout the country. See Ty Alper, The Truth About

   Physician Participation in Lethal Injection Executions, 88 N.C. L. REV. 11 (2009).




                                              51
         Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 52 of 534




149.     Anesthesia Determination by Qualified Individual Using Medically Accepted

   Methods. The Defendants can and should require that the second and third drugs

   not be administered until it is determined that the Plaintiffs have reached a surgical

   plane of anesthesia, which renders them insensate to pain and unaware of their

   surroundings. This can be accomplished by using a person with the training and

   experience to make such a determination, such as an anesthesiologist or a Certified

   Registered Nurse Anesthetist. Defendants can and should make proper equipment,

   such as a BIS machine, available for this purpose. Defendants can and should

   require Plaintiffs to be continually assessed for signs of awareness during the lethal

   injection.

150.     Provision of Life-Saving Equipment and Antidotes. Defendants can and should

   have available equipment, personnel, and medication necessary to revive Plaintiffs

   in the likely event that the execution fails and the inmate remains conscious.

   Defendants should have on hand antidotes for the midazolam, vecuronium

   bromide, and potassium chloride. These include flumazenil, sugammadex, insulin,

   D-50, and calcium chloride. Exhibit 171123-25.

   ii.    Safeguards to prevent risks inherent in administration of drugs.

151.     Provision for Proper IV Insertion. Defendants can and should make available

   sufficient safeguards to mitigate the risk that the IV will be improperly inserted or

   infiltrate the vein. First, Defendants can and should secure the assistance of medical


                                            52
         Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 53 of 534




   professionals with recent experience and current credentials qualifying them to

   place IVs in the Plaintiffs. Second, Defendants can and should provide sufficient

   catheters of various lengths and gauges to accommodate the physiological

   differences between each Plaintiff. Defendants can and should make available the

   equipment necessary to place a central vein, such as an ultrasound machine, a

   central line kit, and an x-ray machine. ld.1117-18.

152.      Time Limit on Vein Attempt. Defendants can and should place a reasonable

   time-limit in which they will discontinue the execution if they are unable to obtain

   venous access. At least one other state (Kentucky) has limited the endeavor to one

   hour.

153.      Executioner Positioning and Qualifications. The executioners pushing the drugs

   should be positioned so as to have an adequate view of the Plaintiffs' veins and

   should have adequate training in intravenous drug administration. Id.119.

154.      Drug Pushing. The executioners pushing the drugs should administer the drug

   at a slow rate and monitor the IV line to avoid precipitation and vein compromise.

   Id.

   iii.    Safeguards to prevent risks inherent in drug composition.

155.      Use of Fresh Drugs. Defendants can and should use drugs that are not within

   days of expiration.




                                             53
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 54 of 534




156.   Disclosure of Drug Manufacturer. Defendants can and should disclose the

   manufacturer of the execution drugs to allow Plaintiffs and the Court to determine

   whether there are recalls affecting the product.

157.   Requirement of Proper Drug Storage. Defendants can and should require that the

   lethal-injection chemicals be stored in accordance with the requirements of the label.

158.   Drug Inspection. Defendants can and should require that a qualified person

   inspect the lethal-injection chemicals before they are transferred to syringes and

   again before they are placed in the chemical room at the Cummins Unit.

159.   Drug Testing. Defendants can and should test their drugs for potency. Because

   degradation is a continuum, recent testing for drug potency is a necessary

   safeguard. The midazolam was tested November 2015 and its potency was at 99.2

   percent. Exhibit 7. Given that 16 months have passed and the drug is near the date at

   which it can longer be safely used, Defendants can and should retest the drug. In

   addition, the vecuronium bromide and potassium chloride should be tested for

   impurities, and sub- or super-potency. Testing is an appropriate safeguard against

   the use of counterfeit, mislabeled, super-potent, or sub-potent drugs.

CLAIM V (ON BEHALF OF ALL PLAINTIFFS BUT NOONER): THE COMBINED EFFECT OF
MIDAZOLAM EXECUTIONS OCCURRING WITHOUT ADEQUATE SAFEGUARDS AND ON A
COMPRESSED SCHEDULE VIOLATES THE EIGHTH AMENDMENT.




                                           54
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 55 of 534




160.   If neither the schedule, nor the use of midazolam, nor the lack of adequate

   protocol constitutes an independent constitutional violation, they substantiate a

   constitutional violation in combination.

161.   The lack of institutional knowledge occasioned by an eleven-year gap in

   executions in Arkansas calls for prudence and caution in restarting the machinery of

   death-not a rushed, mass execution.

162.   The complexity of lethal-injection procedures-from extraction and delivery of

   the drugs through examination of the body-requires minute attention to detail and

   intricate coordination under an intense amount of pressure. That pressure is

   increased by the rushed schedule, which also prevents the inexperienced

   Defendants from performing necessary reviews and debriefs of involved parties

   subsequent to each execution.

163.   Certainly no one at the ADC has performed an execution using midazolam,

   which has a history of causing botched executions across the country. The ADC has

   confirmed there is no contingency plan in place when something goes foreseeably

   wrong with the execution. Neither are there other appropriate and necessary

   safeguards in place. Taking into consideration the complexity of the procedure for

   each Plaintiff, the added pressure of eight ex~cutions in ten days, the lack of time

   necessary for review, and the lack of experience of those involved at the highest

   levels-combined with the use of a drug that is insufficient for its intended purpose


                                              55
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 56 of 534




   and that has caused botched executions in the past-there is a substantial and

   objectively intolerable risk of suffering and harm to Plaintiffs.

164.   For all the reasons set out above, the protocol, and specific schedule that

   Defendants intend to use to execute Plaintiffs constitutes cruel and unusual

   punishment under the Eighth Amendment. It is cruel in that it will subject Plaintiffs

   to the torturous effects of vecuronium bromide and potassium chloride without

   adequate anesthetization and without adequate safeguards in place in the event

   things go wrong, as is probable based on the lack of institutional knowledge

   combined with the rushed nature of the scheduling. It is also unusual in that no state

   in this country in modem history has attempted this many executions in the

   timeframe Defendants contemplate and with the other complicating factors

   discussed herein.

165.   Should an alternative be required, numerous alternatives to the planned

   execution procedure and schedule are known and available, as already set out in

   Claims Two, Three, and Four above.

CLAIM VI (ON BEHALF OF ALL PLAINTIFFS): KELLEY'S POLICIES DURING THE EXECUTIONS
VIOLATE PLAINTIFFS' RIGHT OF ACCESS TO THE COURTS.


166.   The previous paragraphs of this complaint are incorporated by reference as if

   fully stated herein.

167.   Plaintiffs have a right to access the courts under the First Amendment and Due

   Process Clause. This right guarantees them the ability, through counsel, to contact a
                                            56
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 57 of 534




   judge during the execution should it appear the execution is being carried out in a

   way that violates the Eighth Amendment.

168.   The history of botched midazolam executions in this country, and the additional

   risk engendered by Hutchinson's compressed execution schedule, heightens the

   possibility that Plaintiffs' attorneys will need to access the courts during the

   executions to protect their clients' rights.

169.   Kelley's policy absolutely prevents each Plaintiff's attorney from contacting a

   judge if the attorney elects to watch the execution. Counsel has.a choice: decline to

   view the execution and have access to a phone, or view the execution and have no

   access to a phone. Kelley's counsel has made clear that a witnessing attorney will

   not be allowed to leave the viewing room and will not be allowed to contact the

   courts, or co-counsel located elsewhere, even if the execution lasts hours. Exhibit 10.

170.   Other corrections departments allow attorneys to contact the courts during

   prolonged executions and thus to advocate for their clients' rights. During the two-

   hour-long execution of Joseph Wood, discussed in Paragraph 15c above, three

   attorneys attended the viewing. Two were permitted to leave the viewing area

   during the execution and to access a phone. An attorney was then able to convene a

   thirty-minute hearing with a judge. See Exhibit 5.

171.   Arizona now explicitly allows a witnessing attorney immediate access to a cell

   phone: "While the attorney witness is in the witness room, a member of the Witness


                                              57
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 58 of 534




   Escort Team shall hold one mobile phone designated by the attorney, to be made

   available to the attorney in exigent circumstances." Ariz. Execution Procedures §

   1.5.1.3, available a. The attorney is required to leave the witness room while using the

   phone. Ohio likewise provides that "at all times after counsel enters the witness

   room, counsel shall have free access to the phone near the entrance door of the

   Death House." Ohio Execution Procedures § Vl.G.2, available at http://bit.ly/2n9PeKs.

172.   To ensure adequate access to the courts, it is necessary to have at least two

   attorneys present at the viewing-one who can access a phone, and one who can

   continue to monitor the execution should phone access be necessary.

173.   By preventing witnessing counsel adequate phone access-indeed, any phone

   access-during the execution, Kelley's policy violates Plaintiffs' right of access to the

   courts.

CLAIM VII (ON BEHALF OF ALL PLAINTIFFS): KELLEY'S POLICIES DURING THE EXECUTIONS
VIOLATE THE RIGHT TO COUNSEL UNDER 18 U.S.C. § 3599


174.   The previous paragraphs of this complaint are incorporated by reference as if

   fully stated herein.

175.   Under 18 U.S.C. § 3599, indigent persons sentenced to death are entitled to "the

   appointment of one or more attorneys." As explained in Claim One, each Plaintiff

   has been appointed an attorney or attorneys under this provision.

176.   Attorneys appointed under§ 3599 are authorized to represent the death-

   sentenced person "throughout every subsequent stage of available judicial
                                            58
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 59 of 534




   proceedings, including ... all available post-conviction process, together with

   applications for stays of execution and other appropriate motions and procedures."

       /1                                      /1
177.        Available judicial proceedings" and appropriate motions and procedures"

   include motions that counsel may find necessary to make during the execution to

   advocate for her client's right to be free from cruel and unusual punishment.

   Counsel for condemned inmates in other states have been forced to file such motions

   during prolonged executions.

178.   Kelley's policies arbitrarily deprive Plaintiffs of the right to have multiple

   attorneys witness the execution. Section 3599 envisions the appointment of multiple

   counsel for death-sentenced persons, up to and including the execution itself. To

   adequately protect the Plaintiffs' rights, it is necessary to have at least two attorneys

   present: one who can respond to any problems that arise, and one who can continue

   making a record of the execution. Kelley has no legitimate penological reason for

   restricting access to only one attorney- a policy the ADC has never before followed.

   Indeed, as recently reported in the media, Kelley is having difficulty finding

   sufficient witnesses to the executions, thus space for an additional attorney or

   attorneys should not be a concern to the ADC. See Jeannie Roberts, State Hunting for

   Volunteers to Witness April's 8 Executions, ARK. DEM.-GAZ., Mar. 22, 2017, at Al.

   (attached as Exhibit 26).




                                             59
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 60 of 534




179.   Kelley's policies prevent the one attorney who is allowed to view the execution

   from effectively representing his clients by depriving him of any access to a phone

   (and thus to the courts or co-counsel).

180.   Kelley's policies prevent the one attorney who is allowed to view the execution

   from protecting her client's rights by obstructing her from seeing and hearing the

   full execution process. Without a complete view of the execution from the time the

   inmate enters the chamber, the attorney has no way of knowing whether the

   execution is violating her client's Eighth Amendment rights. For example, during

   the attempted 2009 execution of Romell Broom in Ohio, the executioners repeatedly

   pierced Broom with needles for two hours as they unsuccessfully tried to find a

   vein. Under Kelley's policies, Plaintiffs' attorneys could not raise such a problem

   with the courts-indeed, they could not even learn of it. Likewise, Kelley's policy of

   shutting off the chamber audio would prevent Plaintiffs' attorneys from hearing any

   audible reaction Plaintiffs have to the drugs. Plaintiffs' right to counsel requires that

   their attorneys have a complete visual and audio access to the execution from the

   time Plaintiffs enter the chamber to the time they are pronounced dead.

181.   By arbitrarily limiting Plaintiffs to one attorney in the witnessing room, and by

   preventing even that attorney from perceiving the entire execution and from

   contacting the courts in the event of a problem, Kelley's policies infringe upon the

   right to counsel guaranteed by 18 U.S.C. § 3599.


                                             60
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 61 of 534




Conclusion and Prayer for Relief

182.    For all of the above reasons, Plaintiffs respectfully request this Court to:

           •   Rule and declare that the compressed execution schedule violates

               Plaintiffs' right to counsel;

          •    Rule and declare that the current execution schedule is unconstitutional;

          •    Rule and declare that Arkansas's three-drug protocol is unconstitutional

               due to both the use of midazolam and the failure to have appropriate

               safeguards in place;

          •    Rule and declare that the use of midazolam, in combination with the lack

               of safeguards in the protocol, in combination with the expedited execution

               schedule, is unconstitutional;

          •    Rule and declare that Defendants must allow counsel for Plaintiffs to be

               able to witness the executions-including the ability to hear and see the

               entirety of the process until death is confirmed;

          •    Rule and declare that Defendants must provide ready access to a

               telephone during the execution that will allow Plaintiffs' attorneys to

               reach persons responsible for overseeing the execution and any

               appropriate governmental or judicial authority;

          •    Rule and declare that Defendants must permit multiple defense team

               members to witness the execution if Plaintiffs have multiple attorneys;


                                                61
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 62 of 534




           •   Rule and declare that Defendants must give notice of at least 120 days

               prior to the scheduling of any execution in order for counsel to be able to

               adequately and competently represent the client scheduled to be executed;

           •   Rule and declare that Defendants must schedule executions so as not to

               overburden assigned counsel with more than one client under a death

               warrant at any time;

           •   Grant a preliminary and permanent injunction enjoining1 Defendants

               from making any attempt to execute any Plaintiff unless access to counsel

               is guaranteed throughout the execution process;

           •   Order Defendants to disclose2 to Plaintiffs and Plaintiffs' counsel the lethal

               injection protocol (in full) that will be used during Plaintiffs' execution at

               least 25 days in advance of each execution;

           •   Order Defendants to .submit any proposed changes to the execution

               protocol to the Court immediately upon making them;




1In accordance with Local Rule 7.2(e), Plaintiffs will file a motion for a preliminary injunction to
enjoin Defendants from proceeding with Plaintiffs' executions under the current protocol and
according to the current schedule.

2Plaintiffs anticipate filing a motion for expedited discovery detailing the information sought
from Defendants and the expedited schedule requested. As will be set out in that motion,
Plaintiffs will agree to entry of a protective order covering information to be kept confidential
according to the statute in order to expedite disclosure of necessary information.
                                                62
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 63 of 534




   •   Order Defendants to disclose to Plaintiffs and Plaintiffs' counsel as soon as

       possible complete information about the drugs that will be used to kill

       them, including, but not limited to: what they are, when they were

       purchased, from whom they were purchased, testing that has been done

       to them, and their National Drug Code identifying number; and

   •   Grant a preliminary and permanent injunction enjoining Defendants from

       executing Plaintiffs with inadequate anesthesia and execution procedures

       that violate their right to be free from cruel and unusual punishment

       under the Eighth Amendment;

   •   Grant a preliminary and permanent injunction enjoining Defendants from

       executing Plaintiffs on a schedule that effectively violates their statutory

       right to counsel and violates their right to be free from cruel and unusual

       punishment under the Eighth Amendment;

   •   Stay the eight executions currently scheduled for April 17, 20, 24, and 27,

       2017, until all issues raised in this complaint are resolved; and

   •   Grant any further relief the Court deems proper.




                                      63
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 64 of 534




Respectfully submitted,




        en weig,            5            Scott Braden, ABN 2007123
 rosenzweig@att.net                      John C. Williams, ABN 2013233
300 Spring St., Ste. 310                 Federal Public Defender Office
Little Rock, AR 72201                    scott_braden@fd.org
(501) 372-5247                           john_c_williams@fd.org
                                         1401 W. Capitol Ave., Ste. 490
                                         Little Rock, AR 72201
Counsel for Stacey Johnson,              (501) 324-6114
Jack Jones and Kenneth Williams
                                         Counsel for Don Davis, Jason McGehee,
                                         Terrick Nooner, Bruce Ward,
                                         and Marcel Williams




Lee Short, ABN 2010136                   Deborah R. Sallings, ABN 80127
Short Law Firm                           deborahsallings@gmail.com
leedshort@gmail.com                      35715 Sample Road
425 W. Broadway St. A                    Roland, AR 72135
North Little Rock, AR 72114
(501) 766-2207
                                         Counsel for Don Davis
Counsel for Ledell Lee

                                         Jennifer Merrigan, MO Bar No. 56733
                                         Joseph Perkovich, NY Bar No. 4481776
                                         j.merrigan@phillipsb lack.org
                                         j.perkovich@phillipsblack.org
                                         Phillips Black
                                         P.O. Box 2171
                                         New York, NY 10008
                                         (212) 400-1660

                                         Counsel for Bruce Ward
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 65 of 534




                                  INDEX TO EXHIBITS


Exhibit 1    Arkansas Midazolam Protocol

Exhibit 2    Letter to DePriest re Protocol

Exhibit 3    DePriest FOIA Response Letter to John C. Williams

Exhibit 4    Lockett Report

Exhibit 5    Wood v Ryan Execution Hearing

Exhibit 6    Spencer Hahn

Exhibit 7    Midazolam Testing Results

Exhibit 8    Letter to Kelley re Viewing

Exhibit 9    DePriest Letter re Viewing and Phone Access

Exhibit 10   DePriest Email re Phone Access

Exhibit 11   AD 08-28

Exhibit 12   Brian Mendelsohn

Exhibit 13   Robb Lee

Exhibit 14   Dale Baich

Exhibit 15   Jennie Lancaster

Exhibit 16   Craig Stevens

Exhibit 17   Joel Zivot

Exhibit 18   Missouri Buys Nembutal

Exhibit 19   Jonathan Groner

Exhibit 20   Utah Firing Squad Protocol

Exhibit 21   Joe Cummings

Exhibit 22   Oklahoma Nitrogen Study

Exhibit 23   Louisiana Nitrogen Study

Exhibit 24   Hypoxia Article

Exhibit 25   Midazolam Insert

Exhibit 26   State Hunting for Volunteers
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 66 of 534




                       LETHAL INJECTION PROCEDURE (Attachment C)

SECTION I. General

1.     The Deputy Director, or designee, is responsible for assuring that the chemicals
       for lethal injection, the gurney, straps, and other necessary items, are available
       for use on the scheduled date of execution. The Deputy Director, or the
       designee, shall be healthcare trained, educated, and/or experienced in matters
       related to the establishment and monitoring of IVs, the mixing and administration
       of the chemicals, and assessing the presence or absence of consciousness.

2.     When the chemicals have been received, the Deputy Director, or the designee,
       shall verify as to type and concentration, and thereafter supervise any necessary
       mixing or reconstituting of the chemicals in such a manner as will meet the
       injection requirements (see Chart A) and in accordance with manufacturer's
       instructions. The mixed or reconstituted chemicals shall be transferred to an
       appropriate syringe(s) and thereafter placed in a designated Injection Drug Box.
       The box will be secured and conveyed to the Cummins Unit.

3.     The Deputy Director, or designee, shall maintain physical custody of the Injection
       Drug Box and physically convey the box directly to the execution chamber for
       use. If not used, the Deputy Director, or designee, shall secure the Drug Box until
       used or destroyed.

4.     Orientation of the executioner(s) to the Department's Lethal Injection Procedure,
       if needed, will be conducted prior to the day of the execution and provided by the
       Director and/or designee(s).

5.     On the evening of the execution, the executioner(s) shall, under the supervision
       of the Director, or designee, enter the injection room prior to the scheduled time
       of the execution and shall immediately inventory the Injection Drug Box to ensure
       that all chemicals are accounted for and that the infusion device(s) are in
       readiness.

6.     The execution gurney will be positioned in the death chamber so that the Deputy
       Director, or designee, and the executioner(s) can directly observe the
       condemned inmate's face and IV infusion site(s).




                                                                       Revised 08/06/2015

                                                                         Exhibit 1 Page 1
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 67 of 534




SECTION 11. IV Set-Up Procedure

1.     The Deputy Director, or designee, shall have an intravenous infusion device
       placed in each arm, or other standard anatomical venous point of entry, of the
       condemned inmate and a solution of N.S. (Normal Saline) available for an
       infusion medium. The individual(s) engaged in this activity will be referred to as
       the IV Team and shall be qualified as set forth in Section V.
2.     An IV administration set shall be inserted into the outlet of the bag of N.S. IV
       solution. Two (2) IV bags will be set up in this manner.
3.     The administration set tubing for each set-up will be connected to the receiving
       port of the three-way control devices; one left arm/side, the other for the right
       arm/side.
4.     IV extension tubing will be connected to the discharge ports on the righUleft
       three-way control devices and shall be thereafter connected to the applicable
       right and left IV insertion site(s). Extension tubing will be of sufficient length to
       accommodate the distance from control device to IV insertion site(s).
5.     The tubing shall be cleared of air and made ready for use.
6.    Intravenous catheters shall be initiated through standard procedure for such
      devices. Once the infusion of the IV solution has been assured, the IV devices
      shall be secured as appropriate.
7.    At this point, the administration sets shall be running at a slow rate of flow (KVO),
      and ready for the insertion of syringes containing the chemicals. The Deputy
      Director, or designee, shall maintain observation of IV infusion(s) to ensure that
      the rate of flow is uninterrupted. NO FURTHER ACTION shall be taken until the
      prearranged signal to start the injection of chemicals is given by the Warden.
8.     In the event that a patent intravenous infusion site cannot be established, the IV
       Team shall be directed by the Deputy Director, or designee, to evaluate other
       possible infusion sites. All effort will be made to establish two (2) unrelated
       intravenous infusion sites. If one (1) patent infusion site is established, and a
       second site proves to be a futile effort, the Deputy Director, or designee, may
       direct the IV Team to suspend further action to establish a second site and
       proceed with one site. In the case that no patent infusion site is established after
       reasonable attempts as determined by the IV Team, the Deputy Director, or
       designee, will direct the 1\1 Team to suspend further action and thereafter
       summon trained, educated, and experienced person(s) necessary to establish a
       primary IV line as a peripheral line or as a central venous line.

EVERY EFFORT WILL BE EXTENDED TO THE CONDEMNED INMATE TO ENSURE
THAT NO UNNECESSARY PAIN OR SUFFERING IS INFLICTED BY THE IV
PROCEDURE. STANDARD PRACTICE OF USING A LOCAL ANESTHETIC (1%
LIDOCAINE) WILL BE ACCOMMODATED AS NECESSARY.


                                                                         Revised 08/06/2015

                                                                          Exhibit 1 Page 2
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 68 of 534




SECTION Ill. Preparation of Chemicals

1.     The Deputy Director, or the designee(s), and a member of the· 1v Team shall
       prepare the designated chemicals and syringes for a total of one (1) complete set
       of chemicals. One (1) complete set of syringes is used in the implementation of
       the death sentence and an additional complete set of the necessary chemicals
       shall be obtained and kept available. The specific chemical contained in each
       syringe will be identified with the following information as set forth in the chemical
       charts:
       a.     Assigned number
       b.     Chemical name
       c.     Chemical amount
       d.     Designated color

2.     The quantities of chemicals prepared and administered shall not                    be
       changed in any manner without prior documented approval of the director.

3.     All prepared chemicals shall be utilized or properly disposed of in a timely
       manner after the time designated for the execution to occur.

4.     The chemical amounts as set forth in the Chemical Chart are designated for the
       execution of persons weighing 500 pound or less. The chemical amounts shall
       be reviewed and may be revised as necessary for an offender exceeding this
       body weight.

5.     CHEMICAL CHART

       a.     CHART A: Three (3) Drug Protocol with Midazolam, Vecuronium Bromide
              and Potassium Chloride




                                                                         Revised 08/06/2015

                                                                           Exhibit 1 Page 3
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 69 of 534




             (1)    Syringes 1A and 2A shall each have a dose of 250 milligrams
                    midazolam for a total dose of 500 milligrams. Each syringe
                    containing midazolam shall have a GREEN label which contains
                    the name of the chemical, the chemical amount and the
                    designated syringe number.
             (2)    Syringes 4A and SA shall each have a dose of 50 milligrams
                    vecuronium bromide for a total dose of 100 milligrams. Each
                    syringe containing the selected bromide shall have a YELLOW
                    label which contains the name of the chemical, the chemical
                    amount and the designated syringe number.
             (3)    Syringes 7A and BA shall each contain 120 milliequivalents
                    potassium chloride for a total dose of 240 milliequivalents. Each
                    syringe containing potassium chloride shall have a RED label which
                    contains the name of the chemical, the chemical amount and the
                    designated syringe number.
             (4)    Syringes 3A, 6A, and 9A shall each contain 60 milliliters of saline
                    solution. Each syringe shall have a BLACK label which contains
                    the name of the solution, amount of solution, and the designated
                    syringe number.

SECTION IV. Injection Procedure

1.     The three-way control device facilitates the movement of infusion fluid from
       saline bag or infusion fluid with the chemicals from the syringes. A valve serves
       to direct which fluid source is entering the IV set up.

2.     When the signal to commence is given by the Warden, the executioner(s) shall
       administer the chemicals in the order they appear in chart A under the direction
       of the Deputy Director, or designee, as follows:

       a.    Syringe 1A shall be inserted into the designated chemicahreceiving port of
             the three-way control device.

       b.    The flow of IV solution will be interrupted by moving the three-way valve
             assembly to allow the infusion of chemical from Syringe 1A.

       c.    The contents of Syringe 1A shall commence with a steady even flow of the
             chemical and continue until the full dose of the chemical has been
             administered. Only the force necessary to activate the syringe plunger will
             be used.

       d.    When the contents of Syringe 1A have been injected, the three-way valve
             assembly will be moved so as to shut off the chemical receiving port and
             resume infusion of IV solution.

                                                                      Revised 08/06/2015

                                                                       Exhibit 1 Page 4
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 70 of 534




  e.   Syringe 1A will be replaced by Syringe 2A and the procedure described in
       subparagraphs a-d for Syringe 1A will be repeated. This process will be
       repeated for all subsequent syringes.

  f.   Following the administration of syringe numbers 1A, 2A, and 3A, and after
       at least five (5) minutes have elapsed since commencing the
       administration of syringe 1A, the Deputy Director, or designee, will confirm
       the condemned inmate is unconscious by using all necessary and
       medically-appropriate methods. The Deputy Director, or designee, shall
       also confirm that the IV line(s) remains affixed and functioning properly.

  g.   Once the Deputy Director, or designee, determines that the condemned
       inmate is unconscious, the remaining chemicals will be administered in the
       order they appear in Chart A.

  h.   In the unlikely event that the Deputy Director, or designee, determines that
       the condemned inmate remains conscious following the administration of
       the chemicals in syringe numbers 1A, 2A, and 3A, the back-up syringes of
       the first chemical (Syringe, 18 and 28) and saline (Syringe 38), shall be
       administered via the secondary or alternative IV line.

       (1)   Following the administration of syringe numbers 18, 28, and 38,
             and after at least five (5) minutes have elapsed since commencing
             the administration of syringe 18, the Deputy Director, or designee,
             will confirm the condemned inmate is unconscious by using all
             necessary and medically-appropriate methods. The Deputy
             Director, or designee, shall also confirm that the IV line(s) remains
             affixed and functioning properly.

       (2)   Once the Deputy Director, or designee, determines that the
             condemned inmate is unconscious, the remaining chemicals will be
             administered via the secondary or alternative IV line in the order
             they appear in Chart A.

  i.   Throughout the chemical infusion process, the Deputy Director, or
       designee, will closely monitor the infusion site for evidence of infiltrate,
       vein collapse, or other challenge to the patency of the infusion site.

       (1)   Should a problem be suspected, the Deputy Director, or designee,
             will direct reduction of chemical flow rate or redirect chemical to the
             secondary or alternative site.

       (2)   In the use of a singular infusion site pursuant to Section II (8), if the
             infusion site is suspected to be compromised, chemical flow rate
             will be reduced. If problem persists, the:



                                                                  Revised 08/06/2015

                                                                    Exhibit 1 Page 5
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 71 of 534




                      (a)    injection procedure will cease;

                      (b)    curtain to death chamber will close; and

                     (c)     the IV Team summoned, and the infusion site problem
                             corrected.

              (3)    If all efforts to re-establish patent infusion site fail, the Deputy
                     Director, or designee, will direct the IV Team to suspend further
                     action and trained, educated, and experienced person(s) necessary
                     to establish a primary IV line as a peripheral line or as a central
                     venous line will be summoned to facilitate an IV infusion site.

              (4)    When the infusion compromise is corrected, the IV Team and the
                '    summoned person(s) will be excused, the curtain reopened, and
                     the lethal injection procedure continued.

Section V. IV Team Qualifications

Each member of the IV team shall have at least two (2) years of professional
experience and certification or licensure in at least one of the following fields:

       1.     Emergency Medical Technician-Intermediate, or

       2.     Emergency Medical Technician-Paramedic, or

       3.     Nurse, or

       4.     Physician Assistant, or

       5.     Physician.




                                                                           Revised 08/06/2015

                                                                            Exhibit 1 Page 6
                     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 72 of 534




                               FEDERAL PUBLIC DEFENDER ORGANIZATION

CAPITAL HABEAS                         EASTERN DISTRICT OF ARKANSAS
     UNIT
   Jenniffer Horan                                        March 10, 2017
 FEDERAL DEFENDER

CAPITAL HABEAS CHIEF
    Scott Braden              Jim DePriest, General Counsel
ASSISTANT DEFENDERS
                              Arkansas Department of Correction
    Julie Vandiver            PO Box 8707
    John Williams             Pine Bluff, AR 71611
     Jamie Giani

 RESEARCH LAWYER              RE:        Freedom of Information Act Request
   Jason Kearney

   INVESTIGATORS
                              Dear Mr. DePriest:
    Dana Harrison
  Joseph Cummings
  Tonya Willingham
                                 My office represents three of the death-row inmates scheduled for
  ADMINISTRATIVE              execution in April. The Department has previously provided us with
      OFFICER                 its Lethal Injection Procedure dated August 6, 2015 (attached). I
   Debbie Williams
                              have several FOIA requests concerning practices covered by this
COMPUTER SYSTEMS              document, plus some additional requests.
 ADMINISTRATOR
  Sharon Robinson               First, Section IV.2.f of the Procedure says that, after the first three
                              syringes have been administered and five minutes have elapsed,
   OPERATIONS
  ADMINISTRATOR
                              someone "will confirm the condemned inmate is unconscious by
   Jeri Robinson              using all necessary and medically-appropriate methods." Please
                              provide all policies, documents, correspondence, or records of any
  ADMINISTRATIVE
    ASSISTANT
                              kind in the Department's possession that further define what the
      Dana Liner              Department considers to be "necessary and medically-appropriate
                              methods."
                                Second, Section IV.2.h of the Procedure provides that if the
                              prisoner remains conscious after administration of the first three
                              syringes, backup syringes will be administered. Please provide all
 MAILING ADDRESS
                              policies, documents, correspondence, or records of any kind in the
 1401 West Capitol            Department's possession that concern the Department's contingency
      Suite~O                 plan, including any plan for stopping the execution, should the
 Little Rock, Arkansas
                              prisoner appear to be conscious after administration of the backup
         72201
                              syringes, or should the prisoner show movement at any point during
  PHONE NUMBER                the execution.
   501-324-6114
                                Third, Section V of the Protocol discusses the IV team. Please
    FAX NUMBER
                              provide all policies, documents, correspondence, or records of any
    501-324-5630
                              kind in the Department's possession that further describe the
                              training and qualifications of the IV team or teams. Such documents
                              include, but are not limited to, training materials and training


                                                                                      Exhibit 2 Page 1
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 73 of 534




schedules for the upcoming executions; documents establishing the creden~ials of
each person who will be an IV team member; and documents exhibiting whether the
composition of the IV team will change from execution to execution.
    Fourth, Part II.8 of the Procedure establishes certain conditions in which the
Deputy Director or his designee "will direct the IV Team to suspend further action
and thereafter summon trained, educated, and experienced person(s) necessary to
establish a primary IV line as a peripheral line or as a central venous line." Please
provide all policies, documents, correspondence, or records of any kind in the
Department's possession concerning the qualifications of the person(s) described in
this passage and their availability for assistance during the upcoming executions.
   Fifth, Part I.1 of the Procedure states that the "Deputy Director, or the designee,
shall be healthcare trained, educated, and/or experienced in matters related to the
establishment and monitoring of IVs, the mixing and administration of the
chemicals, and assessing the presence or absence of consciousness." The Procedure
does not indicate whether the Deputy Director or designee must have the same
qualifications as the IV team. Please provide any record in the Department's
possession exhibiting the requisite credentials of the Deputy Director. Please also
provide any record in the Department's possession exhibiting the requisite
credentials of each person who will serve as designee.
   Sixth, please provide all records in the Department's possession concerning the
current execution schedule. This request encompasses, but is not limited to,
correspondence between the Department and other state offices concerning the
setting of the schedule; correspondence concerning the effect of the execution
schedule on Department employees and contractors; correspondence concerning the
Department's ability to successfully conduct eight executions on this timetable; and
internal Department documents concerning these topics.
    Finally, please confirm that the Lethal Injection Procedure has not changed
since August 6, 2015. If the Procedure has changed, please send me the new
version. Also, I would note that the Procedure appears to be an incomplete version
of the Department's execution protocols (as it is labeled "Attachment C"). Please
send me the Department's complete execution procedures (including any additional
attachments).
   Should the Department find it necessary to redact any portion of the requested
documents, please indicate the specific FOIA exemption claimed to justify the
redaction. Should the Department find no responsive documents to one or all of
these requests, please specify that in your reply.
   Thank you for your attention to this matter.




                                                                                        2

                                                                       Exhibit 2 Page 2
 Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 74 of 534




                                         Sincerely,




                                         John C. Williams
Attachment




                                                                      3

                                                        Exhibit 2 Page 3
  Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 75 of 534




                                                               Arkansas Department of Correction
                                                                          Legal Division
                                                                          P.O. Box 8707
                                                                Pine Bluff, Arkansas 71611-8707
                                                                    Phone: (870) 267-6371
                                                                      Fax: (870) 267-6373
                                                                    www.arkansas.gov/adc
Arkansas Departmentof Correction



                                     March 15, 2017

John C. Williams
Assistant Defender
1401 West Capitol, Suite 490
Little Rock, AR 72201

RE: FOIA Request

Dear Mr. Williams:

   On Friday evening, March 10, 2017, the Arkansas Department of Correction
received your e-mail with an attached Freedom of Information Act (FOIA) request.
The ADC acknowledged thel receipt of that request on Monday, March 13. This is
the AD C's response to that request.

   We are responding to t~e separate paragraphs of your request in the order
presented, using the same de,signations. Your request makes specific reference to a
document entitled "Lethal Injection Procedure (Attachment C)", a copy of which you
attached to your request. As a preliminary matter, the ADC confirms that this
document remains unchanged from the version attached to your /request which
appears to date from August 6, 2015.

   Your "First" request seeks records related to that portion of the lethal injection
procedure concerning the :determination that the inmate is unconscious. In
response, the ADC has determined that there are no additional records, beyond
Attachment C, which are responsive to your request.

   Your "Second" request relates to the same issue. In response, the ADC has
determined that there are no additional records, beyond Attachment C, which are
responsive to your request. In so responding the ADC notes that your request seeks
records related to a hypothetical fact situation not specifically referenced in



                                                                          Exhibit 3 Page 1
                               An Equal Opportunity Employer
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 76 of 534




Attachment C. Nonetheless, the response is the same. There are no records
responsive to this inquiry, beyond Attachment C.

    Your "Third)! request seeks three types of records. Each type is related to the IV
team described in, Attachment C. First you seek records which further describe the
training and qualifications of IV team members. In response, there are no
additional records which are responsive to the "qualifications" portion of this
category of records'. With respect to the "training schedules" portion of this request,
to the extent that such records exist, the ADC has determined that such records are
exempt from FOIA disclosure pursuant to the Arkansas Method of Execution Act,
Ark. Code Ann. § 5-4-617, in general, and more specifically, section 5-4-617(i), which
exempts from disclosure the implementation of the procedures listed in section 5·4-
617 (g).

   Next, under your "Third" request you seek records establishing the credentials of
each member of the IV team. To the extent that such records exist, the ADC has
determined that such records are exempt from FOIA disclosure pursuant to section
617(i), which excludes from disclosure, inter alia, the identity of entities and
persons who participate in the execution process or administer the lethal injection.
Finally, under your "Third" request you seek records regarding whether the
composition of the IV team will change from execution to execution. There are no
responsive records. If such records did exist, they would be exempt from disclosure
pursuant to section 617(i).

   Your "Fourth" request relates to potential suspension of the execution procedure.
There are no records, beyond Attachment C, which are responsive to your "Fourth"
request.

    Your "Fifth" request seeks records related to the "Deputy Director, or designee"
as described in Attachment C and the qualifications of that person. You inquire
whether that person must have the same qualifications as those listed for members
of the IV team. The Deputy Director and designee are healthcare trained; however,
you are correct that Attachment C does not require they meet the credentials of the
IV team. You then request the credentials of the Deputy Director and any person
who may serve as designee. To the extent that such records exist, the ADC has
determined that such records are exempt from FOIA disclosure pursuant to section
617(i), which excludes from disclosure the identity of entities and persons who
participate in the execution process or adminis~er the lethal injection.




                                                                     Exhibit 3 Page 2
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 77 of 534




   Your "Sixth" request seeks records related the execution schedule and logistics.
Although it is likely that some records potentially responsive to this requests exist,
the ADC has determined that any such records are exempt from FOIA disclosure
pursuant to section 5-4-617 (g).

    Finally, you ask that the ADC confirm that the Lethal Injection Procedure has:
not changed since August 6, 2015. As noted at the outset of this response, the
procedure has not changed. Noting the existence of Attachment C, you next ask for
a complete version of ·~the Department's execution protocols," The ADC has
determined that the remainder of any records which might fit the description you
provide are exempt from FOIA disclosure pursuant to the Arkansas Method of
Execution Act and its specific provisions described in more detail above. To the
extent your inquiry here might be interpreted to include records related to
visitation privileges, including those pertaining to legal counsel, those will be
disclosed in more detail in response to the separate inquiry which the ADC received
from your office.



?5.}/Z--
James B. DePriest
Chief Legal Counsel,
Arkansas Department of Correction




                                                                    Exhibit 3 Page 3
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 78 of 534
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 79 of 534




  OKLAHOMA DEPARTMENT OF PUBLIC SAFETY




                                                                   ~
                                                           ~
   The Execution of Clayton D~ett
                    Case Number       14-o-;$
                                     ~
                                      ~




Executive Summary



                                                          Exhibit 4 Page 1
           Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 80 of 534




Table of Contents

I.         BACKGROUND ....................................................................................................... 1


II.        INVESTIGATION .................................................................................................... 2
      A. Autopsy of Clayton D. Lockett...................................................................                                  .3
      B.
      C.
      D.
      E.
      F.     Interviews ................................................................   -~



Ill. FINDINGS ............................................................                      .. ........................................ 8
      A.
      B.
      c.
      D.
      E.
      F.     Toxicology Results          of~~

      G.
      H. Execution          Pr~~              ining of Execution Team .................................................... 20
      I.     Continge!....~Ming for Executions .................................................................... 22
      J.     Cessati(~ecution Protocols .......................................................................... 22
      K. Tw autions Scheduled on the Same Day ....................................................... 23
      i...-~rir~],j~
                 nrnee of Daily Logs .................................................................................... 23
                 e of Midazolam, Vecuronium Bromide and Potassium Chloride ....................... 24
      N. Historical Incident Reports and Medical Records .................................................. 24
      0. Lockett's Movements and Sounds after Drug Administration ................................ 25




                                                                                                                   Exhibit 4 Page 2
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 81 of 534




IV. RECOMMENDATIONS .......................................................................................... 26
  A. Observation of IV Insertion Point(s) and Infusion .................................................. 26
  B.    Training and Maintenance of Execution Log for Condemned Offenders ............... 26
  C. Additional Execution Supplies ............................................................................... 27
  D. Contingency Plans in Protocols/Policy .................................................................. 27
  E.                                                                                   ~ 28
        Formal and Continuing Training Program for Execution Personnel ..................
  F.    Formal After-Action Review of the Execution Processes ....................... ~~8
  G. Defined Execution Terminology .......................................................     ~V. ....... 28
  H. Completion of One Execution per Seven Calendar Days ......                      <:;;,"l:j.. . . . . . . .      28
  I.    Updated Methods of Communication ............................................ .. .................... 28
  J.    Disposition of Executed Offender's Property .................           c., . . . . . . . . . . . . . . .   29
  K.    Execution Witness Briefing ..................................... ~··································· 29



                                                        ~
                                                      ~~
                                           ~o
                                    (Q~
                       ~~
                 a:;.
 <::>(Q~


                                                                                             Exhibit 4 Page 3
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 82 of 534




I.     BACKGROUND
       The State of Oklahoma, through the Office of the Attorney General (OAG), filed an
Application for Execution Date tor Clayton Derrell Lockett on January 13, 2014. Lockett
had been convicted of first degree murder for a 1999 case in Noble County and
sentenced to death. On January 22, the Oklahoma Court of Criminal Appeals         ord~\ the
execution to be set for March 20. Motions were later filed on behalf of     ~~d
another offender sentenced to death, Charles Warner, that            challie~homa's
execution-secrecy law and execution protocol. On March 18,            ?.j         of Criminal
Appeals vacated Lockett's execution date and it was reset for A , .             his order also
rescheduled Warner's execution from March 27 to April 29 .
       On April 9, the Court of Criminal Appeals denied
                                                               •     · ation for stay made by
both offenders. On April 21, the Oklahoma Supreme          u       ued a stay of execution for
Lockett and Warner. In response, Governor       M~r~~          ued Executive Order 2014-08,
which granted a stay of Lockett's execution an       ~s~uled it for April 29, based on the
Supreme Court not having constitutiona,uthor y to issue a stay. On April 23, the
Supreme Court dissolved their stay.       B~ April       23 and April 29, an application for
extraordinary relief was denied by1f courts, as was another request for a stay.
       On the morning of         A~Y, Oklahoma          Department of Corrections (DOC)
personnel began        procedur~)'repare      for Lockett's and Warner's executions at the
Oklahoma State    Penit~ (OSP) in McAlester, Oklahoma. Lockett's execution was
scheduled to   begi ~) p.m. Lockett was removed from his cell that morning and
taken to the .In ·     · nal Health Care Center (IHCC), located on prison grounds, for self-
                        to the inside of his arms and his pre-execution medical examination.
        -~·· ..lliCd   at IHCC until later that afternoon, when he was returned to H-Unit to


        ockett was taken to the execution chamber, placed onto the table, and after failed
attempts in other locations, an intravenous (IV) line was started in Lockett's right groin
area. On the order of Warden Anita Trammell, the administration of execution drugs
began. Several minutes into the process, it was determined there was a problem with the
IV patency. The execution was stopped and Lockett later died in the execution chamber.


                                                1

                                                                            Exhibit 4 Page 4
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 83 of 534




          On April 30, Governor Fallin issued Executive Order 2014-11, which appointed
Secretary of Safety and Security and Department of Public Safety (DPS) Commissioner
Michael Thompson to conduct an independent review of the events leading up to and
during Lockett's execution. This order stated the review should include:
          1. An inquiry into the cause of death by a forensic pathologist;
        2. An inquiry into whether DOC correctly followed their current
             executions;
        3. Recommendations to improve the execution protocol used by
             further directed that the Office of the Chief Medi~~                 er (OCME)
             authorize the Southwestern Institute of Forensics   Scie~         IFS) in Dallas,
             Texas to perform the autopsy, additional exa~ne and all other related
             testing of Lockett's remains.               '~
        In order to effectuate the examination,     OCME~~cted          to transport Lockett's
remains to and from SWIFS. OCME was          also~\,~propriately maintain Lockett's
remains until they were released to his      ft;1i~o~issioner        Thompson assembled a
team of DPS investigators to conduct         t~nvestigation     and report its findings. This
executive summary, along with its atta9nts and supporting documentation, are the
result of the investigation conduct~his team.


II.     INVESTIGA      TI~e;
                                  ~
        This investi90'~~conducted by a team of six investigators assigned full-time
to the case. Nine~~ators and a criminal intelligence analyst were also utilized part-
time to   assist~~         case. All investigators were sworn, law enforcement members of
the   Okla~~hway Patrol (OHP) Division of DPS. A medical expert was also
con    It ~~ the investigation t6 assist the investigators in understanding the various
t     nic I aspects related to the medical procedures that were performed during the
exec ion. The expert was a current, American Board of Surgery certified physician with
more than 35 years of experience in the medical field. The remainder of this section
outlines the methodology utilized by the team to complete this investigation.




                                                2

                                                                             Exhibit 4 Page 5
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 84 of 534




          A. Autopsy of Clayton D. Lockett
      On April 29, at 7:50 p.m., DOC released Lockett's body to the OCME designated
transport contractor, Ray Francisco's Embalming Service, who transported the body to
OCME in Tulsa, Oklahoma. On the morning of April 30, OCME pathologists began an
external examination of the body. A portion of the superficial veins of the right and left
arms were explored, photographed and removed. Personnel also obtaine                      od




started a posterior body inspection or internal examinati?n. OCMf8..,!!'         ed the body
and evidence in a body bag and placed it in storage. Later that ~.:?ckett's body and
evidence were transported by Ray Francisco's Embalmi149 f;ce to SWIFS and the
transport was monitored by a member of the       investigation~
      On May 1, the autopsy of Lockett's body was                 ted by Dr. Joni McClain and
other SWIFS staff. A member of the invest'                     m observed the autopsy and
evidence processing procedures. Dr. M Gia               completed the external and internal
examinations of the body utilizing SWIF             ormal procedures and protocols. After the
autopsy was complete, Lockett's bod                  released to Ray Francisco's Embalming
Service and transported back to   O~n Tulsa.
      During this investigation        e   vestigation team met with the SWIFS pathologists
and staff to gain a better      e tanding of their autopsy process and its findings. The
results of the autopsy            toxicology tests that were completed are summarized in
                         t   report.

                     f the Oklahoma State Penitentiary
                5, the investigation team met with Warden Trammell and several OSP
               o prepare for a tour of H-Unit and IHCC. The team was escorted through
         here they viewed the holding cells, shower, execution chamber, executioners'
room and medical room. The team also collected evidence during the tour. The team was
then escorted to IHCC and viewed the area where Lockett was treated for his self-
inflicted wounds and the cell.where he was held, until being returned to H-Unit. After the
tour, the team met with Warden Trammell and her staff to collect additional evidence and


                                                3

                                                                            Exhibit 4 Page 6
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 85 of 534




retrieve documents requested for the investigation. Several measurements and
photographs were taken during the tour to document the execution facilities, which were
later used to construct Diagram 11.1.




      OSP EXECUTION                                     FACILITY~
                      Executioners' Room                                               •
                                          l
                                                        11
                                                         ••
                                          t             •••
                                                         ••  •
                                                         •• ••
                                                        ••
                                 -·                       ••••
                                        _,,.,.
                                                         ••tr,
                                                 """'--~-m,-C~C-w




                                                                 \\
                                                                      \,



                                /
                                                                       """"\Viewing
            Execution Chamber                                               Room
                                                                             Diagram 11.1




manner it was on the day of Lockett's execution. The team measured the ability for a
person to move and their range of motion, once secured to the table, and took
photographs from the viewing room to show the different perspectives from the various
seating locations.

                                           4

                                                                           Exhibit 4 Page 7
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 86 of 534




            C. Collection of Evidence
        Numerous items of evidence were collected                       and   preserved during this
investigation. This evidence included digital photographs, audio recordings, video
recordings, documents and other items of physical evidence. The remainder of this
section is a summary of the evidence collected.
        During their examination, OCME staff collected a blood sample               from~c
                                                                                         ' left
femoral artery/vein. An aliquot of that sample was submitted by OCME                                   in
Willow Grove, Pennsylvania, to test for the presence and concentration o                i       lam and
vecuronium bromide. On June 12, the investigation team obtaine                              1quot of that
sample and submitted it to ExperTox Laboratory in Deer Park,
presence and concentration of potassium. In            accordanc~ w·          their normal procedure,
OCME had not requested NMS Labs to test for the                               e and concentration of
potassium. The results of these examinations are in..,.._...,.., ....
summary. The remainder of the sample is bein,,..u.0 r1 1•
       On May 1, evidentiary items         relat~ to      e administration of execution drugs to
Lockett were released by SWIFS to the           i~igation      team. These items were delivered
by a team member to ExperTox. EviderQ:ms that were inside Lockett's body bag and
body are being maintained at          ~,         the Oklahoma State Bureau of Investigation
Laboratory or the OHP       eviden~age facility. The team also collected the execution
drugs and    containers~h
                        e;prescribed to                 offender Charles Warner. Custody was
transferred from     ose        s nnel to a team member, who hand-delivered them to
ExperTox for testiriX._~
       On   Ma~~imately 200 items of evidence were collected at OSP, during the
facility toui('\Vconsisted of· items from Lockett's cell, the execution chamber, the
executif9tJ-('oom and video footage from inside the facility prior to the execution.
~Vare               not recorded; therefore, there was no video footage of the actual
ex~n. These items are being maintained at the OHP evidence storage facility.
            D. Review of Surveillance and Camcorder Video
       Thirty-two compact disks containing surveillance and camcorder video footage
were collected and viewed. Following is a summary of this video provided by DOC:


                                                   5

                                                                                    Exhibit 4 Page 8
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 87 of 534




      1. Video surveillance footage from OSP for April 29, from 5:15 a.m. to 5:22 p.m.,
           that recorded Lockett's movements in H-Unit and IHCC;
      2. Camcorder video footage for the planned use of force that showed the
           extraction of Lockett from his cell on the morning of April 29. The footage
           contained statements explaining the force, restraints to be used and each
           extraction team member's duties. The footage also captured his tr a           e t at
           H-Unit medical, his transport to IHCC, his treatment at IHCC and hi      -     ·
      3. Camcorder video footage of Lockett refusing a meal on April         fl.~       footage
           captured Lockett refusing a meal and had a       statemeny~ personnel
           that Lockett had refused all three meals that day.        "";)

           E. Documentation Provided by Oklahom                        ent of Corrections
      Throughout this investigation, several hu                        of documents were
requested and obtained from DOC. This team re u                 ny documentation related to
Lockett and his execution, including but not linQ.t       gs, incident reports, timelines and
historical medical records. Following is yon1&1usive summary of those documents
obtained from DOC.                       N
      1. Memorandums from W¥n  ~mel to OSP personnel;
      2. Legal documentation ~o Lockett's court proceedings;
      3. Use-of-force docu      ~o~ from April 29, including TASER training records;
      4.                           log of items sent to Lockett's family;
      5.
      6.



  ~...01'-t"-e   tion duties listed by department and training/practice logs;
           Lockett's 30-day notification packets;
      10. DOC execution procedures;
      11. Various incident reports;
      12. Affidavit of Warden Anita Trammell related to the execution drugs;
      13. Diagram of the execution chamber;
      14. Death warrant for Clayton Lockett;
                                              6

                                                                            Exhibit 4 Page 9
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 88 of 534




      15. Execution debrief personnel log;
      16. Execution chamber key log;
      17. Interoffice memorandums, emails and training documents related to the
           execution duties of DOC personnel.

           F. Interviews                                                            "1lbo...\

      During this investigation, 113 people were identified to interview. Of ~08
were interviewed, four media witnesses who viewed the execution deer               · terview
and one OCME employee was on extended leave and not available tn.AlliP.lltii
up interviews of select witnesses were also conducted. Each inte      e        the exception
of four, was audio recorded and reduced to a typed report by ,_iran       ption service. The
four interviews that were not recorded included~h
                                              ., ~xecutioners and the
pharmacist. Below is a summary of those that were i              .
      1. The physician, Warden Trammell and lh~               ditional DOC personnel that
           were in the execution chamber at   thA~e execution;
      2. The paramedic, one DOC        emp6ee~ the        three executioners that were in
           the executioners' room at the ~the execution;
      3. Persons that viewed      ttivxe~n from the viewing          room or overflow area,
           including personnel   f~~. Office of the Attorney         General, media outlets,
           Lockett's attorneyf?'l~bers of the Neiman family, the Noble County District
           Attorney   and~V°offices,      the Perry Police Department and the Secretary
           of Safet     ~~rity;
      4.   Govern~          and eight members of her staff;
      5. M              of DOC's administrative staff including the Director, Associate
                              Manager, current and former members of DOC's General


                               officers involved in different aspects of the execution,
           including staff who interacted with Lockett several days leading up to the
           execution;
      7. DOC medical and mental health staff members;
      8. OCME staff involved in the examination and chain-of-custody of Lockett's body
           and evidence;
                                              7

                                                                          Exhibit 4 Page 10
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 89 of 534




         9. Employees of Ray Francisco's Embalming Service responsible for the transport
            of Lockett's body;
         10. The pharmacist that filled the prescription of execution drugs.



III.     FINDINGS                                                                 ~
         After reviewing and considering all interviews, documentation an                   ce
gathered during this investigation, this team has reached several conclieo(Pt~           rding
Lockett's execution. Some factors ultimately contributed to the issues         ~Vse     during
the process, while others directly affected how those issues
                                  I
                                                                                  died by the
personnel in the execution chamber. Each of this team's findings 1s
with a detailed timeline of events.

            A. Timeline
         "The following is a timeline of events                      in regards to Lockett's
execution. The approximate times associate                ith each event have been compiled
utilizing witness accounts and   documentat~bta1ned during this investigation.

                      April 29. 201~
                                           0
12:00-4:30 a.m.       DOC   pers~onducted a unit check and count in            H-Unit every 30
                      minutes0>~:~0 a.m., personnel conducted a welfare              check of
                      Lo~d no problems were noted or discovered.
4:30-5:05 a.m.     ,./~~rrectional        Emergency Response Team (CERT) arrived at H-
                   ~nit    and began preparations to remove Lockett from cell SW-3-JJ to
             - .. ,._.., escort him to IHCC for x-rays.
                      CERT arrived at cell SW-3-JJ and Lockett refused to comply with
                      orders. He was covered by a blanket and moving, but would not
                      uncover or approach the cell door to be restrained.
5:09-5:50 a.m.        CERT exited the area of cell SW-3-JJ to prepare for cell entry and
                      extraction. Blood was observed by DOC personnel inside cell SW-3-
                      JJ. A use of force plan was established and approval was given by
                      DOC administration to utilize a TASER.


                                                8

                                                                           Exhibit 4 Page 11
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 90 of 534




5:30 a.m.            DOC personnel performed another check and Lockett failed to
                    comply with the order to approach the cell door and uncover himself.
5:50 a.m.           CERT arrived at cell 8W-3-JJ for extraction and determined Lockett
                    had attempted to jam the door. The door was forced open, Lockett
                    refused to comply with verbal commands and a TA8ER was
                    deployed. CERT members observed self-inflicted                lace5~\ on
                    Lockett's arms.                                                I>~~
5:53 a.m.           Lockett was secured by CERT, removed from the                  ~ed on a
                    gurney and transported to H-Unit medical.        ~~             de from an
                    issued, disposable shaving razor was locat?'rfe the cell and
                    confiscated.                       ~
5:53-6:45 a.m.      Lockett was medically evaluated at  aical.
6:35 a.m.           Lockett was transported from            m     edical to IHCC. He was
                    placed in IHCC holding c l ' i . : / j remained in handcuffs and leg
                    irons.                       ~
6:45 a.m.           DOC personnel     enter~ll S2 and medical staff evaluated Lockett's
                    lacerations.         0
7:00-8:15 a.m.      DOC personn~ered cell 82 every 15 minutes to check Lockett.
8:15 a.m.           Lockett     wa~ved from cell 82 and taken to the IHCC emergency
                    room     to~mined by DOC medical staff.
8:40 a.m.           L~s returned to cell 82.
8:50-9:35 a.m.   J~ personnel           entered cell 82 every 10-15 minutes to check
              """"'4,,ockett.
9:15 a.m . .('\VLockett refused visits from his attorneys.
9:42 a.~""'(        Lockett refused a food tray.
~-                  DOC personnel entered cell 82 to check Lockett.
1o"Vo:30 a.m.       DOC personnel entered cell 82 to check Lockett every 15 minutes.
10:25 a.m.          Lockett confirmed his refusal to visit with. his attorneys.
10:45 a.m.          DOC personnel entered cell 82 to check Lockett and adjust
                    restraints.
11 :11 a.m.         Lockett refused a food tray.

                                             9

                                                                          Exhibit 4 Page 12
        Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 91 of 534




11 :20 a.m.               DOC personnel entered cell 82 to check Lockett and adjusted
                          restraints.
11 :35a.m.-3:55p.m. DOC personnel entered cell 82 to check Lockett every 15-20
                          minutes.
3:35 p.m.                 DOC personnel retrieved the execution drugs from refrigerated
                         storage at 08P for transport to the execution chamber.
4:10 p.m.                 DOC personnel entered cell 82 to adjust restraints,                       d
                         prepare Lockett for transport from IHCC to H-Unit.
4:15 p.m.                 DOC personnel placed the execution drugr....:.'
                          room.                                            ~..}

4:31 p.m.                The three executioners and        parame~ic      ntered the executioners'
                         room and began preparation.            '-.  1'
4:40 p.m.                 Lockett was transported to     H-Uni~"'}ced into shower 8W-4.
4:55-5:10 p.m.            Lockett visited with a   Do~"Yth staff member.
5:19 p.m.                The five strap-down       t~m "tf(.mbers   and Warden Trammell entered
                         the cell area to   remov~kett      from shower 8W-4.
5:21 p.m.                 Lockett was rem             from shower 8W-4 and escorted to the
                         execution cha~
5:22 p.m.                 Lockett   wa~d onto the execution table and strapped down.
5:26 p.m.                The   str~n team exited the execution chamber.
5:27-6:18 p.m.           T~edic             and physician attempted IV placement access in
                       ./~I; locations and were          unsuccessful. The physician believed he
                    ~'tarted an IV in Lockett's right groin area.
5:45-5:57 ~          V    Victim's witnesses, media personnel, and Lockett's attorneys were
            ~""'(         summoned to the viewing room and seated .
 ..-n   -p'.... .         The paramedic and physician determined the IV line was viable.
                          The paramedic re-entered the executioners' room.
6:22 p.m.                 DOC Director Robert Patton and selected officials were summoned
                          and seated in the viewing room.




                                                    10

                                                                                Exhibit 4 Page 13
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 92 of 534




6:23 p.m.          Director Patton received approval from the Governor's Office to
                   proceed with the execution. He then approved Warden Trammell to
                   proceed. The blinds between the viewing room and execution
                   chamber were raised and Lockett was asked if he wished to make a
                   statement. He refused and Warden Trammell announced that the
                   execution was to begin.                                             ,..,,,_\
                   The full dose of midazolam and an appropriate             salin~re
                   administered. A DOC employee began to keep time           lta~;atch.
6:30 p.m.          The signal was given that five minutes             ~~~d             and the
                   physician determined Lockett was         conscious.~personnel             began
                   to keep additional time on a stopwatch.        r    ~
6:33 p.m.          The signal was given that two             "~ad           elapsed and the
                   physician determined Lockett         w~~nscious.         Warden Trammel
                   signaled for the        executio~~e. The full dose of vecuronium
                   bromide, an appropriai s~ flush and a majority of the potassium
                   chloride were     adminis~.

6:33-6:42 p.m.     Lockett began to        ~nd        make sounds on the execution table. It
                   should be n~hat the interview statements of the witnesses
                   regarding     L~ s movements and sounds were inconsistent.
                   The       Rh~         inspected the IV insertion site and determined there
                   w~ue, which was relayed to Warden Trammell.
6:42 p.m.        ..!~'direction of Warden Trammell, .the blinds were lowered. The
             ~~xecutioner stopped administering the potassium chloride.

6:42-7:06 ~V It should be noted that the interview statements of the individuals in
       I'>X        the       execution     chamber were     inconsistent.   However,    it    was
       ~     /     determined the following events did occur inside the execution
                   chamber during this time period.
                         •    The paramedic re-entered the execution chamber to assist the
                              physician.
                         •    The physician attempted IV access into Lockett's left, femoral
                              vein. However, no access was completed.

                                                11

                                                                            Exhibit 4 Page 14
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 93 of 534




                    •     When questioned by Warden Trammell, the physician initially
                          believed that Lockett may not have received enough of the
                          execution drugs to induce death. He also believed there were
                          not enough execution drugs left to continue the execution.
                    •     The physician and paramedic continued to monitor Lockett's
                          heart rate utilizing an EKG machine. While attemptin
                          the IV access, it was observed that Lockett's-iiieqli!Jl;        te
                          continued to decrease.
                                                                                  s appeared


                    •
                                                                   and eventually slowed


                    •     There   were    thr~     · fe      recollections   of     Lockett's
                          movements dutg mti(period. Four reported that Lockett did
                          not move, one   ~rted    he moved slightly and the last recalled
                          a more aggre movement.
                 The following~s occurred outside the viewing room door in the
                 H-Unit   hall~
                    •     ~r Patton,       OAG representatives Tom Bates and John
                 ~den and Secretary Thompson removed themselves from
                ~1he viewing room and discussed with the Governor's Office
                          about how to proceed.
6:56 p.m.        Director Patton halted/stopped the execution, which was relayed to
                 the execution chamber.
                 Witnesses were escorted out of the viewing room.
                 The physician pronounced Lockett deceased.
7:50 p.m.        After being unstrapped from the execution table, Lockett's body was
                 removed from OSP and transferred to the Office of the Chief Medical
                 Examiner transport.



                                          12

                                                                      Exhibit 4 Page 15
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 94 of 534




          B. Autopsy Results for Clayton D. Lockett
      Based on the autopsy, Lockett's cause of death was listed as Judicial Execution
by Lethal Injection. The manner of death was listed as Judicially Ordered Execution.
SWIFS pathologists concluded that Lockett died as the result of judicial execution by
lethal injection. Following is a summary of the findings made by SWIFS personnel during
their examination of Lockett's body and additional information obtain                    ~\the
investigation team from SWIFS or through the investigation:                      (,   (>0
      1. Judicial execution with:                                                ~"<./
             a. Execution protocol medications used:            midazor~~ronium              and
                potassium chloride.                                      .J
                                                                    .,,,,,,.
             b. History of difficulty finding intravenouj e ; s sites resulting in
                numerous attempts to start an IV.           ~
             c. Attempts in both antecubital fossa,    ~uinal regions, left subclavian
                region, right foot and right jug        i   .
      2. Superficial incised wounds of ttz. up      r extremities consistent with history of
         self-inflicted incised wounds   wit~afety    razor.
      3. Contusions and abrasions of     ~ities.
      4. Cardiac hypertrophy   (48~ms)
      5. Mild coronary   arte~~clerosis.
      6. Hydroxyzine de ~
            a. Locke     a prescribed hydroxyzine, but the prescription had ended
               M          here were emails from DOC personnel alleging Lockett had
                       arding medication. SWIFS personnel stated there were higher
                    therapeutic levels of hydroxyzine present in Lockett's system and
                   oxyzine should not have interfered with the execution drugs
               administered. They also could not determine when or how much of the
               hydroxyzine was taken.
          o evidence of dehydration.
          No Taser marks on the body.
      9. Toxicology indicated elevated concentrations of midazolam in the tissue near
          the insertion site in the right groin area, which is indicative of it not being
          administered into the vein as prescribed in execution protocols. The presence
          of midazolam in the psoas muscle indicates midazolam was distributed

                                             13

                                                                               Exhibit 4 Page 16
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 95 of 534




             throughout Lockett's body during the execution. According to SWIFS
             pathologists, the concentration of midazolam located in Lockett's blood was
             greater than the therapeutic level necessary to render an average person
             unconscious.
           10. Vecuronium bromide was found in the femoral blood sample taken from
             Lockett's body. The presence of vecuronium bromide in the        pso()~cle
             indicates vecuronium bromide was distributed throughout Lockett's   ~g
             the execution.                                       {t ~
       11. Potassium was found in the femoral blood sample taken~~tt's body.

             C. DOC Execution Protocols                              ~
       Regarding whether DOC correctly followed      th~e·r
                                                        c ~'~ution protocols, it was
determined there were minor deviations from sp            i·   ~lirements outlined in the
protocol in effect on April 29. Despite those devi~i~ · was determined the protocol
was substantially and correctly complied with    QM the entire process. None of the
identified deviations contributed to the   co~~ encountered during this execution.
             D. IV Insertion, Viability a        ministration of Execution Drugs
       The physician and parameNade several attempts to start a viable IV access
point. They both believed th      ~ess was the        major issue with this execution. This
investigation concluded t          · ty of the IV access point was the single greatest factor
that contributed to the         I in administering the execution drugs.
                               issue, several DOC personnel made statements referencing
Lockett purpo             ehydrating himself. Lockett made statements to the paramedic that
he had be~           CJrating himself for three days. However, SWIFS pathologists found no
indicati     ~)(Lockett was dehydrated at the time of his execution. SWIFS also
               ockett's blood loss from the self-inflicted wounds to his arms should not have
           issues with the IV access.




                                               14

                                                                          Exhibit 4 Page 17
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 96 of 534




       Interviews and documentation indicated several vein checks had been performed
by DOC medical personnel leading up to and on the day of the execution. Each check
indicated that Lockett's veins were "good". At least three interviews of DOC medical
personnel indicated they viewed Lockett's veins on the morning of the execution. Their
observations concluded his veins were "good" and acceptable for IV access.
       The IV insertion process was started by an emergency medical techni~~ed
as a paramedic. The paramedic had been licensed in emergency medical                  ~or
more than 40 years and as a paramedic for over 20 years. This                p(&~      ad also
instructed at the intermediate level. The licenses possessed at    th~~e execution
were valid until 2015 and were from the Oklahoma State Depart           ~~ealth and the
National Registry of Emergency Medical Technicians. The ~arl'he..dic provided the prison
a copy of the above licenses in January or February  ~'"""' paramedic estimated
he/she had been involved in every lethal injection ex~~ Oklahoma, except for two.
His/her specific assignments were to start     a~~Ye a proper               infusion of saline,
attach a cardiac monitor to Lockett and   dul,~~ex~ution,       make sure the executioners
did their part of the procedure   aseptically,~    correct time and the correct speed.
       The IV access was completed tGnysician licensed as a medical doctor. The
physician graduated medical sch~er 15 years ago, currently worked in emergency
m~dicine and was certified in f~edicine. His license expires July 1 of each year and
was current at the time of e;xecution. He had not provided a current copy of his
license to DOC prior t      ii    , but days later was called and asked for a copy. This was
his second exec            'th the first being four to five years earlier. The physician
understood~i             were to assess Lockett to determine if he was unconscious and
ultimately t        nee his death. He was contacted two days prior to the execution date
and as~~         in for another physician that had a scheduling conflict.
 A'Vre Lockett was moved into the chamber, the paramedic prepared the IV lines
an"Milable execution tools. He/she also verified the drugs were properly labeled and
were for Lockett. After Lockett was brought to the chamber and secured to the execution
table, the paramedic began to assess his veins. The paramedic first attempted access in
the left arm and found a vein with an 18-gauge needle/catheter and observed flashback,
a condition sought during IV placement. The paramedic did not have adhesive tape on

                                              15

                                                                            Exhibit 4 Page 18
         Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 97 of 534




     his/her person to secure the catheter. Before the tape was retrieved, the vein became
./
     unviable. The paramedic then attempted two additional IV insertions into the left arm
     using the same type needles/catheters, but never observed flashback.
            After these attempts, the physician became involved and attempted IV access into
     Lockett's left, external jugular vein utilizing a 1114 inch, 14-gauge needle/catheter. During
     his interview, the physician stated he penetrated this vein and          obtaine~flck.
     Seconds later, it became unviable and he was unable to continue with that                     e
     physician was attempting this access, the paramedic was           attemptin.§_g't~      ss into
     Lockett's right arm. After three attempts, the paramedic was unar~a viable IV
     access point in this arm.                                             ~

            Next, the physician attempted to locate the subcla~arf(teiQ on Lockett's left side
     utilizing a central venous catheritization kit. During the   at~'nfe physician       observed a
     very small amount of flashback, but he was unable             ~~it.   The physician believed
     the needle was penetrating through the vein;/\           t    Cluring his interview he did not
     have access to an ultrasound machine,       tic~ a       commonly used tool to locate and
     penetrate veins.                            ~

            As the physician attempted       s~ian        access, the paramedic attempted IV
     access in two separate locations        ockett's right foot with 20 gauge needles/catheters.
     The paramedic said the        vei~d        and disappeared during those attempts. The
     paramedic believed the      nee~etrated the veins, but flashback was never observed.
     The paramedic did no             t access into any other veins because the physician made
     the decision to atte
            The~h
                ·           requested a longer needle/catheter for the femoral access. The
     paramedic           ed to locate a 2 or 2112-inch, 14-gauge needle/catheter, but none were
     readily 9i~     e. The physician also asked for an intraosseous infusion needle, but was
     tc.AY.on did not have those either. Both agreed their preferred needle/catheter
     le~ould       have been 1% to 2112 inches. The physician had never attempted femoral
     vein access with a 1114 inch needle/catheter; however, it was the longest DOC had readily
     available. An additional central venous catheterization kit was available, but the physician
     did not think about utilizing one for femoral access.



                                                   16

                                                                               Exhibit 4 Page 19
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 98 of 534




         Lockett's scrub pants and underwear were cut in order to expose the femoral area.
 The physician located the femoral vein and believed the vein was penetrated because he
 observed good flashback. The paramedic taped the catheter to Lockett's body, and
 stated during his/her interview it became positional. The physician believed it was
 bending because of its length. He and the paramedic positioned the catheter where they
 were able to observe slow infusion of saline and secured it with adhesivEt
                                                                         . J"he
autopsy did not conclude the femoral vein was punctured. However, SWIF                       el
 indicated they only examined the portion of the femoral vein that had      b~         cted by
OCME and not the entire vein.                                         r~'lJ.
         The physician was asked about starting a second IV        line.~ated      he was not
going to make another attempt. The physician and        param~di     ere comfortable with the
 IV placement and the infusion of saline through the line.              not the first execution
. in Oklahoma where only one IV access point had
only one access point.
         Warden Trammell decided to cover
                                                 <'iv
                                               Lo~'s
                                                      be~i         ed and protocol allowed for


                                                         body with a sheet, including the IV
insertion area, which, according to her,    w~rmal in all executions. Another reason for
her decision was to maintain Lockett's E2)ty and keep his genital area covered. From
that time, no one had visual obse        tion of the IV insertion point until it was determined
there was an issue and the       ph~      raised the sheet. Warden Trammell acknowledged
it would be her norma~dut             erve an IV insertion point for problems. She believed if
the IV insertion point          e   viewed, the issue would have been detected earlier. The
physician added t              V would normally be monitored by watching the flow of the IV
 line and the ar111m111i:i"W




          nd the physician remained in the execution chamber. Once Warden Trammell
 announced it was time to begin the execution, the paramedic began the procedure to
 administer the drugs. The paramedic first used a hemostat to clamp the IV line above the
 access port, to stop the flow of execution drugs from going up the line. The IV drip was
 never reestablished after that point. The midazolam and the appropriate flushes were

                                               17

                                                                           Exhibit 4 Page 20
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 99 of 534




administered into the single access port by the executioners in the order they were
presented by the paramedic. The paramedic and executioners were certain the drugs
were pushed steady and in the proper manner because of their past experiences in
performing the same roles. The DOC employee in the executioners' room then began to
keep time using a stopwatch.
          According to execution     protocol,    the vecuronium   bromide   sh~ll~be
administered until at least five minutes after the administration of midazolam              e
execution, DOC administration determined if _Lockett was not         uncon~' ter five
minutes, he would be checked every two minutes,         until he was f"'~nconscious.
Five minutes after the administration of midazolam, the physician '1ned Lockett was
conscious. After an additional two minutes, the physician• deined that Lockett was
unconscious.                                                '~
      Warden Trammell signaled for the                exec~)ocess        to continue.   The
executioners, with assistance from the     param~~Yadministering the vecuronium
bromide, the potassium chloride and the a~r~te saline flushes. Both syringes of the
vecuronium bromide, appropriate saline            shes, the first full syringe of potassium
chloride and a portion of the second syQo potassium chloride were administered. At
some point during the administrati\{of. these two drugs, Lockett began to move and the
physician recognized there   wa~m.
          The physician ap   r~          Lockett and indicated to Warden Trammell that
something was wrong          I   ked under the sheet and recognized the IV had infiltrated.
At this same time,           Trammell viewed what appeared to be a clear liquid and blood
on Lockett's    ~·      the groin area. The physician observed an area of swelling
underneat       aW and described it as smaller than a tennis ba11, but 1arger than a golf
ball. T           ian believed the swelling would have been noticeable if the access point
~             ewed during the process.
  ~he execution process was stopped as one of the executioners was administering
the second syringe of potassium chloride. The executioner immediately stopped pushing
the syringe with approximately 10 milliliters of potassium chloride remaining. The
remainder of the drug was later wasted into a bio-hazard bin by the paramedic.



                                                 18

                                                                      , Exhibit 4 Page 21
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 100 of 534




        The blinds to the execution chamber were lowered and the paramedic exited the
executioners' room to assist the physician. The physician told the paramedic the catheter
dislodged. The paramedic observed the catheter was tilted to one side and believed it
was no longer penetrating the vein. The physician decided to attempt IV insertion into the
left-side femoral vein. The physician first penetrated Lockett's femoral artery and another
access point into the vein was never completed because the physician believeq t~~ugs
were being absorbed into his tissue.                                               ~l
        The physician and paramedic were unsure when the catheter beflrk.lslodged
and how much of each drug had made it into Lockett's vein.              j"'~Y          indicated
elevated concentrations of midazolam in the tissue near the         in~         site in the right
groin area, which was indicative of the drugs not being j-dlf1tni~tered into the vein as
intended. Thus, the IV access was not viable as          ear~V administration             of the
midazolam.                                              ~
            E. Toxicology Results ofFemor                    ample: Clayton D. Lockett
        On May 14 and May 19, OCME dc(;imen d the toxicology results they received
from NMS Labs on an aliquot of the      fe"""~lood     sample they obtained from Lockett's
body on April 30. The results i n t tdi~azolam concentration of 0.57 mcg/ml and a
vecuronium concentration of 3             L. On June 26, ExperTox completed toxicology
testing of an aliquot of the s'9 ~     oral blood sample. The results of this test indicated a
potassium    concentrati~~ 4           mole/L. It should be noted that testing for the
concentration of ~~~after death can be problematic due to the body's natural
processes,   which~~an      increase in the concentrations of potassium in the blood over
time.          ~·
        {)l'Q.xicology Results of Execution Supplies: Clayton D. Lockett
 A~ay           5, ExperTox completed testing of the execution supplies utilized during
Lo~s       execution. They analyzed the contents by liquid chromatography/triple quad
mass     spectrometry   (LC/MSMS)       and    inductively    coupled   argon     plasma-mass
spectrometry (ICP-MS) for the detection and quantitation of midazolam, vecuronium
bromide and potassium chloride. ExperTox reported the following:



                                              19

                                                                          Exhibit 4 Page 22
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 101 of 534




       1. The two syringes labeled midazolam contained residues consistent with the
          listed label content of 5 mg/ml.
       2. The two syringes labeled vecuronium bromide contained residues consistent
          with the listed label content of 1 mg/ml.
       3. The two syringes labeled potassium chloride contained residues consistent
          with the listed label content of 2 meq/ml.
       4. The IV Tubing connected to two 0.9% NaCl one liter IV bags   contn~       d m
          chloride, blood, residues of vecuronium bromide at the final 'nkalation of
          0.013 g/ml and residues of potassium chloride at the   fi~~ation of 1.3
          meq/ml.

          G. Toxicology Results of Execution Drugs:          ~arner
       On May 5, ExperTox completed testing of th            · ended for use during the
execution of Charles Warner. They analyzed the co           y lC/MSMS and ICP-MS for
the detection and quantitation of      midazol~         onium bromide and potassium
chloride. These tests were also    utilized~ d~mine      drug agent potency. ExperTox
reported the following:                 N
       1. The two 0.9% NaCl    in~ion~ 1 liter IV bags tested consistent with the
          listed contents.     ~
       2. The seven 0.9% tW~ ~l bags tested consistent with the listed contents.
       3. The two   syr~Veled          midazolam tested consistent with the listed label
          content   <Y¥L.
       4. The   tw~~es       labeled vecuronium bromide tested consistent with the listed
                ~nt of 1 mg/ml.
                  o syringes labeled potassium chloride tested consistent with the listed
             e content of 2 meq/m l.

          H. Execution Protocol Training of Execution Team
       This investigation determined that DOC personnel did conduct training sessions as
required by the protocol in effect on April 29. The sessions were conducted during the
weeks and days leading up to the execution and consisted of planning meetings, on-the-
job training for each of the respective positions in the execution chamber and

                                             20

                                                                      Exhibit 4 Page 23
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 102 of 534




executioners' room and walk-through training sessions for all involved staff members.
The paramedic, physician and the three executioners were not included in this training
prior to the day of the execution. The final training session included DOC administrative
staff reviewing the sequence of events with all parties in the execution chamber just prior
to the execution.
       Field Memorandum OSP-040301-01, Procedure for the Execution of             Q~~ers
Sentenced to Death, outlines the training requirements that should       occu~n
execution. The following is a summary of the training procedures      that~        nducted
prior to Lockett's execution.                                           ~
       1. A deputy warden or designee was required to review t             uence of events
          inside the executioners' room with the executi~n~ a..nd paramedic prior to
          each execution. Documentation and      interview~~iated         this requirement
          was completed on April 29 at 5:06 p.m.     ~          ·
       2. The paramedic was required to          ~e:s      following instructions to the
          executioners, "Administer the   dr~s ~steady     flow without pulling back on the
          plunger of the syringe." The   par~dic   did not give this statement prior to this
          execution. However, the thrOvolved executioners had been involved in
          multiple executions prio'(Q ~ockett's and each acknowledged their roles and
          duties. The paramAi.Yso acknowledged his/her role to ensure the
          executioners did   t~ aseptically, at the correct time, speed and dosage.
       3. The warden   -~uired to review the sequence of events with the physician
          and oth      ~'pe;sonnel in the execution chamber prior to beginning the
                      Interviews and documentation indicated this occurred on April 29 at




          were multiple walk-through training sessions conducted prior to
          execution. The last session was conducted within two weeks of Lockett's
          execution, as required by protocol.




                                            21

                                                                        Exhibit 4 Page 24
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 103 of 534




       This investigation revealed areas of training that need to be addressed. It was
noted there was no formal training process involving the paramedic, the physician or the
executioners and their specific roles. They were not involved in any pre-execution training
or exercises to ensure they understood the overall process. For those individuals, the
current protocol had very minimal training requirements. The executioners only receive
formal training from the paramedic on the day of the execution and informal trai ·
previous executioners during actual executions.
       Warden Trammell and Director Patton both acknowledged th                         DOC
personnel received prior to the execution was inadequate. Warde T                I stated the
only training she received was on-the-job training and that D
training procedures or processes concerning the          dutie~           specific position's
responsibility. The warden and director both indicated D             no training protocols or
contingency plans on how to proceed with an executi         if    plications occur during the
process.                                            ~~
           I. Contingency Planning for (,ec~ns
       The DOC execution protocol         i~~       on April 29 had limited provisions for
contingencies once the execution wce~gan. One contingency allowed the physician
to assist with initial IV access a    ~her concerned life-saving measures if a stay was
granted. After it was determ·          at problems were present during Lockett's execution,
personnel involved with              ution were unaware of how to proceed due to the lack of




           en an issue with the administration of execution drugs was discovered, the
        etween the chamber and viewing room were lowered. Several conversations took
place inside and outside the chamber regarding how to proceed. The conversation
outside the chamber included whether to continue or how to stop the execution. The
conversations inside the chamber included whether to provide life-saving measures.



                                               22

                                                                         Exhibit 4 Page 25
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 104 of 534




       Outside the execution chamber, there were several conversations between
Director Patton, Secretary Thompson, OAG representatives at the execution and General
Counsel Steve Mullins with the Governor's Office. It was determined between Director
Patton and General Counsel Mullins, who had conversed with the Governor, that the
execution would be stopped. Director Patton then relayed to the witnesses and the
personnel in the chamber that the execution was being stopped.                In~
                                                                               a · nal
conversation, General Counsel Mullins further told Director Patton that they                 in
preparing a stay at the direction of the Governor. Lockett died prior to    theV~      r a stay
being relayed to the personnel inside the execution chamber.           T~~onversation
inside the chamber about administering life-saving          measures~ockett,         including
transporting him to the emergency room, but no order was ~iv{J

            K. Two Executions Scheduled on the S                   ~
       It was apparent the stress level at OSP was                 because two executions had
been scheduled on the same day. This was        t~        · e since 2000 two offenders were
scheduled to be executed the same d a i tur~s
                                         .    prior to the execution, the protocol
was revised to accommodate the logisti              o offenders.
      Several comments were mv         ab~     the feeling of extra stress. Warden Trammell
believed this caused extra   stres~~taff. The paramedic stated he/she felt stress and
a sense of urgency in the If>~~ was based on him/her having been involved in
numerous executions.          ~
                             e of Daily Logs
       In     aroa;ic!ll with protocol, OSP staff maintained a daily log of events and
                   d to Lockett. Protocol stated, "Seven days prior to the execution of an




                                               23

                                                                            Exhibit 4 Page 26
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 105 of 534




             M. Use of Midazolam, Vecuronium Bromide and Potassium Chloride
        The new three drug protocol utilized in this execution included the administration
of midazolam, vecuronium bromide and potassium chloride. It was determined
vecuronium bromide and potassium chloride had both been used in previous executions
as the second and third drugs to be administered. This was the first Oklahoma execution
where midazolam was used.                                                              ~\
        On April 14, midazolam was the newest drug added to the proto o                Was
determined pentobarbital was not available. Pursuant to the death warr                 sage of
100 mg was ordered and administered to Lockett. According            1r:;g.'i!f..   vecuronium
bromide was to be administered at a total quantity of 40 mg and th        o ssium chloride at
a total quantity of 200 meq. These dosages were equiv~er{'io ..the quantities used in
other Oklahoma three-drug methods dating back to at lea         ~Y.
        This investigation could not make a determin            s to the effectiveness of the
drugs at the specified concentration and volu                were independently tested and
found to be the appropriate potency as pr              . The IV failure complicated the ability
to determine the effectiveness of the dru
        On the day of the execution,               representatives presented an affidavit to
Warden Trammell related to the          cution drugs. The warden signed the affidavit and
attested that the drugs had      ~~tained       legally from a licensed pharmacy and had
been handled approp~iat
                      ~e their acquisition. Interviews of DOC and OAG staff
revealed this type of         v had been signed in the past, but never on the day of an
execution.   Accortji~~      AG representatives, the affidavit was executed on the day of
the   execution,~~oing litigation concerns regarding the drugs.
                   storical Incident Reports and Medical Records
  ,#lt~~_....rnv   stigation team obtained historical incident reports, emails and medical
          from OSP regarding Lockett. The incident reports included approximately 42
instances where Lockett was disciplined for behavioral issues and for contraband located
or suspected by DOC personnel. Examples include:

             1. A cellular telephone was discovered in Lockett's cell several months prior to
                the execution;

                                              24

                                                                           Exhibit 4 Page 27
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 106 of 534




          2. DOC personnel suspected Lockett had been hoarding Vistaril (hydroxyzine)
              from a prescription that ended March 3;
          3. A homemade rope was discovered on the floor of Lockett's cell during his
              extraction on the day of the execution;
          4. A razor blade from an issued, disposable shaving razor was discovered in
              Lockett's cell on the day of the execution.                             ~
       The review of Lockett's medical records by a medical professionf,i' ·             a that

                                                                      c,;v
he had no past medical conditions or factors that would be considered~matic for IV
insertion or drug administration.

          0. Lockett's Movements and Sounds after DJu~d!11inistration
      The description of Lockett's movements and        soun~~ among the witnesses.
The movement descriptions ranged from           quiveri~hrashing,           but most agreed
Lockett's head did rise off the table. There   we~~Tecollections            regarding whether
Lockett's eyes opened after he was deem~un~scious. The sound descriptions varied
from mumbling to Lockett making       statem~ The       recollections varied greatly; therefore
it was difficult to determine what was saOinything.
       Several conclusions were~ pursuant to the execution table assessment.
While strapped to the table,      t~       member made attempts to move all parts of his
body. He was able to rota        ~et inward and outward, move his shoulders slightly and
his head had a full ra       f    otion. He was not able to bend or move his knees and had
minimal   moveme~~       h1 hips as he attempted to move from side to side. He could not
move his hips~~~d down. The hands had no movement and the arms had minimal
movement.(!1\W' the elbow having limited motion. Based on what was observed,
witnes~~d have a different perspective of the amount of movement depending on
~'"'t!('were      seated. Due to the restrictiveness of the straps, the movements were
m~ to non-existent with the exception of the head and feet.




                                               25
                                                                           Exhibit 4 Page 28
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 107 of 534




IV.     RECOMMENDATIONS
        Based on the findings, the f911owing recommendations are made for future lethal
injection executions in Oklahoma. DOC, the Office of the Attorney General and any other
entity or individual responsible for execution protocols in this state are urged to
thoroughly research, review and. deliberate these recommendations p~rior
                                                                     to their
implementation. Further, DOC should review and consider policies and pro                   om
other states responsible for executions. Any changes to the current polici                  Is
should comply with Oklahoma and federal law.

             A. Observation ofIV Insertion Point(s) and Infusi~
        1.      The IV catheter insertion point(s) should rem!'."   (6i~~ling all phases of
                the execution and continuously observed         ~n        with proper medical
                training in assessing the ongoing via       ·       n IV. This person should
                remain inside the execution chamber u            e entire process.
        2.      Once the appropriate saline infuO~a started, it should not be stopped,
                except for the times that ex~tio~ugs are being administered. It should
                be continuously       monitore~ist      in ensuring IV viability in accordance
                with current medical 1fcti~nd standards;
        3.      After one hour ~~cessful IV attempts, DOC should contact the
                Governor to       aft]"1~ status and potentially request a postponement of
                the execu ·       .



                            ers
        1.   ~ct           formal, specific training related to information documented on all
 A0Je~tion logs.
  v·         The information to be recorded on execution logs should include, but not be
             limited to:
                a. all statements or behaviors that could be detrimental to completing an
                    execution;
                b. all meals provided to an offender and what portions of the meals the
                    offender consumed or refused;

                                                 26

                                                                           Exhibit 4 Page 29
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 108 of 534




         c. all medication provided to an offender and the observations made by
              personnel as to whether the offender ingested the medication as
              prescribed;
         d. all liquids consumed by the offender.




  2.                                                             to determine any and
                                                              limited to the following:


         b. Venous ultrasound equipme
         c. Appropriate needle/cath              oincide with the IV access options




  1. Issues    ·       ution equipment or supplies;
  2. lss~ offender IV access, including obtaining alternate IV access site(s);




  ~
         ~Vnder is not rendered unconscious after execution drug administration;
   .        bative offender;
~       nanticipated medical or other issues concerning the offender or an execution
V      team member;
  6. Issues regarding order, security or facilities at OSP.




                                        27

                                                                    Exhibit 4 Page 30
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 109 of 534




              E. Formal and Continuing Training Program for Execution Personnel
       DOC should establish formal and continual training programs for all personnel
involved in the execution process. They should explore successful training procedures
used by other correctional institutions and implement accordingly.

              F. Formal After-Action Review of the Execution Processes                       ~\

       At the conclusion of each execution, all personnel with assigned              execu~es
should attend an after-action review. The review should be                     complC,~in         five
business days and conducted by the director or his designee. The                e~at occurred
during the execution should be discussed in detail and each                  i~~erson          should
discuss their responsibilities and observations. The revr..                   :~d      serve as an
opportunity for all involved personnel to voice t h~ns,
                                                   '    concerns and/or
recommendations in order for continuous improveme~~rocess. The review should
be formally documented and retained for future             ref~


              G. Defined Execution Term~·
                                        lo
       It was apparent during this investi                 that specific terminology should be clearly
defined so they are understood by all p                 nel involved in the execution process. This
will allow DOC, OAG and Gover                      fice personnel to have a common understanding


such terms are used. De ·                   ms should include, but are not limited to "stop," "stay,"
and "halt".             ~

                   _,_ ..__etrnn of One Execution per Seven Calendar Days
              ~............. ower   and facility concerns, executions should not be scheduled within
        -1'1WL!:-days of each other.

                 Updated Methods of Communication
       The current communication methods used during the execution process are
antiquated and require unnecessary multi-tasking from key personnel in the execution
chamber. DOC should explore options on how to update the following:




                                                      28

                                                                                  Exhibit 4 Page 31
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 110 of 534




       1. Communication between the execution chamber and executioners' room.
               a. DOC should research and implement modern methods that allow
                  personnel in these two areas to communicate clearly.
               b. The current processes, including the use of color pencils and hand
                 signals, could be used as a contingency if other modern methods fail.
       2. Communication between DOC and the Governor's Office.                     <4lr....\

               a. DOC should research and implement methods to         mo~"'e
                 communication link that would allow direct, constant cMt~:;ween
                 the personnel in the execution chamber and the ~'.!i1!>~ffice.

          J. Disposition of Executed Offender's Property         ~
       DOC should explore maintaining an executed o                ersonal property and
                                                               1s completed. This would
                                                               such property should be
maintained for an additional period of time,            iate circumstances exist. In any
event, no property should be release(;mtil           has been properly searched and
inventoried.                            <)'
          K. Execution Witness
       As a result of the ch                     protocols and procedures, DOC should
                                                                              This briefing




                irements regarding the conduct of witnesses throughout the process.




                                            29

                                                                         Exhibit 4 Page 32
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 111 of 534


                                                                            1



 1                        UNITED STATES DISTRICT COURT

 2                        FOR THE DISTRICT OF ARIZONA

 3

 4      Joseph Rudolph Wood III, et
        al. I
 5                                            No.   CV 14-1447-PHX-NVW
                            Plaintiffs,
 6      vs.
                                                    Phoenix, Arizona
 7      Charles L. Ryan, et al.,                     July 23, 2014
                                                      3:27 p.m.
 8
                            Defendants.
 9

10

11
                BEFORE:    THE HONORABLE NEIL V. WAKE, JUDGE
12
              (Telephonic Motion for Emergency Stay of Execution)
13                               (REDACTED)

14

15

16

17

18

19

20
     Official Court Reporter:
21   Laurie A. Adams, RMR, CRR
     Sandra Day O'Connor U.S. Courthouse, Suite 312
22   401 West Washington Street, SPC 43
     Phoenix, Arizona 85003-2151
23   (602) 322-7256

24   Proceedings Reported by Stenographic Court Reporter
     Transcript Prepared by Computer-Aided Transcription
25



                          UNITED STATES DISTRICT COURT       Exhibit 5 Page 1
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 112 of 534


                                                                            2



 1   APPEARANCES

 2   For the Plaintiffs:

 3             FEDERAL PUBLIC DEFENDER'S OFFICE
               By:  Robin C. Konrad, Esq.
 4             850 W. Adams Street
               Suite 201
 5             Phoenix, AZ 85007

 6   For the Defendants:

 7             OFFICE OF THE ATTORNEY GENERAL
               By:  Jeffrey A. Zick, Esq.
 8             1275 W. Washington
               Phoenix, AZ 85007
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25



                        UNITED STATES DISTRICT COURT         Exhibit 5 Page 2
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 113 of 534


                                                                             3



 1                           P R 0 C E E D I N G S

 2              THE COURT:    Ms. Konrad.

 3              MS. KONRAD:    I just filed a Motion for Emergency Stay

 4   of Execution.    Mr. Wood's execution started at 1:52.       He was

 5   being sedated at 1:57.      Since that time he has been gasping,            15:27:50


 6   snorting, and unable to breathe and not dying.         And we're

 7   asking -- our motion asks for you to issue an emergency stay

 8   and order the Department of Corrections to start lifesaving

 9   techniques as required under their protocol.

10              THE COURT:    Do you have an Assistant Attorney General          15:28:11


11   there?

12              MS. KONRAD:    I do not.     I'm in the office right now.

13              THE COURT:    Okay.     I have been pulled out of a

14   meeting.   We will do everything we can to deal with this with

15   the urgency and demands.         And I have a court reporter here.     We   15: 28: 26


16   are on the record.

17              I want to make attempt right now to obtain

18   participation of an attorney for the State.         Who would that be?

19              I mean --

20              MS. KONRAD:    Jeff Zick.                                        15:28:44


21              THE COURT:    Do you have any -- do you have numbers for

22   any of these people?      The reality is we'll take anybody I can

23   reach, but we should start with the most appropriate person.

24   It seems like Mr. Zick.

25              MS. KONRAD:    Let me -- just a second, Judge Wake.              15:28:58




                        UNITED STATES DISTRICT COURT          Exhibit 5 Page 3
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 114 of 534


                                                                                 4



 1               THE LAW CLERK:       I have got a number.

 2               THE COURT:    Ms.     Konrad.

 3               THE LAW CLERK:       The work number is 602-542 --

 4               MS. KONRAD    Judge Wake?

 5               THE COURT:    Yes.                                                  15:29:28


 6               MS. KONRAD:    542-5025 is the main Number.

 7               THE LAW CLERK:       8594 is his direct number.

 8               THE COURT:    We have 8594 as his direct number.

 9               MS. KONRAD:    Yes.     That is Jeff Zick's direct number.

10               THE COURT:    Now,    I must tell you, I don't know how to          15:29:44


11   do conference calling on my phone.            Are you able to do it on

12   your end?

13               MS. KONRAD:    Yes.     I will attempt to conference him

14   in.

15               THE COURT:    What's the best way          my staff here knows      15:29:53


16   how to do it.     So why don't we try to do it on my end.

17               MS. KONRAD:    Okay.

18               THE COURT:    Go ahead.

19               MS. KONRAD:    Okay.

20               THE COURT:    Ms. Konrad, do you have the numbers and               15:30:05


21   names for any backup people?          Because I probably won't have you

22   on as I'm reaching them.

23               MS. KONRAD:    Sure.     A backup number is Jeff Sparks.

24   Mr. Sparks is also on the case.             Mr. Sparks is 548-7670.

25               THE COURT:    Now --                                                15:30:24




                         UNITED STATES DISTRICT COURT             Exhibit 5 Page 4
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 115 of 534


                                                                             5



 1             MS. KONRAD:     Also let me give you the cell phone

 2   number for Mr. Zick.

 3             THE COURT:     Yes.

 4             MS. KONRAD:     It's-·

 5             THE COURT:     All right.     And in case I lose you, what's      15:30:36


 6   the number to call you back?

 7             MS. KONRAD:

 8             THE COURT:     All right.     Please hold and we'll try.

 9             MS. KONRAD:     Okay.     Thank you, Judge.

10             Ms. Konrad, we're going to try another number.                    15:31:37


11             MS. KONRAD:     Okay.     Thank you.

12             MR. ZICK:     Hello?

13             THE COURT:     Mr. Zick?

14             MR.   ZICK:   Yes.

15             THE COURT:     This is Judge Wake calling.                        15:32:03


16             MR. ZICK:     Hi,    Judge Wake.

17             THE COURT:     I need to put you on a conference call

18   with Robin Konrad.

19             MR. ZICK:     I'm sorry.     Let me step out of my office.

20   I had the director on the line.         I can step out of my office.        15:32:14


21             THE COURT:     Hold on a minute.

22             Ms. Konrad, are you there?

23             MS. KONRAD:     I am.

24             THE COURT:     I just reached Mr. Zick on his cell phone.

25   He is stepping out because he was speaking to the director at               15:32:24




                         UNITED STATES DISTRICT COURT         Exhibit 5 Page 5
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 116 of 534


                                                                                 6



 1   this moment.   Hold on a minute until I get him back.

 2             MR. ZICK:     I'm here.

 3             THE COURT:     Mr. Zick, Ms. Konrad has advised me that

 4   Mr. Wood has not yet expired, and this has been going on for,

 5   what, nearly an hour and a half.                                                15:32:43


 6             And Ms. Konrad, I'm going to ask you to state very

 7   succinctly the motion you filed and the relief you are seeking,

 8   and then I'm going to invite you, Mr. Zick, to tell us

 9   everything that is relevant to this that, of course, I will

10   need to hear from you.                                                          15:32:59


11             Go ahead, Ms. Konrad.

12             MS. KONRAD:     According to the attorney who is

13   witnessing, Mr. Wood -- the execution started at 1:52 p.m.           At

14   1:57 p.m., the Department of Corrections reported that he was

15   sedated but at 2:02 he began to breathe.        At 2:03 his mouth               15:33:15


16   moved, and since that time Mr. Wood has continued to breathe.

17   He has been gasping and snorting for over an hour.         And in our

18   motion, we are respectfully requesting that the Court stop the

19   execution and require the Department of Corrections to use the

20   lifesaving provisions required in its protocol.                                 15:33:34


21             THE COURT:     Mr. Zick, I invite you to tell me the

22   facts as you know them.         And that would include the details of

23   what the protocol provides for this situation.

24             Go ahead, Mr. Zick.

25             MR. ZICK:     Okay.     What I can tell you that I know from          15:33:46




                        UNITED STATES DISTRICT COURT          Exhibit 5 Page 6
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 117 of 534


                                                                               7



 1   speaking with Dawn Northup, who is general counsel with the

 2   Department of Corrections, and with the director, is that the

 3   consciousness check, according to -- that complies with the

 4   protocol that had taken place, the individual who does the

 5   consciousness check determined, medically determined that Mr.                 15:34:06


 6   Wood was unconscious; that his mouth was open; that at some

 7   point during the -- when the drugs were given, an involuntary

 8   reaction or a snoring-type reaction was taking place; that it

 9   had been ongoing.      A second consciousness check was given.       He

10   is unconscious --                                                             15:34:34


11             THE COURT:     Mr. Zick, I appreciate the need to address

12   this as quickly as possible, but could you please give me, to

13   the extent you know, the time frames of these steps that you

14   have articulated, the second consciousness check?

15             MR. ZICK:     I don't have the exact time frame of the              15:34:48


16   second consciousness check.

17             THE COURT:     Very well then.   Just please continue with

18   what you know.

19             MR. ZICK:     Okay.   And so that involuntary reaction,

20   according to the medical individual who was doing the                         15:35:01


21   consciousness check, indicated that that was something that is

22   going to occur.     A second dose of drugs was given, and I don't

23   have the time frame for that.       They didn't give me that

24   information.     That involuntary reaction continues, but I am

25   told that Mr. Wood is effectively brain dead and that this is                 15:35:26




                         UNITED STATES DISTRICT COURT        Exhibit 5 Page 7
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 118 of 534


                                                                                  8



 1   the type of reaction that one gets if they were taken off of

 2   life support.       The brain stem is working but there's no brain

 3   activity.

 4               THE COURT:     And tell me briefly how it is, is he -- do

 5   you have the leads or probes necessary to determine his brain                    15:35:50


 6   state?

 7               MR.   ZICK:   Repeat that,   Judge.   I'm sorry.

 8               THE COURT:     Do you have the leads connected to

 9   determine his brain state?

10               MR.   ZICK:   That, I don't -- I don't believe there are             15:36:03


11   leads connected on the head, but I'm not sure.           I know that

12   this individual is medically trained.

13               THE COURT:    Okay.   What I'm wondering is what the

14   basis is for the conclusion that he is effectively brain dead.

15               MR.   ZICK:   It's because of the medical training.        And       15:36:17


16   all I know is that's the information that was given to me.              I

17   could certainly find that out.

18               THE COURT:     Well, if there are not monitors connected

19   with him, if it's just a visual observation, that is very

20   concerning as not being adequate.                                                15:36:34


21               Tell me, what is the current status and what is the

22   anticipated plan of action from this minute forward?

23               MR.   ZICK:   Well, from this minute forward,      I can tell

24   you that the director is on the phone with the governor's

25   office.     The only contingency plan for this is in the protocol.               15:36:55




                           UNITED STATES DISTRICT COURT         Exhibit 5 Page 8
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 119 of 534


                                                                                9



 1   I think it's cited in the motion that was filed.

 2             THE COURT:     I have not been able to read the motion

 3   because I have just called you immediately.        So please tell me

 4   what the protocol provides in that respect.

 5             MR.   ZICK:   If I   could step back into my office.                 15:37:12


 6             THE COURT:     Certainly.

 7             MS. KONRAD:     I can read you the motion,   Judge.

 8             THE COURT:     Let's do that.   Mr. Zick, hold on and

 9   we'll hear this from Ms. Konrad.

10             MS. KONRAD:     The contingency procedure is an Automatic            15:37:25


11   External Defibrillator will be readily available on site.          In

12   the event of cardiac arrest, trained medical personnel and

13   emergency transportation shall be available in proximity to

14   respond to the inmate should any medical emergency arise.          If

15   at any point the team member determines any part of the                        15:37:43


16   execution is not going according to procedure, they shall

17   advise the IV team leader who notifies the director, and the

18   director will determine the appropriate procedures and stand

19   down if necessary.

20             THE COURT:    Mr. Zick, do you dispute her summary                   15:37:57


21   there?

22             MR. ZICK:     That is the contingency plan that is listed

23   in the protocol, correct.       Yes.

24             THE COURT:    And so at this point, he's still

25   breathing, but you believe --                                                  15:38:08




                         UNITED STATES DISTRICT COURT        Exhibit 5 Page 9
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 120 of 534


                                                                               10



 1               MR. ZICK:     He is.

 2               THE COURT:     You believe from visual observations that

 3   he is brain dead, correct?

 4               MR.   ZICK:   It is an involuntary snoring that is

 5   apparently a reaction of the brain stem and not of the brain.                  15:38:19


 6               THE COURT:    Are there -- what are the indications as

 7   to whether -- well,       I understand you have already answered

 8   that.

 9               Now, you were just talking with the director.           Are you

10   able to tell me what the director anticipates doing at this                    15:38:36


11   moment?     And please remind me of what the governor's role is

12   under the protocol.

13               MR.   ZICK:   I'm not sure what the governor's role is

14   under the protocol, and I don't have the protocol in front of

15   me.     All I know is that the governor's office received a call               15:38:54


16   from Julie Hall and then called the director.           And the

17   direct -- Dawn Northup was on the phone with me when the

18   director received that call.           I don't know -- I can't tell you

19   what the minute plan is right now.

                 THE COURT:    All right.      And Ms. Konrad, are you    --
21               MR.   ZICK:   I'm sorry, Judge, if I may.

22               THE COURT:    Go ahead.

23               MR. ZICK:     I just received a note that said that Mr.

24   Wood stopped the snoring and involuntary action and the heart

25   has slowed considerably.           So that's the updated information to        15:39:30




                           UNITED STATES DISTRICT COURT        Exhibit 5 Page 1O
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 121 of 534


                                                                             11



 1   the minute that I have.

 2             THE COURT:     Now, before I get to some substance here,

 3   more substance, Ms. Konrad,       I don't recall from my previous

 4   studies of protocols that may be out of date that the governor

 5   has any role.    Is that correct?                                            15:39:48


 6             MS. KONRAD:     Can you repeat that, Judge?      I'm sorry.

 7             THE COURT:     I'm saying I don't recall from my previous

 8   examinations of protocols, which may be out of date now, that I

 9   don't recall that the governor has any role.         Does the governor

10   have any role?                                                               15:40:04


11             MS. KONRAD:     Off the top of my head, it's not -- I

12   don't recall the governor having any role written in the

13   protocol, either.      Of course, as the governor of this state she

14   could stop the execution, I assume.

15             THE COURT:     I would assume       go ahead, Mr. Zick.            15:40:16


16             MR. ZICK:     Judge,   I do recall the only -- the role of

17   the governor that I recall in the protocol is simply calling to

18   ensure that there are no stays of execution prior to the

19   commencement of the execution.

20             THE COURT:     All right.    ~ow,   of course I am                 15:40:31


21   considering right now based on what's presented to me whether

22   the execution should be suspended, but I am also -- it would be

23   most helpful to know what the director intends to do

24   immediately.

25             I am also very concerned, Ms. Konrad, that depending               15:40:49




                         UNITED STATES DISTRICT COURT         Exhibit 5 Page 11
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 122 of 534


                                                                           12



 1   on the accuracy of the information Mr. Zick has passed on that

 2   suspending the execution may do more harm than good.

 3             Mr. Zick, what can you do very promptly to advise me

 4   of the director's intentions?      And if that means doing a quick

 5   call while we wait for three or five minutes, we'll do that.               15:41:17


 6   But I do intend to resolve this matter with extreme urgency in

 7   light of the nature of the matter and the inability to

 8   deliberate at any length.

 9             So Mr. Zick, are you able -- what do you suggest in

10   terms of getting us the most accurate information about the                15:41:40


11   director's intention?

12             MR. ZICK:     I can go back into my office and if he's

13   still on the phone I can talk with him, or I can give him an

14   immediate call.

15             THE COURT:    Ms. Konrad, do you have any problem                15:41:53


16   proceeding that way?     I would expect we would be back in

17   contact within 5 or 10 minutes.

18             MS. KONRAD:    You can reach me at this same number,

19   Judge Wake.

20             THE COURT:     I might prefer just to remain on the line         15:42:05


21   and not have to reestablish the connection and allow Mr. Zick

22   to make that call to the director, and I expect that his call

23   will be taken.

24             MS. KONRAD:     That would be perfect.

25             THE COURT:    We will remain on the line, then, and Mr.          15:42:20




                        UNITED STATES DISTRICT COURT        Exhibit 5 Page 12
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 123 of 534


                                                                              13



 1   Zick, please do that.      And again,    I do need to make a decision

 2   within a few minutes as to whether to suspend the execution.

 3   So go ahead, Mr. Zick.

 4             MR. ZICK:     Okay.     I will do that.    Thank you.

 5             THE COURT:     All right.                                           15:42:34


 6             Ms. Konrad,    I don't want to lose the phone connection,

 7   but I'm going to put you on mute so that I can converse with my

 8   staff.

 9             MS. KONRAD:     That's perfectly okay, Judge Wake.         Thank

10   you.                                                                          15:42:52


11             THE COURT:    We're going to do that right now.         And

12   please hold however long it is.         Thank you.

13             MS. KONRAD:     Okay.

14             THE COURT:    We're going to go off the record while

15   we're off the phone.                                                          15:43:01


16             (Discussion off the record from 3:43 p.m. until 3:47

17   p.m.)

18             MS. KONRAD:     Judge Wake put us on mute.

19             THE COURT:     I have you both.     Go ahead, Mr. Zick.

20             MR. ZICK:     Okay.     The updated information, before I           15:47:50


21   get to any contingency, is that Mr. Wood has no respiration

22   right now and his heart rate is 20 and falling.           That's on the

23   medical side.

24             The director indicated that in consultation with the

25   IV team leader, who is a medical doctor, Mr. Wood is apparently               15: 48: 10




                        UNITED STATES DISTRICT COURT           Exhibit 5 Page 13
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 124 of 534


                                                                           14



 1   comatose; that he cannot change course at this point, and the

 2   plan, I suppose, is to push chemicals based on the input from

 3   the IV team leader.

 4             THE COURT:     Increase the chemical dosage?

 5             MR. ZICK:     Right.                                             15:48:37


 6             THE COURT:     Do we have -- do you have a sense of what

 7   the risk, the chances are of pain at this time?

 8             MR. ZICK:     In talking with the director, who has been

 9   in consultation with the IV team leader, there has been no

10   appearance of any pain.                                                    15:48:57


11             THE COURT:    And with respect to the gasping and

12   attempted breathing that Ms. Konrad reported initially, that,

13   of course, could be indicative of pain.        But your report is

14   that is now done, is that correct, that

15             MR. ZICK:     There's no respiration.                            15:49:14


16             THE COURT:    Ms. Konrad, I'm trying to lead this

17   discussion in a way that gets to the decisions I have to make,

18   and I have not been meaning to exclude anyone.        I invite you to

19   tell me what you request.        And I just got your paper, and I

20   have read it.   I invite you to tell me what it is that you ask            15:49:33


21   of the Court and briefly your basis.        And again, my principal

22   focus here is on the chance of pain.

23             Go ahead, Ms. Konrad.

24             MS. KONRAD:     Judge Wake, when we filed this motion 45

25   minutes ago when we got word he was gasping for over an hour,              15:49:52




                       UNITED STATES DISTRICT COURT         Exhibit 5 Page 14
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 125 of 534


                                                                             15



 1   our request was to immediately stay the execution and perform

 2   lifesaving techniques.         I'm not a medical professional.      I

 3   would still -- Mr. Zick has said the situation has changed.

 4   Without any further information, I'm not sure what more to say

 5   other than we're requesting the stay of execution.          I'm not          15:50:18


 6   sure if that's possible at this time.

 7              THE COURT:       I understand.

 8              Mr. Zick, do you want to be heard briefly in response

 9   to that statement?      You don't have to say anything more.

10              MR. ZICK:    I don't have anything other than the                 15:50:36


11   information I just gave.

12              THE COURT:       All right.   First of all, I thank both

13   counsel.     Ms.. Konrad,    I thank you for the urgency with which

14   you have addressed all this, and Mr. Zick, I thank you for the

15   luck that you are available and your prompt responses to my                  15:50:51


16   questions.

17              Looking at this from the perspective of Eighth

18   Amendment prohibition of cruel and unusual punishment, I look

19   at this in terms of what can be done, if anything, to eliminate

20   or reduce pain that may be experienced.          It's a matter of            15:51:09


21   degrees of risk with less than certain knowledge.

22              Based on Mr. Zick's summary, it does appear to me that

23   there is no serious risk of pain being experienced at this

24   time.   Now, maybe I should qualify that, that there -- we have

25   to deal with degrees of uncertainty, but it does not appear                  15:51:37




                          UNITED STATES DISTRICT COURT        Exhibit 5 Page 15
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 126 of 534


                                                                              16



 1   that with lack of physical reaction that there is pain.

 2                I am also concerned that if it were possible to

 3   suspend this in a better circumstance,         I would be disposed to

 4   do that if it did not create even more risk of pain.            It is not

 5   appearing to me that that is a realistic possibility at this                  15:52:02


 6   time.   So         and I summarize Mr. Zick, and I'm relying on

 7   and I do appreciate your presentation and information you have

 8   gathered that he has no physical response, is not breathing,

 9   that the heart rate is dropping.

10                And again,    I want to confirm, the heart rate is               15:52:30


11   dropping.      It's not stable at a low rate, but it is dropping.

12   Is that your understanding, Mr. Zick?

13                MR. ZICK:     That's my understanding.    When the motion

14   was filed,     I believe his heart rate was above 20, but I can't

15   verify that.         All I know is that I was told his heart rate was         15:52:49


16   20 when I called the director based on the Court's wish.

17                Wait.     I just -- I'm sorry, Judge.

18                THE COURT:     Go ahead.

19                MR.   ZICK:   I just learned that the IV team leader has

20   confirmed Mr. Wood's death.                                                   15:53:07


21                THE COURT:     All right.   Let me finish my thought,

22   because it's my responsibility.

23                Counsel, I have addressed this with utmost urgency,

24   everything that's humanly possible to respond to Ms. Konrad's

25   motion and approach to the Court.         To finish the thought, even         15:53:26




                             UNITED STATES DISTRICT COURT      Exhibit 5 Page 16
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 127 of 534


                                                                            17



 1   without this new confirmation, it does appear to me, and it is

 2   my judgment, that there was not a serious prospect of pain and

 3   that terminating the execution did not have prospect of

 4   eliminating pain, and even without my medical expertise, raises

 5   serious questions of whether keeping him alive could result in              15:53:53


 6   pain.

 7              However, so I take -- counsel, that is my judgment in

 8   the circumstances, and of course I take responsibility for

 9   that.   This new input that the team leader has confirmed that

10   Mr. Wood has expired resolves the matter as well.                           15:54:14


11              Ms. Konrad, I know you are in quite a spot here, and I

12   don't want -- I want to give you the opportunity to consider

13   what it is that you want to request of the Court, if anything

14   further.

15              MS. KONRAD:   Yes, Judge Wake.     I would just like to          15:54:35


16   say for the record, at this point the finding that there was no

17   evidence of pain is premature.      The reason --

18              THE COURT:    I'm sorry, Ms. Konrad.     I wonder, because

19   I don't want you to be misled.      I am not finding that there was

20   not pain before.    I'm not finding that at all.       I'rri addressing     15:54:58


21   the circumstance that we are in now.        With the necessity of

22   having had even this extremely accelerated discussion,         I am

23   addressing the situation now, and that's what I'm addressing.

24   So I do invite you to say whatever you would like about that.

25   But I did not want you to misunderstand me as suggesting that               15:55:16




                        UNITED STATES DISTRICT COURT         Exhibit 5 Page 17
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 128 of 534


                                                                              18



 1   there had been a lack of pain before.           That is a matter that

 2   may come before the Court in plenary matter soon.

 3               So go ahead, Ms. Konrad.

 4               MS. KONRAD:     Thank you, Judge.     That was the main

 5   concern that I just wanted to make sure that we wouldn't come                 15:55:31


 6   to you in this emergency posture if we hadn't had true concern

 7   and thought that our client was, in fact,          suffering based on

 8   the witness's observations of him.          And I really appreciate you

 9   coming, and I know that you were at a ceremony for Judge

10   Broomfield so I just would like to thank you for taking the                   15:55:53


11   time to hear this out even though the client eventually expired

12   while we were on the phone.

13               THE COURT:    Not at all.    It's my responsibility.      And

14   I have attempted to deal with it as rapidly as humanly

15   possible.                                                                     15:56:07


16               Anything further, Mr. Zick?

17               MR. ZICK:     No, Your Honor.

18               THE COURT:     All right.   Well,   I'm going to have the

19   court reporter type up this transcript and file it so it's

20   publicly available.       And just let me pause for a moment.                 15:56:18


21               Mr. Zick, there are no other warrants of execution out

22   for any of the other plaintiffs, correct?

23               MR. ZICK:     Correct, Judge.

24               THE COURT:     All right.   So there will -- there will be

25   time to deal with whatever consequence these events have for                  15:56:45




                         UNITED STATES DISTRICT COURT          Exhibit 5 Page 18
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 129 of 534


                                                                           19



 1   other plaintiffs.

 2               So with that, again,   I thank both counsel for your

 3   diligence and the utmost urgency with which we addressed this

 4   matter.

 5               Okay.   With respect to the motion that Ms. Konrad has         15:57:01


 6   filed,    that's the Motion For Emergency Stay of Execution,

 7   Document Number 26, it is ordered that the motion is denied as

 8   moot for the reasons stated on the record.

 9              With that,   I thank you all, and we will be adjourned.

10               (Proceeding concluded at 3:57 p.m.)                            15:57:20


11

12

13

14

15

16

17

18

19

20

21

22

23

24

25



                         UNITED STATES DISTRICT COURT       Exhibit 5 Page 19
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 130 of 534


                                                                          20



 1

 2

 3

 4

 5

 6                          C E R T I F I C A T E

 7

 8              I, LAURIE A. ADAMS, do hereby certify that I am duly

 9   appointed and qualified to act as Official Court Reporter for

10   the United States District Court for the District of Arizona.

11             I FURTHER CERTIFY that the foregoing pages constitute

12   a full, true, and accurate transcript of all of that portion of

13   the proceedings contained herein, had in the above-entitled

14   cause on the date specified therein, and that said transcript

15   was prepared under my direction and control.

16             DATED at Phoenix, Arizona, this 23rd day of July,

17   2014.

18

19                                     s/Laurie A. Adams

20                                     Laurie A. Adams, RMR, CRR

21

22

23

24

25



                        UNITED STATES DISTRICT COURT       Exhibit 5 Page 20
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 131 of 534




                SWORN DECLARATION OF SPENCER]. HAHN

STATE OF ALABAMA                               )
                                               )
COUNTY OF MONTGOMERY                           )


I, Spencer]. Hahn, a resident of Montgomery, Alabama, hereby declare, under penalty
of perjury, the following:

1.     I am an Assistant Federal Defender in the Capital Habeas Unit of the Federal
       Defenders for the Middle District of Alabama, in Montgomery, Alabama,
       where I have worked since October 1, 2014. I have been licensed to practice
       law since 2004.

2.     Ron Smith designated me and our Executive Director, Christine Freeman, to
       witness his execution. This declaration contains my observations of what
       occurred immediately before, during, and after Ron's execution.

3.     At approximately 10:20 p.m., Christine and I, along with members of the press
       (including Kent Faulk) who had been waiting in a van next to our transport car,
       were escorted into the witness room. While waiting, I had noticed two people
       in an Etowah County Medical Examiner vehicle; they remained outside.

4.     I asked the corrections officer who drove us if anyone from the victim's family
       was present, and was told that someone was. Once inside the witness rc;:iom, I
       heard a radio transmission that witnesses were being taken to room 8, followed
       by footsteps and the shadows of feet passing our (closed) door. Whoever was
       in room 8 was allowed to leave before we did, as I heard a similar radio
       transmission about room 8, and saw the reverse of what I saw after the first
       message. They left and entered through the other end of the hall from us and
       the press.

5.     The Warden read the death warrant to Ron, offered him a chance to make any
       final statement ("No, ma'am"), and the Warden left the room.

6.     Shortly thereafter, the second guard left the room, and the prison chaplain
       approached Ron, held his right hand, and kneeled in front of him for a minute
       or so. As the prison chaplain approached, Ron appeared to be mouthing,
       repeatedly, what I believe was the Lord's Prayer.


                                           1

                                                                       Exhibit 6 Page 1
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 132 of 534




7.      The midazolam began around 10:30 p.m. The first thing I noticed was that Ron
        ran his tongue around his lips several times, as if he had a dry mouth. Then, at
        10:31:55 p.m. (according to the clock above his gurney) Ron began having
        difficulty breathing, including regular asthmatic-sounding barking coughs every
        ten seconds or so. He also lifted his head and looked around, moved his arms,
        clenched his left hand, and moved his lips in what appeared to be an attempt to
        say something. Ron's eyes never closed, and he moved and coughed regularly
        throughout approximately the next fifteen minutes.

8.      Both before and after the first consciousness check, it was obvious Ron was
        still awake, as he was still moving his head, hands and arms, coughing, and
        attempting to speak. He reacted to the arm pinch by moving his arm toward
        his body (away from the source of pain).

9.      Sometime before the administration of the second dose of midazolam, I heard
        raised voices coming from the Commissioner's room. Although I couldn't
        make out the words, the tone indicated panic or, at the very least, extreme
        stress.

10.     Ron again began to exhibit the signs he did after the first dose of midazolam.
        After several more minutes, a second consciousness check was <lore, during
        which Ron continued to move and his eyes remained open. While touching his
        left eyelid, the guard pushed it closed, but it opened as soon as he removed his
        finger.

11.     Ron moved his right arm after the second consciousness check. Shortly
        thereafter, they must have administered the paralytic, as Ron's breathing
        became very shallow and he stopped moving. His eyes remained open, with the
        left eye opening further as his breathing became imperceptible.

12.     The curtains were closed without anyone having approached Ron and, when I
        stood to leave, I, on my tiptoes, looked over the top of the curtain, and saw no
        signs of the EKG or anyone checking Ron. Leaving the building, I noticed that
        both members of the medical examiner's office were still in their truck.




                                            2

                                                                         Exhibit 6 Page 2
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 133 of 534




I hereby declare, pursuant to 28 U.S. C. 17 46, under penalty of perjury, that the
foregoing is true and correct to the best of my knowledge and belief.

Dated this 13th day of December, 2016. .                ~



                                         ~~____,cer~J._H_ili_n~~~~­
                                         Assistant Federal Defender




                                            3

                                                                         Exhibit 6 Page 3
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 134 of 534




                                          Certificate of Analysis


                                           Test Date:                Sample                  -ID#
                                          11/17/2015
               Client:                                                                              .,

              Rory Griffin                                Potassium Chloride for injection
            Deputy Director                              concentrate, USP {2 mEq/ml), 20     1U215AR6824
     Arkansas Dept. of Corrections                                       ml
              Plne Bluff, AK                Project:          Vecuronium Bromide for
             870-692-1819                                 injection, 20 mg (lmg/mL when      1112l5AR6825
       rory,griffin@arkansas.gov                              reconstituted to 20 ml)
                                                            Midaiolam injection USP, Sei
                                                                                             111215AR6826
                                                               mg/lO ml {10 ml vlall



                                            Technique      Acceptance
             fD              Method                                           Result(%!        Pass/fail
                                               used          criteria
                       USP Potassium
                        Chloride for
   111215AR6824          Injection            ICP-MS       95.0-105.0%           101.1            Pass
                      Concentrate assay
                          method
                      USP Vecuronium
                         BromldeAPI
                           (Active
   11121SAR6825                              HPLC-UV       90.0-110.0%           102.6            Pass
                       Pha rmaceutica I
                      ingredient) assay
                             method

                       USP Midazolam
   111215AR6826        Injection assay       HPLC-UV       90.0-110.0%            99.2            Pass ·
                           method
       ..




  Testing results relate only to items tested. Test report shall not be reproduced, except in full,
  without approval from                   in writing.



                                                                                                  ADC40


                                                                                             Exhibit 7 Page 1
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 135 of 534




                                                           Continued
                                                                  I




                                           Date
  Technical Director




                                           Date
  Sr. Vice President, Technical Services




                                           Date
  CEO/Chief Chemist




                                                    Page 2of2



                                                                ADC41


                                                         Exhibit 7 Page 2
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 136 of 534




                                                                           Project Code No




                                            CONFIDENTIAL REPORT

                                            Arkansas Dept. of
                                            Corrections

                                            Prepared By:




                 FDA Rooistered t c:GMP Compliant facifitv IDEA Licensed

                                                                                        Page lof 10
                                                                                     ADC42


                                                                              Exhibit 7 Page 3
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 137 of 534




To:     Rory Griffin
        Deputy Director
        Arkansas Dept. of Corrections
        Pine Bluff, AK
        (870) 692-1819
        Rory.griffin@arkansas.gov

                                 Assay & Identification Test Report
Thank you for contacting                                 for the analysis of potency of three pharmaceutical
products as received from the current vendors i.e. Potassium Chloride for injection concentrate, USP (2
mEq/ml), 20 ml; Vecuronium Bromide for injection, 20 mg and Midazolam injection USP, SO mg/10 ml.
Following are the results, methodology, and data associated with our analysis of the sample.

                                         Table 1: Sample Description

                                                               Potassium Chloride for injection
                111215AR6824
                                                             concentrate, USP (2 mEq/ml), 20 ml
                                                             Vecuronium Bromide for injection, 20
                111215AR6825                                  mg (lmg/ml when reconstituted to




                                            -
                                                                           20ml)
                                                              Midazolam injection USP, SO mg/10
                111215AR6826
                                                                       ml (10 ml vial)




                                              figure 1: Samples




                             FDA Registered l cGMP Compliant facility IDEA Ucensed

                                                                                                    Page 2of10
                                                                                                ADC43


                                                                                         Exhibit 7 Page 4
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 138 of 534




                                                                                         Project Code No• • • •


                                           Executive Summary
The analysis for potency of the three pharmaceutical products as given in Table 1 was performed per the USP
methodology.

    •   The assay for Potassium Chloride for injection concentrate, USP (2 mEq/ml), 20 ml was performed as
        per the assay method given in the USP (United States Pharmacopeia) Monograph of Potassium Chloride
        for Injection Concentrate. The obtained result of 101.1% was within the acceptance criteria of 95.00'6-
        105.0% of the label claim, 2mEq/ml (Table 5).

    •   The assay for Vecuronium Bromide for injection, 20 mg (1mg/ml when reconstituted to 20 ml) was
        performed as per the assay method given in USP Monograph of Vecuronium Bromide API (Active
        Pharmaceutical Ingredient). The Assay result of 102.6% was within the acceptance criteria of 90.0 % -
        110.0 % (for finished product) of the label claim, 20 mg of Vecuronium Bromide per vial (Table 7).

   •    The assay for Midazolam injection USP, 50 mg/10 ml solution (10 ml vial) was performed as per the
        assay method given in the USP Monograph of Midazolam injection. The Assay result of 99.2% was within
        the acceptance criteria of 90.0 % -110.0 % of the label claim, 50 mg/10ml of Midazolam. (Table 9).

All three products met the potency requirements.

                                            Analytical Testing
Potassium Chloride for Injection concentrate, USP {2 mEq/mL), 20 ml
ICP-MS
Apparatus:                      Perkin Elmer ELAN 6100 ICP-MS
Method:
Timing Parameters:              Sweeps/Readings: 20; Readings/Replicate: 1; Number of replicates: 5
                                Tuning File: default.tun
                                Optimization file: default.dac

                                Table 2a: Parameters in ICPMS




Signal Processing:              Detector Mode: Dual; Measurement units: cps; Autolens: On
                                Spectral Peak/profile Processing: Average;
                                Blank subtraction: Subtracted after internal standard; Smoothing: Factor S
Calibration Information:




Sample Preparation: Followed USP monograph for Potassium Chloride Injection Concentrate.
For analysis of samples, ICP-MS technique was used.

                              FDA Registered I cGMP Compliant Facility I DEA Licensed

                                                                                                      Page 3of 10
                                                                                                   ADC44


                                                                                            Exhibit 7 Page 5
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 139 of 534




                                                                                           Project Code No• • • •

Vecuronium Bromide for injection, 20 mg:
HPLC-UV analysis
Table 3 shows the HPLC method parameters for the Vecuronium Bromide for injection, 20 mg.

                         Table 3: HPLC method for Vecuronium Bromide for injection, 20 m

             System                    Agilent 1100
             Column                    Column ZORBAX Rx-SIL, Agilent Technologies, 150 x 4.6 mm
             Mobile phase              Mobile Phase A- Solution of Sodium perchlorate in water and
                                       Acetonitrile.
                                       Mobile Phase 8- Solution of Ammonium chloride in
                                       Ammonium h droxide and Methanol
             lsocratic                    Time (min      Mobile Phase A %      Mobile Phase B %
                                               0                   60                   40
                                               15                  60                   40
            Flow rate                  0.3ml/min
            Injection                  20 I
            Detection                  215nm
            Column temperature         40"C

Sample preparation and analysis: Followed USP monograph for Vecuronium Bromide API assay.

Midazolam Injection USP, 50 mg/10 ml (10 ml vial}:
HPLC-UV Analysis
Table 4 shows the HPLC method parameters for the Midazolam injection USP, 50 mg/10 ml.




                                       Supelco, Ascentis ClS, 250mm x 4.6mm, 5µm.
             Mobile phase              Mobile Phase A· Acetonitrile: Methanol: Buffer
                                       pH 5.0 (8:3:9)
                                       Mobile Phase B- Acetonitrile: Buffer {3:1)
             Gradient                    Time (min)       Mobile Phase A(%)       Mobile Phase B {%)
                                              0                   100                     0
                                             15                   100                     0
                                             20                    0                     100
                                             35                    0                     100
                                             37                   100                     0
                                             45                   100                     0
             Flow rate                 1.0ml/min
             Injection                 50µ1
             Detection                 254nm

Sample preparation and analysis: Followed USP monograph for Midazolam injection assay.


                                FDA Registered l cGMP Compliant Facifitv IDEA Licensed

                                                                                                        Page4of 10
                                                                                                       ADC45


                                                                                             Exhibit 7 Page 6
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 140 of 534




                                                                                         Project Code No.


                                           Results and Discussion
Potassium Chloride:

% labeled amount of Potassium Chloride in injection concentrate=    (c:) x ~) x 100
Where,

C= concentration of potassium in the Sample solution as determined in this test (µg/mq

Cu= nominal concentration of potassium chloride in the Sample solution (µg/ml)

Mr= molecular weight of potassium chloride, 74.55

Ar= atomic weight of potassium, 39.10

System suitability was met. The calibration data using standards having 1.0, 1.5 and 2.0 ppm concentrations
showed correlation coefficient value as 0.999 (R 2>0.99).
Acceptance criteria for the product was met (Table 5).

                              Table 5: Percent labeled amount of potassium chloride




Vecuronium Bromide:

System suitability requirements were met (Table 6). Table 7 shows the Assay test results. Figures 2 and 3 shows
the HPLC-UV chromatograms for Vecuronium Bromide standard and sample respectively. Vecuronium Bromide
peak is at the retention time of 8.5 minutes.

% label Claim Calculation =
Where,
                              av
                               X    (ffi
                                      X 100


Vs   = Area of Vecuronium bromide sample solution
Vt  = Average area of 5 replicate Vecuronium bromide standard solution injections.
Cs    =Concentration of Vecuronium bromide standard solution
Ct    =Concentration of Vecuronium bromide sample solution.

                                        Table 6: System Suitability Results




                                           NLT5000              101093.3




                               FDA Registered I cGMP Compliant Facifitv IDEA Ucensed

                                                                                                      Page Sof 10
                                                                                                   ADC46


                                                                                            Exhibit 7 Page 7
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 141 of 534




                                                                                             Project Cod• No• • • •




Midazolam:

System suitability requirements were met (Table 8). Table 9 shows the Assay test results.. Figures 4 and 5 shows
the HPLC-UV chromatograms for Midazolam standard and sample respectively.

% Label Claim Calculation = (::) X (::) X 100
Where,
Ms    =Area of Midazolam sample solution
Mt   = Average area of 5 replicate Midazolam standard solution injections.
Rs   =Concentration of Midazolam standard solution
Rt  = Concentration of Midazolam sample solution.


                                       Table 8: System Suitability Results
                Requirements           Acceptance               Result                  Pass/ fall
                                         Criteria
                    RSO%                NMT2:.0%                 0.2:%                    Pass
                Tailing factor           NMT2:.5                  0.8                     Pass
              Column efficiency         NLTSSOO                 58160                     Pass




                      1              90.0 % -110.0 %              99.2:%                   Pass




                               FDA Registered l cGMP Compliant Facifitv IDEA Licensed

                                                                                                        Page 6of 10
                                                                                                      ADC47


                                                                                                  Exhibit 7 Page 8
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 142 of 534




                                                                                                       Project Code No.


                                                                                Figures
        ._. ...,.,,A...,..1uaa11omt100{\'......,..., _ _.._.=1""11-1r15'22...........__.~..._0J




--                                                                 ~
m'!.I




a

--                                                        8
100•                                                      :;            I
                                                         .I\           "'•"'·                      \
    0

                           2               4           I!!                      ID
                                figure 2: HPLC chromatogram of Vecuronium Bromide Standard•             12                l<I   ..
        t::I llAOlA.llig"1lU-.lllC{V-..~_!ISP2D!M!-!7l!tn4$ill0-7--.,---.0j
m'!.I
                                                                                              "'
i!®


i!OO
                                                          ~
a                                                         "'


-
3QG




                                                                       .
                                                               ~
100
                                                                       q~                          \
                                                                       ! .,                   .
    n
                          2                   •        e            ti         10                       12                14    ni

                                 figure 3: HPLC chromatogram of Vecuronium Bromide Sample




                                       Figure 4: HPLC chromatogram of Midazolam Standard




                                         FDA Registered i t::GMP Compliant Facilitv IDEA licensed

                                                                                                                    Page7of10
                                                                                                                 ADC48


                                                                                                             Exhibit 7 Page 9
  Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 143 of 534




                                                                                 Project Code No• • • •




   -
                       Figure S: HPLC chromatogram of Midazolam Sample




HISTORY

  Version     Date        Comments
   .01      11/23/15      Corrected typo/error on page #5, Under the heading Vecuronium
                          bromide: right below the formula·previous report has Midazolam, so
                          changed to Vecuronium bromide.




                       FDA Registered l cGMP Compliant Facility I DEA Licensed

                                                                                            Page8of 10
                                                                                          ADC49


                                                                                  Exhibit 7 Page 10
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 144 of 534




                                                                                        Project Code No.




                                Description of Instrumentation Used

Reverse Phase High Performance liquid Chromatography (RP-HPLC):                     uses Agilent 1100 series
instruments with quaternary pumps. Detection modules include Refractive Index, UV variable wavelength and
UV Diode Array Detectors. The quaternary pumps allow the use of variable solvent chemistry to optimize
resolution and run time. Diode Array detection allows for collection of data from multiple wavelengths
simultaneously. The system is optimized for reverse phase chromatography, which allows the analyst to utilize a
highly polar mobile phase solution that carries the compound of interest though the chromatography column.
The column contains a non-polar stationary phase that interacts with the compound of interest as it is pumped
through the column. The compound eventually is released from the column and travels to the detector where a
signal arises based on the compound's characteristic absorbance and retention time. The analog signal is
converted to a usable chromatogram where the information about the compound can be analyzed with high
accuracy and precision.

Inductively Coupled Plasma Mass Spectrometry (ICP-MS): ICP-MS is commonly used to detect the heavy metals
in a sample at trace levels. Perkin Elmer ELAN 6100 ICP-MS has some on-board features including PE
Autosampler, Peristaltic Pump, Chiller and ICPMS Winlab Data System with software. The system is optimized
for rapid multi-element coverage, isotopic information, low detection limits, wide Linear Dynamic Range, high
sample throughput and semi-quantitative as well as Qualitative Analysis.




                              FDA Registered f cGMP Compliant Facility IDEA Licensed

                                                                                                     Page9of 10
                                                                                                  ADC50


                                                                                         Exhibit 7 Page 11
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 145 of 534




                                                                                            Pro,letit Code No.


                                                   Wrap Up
Testing results relate only to items tested. Test report shall not be reproduced, except in full, without approval
from                 in writing.
Thank you for consulting with                              . If you have any questions regarding this analysis, or
if we can be of any further assistance, please call us at              . Following the receipt of this final report,
a final invoice indicating the remaining payment will be sent to you. We will safely and securely dispose of all
samples and confidential information in our possession in 30 days, unless otherwise instructed by your
company.
It has been a pleasure working with you and we look forward to serving you again.
                                                                                                  /
Sincerely,




Technical Director




• • • • • • Ph.D., M.T.M.
Senior Vice President, Technical Services




                               FDA Registered I cGMP Compliant Facifitv IDEA Licensed

                                                                                                         Page 10 of 10
                                                                                                        ADC 51


                                                                                             Exhibit 7 Page 12
                     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 146 of 534



                               FEDERAL PUBLIC DEFENDER ORGANIZATION
CAPITAL HABEAS                         EASTERN DISTRICT OF ARKANSAS
     UNIT
   Jenniffer Horan                                        March 10, 2017
 FEDERAL DEFENDER

CAPITAL HABEAS CHIEF
     Scott Braden             Wendy Kelley, Director
ASSISTANT DEFENDERS
                              Arkansas Department of Correction
    Julie Vandiver            PO Box 8707
    John Williams             Pine Bluff, AR 71611
     Jamie Giani

 RESEARCH LAWYER              RE:        Execution Policies
   Jason Kearney

   INVESTIGATORS
                              Dear Director Kelley:
   · Dana Harrison
  Joseph Cummings
  Tonya Willingham
                                We the undersigned are the attorneys representing the eight
  ADMINISTRATIVE              inmates whose executions are scheduled for the four dates in April.
      OFFICER                 We have several questions and requests concerning the executions.
   Debbie Williams
                                 First, we want to confirm that we will have full access to our
COMPUTER SYSTEMS
 ADMINISTRATOR
                              clients in the holding cells until it is time for them to actually walk
  Sharon Robinson             to the execution chamber. That has been the historical practice, as
                              two of us (Rosenzweig and Sallings) can attest.
   OPERATIONS
  ADMINISTRATOR                Second, we want to confirm that we will be permitted in the
    Jeri Robinson             viewing area during the execution process itself for our respective
  ADMINISTRATIVE              clients. Ark. Code Ann.§ 16-90-502 guarantees this right, should we
    ASSISTANT                 wish to exercise it. Furthermore, it has also been the historical
    Dana Liner                practice as well as our reading of the statute that an attorney for the
                              inmate does not count against the witness limit.
                                 Third, we want to confirm that we will be able to bring cellular
                              telephones, laptop computers, and tablet computers to the prison on
                              the dates of the executions of our respective clients. We also want to
  MAILING ADDRESS             ensure that we will have access to our telephones during the
  1401 West Capitol
                              executions. That has been the historical practice. In the event that
        Suite490
 Little Rock, Arkansas        you reject this request, we inquire as to what alternative
         72201                arrangements the Department will assure us regarding voice and
                              data communications with the courts and other counsel.
  PHONE NUMBER
   501-324-6114                 Finally, we ask to be provided a copy of any protocols,
    FAX NUMBER                memoranda, or other documents that reflect the Department's
    501-324-5630              policies with regard to the issues set forth in this letter.
                                .Thank you for your attention to this   m~tter.




                                                                                       Exhibit 8 Page 1
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 147 of 534




     Counsel for Jason McGehee, Marcel Williams, and Bruce Ward




     Counsel for Stacey Johnson, Jack Jones, and Kenneth Williams




                          Deborah Sallings

                        Counsel for Don Davis




                              Lee Short

                        Counsel for Ledell Lee




                                                                          2



                                                            Exhibit 8 Page 2
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 148 of 534
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 149 of 534




                                                                    Arkansas Department of Correction
                                                                               Legat Division
                                                                               P.O. Box 8707
                                                                     Pine Bluff, Arkansas 71(311-8707
                                                                         Phone: (870} 267-6371
                                                                           Fax: (870) 267-6373
                                                                         www:arkansas.gov/adc
 Arkansas Department of Correction



                                         March 16, 2017



Scott Braden, Capital Habeas Chief                    Deborah Sallings, Attorney at Law
1401 W. Capitol Avenue, Suite 490                     35715 Sampling Road.
Little Rock, AR 72201                                 Roland, AR 72135

Jeff Rosenzweig, Attorney at Law                      Lee Short, Attorney at Law
300 Spring Building, Suite 310                        425 W. Broadway Street, Suite A
Little Rock, AR 72201                                 North Little Rock, AR 72114-5576



RE: Execution Policies
Counsel:

    This will acknowledge the receipt of your correspondence of March 10 regarding ADC
policies and the scheduled executions. Your inquiries seek information ragrding those policies
which affect your role as legal counsel for the condemned inmates. I will answer your questions
in turn.

    First, you ask whether you will have full access to your clients in the holding cells prior to
the executions. Yes. In addition to the normal visitation allowed as a matter of course for legal
counsel, legal counsel for a death row inmate may visit, at the request of the inmate, each day for
five days prior to the scheduled execution. including the day of the scheduled execution. You
may remain with your client up until the time your client is escorted to the chamber.

    Next, we confirm that legal counsel for the inmate is permitted, at counsel's option, to be
present in the viewing area during the execution process itself You are correct that such counsel
will not be excluded due to any applicable witness limit. If the inmate has multiple legal counsel,
only one will be allovved to be in the viewing area.

    With respect to electronic communication devices (cell phones, tablets, laptops), you will not
be allowed to bring cell phones or tablets inside the prison facility. You may bring a lap top
computer into the facility so long as the device is not equipped with photography, video, or audio
recording capabilities. The use of the lap top will be limited to two areas of the facility, the



                                 An Equal Opportunity Employer                  Exhibit 9 Page 1
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 150 of 534




deputy warden's office (where a phone line and fax will be available) and the general visitation
area. You will not be permitted to take a lap top to the holding cell area nor the viewing area
You can leave itin the deputy warden's office.

    However, the ADC has m~de arrangements to provide legal counsel with the opportunity to
communicate with other counsel and the courts. While at the holding cell area, legal counsel will
have access to one of two phones for outbound calls. If counsel decides to return to the deputy
warden's office rather than proceeding to the viewing area, there will be two phone lines (870-
850-8656, 870-850- 8657) for inbound ot outbound calls. There will also be a fax machine {870-
850-8864) in that office available to counsel. Counsel may also use a lap top there. Outbound
lines will also be available in the general visitation, but no fax.

    The ADC's Execution Procedures Administrative Directive is confidential. As it sets out the
implementation of logistical procedures necessary to carry .out the sentence of death, H is exempt
from disclosure pursuant to Ark. Code Ann. Section 5-4-617{g) and (i). The Director has
authorized me to describe for you that portion of the procedures related to attorney visitation .for
your convenience and that of your client. The confidential procedures do not specifically address
the possession of electronic devices as those are prohibited by department-wide visitation and
contraband policies with which I am sure you are familiar. From time to time the Department has
made an exception to general ban on electronic devices to accommodate the need for visiting
legal counsel to have a lap top, and she has decided to make that accommodation in this case.



s~ ~                  JJ. .-4
                           . ·. ·.
 ---; ~ Nt._J/
~es B. DePriest
Chief Legal Counsel,
Arkansas Department of Correction




                                                                               Exhibit 9 Page 2
                Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 151 of 534




                   RE: FOIA Request
                   Jim Depriest
                   to:
                   John C Williams
                   03/20/2017 12:48 PM
                   Cc:
                   Jim Depriest
                   Hide Details
                   From: Jim Depriest <Jim.Depriest@arkansas.gov>
                   To: John C Williams <John_C_Williams@fd.org>
                   Cc: Jim Depriest <Jim.Depriest@arkansas.gov>
                   History: This message has been replied to and forwarded.
Thank you for the opportunity to clarify these issues.
If the attorney chooses to go to the viewing area, she will have no access to a phone during the execution.
The holding cell is not terribly far, but the attorney will have no access to those phones during the execution. The options for the attorney
are to go to the viewing area, or the deputy warden's office (outbound and inbound phone and fax available, also lap top), or to the
visitation area with representatives of the press (outbound phone available).
The attorney will not be allowed to leave and then return to the viewing area. No phone access in the viewing area.

While the ADC can appreciate your concerns regarding communications, we trust that you will have other staff assigned to monitor
communications with the courts, and these staff can have real time communications with representatives ofthe Governor's Office,
Attorney General's Office, and the ADC.

James DePriest
Chief Legal Counsel
Central Office, Legal Division
Arkansas Department of Correction
Office- 870-267-6371
Cell····
Jim.depriest@arkansas.gov
Confidentiality Notice: This e-mail message and any attachments is the property of the State of Arkansas and may be protected by state and federal laws governing disclosure of private information. It is for the
intended recipient only. If an addressing or transmission error has misdirected this e-mail, please notify the author by replying to it. If you are not the intended recipient you may not use, disclose, distribute, copy,
print or rely on this e-mail.




                                                                                                                                                                             Exhibit 10 Page 1
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 152 of 534




                                                                               Director's Office
                                                                                 P.O. Box 6707
                                                                       Pine Bluff, Arkan~as 71611-8707
                                                                            Phone: (070) 267·6200
                                                                             Fax: (870) 267-6244
                                                                           www.arkansas.gov/.doc
   Arkansas Department of CQrrection.

                       ·.ADMINISTRATIVE DIRECTIVE
                              CONFIDENTIAL

    SUBJECT:      Procedure· for Execution

    NUMilER:      08-28                                    SUPERSEDES:        07~48
                                                                                                             ..
    APPLICABILITY: Management Team and designated
                   staff



    ARP~OVJtD:                                                       EFFECT1VE DATE: 05/22/08
    J..    POLICY:

           lt shall be the policy of the Department of Correction to comply with Arkansas Code
           regai'ding the execution of persons sentenced to Death.                         ·

    II.   · PROCIIDURE:

           A.     Setting of Execution Date

                  1.      Judge sets date of execution. The ~xecuti.on date will be vetified by the
                          Warde1.1 of the conde11p1ed i.mnate's ui1it of assigmnenL A copy of the
                          order shall be provided to the Director.

                  2.      Governor sets date of executioi1 and issues.death wari:ant. The execution
                          date will be verified by the Warden of the imnate's unit of assignment. A
                          copy of' the order shall be provided _to the Director.

           B.    · Executioners

                  'foe Dfrector will select the executioner(s). Their name(s) will be. known oJJ.l:y by
                  the Director and as necessary, that staff person responsible for coordinatitiglethal
                  agent inf11sion activities, The· idei1tity of the execlitioner(s) will be kept secret.
                  The executioner(s) will be in the control room <lming the execution. The Dlrector
                  will be responsible for making aitangements to have the executioner(s) in the
                  execution chamber.

                                                                                            PLAINTIFF'S
                                                                                              EXHIBIT
                                    An Equal Opportunity Employer.


                                                                                                  App. 102


                                                                                           Exhibit 11 Page 1
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 153 of 534




                                                         Filed 07116/2008        Pa9e 2 9f 2~
                                                                          Page 2 of26 .          I

              Orientation for the executioner(s), if needed, will be prior to the day of the

              ;~:u~~~~~~i;:~~·~~~~i~~i::z~~?~n~~~~~l1i.)i
             .•••         ~he executioner(s) shall   be .~scorted by the Director or designee.

        C.    Chiiin of Command

             The Warden of the Cummins Unit, then the Director or desiWJ_ee, will be the chain
             of command for control.

        D.   Witnesses

              1.     The execution shall be witnessed by no more than 30 persons. This does
                     not include executioner(s). Attendance at the execution shall inchi~e:·

                     a.       Director and Cummins Unif Watden or an assistant;

                     b.       The Department of Correction. official in charge of Medical
                              Services or his designee;

                     c.      Not fewer than 6 ~d no more than 12 respectable citizens;

                     d.      ·Counsel for the ininate. (optional);

                     e.       SpMtual advisor to the inmate (optional);

                     f.      No more than three (3) members of the media.

             ·2:     The selection of 6 to 12 citizens to witness tl1e ex1;1cution will be made by
                     the Director. Recommendations front staff, Board members, and others
                     will be reviewed. Minimum criteria include:

                     a.       Persons (no· ex-felons) selectea must be 21 years·of age or oldel';
                              and,.

                     b.       All persons wi.ll be very mature, i-csponsible, and respected citizens
                              of the State of Arkansas.

                     c.       No inmate's family member will be alfowed to serve as a wit11ess,
                              nor be allowed past the roadblock on the day of the execution.

             3.       No family member of the viCtip:i will be present at the e?{ccution, however,
                      a closed circµit audio-visual monitor will·be placed in a designated
                      location, and as many as five (5) close relatives of the deceased viCtim or
                    . surviving im1ocent victims who desire to view the execution via monitor




                                                                                                     App. 103


                                                                                          Exhibit 11 Page 2
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 154 of 534




  ~{)A-cv-001~0·&\NW             Qocument 137-3    Filed 07/16/2008 Page 3 of 24
   ~~Z8 -Procedure Tor_E_x_ec_u_t1_o_n_ _ _ _ _ _ _ _ _ _ _ _ _   Pa._,g"--e_3_o_f_2_6___ j


                         may be approved. No audio or video·recording shall.be·made of the
                         execution:.

                         a.      Close relatives of the victim shall mean the followfog:

                                 (1)     the spou~e of the victim at the ti.me of the victim's death;

                                 (2)     the parents or step-parents of the deceased victim;

                                 (3)    · the adult brothers, sisters, children, or step-ehildre1i. of the
                                          deceased victim; or

                                 (4)     any other adult relative with a close relationship to the
                                         deceased victim.

                         b.      S.wviving innocent victims s4all meau ·any person imi.ocently
                                 present during the commission of the capital offense who sustained
                                 an injury, either physical or emotional, and·srrch:mj'Ury results in a
                                 separate conviction for a lesser offense which ai'ises out of the
                                 same course of conduct. ·

           "E.    Inter/Intra-Agency Coordination

                 ~.prior to the executi?n date, the following individuals shall conti¥ct and
                  coordinate the assistance of the following:                    .

                  1.     Chief Deputy Dfrcctor of Institutions

                         a.      Arkansas State Police i;ind request that the Arkansas State Police be
                                 at the Cummins Unit the date of the ~cheduled execution and
                                 provide mobile units to block designated streets/roads during the
                                 scheduled execution; ·

                         b.      Lincoln and Jeffei·so.n County sheriffs and request the cm,i.nty
                                 sheriffs have deputies on stand-by the date of the scheduled
                                 execution;

                         c.      FBI for notification only;

                         d.      Police departments of Grady and Gould for notification only; and

                         e.      Unit wardens and advise them of their responsibilities.




                                                                                                     App. 104


                                                                                              Exhibit 11 Page 3
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 155 of 534




                                                    Eiled QZ/16/2008       Pa~e 4 of 24
                                                       .             Page 4 of26 .         I
             2.     Cunimins !Jnit Warden - each unit warden and request the as·sistance of
                    con-ectional officers of the rank of sergeant or above from ea~h unit for
                    the date onhe scheduled execution..

             3.     Deputy Director of Health and Corre~tional Programs, or designee -
                    county coroner and request presence.


             The Office of the Attorney General·will be responsible for contacting the
             Governor's Offic~ and Federal Courts to establish telephone contact times,
             telephone numbers, and verification of the personnel with whom they Will b'e in
             contact on the date of the execution.                               ·

        F.   Prior Arrangement$

             I.     Chaplaincy Services

                    a.                                                           of
                           The conde1m1ed inmate's minister or the Department Correction
                           Adininistrator of Chaplaincy Services will work with the hunate
                           statting at least seven (7) calendar days prior to the ex;ecution as
    j                      detennined by th~ warden art,d/or minisfor.       ·    ·

                    b.     The Cummins Unit Chaplain (as designated by the Administrator
                           of Chaplaincy Se~vices) will contact the.family of the condemned
                           irunate.

             2.     Medications

                    a.     No i11edication shall be given to the condemned inmate seven ~ays
                           prior to· the execution date, except medicine which is prescribed by
                           a Department physician:

                    b.     Medication prescribed for the .condertmed inmate by a. Departm~nt
                           physician shall be repo,rted to the Deputy Director of Health and
                           Correctional Programs, or designee.

             3.'    Disposition. of.Property

                    The Warden of the Cummins Unit will obtain instrnctions from the
                    condemned inmate as to the disposition of his or her prope1:tY being
                    maintained at the Cu1im1ins Unit.

                    The Cununins Unit Warden wili request that a withdrawal slip be filled
                    out if the condemned inmate has any money jn the inmate trust fund so the
                    money can be fo!'warded to the person designated for receipt of such by
                    the.inmate.




                                                                                           App. 105


                                                                                  Exhibit 11 Page 4
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 156 of 534




    __S_8~----~~~i_~o_cJi_1_P_e-_r~_i~_.~_{c_u_t1_·-0_f?__um_.o_n________
  q1-*B                                     6
                                                                                  Pages of 26    ==i

                     4.       Burial.Arrangements
                                                                                  .                  .
                              a.      The Deputy Director QfHealth and Correctional Programs, or
                                      designee, and the Administrator of Chaplaincy Services 'shall be
                                      responsible for ascertaining the identity of a funeral home to which
                                      the !Jody will be remanded upon completion of the post-mortem: ·
                                     ·exainitJ.ation.

                           · b.       The State Crime Laboratozy will be inform,ed by the Deputy.
                                      Director of Health and Cofrectional Programs, or designee, of
                                      known funeral plans.                                        ·

                                      (1)        The State Crime Laboratory will coordinate with the
                                                ·designated funeral home regarding the tt'ansfer of the body"
                                                 post-mortem.

                                      (2)       The A!kansas State P?Hce will provid~ escort
                                                the body off the· premises.

                             c.      The Deputy Director of Health and Correctional Programs,         or
                                     dQsignee, will institute standard operating ·procedure for unclaimed
                                     remains should disposition of the body not be known at the time of.
                                     the execution.

                             d.      J):anspo1tation arrangements of the deceased inmate from the death
                                     house will be 111ade by the Depi.1ty Directo'r of Health and · .
                                     Conectional Programs., or designee.

                                    Tlre ~chicle and d1:iver should be.at _the Cummins Unit4lm19
                                    • • • • • • • •prior to the scheduled execution time.

                     5.      Explanation of Lethal Injectiori Procedure

                             The Deputy Director of Health and Correctional Programs, or des.i·~
                            Shairassumellie foHowing resporiSlliilities:
                             a.     · Select the member(s) of.the IV Teatn;

                            · b.                                               ,i'ior to the scheduled
                                      execution date, the Warden oft ie mmate's unit of assig1unent and.
                                      the Deputy Director of Health and Correctional Progr,runs or
                                      designee(s) and a member of the IV team will explaii1 tp the
                                      condenmed imnate lethal injection and conduct a physical
                                      evaluation of possible infusion site(s);




                                                                                                         App. 106


                                                                                                Exhibit 11 Page 5
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 157 of 534




  ~ Oii~- -g,o~10-Pc'vYf\' Doeumcnt137 3             ·   FiledQZ/16_12008 Pagc6.of24
   'A!'f.5l - .fflr ce ure ·or xecutton .                              Page 6 of26 ~




                     d.      Have the l~thal injection, the gurney, straps, etc., available for u9e
                             on the schedllled date of execution (see Attachnient C); and

                      e.     Maintain conup.unication during the lethal injection ~ro~ure with.
                             the executioner(s).

        G.    Int~r-Unit Transfer


              1.    ~riono the scheduled execution date, the Wafrlen of the
                    ~it of assignment will confer with the Chief Deputy Director
                    and the Warden of the Cummi.ns. Upit to finalize plans to transfer the·
                    condemned inmate to the Cununins Unit.

             .2.     Knowledg·e of the actual time that the cc;>ndemned irimate will be
                     transferred shall be restricted to the two wardens and the Chief Deputy
                     Director.

              3.     Females will be kept at the McPherson Unit and then transported to the
                     €uinm\ns .Un.it    ·ii I ,                            the
                                                  I. Id · ·prior to execution. A test
                     foi: pregn~cy will occur prior to ti:ie feinale being moved to the Cummins
                     Unit.

             4.      Upon receipt at the Cummins Unit, the condemned illl11ate's pi.·operty shall
                     be inventoried, and those items authorized shall be retained in his or her
                     cell ..

             5.     Shakedowns of the cell and. the condemned imnate will be no more than
                    five tiines per day or aS' security dictates after the.conde1m1ed inmate
                    a~Tives at the Cummins Unit.

             6.      The Chief Deputy Director will-coordinate the transfer with the Arkansa·s
                     State Police.

        H.   Visitatioi1 Privileges

              1.     Persons on Approved List

                     a.      lf requested by the condenmed inmate, visits with the immediate
                             family or friends who are on the f!.pproved visitors list and are
                           . approved by the warden (as.determined by security needs) shall be .
                             allowed each day for five days prior to the· date of the execution ..

                     b.      No family or friends   will be aJ.lowed to visit on the day of111e .
                             execution.




                                                                                              App. 107


                                                                                       Exhibit 11 Page 6
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 158 of 534




                                             7-3      Filed 07/16/2008 Page 7 of 24
                                                                    Page 7 of26



                     ·C.    Approved visits ·will be no more than three hours and must be
                            withi.n a time peri<~d from l :00 p.m. to 4:00 p.m. or as deemed
                            appioprjate by the Warden.                   ·         ·

             2.      Legal Counsel and Spiritual Ac!visor

                    · a.    ff requested by the imnate~ visits from legal co~sel and spiritual
                            advisor shall be allowed each day for five days prior to the date of
                            the execution.· ·

                     b.     Legal Counsel ·and Spiritu~ Advisor may be a11owed to visit on the
                            day of the execution. ,

                  · c.      Legal Counsel and Spiritual Advisor visits will be allowed at any
                            time except during specified events.

        I.   Stations/Contacts

             1.     Road Blocks

                    a.     Arkansas State Po'lice Mobil~ Units shall bfock designated .routes
                           81Tf•! One Depru.iment of Correction officer with a walkie:
                           talkie shall be stationed with each police u.rrit.

                    b.     A police ribbon barricade and/or road block will be placed as
                           indicated on Attachment A and A·l.

                           (1)      Security officers shall be placed around the area of the
                                  . police ribbon barricades and other posts as required in
                                    Attaclunent A and A-1 ..

                           (2)     After the execution and news coilference, the Arkansas
                                   State Police shall order spectators to disperse. After the
                                   spectators have dispersed, the barricades shall be removed.

             2.     Emergency Response Team

                    An Arkansns Departmen:t of Conection ERT Team shall assemble. . .
                   t119at the direction of.the Chief Deputy Director or the Emergency
                   ~redness Coordinator.                                   ·             .

             3.     Director

                    a.      Telephone numbers and names of coiitact persons within the
                            Department of Correction will be provided by the Cumn1ins Unit




                                                                                          App. 108


                                                                                   Exhibit 11 Page 7
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 159 of 534




                                       137-3      Filed 07/16/2008        Page 8 of 24
                                                                   Page 8 of26

                          Warden to each petson who has authority· to issue a stay of
                          execution as determined by the Office of the Attorney. Genera).

                          (1)     The telephony in the execution chamber is to be used ori.ly
                                . by the Director. . . . . .·p1:ior to th.e scheduled
                                  execution, and ~following the execution.

                          (2)    The warden or aesignee will have available a walkie-talkie ·
                                 in the execution chamber on a separate frequ~n,cy which
                                 will be utilized to receive a stay of execution if the
                                 telephone system.is not working properly .

                          (3)   .A telephone in the waiting room adjacent to the Witness
                                 room is for security pmposes·only.

                  b.     Additionally, before authorizing tli.e execution to.begin with the
                         opening of the ctutain to the witness room, the Director will .have
                         contacted the pre~designated person at the Governor;s Office and
                         the Attorney Gener~'s Office.          ·

             4.   Governor's Office/Attorney General's Office

                  a.     During the execution procedure, the Interm.il Affairs Administrator
                         or designee shall be stationed~ and shall
                         monitor the telephone to the A~e. The
                         Classification Administi·atot, or designee, shall be statio11edW·
                        - - - a n d shall monitor the telephone to the Governor's
                        ~ person will be available for .contact for a stay of
                         execution.

                  b.     Once a stay-is received by any of the above, telephone or walkie-
                         talk.ie (if the telephone system .isJ1ot working) contact will be mad~
                         to th~ execution chamber. Telepiione irnmbers wili be provided.
                         Walkie-talkies on the same frequency as the one. in.the death
                         elfomher will be p1:ov!ded to each designated contact person.

            .5.   WitnessesNiewers

                  ·a.
                                               •••I
                         Witnesses chosen b the Director· shall arrive a t · · · · · · I '
                                                             prior to the execution time, Where
                         their identification shall be chec· ed,. and they will be searched by
                         the Warden of the Diagnostic Unit or designee. They will then be
                         transported to the Death Ch.amber at the Cununins Unit.

                  b.     VictHn(s) family viewers will be chosen by the Director and shall
                         arriv




                                                                                       App. 109


                                                                                 Exhibit 11 Page 8
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 160 of 534




                                                               File~ -0=~16/200~                      Page 9 of 24
                                                                               ·         Page 9 of26                ·   J



                              ~o the execution time) where t!:ieir identification will ):>e
                              ~d they "411 be searched and biiefed by the
                              Adltlinistrator of Mental Health Services.

                         c.     At_Tan:gements for transportaticin and secUrlty officers for the
                                witn~sses and viewers snail be made by 1he Wa.rd.en of th.e
                                Diagnostic Unit.                        ·

                     d.         The Arkans·as State Police shall provide
                                Fl j II lfl J f. 11 ... to act as esco11s· for the ttansportatio~ of
                                Wltr:J.esses an viewers.                                                .               .

                     e.        The Chief Deputy Director of Institutions. Will coordinate with the
                               Ward.en of the Di!!-gnostic Unit and.. . . . . . - . ,
                               ~1~ rout~the witnesses and::~at·
                    J'


                               ~mspmt.
                     f,         The·trnnsportation vehicle and security staff will remain adjacent
                                to the Death House.

                    g.          Once the execution is completed, the witnesses will be tr~nspo1ted
                                back      '   .   '   •   •'      '.'.~.'.
                                                                        ·: '       .:·    r "'•   •         •




                    h.          Victim(s). family -yfowers will be afforded an oppqrtunity to make a
                                ~tatement to the medi\l. prior to returning t o -

             6:     Indivioual stations in the death house are indicated in Attachment B.

             7..    Escort Team

                    The escort team as ~dentified by the Cturunins Unit Warden shall be
                   .assembled at the C~nmins' Guest House and assum9 their positions                                        llf1'
                   -pr~or to the execut~on.                                 .      ·


        J.   Procedures Prior to Execution

             I.      Do((umentation in Log Book

                     Upon anival at the Cummins Unit, the warden will ensure that an
                     execution log book is initiated.to document all of the coridenmed inmate's
                     activities throughout his ~tay fo the death house at the Cummins Unit.

                     a.         A security officer will be stationed as determined by the warden to .                               ,.
                                observe thil condemned inmate ahd record activities.




                                                                                                                        App. 110


                                                                                                                Exhibit 11 Page 9
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 161 of 534




                                                                         Page lQ of26


                        b.      Designated Cummins Unit staff members are responsible for
                                recording activities oocurring in· the death house which will ·
                                conclude with the entry.of the inmate into the .execution chamber.

                    c.         Upon entry into the execution chamber, th~ record.er from Internal
                               Affairs will complete Attaclunent Pthat will be added to the log
                               book.·

                     d.         A copy of the log shall be given to the Assistant to the Director for
                                Public Information for release to the news media, Govemor's
                              . Office, the Attorney General's Office, and the Director's Office
                             . within 24 hours after the execution unless an exception is m~de.

             2.     Last Mear

                    The c9ndenmed inmate may request one special meal on the evening of
                    the scheduled execution. This request must be for food within 1-eason
                    based on availability in food service, legality, etc.

                   a.          111e Cummins Unit Warden shall visit with the condenmed inmate
                             . and advise the irunate of the inenu schedule to include the iru1iate's
                               request for the last me.al.

                   b.          The last meal is to be served at the last regular schedule~ meal
                               time or no later th~ four hours prior to the time of execution.

             3.    Preparation of Condenu1ed for Execution

                        a.       The condenmed inmate may shower and be dressed in the clOthes
                                 in which the inmate shall be executed.

                     ·b.         At the time of execution, the condemned inmate will wear a short
                                 sleeve shirt. No belt? or jewelry will be allowed t~ be worn by
                                 the condemned inmate;


        K.   Execution Process

             1.    The following· will have been done just prior to the time set for the
                   execution:

                        a.     The Cummins Uni~ Warden shall have the condemned imnate
                               removed fi:om the holding cell in socked feet and st.nipped to the
                              . gurney (see Attaclm1ent D).




                                                                                              App. 111


                                                                                     Exhibit 11 Page 10
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 162 of 534




  q~m <189R-ci-oe11owff<l'
        - ·- rocedure or )Xtecutionpooument
                                      .
                                            137 ~\ed...OW612QQ8
                                                          .
                                                                     Page 11 of 24
                                                             Page 11 of26
                                                                             .
                                                                                I
                      b.      The Spiritual Advisor may escort the condemned to the death
                              chamber entrance as determined by security needs, but legal.
                              counsel is not allowed ..

                      c.      The Deputy Director of Health and Correctional Programs or
                              designee shall have cathe.ters plac~d in each arm or other
                              appropriate areas and a, saline solution started (see Attachment C).

                      d;     The Cummins Unit Warden ·shall surmnon the witnesses and have
                             them escorted to tl,te Death Chamber Viewing Room. The
                             Cuinmh1s· Unit Building Major will ha.ve each witness s.ign their
                             name, and give the date and time of their arrival in the Viewing
                             Ro9m (see Attachment E). The door shall be.locked by the.
                             building major.

                      e.     The Administrator of Mental Heaith Services will have the
                             victi:in(s) family ·viewers sign, print their name, and give the·date
                             and time of their arrival in the predetermined locatiop. to view by
                             monitor ~he execution.

                      f.     After the-witnesses are· in the Death Chamber Viewing· Room and
                             the ·condemned inmate is in the execution chamber, the Cummins
                             Unit Warden shall open the emiains, and face the witnesses. The
                             recorder will t4m on the microphone and the audio feed.

                      g.     The Director o'r designee shall then ask the condemned inmate if
                             he or she has any last words or statements. The inmate shall be
                             _allowed to respond, and then the Cummins Unit Warden shall state
                             "the officials are ready to proceed with the executio1~." The
                             recorder will then trnn off the microphone and audio feed.

                2.    Unless specified, the time for execution vvill be 9:00 p.m. ·At the time Of
                      execution, the following shall occur:                             ·

                      a.     The executioners shall administer the lethal injectioµ. .. Once the
                             instrnction is given to .commence the execution, the procedure for
                             lethal i~jection will proceed io 'Completion (see Ai.taclunent C).

                      b.     When the inmate no loi1ger exhibits any sign of life, the ·Cununins
                             Unit Warden shall .request the coroner to be brought into the Death
                             Chamber, and the mkrophone and audio feed shall be turned on.

                      c.      The coroner shall the1~ pronounce the death and b~ escorteq out of
                              the.Death Chamber: The death shall be recorded in the it~tiate's.
                              medical file.




                                                                                             App. 112


                                                                                    Exhibit 11 Page 11
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 163 of 534




                                                      · Filed 07116/2008    Page 12 of 24 .
 CE~ft£~•C'l1'   001JO
         .- 8 - Prpce ureryVVVV    Qocument 137:3
                          for Execution   .                           Page 12oq6             I
                        d.     After the inmate is pronou1iced dead, the Director or designee shall
                               read the order of the court, the time the lethal inj~ciionwas
                               administered, and the time of death to· th~ witnesses. The
                               microphone and audio feed shall then be turned off, imd the
                               wat9en shall close the curtain.

                              The. Director will" call the .Classification Adn~inistrator
                                                                                       9111[
                             - · t h e Public< Information Office1·-~·flnd the
                              representative.from the Attorney. Gener~­
                             _         toadvise that the execution has beei:i completed.

                       e.     The Dir~ctor will protect the confidentiality of the executioner(s)
                              upon exiting the Chamber.                   ·

                       f.     When the irunate has been pronounced dead, the Warden of the
                              Cummin$ Unit or desigtiee shall order the witn-esses to be escorted
                              from the Death Chamber to the outside of the.Cummins Unit or ·
                              designated area.

                       g.     Witnesses will !eave by the same proc;:edure as they arrived-. The
                              stretcher shall be brought hito the Death Chamber by the
                              transportation attendants who shall then remove the body and
                              transport it to the Crime Laboratory .or other location designated-by
                              the Director. The transportation vehicle will depart through the
                              sally port.

          L.     Final Documentation

                 I;    The Internal Affairs Administrator shall gathel' and compile all pertinent
                       jnfonnation ruid shall submit .a final repo1t to the Director.

                2.     Certification of Execution

                              The Director shall certify the fact of the execution of the
                              condemned inmate to the clerk of the court by which such sentence
                              wa.~ pronoynced.

                       b.     The clerk shall file such certificate with the papers of the case and
                              enter the same upon the records of the case.

                 3.           Cause of death ruiing·and/or post-mo1tem examinatiOn may be
                              requested by the Deputy Director of Health awl Coneetional
                              Programs, or designee, through the State Medical Examiner's
                              Office at the Crime Laboratory.




                                                                                            App. 113


                                                                                   Exhibit 11 Page 12
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 164 of 534




   r
 Case 5:06 cv 00110 SW\fl.I Docum.enU.....3.....
   AD 08:28 -Procedure for ffe!ecution .
                                            Z-=3.....___._F...
                                                           ile..._.d.._0....7.. ,./.....
                                                                                    1....
                                                                                     .
                                                                                         6/~2....
                                                                                              0.....
                                                                                                  0,,,_8·_..._P=a....
                                                                                                 Page 13 of26 .
                                                                                                                 ge......,.1=3-=o.,,_f=.24
                                                                                                                                        J




    III.       REl!'ERltNCE:

               ACA 16-90-501            ~t   seq.

    IV.        ATTACHMENTS:
               Attaehment A -           · Cqmmins Unit Building Map
               Attachment A-1          - Cummins Unit Map
               Attachmen:t B -           Death Chamber Map
               Attachment C ~            Lethal Injection Procedures
               Attachment D -            Escoit Team Procedures
               Attachment E-             Witnes~ Sign-In List .
               Attaclunent F -           Internal Affairs Log.

    08-28
    08May22 (revised)




                                                                                                                                    App. 114


                                                                                                                        Exhibit 11 Page 13
                                                                                                                                                                  -ll
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 165 of 534




                                                                                                                       Deputy Director
                                                                                                                        or Designee            Building Major                              LEGEND
                                                                     '<:!"
                                                                     ....0
                                                                     N                                                                                                                ~~   !     Window    I
                                                                                                            storage    Control                                    #}'.:~--
                                                                                                            Room       Room
                                                                     '<:!"
                                                                     ....-
                                                                      (!l
                                                                      O>                ADC Security
                                                                                                                                                              a       Director
                                                                                                                                                                                       ® I     Liaht Switch        !
                                                                      cu
                                                                     0...                                                                    Unit Warden /
                                                                      CX)                                                                              Recorder~                      ·I   j   Teleohone      1
                                                                      0
                                                                      0
                                                                      N                Quiet Ce!!                                             ~""h~Pit".a.~
                                                                      co....-           Hanway
                                                                      --
                                                                      I'-
                                                                      0
                                                                       "'O
                                                                       ~
                                                                       u::                             Coroner
                                                                                                                                         Witness    ~oom
                                                                                                                                                                                       0   [      Clock        ]
                                                                       (")
                                                                       I'-
                                                                       (")

                                                                             I
                                                                                                                      Rest                                                             T   I   Thermostat          /
                                                                       ....-                                                              Hallway
                                                                        c(!l.
                                                                          E
                                                                          ::i
                                                                          (.)
                                                                          0
                                                                        0                                                                            ADC Sect.irity          __ , -
                                                                         ss
                                                                         Cf)
                                                                         0.,....
                                                                                 I
                                                                                                       ARKANSAS DEPA~~TMENTUF CORRE.CTION
                                                                          .,....
                                                                          0
                                                                          0
                                                                                  I
                                                                                                                             CUMMINS UNIT
                                                                                 >
                                                                                 (.)
                                                                                  I
                                                                             (.0
                                                                             0                                        EXECUTION CHAMBER
                                                                             L!)
                                                                                 (!l
                                                                                 en
                                                                             0
                                                                                 CIJ                                         ATTACHMENT 8
                                                                                                                                                                                                          App. 115
                                                                                                                                                                                                    Exhibit 11 Page 14
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 166 of 534




  case 5:06-cv-00110-SWW          Document 137-3        Filed 07/16/2008       Page 15 of 24


                                                                                ATTACHiVIENT C
                                                                                Revised May 22, 2008 .

                                  LETHAL INJECTION PROCEDURE

 SECTION I. General

 1.   The Deputy Director for Health and Correctional f:ltograms, or designe~. is
      responsfble for having the chemicals for lethal injection, the gurney, straps, etc.,
      ava!lable for u.se on the scheduled date of ~xecution. Unless otherwise stated,
      the Deputy Director,. or the i:lesignee, shall be healthcare trained, educated,
      and/or experie-nced in matters related to the establishment and monitoring of IVs,
      the mixing and ad.ministratiori of lethal chemicals, and l(lsses!:!ing the presence or
      absj3nce of ccmsciousness.

2.    When the lethal chemicals have been received, the Deputy Director, or the
      designee, i;;hall verify as to type and concentration, and thereafter supe.rvise any
      necessary rnixing or reconstituting of the chemicals in such         amanner as will
      meet lethal Injection requirements (see Section IV) and in accordance wffh
      manufacturer's instructions. The mixed ,or reconstituted chemicals shall be
      transferred to an ap'propriate syringe and thereafter pla.ced ·in a designated Lethal
      Injection Drug Box. The box will be secured and conv~yed to the Cumrnins Unit.

3.    The Deputy Director, or designee, shall maintain personal,· physical custody of
      the Lethal Injection Drug Box and physically convey the box to the Cummir1s Unit
      for' secure storage in the institutional vault until such time as it "is delivered to the
      execution chamber     for use. If not used, the Dep.uty Director, or designee, will
      m~intain possession of the box, and document the proper destruction of the
      contents.

4.    Orientation of the executioner(s) to the Department'i; Lethal Injection Procedure,
      ,if ne~ded, will be conducted prior to the day of the execution and provided   the  by
      Director and/or designee(s).

5.    On the evening of the execution, the exec1..1tioner(s) shall, under the supervision
      of the Deputy Director, or designee, enter the injection room i:>rior to the
      scheduled time of the executi1::>n . and shall immediately invenyory the Lethal
      Injection Drug Box to ensure that all lethal chemicals are accounted for arid that
      the infusion device(s) are in readiness.      ·

6.    Prior to the IV Team being summoned to initiate the intravenous infusion devices,
      the Deputy Director, or designee, . will affix cardiac monitor leads to the
      condemned inmate at standard 3klead positions: RA, LA, and LL.

7:    The execution gurney will be positioned in the death chamber so that the Deputy ·
      Director, or designee, and the executioner(s) can directly observe the
      condemned inmate's face and IV infusion site(s).




                                                                                               App. 116


                                                                                    Exhibit 11 Page 15
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 167 of 534




  Case 5:06-cv-00110-SWW          Document 137-3         Filed 07/16/2008     Page 16 of 24




 SECTION II. IV S~t-Up Procedure

 1.    The Deputy Director, or de$ignee, sf!all have· an. intravenous infusion device
       .placed in each arm, or other standard anatomical venous point of entry, of the
       condemned ·inmate and a solution of D5NS available for an infusion mGdium. the
       individual{s) engaged in this activity will be referred to as the IV Team and shall
       be qualified as set forth in Section V.                                     ·

 ~.    An IV administration set shall be inserted into the ·oufJet of the bag of D5NS IV
       solution. Two (2) IV bags will be set up in this manner.

 3.    The administration set tubing for both set-ups will be connected to. the receiving
       port of the three-way control de.vices: one leff arm/side, the other for the right
       arm/side.

 4.    IV extension tubing will be connected to the discharge ports on the righUJeft
       three-way control devjces .and shall be thereafter connected to the applic<:1ble
       right and left IV insertion site(s). Extension tubing will be of sufficient length to
       accommodate distan9e from control device to JV insertion site(s).

 5.    The tubing shall be cleared of air and made ready for use.

 6.    fntravenqus cathlon-like devices sl1all be initiated through standard p.rocedure for
       such devices. Once the infusion of the IV solution has been assured, the IV
       device$ shall be secured    as
                                    appropriate.

 7.     At this point, the administration sets shall be· running at a slow rate of fl.ow (KVO),
        and ready for the insertion of syringes containing the lethal chemic::als. The
        Deputy Direct9r,.or designee, shall ensure that the cardiac monftor·is ··on' and
        functioning properly and maintain observation of IV infusion(s) to ensure that the
        rate of flow is uninterrupted. NO FURi-HER ACTION shall" be tal<en until the
      . prearranged signal to start the injection of lethal chemicals is given by the
        Warden.                                        ·

 8.                       a
       In the event that patent intravenous infl.Jsion site cannot be established, the IV
       Team shall be directed by the Deputy Director,. or designee, to evaluate other
       possible ·infusion sites.' All effort will be mctqe, to establish two (2) unrelated
       intravenous infusion sites. If one (1) ·patent infusion site is established, and a
       second site· proves to be a futile effort, the Deputy Director, or designee, may·
       direct the IV Team to suspend further action. In the case that no patent i'nfusion
       site is·established after re.asonable atternpts as determined by the JV Team, the·
       Deputy Director, or deSigriee will direct the IV Team to suspend further action
       and thereafter summon trained, educated, and exp.erienced person(s) necessary
       to esta.blish a primary IV line as a peripheral line or as a central venous line,




                                                                                            App. 117


                                                                                   Exhibit 11 Page 16
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 168 of 534




  case 5:06-cv-00110-SWW         Document 137-3       Filed 0'!/16/2008    Page 17 of 24



 EVERY EFFORT WILL BE EXTENDED TO THE CONDEMNED' INMATE TO ENSURE
 THAT N,6 UNNECESSARY PAIN OR SUFFERING {S INFLICTED BY THE IV
 PROCEDURE. STANDARE> PRACTICE OF USING A LOCAL ANESTHETIC WILL BE
 ACCOMMOQATED AS N.ECESSARY.

 SECTION lfl. Injection Procedure.

 1.    The three-way control .d.evice facilitates the movement of infusion fluid from
       salin\3· bag and allows for the Interdiction of lethal chemical. A valve serves to
       direct which fl,t.tid source is entering the IV set up. ·                ·

2.     When the signal to commence is given by the Warden, the executioner(s) shall
       administer the lethal chemicals under the· 'direction of the Deputy Director, or
       designee, as ·follows:

      · a.    Syringe #1 (containing Sodium_ Pe.htothal) shall be inserted into the
              d.esignated receiving port of the three-way control device.
                                            .                              .
       b.     The flow of IV solution will be interrupted by moving the three-way v.alve
              assembly towards the IV solution receiving port.

       c.     The contents of Syringe #1 shall. commence with a steady even flow of the
              lethal' chemical. Only a minimum amount of force will be applied to the
              syringe plunger.                          ·            ·

       d.    · When the co'ntehts .cif Syringe #1 have been injected, the tl1ree-way valve
               assembly will b·e moved so as to shut off the infusion of lethal chemical
               and resume infusion of IV. solution.

       e.     Syringe #1 will be replaced by Syringe #2 and the procedure described iri
              subparagraphs a-d far Syringe #1 will be repeated. This process will be
              repeated for all subsequent syringes.·

       f.      Followirig ·the administration of the ·first three (3) syringes, the Dep.uty
               Di.rector, or designee; will assess and monitor the condemned inmate's
               lack o'f consc.iousness by using standard procedures for ass~ssing
              .consciousness as· used by medical paraprofessionals, such as checking
               for rnove'ment, opened eyes, eyelash reflex, and response to· verbal
               commands and phys.ical stimuli. Once the Deputy Director, or desigriee,
               determines that the condemned inmate is unconscious., and at least three
             · (3) minu.tes have ela.psed from starting Syringe #1:, all remaining
               chemicais will be administered   to  the unconscious inmate in numerical
               sequence; Syringe #4 through syringe #8. In the unlikely event that the
               Deputy Director, or designee, determ.ines. that the condemned inmate
               remains consyious following the administration of ·Syringe ·#3 (normal




                                                                                        App. 118


                                                                                Exhibit 11 Page 17
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 169 of 534




  case 5:06-cv-00110-SWW         Document 137-3         Filed 07/16/2008     Page 18 of24



            saline wash), the back-up syringes. of the·first chemical (Syringe #81 and
            #82) and a repeat normal saline wash (Syringe #83), ~hall" . be
            administered 1nto th~ secondary or alternative IV line. Once the b~puty.
            Director, or designee, determines tha.t the condemned Inmate is
            unconscious, and at _least three (3) minutes have elapsed frorri starting
            $yringe #81, all rema,ining chemicals will be aqrriinistere~ fo the
            u_ncoriscious ihmate · in numerical ·sequence into the secondary or
            alternative IV lihe; Syringe #4 through Syringe #8. .

      g.    This procedure shall continue until. all syringes have been administered,
            with the exception of any back-up sytlnges that are not neeoed.

      h.    A cardiac monitor     will
                                    be used to display heart function. When all lethal'
            chemical syringes have beefi administered, and a fl~t-fine is observed for
            a minimum of three ·(3) to five (5), three-second sweE!pS on the .cardiac .
            monito·r, _the. Coroner shall ··be summoned for purpose of pronouncing
            death.                                . , ·                            ·

      i.•   Throughout the lethal chemical infusion process, the Deputy Director, or
            designee, will closely monitor the i.nf4sion site for ev.idence. Cif· infiltrate,
            vefn collapse, or oth~r. c~alfenge to tne patency of the infusion site.

            (1)      Should a problem be ·suspected_, the beputy Director, or des.ignee,
                     will direc;:t reduction of lethal chemical flow rate or redirect. lethal
                     chemical to the secondary or altern·ative site.

            (2)      If a singular infusion site is suspected to be compromised, chemical
                    "flow rate will be reduced. If problem persists, the:        .  .

                     (a)    ad1ninistration procedure will cease;

                     (b)    curtain to death chamber will close; and

                     (c)    the IV learn summoned, and the infusion . site problem
                            corrected.

            (3)      If all efforts to re-establish patent infusion site fail, the D~puty
                     Director, or designee, will direct the IV Team to suspend further
                     action and ci trained, educated, and experienced person(s)
                     necessary to establish a primary IV line as a peripherai line:.or as a
                     cen~ral venous line will be _summoned to facilitate. an JV infusion
                     site.

                  (4) When the infusion compromise is corrected, the N Team and the
                      summoned person(s) will be excused; the curtain .reop.ened, and
                      the lethal injection procedure continued.




                                                                                          App. 119


                                                                                  Exhibit 11 Page 18
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 170 of 534




  Case 5:06-cv-00110-SWW                 Document 137-3      Filed 07/16/2008   Page 19 of 24



  SECTION IV. Lethal Chemical(s}

  1.        The following identifies the contents of the Lethal Injection Drug Box; denoting
            administration sequence and chemical makeup of each lethal chemical used.

            SYRINGE .
          . LABELED/
           MARKED                    CONTENTS

                #1/#2         Sodium Pehtothal, 3.0 g~ms·(two (2) syring~s of 1.5 grams in 60 cc)

                #3/#6         Normal Saline, 50 cc each

                #41#5         Pa·ncuronium Bromide, 100 mg (two (2). syringes of 50 mg in 50 cc)

             #71#8            Potassium Chloride, 240 mEq (two {2) syringes of 120. mEq in 60 cc)


 Back up syringes:

           #81/82             Sodium Pentothal, 3.0 grams (two (2) syringes of 1.5 grams in 60 cc)

           #83                Normal Saline, 50 cc

 Section V. IV Team Qualifications

  The following certified or licensed individuals with at least two (2) YEla·rs of professional experience
· may be on the IV team:

           i. ·         Emergency Medical Technician-lnterrr)ediate, or

           2.           Emergency Medical Te_chnician-Paramedic, o~

           3.           Nurse, or

           4.           Physician Assistant, or

           5.           Physician.


 LETHINJ.doc
 Revised Mny 22, 2008




                                                                                             App. 120


                                                                                      Exhibit 11 Page 19
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 171 of 534




  Case 5:06-cv-00110-SWW              Document 137-3           Filed 07/16/2008      Page 20 of 24


 AITACHMENT D


                                       ESCORT TEAM PROCEDURES
                                                                                                        I

 NOTE: During the practice session, the following procedures will be utilized.

 I.     The condemned inmate shall be escorted from the holdh1g cell into the execution chamber.

 n:     The condemned irunate shall be ordered to lie down on his/her back on the gurney.

 III.   The condemned inmate shall be strapped. to the gurney as follows:

        A.      The condemned inmate's ankles and wrists shall be buckled down simultaneously.

        B.      The strap across the stomach and 0,bove the knees shall be placed on ·the inmate.

        C.      The restraint device across the chest shall be placed on the.irunate.

        D.      Prior to securing of chest restraint, cardiac monitor leads shall be affixed to the
                co1idemned at standard 3-lead locations; RA, LA, and LL.

IV.     When all escort team steps have been completed, the IV Team will be sununoned to initiate
        intravenous infusion devices. The Escort Team will stand by to assist loosening and relocating
        wrist devii;;es ru:1d/or aim.restraint as necessary.

V.      When infusion devices have been µeclared patent, all restraint devices will be checked. The
        Deputy Director, or designee, shall thereafter excuse the members ofthe Escort and-IV Team
        from the execution chaniber.




                                                                                                      App.' 121


                                                                                          Exhibit 11 Page 20
                                                                                                 A'ITACHMENT E 0
                                                                                                                  OJ
                                                                                                                  (/l
       We, the undersigned, did sen'e as witnesses in the scheduled execution of                                  CD
                                                                                                                  O'I
                                                                                                                  0Q)
       ~~~~~~~~~.;__~~~~~~~~~~~~~~__,SK#                                                   on~~~~~~~~~~
                                                                                                                  ~
                                                                                                                  6
                                                                                                                  0
       Print Name                           Address                                Dateffime          Signature
l.                                                                                                                0
                                                                                                                  )r.

2.                                                                                                                ~
3.
                                                                                                                   0
4.                                                                                                                 Q
                                                                                                                   "c
5.                                                                                                                  3
                                                                                                                   TI>
6.                                                                                                                  ;;;.
                                                                                                                    w
7.                                                                                                                  -...J
                                                                                                                   w
8.
9.                                                                                                                  'L
1.0.                                                                                                                  ~
                                                                                                                    u
                                                                                                                      -...J
11.                                                                                                                   _,,
                                                                                                                      Q)
                                                                                                                      --1\3
12.
                                                                                                                      u
                                                                                                                      0
                                                                                                                      ~
13.    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~--,,.-~~~~~~~~~~~~~~~~




14.    ~~~~~~~~,--~~~~~~~~~~~~~~~~~~~~--~'--~~~~~~~~~~~-~

                                                                                                                    ~
15.
                                                                                                                        N
                                                                                                                        ~
16.    ~~~~~~~~~~~~~~~~~~~~~~~~~~-,-~~~~~~~~~~~~----'--~~~a



17.
                                                                                                                        ~
                                                                                                                              Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 172 of 534




                                                                                                    App. 122


                                                                                                 Exhibit 11 Page 21
          "··



       Print Name   Address   Date/Time·       _ ___.,Simature     o
                                                                   llJ
                                                                   (/)
18.                                                                CD
                                                                   01
1.9.                                                               0
                                                                   9l
                                                                   (')
20.
21.                                                                 0
                                                                    0
                                                                     .
                                                                    =
                                                                    _,,
22.                                                                 0
                                                                    (n
23.
24.                                                                  ~

2"                                                                   9
                                                                     n
                                                                     c:
26.                                        -- -----·              __ """t
                                                                     :::l
                                                                     CD
27.                                                                  :::l
                                                                      _,,
28.                                                                  w
                                                                    ......
29.                                                                   w
30.
                                                                        CD
                                                                        0..
                                                                        0
                                                                        ::::!
                                                                        _,.
                                                                        ~
                                                                        0
                                                                         0
                                                                         CX>

                                                                         "'O
                                                                         OJ
                                                                        <Cl
                                                                         CD
                                                                         t-.)
                                                                         t-.)
                                                                         0
                                                                         t -.)
                                                                         -
                                                                         .!>.
                                                                                 Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 173 of 534




                                                       App. 123


                                                  Exhibit 11 Page 22
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 174 of 534




  Case 5:06-cv-0011 O~SWW            Document 137-3     Filed 07/16/2008      Page 23 of 24


                                                              Attachment F
                         Internal Affairs :C,,og of Timed Activities
    DATE OF EXECUTlON:
                                   ---'---~


    LOG OF TIMED AC'rIVlTIES lNVOLVING THE EXECDTlON OF INMATE

    .........~~--'-----''---'-~~--'---'--""~SI(#~--......,._.._-~
                                                        ......... ...__..__
    I . Internal Affairs a11iv~s at death house at:   ~~~

   2_. Condemned begins last meal at; - - - - -

       Meal consisted o f : · - - - - - - - - - - - - - - - - -




   3. Condemned finishes last meal at:

       Portion~   consumed:

                                                             -------·----
  . 4. Conaetnn~d begins shower at: _ __,___ _ _ _,

   5. Condemned finishes shower at;

   6. Condemned dresses in clean whites:

       Start:
       Finish:

   7, Escort Teat11 arrives at:· ~·_ _ __

   8. Condemned removed from quiet cell at: -------·

   9. Arrival of condemned in Death Chamber at:

  1O. Cm~demi1ed is restrained:

       Start:
       Finish:

   11. Catheters inserted     ·~--     . ···--·---------




                                                                                         App. 124


                                                                                  Exhibit 11 Page 23
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 175 of 534




  Case 5;06-cv-00110-SWW           Document 137-3         Filed 07/16/2008       Page 24 of 24


        Start:
        Finish:

   12. Esco1t Tearn exits Death Chamber at: _ __

   13. Witnesses enter Viewing Room at: -----~--

   14. Death Chamber Viewing Room doors locked at:

   15. Director places two telephone calls: --~--and - - - ·

   16. Curtains ofViewing Room opened at:.~·------
  17. The Director asked the -condemned for" his/hedast words at: - " - - - - - -

       S T A T E M E N T : : - - - - - - - - ' - - - - - - - - - - _ __




  18. Warden advises the officials are teady to proceed with the exeyution at:   ---~---'--

  19. Lethal.injection adm.inistered/switch.activated at: - - - - · ____

  20. Absence of consciousness assessed at:
                                              ----
  21. Warden summons the coroner at: · - - -

  .22. Coroner enters the Death Chamber at:

  23. Cor<,mer pro1tounces dc:ath at: ---'----·

  24. Order of<:;ourt is read by the Director at: _ _

  25. Curtains of Viewing Room are closed at: _·___

  26. Witnesses exit the Viewing Room at: - - - - - - - -

  27. Body departs Death Chamber at:

   REMARKS:·~-




                                                                                 -·-.      ..
                                 INTERNAL AFFAIRS ADMINISTRATOR, OR DESIGNEE
   ExecLog(pc)



                                                                                                App. 125


                                                                                        Exhibit 11 Page 24
  Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 176 of 534




                  DECLARATION OF BRJAN MENDELSOHN

      Brian Mendelsohn, pursuant to the provisions of28 U.S.C. § 1746, makes the

following declaration:

      1. My name is Brian Mendelsohn. I am an attorney licensed to practice in

the State of Georgia. Since my graduation from the Columbia University School of

Law in 1990, I have practiced exclusively in the areas of criminal defense and capital

appeals. From 1990 to 1995, I was a staff attorney with the Georgia Resource Center

where I represented Georgia death row inmates in direct and post-conviction appeals

in state and federal court. In 1995, I became a staff attorney with the Federal

Defender Program for the Northern District of Georgia.           In this capacity, I

represented indigent defendants charged with federal crimes, including those

charged in capital cases. I also continued to represent Georgia death row inmates in

federal habeas corpus challenges to their convictions and sentences. In 2006, I

became the First Assistant at the Federal Defender Program.

      2. When I became the First Assistant, I also assumed the role of the Chief of

the Capital Habeas Unit ("CHU") at the Federal Defender Program. The CHU is

charged with representing death-sentenced inmates in federal habeas corpus

proceedings reviewing their state-court convictions and sentences, and, pursuant to

Harbison v. Bell, 556 U.S. 180 (2009), and 18 U.S.C. § 3599(e), in "every

subsequent stage of available judicial proceedings," including clemency proceedings




                                                                    Exhibit 12 Page 1
  Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 177 of 534




and litigation surrounding execution warrants. Our CHU has four attorneys, three

investigators, and three paralegals.

      3. In my 26 years doing capital habeas corpus work in Georgia, I have

participated in at least ten last stage, execution warrant cases where I have been lead

or co-counsel. I have also been involved in many other execution warrant and

executive clemency cases in Georgia in my role as CHU Chief.

      4. Handling a last stage, execution warrant is a monumental task that has

many moving parts and takes place in many different forums. First, the attorneys

must develop and present grounds for executive clemency. To do this, attorneys

must take a fresh look at the case with an eye toward convincing the governor or the

parole board to grant clemency. The process involves going back over records,

contacting guilt-innocence and mitigation witnesses, jurors, experts, law

enforcement investigators, ministers, corrections officers, and community members

who might contribute to the case for mercy. Because these cases go back decades,

the task of merely locating the potential witnesses is daunting and time consuming.

Then, once located, someone needs to interview the witnesses and obtain letters,

declarations, or statements from them. If a witness is going to testify at a clemency

hearing, the attorneys need to then spend time preparing that witness to testify.

Many times, witnesses are in remote locations making the investigation more

complicated. In a recent case in my office, the client lived '.much of his life in New


                                          2
                                                                     Exhibit 12 Page 2
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 178 of 534




· Jersey. This meant that we had to spend substantial time there to find the information

that we needed.

       5. In addition, after completing the clemency investigation, the attorneys must

draft a clemency application. This is not simply a recycled legal brief from the court

proceedings. Instead, it needs to be a detailed, persuasive document that makes the

case for mercy. In my office, a clemency petition goes through many drafts and it is

filed with an appendix that includes hundreds, or even thousands, of pages of

supporting documentation and exhibits.

       6. In addition to clemency, there are often many legal avenues that lawyers

are able to pursue to get a stay of execution. This could involve litigation in the trial

court, the state habeas court, federal district court, and the state and federal appellate

courts. Sometimes there are new legal claims relating to the conviction or sentence ..

Other times § 1983 actions are the mechanism for raising the claims. No matter

where the cases is litigated, a substantial amount of briefing, often on complex

procedural issues, must be done. This is high pressure work that takes place with

extremely short deadlines.

       7. Aside from handling the clemency and the litigation, the legal team has to

devote substantial time to the client and his family. The stress of a looming execution

is considerable. It always falls on the attorney to spend time with the client and his

family to help them through the process with everything from arranging for visits,


                                            3
                                                                       Exhibit 12 Page 3
  Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 179 of 534




to preparing family members to testify, to making funeral and other arrangements in

case the client is executed. This is on top of communicating with the client about

steps in the litigation and being one of the few people available to support the client

as he deals with the prospect of his impending death.

      8. In our office, once a warrant is signed, every member of the CHU - four

attorneys, three investigators, and three paralegals -- will drop everything and work

exclusively on the warrant. We have not found any other way to adequately perform

the work I have just described. Moreover, it is physically impossible for one lawyer

to handle all the aspects of warrant litigation alone. We have had situations where a

court hearing was scheduled for the same time as the clemency hearing. We have

also had situations where a briefhad to be written and filed in one court at the same

time another court was holding a hearing.       As clemency proceedings and stay

litigation take place at the same time, there are just too many pleadings and

proceedings for one lawyer to do alone.

      9. The toll that execution warrants take on a defense team is great. Inevitably,

the shear amount of work will require the attorneys, investigators, and paralegals to

work 80 plus hours per week once a warrant is signed. The work is incredibly

stressful because everyone knows that losing the case means someone is going to

die. And, that someone is a person that the attorneys and investigators have known




                                          4
                                                                    Exhibit 12 Page 4
  Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 180 of 534




for a substantial period of time.     The process 1s physically, emotionally, and

psychologically grueling.

      10. For a legal team working on one execution warrant, it is impossible to

work on any other case. There are simply not enough hours in the day. My office

represented five individuals who were executed between September 30, 2015 and

October 19, 2016. There were two months between each of the first four executions.

The fifth one was six months after the fourth. When the executions were happening

every two months, the CHU was doing little else besides the execution warrants.

      I declare under penalty of perjury that the foregoing is true and correct.

      Executed on March 24, 2017.




                                          5

                                                                    Exhibit 12 Page 5
 Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 181 of 534




        DECLARATION OF ROBERT EDWARD LEE, JR.

     I, Robert Edward Lee, Jr., pursuant to the provisions of 28
U.S.C. § 1746, make the following declaration:

       1.    My name is Robert Lee. I am over the age of 18 years
 and competent to make this statement. I am an attorney licensed
to practice in the State of Mississippi since 1992 and the
 Commonwealth of Virginia · since 1994. My practice has been
 almost exclusively focused on capital criminal and post-conviction
 representation. From 1992 to 1993, I was a staff attorney with the
Mississippi Capital Resource Center in Jackson, Mississippi.
Since 1993, I have worked as a mitigation specialist, staff
attorney, Director of Litigation, and Executive Director at the
Virginia Capital Representation Resource Center (VCRRC) in
Richmond, Virginia, from 1993--2000, and in Charlottesville,
Virginia, from 2000-the present. I represented indigent
defendants facing possible death sentences as well as death row
inmates in direct and post-conviction appeals in state and federal
courts. Since I arrived at VCRRC in October, 1993, Virginia has
executed 86 people. Since 2001, however, Virginia has had only
one year-2004-in which more than four executions were
carried out; in 2004, five executions were carried out.

        2.   Since its formation in 1992, VCRRC has been, and
 continues to be, responsible for representing, and assisting
 attorneys appointed to represent, persons facing the death
 penalty in Virginia. This representation is focused primarily on
 appellate and post-conviction or habeas corpus proceedings in
state and federal courts. Over the years, VCRRC has had as
many as a 14 staff members, including lawyers, investigators,
 paralegals, and other staff. Appointment as counsel for indigent
 petitioners in federal habeas corpus proceedings is made
pursuant to 18 U.S.C. § 3599(e), and obligates counsel to
represent his or her client in "every subsequent stage of available
judicial proceedings, n including clemency proceedings and
collateral litigation surrounding execution warrants. See also
Harbison v. Bell, 556 U.S. 180 (2009).



                                                           Exhibit 13 Page 1
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 182 of 534




      3.    In my 23 years representing people sentenced to
death in Virginia, I have participated in more than two dozen
cases that have resulted in executions as lead or co-counsel. I
have also been directly involved in many other cases facing
executions and involving executive clemency campaigns in my
various roles at VCRRC, and especially ad Executive Director.

      4.    Representing people facing imminent execution is an
exceptionally demanding, pervasive, and unrelenting task. It
inevitably involves multiple layers of proceedings-legal and
otherwise-and unforgiving. deadlines. Often these elements
occur simultaneously in different forums and various locations.

        5.   Although each case may have unique components,
 certain obligations of attorneys are found in virtually every case at
these late stages of the proceedings. For example, attorneys must
 develop and present grounds for executive clemency. It is rarely
sufficient for attorney to rely on issues already identified and
litigated in court proceedings. Although these issues may rightly
be factors in a clemency campaign, many clemency deciders are
                                  1
be reluctant to simply "overrule a previous decision by a court
                                   '

without more, and powerful, information. Responsibility for
clemency representation requires attorneys to review the case
thoroughly and take a broad and fresh look at the record as well
as the investigation. For example, when ritigating a post-
conviction case, counsel may decide not to develop evidence
related to issues that clearly are defaulted and not accessible
through recognized exceptions to rules of procedural default. No
such barriers prevent clemency deciders from addressing these
issues, and counsel will be required to examine which of these
"new" issues warrant development and presentation even though
they may have been previously passed over. This review requires
counsel go back to examine records, contact and re-establish
contacts with family members, prior counsel for the State as well
as for the government, witnesses from both the guilt-innocence
and sentencing phases of trial, mitigation witnesses, jurors,
experts, law enforcement investigators, ministers, corrections
officers, and community leaders and other members who might




                                                             Exhibit 13 Page 2
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 183 of 534




not have had direct involvement previously in the case but who
might contribute to the case for mercy.

        6.    Because some post-conviction capital cases may go
 back for many years, just finding potential witnesses can be
 difficult and very time consuming. After these witnesses are
 identified and located, the investigation proper can begin. This
 requires interviewers to travel to the witnesses to conduct
 interviews. In-person interviews are the professional standard of
 care and, more often than not, absolutely necessary in order to
 assure potential witnesses of your legitimacy, establish trust, and
go over documentary and other evidence. The number and length
 of these interviews can vary from witness to witness. In most
instances, witnesses' statements must be taken in the form of
letters, declarations, or otherwise recorded statements. This may
also require travel or enlistment of local notaries or other
witnesses to the statements, depending on the jurisdiction. If a
witness is going to testify at a clemency hearing or may be
expected to appear or speak to media, the attorneys will need to
then spend time preparing that witness. It is very unusual to find
people in these circumstances who have experience speaking in
public or in semi-formal settings like the Q&A of an interview. The
obvious importance of the matter at hand make these potential
witness understandably anxious, and very interested in being sure
they are accurate and well understood.

       7.     Many times, witnesses are spread out or in remote
                                                                               I
locations making the investigation more complicated, time
consuming, and expensive. It is not at all unusual for clients to
have had the most meaningful events in their lives occur far from
the jurisdiction, or even the state, in which they were prosecuted.
This requires counsel to travel and conduct a substantial portion
of the investigation on the road.

      8.    Most importantly, a clemency investigation must be
broadly based and comprehensive. I have never had a clemency
decider refuse to consider evidence, or limit the information that
could be presented. It may be that not every piece of information
carries the same weight but, unlike court proceedings where rules
of evidence, admissibility, or procedural default, may constrict a



                                                           Exhibit 13 Page 3
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 184 of 534




      1
court s ability to review and consider certain evidence, a clemency
decider is not similarly confined.

        9.    In a State like Arkansas, there are particular
 components that add to counsel's responsibilities. For example,
 the State gets its own hearing before the parole board. It is critical
 for the inmate1s representatives to identify or anticipate the State 1s
 case, rebut it where possible, and provide positive evidence to
 ameliorate the State's case in support of execution. Also, in
Arkansas, if the Governor intends to grant clemency, he will
 announce his intention and invite public comment over a 30-day
 period. Counsel 1s investigation must anticipate potential
comments, monitor comments, and prepare responses.
Otherwise, the good work done preparing the clemency the
Governor found deserving of a grant of clemency, may be undone
and the grant lost. Similarly, in Arkansas victims have a right to
submit written or oral recommendations regarding the request for
clemency. Approaching victims' surviving family members has
often proven to be a welcome and healing part of the clemency
investigation. In many instances this contact may already be in
place but, if it has not been successfully established by the time a
clemency investigation is underway, it is an enormously significant
part of the investigation.

      10. After the clemency investigation is completed, or while it
is drawing to a close, attorneys must identify the substance of the
clemency application, assemble and organize material for
presentation, and draft the actual application. This document may
have some relation to other components in the case, but it is
almost always unlike other written materials in the case. It most
certainly is not just another legal brief, in tone, substance, or
advocacy. It must be comprehensive, detailed, compelling, and
persuasive, and make the petitioner's case for intervention in a
clear and effective manner. As an advocacy piece that will have
public impact and will be read by multiple clemency deciders, the
application must be reviewed by an appropriately broad cross-
section of knowledgeable persons, and developed through
multiple drafts reflecting input from varied reviewers. Typically, the
application refers to, and is accompanied by, an appendix of
source materials that includes hundreds of pages of supporting



                                                               Exhibit 13 Page 4
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 185 of 534




 exhibits and documentation clemency deciders will need to
 consult when evaluating the application.

       11. In      many     instances,      even     while     clemency
 representation is ongoing, counsel may be required
 simultaneously to identify, consider, investigate, research, and
 evaluate various legal avenues that could justify a stay of
 execution. Depending on the nature of the legal avenue pursued,
 this could involve trial court litigation and/or litigation in state or
federal post-conviction proceedings, and in the state and federal
 appellate courts, as well as the Supreme Court of the United
 States. There may be new legal claims relating to the conviction
or sentence that were previously unavailable because they are

                                                                                   I
11
  new rules" or because they are based on facts that were previous
not discoverable through reasonable investigation efforts.
Depending on the substance of the underlying claims, there may
be a number of available exception to rules of procedural default
that allow post-conviction relief that might not otherwise be
available to the inmate. In some circumstances, litigation under 42
U.S.C. §1983 is appropriate for raising the claims related to an
imminent execution and other matters.

       12. No matter what the substance of the litigation is, or
where these actions are litigated, they can involve a substantial
briefing, often on complex or novel procedural issues. This is
sophisticated and high-pressure work that often must be
accomplished within extremely short deadlines and presented to
at the highest levels of the judicial system.

      13. In addition to the substantive, public, and political
elements of clemency representation and the complex legal
aspects of litigation under threat of imminent execution, there is a
human responsibility to counsel's client and at times his or her
family and supporters. The anxiety and stress generated from an
imminent execution is understandable and extraordinary.
Correctional facilities often are aware of this fact and take special
steps to address anxiety and stress in staff members. It is the
responsibility of counsel to keep the client informed of
developments, and this duty inevitably expands to other interested
persons. Moreover, counsel must make time to spend his or her


                                                               Exhibit 13 Page 5
 Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 186 of 534




client, family, and close supporters to explain the process and to
 help them cope with a myriad of decisions and technicalities that
converge as an execution nears, such arranging approval for
visits, preparing family members to testify, and even making
funeral and other arrangements should the client be executed. In
most instances, counsel is the only person allowed regular
confidential access to the client, so counsel's involvement
communicating about what is going on and what lies ahead is
indispensable.

       14. In my experience, although only one or two lawyers
 may be appointed to a client's case, managing a case with an
imminent execution requires a broader team effort. Over the years
it has been that practice that, if one of VCRRC's clients has an
execution date, virtually everyone in the office was involved in a
significant way in the broad responsibilities at hand. On a
professional, intellectual, physical and emotional level, it would be
impossible for a team of two or three lawyers to address the
obligations set out in § 3599, and ethically required in
representation under threat of imminent execution. The imbalance
is especially noteworthy when the opposition party is the State
                                                                                h
with vastly superior resources available when making its case.

       15. There also is a profound professional, physical, and
emotional toll exacted when confronting the threat of imminent
execution. Prolonged periods without sleep, in especially anxious
                                                                                Ij
circumstances, can have a negative impact of the effectiveness
and precision of counsel's work, further harming the client and
reducing the clemency deciders' or courts' abilities to fairly
adjudge the case. The amount of work that needs to be done in a
compressed time frame can drive counsel to work inappropriate
hours. But stopping means that important work may be done, or
done on time, and could contribute ultimately with the death of the
client. In virtually every case I have worked that faced execution,
counsel has developed a strong belief in the merit of the case,
and a personal commitment to his or her condemned client. The
legal system can ask no more of a lawyer, than to have his
client-to whom he has an avowed loyalty, and in whose case he
has invested years and zealously advocated the merits-put to




                                                            Exhibit 13 Page 6
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 187 of 534




death. It is     a   personally       and    professionally   devastating
experience.

      16. As Executive Director at VCRRC, I would never
require counsel to simultaneously work multiple cases under
threat of imminent execution. It is a doomed proposal, and does
an unethical disservice to the clients. If an execution is carried
out, proponents of capital punishment as well as others presume
that the legal process was conducted in a thorough and
competent manner. It would be a cruel deception to compress the
process until it is distorted beyond any ability to accomplish that
which it is proclaimed to accomplish.

     I declare under penalty of perjury that the foregoing is true
and correct.

     Executed on     ~A.. r cJ, "'2..3 • 'l. 0 '1 (date).




                                                                                     ~
                                                                                     +


                                                                                     I
                                                                                     I
                                                                                     t
                                                                                     i

                                                                                     I
                                                                                     t.
                                                                                     ~
                                                                                     i
                                                                                     I
                                                                                     I
                                                                                     I
                                                                                     Ia
                                                                                     I
                                                                                     &

                                                                                     I
                                                                                     I
                                                                                     Iw
                                                                                     ~
                                                                                     ~
                                                                                     j



                                                                                     I
                                                                 Exhibit 13 Page 7   '
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 188 of 534




                                                       Exhibit 13 Page 8
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 189 of 534




                     DECLARATION BY DALE A. BAICH

I, Dale A. Baich, declare under penalty of perjury that the following information is
true to the best of my knowledge and belief:

1.    The Office of the Federal Public Defender for the District of Arizona
      ("FDO-AZ") is a Federal Defender Organization that operates under the
      authority of the Criminal Justice Act of 1964, 18 U.S.C. § 3006A. FDO-AZ
      provides legal representation to indigent men and women, including those
      individuals sentenced to death. The mission of FDO-AZ includes ensuring
      for those who are unable to afford retained counsel and other necessary
      defense services, that the right to the effective assistance of counsel
      guaranteed by the Sixth Amendment and the Criminal Justice Act is
      enforced within the District of Arizona.

2.    I am the supervisor of the Arizona Capital Habeas Unit of FDO-AZ. The
      Capital Habeas Unit ("CHU") was established in 1996; we are appointed to
      represent death-sentenced prisoners pursuant to 18 U.S.C. § 3599(a)(2). The
      CHU currently represents seventy-one clients who are under a sentence of
      death. Presently, the CHU is staffed with nineteen attorneys, three research
      and writing attorneys, eight investigators, seven paralegals, six assistant
      paralegals and one clerical assistant.

3.    I have been an Assistant Federal Public Defender with the CHU since
      September 1996, and I became a supervisor in 2000. Prior to joining the
      CHU, I was an assistant state public defender with the Office of the Ohio
      Public Defender for eight years. I was assigned to the death-penalty unit.

4.    In general, when the CHU is first assigned to a case, a team is assigned to
      represent the client. The team consists of two attorneys, a fact investigator, a
      mitigation investigator, a paralegal, and an assistant paralegal. As a case
      progresses, the size of the team may fluctuate depending on case needs.

5.    When a case is near the end of the habeas process, and we anticipate the
      State to seek an execution warrant, we increase the size of the team. We do
      this because we have additional responsibilities to the client at this stage of
      the case. For instance, the client has the right to seek executive clemency;
      accordingly, we may need to conduct additional investigations. Then, we
      need to prepare a clemency petition and make a presentation to the clemency
      board. Additionally, there may be new legal or factual issues that have


                                                                             Initials
                                                                           Page 1of5
                                                                      Exhibit 14 Page 1
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 190 of 534




      develope'<l, which necessitate the filing of a successive postconviction
      petition in the state and federal courts, or a Rule 60(b) motion under the
      Rules of Civil Procedure in the federal court. Finally, a method-of-
      execution challenge may be in order.

6.    Decisions as to whether to proceed on any or all of the issues described in
      paragraph 5 are made on a case-by-case basis by the assigned lawyers in
      consultation with the client. It is not possible for one lawyer alone to collect
      all the information needed to make the critical, strategic decisions, and to
      competently and effectively litigate these matters in a compressed time
      period. This conclusion is based upon my experience as an assistant state
      public defender in Ohio, and as an assistant federal public defender with the
      CHU.

7.    In addition to litigating issues as described in paragraph 5, the team devotes
      considerable time to meeting with the client, and-if the family is
      involved-with the client's family. The attorney must simultaneously
      prepare the client for the process of meeting with his family; prepare the
      family members and other witnesses to testify at the clemency hearing; and
      assist the client in making funeral arrangements and related decisions in case
      the client is executed. The stress of an impending execution and its
      attendant responsibilities weighs heavily on the team.

8.    In 2010, we expected a number of our clients to be scheduled for execution.
      Our expectations were met when execution dates were set for three of our
      clients-Michael Beuke (Ohio), Ronnie Lee Gardner (Utah), and Jeff
      Landrigan (Arizona). Prior to 2010, a CHU client was last executed in 2002.

9.    In order to prepare for the executions that we expected to take place, I not
      only made the case-staffing arrangements that I described in paragraph 5,
      but I also arranged for counselors from Hospice of the Valley (a local
      hospice organization) to meet with our staff. The purpose of these meetings
      was to acknowledge the stress that execution place on our staff, and to
      discuss ways to deal with the loss of clients in a professional setting. We
      recognized that each staff person would react to and deal with stress
      differently, and we therefore made arrangements for staff to have one-on-
      one meetings or calls with counselors.

10.   All three clients were executed that year. Michael Beuke was executed on
      May 13, 2010. Ronnie Lee Gardner was executed on June 18, 2010. Jeff


                                                                             Initials
                                                                           Page 2of5
                                                                      Exhibit 14 Page 2
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 191 of 534




      Landrigan was executed on October 26, 2010. While our staff represented
      these three clients in matters leading up to their scheduled executions, it was
      necessary for our work on other cases to continue. This meant that staff was
      working significantly more than forty hours per week, for months in a row.

11.   In 2011, two Arizona clients, Eric King and Daniel Cook, were scheduled to
      be executed. Mr. King was scheduled for March 28, 2011, and Mr. Cook
      was scheduled for April 5, 2011. We had one team working on behalf of
      Mr. King and another team working on behalf of Mr. Cook. This was a
      stressful period of time. We were preparing for two separate clemency
      hearings, litigating issues in successor cases, and challenging the State's
      illegal importation of one of the drugs then used in the three-drug protocol.
      (A federal court subsequently agreed that the Food, Drug, and Cosmetics
      Act was violated when that drug was imported. See Cook v. FDA, 733 F.3d
      1, 10 (D.C. Cir. 2013). Moreover, in May 2011, the Federal Department of
      Justice informed the Arizona Department of Corrections that it had violated
      the Federal Controlled Substances Act when it imported its supply of the
      drug. Both these events confirmed the issues we had litigated on behalf of
      our clients.) During this period, work continued in cases on behalf of other
      clients. Mr. King was executed on March 29, 2011. Mr. Cook's execution
      was stayed the day before his scheduled execution date. The stay was later
      lifted and Mr. Cook was executed on August 8, 2012.

12.   In 2012, we represented several clients who were under warrants of
      execution; of that group, Robert Towery and Robert Moorman had execution
      dates that were scheduled eight days apart. Both clients were initially
      represented by CJA counsel who asked us to serve as co-counsel during
      warrant litigation, owing to the constraints on their small firms, and the
      experience our staff has in conducting warrant litigation. In Mr. Towery's
      case, we were appointed as associate counsel in June 2011, because CJA
      counsel was representing another client who had a June execution date.
      Subsequent to our appointment in June, Arizona set his execution date for
      March 8, 2012. We represented Robert Moorman for similar reasons; his
      CJA counsel, who worked in a very small law office, asked for our
      assistance, knowledge, and expertise in warrant litigation. Mr. Moorman's
      execution was set for February 29, 2012, and CJA counsel was unable to
      mount extensive warrant-related challenges while simultaneously pursuing
      clemency and other legal challenges. (There were concerns regarding Mr.
      Towery's execution. See Lopez v. Brewer, 680 F. 3d 1084, 1092-93 (9th
      Cir. 2012) (Pregerson, dissenting from the denial of rehearing en bane)
                                                                            '/$3
                                                                            Initials
                                                                          Page 3of5
                                                                     Exhibit 14 Page 3
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 192 of 534




       ("The March 8, 2012 execution of Robert Towery is perhaps the starkest
       example of Arizona's flawed procedures.")). During this period, our work
       continued in cases on behalf of our other clients.

13.    On April 30, 2014, the CHU was appointed to represent Joseph Wood, eight
       days after the State of Arizona filed for a warrant of execution in his case.
       The CHU was substituted for Mr. Wood's appointed CJA counsel because,
       as I described in paragraph 11, the CHU staff has the knowledge and
       experience required for litigating multiple matters for clients under
       immediate warrant of execution. We were appointed approximately twelve
       weeks before the scheduled execution date. We staffed the case and assumed
       the role as lead counsel for Mr. Wood. In that role, we commenced litigation
       in federal court under Rule 60(b ); made a First Amendment challenge
       seeking information about the source of one of the drugs that would be used
       to carry out the execution (midazolam), as well as information about the
       qualifications of the execution team members; and collaborated with CJA
       counsel on the clemency presentation. During this period, our work
       continued in our other cases on behalf of our other clients.

14.    Mr. Wood was executed by the State of Arizona on July 23, 2014. The State
       of Arizona had originally planned to execute Mr. Wood with a drug
       combination of 50 mg of midazolam and 50 mg of hydromorphone. In the
       end, the State injected Mr. Wood with fourteen additional doses of the drug.
       From the time of the initial injection, it took Mr. Wood one hour and fifty-
       seven minutes to die.

15.    I was a witness to Mr. Wood's execution. At some point during the
       prolonged execution, as Mr. Wood continued to breathe after the drug
       combination was injected, I directed other witnesses to leave the witness
       room and to report what was they had observed. As a result, attorneys in our
       office asked for and obtained a hearing in the United States District Court
       for the District of Arizona; the hearing took place during that prolonged
       execution. See Civil Minutes re: Emergency Stay of Execution, Wood v.
       Ryan, No. 2:14-cv-01447-NVW-JFM (D. Ariz.), July 23, 2014. Mr. Wood
       died during the hearing. A detailed account of those events is described in
       testimony I provided in January 2017 in lethal-injection litigation in Ohio.
       In re: Ohio Execution Protocol, No. 2:11-cv-1016 (S.D. Ohio), hearing held
       Jan. 9, 2017 (Tr. 1114-1122).




                                                                            Initials
                                                                          Page 4of5
                                                                     Exhibit 14 Page 4
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 193 of 534




16.   The execution of Joseph Wood, more than other executions, had a
      significant traumatic impact on the staff at the CHU. Because of this, I
      arranged for post-execution counseling to the CHU staff. As with the
      situation with previous executions, our work continued in cases on behalf of
      our other clients.

17.   After each execution, the team and other available members of the CHU
      participated in a debriefing. It was important to discuss the litigation, how
      the client reacted prior to and during the execution, and to assess what level
      of post-execution counseling the staff needed. In addition, we discussed
      strategy and made preparations for the next client we expected to be under
      warrant.

18.   In each of the above described cases, the CHU was able to provide the
      needed and necessary representation to each individual client. We were able
      to provide the level of representation that met our statutory and ethical
      obligations because we were able to assemble and assign a proper team in
      each case, consult with the client, and decide on the appropriate legal course
      to pursue-whether that course involved making a constitutional challenge
      to the conviction or the sentence of death, seeking executive clemency,
      making a constitutional challenge to the method of execution, or some
      combination of those possibilities.

I declare under the penalty of perjury that the foregoing is true and correct. Signed
this 23rd day of March, 2017, in San Antonio, Texas.



                                       Dale A. Baich




                                                                             Initials
                                                                           Page 5of5
                                                                      Exhibit 14 Page 5
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 194 of 534




                     DECLARATION OF WARDEN JENNIE LANCASTER



1. I am a former Warden and Regional Director. I spent 36 total years as a correctional professional

     in the North Carolina Department of Correction. I became Correctional Superintendent of the

     North Carolina Correctional Institution for Women in 1982. In that capacity 1 was responsible for

     managing women on death row in North Carolina, which at the time consisted of one woman,

     Velma Barfield, who was ultimately executed in 1984. Barfield was the first woman executed in

     t~e   United States in 35 years. I was responsible for developing protocols for a woman,

     operational practices at the prison and directly managing the processes involved with her at

     Women's prison in the months after her execution date was established. I coordinated a great

     deal of planning with the warden of Central Prison, site of executions and death watch house. As

     a part of my preparations for Bartield's execution, I attended-earlier in 1984-the first

     execution in North Carolina after the death penalty had been reinstated. That was the first

     execution I observed.

2.   For Bartield's execution, I was involved in every aspect at every level other than the ~ctual

     mechanics of the execution process, which the Warden was ultimately responsible for. I was

     involved in planning, intervention with staff and inmates, family outreach, and developing a

     protocol which the warden of Central Prison was ultimately statutorily responsible for managing.

3.   In 1998, 1 was promoted to the role of Female Command manager for all of the female prisons.

     In 1997 I was given three additional male facilities to supervise and it included maximum custody

     Central Prison, home of male death row and executions. I continued to supervise Central Prison

     in this role and then as a Region Director, until my first retirement in September 2004. In these

     roles, I supervised the warden and the administration of the death penalty in 23 executions that

     occurred from late 1998-September 2004.

4.   In January 2009, I was asked by the Governor of North Carolina to come out of retirement to

     become the Chief Operating Officer of the Department of Corrections for the state. I served in

                                                   1

                                                                                   Exhibit 15 Page 1
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 195 of 534




     that capacity for four years. Although no executions occurred during that time period, I was

     responsible for managing death row and was in a top management role involved in litigation

     involving potential execution protocol and death row management.

5.   I was asked by counsel in this case to give an opinion, based on my professional experience, as to

     the feasibility and advisability of conducting eight executions in quick succession as Arkansas

     has currently planned.

6. To my knowledge, it is unprecedented to attempt so many lethal injections in such a short time

     period. It is my opinion there is good reason for that. Arkansas's current schedule demonstrates

     a total disregard for the people actually charged with carrying out these executions on behalf of

     the state and a misunderstanding of what the process requires.

7.   Based on my experience, the current schedule in Arkansas is inadvisable, unworkable and

     presents many challenges for the corrections leadership and staff. The execution of one inmate

     presents unique job stress responsibilities for all correctional staff who have specific

     responsibilities for the indirect and direct administration of the death penalty. This will be true in

     Arkansas, except multiplied 8 times, in a period of time less than two full weeks. This is

     unacceptable professional ethical practice from my perspective as a career professional and

     supervisor of my executions. The Department of Correction, the warden and staff at Cummins all

     are responsible to perform their duties in a humane, ethical manner that allows for the basic

     dignity of the inmate Jn all levels of the execution. We recognize our responsibility to follow the

     law administer safety and security and treat inmates, without further judgment, in a humane

     manner, in all of our duties in corrections.

8.   In North Carolina, we deliberately managed our narrow window of scheduling executions to

     provide for maximum time between them, as available per the orders received by the Secretary.

     In the 23 executions I supervised, there were two occasions that we had 2 inmates executed in a

     10 day period. These occurred in different years. Our actions in scheduling recognized the staff



                                                    2
                                                                                     Exhibit 15 Page 2
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 196 of 534




     issues involved and the respect we had for this factor, as well as our ability to carry out our

     responsibilities in the prescribed manner.

9.   I reject any idea that holding executions in quick succession would be just as easy for a

     department of corrections and its staff as spacing the executions out over a period of months.

     This concept is not respectful of the realities of carrying out the ultimate punishment of causing

     death to occur in an inmate.

I 0. Each and every execution is immensely stressful for everyone involved. The level of stress is

     impossible to describe unless you have actually experienced it, but one analogy is the physical

     and mental stress a person might feel driving in a torrential rain-your whole body is tense and

     you strain to focus on every detail. It's not a stress level that can be maintained for a prolonged

     period of time. The stress and the long hours involved in the execution proce"ss result in physical

     and mental fatigue after one execution. That stress and fatigue would naturally be expected to

     create a risk of human error. It is well known that work stress and fatigue can be causative for

     human error, in many work related situations. Just consider the impact of deliberately performing

     duties, on a timed and detailed level, that result in an execution. Multiple executions scheduled

     on the same day or in quick succession would magnify and prolong the stress and fatigue

     experienced by execution participants.

11. Executions are time-intensive and detail oriented. It is not a simple matter of injecting someone
                                                                     i
     and moving on. The intricacies involved in an execution go way beyond what happens in the

     final hour. Preparations must start well in advance and obligations remain after the death of the

     inmate is declared. Because every detail is important, the consequences of mistakes are

     disastrous for both the inmate and the state.

12. In my experience, I would be involved in coordination of an execution beginning the day a date

     was set for an individual, which by law in North Carolina was sixty to ninety days after appeals

     were exhausted.



                                                     3
                                                                                     Exhibit 15 Page 3
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 197 of 534




13. Each and every execution involves the coordination of upwards of twenty people throughout the

    process of preparations, logistical coordination, staging of the execution itself, debriefing process,

    and ensuring that witnesses, visitors, personal property, etc. are appropriately handled, all while

    maintaining a high level of security and ensuring day-to-day obligations are taken care of.

    Resources and time must also be allocated to ensure that participants are constantly in

    communication with courts, attorneys, the governor's office, etc. often until   t~e   time the

   execution is set to proceed; The logistical issues for each execution present challenges for the

    leaders, such as the Director, Deputy Director, the warden and executive staff, and these multiple

   executions will present challenges that have never been experienced or planned for before. There

    is a need for detailed supervision of one execution and the processes for visiting, the attorney and

   religious access, medical and mental health care, witness coordination, physical space allocations,

   etc. The plan for managing, in prescribed detail, for these functions, and more, for 8 inmates is

   impossible for me to imagine. It must also be recognized that there is an operational prison, with

   needs, emergencies, staff shortages, etc. to manage.

14. Each execution and inmate is unique and must be addressed in an individual manner. They are

    not robotic processes or a solemn process that would be managed in an assembly room culture. It

   all is a very human process, for all involved.

15. Corrections staff involved in executions must be people who have demonstrated dependable

   service in their professional capacity protecting inmates in their custody and who have the utmost

    respect for the gravity of the process. I would never select, for instance, any corrections officer or

   other person .who was eager to volunteer to participate.

16. It is essential and critical that there is a formal/informal debriefing process after every execution

    for the staff and contract emp.loyees who are involved-including leadership. Participants must be

    given an opportunity to air concerns about their own ability to continue in another execution if

    called upon to do so. They must also be given an opportunity to assess the process itself and to

    correct deficiencies in the practice or protocol that may have manifested themselves.

                                                    4

                                                                                    Exhibit 15 Page 4
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 198 of 534




    Fundamentally, there must be an immediate ability to assess the impact of an execution on the

    staff involved and to detennine whether the process must be changed or improved moving

    forward. The debriefing process normally is conducted by the warden the day/days after the

   execution and is the quality assurance element for all involved parties to have confidence in their

    administration of the death penalty. The current scheduling in Arkansas would seem to nullify

    this critical, timely debrief and the ability to make significant or minimal changes, and train staff

   as needed.

17. The human dignity of each inmate in the custody of the Department of Corrections must also be

   respected as a matter of professionalism. The inmate is allowed visitation from family, counsel,

   and spiritual advisers for a period of time prior to the execution. The inmate must receive

   individual attention from a medical, psychological, spiritual, legal, and even security standpoint.

   Chaplains should not be called upon to minister to multiple inmates during this period of time,

   because that ministry is grueling. Nor should inmates be forced to share spiritual advisers in the

   days and moments before their scheduled death. In my experience, the role of the chaplains is a

   crucial role for both the inmate and the staff. It is an intense time for the inmate to receive

   assistance with family issues, possible amends to victims discussions, religious and spiritual

   concerns, possible requests (communion, confession), etc. The chaplains are affected in a unique

   manner and need their own care taking.

18. Participating in an execution requires a paradigm shift for corrections staff. We are charged with

   providing for and protecting inmates in our custody. Correctional staff are a part of the deliberate

   process for the taking of a life and they become part of a I percent of the population in the US to
                                                                                        I



   ever have such responsibilities. We are NOT trained to do this when hired and we are not asked

   in interviews about this role. It is not a video that I, and others watched as we saw the machine

   display the gradual slowing of the heart, the strongest muscle in our body, until there was a 5

   minute flat Iine. The correctional staff then responsible for properly removing the dead body and

   preparing it for transport. The secrecy surrounding executions then prevents the participants from

                                                  5
                                                                                    Exhibit 15 Page 5
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 199 of 534




    going home and receiving support from family, church groups, or even fellow corrections

    officers. Involvement in this process is simply not a topic for discussion. This makes internal

    debriefing processes all the more important.

19. Staff, at all levels, participate in the process of executions. This is unique to the corrections

    profession. It is a paradox. We are sworn to provide for the safety, security and general health

    and welfare of inmates in our custody; then some are asked to also plan and participate in the

    process of taking the life of an inmate. It is unfair and illogical to expect that.corrections officers

    can go through this process eight times in a row while maintaining the level of focus, attention,

    and emotional stability required of the execution process4oth to Jessen the suffering of the

    inmate and to maintain the emotional health of the participant. I have heard some comments that

    staff can simply refuse to participate. We ask staff who already display loyalty and faithfulness to

    their profession. They do not refuse to perform duties that are necessary and lawful, in the

    context of their professionalism. We should respect them.

20. It is my opinion that, for the reasons set out above, it would essentially be professional

    malpractice for any department of corrections official to attempt to stage eight executions as

    currently scheduled in Arkansas.



1 swear that the foregoing is true and correct to the best of my knowledge under penalty of perjury

under the laws of the United States.




Date




                                                                                      ~xhibit   15 Page 6
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 200 of 534




Litigation Report- Expert Opinion




THE PHARMACOLOGY OF ARKANSAS'S LETHAL INJECTION PROCEDURE: FACTS,
INTERPRETATIONS, AND ALTERNATIVES



March 21, 2017




Researched and written by:
Craig W. Stevens, Ph.D.
Professor of Pharmacology
Oklahoma State University-Center for Health Sciences
1111 W. 17th Street
Tulsa, OK 74107




Prepared for and submitted to:
Mr. John C. Williams
Assistant Federal Public Defender
Federal Public Defenders Office
1401 W. Capitol, Ste. 490
Little Rock, AR 72201




                                                           Exhibit 16 Page 1
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 201 of 534



                                                                                   Expert Report: AR lethal injection pharmacology




Sections
1. Introduction .................................................................................................................... 3
   A. Author Qualifications ........................................................................................................... 3
   B. Materials Considered ........................................................................................................... 4
   C. Brief Description of Arkansas's Lethal Injection Procedure .................................................. 4
   D. Referral Questions ................................................................................................................ 5
2. Midazolam and Fast-Acting Barbiturates are Fundamentally Different Drugs .................... 5
   A. Pharmacological Equivalency and Pharmacological Substitution ....................................... 5
   B. Pharmacological Classification of Midazolam and Fast-Acting Barbiturates ..................... 6
   C. Mechanism of Action of Midazolam. and Fast-Acting Barbiturates .................................... 6
   D. The Pharmacology of the Partial Agonist, Midazolam, and Full Agonists, Barbiturates .... 8
   E. Therapeutic Uses of Benzodiazepines and Barbiturates ...................................................... 9
   F. DEA Scheduling of Midazolam and Fast-Acting Barbiturates ............................................. 13
   G. Summary .............................................................................................................................. 13
3. Dosage and Characteristics of Barbiturates Used in Lethal Injection ................................. 14
   A. Therapeutic, Toxic, and Lethal Dosages of Intravenous {JV) Pentobarbital ......................... 14
   B. Blood Levels of 5 gram Pentobarbital after IV Bolus Dose in Humans ................................. 15
   C. Differences Among Barbiturate Drugs ................................................................................. 18
   D. Summary .............................................................................................................................. 18
4. Pharmacology of Vecuronium and Potassium Chloride ..................................................... 19
   A. Pharmacological and Clinical Effects of Vecuronium .. ......................................................... 19
   B. Pharmacological and Clinical Effects of Potassium Chloride ............................................... 20
   C. Importance of Achieving General Anesthesia ...................................................................... 22
   D. Summary .............................................................................................................................. 22
5. Calculation of the 'Ceiling Effect' Dosage of Midazolam Used in Lethal Injection ............... 22
   A. Introduction to the Issue of the 'Ceiling Effect' With an IV Bolus Dose of Midazolam ........ 22
   B. Calculation of Ceiling Effect. ................................................................................................. 24
   C. Comparison to Clinical Studies ............................................................................................. 32
   D. Summary .............................................................................................................................. 34
6. Pharmacological Considerations of Alternative One-Drug Protocols for Lethal Injections .. 35
   Anesthetic Gases to Induce General Anesthesia and Overdose Death ................................... 34
7. Overall Summary and Conclusions ................................................................................... 36
8. References Cited .............................................................................................................. 38
Notarized signature of Dr. Craig W. Stevens ......................................................................... 45




                                                               Page 2 of 45


                                                                                                                  Exhibit 16 Page 2
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 202 of 534



                                                          Expert Report: AR lethal injection pharmacology

1. Introduction

A. Author Qualifications

I am a full-time faculty member in the department of Pharmacology and Physiology at the
College of Osteopathic Medicine, a unit of the Oklahoma State University, Center for Health
Sciences campus in Tulsa, Oklahoma.

After receiving my Ph.D. in Pharmacology from the Mayo Clinic, in Rochester, Minnesota, I
completed a 2 year postdoctoral fellowship at the University of Minnesota Medical School in
Minneapolis, Minnesota, and secured a position as an Assistant Professor of Pharmacology with
my present employer in 1990. I advanced through the academic ranks to Associate Professor of
Pharmacology in 1993, and Professor of Pharmacology in 2000.

Besides my regular duties of teaching medical students, pursuing research and scholarly
activities, and serving on college committees, I work part-time as a litigation consultant/expert
witness on cases involving pharmacological issues. I have consulted in both civil and criminal
cases, working with both the prosecution or plaintiff and the defendant.

With regard to the pharmacological issues of lethal injection, I have worked as a consultant with
the state as well as with attorneys representing condemned inmates.

My curriculum vitae (CV) is attached as Appendix A to this report.

B. Materials Considered

Attorney Josh Lee, who retained me to study Arkansas's lethal injection procedures, provided
me with several documents that I reviewed and relied upon in preparing this Expert Report.
These materials were: (1) an email from Deputy Attorney General David Curran, to which was
appended redacted package inserts and labels for the drugs that Arkansas intends to use in its
execution procedure; (2) an email from Assistant Attorney General Jennifer Merritt, to which
was appended a document titled "Lethal Injection Procedure (Attachment C)"; and (3)
Arkansas's 2015 lethal injection statute, Ark. Code Ann.§ 5-4-617 (2015). In addition to the
above materials provided by Mr. Lee, I also considered pharmacological textbooks, reviews, and
research studies (listed in Section 8, below), as well as Baze v. Rees, 128 S. Ct. 1520 (2008), and
Glossip v. Gross, 135 S. Ct. 2726 (2015), which set the standard for when a lethal injection
procedure may be said to violate the federal ban on cruel and unusual punishment. After Mr.
Josh Lee left the Federal Public Defenders Office, my work as a pharmacology consultant
continued with Mr. John C. Williams in the same office. Before submitting this amended report,
I reviewed the Arkansas Supreme Court's opinion in Kelley v. Johnson, 2016 Ark. 268, and
portions of the briefing in that case.




                                           Page 3 of 45

                                                                                  Exhibit 16 Page 3
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 203 of 534



                                                            Expert Report: AR lethal injection pharmacology

C. Brief Description of Arkansas's Execution Protocol

The execution procedure appended to the email from Deputy Attorney General Jennifer Merritt
is a three-drug lethal injection protocol. First, the prisoner is to be injected with 500 mg. of the
drug Midazolam. Next, after waiting five minutes, a member of the execution team ostensibly
"confirm[s] the condemned inmate is unconscious," using unspecified methods. Then, the
prisoner is to be injected with 100 mg (milligrams) of the muscle-paralytic drug, vecuronium
bromide. Finally, the prisoner is to be injected with 240 mEq (milli-equivalents) of the heart-
stopping drug, potassium chloride.

D. Referral Questions

Mr. Lee asked me to offer my expert opinion on several issues. First, Mr. Lee asked me to
discuss the pharmacology of all the different drugs authorized by Arkansas's lethal injection
statute, i.e., barbiturates, Midazolam, vecuronium bromide, and potassium chloride-with
particular attention to any similarities and differences between barbiturates and Midazolam.
Second, Mr. Lee asked for my opinion on whether Arkansas's chosen lethal injection procedure
(Midazolam, followed by vecuronium bromide, and potassium) is sure or very likely to cause
serious pain and suffering. Third, Mr. Lee asked me to address whether alternative execution
procedures would significantly reduce the risk of pain and suffering and, if they would, to
describe some of those procedures.

A thorough discussion of these issues follows. A summary of my opinions on the referred
questions can be found in Section 7 of this Report.

2. Midazolam and Fast-Acting Barbiturates are Fundamentally Different Drugs

A. Pharmacological Equivalency and Pharmacoloflical Substitution

Each drug has a unique chemical (atomic) structure and exerts a unique profile of pharmacological
effects. Drugs are classified both by their chemical structures and by their therapeutic uses. Drugs
that have very similar chemical structures are grouped together based on that structure. Drugs
that have similar therapeutic uses are also grouped together by their therapeutic or
pharmacological effects.

Pharmacological equivalency is present when two or more drugs exhibit the same or closely
similar pharmacological properties. It is a working principle used by physicians who often
substitute drugs due to drug allergies or for reasons of cost. Pharmacological equivalency is also
the guiding principle for the FDA to accept a generic version of the same branded drug (e.g.
Walgreen's ibuprofen, the generic form, is pharmacologically equivalent to Advil®, the branded
formulation of ibuprofen. See Meredith 2003, Borgheini 2003).

Pharmacological substitution is the act of using one drug in the place of another. It is axiomatic
that in order to maintain the same pharmacological and therapeutic effect of two drugs, the drug
that is substituted must have pharmacological equivalency to the new drug.

                                             Page 4 of 45

                                                                                    Exhibit 16 Page 4
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 204 of 534



                                                           Expert Report: AR lethal injection pharmacology



There is no question that midazolam and fast-acting barbiturates (such as thiopental or
pentobarbital) are different drugs. The key question in substituting drugs for lethal injection is
one of a pharmacological nature: Does midazolam have pharmacological equivalency to fast-
acting barbiturates such that a valid pharmacological substitution can be made? Pharmacological
equivalency between midazolam, a benzodiazepine, and fast-acting barbiturates, is examined
herein with respect to pharmacological classification by chemical (atomic) structure,
mechanisms of action, partial and full effects of these agents and the 'ceiling effect',
therapeutic uses, and DEA scheduling of these agents.

B. Pharmacological Classification of Midazolam and Fast-Acting Barbiturates

Table 1. Visual comparison of benzodiazepine and barbiturate chemical structures.
              BENZODIAZEPINES                                 BARBITURATES




 Cl



                                                                                   CH3
 Midazolam (Versed®)                                Pentobarbital (Nembutal®)




 Diazepam (Valium®)                                 Thiopental (Pentothal®)

Midazolam belongs to the class of drugs called benzodiazepines whereas drugs like pentobarbital
and thiopental are members of the barbiturate class of drugs (Brenner and Stevens, 2013). The
                                             Page 5 of45

                                                                                   Exhibit 16 Page 5
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 205 of 534



                                                            Expert Report: AR lethal injection pharmacology

chemical structure of midazolam and pentobarbital are shown in the first row of Table 1 above to
provide an accessible first exposure to the differences between the two drugs. The untrained eye
clearly recognizes that midazolam and pentobarbital do not have similar structures and are not
close analogs. The second row in Table 1 shows examples of other drugs from the same class of
drugs as midazolam and pentobarbital. Most notably, at the center of the benzodiazepines there is
7-sided ring with two nitrogen atoms (N) attached to a 6-sided ring with one chloride atom (Cl).
Quite differently, the two barbiturates do not contain such a core structure and instead consist of a
single 6-sided ring containing two nitrogen atoms. The non-expert can see that the benzodiazepine,
midazolam, is similar to diazepam (Valium®), and the barbiturate, pentobarbital (Nembutal®), is a
close analog of thiopental (Pentothal®). There is an irrefutable difference between midazolam and
fast-acting barbiturates at the atomic level.

In summary, Table 1 shows that that there is no chemical, structural pharmacological
equivalency between midazolam and fast-acting barbiturates. However, Table 1 does show
that the substitution of thiopental with pentobarbital (from one fast-acting barbiturate to
another fast-acting barbiturate) does meet the test for pharmacological equivalency by
chemical structure.

C. Mechanism of Action of Midazolam and Fast-Acting Barbiturates

The pharmacology of drugs ranges from effects on the whole organism, to effects on specific
tissues or organs, down to the actual mechanism of action at the molecular level. For many
drugs, the action at the molecular level can be traced upward to the effect on the whole
organism, yielding a nearly complete description of drug action.

Starting at the molecular level, both midazolam and pentobarbital act on the GABAA receptor-
chloride ion channel complex (henceforth GABAA receptor). GABA is the acronym for gamma-
aminobutyric acid, an inhibitory neurotransmitter in the brain that is the natural activator of
GABAA receptors (Sigel and Steinmann 2012, Sieghart 2015). When inhibitory neurons of the
brain release GABA onto other brain neurons, the recipient neurons are inhibited and become
more quiescent. This is an ongoing neurotransmitter action, occurring without the presence of
any drugs or exogenous substances in the brain. The GABAA receptor is shaped like a funnel
with a lid on it. When GABA binds to the receptor, the lid opens and chloride ions rush from the
outside of the neuron to the inside. The chloride ions rushing inside the neuron causes the
neuron to decrease its electrical activity.

Benzodiazepines act at the GABAA receptor on brain neurons where GABA itself acts (Chang et
al. 1981, Sigel and Barnard 1984) but at a different molecular site than GABA on the GABAA
receptor (Cromer et al. 2002, Ernst et al. 2003). Midazolam and all benzodiazepines do not
increase the synthesis of the inhibitory neurotransmitter GABA but enhance the effect of GABA
at the GABAA receptor (Greenblatt et al. 1983). GABA must be released by inhibitory neurons
and be acting on the GABAA receptor at the same time as the benzodiazepine for drugs like
midazolam to enhance GABA inhibition (D'Hulst et al. 2009, Sieghart et al. 2012). GABA acts on
the receptor and opens the lid to the chloride ion channel (funnel) and midazolam increases
the frequency that the lid opens (Study and Barker 1981, Rogers et al. 1994). In that way,

                                             Page 6 of 45

                                                                                    Exhibit 16 Page 6
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 206 of 534



                                                           &pert Report: AR lethal injection pharmacology

midazolam helps GABA have a greater inhibitory effect. However without GABA present,
midazolam does little to the GABAA receptor.

Barbiturates such as pentobarbital also act at the GABAA receptor on brain neurons where
GABA itself acts (Olsen and Snowman 1982, Greenfield LJ 2013). Barbiturates bind to a
different spot on the GABAA receptors than benzodiazepines (Cestari et al. 1996). Unlike
midazolam, pentobarbital and other barbiturates enhance GABA inhibition by increasing the time
that the ion channel lid remains in the open position (Study and Barker 1981). Contrary to the
mechanism of action of midazolam, pentobarbital, like all barbiturates, can cause neuronal
inhibition even when GABA is not present (Mathers and Barker 1980, Jackson et al. 1982).
Barbiturates therefore can open the lid on the ion channel by themselves and keep it open longer
than benzodiazepines (MacDonald et al. 1989, Sancar and Czajkowski 2011). As a result, the flow
of chloride ions into the neuron is not limited to enhancement only when GABA is present, but
barbiturates can increase the rush of chloride ions into the neuron in the absence of GABA so that
the activity of the neuron is completely shut down. Thus, barbiturates are more potent drugs at
the GABAA receptor than benzodiazepines.

In summary, a large body of pharmacological research on the mechanisms of action of
midazolam and fast-acting barbiturates clearly demonstrates that benzodiazepines, like
midazolam, and barbiturates, such as pentobarbital, do NOT exhibit pharmacological
equivalency with regard to their detailed mechanism of action. Compared to barbiturates,
benzodiazepines bind to a different site on the GABAA receptor, need GABA to co-activate the
GABAA receptor to work, and increase the frequency of the opening of the chloride ion
channel, not the time it remains open.

D. The Pharmacology of the Partial Agonist, Midazolam, and the Full Agonists, Barbiturates

Most drugs that are used clinically do something to cells or neurons that they affect. They bind to
(act on) a target receptor and the receptor does something, like open an ion channel. These types
of drugs thatdo something are called agonists. Other types of clinically-used drugs, like the
antihypertensive drugs called 'beta-blockers', bind to a receptor and prevent another substance
from doing something. These drugs are called antagonists.

Agonists are further subdivided into partial agonists and full agonists. As their name suggests, full
agonists produce a full pharmacological effect and partial agonists only produce a partial
pharmacological effect. The difference between one drug being a partial agonist and another drug
being a full agonist arises from the drugs' differing mechanism of action.

As noted above, midazolam, like all benzodiazepines, increases the frequency (not the duration) of
ion channel opening only when GABA is present. As GABA is a neurotransmitter synthesized by
inhibitory brain neurons, the amount of GABA released onto GABAA receptors is limited. Because
midazolam depends on the co-activation of GABA to produce its effects, midazolam's effects on the
brain is therefore also limited. In this regard, midazolam is a partial agonist.




                                             Page 7 of45

                                                                                  Exhibit 16 Page 7
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 207 of 534



                                                            Expert Report: AR lethal injection pharmacology

Barbiturates, to the contrary, do not need co-activation by GABA to produce their effects.
Therefore, the neuronal inhibition produced by barbiturates is not limited. In this regard,
fast-acting barbiturates are full agonists.

By definition, partial agonists will exhibit a 'ceiling effect' in which greater doses will not
produce a greater pharmacological effect. The ceiling effect of benzodiazepines, and the lack of
ceiling effect for barbiturates, is so well-accepted that many medical pharmacology textbooks
contain a Figure illustrating this fact. Fig. 1 below shows one such example.



                                                                     BARBITURATES
                     death                                           thiopental, pentobarbital



                    coma

                                                                                 BENZODIAZEPINES
                anesthesia                                                       midazolam, diazepam



                 hypnosis




                                                DOSE---+
             Fig. 1. Typical textbook example of a graph showing the differences between
             barbiturates (top line) and benzodiazepines (bottom line). The dose increases along
             the horizontal axis as you move to the right; the effects in humans increases as you
             move up the vertical axis. Note the ceiling effect shown for benzodiazepines versus
             the lack of ceiling effect for barbiturates. As the dose of benzodiazepine increases, a
             plateau ('ceiling') is reached before reliable general anesthesia is obtained. Increasing
             doses of barbiturates reliably produce anesthesia, coma, and death. Note: the term
             'hypnosis' is medical terminology for 'sleep'. Adapted from Brenner and Stevens 2013.

In summary, the fact that midazolam is a partial agonist, and that fast-acting barbiturates are
full agonists, arises directly from their mechanisms of action, as barbiturates can act in the
absence of GABA and increase the inhibition of brain neurons whereas midazolam and other
benzodiazepines are limited with their effect only when GABA is present and thus cannot
inhibit neurons as much as barbiturates. This pharmacological fact demonstrates that
pharmacological equivalency is NOT met by substitution of a barbiturate with a
benzodiazepine. The ceiling effect of a midazolam and other benzodiazepines, and the lack of
ceiling effect with the use of barbiturates, is beyond controversy and taught to all medical and
pharmacology students.



                                              Page 8of45

                                                                                    Exhibit 16 Page 8
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 208 of 534



                                                                Expert Report: AR lethal injection pharmacology

E. Therapeutic Uses of Benzodiazepines and Barbiturates

The therapeutic use of a drug is a direct result of the drug's pharmacological properties,
including, most importantly, a drug's mechanism of action. As noted above, while both
benzodiazepines and barbiturates act on the GABAA receptor, they do so in very different ways.
Because of the difference in their mechanism of action, the FDA approves benzodiazepines and
barbiturates for difference therapeutic uses. Whereas barbiturates can be used as the sole
agent for general anesthesia, benzodiazepines cannot.

i. The Anesthesia Continuum

Before examining the FDA-approved uses of midazolam, pentobarbital, and other agents, it is
necessary to understand the terminology used in describing sedative and anesthetic effects.
The authoritative professional organization for Anesthesiologists, the American Society for
Anesthesiology (ASA), has published standards and definitions for the level of sedation and
general anesthesia. There can be no question that these definitions serve as the foundation for
any fact-finding. For this reason, the Continuum of Depth of Sedation Table from the ASA is
presented below as Table 2 (next page).

There are four levels defined for the Continuum of Depth of Sedation. Of these four levels,
there are three levels of sedation and only one level of general anesthesia (see Table 2, column
headers). These are, in order of increasing depth of sedation, Minimum Sedation Anxiolysis,
Moderate Sedation/Analgesia ("Conscious Sedation"'), Deep Sedation/Analgesia, and General
Anesthesia.

Two important facts come from Table 2. First, there is only one level for complete anesthesia,
called General Anesthesia. This is the level which renders the patient, or a condemned inmate,
to a state of unconsciousness (stated in the text below the Table, underlined) and insensate to
all conscious sensation including pain (in the Table itself, end of row one, under General
Anesthesia, boxed). The other three levels of sedation are characterized by response to pain
and drug-induced depression of consciousness without loss of consciousness. For this reason, it
is clear that any drug used as the first drug in the Arkansas lethal injection protocol must
produce a state of General Anesthesia.

Second, the specific use of the term 'General' in the name of the deepest level, 'General
Anesthesia,' emphasizes overall brain-activity depression characterized by lack of pain
sensation and unconsciousness. Use of the just the word 'anesthesia' does not mea~ 'general
anesthesia.' As stated in the major authoritative pharmacology textbook, Goodman and
Gilman's The Pharmacological Basis of Therapeutics: 1 "The clinical literature often refers to the
anesthetic effects and uses of certain benzodiazepines, but the drugs do not cause a true
general anesthesia because awareness usually persists." It is clear that many uses of the word
'anesthesia' in the medical literature do not mean 'general anesthesia' and should not be
interpreted as such unless there was loss of all sensation (including pain) and unconsciousness.

1
    Mihic SJ and Harris RA (2011) Chapter 17 Hypnotics and Sedatives, p 460, in Brunton LL et al. (Eds.),
    Goodman & Gilma n's Pharmacological Basis of Therapeutics, Macmillan Co., New York, NY.
                                                Page 9 of 45

                                                                                        Exhibit 16 Page 9
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 209 of 534



                                                                           Expert Report: AR lethal injection pharmacology

                                                                                    Amertean SOciety ct
                                                                           Anesthesiologists"


                                   CONTINUUM OF DEPTH OF SEDATION:
                   DEFINmON OF GENERAL ANESTHESIA AND LEVELS OF SEDATION/ANALGESIA"

                     Committee of Origin: Quality Management and Departmenal Administration

                  (Appr;oved by the ASA .Honse of Delegates on October 13, 199?, and lut amended on
                                                  October 15, 2014)

                                  Minimal              Modwate                   Deep                General
                                  Sedation             Sedation}                 Sedatianl           Anesthesia
                                 A.nxwlysls            Analgesia                 Analgesia
                                                 ("Ccmscioos Sedation'/
           Responsireness         Normal             Purposcfol**              Purpost.-ful**        Unarmmble
                                  response           response to               respon.<;e            even with
                                  to verbal          verbal or                 following             painful
                                  stimulati<;m       tactile stimulation       repeated or           $timulus
                                                                               ~fut
                                                                               stimulation
           Ain~                   Unaffected         No intervention          Intcr>'enlion          Intervention
                                                     required                 maybe                  often required
                                                                              required
          Spontmteou.1            Unaffected         Adequate                  Maybe                 Frequently
           Ventilation                                                        inadequate             inadequate

           Cardio~·a.reular       Unaffected         US\mllv                   Usually               Maybe
           Function                                  maintalned                maintained            impaired



          Minimal Sedation (Anuolysis) is a drug-induced state during which patients respond normally
          to verbal ~. Although cogriitive f\mction and physical coordination may be impaired,
          airway reflexes, and ventilatory and cardiovascular fuootions are unaffected.

           Moderate Sedation/Analgesia ("Cm1scions Sedation") is n drug-induced depression of
           consciousness during which patients respond purposefully"* to verbal commands. either alone or
           accompanied by light tactile stimulation. No interventions nre required to maintain a patent
           airway, and spontaneous ventilation is adequate. Cardiovascular function is usually maintained.
           Ueep lmfati(Jll/AnAlgesia is n drug-tndrn:ed depression or oollSClousness <lunng which pallents
           cannot be easily aroosed but respood purpose.fully** following repeated or painful stimulation.
           The ability to independently maintain venlilatory function may be impaired. Patients may require
           assistance in maintaining a patent airway, nnd spontaneous ventilation may be inadequate.
           Cardiovascular func!ion is usually maintained.

           Genenil AntlSthesia is a drug-induced I~ of consciou= during which patients are not
           arousable, even by painful stimulation. TneT1hty to m&;;;4lll11y maintain ventilatory function
           is often impaired. Plllicnts often require assistan<:e in maintaining a patent airway, nnd positive
           pressure ventilation may be required because of depressed spontooeous venlilation or drug-
           induccd deprc$Sion ofneuromuscular function. Cardiovasc11lar function may be impaired.

           Because sedation is a continuwn, it is not always po!lllible to predict how an individual patient
           will respond. Hence, practitioners intending to produce a given level of sedation should be
           able to rescue*** patients whose level of ~edation becomes deeper than initially intended.
           Individuals administering Moderate 5(dation/Analgesia ("Conscious 5(dation'') should be able
           to rescue**" patients who enter a state of Deep Sedation!Analgesia, while 1hose
           administering Deep 5(dation/Analgesia should. be able to rescue*** patienls who enter a slate of
           General Arn.'S!hesia.
           ....     Reflex withdrawal from n painful stimulus is NOT considered 11 purposeful response.

           **"     Rescue of a patient from a deeper level of sedation than intended is w1 intervention by
                   a practitioner proficient in airway management and advanced life support. The
                   qualified practitioner correct$ adverse phys:iologk consequences of the deeper-than-
                   intended level of sedation (such llS hypove:nti.lation, hypoxia and hypotension) and.
                   returns the patient to the originally intended level of sedatio11. It is 11ot appropriate to
                   continue the procedure at an unintended level ohedation,

    Table 2. Continuum of Depth of Sedation Table from the ASA [Emphasis added]
                                                      Page 10 of 45

                                                                                                          Exhibit 16 Page 10
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 210 of 534



                                                                Expert Report: AR lethal injection pharmacology

Instead of anesthesia, the term 'Moderate Sedation' or another one of the three sedation-level
descriptors should be used, if loss of consciousness and insensibly to pain were not present.
Textbooks or review articles that state that IV benzodiazepines can produce anesthesia mean
that these agents, in general, can produce levels of sedation along the anesthesia scale (Table
2), not that they produce the specific, deepest level of anesthesia called General Anesthesia.
Likewise, midazolam is sometimes referred to as 'an anesthetic' or able to produce
'anesthesia,' but this does not mean midazolam can produce 'general anesthesia'.

As shown in the next subsection, the FDA-approved indications (therapeutic uses) for
midazolam do not include 'General Anesthesia' {Table 3). Section 5 below discusses clinical
studies showing that midazolam is unable to produce a state of General Anesthesia.

ii. FDA-approved Labeling of Anesthetic Effects.

Table 3 below is a list of therapeutic uses for benzodiazepines and barbiturates. Entries marked
with a 'YES' indicate that this class of drugs (benzodiazepine or barbiturate) is FDA-approved
for this indication and list which particular drug(s) is approved for this therapeutic use.

Table 3. Comparison of therapeutic uses for five benzodiazepines and five barbiturates.
Therapeutic Use                   Benzodiazepines                   Barbiturates
Anxiety disorders                 YES, alprazolam, diazepam,        YES but only for 'sedation' with
                                        lorazepam                         butabarbital
Panic Disorder                    YES, alprazolam, clonazepam       NO
Acute Alcohol Withdrawal          YES, diazepam                     NO
Skeletal Muscle Spasm             YES, diazepam                     NO
Seizure Disorders                 YES, clonazepam, diazepam         YES, pentobarbital (IV), phenobarbital
                                                                          (IV), thiopental (IV)
Preoperative Sedation             YES,   midazolam (IM/IV)          YES, pentobarbital (IV), secobarbital
Outpatient Sedation               YES,   midazolam (IV)             NO
Anesthesia Induction              YES,   midazolam (IV)             YES, thiopental (IV)
Sole Anesthesia (brief)           NO                                YES, thiopental (IV)
Sedation for Intubated Ptx        YES,   midazolam (IV cont.)       NO
Co-Anesthesia (Adjunct)           YES,   midazolam {IV)             YES, thiopental (IV)
Insomnia (short-term)             NO                                YES, butabarbital, secobarbital,
                                                                          pentobarbital (IV)
Induce Coma in Brain Trauma       NO                                YES, thiopental (IV)
Psychiatric Use (Narcoanalysis)   NO                                YES, thiopental (IV)
   Note: Benzodiazepine data of therapeutic uses are from the FDA-approved Prescribing Information
   labels of alprazolam (Xanax®), clonazepam (Klonopin®), diazepam (Va1ium®), lorazepam (Ativan®),
   and midazolam (Versed® injection). Barbiturate data are from current FDA-approved labels-for
   butabarbital (Butisol®}, pentobarbital (Nembutal® injection), phenobarbital (Luminal®), secobarbital
   (Seconal®)-excepting the discontinued label for thiopental (Pentothal®}, which is no longer
   marketed. All drug formulations are oral tablets except where noted; IV=intravenous,
   IM=intramuscular.

As shown in Table 3, there are 14 therapeutic uses for the benzodiazepine and barbiturate drugs.
Among these 14 therapeutic uses, only 5 (or 35.7%) are common to both benzodiazepines and
barbiturates. These shared indications are Anxiety Disorders, Seizure Disorders, Preoperative

                                                Page 11of45

                                                                                      Exhibit 16 Page 11
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 211 of 534



                                                             Expert Report: AR lethal irifection pharmacology

Sedation, Anesthesia Induction, and Adjunct/Co-Anesthesia (used with a general anesthetic). It
should be noted that benzodiazepines for the treatment of Anxiety Disorders have almost
universally supplanted the older barbiturate drugs for this use (Howie 1975, Pieters and Snelders
2007). Five indications are for the use of benzodiazepines only; Panic Disorder; Acute Alcohol
Withdrawal; Skeletal Muscle Spasms; Outpatient Sedation; and Sedation for Intubated Patients.
Four indications are for the use of barbiturates only: Sole Anesthesia (for brief procedures);
Insomnia (for short-term treatment of 2 weeks); Induce Coma in Brain Trauma; and Psychiatric Use
(Narcoanalysis), i.e., the limited and historical use of thiopental to get the therapy patient to talk,
as in 'truth serum'.

Both midazolam and thiopental are indicated for use in Anesthetic Induction. Anesthetic Induction
is a procedure to start the anesthesia process. Although midazolam is used for Anesthetic
Induction, this use does not mean that midazolam can produce a state of General Anesthesia.
Both midazolam and thiopental are indicated for use in Co-Anesthesia as adjunct anesthetics
along with other agents. Use of midazolam as an adjunct agent in a Co-Anesthesia protocol does
not indicate that midazolam by itself can produce a state of General Anesthesia.

Thiopental, but not midazolam, is indicated for Sole Anesthesia, for brief (15 minute) procedures.
Thiopental, a barbiturate, is able to be used by itself to provide general anesthesia, but
midazolam, like other benzodiazepines, is limited in its potency and cannot produce general
anesthesia but only sedation.

Use of midazolam for Preoperative Sedation or Outpatient Sedation-both uses not reaching the
level of General Anesthesia-is not germane to drug use for lethal injection. Likewise, use of
midazolam to treat Anxiety disorders, Panic Disorder, Acute Alcohol Withdrawal, Skeletal Muscle
Spasm, or Seizure Disorders is not pertinent to the production of General Anesthesia, the level of
anesthesia needed to administer the second and third drugs used in Arkansas's lethal injection
protocol without pain.

With regards to specific drugs, out of five indications for midazolam, midazolam shares only one
therapeutic use with pentobarbital: Preoperative Sedation.

In sum, comparison of the FDA-approved labels for benzodiazepines and barbiturates-and
more specifically for midazolam and pentobarbital-demonstrates that pharmacological
equivalency of barbiturates and benzodiazepines is NOT met considering the criteria of
approved therapeutic uses. Most importantly, midazolam is not approved for use as a Sole
Anesthetic as it cannot produce General Anesthesia. In contrast, the barbiturate thiopental was
approved as a Sole Anesthetic for brief procedures. Midazolam cannot produce General
Anesthesia, whereas barbiturate drugs like pentobarbital and thiopental are more potent (with
no ceiling effect) and can produce a state of General Anesthesia. Evidence supporting these
facts is elaborated below in Section 5.




                                             Page 12 of 45

                                                                                    Exhibit 16 Page 12
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 212 of 534



                                                           Expert Report: AR lethal irifection pharmacology

F. DEA Scheduling of Midazolam and Fast-Acting Barbiturates

Most prescription drugs are safe and without the potential for abuse and dependence. Thus,
the vast majority of drugs prescribed by physicians do not come under the purview of the Drug
Enforcement Administration (DEA). Drugs that pose a special danger of abuse or drug
dependence are tightly regulated by the DEA and are called controlled substances.

Midazolam and barbiturates are controlled substances according to the DEA, as promulgated by
the Controlled Substances Act of 1970. The DEA places dangerous drugs into five schedules, with
Schedule I drugs having no approved medical use and being the most dangerous. Schedule 11-V are
drugs with medical uses but with decreasing danger of abuse and dependence. Midazolam, as with
most of the other benzodiazepines like diazepam (Valium®) and lorazepam (Ativan®) are placed
into Schedule IV. Fast-acting barbiturates are considered much more dangerous drugs to abuse so
they are scheduled the highest level for drugs still used medically, as Schedule II controlled
substances. This is evidence that midazolam is deemed safer to use by the DEA, with less evidence
of abuse and drug dependence than fast-acting barbiturates. Simply put, the DEA decision to
schedule midazolam and the fast-acting barbiturates differently reflects the DEA finding that
midazolam and fast-acting barbiturates do NOT exhibit pharmacological equivalency in causing
drug dependence and abuse.

G. Summary

Pharmacological equivalency between benzodiazepines and barbiturates, and more specifically
between midazolam and fast-acting barbiturates, was investigated by examining key aspects of
the pharmacology of the two drug classes. The findings from this section are:

i. There is no pharmacological equivalency between midazolam and fast-acting
  barbiturates using the criterion of chemical structures for benzodiazepines and
  barbiturates.

ii. There is no pharmacological equivalency when examining the different mechanisms of
    action of benzodiazepines (midazolam) and barbiturates (pentobarbital, thiopental).

iii. There is no pharmacological equivalency between the magnitude of pharmacological
     effects produced by benzodiazepines (partial agonists) and barbiturates (full agonists). In
     particular, it is well-known that midazolam has a ceiling effect that is not present
     barbiturates.

iv. There is no pharmacological equivalency when examining the different therapeutic uses of
    benzodiazepines and barbiturates, or between midazolam and fast-acting barbiturates. In
    particular, midazolam is does not produce General Anesthesia and could not be used as a
    Sole Anesthetic, whereas barbiturates are used as Sole Anesthetics and do produce General
    Anesthesia.




                                           Page 13 of 45

                                                                                  Exhibit 16 Page 13
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 213 of 534



                                                                 Expert Report: AR lethal injection pharmacology

v. There is no pharmacological equivalency in the drug abuse and dependence properties of
   benzodiazepines and barbiturates as confirmed by the different scheduling of these drugs
   by the DEA.

3. Dosage and Characteristics of Pentobarbital Used in Lethal Injection

A. Therapeutic, Toxic, and Lethal Dosages of Intravenous {IV) Pentobarbital

Barbiturates are a class of sedative-hypnotic drugs, largely replaced in clinical therapeutics by
the benzodiazepine class of sedative-hypnotics (Brenner and Stevens 2013). Examples of
common barbiturate drugs are thiopental, pentobarbital, phenobarbital, and methohexital.

Nembutal® Sodium Solution (Pentobarbital Sodium for Injection, USP) is an FDA-approved drug
formulation that is manufactured by Akorn, Inc. a subsidiary of Oak Pharmaceuticals, Inc.,
headquartered in Lake Forest, IL (FDA 2015). Its official indications are listed on the FDA label
for use as: a. Sedatives; b. Hypnotics, for the short-term treatment of insomnia; c.
Preanesthetics; and d. Anticonvulsant, in anesthetic doses, in the emergency control of certain
acute convulsive episodes, e.g. status epilepticus (Nembutal® Sodium Solution Prescribing
Information, Oak Pharmaceuticals). Pentobarbital sodium IV solution is also used 'off-label' for
the induction and maintenance of coma to reduce intracranial pressure in brain-injured patients
(Woodcock et al. 1982).

Clinical studies and forensic toxicology studies have determined the therapeutic, toxic, and
lethal blood concentrations of pentobarbital (Musshoff et al. 2004; Regenthal et al. 1999; Schulz
et al. 2012; Winek et al. 2001). These values are given in blood concentration ranges from the
most recent paper, as shown in Table 4 below.

 Table 4. Therapeutic, toxic, and lethal ranges of pentobarbital blood concentrations. Concentrations
 given in mg/L (milligram per Liter) which is equal to mcg/ml (microgram per milliliter). Half-life (tl/2)
 is given in the last column and is the time in hours it takes for half the amount of drug to be cleared
 from the bloodstream. From Schulz et al. 2012.



IPentobarbilal                           1-5 (-10)                10-19                 15-25              20-40



There are no clinical studies determining the lethal dose of IV pentobarbital sodium in humans
for obvious reasons. However, the largest IV pentobarbital sodium dose ever administered to
human volunteers is reported in an early pharmacokinetic study from the 1950s (Brodie et al.
1953). In two volunteers, 2.5 grams pentobarbital was injected IV over 50 minutes. While blood
concentrations were not determined in these volunteers, the authors note that following these
large doses of IV pentobarbital, the volunteers were deeply anesthetized and had to be put on a
ventilator with oxygen "until spontaneous ventilation was deemed adequate." Such studies
could not be performed today due to safety and ethical concerns, but it is clear that a 2.5 gram
dose given IV was a lethal dose in these two individuals as it caused them to stop breathing on


                                                 Page 14 of 45

                                                                                       Exhibit 16 Page 14
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 214 of 534



                                                          Expert Report: AR lethal injection pharmacology

their own. These volunteers would have died without the supportive measures of the artificial
ventilator and oxygen supplementation.

The most straight-forward approach to determining the lethality of pentobarbital sodium used
in lethal injection protocols is to pharmacologically model the blood concentrations of
pentobarbital after a 5 gram IV bolus injection of pentobarbital sodium. Once a reasonable
estimate is made of the pentobarbital blood concentrations after a 5 gram IV pentobarbital
sodium dose, the blood levels obtained can be compared to lethal pentobarbital concentrations
as shown in Table 4, above.

B. Blood Levels of 5 gram Pentobarbital after IV Bolus Dose in Humans

The study of drug movement after administration is called pharmacokinetics. The
pharmacokinetics of pentobarbital sodium are characterized by a rapid distribution of
pentobarbital throughout the body and into the brain. With direct IV administration, there is no
absorption phase of the drug like when a pill is swallowed. For this reason, the peak blood
concentration of IV pentobarbital is observed with the first time point of sampling after the IV
bolus injection.

As mentioned above, there are no studies in the literature that give the blood concentrations of
pentobarbital following a 5 gram IV dose, as this is higher than approved clinical doses.
However, it is possible to examine the pentobarbital blood concentrations in humans from
studies following the administration of lower doses of IV pentobarbital sodium. The data from
these studies can then be used to model the blood concentrations of pentobarbital after a 5
gram IV dose.

In 1953, the first study of the fate of pentobarbital in humans estimated the peak amount of
pentobarbital in the blood after IV bolus administration of 1 gram (= 1000 mg) pentobarbital
sodium (Brodie et al. 1953). This study gave peak blood concentrations of about 25 mg/L after
the IV dose. Twenty years later, the first study using modern techniques in pharmacokinetic
analysis determined the blood concentration of pentobarbital after an IV dose of 50 mg
pentobarbital sodium (Smith et al. 1973). These authors found that a 50 mg IV dose of
pentobarbital gave an initial peak blood concentration of about 1.5 mg/L. In a second
pharmacokinetic study of IV pentobarbital sodium, a 100 mg IV dose yielded an initial
pentobarbital blood concentration of about 3.0 mg/L (Ehrnebo 1974). A figure from this second
modern paper is included below (as Fig. 2, top of next page) to portray the pentobarbital blood
concentration curve over time following IV administration.

Given that a 50 mg IV dose of pentobarbital gave an initial pentobarbital blood concentration of
1.5 mg/Land that a 100 mg IV dose of pentobarbital (Fig. 2, below) gave an initial pentobarbital
blood concentration of 3.0 mg/L (i.e. doubling the IV dose, doubled the initial blood
concentration) it follows that a 5,000 mg IV dose of pentobarbital would give an initial
pentobarbital blood concentration of 150 mg/L. This is calculated from the fact that a 5,000 mg
IV dose (= 5 grams) is 100 times greater than the 50 mg IV dose and 100 times 1.5 mg/L equals


                                          Page 15 of 45

                                                                                Exhibit 16 Page 15
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 215 of 534



                                                                   Expert Report: AR lethal injection pharmacology

150 mg/ml. By examining Table 4 above, this initial pentobarbital blood concentration of 150
mg/ml is 6 to 15 times greater than the lethal drug range listed as 10-25 mg/ml.


     <
     :?
     tn
     :s 3.0
     -
     c..
       E
     .......
     ..J
     t(        2.0
     -
     I-
     CD
     ct:
     <
     ~ 1.0
     I-
     z
     LI.I
     0..
      tlll                                                                            J   I
       ~         0                                                                I

                     0      l        2         3        4          5         6            10      30      50
                                                    HOURS
               Fig. 2. Blood levels of pentobarbital following rapid IV injection of 100 mg to seven
               human subjects. Data points are the mean values of pentobarbital blood concentrations,
               plus and minus one standard deviation error bars. From Ehrnebo 1974. Note: µg/ml is
               equal to mg/L.

Given the above calculation that 5 grams of IV pentobarbital sodium yields an initial lethal
blood concentration of 150 mg/L, the next determination is to model the fall of the
pentobarbital blood concentration over time. It can be seen from Figure 2 above that the fall of
pentobarbital blood concentrations occurs in two parts; the decrease in pentobarbital occurs
more rapidly for the first hour, then the decrease slows down and cha~ges slowly from the
pentobarbital levels seen at one hour. The first rapid phase of the decrease in pentobarbital
concentrations is due to the distribution of pentobarbital from the blood to the brain and other
tissues. The second, slower phase in the decrease of pent9barbital is due to the elimination of
pentobarbital from the blood by metabolism and excretion. The time it takes for the
pentobarbital blood level to decrease by one-half is called the 'half-life' (t112). The first rapid
phase of pentobarbital decrease has a smaller half-life than the half-life of the second slower
phase of pentobarbital decrease.

In order to determine the fall of pentobarbital concentrations over time, it is necessary to use
the half-life data for IV pentobarbital from the pharmacokinetic studies cited above. Both of the
modern pharmacokinetic studies of IV pentobarbital sodium show a rapid distribution of
pentobarbital out of the blood of with a half-life of about 1 hour (Ehrnebo 1974; Smith et al.
1973) which lasts for about 2 hours, then a longer elimination half-life of about 22-50 hours.
Using these half-life values, the pharmacokinetic modeling of a 5 gram {5000 mg) IV dose was
done using an Excel® spreadsheet, as noted previously in the scientific literature (Chamberlain
2003).
                                                   Page 16 of 45

                                                                                               Exhibit 16 Page 16
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 216 of 534



                                                               Expert Report: AR lethal injection pharmacology



The resulting graph of the decrease in pentobarbital blood levels after IV injection of 5 grams
(5000 mg) is shown in Figure 3 below. This graph shows that with an initial blood concentration
of 150 mg/L pentobarbital, the blood levels of pentobarbital decrease to 37.5 mg/L after 120
minutes. Within the first 5 minutes, the blood levels decrease to 141 mg/L (inset graph, Figure
3, below). Comparing these blood levels of pentobarbital with the lethal concentrations
summarized in Table 4 above, after the first 5 minutes, the 5 gram IV dose of pentobarbital
sodium yields blood levels of pentobarbital that are 5.6 to 14 times higher than lethal
pentobarbital concentrations. After 120 minutes, the 5 gram dose gives blood levels that
remain elevated above the lethal pentobarbital concentrations.


                         Blood Concentration Time-Course Curve after
                                   5000 mg IV Pentobarbital
               200
                                                                           160
               180
         ~

         ~ 160
                                                                           150

         'ii
         !
         .0
               140                                                         140
         j
         0 120
         !                                                                 130
         :.
         '15   100
         c                                                                 120
         j
         ...
         ft!   80                                                                0 1 2 3 4 5
         '!                                                                          min
         !      60
         ~
         1
         ii
               40

                20


                0
                     0                   120           180           240             300        360
                                       Tune after IV administration (min)

        Fig. 3. Blood levels of pentobarbital following IV injection of 5 grams (5000 mg) as
        modeled by the best available data. The initial blood concentration was 150 mg/L (at left
        arrow). The rapid decrease (distribution phase) used a half-life of 60 min that lasted for
        2 hours. The slower elimination phase used a half-life of 20 hours. Inset graph in upper
        right corner shows an enlargement of the first 5 minutes after IV injection (right arrow).




                                               Page 17 of 45

                                                                                       Exhibit 16 Page 17
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 217 of 534



                                                            Expert Report: AR lethal injection pharmacology

C. Differences Among Barbiturate Drugs

Barbiturate drugs were discovered and used to a great degree before the advent of the
benzodiazepine drugs in the 1960s (Harvey 1980). All benzodiazepines have the same
mechanism of action, which differs from barbiturates' mechanism of action (see Section 2C
above). Barbiturate drugs potentiate and replace the action of GABA to greatly inhibit neurons,
whereas benzodiazepines need GABA present to work and are limited in their pharmacological
effects (i.e. are partial agonists, see Section 2D).

The differences in various barbiturate drugs lie primarily in their pharmacokinetic
characteristics, and are subclassified according to how long they exert their pharmacological
effects. The barbiturates are also classified by their therapeutic effects, such that there are
anesthetic barbiturates, such as thiopental, pentobarbital, amobarbital, and anticonvulsant
barbiturates, such as mephobarbital and phenobarbital (Macdonald and Barker 1979).

Barbiturates also differ by their individual chemical nature, most importantly in a term called
lipophilicity. Lipophilicity, which means 'fat-loving,' describes a physical characteristic of drugs
that correlates with how rapidly a drug can cross from the bloodstream to the brain. Rapid-
onset, ultrashort-acting anesthetic barbiturates, like amobarbital and pentobarbital, are more
lipophilic than anticonvulsant barbiturates like mephobarbital or phenobarbital (Toon and
Rowland 1983). Because of this, the highly lipophilic barbiturates (amobarbital and
pentobarbital) have a faster onset of action, usually within 30 seconds to 1 minute after an IV
bolus dose (Sessions et al. 1954).

Finally, the barbiturates differ in terms of their potency: anesthetic barbiturates (pentobarbital
and amobarbital) are more potent in their inhibition of brain neurons than anticonvulsant
barbiturates like mephobarbital and phenobarbital (Macdonald and Barker 1979).

The pharmacological differences between barbit~rates precludes a substitution of
pentobarbital with any other barbiturate except another fast-acting barbiturate.

D. Summary

The findings from this section are:

i. The normal therapeutic blood concentration of pentobarbital ranges from 1-10 mg/L. Toxic
   blood concentrations of pentobarbital range from 10-19 mg/Land lethal concentrations of
   pentobarbital range from 15-21 mg/Land higher.

ii. A 5 gram IV bolus dose of pentobarbital sodium produces initial pentobarbital blood
    concentrations of about 150 mg/L, which is 6 to 15 times greater than the accepted lethal
    dose range. After 5 minutes, the blood concentration of pentobarbital is 5.6 to 14 times
    greater than the lethal blood concentrations of pentobarbital. After 2 hours, the bloqd
    concentration of pentobarbital remains above the lethal blood concentration range.


                                            Page 18 of 45

                                                                                  Exhibit 16 Page 18
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 218 of 534



                                                            Expert Report: AR lethal injection pharmacology

iii. All barbiturates share the same mechanism of action but differ in potency, time of onset,
     duration of action, and therapeutic indications. Only fast-acting barbiturates like thiopental
     or pentobarbital are suitable for use in lethal injection protocols.

4. Pharmacology of Vecuronium and Potassium Chloride

According to the Arkansas method-of-execution statute,§ 5-4-617, the Director of the Arkansas
Department of Corrections shall select one of the following options for a lethal injection
protocol: a one-drug protocol using a barbiturate, or a three-drug protocol using midazolam,
followed by vecuronium bromide, followed by potassium chloride. The pharmacology and
mechanism of action of the first drug in the three-drug protocol, midazolam, was detailed
above (Section 2) and the ceiling effect of midazolam is discussed below (Section 5). The second
and third drugs listed in the Arkansas three-drug lethal protocol are vecuronium bromide, at a
dose of 100 mg, and potassium chloride, at a dose of 240 mEq, which are discussed here.

A. Pharmacology and Clinical Effects of Vecuronium

Vecuronium, like pancuronium, is a drug classified as a neuromuscular blocker or simply called a
paralytic drug. Neuromuscular blockers work by blocking the action of acetylcholine which is
the neurotransmitter released from a nerve ending onto the muscle that causes the muscle to
contract (Hibbs and Zambon 2011). Clinical uses of neuromuscular blockers are to provide
muscle relaxation for endotracheal intubation, and to ensure patient immobility during surgery
or mechanical ventilation (Kovac 2009, Vecuronium Bromide for Injection Prescribing
Information). Vecuronium is a chemical analog to pancuronium and is about 1.5 to 1.75 times
more potent than pancuronium (Fahey et al. 1981). Vecuronium has about the same onset time
as pancuronium (within 5 minutes) but has a shorter duration of action, and produces no
cardiovascular effects or changes in heart rate or blood pressure. With higher doses of
vecuronium, the onset time can be reduced to 2.4 minutes (Hilgenberg 1983).

The clinical effects of vecuronium are shared by other neuromuscular blockers and include
progressive loss of skeletal muscle contraction, first noted by drooping eyelids and muscle
weakness (Hibbs and Zambon 2011). Motor weakness progresses eventually to a total flaccid
paralysis. The small, quick muscles of the eyes, jaw, and larynx relax before those of the arms,
legs, and trunk of the body. Finally, the intercostal muscles that expand the ribs and the
diaphragm are paralyzed, and breathing ceases. Without intubation and mechanical ventilation,
death ensues from a lack of oxygen (hypoxia).

There are a few studies of the effect of neuromuscular blockers given in human volunteers
without an anesthetic agent. In a classic 1947 paper, a complete description of the effects of
tubocurarine, an early neuromuscular blocker, on the central nervous system was examined
(Smith et al. 1947). These researchers found that neuromuscular blockers had no effect on
altering consciousness, or memory and had no analgesic effect. They concluded that these
paralytic drugs should not be used alone as they may cause "serious psychic trauma." A later
study, using trained anesthesiologists and the researchers themselves, found that in these
awake subjects vecuronium had no effect on consciousness and, like the earlier study by Smith

                                            Page 19 of 45

                                                                                  Exhibit 16 Page 19
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 219 of 534



                                                           Expert Report: AR lethal injection pharmacology

and colleagues, that the most distress came from a feeling of shortness of breath and 'air
hunger,' even as they were artificially ventilated with supplemental oxygen at sufficient levels
(Topulos et al. 1993). As early as 1950 clinicians realized that the use of paralytic drugs like
vecuronium and pancuronium without adequate anesthesia leads to the possibility that a
patient is awake but incapable of indicating distress or pain because of muscle paralysis (Brice
1970).

While these above studies were done on the researchers themselves, who were trained in the
procedures and knew what to expect, most research on the adverse effects of vecuronium and
other neuromuscular blockers comes from cases where conscious patients were completely
paralyzed but unable to communicate with health care workers. In emergency care, patients
who experienced paralysis without sedation or anesthesia reported dysphoria and severe pain
(Chong 2014). Patients in intensive care units who were paralyzed with pancuronium because
they were intubated and on mechanical ventilators, but were not sedated and were conscious,
reported that they felt "buried alive"; some thought they were already dead (Perry 1985). Most
of these patients said they would rather die than go through 4 days of being paralyzed while
conscious again. A study of patients who emerged from anesthesia but were still paralyzed from
neuromuscular blockers gave reports of panic, suffocation, and a feeling of already being dead
(Thomsen et al. 2015). These experiences were horrific enough to trigger post-traumatic stress
disorder (PTSD) in some unfortunate patients.

The above papers show that vecuronium or pancuronium, or any other paralytic drug, should
only be used in patients that are anesthetized and unconscious. In documented cases where
patients or experimental subjects were awake but paralyzed, intolerable and damaging
experiences of pain, panic, and suffocation occurred.

B. Pharmacology and Clinical Effects of Potassium Chloride

Potassium chloride for injection is an electrolyte solution used for the treatment of
hypokalemia, which means low blood-potassium levels (Potassium Chloride for Injection
Prescribing Information). Hypokalemia can be life-threatening and can lead to dysfunction of
excitable tissues such as cardiac, skeletal, and smooth muscle (Kruse and Carlson 1990). The low
potassium of hypokalemia may result in muscular paralysis, respiratory failure, and cardiac
abnormalities, which can be fatal.

Potassium chloride for injection is also used in late-term abortions of a fetus with genetic or
severe, non-viable abnormalities (lsada et al. 1992, Senat et al. 2002, Sfakianaki et al. 2014). In
these cases, potassium chloride is delivered directly into the fetal heart chamber or into the
umbilical vein.

There are a few cases of high-dose potassium-chloride injection in awake patients, which only
occurs as a result of an accident or intentional homicide in the hospital setting ( Wetherton et al.
2003). The earliest report of an accidental high dose of IV potassium chloride due to improper
mixing was in a male patient who immediately complained of a severe pain moving up his arm
(above the site of the IV) and a ringing in his ears (Lankton et al. 1973). The patient then lost

                                           Page 20 of 45

                                                                                 Exhibit 16 Page 20
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 220 of 534



                                                            Expert Report: AR lethal injection pharmacology

consciousness, stopped breathing, and his heart stopped beating. Another case study in that
same year reported that an IV infusion of potassium chloride produced severe pain at the site
of the IV infusion (Williams 1973). In a forensic report of four IV potassium-chloride-induced
deaths at hospital, one man who accidentally received a high-dose IV infusion of potassium
chloride screamed out in pain (Wetherton et al. 2003). Potassium-chloride IV injections are also
documented as a rare method of suicide in health care workers, but self-reports of the effects
noted by these persons are unavailable (Battefort et al. 2012, Berto/ et al. 2012).

The above studies show that IV administration of potassium chloride at high doses leads to
severe pain in awake, unanesthetized patients.

C. Importance of Achieving General Anesthesia

In the case of lethal injection using a three-drug protocol, it is crucial to insure that the first drug
achieves General Anesthesia because of the intolerable effects of the second drug (muscle
paralytic) and third drug (potassium chloride).

Clinical experience with non-responsive patients shows that a cautious approach to the risk
evaluation of midazolam's ability to produce General Anesthesia should be taken. Patients that
are non-responsive are diagnosed of being in a vegetative state after repeated tests of
consciousness show no evidence of sustained, reproducible, purposeful, or voluntary behavioral
response to visual, auditory, tactile, or noxious stimuli (MacDonald et al. 2015}. These tests in
non-responsive patients are the same as tests used by anesthesiologists to detect the surgical
plane of anesthesia. In the non-responsive patients, studies show that up to 43% of these
patients that are diagnosed as vegetative are actually aware or conscious. Additionally, studies
document that some patients are not unconscious even when strong general anesthetics, like
pentobarbital or inhalation agents, are used. (Escallier et al. 2014) These findings mandate a
conservative approach to questions of the first drug used in a three-drug lethal injection
protocol. In other words, even under the best circumstances, clinicians assessing non-responsive
patients and anesthesiologists inducing general anesthesia appear to get it wrong a significant
percentage of the time and their patients are not unconscious (or anesthetized) as often as they
think.

Because even trained anesthesiologists using powerful anesthetic drugs fail to detect awareness
or consciousness a significant proportion of the time, the "consciousness check" articulated in
Section IV.2.h{l) of Arkansas's lethal injection protocol does not provide any assurance that the
condemned inmate will be sufficiently anesthetized or that he will not experience the pain and
suffering caused by the second two drugs in Arkansas's protocol. According to Section 1.1 of the
protocol, the "Deputy Director, or designee" who performs the consciousness check need not
even be a physician or nurse, much less an anesthesiologist. Further, because it is
pharmacologically impossible for midazolam to produce a state of General Anesthesia, as
discussed above in Section 2 and further below in Section 5, any determination that the prisoner
is unconscious when not in a state of General Anesthesia would by definition be erroneous.




                                             Page 21of45

                                                                                  Exhibit 16 Page 21
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 221 of 534



                                                             &pert Report: AR lethal injection pharmacology

D. Summary

i. Vecuronium administration produces paralysis of muscles, including muscles that
    promote breathing, preventing movement in patients undergoing surgery.

ii. Vecuronium administered to unanesthetized subjects in clinical studies gives rise to
    pain, panic, and suffocation, without a means to communicate this to others due to
    complete muscle paralysis.

iii. Potassium chloride is used to produce cardiac arrest (stop the heart) in the condemned
     inmate.

iv. Studies show that use of potassium chloride by IV injection in an awake and
    unanesthetized patient leads to severe pain radiating from the site of the IV infusion
    and cessation of breathing and heart function while conscious.

v. The condemned inmate must be in a state of General Anesthesia, noted by loss of
     consciousness and the inability to respond to a noxious stimulus, before the administration
     of vecuronium and potassium chloride.

5. Calculation of the 'Ceiling Effect' Dosage of Midazolam Used in Lethal Injection

This section discusses the concept of the "ceiling effect" in further detail. It calculates the
ceiling-effect dose of midazolam using a methodology described below; it then discusses other
clinical studies regarding midazolam's ceiling effect and their bearing on the calculation
contained herein.

A.   Introduction to the Issue of the 'Ceiling Effect' With an IV Bolus Dose of Midazolam

The 'ceiling effect' refers to the fact that greater doses of midazolam do not produce a greater
pharmacological effect. The ceiling effect is well-known for midazolam and all similar drugs in
the class called benzodiazepine sedative-hypnotics. By way of contrast, there is no ceiling effect
seen with barbiturate sedative-hypnotics like thiopental and pentobarbital (see Section 2D
above). The ceiling effect of midazolam and other benzodiazepines is not controversial and is
portrayed in many introductory pharmacology textbooks (see Fig. 1 above).

As detailed in Section 2D above, benzodiazepines (including midazolam) act by enhancing the
inhibitory effect of the neurotransmitter, GABA, on brain neurons. The decrease in neuronal
activity produced by the inhibitory neurotransmitter, GABA, is not 'all or none'. GABA simply
decreases the ongoing activity of neurons by a graded amount, depending on how much GABA
is present. GABA is a limited resource in the brain, as it is made and released by inhibitory brain
neurons, which are finite in number. Therefore midazolam is limited in its action by the amount
of GABA present, whereas barbiturates are not limited by the amount of GABA present.




                                             Page 22 of 45

                                                                                   Exhibit 16 Page 22
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 222 of 534



                                                                Expert Report: AR lethal injection pharmacology

A little more pharmacology of benzodiazepines' mechanism of action and an analogy is needed.
Midazolam and other benzodiazepines potentiate the binding of GABA at the GABAA receptor,
but at a site different than where GABA binds. This is called allosteric modulation. To use an
analogy, the allosteric action of midazolam might be thought of as a Boy Scout helping an
elderly woman (GABA) across the street. The woman can cross the street without the Boy Scout
(midazolam) but his presence and assistance helps the elderly woman move faster. Midazolam
and other benzodiazepines can only enhance GABA action and have no inhibitory action on
brain neurons on their own. By this allosteric mechanism of action, benzodiazepines have an
innate 'ceiling effect' and can only produce sedation on a limited plateau. Using our analogy,
the Boy Scout can move the elderly woman across the street only so fast, the act of getting the
woman across the street is still limited by the ability of the woman to ambulate on her own two
legs. There is a 'ceiling effect' in how fast the woman can cross the street, even if two or more
Boy Scouts were to help her.

Most telling that midazolam has a ceiling effect is the lack of a fatal blood level range for
midazolam in the latest compendium of therapeutic, toxic, and fatal blood levels of over 1,000
drugs (Schulz et al. 2012). Table 5 below shows the blank space for the fatal blood levels of
midazolam. There are few fatalities.

    Table 5. Therapeutic, toxic, and lethal ranges of pentobarbital and midazolam blood concentrations.
    Note the lack of fatal concentration ranges for midazolam. From Schulz et al. 2012.


    Pentobarbilal                            1-5 (-10)            10-19                15-25               20-40

    Midazotam                           0.04-0.1 (-0.25}1" '      1-1.5                                    1.5-3"'




B. Calculation of Ceiling Effect

This subsection calculates midazolam's ceiling effect using a modeling approach based on
extrapolation from in vitro and cell-culture testing. The calculation considers that the Arkansas
Lethal Injection Protocol employs two syringes with 250 mg midazolam each for a total of 500
mg. The State's procedure also states that "after at least five (5) minutes have elapsed since
commencing the administration of syringe 1A [the first 250 mg midazolam syringe], the Deputy
Director, or designee, will confirm the condemned inmate is unconscious by using all necessary
and medically-appropriate methods." Accordingly, the present subsection ultimately seeks to
answer whether midazolam's ceiling effect is reached at or below (1) the brain concentration of
                                                                  2
midazolam produced immediately after the IV bolus administration of a 500 mg midazolam
dose and (2) the brain concentration 5 minutes after IV midazolam administration.

The first step of this modeling approach is to determine the concentration at which
midazolam's ceiling effect occurs in studies done in vitro (using brain cells in a laboratory dish).
Second, a calculation of the blood concentration of midazolam following a 500 mg IV bolus dose

2
    Bolus means a single IV injection all at one time as opposed to continuous infusion at a lower rate.
                                                   Page 23 of45

                                                                                      Exhibit 16 Page 23
          Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 223 of 534



                                                                   Expert Report: AR lethal injection pharmacology

    is made based on blood concentrations of midazolam following clinically-used doses. Third,
    based on the pharmacological data of midazolam crossing into the brain in preclinical studies,
    the extent of the 500 mg midazolam dose that enters the brain is calculated. Fourth, published
    studies are researched to calculate the concentration of midazolam in the brain after a 500 mg
    IV dose. Finally, by comparing the concentration of midazolam that produces a ceiling effect in
    studies done in vitro with the calculated concentration of midazolam in the human brain after a
    500 mg dose, the ceiling-effect dose is calculated.

    i. Ceiling Effect of Midazolam and Other Benzodiazepines Observed In Vitro

    This subsection will highlight cell culture in vitro studies and preclinical (animals) studies from
    the medical literature that determined the ceiling effect of midazolam and other
    benzodiazepines. These studies will provide specific numerical values that can be used to model
    the concentration in the brain of a condemned inmate after a 500 mg IV dose of midazolam.

    Table 6 below shows the threshold dose(s) that produced the observed ceiling effect in
    published studies of in vitro experiments. Most studies of diazepam show a ceiling effect
    threshold at 100 nM and all three studies of midazolam gave 100 nM as the concentration
                                3
    producing a ceiling effect.




    3
        Drug concentrations are measured with different units in different types of experiments or clinical
        studies. The in vitro studies presented in this subsection use Molar Concentration, which is basically a
        certain number of grams (1 Mole) in a liter of solution. 1 Mole of a drug in 1 Liter of solution gives a
        1.0 M concentration. Then, using the metric system prefixes, we know that 1 M =1000 mM (milli-
        Mole) which equals 1,000,000 µM (micro-Mole), which is equal to l,000,000,000 nM (nano-Mole). For
        these types of studies, the drug solutions are mixed to make up different strengths, like 1 nM, 10 nM,
        100 nM, and 1000 nM, and these different solutions are bathed on different sets of cells in a Petri dish
        and the pharmacological effects measured. The results shown below for the in vitro studies of
        benzodiazepine effects use drug solutions in the units of nM.

        Other units are used in other studies below. Concentration of drug in blood is often given in ng/ml
        (nano-grams per milli-Liter). Again using the metric system prefixes, we know that 1 g (gram) equals
1       1000 mg (milli-grams) equals 1,000,000 µg (or mcg; micro-gram) equals l,000,000,0000 ng (nano-
        gram). Finally, doses of drugs are administered on a per weight basis, such as 2 mg/kg, or as the same
        dose for everybody, such as 500 mg dose of midazolam administered intravenously (IV).
                                                     Page 24 of 45

                                                                                         Exhibit 16 Page 24
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 224 of 534



                                                              Expert Report: AR lethal injection pharmacology

Table 6. Summary of selected stuc;Jies showing ceiling effect of diazepam and midazolam
Benzodiazepine           Ceiling effect at:     Preparation                     Reference
Diazepam                        a               Cell culture (mouse spinal      Skerritt and Macdonald
                         10 nM
                                                neurons)                        (1984)
Diazepam                 100 nM                 Cell culture (oocytes)          Sigel and Baur {1988)
Diazepam                 50-100 nM              Cell culture (mouse spinal      Rogers et al. (1994)
                                                neurons)
Diazepam                 100 nM                 Cell culture (HEK cells)        Li et al. {2013)
Diazepam                 100 nM                 Cell culture (oocytes)          Rusch and Forman {2005)
Midazolam                100 nM                 Brain slices (rat)              Rovira and Ben-Ari (1999)
Midazolam                100-200 nM             Brain slices (rat)              Bai et al. {2001)
Midazolam                100 nM                 Cell culture (oocytes)          Riisch and Forman {2005)
a nM stands for 'nanomolar' which is a concentration term relating the number of drug molecules in a
  liter of solution.

A ceiling effect, which is really just a limit on the potency of a drug (see discussion of partial
agonists in Section 20), was noted with benzodiazepines, including diazepam (Valium®) and
midazolam (Versed®), in the research studies that determined the mechanism of action for
benzodiazepine drugs. Samples of figures from these original research papers are reproduced
below (next two page) so that it will be obvious that a ceiling effect is documented and
pervasive in the scientific and pharmacological literature.

Figures 4-7 on the next two pages show the actual graphs that confirm a ceiling effect for the
benzodiazepines diazepam and midazolam from in vitro studies. The ceiling effect on these
figures is denoted by a horizontal dashed blue line; this is the plateau that is reached where
benzodiazepines given at higher concentrations do not produce greater effects.

Figure legends under the graphs further explain the graphs and the ceiling effect concentration.
This is the lowest concentration of drug that produces the plateau effect or ceiling effect.




                                              Page 25 of 45

                                                                                    Exhibit 16 Page 25
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 225 of 534



                                                    Expert Report: AR lethal injection pharmacology



                 c:
                  0
                            1.2
                :.;:::::;
                  co        1.0
                :.;:::::;
                 c:
                 (l)
                ......
                 0 0.8
                 0.
                "O
                 (l)        0.6
               .N                                       0    GABA
               (ij          0.4                         •    PB
                 E
                 L-                                    .6. ETO
                z 0.2
                0
                                                        D    ALF

                            0.0
                                   10          100           1000
                                   [Diazepam] (nM)

        Fig. 4. Various doses of the benzodiazepine, Diazepam, were added with
        GABA (open circles) and other drugs and the current measured on the
        vertical scale (Y-axis). Arrow shows ceiling effect threshold at 100 nM.
        Horizontal dash line shows the ceiling effect. From Fig. 4 in Li et al. 2013.




                                              drug concentration IM)
        Fig. 5. Various doses of the benzodiazepine, Diazepam (closed circle, top
        curve) were applied to cells in the presence of GABA and the current
        measured on the vertical scale (Y-axis). Arrow shows ceiling effect
        threshold at 10-7 M which is equal to 100 nM. Horizontal dash line shows
        the ceiling effect. From Fig. 4 in Sigel and Baur 1988.



                                    Page 26 of 45

                                                                          Exhibit 16 Page 26
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 226 of 534



                                                                                 Expert Report: AR lethal injection pharmacology




                                                                                                      +
                             o .....__________
                             0.001 0.01 0.1       1    10
                                   Concentration (p.M)
        Fig. 6. Various doses of Midazolam (closed circle, top curve) along the
        horizontal scale (x-axis) were applied to cells in the presence of GABA and
        current measured on the vertical scale (Y-axis). Arrow shows ceiling effect
        threshold at 0.1 µM which is equal to 100 nM. Horizontal dash line shows
        ceiling effect. From Fig. SB in Bai et al. 2001.



                          0.30

                          0.25

                  ix 0.20
                  (!JC~
                 ..:::: 0.15
                  ~
                                                                             !
                  -       0.10

                          0.05

                          O.OO·ic=:-.J11;;......,,_,,__..............,,...................,......,...,..........,,_..
                             0        10-9         1o-8           10-7                 10'6
                                              Benzodiazeoine (M)
        Fig. 7. Various doses of Midazolam (closed circle, top curve) or Diazepam
        (closed squares, bottom curve) along the horizontal scale (x-axis) were
        applied to cells in the presence of GABA and current measured on the
                                                                              7
        vertical scale (Y-axis). Arrow shows ceiling effect threshold at 10- M
        which is equal to 100 nM. Horizontal dash line shows ceiling effect. From
        Fig 2A in Rusch and Forman 2005.




                                                     Page 27 of 45

                                                                                                                        Exhibit 16 Page 27
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 227 of 534



                                                                Expert Report: AR lethal injection pharmacology

ii. Blood Levels of 500 Mg Midazolam after IV Bolus Dose in Humans

As mentioned above, there are no studies in the literature that give the blood concentrations of
midazolam following a 500 mg IV dose in humans, as this is higher than approved clinical doses.
However, it is possible to review the blood concentrations in humans from studies examining
the blood concentrations after clinical doses of IV midazolam. The data from these studies can
then be used to model the blood concentrations of midazolam after a 500 mg IV dose.

A clinical study measured the peak amount of midazolam in the blood after IV bolus
administration of 5 mg midazolam in eight healthy volunteers (Schwagmeier et al. 1998). This
study gave peak blood concentrations of nearly 120 ng/mL (nanogram per milliliter) after a 5
mg IV dose. It follows then that with a 500 mg IV dose, the initial amount after direct IV bolus
infusion is 100 times of what occurred with the 5 mg dose, which gives an initial blood
concentration of 12,000 ng/mL of midazolam after a 500 mg IV dose.

A direct linear modeling of the 500 mg IV dose from the 5 mg dose is supported by other
studies. In a more recent study using half of the above 5 mg IV dose, a 2.5 mg IV dose of
midazolam, the peak blood concentration of 51.2 ng/mL which is about half the peak blood
concentration seen in the above clinical study using a 5 mg IV dose of midazolam (Veldhorst-
lanssen et al. 2011). Therefore it is not unreasonable to use this linear relationship to
extrapolate as is done above

Given the estimate that the initial concentration of midazolam in the blood after a 500 mg IV
bolus dose is 12,000 ng/mL, the next determination is to model the fall of midazolam blood
concentration over time to determine the amount of midazolam that is available for transfer to
the brain during the first 5 minutes. Five minutes is a crucial time point, as the Arkansas
Department of Corrections Lethal Injection Procedure mandates that the offender being put to
death will be checked for unconsciousness at least 5 minutes after the infusion of midazolam
begins.

In order to determine the midazolam blood concentrations over time, it is necessary to have
established pharmacokinetic data for IV midazolam. A key paper in this regard examined the
pharmacokinetic data after dosing volunteers with 0.1 mg/kg midazolam IV infusions after 1
minute, 1 hour, and 3 hour lengths of infusion (Greenblatt et al. 2004). The dosing of midazolam
with a 1 minute bolus infusion in this study comes closest to the method to be used by the
                                                                                    4
Arkansas Department of Corrections (see above). Using these data from this study, it was
possible to model the blood concentration curve over time following the IV dose of 500 mg
midazolam (see Fig. 8 next page). The modeling of the blood concentration curve following a
500 mg IV midazolam dose was done using an Excel spreadsheet, as noted in the scientific
literature (Chamberlain 2003) and was done above in Section 3B.



4
    The Greenblatt study found that a midazolam IV dose given in 1 minute had a half-life of immediate
     distribution (tYi alpha) of 21 min and a half-life of elimination (tYi beta) of 171.6 minutes. These
     parameters were plugged into the spreadsheet formula to give the model data plotted in Fig. 8.
                                                   Page 28 of 45

                                                                                      Exhibit 16 Page 28
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 228 of 534



                                                                   &pert Report: AR lethal irifection pharmacology



                                Blood Concentration Time-Course Curve after 500
                                              mg IV Midazolam
                    12000

                    11000
             ~
              E 10000
             'iia
             .s.     9000
             E
             I'll
             0N     8000
             .,
             I'll
                     7000
             ~
             0      6000
             c:
             0
             +3
             I'll   5000
             ~GI
             u      4000
             c:
             0
             u
             I'll
                    3000
             E
             "'
             I'll
             ii
                    2000

                    1000

                       0
                            0        60        120          180          240        300         360
                                             Time after IV administration (min)

            Fig. 8. Blood concentration curve following a single IV bolus dose of 500 mg
            midazolam. Inset shows the region of the plot from 0-5 minutes. See text
            for further details. Arrows denote the initial blood concentration of
            midazolam and midazolam concentration after 5 minutes (inset).

The key parameters calculated above are that following the 500 mg IV dose of midazolam, the
initial highest concentration of midazolam is 12,000 ng/mL and after 5 minutes, the
concentration of midazolam is 10,200 ng/mL.

iii. Extent of Midazolam Entering the Human Brain after an IV Bolus Dose

Studies that show the amount or extent of midazolam that enters the human brain would be
best done by administering an IV dose in numerous people and then sampling brain tissue at
various time points afterwards. These studies, of course, cannot be done. However, a number
of preclinical studies in animals provide reliable data about the fraction of midazolam that
crosses into the brain from the blood. These studies are reviewed next and will provide a value
that can be used to determine the amount or extent of midazolam that enters the human brain
after a 500 mg IV dose.

It should first be noted that drugs in the blood bind to blood proteins such as albumin and
gamma-globulins and the amount of protein binding varies with each drug. This is important as
only the free (unbound) drug is available to cross from the blood into the brain to exert its
effect. Midazolam is a drug with high blood-protein binding, on the order of 94-97% (Fragen

                                                 Page 29 of 45

                                                                                          Exhibit 16 Page 29
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 229 of 534



                                                                Expert Report: AR lethal injection pharmacology

1997). Using 95% as an estimate, this gives only 5% of the amount of midazolam in the blood
available for crossing the blood-brain barrier and entering the brain. Taking this into account for
the two key parameters of interest noted above, a 500 mg IV bolus of midazolam gives an initial
free-drug blood concentration of 600 ng/mL (12,000 X 0.05) and a free-drug blood
concentration at 5 minutes of 510 ng/mL (10,200 X 0.05).

Preclinical studies of the fraction of midazolam that enters the brain after an IV dose are done
by sampling the cerebrospinal fluid (CSF) along with the blood at various times after midazolam
administration (Arendt et al. 1983, Jones et al. 1988). The CSF is a good surrogate for the fluid
surrounding the brain cells, as it is relatively protein-free so there is little to no binding of drugs
to proteins like that which occurs in the blood. The CSF circulates around and through the brain
and spinal cord, bathing these tissues (Lin 2008). Fig. 9 below shows the concentration of
midazolam in the blood and in brain CSF at the same time points from the paper by Arendt
1983.


                                           MI DAZOLAM, 10 mg/kg I V

                                   lOOOO



                           ~
                            E
                           '._,c
                            171
                                   1000
                           z
                           e
                           ~
                           <
                           a:
                           ..,uz
                           ~




                           z
                           0         100
                           u




                                            0               2         3
                                                                           HOURS .

               Fig. 9. Midazolam-concentrations curve in blood (plasma, top curve) and
               in brain CSF (bottom curve) after a single 10 mg/kg IV bolus dose. Note
               that the CSF concentration is much less than blood at all time points but
               mirrors the blood curve. From Fig. 2 (left panel) in Arendt et al. {1983).

The calculations performed in the study shown in Fig. 9 yielded a brain CSF/blood concentration
ratio of 0.14 or 14% (Arendt et al. 1983). This ratio can be used in our determinations of brain
concentration after 500 mg IV dose of midazolam to calculate that an initial blood
concentration of 600 ng/mL midazolam equals 84 ng/mL in the brain (600 X 0.14) and at 5
minutes after start of infusion, the blood concentration of 510 ng/mL is equal to 71.4 ng/mL
(510 X 0.14) in the brain.


                                                Page 30 of 45

                                                                                      Exhibit 16 Page 30
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 230 of 534



                                                               Expert Report: AR lethal injection pharmacology

iv. Dosage of IV Midazolam That Produces a Ceiling Effect in Humans

The above data gave the measurement of midazolam in blood in the units of ng/ml, or
nanogram per milliliter, is a weight per volume measure, like mixing a teaspoon of salt in a glass
of water). However, the existing data on the concentration of midazolam that produces a ceiling
effect from in vitro studies reviewed above gave a value of 100 nM (nanomolar), which is in
different units. The brain concentration of midazolam, as calculated in ng/ml above, must be
converted to nanomolar terms to compare it with the existing in vitro data showing that
midazolam's ceiling effect occurs at a midazolam concentration of 100 nM. This conversion is
done by using the molecular weight of midazolam which gives the relationship between grams
and moles. 5 For example, a concentration of midazolam of 32.6 ng/ml in the brain equals 100
nM in molar terms.

The calculated values of the brain concentrations of midazolam following a 500 mg IV dose gave
an estimate of 84 ng/ml when the infusion begins and 71.4 ng/ml after 5 minutes elapsed from
the start of the infusion. These two values expressed in nM are: 84 ng/ml =257.9 nM and 71.4
ng/ml =219.2 nM.

Given that midazolam shows ceiling effects at 100 nM concentration (see Table 6 above), the
estimated initial brain concentration for midazolam using a 500 mg IV dose is about 2.6 times
higher (at 257.9 nM) than the concentration of midazolam that produces a ceiling effect (100
nM). Five minutes6 after the 500 mg IV midazolam administration, the brain concentrations for
midazolam are estimated to be 219.2 nM or approximately double the ceiling effect
concentration of 100 nM shown in preclinical studies (Table 6).

The midazolam dose that results in a 100 nM concentration of midazolam, the ceiling effect
concentration, is obtained by using the values of brain concentration obtained with a 500 mg IV
dose above after 5 minutes. A 500 mg IV dose gives a brain concentration of 219.2 nM after 5
minutes which is 2.192 times the ceiling effect concentration of 100 nM. Therefore, a dose that
is 2.192 times less than 500 mg is 228 mg. Thus, a 228 mg IV dose of midazolam would be
expected to reach the threshold concentration of midazolam to produce a ceiling effect after 5
minutes.

C. Comparison to clinical studies

Midazolam's anesthetic effects have also been studied in the clinical setting. This section
provides an overview of bispectral analysis (BIS), reports results based on BIS, and discusses
discrepancies between the ceiling effect calculated using the above modeling method and the
ceiling effect noted in BIS-based studies.

5
    Calculations were assisted by the Molar solution concentration calculator found at
    www.physiologyweb.com.

6
    Five minutes was chosen as the time point to examine as that is the time after midazolam
    administration that the first consciousness check is performed according to the Arkansas lethal
    injection protocol.
                                                 Page 31of45

                                                                                     Exhibit 16 Page 31
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 231 of 534



                                                           Expert Report: AR lethal injection pharmacology



i. Bispectral Analysis (BIS)

Scientific models of consciousness rely on the measurement of activity in different areas of the
brain and the known functions associated with them. When a general anesthetic is given, there
is inhibition of the activity in the higher-order association areas of the brain more so than in the
primary processing areas of the brain (MacDonald et al. 2015). Most telling, as patients come
out of general anesthesia, there is dramatic and sudden activation of the higher-order
association areas of the brain regions that correlate~ with patient responding to verbal
commands (Langsjo et al. 2012). To a first approximation, consciousness is correlated to activity
in brain-association areas and therefore unconsciousness is correlated to lack of activity in these
brain association areas.

Researchers and clinicians have developed a way to measure the depth of general anesthesia
using the technique of electroencephalograms (EEG). The EEG recordings are processed by the
computer with a method called bispectral analysis, or BIS (Escallier et al. 2014). BIS gives a single
number, on the scale from 100 (completely awake and alert) to 0 (coma and EEG burst
suppression). BIS values are the most common objective means for assessing the effects of
anesthetic agents, with lower values correlated to greater degrees of brain-activity depression.

Clinical signs of anesthesia correlate moderately well with BIS scores (Weaver et al. 1970). BIS
values less than 60 are targeted during general anesthesia procedures as that is the depth of
anesthesia associated with lack of awareness (Weaver et al. 1970). In this study, BIS values of 60
or less correlated with General Anesthesia, 65 with Deep Sedation and 80 to Moderate Sedation
(see ASA table in section 2E above). Later studies have verified that a BIS value of 40-60 is
considered to reflect the state of General Anesthesia (Escallier et al. 2014). For example, one
study showed the BIS levels of patients who moved at skin incision (mean BIS value of 65) was
greater than patients who did not move in response to skin incision (mean BIS value of 40)
(Johansen and Sebel 2000).

Using thiopental doses to induce (but not maintain general anesthesia) gave BIS values as low as
60 (Yoo et al. 2012). Pentobarbital has decreased the depth of General Anesthesia in cases of
intractable seizures to BIS values as low as 3 to induce barbiturate coma (Jaggi et al. 2003).
These studies show that barbiturates are capable of reducing BIS levels consistent with General
Anesthesia, and that high-dose administration of barbiturates can reduce cortical brain activity
to near zero.

ii. Clinical studies of midazolam and BIS

Generally, midazolam is used as a premedicant before general anesthesia or for regional
anesthesia (Khanderia and Pandit 1987). Midazolam is a less reliable induction agent than
thiopental and induction of anesthesia using midazolam alone is unpredictable. Clinically,
benzodiazepines such as midazolam are not used as much for anesthesia or induction of
anesthesia but for conscious sedation (Giovannitti and Trapp 1991). Conscious sedation is a
drug-induced state of relaxation where the patient remains conscious with reflexes intact and

                                            Page 32 of45

                                                                                 Exhibit 16 Page 32
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 232 of 534



                                                             Expert Report: AR lethal injection pharmacology

little effect on cardiovascular or respiratory function (see ASA table in section 2E above).
Midazolam is often used with an opioid analgesic in outpatient procedures such as colonoscopy
and oral surgery.

Clinical studies examining the relationship of midazolam's BIS values to the level of sedation are
considered first. BIS values of in the range of 77-92 were reported after repeated IV doses of
midazolam in a surgical outpatient study (Sandler 2000). In surgery patients, the BIS threshold
for responding to a verbal command after midazolam was 80, whereas patients did not respond
to verbal command when a BIS score of 77 was observed (Ibrahim et al. 2001). In a clinical study
using adult healthy volunteers, IV midazolam was infused until patients become unresponsive to
mild prodding or shaking (Lui et al. 1996). Midazolam at total doses ranging from 4.5 to 20 mg IV
decreased the BIS to a mean value of 69.

Clinical studies that show a ceiling effect of midazolam with regard to lowering the BIS values
are described next. These studies noted that increasing doses of IV midazolam do not produce
greater pharmacological effects in lowering the BIS values. One study noted that an IV
midazolam dose of 0.3 mg/kg (25 mg for a typical 180 lb. adult) did not produce greater
depression of the brain (as noted by the BIS value) than a dose of 0.2 mg/kg, or about 16 mg
(Miyake et al. 2010). The authors note that a greater maximal effect was not seen in previous
studies where IV midazolam showed a maximal dose of brain activity depression yielding a BIS
value of 70, but not lower (Ibrahim et al. 2002, Kuizenga et al. 2001). These data suggest that a
ceiling effect in humans occurs after an IV infusion dose of 25 mg.

The sedation that can be produced by midazolam, and the lack of General Anesthesia at any
dose, is insufficient to render the prisoner insensate to the torturous effects of vecuronium
bromide and potassium chloride. A prisoner sedated only with midazolam would be conscious of
the suffocating effects of vecuronium bromide but, as a result of its paralytic properties, be
unable to communicate his or her distress. The prisoner would also be subjected to the burning
sensation of the 3rd drug, potassium chloride.

iii. Comparison between modeling and clinical studies

The dose of IV midazolam that produces a ceiling effect in clinical studies is lower (25 mg) than
the theoretical ceiling-effect dose calculated above (228 mg). The difference in these results are
not unexpected. The ceiling-effect dose of 25 mg comes from clinical studies examining
midazolam's effects in patients. The calculated ceiling dose of 228 mg midazolam is mainly
based on in vitro and preclinical studies. It is likely that that in vitro data using cell cultures are
less sensitive to midazolam compared to the clinical effects of midazolam in patients.

Significantly, the ceiling effect of midazolam in the range of 25 to 228 mg IV means that
increasing doses of midazolam do not produce increasing effects. The ceiling effect of
midazolam is the reason why midazolam cannot produce the general anesthesia needed for a
first drug in a three drug protocol.




                                             Page 33 of 45

                                                                                   Exhibit 16 Page 33
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 233 of 534



                                                          Expert Report: AR lethal injection pharmacology

D. Summary

The findings from this section are:

i. The ceiling effect of midazolam is a direct result of midazolam's mechanism of action.
   Pentobarbital and other barbiturates have a different mechanism of action and therefore do
   not exhibit a ceiling effect.

ii. Research done in vitro shows that the ceiling effect of midazolam occurs, under those
   conditions, at a concentration of 100 nM.

iii. An IV bolus dose of 500 mg midazolam produces a brain concentration that is 2 times higher
    than the concentration of midazolam that produces a ceiling effect at 5 minutes.

iv. An IV bolus dose of 228 mg midazolam is sufficient to reach the threshold of midazolam's
   ceiling effect at 5 minutes after administration. Amounts beyond that dose are not expected
   to produce a greater effect.

v. Clinical studies show that the ceiling effect of IV midazolam occur at infusion doses of about
 25 mg. These studies show that greater midazolam doses do not produce greater depression
 of brain activity and cannot produce a state of General Anesthesia.

vi. Midazolam at a dose of 500 mg IV cannot be relied on to render someone sufficiently
   unconscious to block the noxious stimuli that will occur from the application of the remaining
   drugs in the protocol.

6. Pharmacological Considerations of Alternative One-Drug Protocols for Lethal Injections

Anesthetic Gases Produce General Anesthesia and Overdose Death

While IV anesthetics like thiopental, pentobarbital, or propofol are used to induce anesthesia,
inhalational agents (gases) are generally used to maintain general anesthesia during surgical
procedures (Potyk 1998). Halothane was the prototypical inhalational agent, but is no longer
available in the U.S. due to a high incidence of hepatic toxicity with its use (Rosenberg and
Weaver 1991). General anesthesia for most surgical operations is done using newer inhalational
agents, like sevoflurane, desflurane, or isoflurane (Ghatge et al. 2003). lnhalational agents, like
barbiturates, are potent activators of the GABAA receptor (Franks and Lieb 1994). Like
barbiturates and unlike benzodiazepines, inhalational general anesthetics can produce their
potent effects at the GABAA receptor with or without GABA present. lnhalational general
anesthetics like sevoflurane, desflurane, and isoflurane also act on a number of other ion
channels to shut down brain activity (Franks 2006).

Desflurane and isoflurane irritate the respiratory tract during induction of anesthesia, so they are
used for maintaining general anesthesia once induction with another agent has occurred
(Rosenberg and Weaver 1991). For that reason, only sevoflurane will be considered further in

                                           Page 34 of45

                                                                                Exhibit 16 Page 34
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 234 of 534



                                                              Expert Report: AR lethal injection pharmacology

this section. Sevoflurane is an ideal inhalational agent, as it can be also be used for induction of
anesthesia and therefore substitute for an IV general anesthetic like thiopental, pentobarbital, or
propofol (Ghatke et al. 2003). Sevoflurane is not pungent to the patient and produces a rapid
onset of general anesthesia. A state of general anesthesia occurs within 2 minutes after
administration of sevoflurane for induction and is quicker than after administration of isoflurane
(Ghatge et al. 2003, Sakai et al. 2005).

As detailed in Section SC above, a calculation based on the EEG activity (the BIS value) during
administration of an anesthetic provides an objective measure of the level of sedation. A BIS
value of 40-60 is considered to reflect the state of General Anesthesia (Escallier et al. 2014).
Sevoflurane administration reliably produces a state of General Anesthesia and decreases BIS to
values consistent with General Anesthesia or deeper, with BIS values as low as 10-20 (Kreuer et
al. 2008). In a study of women undergoing C-section, sevoflurane decreased BIS to a mean value
of 39 (Zand et al. 2014). For interventional radiology, BIS levels titrated to the range of 40-49
were needed to prevent movement of patients undergoing procedures with sevoflurane
anesthesia (Jung et al. 2015).

Sevoflurane administration can lead to death by cardiac and respiratory depression, as shown by
the forensic reports of cases involving sevoflurane overdose deaths (Levine et al. 2007, Rosales
et al. 2007).

The procedures for administering an anesthetic gas requires less training than placement and
delivery of a drug by IV. With sevoflurane, there is no need for IV access to induce anesthesia;
sevoflurane is non-irritating and can be used directly for mask induction (Sakai et al. 2005).
There is a cost for the equipment, and the anesthesia machine should include a waste gas
                    7
scavenger system. Because inhalational agents like sevoflurane are even more potent than
barbiturates, they can be used in over-dosage as the sole lethal agent and would produce a rapid
and painless death.

Equipment costs are relatively inexpensive, with used Anesthesia Machines, including
sevoflurane and isoflurane vaporizers, available on Ebay and other medical-equipment-resale
                        8
sites for around $2,000. Newly manufactured machines may go for 3-5 times that cost
depending on the model and features. Online training for personnel operating the Anesthesia
                                                     9
Machines is available from manufacturers' websites.




7
    Examples of various waste gas scavenger systems are given in the 2013 white paper entitled
    "Management of Waste Anesthetic Gases" from the American Association of Nurse Anesthetists
    (AANA} available at:
    www.aana.com/resources2/professionalpractice/Documents/PPM%20Management%20Waste%20Ga
    s.pdf

8
    Ebay Anesthesia Machines at: www.ebay.com/bhp/anesthesia-machine

9
    For example, at http://static.draeger.com/trainer/apollo/apollo_trainer/start. html#id=AllOO
                                                Page 35 of 45

                                                                                    Exhibit 16 Page 35
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 235 of 534



                                                             Expert Report: AR lethal injection pharmacology

The inhalant drugs sevoflurane, desflurane, and isoflurane are commercially available in FDA-
approved forms. Sevoflurane is available from Abbvie Pharmaceuticals in North Chicago, IL;
Piramal Critical in Bethlehem, PA; Baxter Health Corporation in Deerfield, IL; Halocarbon
Products in Peachtree Corners, GA; and Shanghai Hengrui, in Shanghai, China. Desflurane
{Suprane®) is sold by Baxter Health Corporation of Round Lake, IL. lsoflurane (Forane®) is also
available from Baxter Health Corporation and four other manufacturers.

In summary, FDA-approved, fast-acting inhalant anesthetics are commercially available, and a
massive overdose of such drugs would produce a rapid and painless death.

7. Overall Summary and Conclusions

i. The State's decision to substitute midazolam for pentobarbital or thiopental as the first drug
 in the three-drug lethal injection protocol was made without sound medical or scientific
 reasoning or expert pharmacological advice. Pharmacological substitution is a legitimate
 method to provide equal pharmacological effects when one drug may no longer be available.
 For example, the muscle paralytic pancuronium, the second drug in the three-drug lethal
 injection protocol, can be substituted with the muscle paralytic vecuronium 111.(ithout violating
 pharmacological equivalency, as the two drugs are in the same drug class and have the same
 mechanism of action. Pancuronium and vecuronium have pharmacological equivalency.

 However, it is not pharmacologically defensible to substitute barbiturates {like pentobarbital
 or thiopental) with the benzodiazepine midazolam, because no pharmacological equivalency
 exists. The final evidence of midazolam's non-equivalency with thiopental or pentobarbital is
 the fact that no state has attempted to use midazolam in a one-drug lethal injection protocol.
 If midazolam and pentobarbital (or thiopental) were pharmacologically equivalent, midazolam
 could be used as the sole agent in a one-drug lethal injection protocol using, as many states
 have done, using a single barbiturate drug, namely pentobarbital. The lack of one-drug lethal
 injection protocols using midazolam by any State in the Union is a tacit admission that
 midazolam and pentobarbital (or thiopental) are not pharmacologically equivalent.

ii. Because midazolam cannot induce General Anesthesia, a prisoner sedated with midazolam
   would consciously experience the suffocating effects of the vecuronium bromide and the
    burning pain of the potassium-chloride injection. The consciousness check specified by
   Arkansas's lethal injection protocol provides no protection; inasmuch as midazolam is
    pharmacologically incapable of providing adequate anesthesia, any determination that the
    prisoner is adequately anesthetized would necessarily be erroneous. As such, Arkansas's
    lethal injection protocol is sure or very likely to cause serious pain and suffering. Due to the
    paralytic effects of vecuroniun bromide, such serious pain and suffering would likely be
    invisible to observers of the execution procedure.

iii. A single-drug execution protocol would significantly reduce the risk of pain and suffering.
    FDA-approved, fast-acting inhalant anesthetics are commercially available and would produce
    a rapid and painless death.


                                             Page 36 of 45

                                                                                   Exhibit 16 Page 36
  Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 236 of 534




                                                      Expert Report: ARietha! injection pharmacology




I dedare that I have examined this report and all statements contained herein, and to the best
of my knowledge and belief, they are true, correct and complete. My opinions stated herein are
based on high-levelo/ scientific and medical certainty.




                                                          Craig    Stevens, Ph.D.

                                                           j117f.d't,_ 2-J      l   ~I 7-
                                                          Date




                                        Page37 of45


                                                                             Exhibit 16 Page 37
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 237 of 534



                                                           Expert Report: AR lethal injection pharmacology

8. References Cited


Arendt RM, Greenblatt DJ, deJong RH, Bonin JD, Abernethy DR, Ehrenberg BL, Giles HG, Sellers
     EM, Shader RI (1983) In vitro correlates of benzodiazepine cerebrospinal fluid uptake,
     pharmacodynamic action and peripheral distribution. J Pharmacol Exp Ther. 227:98-106.

Bai D, Zhu G, Pennefather P, Jackson MF, MacDonald JF, Orser BA (2001) Distinct functional and
      pharmacological properties of tonic and quanta I inhibitory postsynaptic currents mediated
      by gamma-aminobutyric acid(A) receptors in hippocampal neurons. Mol Pharmacol.
      59:814-824.

Battefort F, Dehours E, Valle B, Hamdaoui A, Bounes V, Ducasse JL (2012) Suicide attempt by
     intravenous potassium self-poisoning: a case report. Case Rep Emerg Med. 2012:323818.

Bertel E, Politi L, Mari F (2012) Death by potassium chloride intravenous injection: evaluation of
     analytical detectability. J Forensic Sci. 57:273-275.

Bohnert AS, Valenstein M, Bair MJ, Ganoczy D, McCarthy JF, llgen MA, Blow FC. (2011)
    Association between opioid prescribing patterns and opioid overdose-related deaths. J.
    American Med Assoc 305:1315-1321.

Borgheini G (2003) The bioequivalence and therapeutic efficacy of generic versus brand-name
     psychoactive drugs. Clin Ther. 25:1578-1592.

Brenner GM, Stevens CW (2013) Pharmacology, 4th edition. Pharmacology textbook for
     medical and health professional students, Saunders/Elsevier, Philadelphia/London.

Brice DD, Hetherington RR, Utting JE (1970) A simple study of awareness and dreaming during
      anaesthesia. Br J Anaesth. 42:535-542.

Brodie BB, Burns JJ, Mark LC, Lief PA, Bernstein E, Papper EM (1953) The fate of pentobarbital in
     man and dog and a method for its estimation in biological material. J Pharmacol Exp Ther.
     109:26-34.

Cestari IN, Uchida I, Li L, Burt D, Yang J (1996) The agonistic action of pentobarbital on GABA.
     beta-subunit homomeric receptors. Neuroreport 7:943-947.

Chakravarthy B, Shah S, Lotfipour S (2012) Prescription drug monitoring programs and other
    interventions to combat prescription opioid abuse. West J Emerg Med 13:422-5.

Chamberlain J (2003) The use of spreadsheets for pharmacokinetic simulations. Scientific World
    Journal 3:265-278.

Chang L-R, Barnard E, Lo MS, Dolly JO (1981) Molecular sizes of benzodiazepine receptors and
    the interacting GABA receptors in the membrane are identical. FEBS Lett. 126:309-312.

Chong ID, Sandefur BJ, Rimmelin DE, Arbelaez C, Brown CA 3rd, Walls RM, Pallin DJ (2014) Long-
    acting neuromuscular paralysis without concurrent sedation in emergency care. Am J
    Emerg Med. 32:452-456.

Cozanitis DA (2004) One hundred years of barbiturates and their saint.JR Soc Med. 97:594-598.

Cromer BA, Morton CJ, Parker MW (2002) Anxiety over GABA. receptor structure relieved by
    AChBP. Trends Biochem. Sci. 27:280-287.
                                           Page 38 of 45

                                                                                 Exhibit 16 Page 38
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 238 of 534



                                                          Expert Report: AR lethal injection pharmacology

D'Hulst C, Atack JR, Kooy RF (2009) The complexity of the GABA. receptor shapes unique
     pharmacological profiles. Drug Disc. Today 14:866-875.

Ehrnebo M (1974) Pharmacokinetics and distribution properties of pentobarbital in humans
     following oral and intravenous administration . .J Pharm Sci. 63:1114-1118
Ernst M, Brauchart D, Boresch S, Sieghart W (2003) Comparative modeling of GABA. receptors:
      limits, insights, future developments. Neuroscience 119:933-943.
Escallier KE, Nadelson MR, Zhou D, Avidan MS (2014) Monitoring the brain: processed
      electroencephalogram and peri-operative outcomes. Anaesthesia 69:899-910.
Fahey MR, Morris RB, Miller RD, Sohn VJ, Cronnelly R, Gencarelli P (1981) Clinic.al pharmacology
     of ORG NC45 (NorcuronTM): a new nondepolarizing muscle relaxant. Anesthesiology 55:6-
     11.
FDA (2015) list of all approved drugs (Appendix B to Orange Book), June 15, 2015. www.fda.gov
Fragen RJ (1997) Pharmacokinetics and pharmacodynamics of midazolam given via continuous
     intravenous infusion in intensive care units. Clin Ther. 19:405-419.
Franks NP, Lieb WR (1994) Molecular and cellular mechanisms of general anaesthesia. Nature.
     367:607-14.
Ghatge S, Lee J, Smith I (2003) Sevoflurane: an ideal agent for adult day-case anesthesia? Acta
     Anaesthesiol Scand. 47:917-931.
Giovannitti JA, Trapp LD (1991) Adult sedation: oral, rectal, IM, IV. Anesth Prag. 38:154-71.
Greenblatt DJ, Shader RI, Abernathy DR (1983) Current status of benzodiazepines. N Engl J Med.
    309:354-358.
Greenblatt DJ, Ehrenberg BL, Culm KE, Scavone JM, Corbett KE, Friedman HL, Harmatz JS,
    Shader RI (2004) Kinetics and EEG effects of midazolam during and after 1-minute, 1-hour,
    and 3-hour intravenous infusions. J Clin Pharmacol. 44:605-611.
Greenfield U (2013) Molecular mechanisms of antiseizure drug activity at GABA. receptors.
    Seizure 22:589-600.
Grand S, Radbruch L, Lehmann KA (2000) Clinical pharmacokinetics of transdermal opioids:
     focus on transdermal fentanyl. Clin Pharmacokinet. 38:59-89.
Harvey SC (1980) Chapter 17 Hypnotics and Sedatives, In: Gilman AG, Goodman LS, and Gilman
     A (Eds.) Goodman and Gilma n's The Pharmacological Basis of Therapeutics, Sixth Edition,
     Macmillan Publishing Co., New York, NY.
Hibbs RE, Zambon AC (2011) Chapter 11. Agents Acting at the Neuromuscular Junction and
     Autonomic Ganglia. In: Brunton LL, Chabner BA, Knollmann BC (Eds.) Goodman and
     Gilma n's The Pharmacological Basis of Therapeutics, Twelfth Edition, Macmillan Publishing
     Co., New York, NY.
Hilgenberg JC (1983) Comparison of the pharmacology and vecuronium and atracurium with
     that of other currently available muscle relaxants. Anesth Ana lg. 62:524-531.



                                           Page 39 of45

                                                                                Exhibit 16 Page 39
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 239 of 534



                                                           Expert Report: AR lethal injection pharmacology

Houston CM, McGee TP, Mackenzie G, Troyano-Cuturi K, Rodriguez PM, Kutsarova E, Diamanti
     E, Hosie AM, Fra.nks NP, Brickley SG (2012) Are extrasynaptic GABA. receptors important
    targets for sedative/hypnotic drugs? J Neurosci. 32:3887-3897.
Howie JG (1975) Psychological medicine. Psychotropic drugs in general practice. Br Med J.
    2:177-179.
Ibrahim AE, Taraday JK, Kharasch ED (2001) Bispectral index monitoring during sedation with
     sevoflurane, midazolam, and propofol. Anesthesiology 95:1151-1159.
Ibrahim AE, Karim A, Feldman J, Kharasch ED (2002) The influence of parecoxib, a parenteral
     cyclooxygenase-2 specific inhibitor, on the pharmacokinetics and clinical effects of
     midazolam. Anesth Analg. 95:667-673.
lsada NB, Pryde PG, Johnson MP, Hallak M, Blessed WB, Evans Ml (1992) Fetal intracardiac
      potassium chloride injection to avoid the hopeless resuscitation of an abnormal abortus: I.
      Clinical issues. Obstet Gynecol. 80:296-299.
Jackson MB, Lecar H, Mathers DA, Barker JL (1982) Single channel currents activated by gamma-
     aminobutyric acid, muscimol, and (-)-pentobarbital in cultured mouse spinal neurons. J
     Neurosci. 2:889-894.
Jaggi P, Schwabe MJ, Gill K, Horowitz IN (2003) Use of an anesthesia cerebral monitor bispectral
      index to assess burst-suppression in pentobarbital coma. Pediatr Neurol. 28:219-222.
Johansen JW, Sebel PS (2000) Development and clinical application of electroencephalographic
     bispectrum monitoring. Anesthesiology 93:1336-1344.
Jones DR, Hall SD, Jackson EK, Branch RA, Wilkinson GR (1988) Brain uptake of benzodiazepines:
     effects of lipophilicity and blood protein binding. J Pharmacol Exp Ther. 245:816-822.
Jung YS et al. (2015) The optimal anesthetic depth for interventional neuroradiology:
     comparisons between light anesthesia and deep anesthesia. Korean J Anesthesiol. 68:148-
      152.
Khanderia U, Pandit SK (1987) Use of midazolam hydrochloride in anesthesia. Clin Pharm.
    6:533-547.
Kovac AL (2009) Sugammadex: the first selective binding reversal agent for neuromuscular
     block. J Clin Anesth. 21:444-453.
Kreuer Set al. (2006) A-line, bispectral index, and estimated effect-site concentrations: a
     prediction of clinical end-points of anesthesia. Anesth Ana lg. 102:1141-1146.
Kreuer Set al. (2008) Comparative pharmacodynamic modeling using bispectral and
     narcotrend-index with and without a pharmacodynamic plateau during sevoflurane
     anesthesia. Anesth Analg. 106:1171-1181.
Kruse JA, Carlson RW (1990) Rapid correction of hypokalemia using concentrated intravenous
     potassium chloride infusions. Arch Intern Med. 150:613-617.
Kuizenga Ket al. (2001) EEG changes in relation to loss of consciousness during induction with
     thiopental, propofol, etomidate, midazolam or sevoflurane. Br J Anaesth. 86:354-360.


                                           Page 40 of 45

                                                                                 Exhibit 16 Page 40
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 240 of 534



                                                          &pert Report: AR lethal injection pharmacology

Langsjo JWl, Alkire MT, Kaskinoro K, Haya ma H, Maksimow A, Kaisti KK, Aalto S, Aantaa R,
     Jaaskelainen SK, Revonsuo A, Scheinin (2012) Returning from oblivion: imaging the neural
     core of consciousness. J Neurosci. 32:4935-4943.

Lankton JW, Siler JN, Neigh JL (1973) Letter: Hyperkalemia after administration of potassium
     from nonrigid parenteral-fluid containers. Anesthesiology 39:660-661.
Lavoie AM, Twyman RE (1996) Direct evidence for diazepam modulation of GABA. receptor
     microscopic affinity. Neuropharmacology 35:1383-1392.
Levine Bet al. (2007) A fatality from sevoflurane abuse. J Anal Toxicol. 31:534-536.
Lexchin J, Kohler JC (2011) The danger of imperfect regulation: OxyContin® use in the United
     States and Canada. Int J Risk Saf Med. 23:233-40.
Li P, Eaton MM, Steinbach JH, Akk G (2013) The benzodiazepine diazepam potentiates
       responses of a1~2y2L y-aminobutyric acid type A receptors activated by either y-
       aminobutyric acid or allosteric agonists. Anesthesiology 118:1417-1425.

Lin JH (2008) CSF as a surrogate for assessing CNS exposure: an industrial perspective. Curr Drug
      Metab. 9:46-59.
Macdonald RL, Barker JL (1979) Anticonvulsant and anesthetic barbiturates: different
    postsynaptic actions in cultured mammalian neurons. Neurology 29:432-447.
MacDonald RL, Rogers a, Twyman RE (1989) Barbiturate regulation of kinetic properties of the
    GABA. receptor channel of mouse spinal neurones in culture. J Physiol. 417:483-500.
MacDonald AA, Naci L, MacDonald PA, Owen AM (2015) Anesthesia and neuroimaging:
    investigating the neural correlates of unconsciousness. Trends Cogn Sci. 19:100-107.
Mack KA, Jones CJ, Paulozzi LI (2013) Vital signs: overdoses of prescription opioid pain relievers
    and other drugs among women - United States, 1999-2010. MMWR Morb Mortal Wkly
    Rep 62:537-42.

Mathers DA, Barker JL (1980) Pentobarbital opens ion channels of long duration in cultured
    mouse spinal neurons. Science 209:507-509.

Meredith P (2003) Bioequivalence and other unresolved issues in generic drug substitution. Clin
    Ther. 25:2875-2890.
Miyake Wet al. (2010) Electroencephalographic response following midazolam-induced general
     anesthesia: relationship to plasma and effect-site midazolam concentrations. J. Anesthesia
     24:386-393.

Musshoff F, Padosch S, Steinborn S, Madea B (2004) Fatal blood and tissue concentrations of
    more than 200 drugs. Forensic Sci Int 2004, 142: 161-210.
Olsen RW, Snowman AM (1982) Chloride-dependent enhancement by barbiturates of gamma-
     aminobutyric acid receptor binding. J Neurosci. 2:1812-1823.
Perry SW (1985) Psychological reactions to pancuronium bromide. Am J Psychiatry 142:1390-
      1391.



                                           Page 41 of45

                                                                                Exhibit 16 Page 41
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 241 of 534



                                                            Expert Report: AR lethal injection pharmacology

Pieters T, Sn elders S (2007) F,rom King Kong pills to mother's little helpers--career cycles of two
      families of psychotropic drugs: the barbiturates and benzodiazepines. Can Bull Med Hist.
      24:93-112.
Potyk DK (1998) Overview of anesthesia for primary care physicians. West J Med. 168:517-521.

Regenthal R, Krueger M, Koeppel C, Preiss R (1999) Drug levels: therapeutic and toxic
    serum/plasma concentrations of common drugs. J Clin Monit Comput 15: 529-544
Reves JG, Fragen RJ, Vinik HR, Greenblatt DJ (1985) Midazolam: pharmacology and uses.
     Anesthesiology 62 :310-324.
Rogers CJ, Twyman RE, Macdonald RL (1994) Benzodiazepine and beta-carboline regulation of
     single GABAA receptor channels of mouse spinal neurones in culture. J Physiol. 475:69-82.
Rosales CM et al. (2007) Sevoflurane concentrations in blood, brain, and lung after sevoflurane-
     induced death. J Forensic Sci. 52:1408-1410.
Rosenberg M, Weaver J (1991) General anesthesia. Anesth Prog. 38:172-186.
Rovira C, Ben-Ari Y (1999) Developmental study of miniature IPSCs of CA3 hippocampal cells:
      modulation by midazolam. Brain Res Dev Brain Res. 114:79-88.
Rusch D, Forman SA (2005) Classic benzodiazepines modulate the open-close equilibrium in
     alphalbeta2gamma2L gamma-aminobutyric acid type A receptors. Anesthesiology
     102:783-792.
Sakai EM et al. (2005) Inhalation anesthesiology and volatile liquid anesthetics: focus on
      isoflurane, desflurane, and sevoflurane. Pharmacotherapy 25:1773-1788.
Sancar F, Czajkowski C (2010) Allosteric modulators induce distinct movements at the GABA-
     binding site interface of the GABA-A receptor. Neuropharmacology. 60:520-528.
Sandler NA (2000) Additional clinical observations utilizing bispectral analysis. Anesth Prog.
     47:84-86.
Schulz M, lwersen-Bergmann S, Andresen H, Schmoldt A (2012) Therapeutic and toxic blood
     concentrations of nearly 1,000 drugs and other xenobiotics. Crit Care. 16:R136.
Schwagmeier R, Alincic S, Striebel HW (1998) Midazolam pharmacokinetics following
    intravenous and buccal administration. Br J Clin Pharmacol. 46:203-206.
Senat MV, Fischer C, Ville Y (2002) Funipuncture for fetocide in late termination of pregnancy.
     Prenat Diagn. 22:354-356.
Sessions JT Jr, Minkel HP, Bullard JC, lngelfinger FJ (1954) The effect of barbiturates in patients
     with liver disease. J Clin Invest. 33:1116-1127.
Sfakianaki AK, Davis KJ, Copel JA, Stanwood NL, Lipkind HS (2014) Potassium chloride-induced
      fetal demise: a retrospective cohort study of efficacy and safety. J Ultrasound Med.
      33:337-341.
Sieghart W (2015) Allosteric modulation of GABAA receptors via multiple drug-binding sites.
     Adv. Pharmacol. 72:53-96.


                                            Page 42 of 45

                                                                                  Exhibit 16 Page 42
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 242 of 534



                                                          Expert Report: AR lethal irifection pharmacology

Sieghart W, Ramerstorfer J, Sarto-Jackson I, Varagic Z, Ernst M (2012) A novel GABA. receptor
     pharmacology: drugs interacting with the a·ll interface. Brit. J. Pharmacol. 166:476-485.
Sigel E, Baur R (1988) Allosteric modulation by benzodiazepine receptor ligands of the GABAA
      receptor channel expressed in Xenopus oocytes. J Neurosci. 8:289-295.
Sigel E, Barnard EA (1984) A gamma-aminobutyric acid/benzodiazepine receptor complex from
      bovine cerebral cortex. J. Biol. Chem. 259:7219-7223.
Sigel E, Steinmann ME (2012) Structure, function, and modulation of GABAA receptors. J. Biol.
      Chem. 287:40224-40231.
Skerritt JH, Macdonald RL (1984) Benzodiazepine receptor ligand actions on GABA responses.
     Benzodiazepines, CL 218872, zopiclone. Eur J Pharmacol. 101:127-134.
Smith RB, Dittert LW, Griffen WO, Doluisio JT (1973) Pharmacokinetics of pentobarbital after
     intravenous and oral administration. J Pharmaco Biopharm 1:5-16.
Smith SM, Brown HO, Toman JEP, Goodman LS (1947) The lack of cerebral effects of d-
     tubocurarine. Anesthesiology 8:1-14.
Study RE, Barker JL (1981) Diazepam and (-)-pentobarbital: Fluctuation analysis reveals different
     mechanisms for potentiation of y-aminobutyric acid responses in cultured central
     neurons. Proc. Natl. Acad. Sci. USA 78:7180-7184.
Thomsen JL, Nielsen CV, Eskildsen KZ, Demant MN, Gatke MR (2015) Awareness during
    emergence from anaesthesia: significance of neuromuscular monitoring in patients with
    butyrylcholinesterase deficiency. Br J Anaesth. 115 Suppl l:i78-i88.
Toon S, Rowland M (1983) Structure-pharmacokinetic relationships among the barbiturates in
     the rat. J Pharmacol Exp Ther. 225:752-763.
Topulos GP, Lansing RW, Banzett RB (1993) The experience of complete neuromuscular
     blockade in awake humans. J Clin Anesth. 5:369-374.
Veldhorst-Janssen NM, Fiddelers AA, van der Kuy PH, Theunissen HM, de Krom MC, Neef C,
     Marcus MA (2011) Pharmacokinetics and tolerability of nasal versus intravenous
     midazolam in healthy Dutch volunteers: a single-dose, randomized-sequence, open-label,
     2-period crossover pilot study. Clin Ther. 33:2022-2028.
Weaver CS, Hauter WH, Duncan CE, Brizendine EJ, Cordell WH (2007) An assessment of the
    association of bispectral index with 2 clinical sedation scales for monitoring depth of
    procedural sedation. Am J Emerg Med. 25:918-924.
Webster LR, Cochella S, Dasgupta N, Fakata KL, Fine PG, Fishman SM, Grey T, Johnson EM, Lee
    LK, Passik SD, Peppin J, Porucznik CA, Ray A, Schnall SH, Stieg RL, Wakeland W (2011) An
    analysis of the root causes for opioid-related overdose deaths in the United States. Pain
    Med. Suppl 2:S26-35.
Wetherton AR, Corey TS, Buchino JJ, Burrows AM (2003) Fatal intravenous injection of
    potassium in hospitalized patients. Am J Forensic Med Pathol. 24:128-131.
White JM, Irvine RJ (1999) Mechanisms of fatal opioid overdose. Addiction 94:961-972.


                                          Page 43 of 45

                                                                                 Exhibit 16 Page 43
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 243 of 534



                                                        Expert Report: AR lethal irifection pharmacology

Williams RH (1973) Potassium overdosage: a potential hazard of non-rigid parenteral fluid
      containers. Br Med J. 1:714-715.
Winek CL, Wahba WW, Winek CL Jr, Balzer TW (2001) Drug and chemical blood-level data 2001.
    Forensic Sci Int 122: 107-123.
Woodcock J, Rapper AH, Kennedy SK (1982) High dose barbiturates in non-traumatic brain
    swelling: ICP reduction and effect on outcome. Stroke 13:785-757.

Yoo KY, Jeong CW, Jeong HJ, Lee SH, Na JH, Kim SJ, Jeong ST, Lee J (2012) Thiopental dose
     requirements for induction of anaesthesia and subsequent endotracheal intubation in
     patients with complete spinal cord injuries. Acta Anaesthesia! Scand. 56:770-776.

Zand F, Hadavi SM, Chohedri A, Sabetian P (2014) Survey on the adequacy of depth of
     anaesthesia with bispectral index and isolated forearm technique in elective Caesarean
     section under general anaesthesia with sevoflurane. Br J Anaesth. 112:871-878.




                                         Page 44 of45

                                                                               Exhibit 16 Page 44
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 244 of 534



                                                      Expert Report: AR lethal·injection pharmacology




STATE OF OKLAHOMA              )
                               ) SS
COUNTY OF TULSA                )



        Now on this4/~ay of March, 2017, Craig W. Stevens, a person whose identity was
satisfactorily proven) appeared before me and, after first being pJ(lced under oath, did
acknowledged his signature above to be his own voluntary act and deed, and affirmed that the
facts contained herein were true.


Witness my hand and official seal


No~~~
Print Name


My Commission Expires      /     I dJ~/ dflt.?~/




                                        Page4S of45
                                                                             Exhibit 16 Page 45
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 245 of 534




                       DECLARATION OF JOEL ZIVOT, MD

1. I received my Doctor of Medicine from the University of Manitoba, Canada, in 1988.

   From 1989-1993, I was a resident in Anesthesiology at the University of Toronto,

   Department of Post Graduate Medical Education, and from 1993-1995, I completed an

   additional residency in Anesthesiology and a Fellowship in Critical Care Medicine at the

   Cleveland Clinic Foundation, Department of Anesthesiology in Cleveland, Ohio.

2. I hold an active medical license from the State of Georgia and have held unrestricted

   medical licenses in Ohio, the District of Columbia, Michigan, and the Canadian

   provinces of Ontario and Manitoba. I also hold an active license to prescribe narcotics

   and other controlled substances from the federal Drug Enforcement Administration

   (DEA).

3. I hold board certification in Anesthesiology from the Royal College of Physicians and

   Surgeons of Canada and the American Board of Anesthesiology. I am also board certified

   in Critical Care Medicine from the American Board of Anesthesiology.

4. I have served as the Medical Director of the Cardio-Thoracic Intensive Care Unit and the

   Fellowship Director for Critical Care Medicine at Emory University Hospital. I am an

   Associate Professor of Anesthesiology and Surgery at the Emory University School of

   Medicine and an adjunct Professor of Law at Emory University Law School.

5. I have practiced anesthesiology and critical care medicine for 22 years, and, in th&t

   capacity, I have personally performed or supervised the care of more than 42,000

   patients.

6. I am, by reason of my experience, training, and education, an expert in the fields of

   anesthesiology and critical care medicine. The opinions that follow are within my field of




                                                                           Exhibit 17 Page 1
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 246 of 534




    expertise, and are stated to a reasonable degree of medical and scientific certainty unless

    otherwise noted. I believe that my ethical duties prevent the participation in lethal

    injection. The opinions below express my medical opinion regarding the risks of the

    lethal injection procedure designed by the state and should not be construed as an attempt

   to assist the state in developing a better way to perform executions.

7. At the request of counsel, I reviewed Arkansas's lethal injection procedure, titled

   ''Attachment C." Based on the review of that document, and my medical training and

   experience, I offer the following opinions.

8. The state of Arkansas uses a three-drug protocol involving Midazolam, Vecuronium

   Bromide, and Potassium Chloride.

9. The use of Midazolam is an inappropriate drug for lethal injection. In a surgical setting it

   is used as a sedative and in combination with other drugs. It is not used on its own to

   induce general anesthesia and is not capable of rendering a patient unaware or insensate

   to pain. The company that created Midazolam never contemplated that it would be used

   in the execution of prisoners.

10. Midazolam is prepared as a liquid and the solution is rendered at a pH of2.5-3.5 Strong

   acids like Midazolam risk precipitation when mixed with weak acids or bases. The pH of

   normal saline is 5-6 and the mixing of Midazolam with normal saline runs the real risk of

   the formation of a salt precipitate. This precipitate compound will risk the obstruction of

   the intravenous preventing any further drug administration. Midazolam precipitate is

   pharmacologically inactive and will lower the total amount of Midazolam delivery in a

   completely unpredictable fashion.




                                              2
                                                                             Exhibit 17 Page 2
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 247 of 534




11. Midazolam injection in large doses as contemplated in the Arkansas lethal injection

   protocol has been associated with paradoxical hyper-reactivity reactions. This

   paradoxical reaction will be seen as intense agitation and movement. In this state,

   increasing the dose ofMidazolam will only further exacerbate this agitation.

12. Vecuronium Bromide is a paralytic that, when administered, blocks the capacity of

   movement in a particular group of muscles known as skeletal muscles. Paralytics act only

   on skeletal muscles and have no effect on smooth or cardiac muscle. The inability to

   breathe as a consequence ofVecuronium induced muscle paralysis would be akin to the

   experience of suffocation. A person would still have the desire and need to breathe but

   would be completely unable to do so. Midazolam will not in any way block the sensation

   for the need to breathe.

13. Potassium, available as Potassium Chloride, is a naturally occurring element necessary

   for normal bodily functions in a number of human physiological systems. Of importance

   here is the effect of Potassium Chloride on the heart. As potassium rises outside of the

   heart cell, depolarization is increasingly blocked until a point at which the heart cell is

   essentially held in place and cannot contract. At his point, the heart ceases to function in

   any capacity. The lack of heart muscle contraction causes the blood pressure to drop. The

   lack of blood flow, which carries oxygen to each cell in the body, ceases and progressive

   and rapid multi-organ failure ensues. Potassium Chloride, when injected into the body,

   produces an intense burning sensation of the veins. Midazolam is not a pain reliever in

   any dose and is insufficient to prevent the experiencing of burning by the prisoner.




                                              3
                                                                             Exhibit 17 Page 3
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 248 of 534




14. As a general matter, my review of the protocol shows that the execution process involves

   multiple complex tasks that, to be done without risking serious injury to the prisoner,

   require a high-level of skill and training.

15. I am aware the Arkansas Department of Correction has a supply ofMidazolam that lists

   the expiration date as April 2017. My understanding of expiration dates and drug potency

   is based on my years of medical training and practice. An expiration date is an estimate

   of the date at which the drug manufacturer expects that the drug will either change or

   transform into something that 1) loses its efficacy or 2) becomes poison. As a

   practitioner, I would not use a drug in the month at which it is stated to expire. I do not

   feel confident that it can be relied upon to perform its expected function.

16. Arkansas's lethal injection protocol calls for the preparation of syringes at a different

   location in advance of the execution. In my opinion, this practice creates a needless risk

   of contamination or degradation of the chemicals. An ampule of Midazolam, or any other

   sterile injectable compound, is sterile while it is in the ampule. As soon as the seal is

   broken, it is no longer sterile. In my practice, I would insert the syringe into the ampule,

   draw the solution into the syringe, and inject it immediately. The delay used by the

   protocol creates the risk that the drug will be mislabeled, contaminated, and at increased

   risk of falling out of solution as a precipitate.

17. Setting of IVs is crucial to the successful delivery of a substance into the circulatory

   system. Multiple or unsuccessful attempts to set an IV can cause perforations in the veins

   and infiltration of the tissue surrounding the vein. When this happens, the substance that

   was meant to circulate throughout the body will instead pool in the tissue and not reach

   the systems of the body necessary for it to have its intended effect.




                                                 4
                                                                             Exhibit 17 Page 4
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 249 of 534




18. Insertion of a central line is a complicated medical procedure that is not done by nurses,

   or EMTs. A physician's assistant may insert a central line under the supervision of a

   physician. The central line accesses the circulatory system through a large vein in the

   neck, chest, or groin. The vein accessed through a central line is not visible to the eye

   through the skin. In order to safely place a central line in a clinical setting, I would use an

   ultrasound machine and a central line kit. The lethal injection protocol allows for the

   placement of a central line 'Yith no way of determining where the prisoner's vein is and

   no clear expertise within the personnel of the execution team. Blindly stabbing at the

   neck, chest, or groin could hit an artery or a nerve, causing pain and blood loss. A

   misplaced central line may be hard to verify and an individual placing this line may be

   under a false impression that the line is properly positioned. In a clinical setting, a follow

   up chest x-ray is required prior to using a central line that has been placed in the chest to

   verify the proper placement and rule out the presence of a collapsed lung. Such lung

   collapse when occurring can lead to a tension pneumothorax that can be in itself fatal.

   Death in this circumstance would be as a consequence of suffocation and cardiovascular

   collapse.

19. The amount of liquid Midazolam called for in the protocol is roughly a third to a half of

   the volume of liquid in a standard Styrofoam cup. The plan calls for it to be injected in

   two syringes. The syringes will have to be quite large. Pushing that amount of liquid out

   of such a large syringe creates a great amount of pressure at the point where the liquid

   exists the syringe. A vein can only withstand so much pressure. When a large amount of

   fluid runs into a vein, especially at a rapid rate, the vein can rupture. In a clinical setting

   2-4 mg would normally be administered over a minute. The Arkansas lethal injection




                                              5
                                                                               Exhibit 17 Page 5
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 250 of 534




    protocol intends to inject 10-20 times this quantity over the same length of time. A real

   danger exists to vein patency and serious pain on injection. In a clinical setting, in order

   to modulate the speed of the injection, and prevent rupture, I would sit by the side of the

   patient and look at their vein while I was plunging the drug. I understand that the

   Arkansas lethal injection procedure calls for the person plunging the syringe to be in a

   separate room from the inmate. Viewing a vein through a window will not allow a person

   to have adequate sight of the vein in order to prevent rupture and properly modulate the

   injection.

20. The protocol purports to require that the inmate be determined to be "unconscious" after

   the administration of the Midazolam. "Unconscious" is an exceedingly vague term in

   scientific circles. The protocol does not provide any guidance to the execution team to

   judge whether the prisoner is "unconscious." General anesthesia is not same thing as

   "unconsciousness." General anesthesia is a state in which a person can undergo noxious

   stimuli and 1) does not experience it in the moment and 2) does not recall it. In contrast, a

   person can be seemingly unresponsive and still experiencing stimulus. Certain noxious

   stimuli will lift a person from what might at first glance appear to be a state of

   unresponsiveness. Many people have had the experience of not being awoken by their

   alarm clock but hearing the alarm clock in their dreaming state. An outside observer

   would have no way of knowing that the sleeping person was hearing the alarm clock.

   This example shows that simple observation is insufficient to determine levels of

   anesthesia and has no capacity to confirm the sort of unresponsiveness contemplated by

   the lethal injection protocol.




                                             6
                                                                            Exhibit 17 Page 6
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 251 of 534




21. An anesthesiologist is as much of an expert in consciousness as you can find. However,

    neither I, nor my peers, would ever attempt to assess anesthetic level by visual inspection

    alone. In a hospital setting, I would not give the okay for a surgeon to cut a patient just by

    looking at them. Instead, I use equipment to measure physiological signs such as heart

   rate, blood pressure, brain activity, before allowing painful procedures to proceed. In

   addition, it is important to continually monitor anesthetic depth as it is dynamic. There

   may be subtle physiological changes in the body that show that a person is reacting to

   painful stimuli. For example, ifthe heart rate increased from 60 bpm to 70 bpm, that

   would be a signal that I may need to give additional medicine. The protocol provides for

   no modification based on inmate signs and symptoms after the 500 mg ofMidazolam has

   been injected. The well-known ceiling effect ofMidazolam renders additional dosage

   completely superfluous.

22. It is my professional opinion that because the protocol uses a sedative rather than an

   anesthetic, fails to use personnel trained in assessing anesthetic depth, fails to instruct the

   personnel on signs of consciousness, and fails to provide equipment necessary to judge

   anesthetic depth, there is a serious risk that the prisoner will be able to feel and

   experience the injection and the effects of the Vecuronium Bromide and Potassium

   Chloride.

23. I have a great concern that the protocol does not provide a plan for resuscitation or

   antidote of the chemicals in the event that the execution fails. Based on my training and

   experience, I expect that the prisoner will never reach general anesthesia with the

   injection of Midazolam. I think a likely scenario is that after the first injection of the

   Vecuronium Bromide the prisoner will move, gasp, or otherwise show signs of




                                              7
                                                                              Exhibit 17 Page 7
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 252 of 534




    awareness. If this happens, and the Vecuronium Bromide is not reversed, the prisoner

    will suffocate. Vecuronium Bromide does have an antidote, Sugammadex. A safeguard in

    the event that the prisoner shows any signs of movement that will indicate awareness or

    "consciousness" would be an injection of Sugammadex.

24. It is also possible that the Midazolam may need to be reversed. Midazolam on its own is

   not a fatal drug, but it can cause airway collapse or cause confusion and lack of

   awareness in the patient that would cause them to fail to clear their own airway and

   choke. Midazolam can be reversed with Flumazenil.

25. Potassium Chloride can also be reversed through the sequential injection of insulin, D-50

   (dextrose and water), and calcium chloride.

26. In order to maximize the effects of the antidotes, the prison would also need to have on

   hand qualified personnel to start life-saving measures and have immediately available

   oxygen and a mask, an Ambu bag, a nerve stimulator to measure the degree of

   neuromuscular blockage, cardiac monitoring, pulse oxymeter and a blood pressure cuff.

   If the inmate is a diabetic, the prison would also need equipment and medicine to

   measure and treat abnormal blood sugar.

I swear that the foregoing is true and correct to the best of my knowledge under penalty of

perjury under the laws of the United States and the State of Arkansas.



  March 24, 2017
Date
                                                                         ~
                                                                Joel Zivot, M.D.




                                             8
                                                                           Exhibit 17 Page 8
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 253 of 534




                                                                                        /::'I(.
                                                                                        • '·. 11 1/JfB
                                                                                     Alic          li2 D
                IN THE UNITED STATES COURT OF APPEALS C!..t:tr~lSl., <*1·
                        FOR THE EIGHTH CIRCUIT
                                                                                            0""cou:,.8
                                               No. 16-3072

              In re: Missouri Department of Corrections, Petitioner



                            M7, Petitioner - Intervenor
                                               .. .. _.;..._____ ___________
                            _,..,_:..;..,.:...-.._ _.,.       .




                 Richard Jordan and Ricky Chase, Respondents.



       On Petition for Writ of Mandamus to the United States District Court
               for the Western District of Missouri - Jefferson City
                                (2:16-MC-09005)



                  RESPONDENTS' MOTION FOR LEAVE
                   TO FILE TRANSCRIPT UNDER SEAL


                                     James W. Craig
                                     Emily M. Washington
                                     Roderick & Solange MacArthur Justice Center
                                     4400 S. Carrollton Avenue
                                     New Orleans LA 70119
                                     (504) 620-2259 (p)
                                     (504) 208-3133 (f)
                                     jim.craig@macarthurjustice.org
                                     emily.washington@macarthurjustice.org

                                     Attorneys for Respondents


                                                                               RECE1\/
                                                                                   SEP 3 0
                                                                               U.S. COURT Or
                                                                                 EJGHTH CIRCUIT
  Appellate Case: 16-3072   Page: 1                       Date Filed: 09/30/2016 Entry ID: 4454684
                                                                                       Exhibit 18 Page 1
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 254 of 534




 RESPONDENTS' MOTION FOR LEAVE TO FILE TRANSCRIPT UNDER SEAL

       Richard Jordan and Ricky Chase, Respondents in the above-captioned

 mandamus proceeding, move this Court for leave to file a portion of the transcript

 of the hearing before District Judge Bough under seal. The transcript, attached to the

 paper copy of this motion, is designated "Exhibit 4-B" in Respondents' pleadings in

 opposition to the petitions for mandamus and rehearing filed by the Missouri

 Department of Corrections ("MO-DOC") and M7. In support of this motion,

 Respondents represent the following to the Court:

       I.      On July I, 2016, the United States District Court for the Western

 District of Missouri conducted a hearing on MO-DOC's motion to quash a subpoena

 duces tecum and notice of deposition served upon MO-DOC by Respondents.

       2.      A portion of the hearing was sealed with only MO-DOC and

 Respondents' attorneys present in the courtroom.

       3.      On September 20, 2016, the district court entered a Protective Order

 sealing the transcript of the in camera portion of the July 1 hearing. Doc. 38,

 Missouri Department of Corrections v. Jordan et al., case no. 2:16-mc-09005.

       4..     Under the terms of the Protective Order, the transcript of the in camera

 portion of the transcript can only be filed in the Eighth Circuit Court of Appeals

 under seal.




                                           2



  Appellate Case: 16-3072      Page: 2     Date Filed: 09/30/2016 Entry ID: 4454684
                                                                         Exhibit 18 Page 2
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 255 of 534




       5.     In addition to the sealed transcript, Respondents submit a brief

 Argument Regarding Matters in Sealed Transcript, setting forth the relevance of the

 sealed transcript to the issues before this Court.

       6.     Respondents believe that this Motion may be made publically available

 on PACER. See Local Ru~e 25A(g).

       WHEREFORE, PREMISES CONSIDERED, Respondents request that this

 Court grant leave to file the sealed portion of the July 1 transcript and the Argument

 Regarding Matters in Sealed Transcript under seal.

                                  Respectfully submitted,

                                  lslJame;v W. Craig
                                  James W. Craig
                                  Emily M. Washington
                                  Roderick & Solange MacArthur Justice Center
                                  4400 S. Carrollton Avenue
                                  New Orleans LA 70119
                                  (504) 620-2259 (p)
                                  (504) 208-3133 (t)
                                  jim.craig@macarthurjustice.org
                                  emily.washington@macarthurjustice.org

                                  Attorneys for Respondents




                                            3



  Appellate Case: 16-3072      Page: 3     Date Filed: 09/30/2016 Entry ID: 4454684
                                                                         Exhibit 18 Page 3
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 256 of 534




                            CERTIFICATE OF SERVICE

       I hereby certify that I have served a copy of this Motion on all parties by

 electronic mail. This pleading is not filed via the Electronic Case Filing system of

 the United States Court of Appeals for the Eighth Circuit.

       This, the 30th day of September, 2016.

                                       Isl J(lmes W. Crg.jg.




                                          4



  Appellate Case: 16-3072    Page: 4     Date Filed: 09/30/2016 Entry ID: 4454684

                                                                       Exhibit 18 Page 4
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 257 of 534




                                                                          FILE          o
                                                                          SEP 3 otUio
                IN THE~'fED$TATFJS1 COlJI{TOFAPPEALS MICHAEL GANS
                       J'QR. THE ElGHl'H CJRCIJI'f   Cl.ERK op COURI

                                      No. 16-3072
                                       J




              In re: Missouri Department of Corrections, Petitioner



                            M7, Petitioner - Intervenor

                            --------··....,---~     ·--- --.........___
                                                  ...   .......

                 Richard Jordan and Ricky Chase, Respondents.



       On Petition for Writ of Mandamus to the United States District Court
               for the Western District of Missouri - Jefferson City
                                (2:16-MC-09005)



                  RESPONDENTS' ARGUMENT
           REGARDING MATTERS IN SEALED TRANSCRIPT

                                James W. Craig
                                Emily M. Washington
                                Roderick & Solange MacArthur Justice Center
                                4400 S. Carrollton Avenue
                                New Orleans LA 70119
                                (504) 620-2259 (p)
                                (504) 208-3133 (f)
                                jim.craig@macarthurjustice.org
                                emily. washington@macarthurjustice.org

                                 Attorneys for Respondents




  Appellate Case: 16-3072    Page: 1         Date Filed: 09/30/2016 Entry ID: 4454684
                                                                          Exhibit 18 Page 5
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 258 of 534




                              RESPONDENTS' ARGlJMENT
                       REGARDING MATIERSIN SEALED1RANSCRIPT

            On July 1, 2016, the United States District Court for the Western District of

 Missouri conducted a hearing on MO-DOC's motion to quash a subpoena duces

 tecum and notice of deposition served upon MO-DOC by Respondents. A portion of

 the hearing was sealed with only MO-DOC and Respondents' attorneys present in

 the courtroom. The sealed transcript is designated as "Exhibit 4-B" in the

 Respondents' oppositions to the motions filed by the Missouri Department of

 Corrections ("MO-DOC") and M7, MO-DOC's anonymous drug vendor.

            During the in camera portion of the hearing, counsel for MO-DOC discussed

 matters set forth in the privilege log which had been submitted to the district court

 ex parte. Respondents' counsel did not have access to the ex parte privilege log.

            MO-DOC's counsel focused the Court's attention on Request No. 2 of the

 subpoena duces tecum under consideration in the district court. That request seeks

 production of "All drug labels and package inserts for any drug purchased or

 obtained by the Department, from 2010 to the present, for use in lethal injection

 executions." 1 MO-DOC counsel stated:

                     I'm primarily focused on request number 2 for documents
                     about pentobarbital ... if identified whether or not there is
                     a responsive document to that request, that answers the
                     question of whether it is or is not manufactured or

 1
     Exhibit 3 to Respondents' Opposition at 5.

                                                     1



     Appellate Case: 16-3072               Page: 2   Date Filed: 09/30/2016 Entry ID: 4454684
                                                                                  Exhibit 18 Page 6
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 259 of 534




                 compounded pentobarbital because manufactured
                 pentobarbital has that information, and compounded
                 pentobarbital does not have a package insert.

                 So by merely saying that there exists a document that
                 proves it's manufactured or proves that it's compounded,
                 that answers the question does Missouri use compounded
                 or manufactured pentobarbital. 2

         Thereafter, the district court stated "there are three responses that list No. 2." 3

 Counsel for MO-DOC agreed. 4

         Thus, there is evidence that at some point after 2010, MO-DOC purchased

 manufactured pentobarbital for use in lethal injection executions. All parties agree

 that pentobarbital can be purchased in one of two forms: either compounded by a

 licensed pharmacy from the active pharmaceutical ingredients for the chemical; or

 manufactured by a pharmaceutical company under FDA-approved and monitored

 practices. Akom Pharmaceuticals is the sole licensed manufacturer of pento barbital. 5

 Akom has instituted a policy restricting the sale of Nembutal to corrections

 departments for use in executions. 6

         The sale of manufactured pentobarbital by M7 or another vendor to MO-DOC

 would violate the property and contractual rights of Akom to determine how its


 2
   Exhibit 4-B at 8-9.
 3
   Id. at 10.
 4
   Id.
 5
    See Exhibit D (May 13, 2016 article) to Exhibit 15 (Declaration of Comptroller DiNapoli) to Respondent's
 Opposition.
 6
   Exhibit B to Exhibit 15 to Respondents' Opposition.

                                                     2



     Appellate Case: 16-3072          Page: 3       Date Filed: 09/30/2016 Entry ID: 4454684
                                                                                           Exhibit 18 Page 7
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 260 of 534




 product is used. For the reasons set forth in the Oppositions filed by Respondents in

 the public record, mandamus should be denied if this Court, or the district court,

 finds that MO-DOC and M7's attempt to safeguard the confidentiality of the identity

 of MO-DOC's lethal injection drug vendors would facilitate the violation of the

 rights of Akorn and its shareholders.

                                 Respectfully submitted,

                                 ls/James Jf. ct.aig
                                 James W. Craig
                                 Emily M. Washington
                                 Roderick & Solange MacArthur Justice Center
                                 4400 S. Carrollton Avenue
                                 New Orleans LA 70119
                                 (504) 620-2259 (p)
                                 (504) 208-3133 (t)
                                 jim.craig@macarthurjustice.org
                                 emily.washington@macarthurjustice.org

                                 Attorneys for Respondents




                                           3



  Appellate Case: 16-3072     Page: 4     Date Filed: 09/30/2016 Entry ID: 4454684

                                                                        Exhibit 18 Page 8
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 261 of 534




                            CERTIFICATE OF SERVICE

       I hereby certify that I have served a copy of this Argument on all parties by

 electronic mail. This pleading is not filed via the Electronic Case Filing system of

 the United States Court of Appeals for the Eighth Circuit.

       This, the 30th day of September, 2016.

                                        ls/Jmne,v W: Craig




                                          4



  Appellate Case: 16-3072     Page: 5     Date Filed: 09/30/2016 Entry ID: 4454684
                                                                        Exhibit 18 Page 9
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 262 of 534




            AFFIDAVIT OF JONATHAN I. GRONER. M.D.

   I, Jonathan I. Groner, M.D., do declare as follows:

      1)    I am a medical doctor and Professor of Clinical Surgery at

The Ohio State University College of Medicine. I graduated from

Northwestern University Medical School in 1984. I completed my

residency in General Surgery at the Medical College of Wisconsin and

in Pediatric Surgery at Nationwide Children's Hospital. I became

licensed to practice medicine in the State of Ohio in 1992 and remain

licensed to practice in Ohio. I was appointed to the faculty of The Ohio

State University College of Medicine in 1994. I practice surgery and

train medical students and residents in the practice of surgery. My

particular specialties include pediatric surgery, general surgery, and

trauma surgery.

      2)    I hold a certification in General Surgery and Pediatric

Surgery from the American Board of Surgery and have served as an

Examiner for the American Board of Surgery's General Surgery

Qualifying Examination. I also hold multiple certifications in advanced

burn life support and in advanced trauma life support. I have served as

the president of the Central Ohio Trauma Center and served orl. the

Ohio Emergency Medical Services Board.


                                    1

                                                            Exhibit 19 Page 1
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 263 of 534




      3)    I have done extensive research in the areas of pediatric

surgery, general surgery, and trauma surgery. My related research

interests include the impact of trauma on minority children, firearm

trauma, ATV injuries, child abuse, and physician participation in lethal

injection. I have published multiple peer-reviewed articles on the

administration of capital punishment by lethal injection. I am also the

author of The Hippocratic Paradox: the Role of the Medical Profession

in Capital Punishment in the United States, 35 FORDHAM URB. L.J. 883

(2008). In that article, I wrote that, assuming the shooters hit their

mark (the heart), execution by firing squad would be "nearly

instantaneous and painless." That is because the "[d]isruption of blood

flow to the brain, which would result from lacerations to the heart by

multiple bullets, causes almost immediate loss of consciousness,

resulting in rapid death with little or no pain."

      4)    Counsel for the Plaintiffs asked me to opine further upon

the comments I made in the Fordham article. I hold all opinions

expressed to a reasonable degree of medical certainty.

      5)    My analysis assumes the following execution procedure.

This procedure is consistent with the procedure the State of Utah used

in the 2010 execution of Ronnie Lee Gardner. I have reviewed the

protocol Utah followed during that execution.

                                     2

                                                             Exhibit 19 Page 2
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 264 of 534




            A.     The inmate is placed in a chair and strapped into

      position so that he/she is not capable of moving. The chair and

      restraints allow maximum exposure of the chest (as the inmate

      sits in a straight, upright position).

            B.    A prison official examines the inmate and locates the

     position of the inmate's heart by physical exam (palpation of the

      chest for pulse) or the use of a stethoscope (point of loudest

      audible heartbeat).

            C.    The official pins a target to the inmate's clothing

     ·indicating the location of the inmate's heart.

            D.    Four to five law enforcement officers aim high-

      caliber, long-barreled weapons at the target at close range.

            E.    When the order is given, the officers fire their guns at

      the target on the inmate's chest.

      6)    This procedure will cause a nearly instantaneous death for

the following reasons:

            A.     The location of the palpable heartbeat or the loudest

      audible heartbeat corresponds to the left ventricle, the largest

      pumping chamber of the heart. This is the chamber that pumps

      the blood out of the heart to the body.



                                      3

                                                              Exhibit 19 Page 3
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 265 of 534




               B.    A single bullet entering the left ventricle would tear a

      large hole in the left ventricle; multiple bullet holes would

      accelerate the process.

               C.    Blood that would normally flow out of the left

      ventricle into the aorta would immediately begin to flow out

      through the hole in the ventricle and fill the chest cavity with

      blood.

               D.    Cessation of blood flow in the aorta would cause

      immediate cessation of blood flow to the carotid arteries, which

      are the major blood supply to the brain.

               E.   Cessation of blood flow to the brain causes

      unconsciousness within seconds.

               F.   Death would follow soon after (3 to 4 minutes) from

      exsanguinating hemorrhage.

      7)       This swift death will also be painless. From my experience

as a trauma surgeon, it is clear that patients with gunshot wounds to

the heart with exsanguinating hemorrhage (loss of most of the blood

volume) are unconscious and do not react to pain. In fact, the rescue

maneuver for a person that has penetrating trauma to the heart who

arrives at the emergency department with waning signs of life-in

other words, someone who is bleeding to death from a hole in the

                                       4

                                                               Exhibit 19 Page 4
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 266 of 534




heart-is to perform an "Emergency Department thoracotomy,"

meaning that the chest is cut open immediately in an attempt to repair

the hole in the heart. This operation is done without anesthesia. It

involves cutting through skin and muscle between the ribs on the left

side under the nipple. The incision is usually at least 10-12 inches long.

An instrument is used to spread the ribs apart allowing visualization of

the heart and aorta. An attempt is made to repair the wound in the

heart.

         8)   It is my opinion that Utah's execution of Ronnie Lee

Gardner by firing squad caused a swift and painless death. The media

reported that Mr. Gardner pushed his left arm forward "about 2 inches

against the restraints," and "in that same motion, he closed his hand

and made a fist." See Nate Carlisle, Firing Squad: An Eyewitness

Account of Gardner's Execution, Salt Lake Tribune, June 18, 2010,

available at http://bit.ly/2eyfTND. This motion is consistent with reflex

contractions following massive trauma to his left pectoralis muscle and

ribs from the multiple high-velocity, large-caliber gunshot wounds.

There was no report of verbal reaction, which is probably the most

common manifestation of pain.

         9)   The current midazolam protocol has   a: far greater risk of
causing pain and suffering compared to the firing squad. Midazolam is

                                     5

                                                              Exhibit 19 Page 5
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 267 of 534




not a general anesthetic and, to my knowledge, is not used as a sole

agent for any surgical procedure. The administration of drugs to cause

respiratory arrest and c.ardiac arrest in an inmate medicated only with

midazolam is far more likely to cause a painful death.

       10)   In sum, based on my medical expertise and my review of

Utah's functioning firing-squad protocol, I reaffirm my earlier

conclusion that execution by firing squad will cause rapid death with

little to no pain.

      I declare under penalty of perjury under the laws of the United

States of America that the foregoing is true and correct.




                              Date




                                     6

                                                            Exhibit 19 Page 6
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 268 of 534




 TMF 01/01.00      GENERAL PROVISIONS

 TMF   01/01.01    Purpose of Technical Manual
 TMF   01/01.02    Cross Reference
 TMF   01/01. 03   Policy
 TMF   01/01.04    Definitions




 REVISED 06/10/10                                TMF 01/01 -   pg.1




                                                        Exhibit 20 Page 1
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 269 of 534




    •.' ~~   .· . ·.. •   j.       y   .:.


                               \•. ,_,..;:J.
                               '




                                                     Exhibit 20 Page 2
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 270 of 534




 TMF 01/01.00   GENERAL PROVISIONS

 TMF 01/01.01   Purpose of Technical Manual

                A.   The purpose of this Technical Manual is to
                     provide the Department's policies, procedures
                     and post orders for planning and carrying out
                     the sentence for the execution of a person
                     convicted of a capital offense.

                B.   This chapter shall include policies and
                     procedures related to:

                     1.      planning and preparation;

                     2.      execution of the sentence;

                     3.      post-execution requirements and process;

                     4.      security and control;

                     5.      witnesses and official visitors

                     6.      news media access limitations and
                             briefing;

                     7.      delays, stays, and commutations;

                     8.      support services functions;

                     9.      briefing and training; and

                     10.     documentation, review and audit.

                C.   Post orders are included for the staff and
                     others involved in the execution planning,
                     implementation, documentation and review.

 TMF 01/01.02   Cross Reference

                A.   Department Policies and Procedures Manuals

                     AGr05     Media Relations
                     FDrl4     Inmate Property

                B.   Other Authority

                     UCA 77-19-6       Judgement of death-Warrant-
                                       Deli very of warrant-
                                       Determination of execution
                                       time.


 REVISED 06/10/10                                    TMF 01/01 - pg.2




                                                            Exhibit 20 Page 3
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 271 of 534




                      UCA 77-19-10   Judgement of death~Location
                                     and procedures for execution.
                      UCA 77-19-11   Who may be present-
                                     Photographic and recording
                                     equipment.
                      UCA 77-19-12   Return upon death warrant.
                      UCA 26-4-6     Investigation of deaths by
                                     county attorney-Requests for
                                     autopsies.
                      UCA 26-4-7     Deaths over which medical
                                     examiner has jurisdiction.
                      BPPPM 3.12     Commutation Hearings for Death.
                                     Penalty Cases

  TMF 01/01.03   Policy

                 It is the policy of the Department that:

                 A.   execution of persons sentenced to death under
                      Utah law by a court of competent authority
                      and jurisdiction be carried out in the
                      legally prescribed manner;

                 B.   the Department shall make every effort in the
                      planning and preparation of the execution
                      event to ensure that the execution process:

                      1.   adheres to the intent of the law;

                      2.   is handled in a manne'r which minimizes
                           negative impact on the safety, security
                           and operational integrity of the prison;

                      3.   accommodates the need for public access
                           to information concerning the event;

                      4.   reasonably addresses the privacy
                           interests of those persons for whom the
                           law, Department policy or commonly-held
                           principles of decency require such
                           privacy;

                      5.   provides sufficient staffing to ensure
                           that unplanned problems can be
                           accorrunodated and overcome;

                      6.   prepares for stays of execution,
                           commutations and other delays in the
                           execution count-down;

                      7.   provides an opportunity for interested
                           persons to exercise their First

  REVISED 06/10/10                               TMF 01/01 -   pg.3




                                                        Exhibit 20 Page 4
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 272 of 534




                          Amendment rights to demonstrate for or
                          against capital punishment in a lawful
                          manner;

                     8.   ensures a firm and adequate response to
                          unlawful civil disobedience, trespass,
                          or other violations of the law by
                          persons attempting to disrupt, prevent
                          or other-wise frustrate the lawful
                          process associated with the execution;
                          and

                     9.   anticipates and provides for sufficient
                          support needs for the execution and the
                          prison as a whole;

                C.   the Department shall arrest and encourage the
                     prosecution of persons, including but not
                     limited to, those who:
                      \
                     1.   violate 77-19-11 UCA prohibitions
                          against filming, taping, sketching,
                          broadcasting or otherwise electronically
                          documenting the death of the condemned;

                     2.   trespass or otherwise enter upon prison
                          property without proper permission and
                          clearance from the Department;

                     3.   participate in unlawful demonstrations;

                     4.   unlawfully attempt to or disrupt,
                          prevent or otherwiie interfere with the
                          execution;

                     5.   being inmates, are involved in
                          disruptive, assaultive or other
                          proscribed behavior; or

                     6.   unlawfully threaten, intimidate or
                          terrorize persons involved in the
                          execution process;

                D.   staff involved in   the execution make every
                     effort within the   requirements and limits of
                     these police? and   procedures and the laws of
                     the State of Utah   to:

                     1.   minimize the anxiety and negative impact
                          of the execution on the victim's and
                          inmate's family and friends witnessing
                          the execution;

 REVISED 06/10/10                                 TMF 01/01 - pg.4




                                                         Exhibit 20 Page 5
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 273 of 534




                      2.    display appropriate levels of
                            professionalism, restraint, and courtesy
                            in interaction with witnesses,
                            demonstrators, news media, and other
                            non-staff persons during the execution
                            process; and

                      3.    not permit interactions, emotion or
                            intimidation to prevent their proper
                            handling of missions and duties;

                 E.   the Department review the adequacy and/or the
                      performance of:

                      1.    the policies and procedures employed;

                      2.    the Department staff members involved in
                            the execution;

                      3.   members of allied agencies assisting
                           with the execution; and

                      4.   statutes and other authority impacting
                                               the execution; and

                 F.   the evaluation of each execution event be
                      used to improve operational procedures for
                      the future.

  TMF 01/01.04   Definitions

                 al.lied agency       refers to another criminal
                                      justirze agency

                 Attorney General's   staff at the Attorney
                 Off ice              General's Office or any
                                      designated contract attorney
                                      approved to carry out the
                                      responsibilities described in
                                      this technical manual

                 attorney of record   the condemned inmate's
                                      attorney and other assisting
                                      legal personnel




  REVISED 06/10/10                                TMF 01/01 - pg.5




                                                         Exhibit 20 Page 6
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 274 of 534




                 broadcast media      refers to radio and television
                                      media

                 civilians            any person not a member of the
                                      Department, allied law
                                      enforcement agency, nor mutual
                                      aid agencies




                 Command Post         the member who is assigned to
                 Director             supervise the command post
                                      functions and activities

                 commutation          the change from a greater to a
                                      lesser punishment after
                                      conviction




                 drug injection       box or boxes each of which
                 box                  shall contain one complete
                                      set-up for lethal injection;
                                      with or without drugs

                 execution building   refers to the area
                                                     containing the
                                      execution chamber

                 execution            the immediate enclosed areas
                 chamber              containing the condemned at
                                      the moment of execution




  REVISED 06/10/10                                TMF 01/01 - pg.6




                                                         Exhibit 20 Page 7
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 275 of 534




                 mutual aid           agencies or personnel that
                                      provide medical, fire
                                      suppression, and other support
                                      services to the Draper site

                 news magazines       magazines having a national
                                      circulation being sold by news
                                      stands to the general public
                                      and by mail circulation

                 news media           collectively refers to those
                                      involved with news gathering
                                      for newspapers, news
                                      magazines, radio, television
                                      or news services
                 news media members   persons over the age of
                                      eighteen who are primarily
                                      employed in the business of
                                      gathering or reporting news
                                      for newspapers, news
                                      magazines, national or
                                      international new services or
                                      radio or television stations
                                      licensed by the Federal
                                      Communications Commission

                 newspaper            for purposes of this chapter,
                                      the publication:
  REVISED 06/10/10                                TMF 01/01 - pg.7




                                                          Exhibit 20 Page 8
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 276 of 534




                                   1.   circulates among the
                                        general public;

                                   2.   publishes legal notices
                                        in the community in which
                                        it is located or the _area
                                        to which it distributes;
                                        and

                                   3.   contains items of general
                                        interest to the public
                                        such as political,
                                        commercial, religious or
                                        social affairs




                pardon             an act of grace by an
                                   appropriate authority
                                   exempting a person from
                                   punishment for a crime

                press              refers to the print media;
                                   also see "news media",
                                   generally

                reprieve           the temporary suspension of
                                   the execution

                respite            see "reprieve"




                security           the curtains which cover the
                curtains           viewing room windows in the
                                   executionchamber

                Warden             warden assigned to the Draper
                                   site

                witness viewing    the areas from which the
 REVISED 06/10/10                              TMF 01/01 - pg.8




                                                       Exhibit 20 Page 9
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 277 of 534




                 area               execution is viewed by
                                    government witnesses, inmate's
                                    witnesses and news media
                                    witnesses




  REVISED 06/10/10                              TMF 01/01 -   pg.9




                                                      Exhibit 20 Page 10
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 278 of 534




 TMF 01/02.00   PRE-EXECUTION CHECKLIST

 TMF 01/02.01   General Provisions
 TMF 01/02.02   Prior to Receiving Death Warrant
 TMF 01/02.03   Receipt of Death Warrant to Thirty Days Prior to
                Execution
 TMF 01/02.04   Twenty-Nine to Fourteen Days Prior to the
                Execution
 TMF 01/02.05   Thirteen to Seven Days Prior to Execution
 TMF 01/02.06   Six to Three Days Prior to Execution
 TMF 01/02.07




 REVISED 06/10/10                              TMF 01/02   - pg. 10




                                                       Exhibit 20 Page 11
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 279 of 534




  TMF 01/02.00   PRE-EXECUTION CHECKLIST
  TMF 01/02.01   General Provisions
                 A.   Purpose of Chapter

                      1.   The purpose of this chapter is to
                           provide a checklist of procedures and
                           events which should occur between the
                           issuing of the death warrant and 24
                           hours prior to the execution.

                      2.   Full detail will not be provided for
                           each procedure or event in this chapter.
                            For detail, reference will be made to
                           Chapter TMF 01/05 and other chapters
                           where such detail may be found.

                      3.   This chapter will be divided to cover
                           the following time periods:

                           a.   prior to the death warrant being
                                issued;
                           b.   issuing of death warrant to 30 days
                                prior to the execution;
                           c.   14 to 29 days prior to the
                                execution;
                           d.   7 to 13 days prior to the
                                execution;

                           e.   3 to 6 days prior to the execution;
                                and

                           f.


                 B.   Policy

                      1.   It is the policy of the Department that
                           the count-down to the execution be
                           completed in a systematic manner to
                           ensure that all procedures and events
                           which are necessary in the preparation
                           of the execution are completed in a
                           timely manner.


  REVISED 06/10/10                              TMF 01/02    - pg.11




                                                       Exhibit 20 Page 12
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 280 of 534




                       2.    ·This count-down, though offering
                              flexible application, should be observed
                              and followed as written unless deviation
                              or adjustment is required for carrying
                              out the execution.

                       3.    The Executive Director/designee may
                             direct deviation from or adjustment to
                             the policies and procedures in this
                             manual at any time when necessary for
                             the good of the Department's mission in
                             carrying out the execution. Approval
                             for the changes shall be documented in
                             writing .

. TMF 01/02. 02   Prior to Receiving Death Warrant

                  A.   Execution Planning Team

                       When it appears an execution is imminent,
                       prior to the issuing of the death warrant,
                       the Warden shall select an Execution Planning
                       Team. The Team mayinclude:

                       1.

                       2.

                       3.

                       4.


                       5.

                       6.

                       7.

                       8.

                       9.


                       10.

                       11.




 REVISED 06/10/10                                 TMF 01/02   - pg. 12




                                                          Exhibit 20 Page 13
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 281 of 534




                 B.   Involve Additional Planning Assistance

                      Other persons who may be invited to attend on
                      a meeting-by-meeting basis, include:

                      1.   a representative or representatives from
                           the Attorney General's Officei

                      2.   a representative from the office of the
                           County Attorney which prosecuted the
                           condemned;

                      3.   a representative from the Board of
                           Pardons and Parole;

                      4.   representatives from the law enforcement
                           agencies which investigated the case
                           involving the condemned;

                      5.   representatives from law enforcement and
                           other allied agencies who may be asked
                           to assist with various aspects of the
                           execution; and

                      6.   any other persons deemed necessary or
                           appropriate by the Executive
                           Director/designee, DIO Director or
                           Warden.

                 C.   Develop Assignments-

                      When it is reasonable to believe a death
                      warrant will be issued in the near future,
                      the Execution Planning Team and those
                      additional persons deemed appropriate shall
                      meet to:

                      1.   review the Execution Plan (TMF 01);

                      2.   make assignments for the pending
                           executioni

                      3.   develop a schedule of events;

                      4.   assign responsibilities related to
                           revision of the Execution Plan, if
                           needed; and

                      5.   take any other steps necessary to
                           prepare for the issuance of the

  REVISED 06/10/10                              TMF 01/02      - pg. 13




                                                           Exhibit 20 Page 14
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 282 of 534




                          deathwarrant and begin the execution
                          count down.

                D.   Identify Possible Execution Dates

                     1.   The Execution Planning Team shall review
                          the Department's schedule of events and
                          identify favorable and unfavorable dates
                          within the period of time in which the
                          execution may be ordered.

                     2.   Information concerning the Department's
                          requests/concerns related to scheduling
                          shall be communicated to the Attorney
                          General's Office to be co"mmunicated to
                          the sentencing court.


 TMF 01/02.03   Receipt of Death Warrant to Thirty Days Prior to
                Execution

                Upon receipt of a death warrant from a competent
                court, the following procedures shall be initiated
                and should be completed at least 30 days prior to
                execution.

                A.   Receipt of Death Warrant

                     1.   Upon receipt of the death warrant and as
                          soon as practical thereafter, a meeting
                          of the Execution Planning Team shall be
                          scheduled by the Warden.

                     2.   The Execution Planning Team shall then
                          coordinate the implementation of the
                          procedures set forth in this technical
                          manual under the direction of the
                          Warden.




                B.   Time and Place of Execution

                     1.   Date

                          The date for the execution shall be that
                          day set by the sentencing judge.


 REVISED 06/10/10                               TMF 01/02    - pg. 14




                                                         Exhibit 20 Page 15
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 283 of 534




                      2.   Time

                           "The Department of Corrections shall
                           determine the hour, within the appointed
                           dayr at which the judgment is executed."
                            77-19-6(3)

                      3.   Location




                 C.   Condemned Inmate's Choice of Witnesses

                      1.   The condemned inmate shall be informed
                           that he may designate religious
                           representativesr friends, or relatives
                           not- exceeding a total of five in number
                           to witness the execution. 77-19-11 (2)
                           (d)UCA

                      2.   Refer to TMF 01/07.

                 D.   Disposition of Personal Property

                      1.   The inmate shall be contacted for
                           instructions concerning the disposition
                           of his personal property.

                      2.   Refer to TMF 01/05.06.

                 E.   Disposition of Funds in Inmate's Account

                      1.   The condemned shall be contacted for
                           instructions concerning the disposition
                           of the funds in any accounts controlled
                           or administered by the prison or
                           Department.

                      2.   Refer to TMF 01/05.06 and TMF 01/05.07.

                 F.   Organ Donation

                      Organ donation is not an option for condemned
                      inmates.

                 G.   Disposition of Body


  REVISED 06/10/10                               TMF 01/02     - pg. 15




                                                         Exhibit 20 Page 16
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 284 of 534




                     1.   The condemned shall be asked for
                          instructions concerning the disposition
                          of his remains following the execution.

                     2.   Refer to TMF 01/05.08.

                H.   Designate Persons Required to Assist with
                     Execution

                     1.   Those persons necessary to carry out the
                          execution shall be identified.

                          a.   The Executive Director/designee,
                               DIO Director or Warden shall be
                               responsible for identifying,
                               selecting and obtaining the
                               services of the executioners.   See
                               TMF 01/05.03 and TMF 01/05.04.

                          b.   The Public Affairs Director shall
                               be responsible for coordinating the
                               notification of the news media and
                               selection of individual news media
                               witnesses.  See TMF 01.08.02.

                          c.   The Warden shall be responsible for
                               designating those persons necessary
                               to carry out and support the
                               execution.

                     2.   Redundancy in assignment may be
                          developed for all vital or important
                          positions.  The Warden, DIO Director,
                          and Executive Director/designee shall
                          determine which positions require back-
                          up and shall ensure adequate coverage is
                          provided.

                     3.   "Compensation for members of a firing
                          squad or persons administering
                          intravenous injections shall be in an
                          amount determined by the director of the
                          Division of Finance." 77-19-10 (4)UCA

                          a.   The Department shall negotiate with
                               the executioners and Division of
                               Finance the fee to be paid to the
                               executioners.



 REVISED 06/10/10                              TMF 01/02   - pg. 16




                                                       Exhibit 20 Page 17
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 285 of 534




                           b.



                           c.



                 I.   Other Approved Witnesses

                           The Executive Director/designee shall
                           designate other approved witnesses as
                           outlined in TMF 01/07.03.

                 J.   Contact with State Medical Examiner

                      1.   Contact shall be made withthe State
                           Medical Examiner to coordinate the
                           Medical Examiner's role.

                      2.   The Medical Examiner shall be requested
                           to provide direction concerning:

                           a.   transfer of custody of the executed
                                inmate from the Warden to the
                                Medical Examiner;

                           b.



                           c.


                      3.   Refer to TMF 01/04.




                 K.   Support Services

                      1.   The Support Services Deputy Warden
                           coordinates the functions of Support
                           Services Section Personnel.

                      2.   Support Services units shall include,
                           but not be limited to:


  REVISED 06/10/10                               TMF 01/02   - pg. 17




                                                         Exhibit 20 Page 18
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 286 of 534




                           a.     the Food Services Unit   (See TMF
                                  01/05.19); and

                           b.     the Maintenance Unit   (See TMF
                                  01/05.18).

                L.   The Correctional Medical Administrator
                      coordinates functions of the Medical Unit
                      personnel.  (See TMF 01/05.18)

                M.    Brief Prison Administrators

                      1.   It is necessary to maintain as nearly as
                           possible a normal prison operation
                           during the execution and the activities
                           preceding and following the execution.

                      2.   Prison administrators should be briefed
                           as appropriate on plans for the
                           execution, restrictions on access, crowd
                           control, additional security procedures,
                           etc., on an on-going basis.

                      3.   Briefings should begin as soon as plans
                           begfn to evolve which will effect the
                           general prison operation, and should
                           continue until the operation returns to
                           normal.


 TMF 01/02.04   Twenty-Nine to Fourteen Days Prior to the
                Execution

                A.    Witnesses

                      1.   The Executive Director/designee shall
                           develop a final list of witnesses
                           consistent with the requirements of 77-
                           19-11 (2) and (3) UCA.

                      2.   Any changes to the Government witness
                           list shall be approved by the Executive
                           Director.

                      3.   Each witness shall be required to sign
                           an agreement prior to being cleared and
                           added to the witness list.




 REVISED 06/10/10                                 TMF 01/02     - pg. 18




                                                           Exhibit 20 Page 19
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 287 of 534




                      4.   The Executive Director may make
                           additions to the witness list when
                           necessary.

                      5.   Refer to TMF 01/05.05.

                 B.   News Media

                      1.   Witness requests shall be received and
                           processed by the Public Affairs Office
                           in accordance with TMF 01/08.02.

                      2.   Alternate coverage/accommodations for
                           members of the press selected to be
                           present at alternate site shall be
                           handled consistent with TMF 01/08.03.

                 C.   Inmate Property and Accounts

                      1.   Finalize arrang{::ments for disposition of
                           the condemned inmate's property and
                           accounts 14 days prior to execution.

                      2.   Refer to TMF 01/05.06 and TMF 01/05.07.

                 D.   Disposition of Body

                      1.   Finalize, if possible, decision
                           concerning disposition of the body.

                      2.   Refer to\TMF 01/05.08.

                 E.   Selection of Executioners

                      1.   Finalize the selection of executioners
                           and their back-ups.

                      2.   Refer to TMF 01/05.03 and TMF 01/05.04.



                 F.   Medical/Medical Examiner

                      1.   Finalize arrangements for a physician
                           consistent with 77-19-lOUCA.

                      2.




  REVISED OG/10/10                                TMF 01/02   - pg. 19




                                                         Exhibit 20 Page 20
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 288 of 534




                     3.   Refer to TMF 01/05.08.

                G.   Practices and Rehearsals

                     1.   Initiate practice sessions for persons
                          involved in the various parts of the
                          execution event.

                     2.   Not all of the persons involved will
                          practice together.  Individual teams
                          will practice as units, with inter-team
                          practices scheduled, as necessary.


 TMF 01/02.05   Thirteen to Seven to Days Prior to Execution

                A.   Inmate Property/Accounts

                     All paperwork on disposition of property and
                     accounts should be completed at least seven
                     days prior to the execution.

                B.   Disposition of Body
                     All paperwork should be completed at least
                     seven days prior to the execution.

                C.   Food Services

                     1.   At least seven days prior to execution,
                          contact the condemned inmate to arrange
                          last meal.  TMF 01/05.18.

                     2.   Determine with the Warden, Draper Site
                          Security Deputy Warden, and Public
                          Affairs Director what beverage and food
                          service will be needed at the various
                          locations where staff will be working.

                D.   Purchase of Substances to Be Used in Lethal
                     Injection

                     1.   Purchase substances to be used in the
                          execution.

                     2.   Refer to TMF 01/05.11.

                E.   Support Services



 REVISED 06/10/10                               TMF 01/02   - pg. 20




                                                       Exhibit 20 Page 21
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 289 of 534




                      Finalize all arrangements involving the
                      Support Services assistance with the Support
                      Services Director.

                 F.   Finalize all arrangements involving the
                      Medical Section assistance with the
                      Correctional Medical Administrator.

                 G.   Allied Agencies

                      Finalize arrangements with allied agencies
                      assisting with the execution.

  TMF 01/02.06   Six to Three Days Prior to Execution

                 A.   Witnesses

                      1.   All witness agreements should be signed.

                           a.     Copies shall be provided to the:

                                  (1)   Command Post Director; and

                                  (2)   Auditor-in-Charge.

                           b.     Persons refusing to sign agreements
                                  shall not be permitted to attend.

                      2.   Exceptions to the time requirements will
                           permit delayed signing of agreements for
                           witnesses coming in from out-of-state.

                 B.   Brief Allied Agencies

                      1.   Members of allied agencies who have not
                           participated in practice sessions or
                           have not otherwise been briefed
                           previously, shall be briefed and their
                           post or responsibiiities explained.

                      2.   Briefings will include a detailed review
                           of the individual's post order.

                 C.   Inmate Property and Accounts

                      1.   Complete all unfinished paperwork and
                           arrangements.

                      2.   If the condemned fails to cooperate in
                           these arrangements, he shall be notified

  REVISED 06/10/10                                 TMF 01/02      - pg. 21




                                                             Exhibit 20 Page 22
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 290 of 534




                                that the property and money will be
                                disposed of according to state law, and
                                Department policy.

                D.   Executioners
                          -~.

                     The Warden shall:

                     1.



                     2.     ensure completion of all arrangements
                            necessary for security of executioners
                            and protection of their identities.

                E.   Equipment Check/Inventory

                     1.



                     2.     Refer to TMF 01/05.lO(Firing Squad)     and
                            01/10.09 (Lethal Injection).


 TMF 01/02.07

                A.   Observation Period

                     1.



                     2.




                     3.     Refer to TMF 01/05.12.

                B.   Meeting of Execution Planning Team

                     The Team shall meet to examine preparation
                     for the execution.  The checklists shall be
                     reviewed and immediate assignments made to
                     bring all items current with the schedule of
                     events.


 REVISED 06/10/10                                    TMF 01/02   - pg. 22




                                                            Exhibit 20 Page 23
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 291 of 534




                      Refer to TMF 01/02 pre-execution checklist
                      Refer to TMF 01/03 execution checklist
                      Refer to TMF 01/04 post execution procedure

                 C.   Review of Procedures

                      Conduct final review of procedures.

                 D.   Arrangements for Pickup of Executioners

                      1.




                      2.




                 E.   Food Services

                      1.   Verify last meal preparation.

                      2.   Verify beverage/food preparations for
                           working teams.

                 F.   Communications

                      1.   Verify installation of and test
                           communications equipment for:

                           a.

                           b.

                           c.   Information Center.

                      2.   Refer to TMF 01/05.10.

                 G.   Contact Support Agencies

                      1.   Contact:

                           a.   the Attorney General's Office;

                           b.   the State Medical Examiner's
                                Office;

  REVISED 06/10/10                               TMF 01/02     - pg. 23




                                                        Exhibit 20 Page 24
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 292 of 534




                          c.   allied law enforcement agencies;
                               and

                          d.   the Governor's Office.

                     2.   Verify that each agency fully
                          understands its role and is prepared to
                          complete tasks.

                H.   Equipment Check

                     1.   Complete pre-execution inventory and
                          equipment check.

                     2.   All systems should be tested.




 REVISED 06/10/10                              TMF 01/02      - pg.24




                                                          Exhibit 20 Page 25
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 293 of 534




  TMF 01/03.00     EXECUTION CHECKLIST

  TMF   01/03.01   General Provisions
  TMF   01/03.02
  TMF   01/03.03
  TMF   01/03.04
  TMF   01/03.05
  TMF   01/03.06




  REVISED 06/10/10                            TMF 01/03   -   pg. 25




                                                      Exhibit 20 Page 26
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 294 of 534




 TMF 01/03.00   EXECUTION CHECKLIST

 TMF 01/03.01   General Provisions

                A.   Purpose of Chapter

                     1.   The purpose of this chapter is to
                          provide a checklist of procedures and
                          events which should occur


                     2.   Full detail will not be provided for
                          each procedure or event in this chapter.
                           For detail, reference will be made to
                          Chapter TMF 01/05 and other chapters
                          where such detail may be found.

                B.   Policy

                     1.   It is the policy of the Department that
                          the count-down to the execution be
                          completed in a systematic manner to
                          ensure that all procedures and events
                          which are necessary to carry out the
                          execution are completed in a carefully
                          coordinated manner.

                     2.   The execution shall be carried out in a
                          manner consistent with state law.

 TMF 01/03.02

                A.

                     1.




                     2.




                     3.   Refer to TMF 01/05 .12.

                B.




 REVISED 06/10/10                              TMF 01/03   - pg. 26




                                                       Exhibit 20 Page 27
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 295 of 534




                      1.



                      2.   Refer to TMF 01/05.12.

                 C.   Inmate Communication

                      1.




                      2.




                      3.




                      4.   Refer to TMF 01/05.12.

                 D.   Food Services

                      1.   The Warden/designee shall contact the
                           condemned to make arrangements for the
                           final three meals.

                      2.   The final meal shall be served.

                      3.   Refer to TMF 01/05.18.

                 E.



  REVISSD 06/10/10                              TMF 01/03    - pg. 27




                                                        Exhibit 20 Page 28
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 296 of 534




                     1.




                          a.


                          b.

                          c.



                          d.

                     2.   Refer to TMF 01/03.03 and TMF 01/05.08.

                F.   Equipment Check

                     1.



                     2.   Refer to TMF 01/05.10 and TMF 01/05.11.

 TMF 01/03.03

                A.   Final Briefing

                     1.


                     2.   The final briefing shall be attended by
                          the Executive Director/designee, DIO
                          Director, Warden, special teams and
                          other persons specified by the Executive
                          Director or Warden.  The Warden shall
                          conduct the meeting, with the Executive
                          Director/designee and DIO Director
                          providing policy de~isions, as needed.

                     3.   During the briefing, participants shall:

                          a.   identify problems, develop
                               solutions and specify time lines
                               and approve modified policy
                               changes;

 REVISED 06/10/10                             TMF 01/03    - pg. 28



                                                       Exhibit 20 Page 29
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 297 of 534




                           b.   provide status reports;

                           ~.   coordinate support services
                                involvement; and

                           d.   conduct final review of count down
                                procedures.

                 8.   Food Services

                      1.   The condemned shall be fed at
                           SpecifiPrlrimoc

                      2'



                      3.   Refer to TMF 01/05.18

                 C.   Visits

                      1.



                      2.




                 D.   Restricting Access to Prison Property

                      1.


                           a.

                           b.

                           c.

                           d.


                           e.




                      2.


  REVISED 06/10/10                             TMF 01/03      - pg. 29




                                                          Exhibit 20 Page 30
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 298 of 534




                          a.


                          b.




                     3.




                E.




                     1.


                     2.

                     3.


                     4.

 TMF 01/03.04

                A.

                     1.

                          a.




 REVISED 06/10/10                             TMF 01/03   - pg.30




                                                      Exhibit 20 Page 31
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 299 of 534




                          b.




                          c.



                     2.

                          a.



                          b.




                          c.



                     3.



                          a.




                          b.



                          c.



                     4.

                          a.


  REVISED 06/10/10                            TMF 01/03   - pg.~1




                                                      Exhibit 20 Page 32
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 300 of 534




                          b.



                B.

                     1.




                     2.




 TMF 01/03.05

                A.   Pre-Execution Procedures

                     1.   The Warden shall ensure that all count-
                          down procedures for all required
                          activities and actions are completed.

                     2.   Immediate action to complete any
                          unfinished required procedures shall be
                          initiated.

                B.   Execution Site Teams Assemble

                     1.




                     2.   The Tie-Down Teams and their back-ups
                          will be positioned to await escort of
                          the condemned to the execution chamber.


                C.   Contact with the Attorney General's Office




 REVISED 06/10/10                               TMF 01/03   - pg. 32




                                                        Exhibit 20 Page 33
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 301 of 534




                     1.



                          a.




                          b.




                               (2)




                     2.




                     3.




                          a.




                          b.




                     4.




  REVISED 06/10/10                            TMf' 01/03   - pg. 33




                                                       Exhibit 20 Page 34
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 302 of 534




 TMF 01/03.06

                A.   Communications with Attorney General's Office

                     Refer to TMF 01/03.05,C, above.

                B.   Final Sequence of Events: Preparation

                     1.   Bringing Condemned Inmate to Execution
                          Chamber

                          The condemned   inmat~   shall be:

                          a.   removed from the observation cell
                               by the Tie-Down Team;

                          b.
                                        dressed in a clean jump
                               suit (the color of the jump suit
                               will be at the discretion of the
                               Warden);

                          c.


                          d.   escorted to the execution chamber.

                     2.   Tie-Down Procedures


                                                 the conaemned
                          shall be tiea down as explained in TMF
                          Ol/05.13(lethal injection) or TMF
                          01/05.14(firing squad).

                     3.   Prepare Condemned Inmate for Execution

                          The condemned shall be readied for
                          execution:

                          a.   if lethal injection, by completing
                               the I.V. set-up procedure (See TMF
                               01/05.15); or

                          b.   if firing squad, by completing the
                               firing squad set-up procedures (See
                               TMF 01/05.16).

                     4.   Admit Witnesses


 REVISED 06/10/10                                  TMF 01/03   - pg. 34



                                                           Exhibit 20 Page 35
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 303 of 534




                          a.   Witnesses shall be admitted and
                               escorted to assigned viewing areas.

                          b.   The government witnesses shall
                               enter first and shall be escorted
                               to the government witness area.
                               The escort shall remain with the
                               witnesses.

                          c.   Following the government witnesses,
                               the authorized witnesses invited by
                               the condemned, and the victim's
                               witnesses shall be admitted and
                               escorted to the designated witness
                               area.

                               (1)   If any of the condemned
                                     inmate's invited witnesses, or
                                     the victim's witnesses wish to
                                     be on-site but not actually
                                     witness the execution,
                                     accommodations may be made for
                                     them.

                               (2)   The escort officers shall
                                     remain with the condemned
                                     inmate's witnesses and the
                                     victim's witnesses.

                          d.   The last witnesses to be admitted
                               shall be the news media
                               representatives.

                               (1)   The members of the news media
                                     selected to witness the
                                     execution shall be escorted to
                                     the designated witness room.
                                     They shall be separate from
                                     the condemned inmate's
                                     witnesses and the victim's
                                     witnesses.  Escort officers
                                     shall remain with the news
                                     media witnesses and ensure
                                     their separation from the
                                     other visitors while at the
                                     execution site.

                               (2)   The two pool photographers
                                     shall be escorted to a
                                     designated site, away from,
                                     and out of sight of, the
                                     execution chamber. They shall

  REVISED 06/10/10                             TMF 01/03   - pg. 35




                                                       Exhibit 20 Page 36
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 304 of 534




                                     be secured inside the
                                     designated site until after
                                     the execution and until such
                                     time that they ~re allowed to
                                     film the cleaned up execution
                                     chamber.

                C.   Final Sequence of Events: Execution

                     1.   Staff Witness

                          a.   Staff participating in the
                               preparation for the execution shall
                               exit the execution site.

                          b.   Staff members remaining to
                               participate in and observe the
                               execution shall include the:

                               (1)   Executive Director/designee;

                               (2)   Executive Director's back-up;

                               (3)   DIO Director;
                                                                               /
                               (4)   Warden;

                               (5)   Executioners;

                               (6)     Escort Officers; and

                               (7)   other staff as designated by
                                     the Executive
                                     Director/designee, DIO
                                     Director, or Warden.

                     2.   Count-Down

                          a.   At the designated hour mandated for
                               the execution, when everything is
                               ready, the phone communication
                               shall be terminated and the
                               Executive Director/designee shall
                               instruct the Warden to proceed with
                               the execution.

                          b.   The Warden and DIO Director shall
                               pull open the curtains covering the
                               witness room windows.




 REVISED 06/10/10                                TMF 01/03    - pg. 36




                                                          Exhibit 20 Page 37
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 305 of 534




                          c.   The Warden shall ask the condemned
                               inmate if he has any last words or
                               wishes to make a statement.

                               (1)   The statement should not
                                     exceed two minutes.

                               (2)   If the inmate uses foul
                                     language, the Warden should
                                     immediately proceed with the
                                     next step in the execution
                                     procedure.

                               (3)   If the statement exceeds two
                                     minutes, the execution shall
                                     proceed without waiting for
                                     the conclusion of his remarks.

                               (4)   Audio recording equipment may
                                     be used by the Department for
                                     the purpose of recording the
                                     defendant's last words.   The
                                     Department shall permanently
                                     destroy the recording made
                                     under this subsection not
                                     later than 24 hours after the
                                     completion of the execution.

                          d.




                          e.   The Executive Director/designee
                               shall instruct the executioners in
                               the case of death by injection, or
                               the firing squad leader in the case
                               of a firing squad execution to
                               proceed with the execution:

                               (1)   upon receiving the Warden's
                                     signal to proceed;

                               (2)   after verifying the earliest
                                     legal execution time has
                                     passed; and

                               (3)   if no instruction to halt has
                                     been received from the
                                     Attorney General's Office.


  REVISED 06/10/10                             TMF 01/03   - pg.37




                                                       Exhibit 20 Page 38
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 306 of 534




                          f.   Following the instruction from the
                               Executive Director/designee to
                               execute the condemned inmate, the
                               executioners shall immediately
                               proceed with the execution as
                               required in TMF 01/05.lS(if by
                               lethal injection) or TMF
                               Ol/05.16(if by firing squad).

                          q.   If the execution is ordered delayed



                               the Executive Director shall
                               instruct the executioners to step
                               away from the execution equipment
                               and shall notify them that the
                               execution has been stayed or
                               delayed.   The procedures set forth
                               under TMF 01/06 shall then be
                               initiated.




 REVISED 06/10/10                              TMF 01/03   - pg. 38




                                                       Exhibit 20 Page 39
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 307 of 534




  TMF 01/04.00        POST-EXECUTION PROCEDURES

  TMF   01/04.01      General Provisions
  TMF   01/04.02      Certification of Death
  TMF   01/04.03      Removing Witnesses from Execution Chamber
  TMF   01/04.04      Removal of Executed Inmate
  TMF   01/04.05      Removing Executioners from the Execution Area
  TMF   01/04.06      Site Clean-Up
  TMF   01/04.07      News Media Re-Entry to Execution Site
  TMF   01/04.08      Returning to Standard Operation
  TMF   01/04.09      Audit of Execution
  TMF   01/04 .. 10   Post-Execution Countdown Schedule




  REVISED 06/10/10                                  TMF 01/04   - pg. 39




                                                            Exhibit 20 Page 40
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 308 of 534




 TMF 01/04.00   POST-EXECUTION PROCEDURES

 TMF 01/04.01   General Provisions

                A.   Purpose of Chapter

                     The purpose of this chapter is:

                     1.   to provide the procedures to be followed
                          following the death by execution of the
                          condemned inmate;

                     2.   to identify the responsibilities for
                          tasks to be completed; an0

                     3.   to provide for the transfer of the body
                          of the condemned from the custody of the
                          Department.

                B.   Policy

                     It is the policy of the Department that:

                     1.   the witnesses to the execution shall be
                          removed from the execution chamber
                                                              for
                          the news media witnesses who shall be
                          removed to a secondary location until
                          permitted to return for a filming
                          opportunity in the execution chamber;

                     2.   the condemned inmate shall be examined
                          by a licensed physician following the
                          administering of the fatal drugs or the
                          first volley by the firing squad to
                          ensure that death has occurred;

                     3.   the physician, when satisfied that death
                          has occurred, shall certify the
                          condemned inmate dead;

                     4.   following the certification of death,
                          the body of the condemned shall be
                          surrendered to the State Medical
                          Examiner;

                     5.   after removal of the body, the chamber
                          shall be restored and the news media
                          permitted to return to photograph the
                          chamber;


 REVISED 06/10/10                              TMF 01/04   - pg. 40




                                                       Exhibit 20 Page 41
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 309 of 534




                       6.   after the chamber has been photographed,
                            the news media shall be returned to the
                            designated area to brief the other
                            assembled members of the news media;

                       7.




                       8.   the entire execution process will be
                            reviewed and evaluated by the
                            AuditBureau to permit a post-execution
                            examination of the competence,
                            efficiency and effectiveness of the
                            execution procedures and staff (see TMF
                            01/20).

  TMF 01/04. 02   Certification of Death

                  A.   After the drugs have been administered/or the
                       execution completed by firing squad:

                       1.   the Warden shall wait a maximum of three
                            minutes;

                       2.   the Warden shall then tell the DIO
                            Director/designee to summon the
                            attending physician to the condemned;
                            arid

                       3.   the physician shall take the condemned's
                            vital signs.

                  B.   If there are signs of life, the physician
                       shall wait beside the condemned and check the
                       vital signs every 60 seconds until vital
                       signs cease.

                  C.   If execution is by firing squad, and if after
                       a maximum of ten minutes from the first
                       volley, there are still signs of life, the
                       physician will inform the Warden. The Warden
                       will then initiate the steps in TMF 01/05.16.

                  0.   When no vital signs are detected, the
                       physician shall certify death in keeping with
                       standard medical practices.·

  TMF 01/04.03    Removing Witnesses from Execution Chamber


  REVISED 06i10/10                              TMF 01/04     - pg. 41




                                                         Exhibit 20 Page 42
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 310 of 534




                     2.   The Medical Examiner, or his designee,
                          may issue the death certificate for
                          deaths that occur at the prison. (UCA
                          26-4-7, 26-4-10)

 TMF 01/04.05   Removing Executioners from the Execution Area

                A.




                B.



                c.



 TMF 01/04.06   Site Clean-Up

                A.   The injection team shall (if execution was by
                     lethal injection) :

                     1.   use universal precautions and protective
                          equipment to protect for blood or other
                          potentially infectious materials;

                     2.



                     3.


                     4.


                     5.

                B.   The Tie-Down Team shall be responsible for:

                     1.   using universal precautions and
                          protective equipment to protect against
                          blood and other potentially infectious
                          material; and



 REVISED 06/10/10                              TMF 01/04      - pg. 43




                                                           Exhibit 20 Page 43
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 311 of 534




                A.   After the certification of death by the
                     physician, the curtains shall be closed by
                     the Warden and DIO Director/designee and the
                     witnesses shall be escorted from the witness
                     vievving rooms

                     1.

                     2.

                     3.

                     4.

                     5.

                B.   The news media shall be escorted to an
                     alternate location in the execution building
                     until they can be returned for the filming
                     opportunity after the execution chamber has
                     been cleaned up.

                C.   The condemned inmate's witnesses, government
                     witnesses, and the victim's witnesses shall
                     be escorted to waiting transportation
                     vehicles

                D.



 TMF 01/04.04   Removal of Executed Inmate

                A.   After the witnesses have been removed:

                     1.   if the execution is by lethal injection,
                          the IV should be cut by the executioners
                          in order for the catheters to remain in
                          Ll1~ exe<..:uted inmate's body; and


                     2.


                B.   The State Medical Examiner/designee shall be
                     escorted into the death chamber



                     1.   The State Medical Examiner has
                          jurisdiction over all deaths that occur
                          at the Utah State Prison. (UCA 26-4-7)

 REVISED 06/10/10                             TMF 01/04    - pg. 42




                                                       Exhibit 20 Page 44.
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 312 of 534




                       2.   cleaning up the execution site, using
                            universal precautions where appropriate.

 TMF 01/04.07    News Media Re-Entry to Execution Site

                 A.    After the site is restored and cleaned, the
                       news media witnesses and pool photographers
                       shall be escorted to the execution site.

                 B.    The photographers shall be permitted to
                       tape/photograph the site and observation cell
                       (if approved by the Warden) as required in
                       TMF 01/08.
                 c.


 TMF 01/04.08    Returning to Standard Operation

                 A.




                       1.

                       2.

                 B.




                 c.




 TMF 01/04.09    Review of Execution

 Refer to TMF 01/20.

 TMF 01/04. 10   Post-Execution Countdown Schedule

                 See Exhibit 04-1 for the proposed schedule for the
                 post-execution period.
                    (Sample for Lethal Injection)

                               Execution

 REVISED 06/10/10                               TMF 01/04    - pg.44




                                                         Exhibit 20 Page 45
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 313 of 534




                                 Date

 0005   DIRECTOR/DESIGNEE GIVES WARDEN OK TO BEGIN EXECUTION
 0005   TO 0006 CURTAINS PULLED
 0006   TO 0008 LAST STATEMENT BY CONDEMNED
 0008   SIGNAL BY WARDEN TO BEGIN EXECUTION
 0023   SIGNAL BY EXECUTIONER THAT DRUGS HAVE BEEN ADMINISTERED
 0024   DOCTOR BROUGHT INTO EXECUTION CHAMBER
 0027   DOCTOR PRONOUNCES DEATH AND DEATH WARRANT SIGNED
 0028   CURTAINS CLOSED
 0029
 0030
 0031
 0034   TIE DOWN TEAM/MEDICAL EXAMINER INTO DEATH CHAMBER TO REMOVE
        RODY
 0036
 0037

 0038 CLEAN UP CREW INTO DEATH CHAMBER
 0039
 0040

 0040 WARDEN GIVES DIRECTIVE FOR MEDIA TO RETURN TO EXECUTION
      CHAMBER
 0100 MEDIA RETURNED TO STAGING AREA




 REVISED 06/10/10                               TMF 01/04   - pg. 45




                                                        Exhibit 20 Page 46
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 314 of 534




                        (Sample for Firing Squad)

                          Execution Time Line


                                  Date

 0005   DIRECTOR/DESIGNEE GIVES WARDEN OK TO BEGIN EXECUTION
 0005   TO 0006 CURTAINS PULLED
 0006   TO 0008 LAST STATEMENT BY CONDEMNED
 0008   SIGNAL BY DIRECTOR/DESIGNESS TO BEGIN EXECUTION
 0011   DOCTOR BROUGHT INTO EXECUTION CHAMBER
 0014   DOCTOR PRONOUNCES DEATH AND DEATH WARRANT SIGNED
 0015   CURTAINS CLOSED
 0017
 0018
 0019
 0021   TIE DOWN TEAM/MEDICAL EXAMINER INTO DEATH CHAl"lBER TO REMOVE
        i:<nnv
0023
0025

0026 CLEAN UP CREW INTO DEATH CHAMBER
0031 WARDEN GIVES DIRECTIVE FOR MEDIA TO RETURN TO EXECUTION
     CHAMBER
0050 MEDIA RETURNED ·ro STAGING AREA




REVISED 06/10/10                                    TMF 01/04   - pg.46




                                                            Exhibit 20 Page 47
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 315 of 534




  TMF 01/05. 00    EXECUTION PROCEDURES

  TMF   01/05.01   General Provisions
  TMF   01/05.02   Death Warrant
  TMF   01/05.03   Selection of Executioners by Lethal Injection
  TMF   01/05.04   Selection of Executioners by Firing Squad
  TMF   01/05.05   Designation of Persons Required 1 Permitted or
                   Prohibited from Witnessing the Execution
  TMF   01/05.06   Disposition of Condemned Inmate's Property
  TMF   01/05.07   Disposition of Money in Inmate Account
  TMF   01/05.08   Disposition of the Body of the Condemned
  TMF   01/05.09   Equipment Check/Inventory: Lethal Injection
  TMF   01/05.10   Equipment Check/Inventory: Firing Squad
  TMF   01/05.11   Acquisition and Storage of Drugs for Lethal
                   Injection
  TMF   01/05.12   Observation Period and Related Activities
  TMF   01/05.13   Tie-Down Procedures: Lethal Injection
  TMF   01/05.14   Tie-Down Procedures: Firing Squad
  TMF   01/05.15   Execution by Lethal Injection
  TMF   01/05.16   Execution by Firing Squad
  TMF   01/05.17   Pre-Execution Rehearsals and Practices
  TMF   01/05.18   Support Services Functions




  REVISED 06/10/10                               TMF 01/05    - pg. 47




                                                          Exhibit 20 Page 48
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 316 of 534




 TMF 01/05.00   EXECUTION PROCEDURES

 TMF 01/05.01   General Provisions

                A.   Purpoie of Chapter

                     1.   This chapter provides the procedures
                          which are used when the Department
                          exercises its statutory responsibility
                          to carry out an execution.

                     2.   The topics include those procedures
                          which are employed:

                          a.    immediately prior to receiving the
                                death warrant;

                          b.    from receiving the death warrant to
                                and during the execution;

                          c.    immediately following the
                                execution; and

                          d.    during the debriefing and audit
                                phases of the execution.

                B.   Policies

                     1.   It is the policy of the Department that
                          the procedures employed in preparing for
                          and carrying out an execution be
                          comprehensive and clearly defined.

                     2.   The procedures shall be developed
                          consistent with state and federal law.


 TMF 01/05.02   Death Warrant

                A.   Judgement of Death

                     1.   When judgment of death is rendered, a
                          warrant signed by the judge and attested
                          by the clerk under the seal of the
                          court, shall be drawn and delivered to
                          the sheriff of the county where the
                          conviction is made.  77-19-6 UCA

                     2.   The Sheriff shall deliver the warrant
                          and a certified copy of the judgment to
                          the UDC Executive Director/designee at

 REVISED 06/10/10                              TMF 01/05    - pg. 48



                                                        Exhibit 20 Page 49
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 317 of 534




                           the time of delivering the defendant to
                           the custody of the Department.  77-19-6
                           UCA

                      3.   The warr~nt states the conviction and
                           judgment, the method of execution, and
                           the appointed day the judgement is to be
                           executed.  The Department of Corrections
                           shall determine the hour, within the
                           appointed day, at which the judgement is
                           to be executed.

                 B.   Return Upon Death Warrant

                      1.   After the execution, the UDC Executive
                           Director/designee shall make a return
                           upon the death warrant showing the time,
                           place and manner in which it was
                           executed.  77-19-12 UCA

                           a.   The "Certificate of Execution":

                                 (1)   shall be signed by the Warden
                                       and the physician; and

                                 (2)   shall include the full names
                                       and official titles of the
                                       official witnesses.

                           b.   The "Certificate of Execution"
                                shall be submitted for review to
                                the Executive Director/designee.

                           c.   Following review by the Executive
                                Director/designee, the "Certificate
                                of Execution" shall be returned to
                                the Warden.

                      2.   'l'ne ;;Certificate of r.:xecution;' shall be
                           directed by registered mail to the clerk
                           of the court of the county from which
                           the individual executed was sentenced.

                      3.   A return receipt shall be requested from
                           the recipient.

                      4.   A copy of the certificate shall be
                           placed in the deceased inmate's file.


  TMF 01/05.03   Selection of Lethal Injection ExecutionTeam

  REVISED 06/10/10                                TMF 01/05    - pg. 49




                                                          Exhibit 20 Page 50
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 318 of 534




               A.   Statutory Requirements

                    1.   The Executive Director/designee shall
                         ensure that the method of judgment of
                         death specified in the warrant is
                         carried out at a secure correctional
                         facility operated by the department at
                         an hour determined by the department on
                         the date specified in the warrant.   77-
                         19-10 (1) UCA

                    2.   When the judgment of death is to be
                         carried out by lethal intravenous
                         injection, the executive director of the
                         department or his designee shall select
                         two or more persons trained in
                         accordance with accepted medical
                         practices to administer intravenous
                         injections, who shall each administer a
                         continuous intravenous injection, one of
                         which shall be a lethal quantity of
                         sodium thiopental or other equally or
                         more effective substance sufficient to
                         cause death.   77-19-10 (2) UCA

               B.   Selection of Execution Team

                    1.   If the judgment of death is to be
                         carried out by intravenous lethal
                         injection, a minimum of two persons,
                         each trained to administer intravenous
                         injections shall be selected for the IV
                         team.




                    2.   Method of Selection

                         a.   The DIO Director/designee and the
                              Warden of the Utah State Prison,
                              Draper site, shall be members of
                              the execution team by virtue of
                              their official position.

                         b.   The Executive Director/designee,
                              DIO Director/designee and the

REVISED 06/10/10                               TMF 01/05    - pg. 50



                                                           Exhibit 20 Page 51
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 319 of 534




                               Warden shall select a minimum of
                               four (4) additional members, other
                               than the DIO Director/designee and
                               Warden, for the execution team.

                               1. Of the four (4) additional
                                  members, a minimum of two (2)
                                  execution team members will be
                                  on the IV team.

                               2. No member of the execution team,
                                  other than the DIO
                                  Director/designee and Warden,
                                  shall be required to serve as a
                                  member of the execution team
                                  without consent.

                               3. The Executive Director/designee,
                                  DIO Director/designee, and
                                  Warden will designate one
                                  execution team member as the
                                  execution team leacter.

                                 a. The execution team leader
                                    shall not be the DIO
                                    Director/designee or the
                                    Warden; and

                                 b. The execution team leader
                                    shall not be a member of the
                                    IV team.

                               4. The Executive Director/designee,
                                 DIO Director/designee, and
                                 Warden shall review the
                                 qualifications of the IV team
                                 members according to
                                 requirements outlined in
                                 subsection (3) (a through d) and
                                 other relevant information as to
                                 appropriate training and skills
                                 in administering intravenous
                                 injections.  One IV team member
                                 will be designated as the IV
                                 team leader.

                          c.   Following the examination and
                               evaluation of candidates, the
                               Executive Director/designee, DIO
                               Director/designee and Warden, shall


  REVISSD 06/10/10                            TMF 01/05   - pg. 51




                                                      Exhibit 20 Page 52
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 320 of 534




                                select the execution tearr, members.

                          d.    All execution team members shall
                                read and understand the execution
                                procedures.  The Warden shall
                                conduct a review of the execution
                                procedures annually.

                     3.   IV Team Qualifications

                          a.    At least two (2) members of the
                                execution team shall be designated
                                as the IV team for an execution by
                                lethal injection.

                          b.    Each member of the IV team shall be
                                a:

                                1.   Phlebotomist;

                                2.   Emergency Medical Technician;

                                3.   Paramedic; or

                                4.   Military Corpsman.

                           c.   Each member of the IV team shall:

                                1.   Have at least one (1) year of
                                     professional experience in his
                                     specialty;

                                2.   Remain certified in his
                                     specialty or profession; and

                                3.   Fulfill all continuing
                                     education requirements in his
                                     specialty or profession.

                           d.    Prior to participating in an
                                e-Xecution, the members of the IV
                                team shall have participated in at
                                least three (3) complete execution
                                practices.




 REVISED 06/10/10                               TMF 01/05     - pg.52



                                                          Exhibit 20 Page 53
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 321 of 534




                     4.   Securing Services

                            a.    The Warden/designee shall contact
                                  those chosen for the execution team
                                  to notify them of their selection
                                  and verify their willingness and
                                  availability to perform the duties
                                  of execution by lethal injection.

                                  1.   If any person declines
                                       participation, the Executive
                                       Director/designee, DIO
                                       Director/designee and Warden
                                       will select a replacement
                                       according to the processes
                                       outlined in this section.

                                  2.   If all of the execution team
                                       members agree to participate,
                                       their individual roles as
                                       execution team members shall
                                       be explained to them.
                           b.




 TMF 01/05.04   Selection of Executioners by Firing Squad


                A.   Statutory Requirements

                     1.   "The Executive Director of Corrections/
                          designee shall ensure that the method of
                          judgment of death specified in the
                          warrant is carried out at a secure
                          correctional facility operated by the
                          Department of Corrections." 77-19-10(1)
                          UCA

                     2.   "If the judgment of death is to be
                          carried out by firing squad, the
                          Executive Director of Corrections or his
                          designee shall select a five-person
                          firing squad of peace officers."77-19-10
                          (3)    UCA


 REVISED 06/10/10                                TMF 01/05   - pg. 53




                                                          Exhibit 20 Page 54
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 322 of 534




                B.   Selection of Executioners

                     1.   A five-person execution team, plus
                          twoalternates and a team leader shall be
                          chosen for the firing squad.

                     2.   The alternate(s) shall be selected to
                          replace any member(s) of the firing
                          squad who are unable to discharge their
                          required functions.

                     3.   Persons selected for the firing squad
                          shall be POST certified peace officers.

                     4.   Selected peace officers will be required
                          to demonstrate proficiency with weapons
                          designated to carry out the execution.

                          a.   Under conditions substantially
                               similar to those of the execution
                               chamber, proficiency shall be
                               exhibited by:

                               1.   Firing each weapon.

                               2.   At a minimum of 21 feet,
                                    accurately hitting the target
                                    of the same dimension as that
                                    which will be attached to the
                                    condemned.

                          b.   During the proficiency test,
                               failure to accurately hit the
                               specified target with one round
                               from each weapon fired shall
                               disqualify the officer.

                     5.




                C.   Method of Selection

                     1.   The Executive Director/designee, DIO
                          Director and Warden shall be responsible
                          for the selection process.



 REVISED 06/10/10                                TMF 01/05    - pg. 54




                                                          Exhibit 20 Page 55
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 323 of 534




                      2.




                      3.   The final choice of firing squad members
                           shall be the responsibility of the
                           Executive Director/designee, DIO
                           Director and Warden.

                      4.   The Executive Director/designee, DIO
                           Director/designee and Warden shall
                           review the qualifications of the firing
                           squad, including required proficiency as
                           outlined in section (B4) and other
                           relevant information.

                 D.   Securing Services

                      1.   The Executive Director and/orWarden
                           shall contact those chosen for the
                           firing squad, alternates and team leader
                           to notify them of their selection and to
                           verify their willingness and
                           availability to perform the execution
                           duties.

                           a.   If any person rescinds his original
                                offer to participate, the selection
                                team shall meet to select a
                                replacement.

                           b.   If all of the selectees agree,
                                their individual roles shall be
                                explained to them.

                      2.




  TMF 01/05.05   Designation of Persons Required, Permitted or
                 Prohibited from,Witnessing the Execution

                 A.   The Utah Code limits and identifies those
                      persons who may attend and witness the
                      execution.  (See TMF 01/07.03.)

  REVISED 06/10/10                             TMF 01/05   - pg. 55




                                                        Exhibit 20 Page 56
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 324 of 534




                B.   The Warden shall designate the required
                     personnel to carry out the statutory
                     requirements of an execution.  Staff should
                     include:

                     1.            Deputy Warden;

                     2.   Observation Officers



                     3.       ·Tie-down Officers,


                     4.   one Team Foreman for the escort/Tie-Down
                          Team;

                     5.   executioners (reference TMF 01/05.03 &
                          . 04);

                     6.   Clean-up Officers (number to be
                          determined by the Warden/designee),
                          assigned to clean up the execution
                          chamber immediately following the
                          execution;

                     7.   Guide Officers (number to be determined
                          by the Warden/designee);

                     8.


                     9.



                C.   The Warden/designee shall designate the
                     appropriate resources necessary to carry out
                     the requirements of an execution.  The
                     designated individuals shall be responsible
                     for:

                     1.   advising the Warden concerning any
                          medical supplies, etc.;

                     2.   the preparation and supervision of meals
                          prepared during the observation period,
                          and for the condemned inmate's last
                          meal;


 REVISED 06/10/10                                   TMF 01/05   - pg. 56



                                                            Exhibit 20 Page 57
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 325 of 534




                      3.   ordering, verifying, picking-up the
                           drugs, equipment, etc., necessary to
                           carry out an execution by lethal
                           injection; and

                      4.   pronouncing the death of the condemned
                           inmate.


  TMF 01/05.06   Disposition of Condemned Inmate's Property

                 A.   Contact with Condemned IILmate

                      1.   At least 30 days prior to the scheduled
                           execution the condemned inmate should be
                           contacted to discuss arrangements for
                           disposing of his property.

                      2.   At least 14 days prior to the execution
                           property-disposition arrangements should
                           be finalized.

                      3.   At least seven days prior to the
                           execution all paperwork required for
                           final disposition should be completed.

                      4.   If the condemned is uncooperative,
                           doesn't wish to make specific property-
                           disposition arrangements, or for any
                           other reason has not made arrangements
                           for disposition, he shall be notified
                           the property will be disposed of as
                           required under 64-13-15 (1) UCA.

                 a:   Options for Disposing of Property

                      1.   Property may be released to an
                           authorized visitor (family, friend or
                           attorney) . The release would follow the
                           normal property release procedures.

                      2.   Property may be mailed through the U.S.
                           Postal Service.  The prison's Mail Unit
                           shall process the mailing consistent
                           with standard mail procedures.  Indigent
                           status does not cover property-release
                           postage.

                      3.   Property may be donated to a charitable
                           organization.


  REVISED 06/10/10                              TMF 01/05     - pg. 57




                                                          Exhibit 20 Page 58
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 326 of 534




                     4.   If the condemned fails to designate a
                          property-disposition option: '

                               "if property is not claimed within
                               one year of death ... it becomes
                               property of the state and 1 may be
                               used for correctional purposes or
                               donated to a charity within the
                               state." 64-13-15 (1) UCA

                C.   Release Procedure

                     1.   Following a decision to release the
                          condemned's property, the property shall
                          be:

                          a.   inventoried by        staff; and

                          b.   transferred to the property room.

                     2.   The release will then follow according
                          to the appropriate release procedures.
                          Refer to FDr14, "Inmate Property" and
                          FDr03, "Inmate Mail."

 TMF 01/05.07   Disposition of Money in Inmate Account

                A.   Contact with Condemned Inmate

                     Follow the time-table for contact with the
                     condemned outlined for property under
                     TMF 01/05.06.

                B.   Options for Disposing of Inmate Accounts

                     1.   The condemned shall be required to
                          complete a money transfer form releasing
                          the money in his account to his next of
                          kin or other person or organization of
                          his choice.

                     2.   If the condemned refuses or otherwise
                          fails to complete the necessary forms,
                          the funds shall be disposed of
                          consistent with state law.

 TMF 01/05.08   Disposition of the Body of the Condemned

                A.   Release to Medical Examiner



 REVISED 06/10/10                               TMF 01/05   - pg. 58



                                                         Exhibit 20 Page 59
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 327 of 534




                     1.   After the executed inmate is pronounced
                          dead, the body shall be released from
                          the restraints and removed from the
                          execution chamber.

                     2.   The body shall be immediately
                          surrendered to the State Medical
                          Examiner/desiqne~~




  REVISED 06/10/10                             TMF 01/05   -   pg. 59




                                                       Exhibit 20 Page 60
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 328 of 534




 TMF 01/05.09   Equipment Check/Inventory: Lethal Injection

                A.   Responsibility

                     1.   The IV team shall conduct a check of
                          equipment and materials necessary to
                          conduct the execution.

                     2.


                B.   Inventory

                     1.




                     2.




                     3.


                          a.



                          b.




                     4.




                C.   Bloodborne Pathogen Precaution

                     1.   As a precaution, all persons who may
                          come in contact with the condemned's
                          body fluids shall be issued rubber

 REVISED 06/10/10                             TMF 01/05   -   pg. 60



                                                      Exhibit 20 Page 61
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 329 of 534




                             gloves and bloodborne pathogen
                             protection supplies and equipment.



  TMF 01/05.10   Equipment Check/Inventory: Firing Squad

                 A.   The Warden shall ensurean equipment check of
                      appliances necessary to carry out an
                      execution.

                 B.




                      1.

                      2.

                      3.

                      4.

                      5.

                      6.


                      7.


                 C.   The execution team leader shall be
                      responsible to arrange for:

                      1.          .30-caliber rifles;
                      ., .
                      ,_           live rounds of arnn1un.i.L.i.on;

                      3.         blank rounds of ammunition;

                      4.     practice sessions and dry fire;

                      5.     ensuring equipment is clean and
                             operable; and

                      6.     back-up equipment for items 1, ?., 3,
                             above.

                 0.                        prior to the execution:

                      1.     the executioners shall be escorted into
                             the execution chamber by the DIO
                             Director/designee; and
                                                                                   ,... ...
                                                     .tL•J.t.:   U..L/U-l   -   fJ~·VI




                                                                        Exhibit 20 Page 62
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 330 of 534




                     2.



                E.   Bloodborne Pathogens Precaution

                     As a precaution, all persons who may come in
                     contact with the condemned's body fluids
                     shall be issued rubber gloves and bloodborne
                     pathogen protection supplies and equipment.


 TMF 01/05.11   Procurement, Storage and Accountability of
                Chemicals for Lethal Injection

                A.   Purchase

                     1.
                                     the warden shall provide to
                          cne pharmacist for his official records
                          a memorandum specifying:

                          a.    The drugs which must be obtained;

                          b.    A copy of the judgment of death;
                                and

                          c.    A copy of the state statute.      77-
                                19-10 (2) UCA

                     2.                                      the
                          pharmacist shall order the drugs from
                          the vendor.  Upon receiving the drugs,
                          the pharmacist shall:

                          a.


                          b.    Immediately notify the Warden that
                                the drugs have been received;

                          c.




                          d.




 REVISED 06/10/10                               TMF 01/05   -   pg. 62



                                                        Exhibit 20 Page 63
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 331 of 534




                                                                    e.


                                                                         1.




                                                                         2.



                                                                         3.




                                                                         4.




                                                                    f.




                                                               3.   Storage and Handling of Drugs

                                                                    a.



                                                                    b.   See the next two pages for the
                                                                         Equipment and Materials Checklist.


                                   UTAH STATE DEPARTMENT OF CORRECTIONS
                       .Equipment and Materials Checklist: Execution by Injection


  r- .,..,,.   ·r...,..,...,,...... ..-.   /""\ /"
                                              I., r. I.., r.                                                 ·- --     r'\#"'\
  .L\.LJ \I       .J....JL..Jl.I           VU/ .LV/ .LV                                 u•1r   V.L/ VJ   -   iJ!,,J·   U...J


                                                                                                     Exhibit 20 Page 64
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 332 of 534




~q~~ntity      Item                                                         Code
               Sodium Thiopental (,Pentathal), 500 mgm.,                    A
               w/diluent
               Pancuronium Bromide ( Paravulon) , 50 mgm. Ampules           A
               Potassium Chloride, 240 miliequi v. Ampules                  A
               Valium injection, 10 mgm                                     A
I
               Syringe,   60 cc Lur Lock
I
               Syringe, 10 cc Lur Lock
I
               Syringe, 5 cc Lur Lock

               Needle, 18 Ga., 1   1--!!

>-
               Needle, 25 Ga., 1   ~

                                           i,..11
               Angiocatp, 14 Ga., 2         •
               Angiocath, 18 Ga., 1        ~II



               Angiocath, 16 Ga., 1        ~II'




               Normal saline, IV bad, lOOOC

               Lidocaine HCL, 2% w/Epinephrine

               Lidocaine HCL, 2% w/o Epinephrine 2

               Solution injection set, 70" long with

               Y-injection site:       Travenol Code: #2C0005S

               Extension set, 35" long; Travenol Code #2C0066
i              Stethoscopes

               Boxes of alcohol preps

               Rolls of Kling

               Adhesive tape, l"

               Adhesive tape, 2"
-
               'Scissors, bandage, Pr.

               Tourniquet

               Hemostat, sterile
               Flashlight, w/batteries                                      A
--
          ,)   Batteries, flashlight, (spares)                              A
               Ace wraps 3"
L              Needle holders

               10 packs sterile gauze
               Sharp containers

    REVISED 06/10/10                                    TMF 01/05   - pg.   64
                                                                 Exhibit 20 Page 65
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 333 of 534




 ,--
 i             BIO-Hazardous trash bags       ,,_,
               Extra large impervious gowns
 I             IV hangars
 !-            Mayo stand
 I             Terry cloth towels
 '
 l

 L_
               Goose   neck light
 I
               Blood spill kits
               Trash containers
               Electronic Heart Monitor (EKG)

      TMF 01/05.12     Observation Period and Related Activities
                       A.   Access

                            1.




                            2.



                            3.




                       B.   Preparation of the Observation Cell

                            1.

                                 a.



                                 b.




                                 c.



                            2.   Stocking the Cell

                                                     """"'r<   t'\ ~   Ir. r
                                                     A.I'll.   VAi V.J




                                                                               Exhibit 20 Page 66
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 334 of 534




                          a.   The observation cell shall be
                               outfitted with the following items:

                               ( 1)    mattress     ( 1) i

                               (2)     pillow ( 1) i

                               (3)     pillow case ( 1) i

                               (4)     sheets ( 2) i

                               (5)     blankets ( 2) i

                               ( 6)    towel   ( 1) i

                               (7)     soap, small ( 1) i

                               (8)     toilet paper,         roll ( 1) i

                               (9)     jump suit (color to be
                                       determined by the Warden)                   (1);

                               (10)    socks   (1   pr.);

                               ( 11)   shower thongs         ( 1 pr.); and

                               (12)    pocket comb, no metal              ( 1) .

                          b.   If requested, the cell will also
                               have the following items purchased
                               new




                               ( 1)    Bible (1);

                               (2)     magazine

                               (3)     newspaper
                                            ; and

                               (4 l    photographs


                          c.   The following items may be given on
                               request, a.s needed,



                               (1)     toothbrush (1);


 REVISED 06/10/10                                       TMF 01/05     -    pg. 66



                                                                   Exhibit 20 Page 67
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 335 of 534




                               (2)   toothpaste



                               (3)



                          d.   If the condemned inmate receives
                               mail the officer shall allow the
                               condemned inmate adequate time to
                               read the mail


                          f.




                          g.   Additional property shall be
                               approved by the warden.



                     3.   Test Equipment

                          a.




                          b.


                c.
                     1.




                     2.




                     3.




 REVISED 06/10/10                                 TMF 01/05   -   pg. 67




                                                          Exhibit 20 Page 68
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 336 of 534




                     4.




                     5.



                     6.




                          a




                          b.




                D.   Securing Condemned Inmate's Property/Cell

                     1.




                     2.




                     3.




 REVISED 06/10/10                             TMF 01/05   -   pg. 68



                                                       Exhibit 20 Page 69
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 337 of 534




                             b.


                                    ( 1 ).

                                    (2)

                                    (3)



                                    ( 4)




                             c.


                                    ( 1)


                                    (2)

                                    (3)




                                    ( 4)




                        4.   Personal property shall be separated
                             from prison property, and the personal
                             property put into a suitable container
 (
                             and sealed.  Each search team member
                             shall initial the seal.

                        5.   Tl-1e desig-nated pkop12J:.··ty ui. L..LCeL       ~11d.t..L
                             sign for and assume responsibility for
                             the inventoried property.

                        6.



                             a.




     REVISED 06/10/10                                    TMF 01/05         -     pg. 69




                                                                     Exhibit 20 Page 70
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 338 of 534




                          b.



                     7.




                     8.   The personal property shall be taken to
                          the DIO property room for storage.




                E.   Observation Function

                     1.




                          a.

                          b.

                          c.

                          d.

                          e.

                          f.

                          g.

                     2.




                          a.




                          b.



 REVISED 06/10/10                             TMF 01/05   - pg.   70


                                                       Exhibit 20 Page 71
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 339 of 534




                      3.




                      4.




                      5.




                 F.   Activities During the Observation Period

                      1.




                      2.   Unless previously served, meal service,
                           including the last meal, shall be served
                           during the observation period.

                      3.




  REVISED 06/10/10                             TMF 01/05   - pg.   71


                                                       Exhibit 20 Page 72
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 340 of 534




                     4.


                          a.




                          b.




                          c.




 REVISED 06/10/10                            TMF 01/05   -   pg. 72




                                                     Exhibit 20 Page 73
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 341 of 534




  TMF 01/05 .13   Tie-Down Procedures: Lethal Injection

                  A.   Transfer of Condemned Inmate to Execution
                       Site

                       1.   The condemned inmate shall be escorted
                            from the observation cell to the
                            execution charnQs;!r bv the Tie-Down Team.




                       2.


                            a.


                            b.



                            c.


                            d.


                  B.   Positioning of Tie-down Team

                       1.



                       2.




                       3.



                       4.


                       5.



                  C.   Securing Inmate to Gurney

  REVISED 06/10/ 10                                TMF 01/05   -   pg. 73




                                                           Exhibit 20 Page 74
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 342 of 534




                     1.




                    2.


                          a.




                          b.



                          c.




                          d.




                          e.




                          f.



                          g.



                    3.




 REVISED 06/10/10                             TMF 01/05   -   pg. 74


                                                      Exhibit 20 Page 75
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 343 of 534




                     4.




                     5.   Upon completion of the execution and as
                          directed by the Warden, the Tie-Down
                          Team shall enter the execution chamber
                          and remove the straps in the reverse
                          order as outlined above.


 TMF 01/05.14   Tie-Down Procedures: Firing Squad

                A.   Bringing Condemned Inmate to Execution
                     Chamber

                     The condemned inmate should be escorted from
                     the observation cell to the execution chamber
                     by the Tie-Down Team


                B.   Positioning the Tie-Down Team

                     1.



                     2.




                     3.




                     4.


                C.   Securing the Inmate to the Chair

                     1.


                     2.


 REVISED 06/10/10                             TMF 01/05    - pg.   75



                                                          Exhibit 20 Page 76
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 344 of 534




                          a.




                          b.




                     3.



                     4.




                     5.   Upon completion of the execution and as
                          directed by the Warden, the Tie-Down
                          Team shall re-enter the execution
                          chamber and remove the straps in reverse
                          order as outlined above.


 TMF 01/05.15   Lethal Injection Protocol

                A.



                     1.




                     2.




 REVISED 06/10/10                             TMF 01/05   -   pg. 76



                                                       Exhibit 20 Page 77
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 345 of 534




                 8.   Preparation of Syringes

                      1.




                           a.


                           b.


                           c.


                      2.   The execution team leader shall
                           providethe drug box to the IV team
                           leader.

                           a.   The IV team leader shall prepare
                                each chemical in accordance with
                                the manufacturer's instructions and
                                draw them into the two (2) sets of
                                syringes.

                           b.   The second member of the IV team
                                and the execution team leader shall
                                observe
                                preparation of the chemicals and
                                verify that the instructions and
                                procedures have been carried out
                                correctly.

                           c.



                      3.   The syringes containing the chemicals
                           shall be prepared and loaded in the
                           following order:

                           a.   Two 60-cc syringes, each containing
                                240 milliequivalents of Potassium
                                Chloride in 50-cc and label
                                syringes "Syringe #3.

                           b.   Two 60-cc syringes, each containing
                                fifty (50) milligrams of
                                Pancuronium Bromide in 50-cc and

  REVISED 06/10/10                              TMF 01/05   -   pg. 77




                                                        Exhibit 20 Page 78
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 346 of 534




                               label syringes "Syringe #2".

                          c.   Two 60-cc syringes, each containing
                               three (3) gm of Sodium Thiopental
                               in 50-cc and label syringes
                               "Syringe #1".

                          d.   The secondary syringes containing
                               each of the three chemicals are to
                               serve the following purposes.

                               1.   Secondary syringe of Sodium
                                    Thiopental is prepared in the
                                    event the condemned
                                    has not lost consciousness
                                    sixty (60) seconds after the
                                    first administration of the
                                    chemical.

                               2.   Secondary syringes containing
                                     Potassium Chloride and
                                     Pancuronium Bromide are
                                     prepare.ct in the event the
                                     condemned has not been
                                     pronounced dead after the
                                     first administration of the
                                     chemicals.

                     4.   Any syringes that are loaded with lethal
                          injection chemicals that are not used
                          during the execution shall:

                          a.   Be returned to the Warden by the
                               execution team leader;

                          b.   Be destroved bv the Warden,




                     5.   Any unused chemicals that were not mixed
                          in preparation of the lethal injection
                          shall:

                          a.   Be returned to the Warden by the IV
                               team leader;

                          b.   Be destroyed by the Wnrden,


 REVISED 06/10/10                              TMF 01/05   - pg. 78




                                                       Exhibit 20 Page 79
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 347 of 534




                 c.


                 D.




                 E.   The IV team leader:
                      1.   Shall, along with the second IV team
                           member, verify two (2) labeled sets of
                           each of the three (3) chemicals are
                           present, filled, and clearly labeled;
                      2.   Provide the two {2) labeled sets of each
                           of the three (3) chemicals contained in
                           the drug box to the execution team
                           leader who will verify 1 along with
                           another execution team member, selected
                           by the execution team leader, the
                           appropriate number of syringes have been
                           surrendered and are clearly labeled; and

                      3.   Prepare the IV set-up.
                 F.   IV set-up Procedure by IV Team


                      l.   The connector of Adminintration Set
                            (McGaw V1417 or equivalent) shall be
                           inserted into the bag of Normal Saline
                           IV solution.

                      2.   The Flo Trol clamp located above the "Y"
                           site shall control the flow of solution.

                      3.   A 35-inch Extension Set (Travenol 2C0066
                           or equivalent) shall be connected to the
                           needle adapter of the Administration
                           Set.


  REVISED 06/10/10                             TMF 01/05   -   pg. 79




                                                        Exhibit 20 Page 80
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 348 of 534




                     4.   The set-up for administration into the
                          back-up IV site may require additional
                          Extension Sets due to the potential of
                          additional distance.

                     5.   All connections should then be taped to
                          ensure they do not come apart during the
                          procedure.

                     6.   The tubing shall be cleared of air by
                          removing the protector from the needle
                          adapter and opening the Flo Trol clamp
                          letting the tube fill with solution.

                     7.   The Flo Trol clamp shall then be closed
                          and the protective cap over the needle
                          adapter replaced.

                     8.   Steps 1 through 7 shall be repeated for
                          the second set-up.

                G.   Injection Procedure by IV Team

                     1.   The Warden shall order the condemned
                          person escorted to the execution chamber
                          and strapped to the gurney.

                     2.   The IV team shall run the IV lines to
                          the condemned person by the following:

                          a.   Site and insert one (1) primary IV
                               line; and

                          b.   Site and insert one (1) back-up IV
                               line.

                     3.   The IV team members shall determine the
                          location of the IV sites on the body of
                          the condemned person.

                     4.


                          a.

                          b.

                          c.

                          d.



 REVISED 06/10/10                              TMF 01/05   -   pg. 80



                                                       Exhibit 20 Page 81
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 349 of 534




                 H.   IV Placement Process by IV Team

                      1.   The angiocath shall be inserted into the
                           vein of the primary IV site.

                      2.   To best ensure that a needle is inserted
                           properly into a vein, the IV team
                           members shall look for the presence of
                           blood in the valve of the sited needle.

                      3.   The inner needle is then withdrawn and
                           the needle adapter is placed on the
                           angiocath.

                           a.




                           b.




                      4.   The flow of normal saline shall be
                           started and administered at a slow rate
                           to keep open.

                      5.   Step 1 through 3 shall be repeated for
                           the back-up IV site.

                      6.   The Administration Sets shall be running
                           at a slow rate of flow, to keep open and
                           ready for the insertion of syringes
                           containing the injection chemicals.

                      7.   Both set-ups shall be observed by the IV
                           team members to ensure they are both
                           patent and functioning properly.

                      8.   No further action is necessary at this
                           time.

                 I.   Lethal Injection Procedure

                      1.   The execution team shall:



  REVISED 06/10/10                             TMF' 01/05   - pg.   81




                                                        Exhibit 20 Page 82
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 350 of 534




                          a.   Securely connect the electrodes of
                               the cardiac monitor to the
                               condemned person; and

                          b.   Ensure the equipment is functioning
                               properly.

                     2.   At the designated hour mandated for the
                          execution, when everything is ready:

                          a.   The DIO Director/designee and
                               Warden shall pull open the curtains
                               covering fhe witness room windows.

                          b.   The Warden shall ask the condemned
                               inmate if he has any last words or
                               wishes to make a statement.

                               1.   The statement should not
                                    exceed two minutes.

                               2.   If the inmate uses foul
                                    language, the Warden should
                                    immediately proceed with the
                                    next step in the execution.

                               3.   If the statement exceeds two
                                    minutes, the execution shall
                                    proceed without waiting for
                                    the conclusion of his remarks.

                               4.   The Department, for the
                                    purpose of recording the
                                    condemned inmate's last words,
                                    may use audio recording
                                    equipment.

                                    a.   The Department shall
                                         permanently destroy the
                                         recording made under this
                                         subsection not later than
                                         24 hours after the
                                         completion of the
                                         execution.

                                    b.   No form of duplication of
                                         the audio shall be
                                         permitted.

                                    c.   The Warden, witnessed by
                                         the DIO
                                         Director/designee, shall

 REVISED 06/10/10                              TMF 01/05   -   pg. 82


                                                       Exhibit 20 Page 83
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 351 of 534




                                                destroy any audio
                                                recording.

                          c.        At the conclusion of the remarks,
                                    or when the Warden determines it is
                                    time to proceed, a prearranged
                                    signal shall then be given by the
                                    Warden to the Executive
                                    Director/designee.

                          d.        The Executive Director/designee
                                    shall order the execution team
                                    leader to begin the administration
                                    of the chemicals providing:

                                    1.   The earliest legal execution
                                         time has been verified and has
                                         pa.sseri;   ;ind



                                    2.   No instruction to halt has
                                         been received from the
                                         Attorney General's Office.

                          e.       Following the instruction from the
                                   Executive Director/designee to
                                   execute the condemned inmate, the
                                   execution team leader shall
                                   immediately proceed with the
                                   execution.

                          f.




                                   1.



                                    2.



                                    3.



                     3.        Upon the Executive Director/designee's
                               order to proceed, the execution team
                               leader shall begin the following

  REVISED 06/10/10                                      TMF' 01/05   -   pg. 83




                                                                 Exhibit 20 Page 84
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 352 of 534




                         sequence:

                          a.   The flow of the normal saline into
                               the arm shall be cut off using the
                               Flo Trol clamp.

                          b.   The clamp should be moved as close
                               to the "Y" site as possible.

                          c.   The 18 ga needle of Syringe #1
                               (three (3) gm of Sodium Thiopental)
                               shall be inserted into the "Y" site
                               and the injection shall commence.

                               1.    A steady, even flow of the
                                     injection shall be maintained
                                     with only a minimum amount of
                                     force applied to the syringe
                                     plunger.

                               2.    When the entire contents of
                                     the syringe have been
                                     injected, syringe #1 shall be
                                     removed from the "Y" site.

                        d.     The Flo Trol clamp should then be
                               opened fully and allowed to run for
                               15 seconds.

                        e.     The Flo Trol clamps shall then be
                               closed.

                        f.     A period of sixty (60) seconds
                               shall pass after the administration
                               of the Sodium Thiopental and
                               closure of the Flo Trol clamp.

                               1.    After the passage of sixty
                                     (60) seconds:

                                       a. If it appears to the
                                          Warden based on his
                                          visual inspection that
                                          the condemned person is
                                          not unconscious:

                                        i.     The Warden shall
                                               notify the Executive
                                               Director/designee;

                                        ii.    The Executive
                                               Director/designee

 REVISED 06/10/10                              TMF 01/05   - pg. 84




                                                        Exhibit 20 Page 85
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 353 of 534




                                              will order the
                                              execution team to
                                              switch to the back-
                                              up IV site;

                                     iii.     The Executive
                                              Director/designee
                                              shall order that the
                                              back-up IV site be
                                              used with a new flow
                                              of Sodium Thiopental


                                              (secondary syringe
                                              labeled Syringe #1);
                                              and

                                      iv.     The Exe cu ti ve
                                              Director/designee
                                              shall order the
                                              remaining sequence
                                              of chemicals to be
                                              injected through the
                                              back-up IV site.

                               2.   If it appears to the Warden
                                    based on his visual inspection
                                    that the condemned person is
                                    unconscious after the first
                                    injection of Sodium
                                    Thiopental, the Warden shall
                                    notify the Executive
                                    Director/designee who will
                                    then order the execution team
                                    to continue to the next step
                                    in the sequence.

                        g.     The 18 ga needle of Syringe #2
                               (fifty (50) milligrams of
                               Pancuronium Bromide) shall be
                               inserted into the "Yu site and the
                               injection shall commence;

                               1.   A steady, even flow of the
                                    injection shall be maintained
                                    with only the minimum amount
                                    of force applied to the
                                    syringe plunger.

                               2.   When the entire contents of
                                    the syringe have been
                                    injected, Syringe #2 shall be

  REV~SEu   06/10/10                          TMF 01/05   -   pg. 85




                                                      Exhibit 20 Page 86
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 354 of 534




                                   removed from the "Y" site.

                        h.    After syringe #2 has been given,
                              the Flo Trol clamp should be opened
                              fully for 15 seconds.

                        i.    The Flo Trol clamp shall then be
                              closed.

                        j.    The 18 ga needle of Syringe #3 (240
                              milliequivalents of Potassium
                              Chloride) shall be inserted into
                              the "Y" site and the injection
                              shall commence;

                              1.   A steady, even flow of the
                                   injection shall be maintained
                                   with only the minimum amount
                                   of force applied to the
                                   syringe plunger.

                              2.   When the entire contents of
                                   the syringe have been
                                   injected, Syringe #3 shall be
                                   removed from the "Y" site.

                        k.    The Flo Trol clamp shall then be
                              opened fully and allowed to run for
                              15 seconds.

                        1.    The Flo Trol clamp shall then be
                              closed.

                       m.     An execution team member designated
                              by the execution team leader shall
                              start a stopwatch once the lethal
                              injections are complete.

                        n.    The execution team leader shall:

                              1.   Observe the heart monitor; and

                              2.   Advise the attending physician
                                   electrical activity of the
                                   heart has ceased as indicated
                                   by a flat line on the heart
                                   monitor.

                        o.    The Warden shall notify the
                              Executive Director/designee if it
                              appears an additional set of lethal
                              chemicals needs to be administered
 REVISED 06/10/10                             TMF 01/05   - pg. 86




                                                      Exhibit 20 Page 87
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 355 of 534




                                       due to the following conditions:

                                       1.     Heart monitor does not
                                              indicate a flat line after ten
                                              (10) minutes; or

                                       2.     The attending physician is not
                                              able to declare the time of
                                              death after ten (10) minutes.

                             p.        In the event death has not
                                       occurred;

                                            1. The Exe cu ti ve
                                               Director/designee will order
                                               the process established in
                                               subsection (2) (f) of this
                                               section and subsequent
                                               sections to continue with the
                                               secondary set of syringes
                                               until death has occurred.

                             q.        During the execution by lethal
                                       injection, the DIO
                                       Director/designee and Warden shall:

                                       1.     Watch the primary IV site for
                                              failure, leakage, the catheter
                                              coming out of a vein, or any
                                              other problem.

                                       2.     In the event that an IV fails,
                                              leaks, if the catheter comes
                                              out of the vein, or any other
                                              problem arises, the execution
                                              team shall be ordered to
                                              switch to the back-up IV.

                                       3.     In the event the execution
                                              team is ordered to switch to
                                              the back-up IV, the DIO
                                              Director/Warden shall watch
                                              the back-up IV site for
                                              failure, leakage, the catheter
                                              coming out of a vein, or any
                                              other problem.

                   J.   Post Lethal Injection Steps

                        1.        When the physician declares death,       the
                                  Executive Director/designee, DIO


  REVIS~D   06/10/10                                     TMF 01/05   -   pg. 87




                                                                 Exhibit 20 Page 88
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 356 of 534




                              Director/designee and Warden shall be
                              informed.

                         2.   The DIO Director and Warden   ~hall   close
                              the viewing room curtains.

                         3.   The Executive Director/designee shall
                              make appropriate contact with the
                              Governor and Attorney General informing
                              them of the completion of the execution.

                    K.   Disposal of BIO-Hazardous Contaminated Items

                         1.   The execution team leader shall place
                              items that have been contaminated with
                              blood or other potentially infectious
                              materials (OPIM) that have the potential
                              to puncture into a puncture proof
                              container (sharps container) .

                         2.   The execution team leader shall place
                              other types of blood or other
                              potentially infectious materials in
                              trash containers lined with a red BIO-
                              Hazardous waste bag.


                         3.   The Correctional Medical Administrator
                              shall ensure that the contaminated waste
                              is disposed of in the proper Dumpster.

 TMF 01/0 5 . 1 6   Execution by Firing Sauad

                    A.




                    B.


                         1.   Refer to TMF 01/05.iO.

                         2.   The team leader shall load the weapons
                              and prepar~ to issue them to the members
                              of the firing squad.

                         3.   Two rounds shall be loaded in each
                              weapon.

                         4.   Care shall be taken to preclude any
                              knowledge by the members of the firing

 REVISED 06/10/10                                  TMF 01/05   - pg. 88



                                                            Exhibit 20 Page 89
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 357 of 534




                                         squad of who is issued the weapon with
                                         two blank cartridges.

                 C.   The Warden shall direct that an aiming point
                      or target be placed over the condemned
                      iTLrnate' s heart,

                 D.   Upon completion of "C", above, the Warden
                      shall direct the person who placed the target
                      to exit the execution chamber.

                 E.   After the target is in place and all
                      witnesses are secured, the Warden shall
                      direct that the viewing room curtains be
                      r"'\nonei.~
                        t-""''-" 1'- ..........
                      \.J




                 F.   After all preliminaries are completed, the
                      Warden, at the conclusion of the condemned
                      inmate'~ last words (which shall not exceed
                      two minutes and cease at any point should the
                      condemned use foul language), shall place the
                      hood over the condemned's head.

                      (1)               Audio recording equipment may be used by
                                        the Department for the purpose of
                                        recording the defendant's last words.

                      (2)               The Department shall permanently destroy
                                        the recording made under this subsection
                                        not later than 24 hours after the
                                        completion of the execuLion.

                      (3)               No form of duplication of the audio
                                        shall be permitted.

                      (4)               The Warden, witnessed by the 010
                                        Director/designee, shall destroy any
                                        audio recording.

                 G.   The DIO Director/designee, Warden, and any
                      other observers shall exit the execution
                      chamber.

                 H.   When the Warden enters the executioners' room
                      and secures the door, if no stay or delay in
                      the execution has been ordered, the Executive
                      Director/designee shall irmnediately order the
                      firing squad team leader to begin the cadence
                      for the executioners to fire.




  REVISED 06/10/10                                           TMF 01/05   - pg.   89




                                                                     Exhibit 20 Page 90
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 358 of 534




                I.   A designated execution team member shall
                     start a stopwatch once the first volley has
                     been fired.

                J.   If the condemned inmate appears to be
                     unconscious, upon the order of the Executive
                     Director, the Warden and DIO Director shall
                     re-enter the execution chamber after the
                     first volley.

                     1.   The Warden shall wait a maximum of three
                          minutes after the first volley and then
                          call for the physician to check the
                          vital signs of the condemned.

                          a.   If there are signs of life, the
                               physician shall wait beside the
                               condemned and check the vital signs
                               every 60 seconds.

                          b.   When no vital signs are detected,
                               the physician shall certify death
                               in keeping with standard medical
                               practices.

                          c.   After death is certified, the
                               Warden shall direct that the
                               viewing room curtains be closed.

                     2.   If, after a maximum of ten minutes from
                          the first volley, the inmate is
                          unconscious but alive, the Warden shall
                          direct the physician to make a final
                          check of the condemned's vital signs.

                          a.   If on final check, vital signs are
                               detected, the Warden shall order
                               the physician to exit the execution
                               chamber.

                          b.   The Warden and DIO Director shall
                               re-enter the executioner's room.

                          d.   The Executive Director/designee
                               shall order the firing squad team
                               leader to make the weapons ready to
                               fire.

                          ~·   The Executive Director/designee
                               shall immediately order the firing
                               squad team leader to begin the


 REVISED 06/10/10                              TMF 01/05   - pg.   90




                                                       Exhibit 20 Page 91
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 359 of 534




                                cadence for the firing squad to
                                fire a second volley.

                           f.   After the firing of the second
                                volley, the Warden and DIO Director
                                shall re-enter the execution
                                chamber and proceed with paragraph
                                "J, l", above.

                 K.   If, after the first volley is fired, the
                      condemned is obviously conscious, the
                      Executive Director/designee shall instruct
                      the firing squad team leader to immediately
                      prepare the weapons to fire again.

                      1.   The firing squad team leader shall ready
                           the weapons in a controlled and safe
                           manner.

                      2.   The firing squad team leader shall
                           ensure the executioners do not see which
                           weapon contains the blank cartridges.

                      3.   When the weapons are ready, if the
                           condemned is still obviously conscious,
                           the Warden shall ensure no staff members
                           are in the execution chamber.

                      4.   Upon notice from the Warden that the
                           execution chamber is clear, the
                           Executive Director shall immediately
                           order the firing squad team leader to
                           begin the cadence for the executioners
                           to fire a second volley.

                      5.   After the second volley, continue with
                           "J", above .

                 L.   The Executive Director shall make
                      notitication ot the condemned's death to the
                      Governor and the Attorney General.




  TMF Ol/05.17   Pre-Execution Rehearsals and Practices


                 A.   A minimum of three rehearsals and practices
                      shall be conducted ~o carry out an execution
                      in a timely fashion maintaining the necessary

  REVISED 06/10/10                             TMF 01/05    - pg.   91




                                                          Exhibit 20 Page 92
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 360 of 534




                     security.  Practice/rehearsal shall be
                     provided for but will not be limited to:

                     l.    briefing;

                     2.    removing the condemned inmate from the
                           observation cell;

                     3.


                     4.    escort to execution chamber;

                     5.    tie-down procedures completed;

                     6.    approximate time for IV injection
                           procedure (execution time approximate);

                     7.    clearing and escorting witnesses to/from
                           execution site;

                     8.    security curtains opened and closed;

                     9.    condemned inmate's body removed from
                           execution table/chair;

                     10.


                     11.   clean-up;

                     12.   debriefing outlined;

                     13.   firing of weapons; and

                     14.   ensure sufficient precautions are taken
                           to minimize the risk of bio-hazardous
                           exposure.

                B.   Planning backward from the execution shall be
                     used to develop realistic time lines for each
                     function involved in the execution.

                c.




                     1.    Discrepancies, concerns or proposed
                           modifications due to system problems
 REVISED 06/10/10                                 TMF   01/05   - pg.   92



                                                            Exhibit 20 Page 93
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 361 of 534




                           shall be immediately reported to the
                           Warden.




  TMF 01/05.18   Support Services Functions

                 A.   Food Services

                      1.   Observation Period Meal Service

                           a.




                           b.   The Food Services Director/designee
                                shall confirm the condemned's
                                choice of a last meal.  The
                                confirmation should be made 48-24
                                hours prior to the execution.

                           c.




                           d.




                           e.   Alcoholic beverages shall not be
                                served nor used for cooking.

                      2.   Beverage and Food Service for Staff

                           a.   Because of the length of time many
                                persons will be required to remain
                                on site without being able to
                                leave, it may be necessary to serve
                                food and beverages to those
                                assigned to the execution.

  REVISED 06/10/10                             TMf 01/05     -   pg. 93




                                                       Exhibit 20 Page 94
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 362 of 534




                          b.




                          c.   Food and beverage services may be
                               provided to:

                               (1)   the command post;

                               (2)   the Information Center;

                               (3)   the food preparation area of
                                     the building in which the
                                     execution will occur;

                               (4)   to the Draper site Security
                                     Deputy Warden for delivery to
                                     perimeter posts; and

                               (5)   other sites as needed.

                          d.




                B.   Medical Staff

                     1.   Receipt of Death Warrant

                          Upon receipt of the death warrant the
                          Correctional Medical Administrator
                          shall:

                          a.   review the medical procedures, post
                               orders and equipment checklist and
                               make reco~mendations in writing to
                               the Warden concerning any back-up
                               or duplication of any medical


 REVISED 06/10/10                               TMF 01/05 - pg.94




                                                         Exhibit 20 Page 95
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 363 of 534




                                paraphernalia that may be necessary
                                to carry out an execution; and

                           b.   shall confer with the Chief
                                Physician and assign all execution-
                                related tasks to be completed.

                      2.   Thirteen to Seven Days

                           a.   At least thirteen days prior to the
                                execution the Warden shall provide
                                to the pharmacist, for his official
                                record, authorization to purchase
                                drugs.  Authorization shall be in
                                the form of a memorandum including:

                                (1)   the names of the drugs which
                                      shall be obtained;

                                (2)   a copy of the judgement of
                                      death; and

                                (3)   a copy of the state statute
                                      (77-19-10 (2) UCA).

                           b.   At least seven days prior to the
                                execution the pharmacist shall
                                order the drugs from the vendor
                                (refer to chapter TMF 01/05.11) .

                                (1)   If the state's prime vendor
                                      cannot deliver the drugs, the
                                      pharmacists shall make
                                      arrangements with other
                                      vendors or hospitals to obtain
                                      the drugs.

                                (2)   If the drugs cannot be
                                      delivered to the prison by the
                                      primary vendor or their
                                      delivery service to the
                                      prison, the pharmacist shall
                                      notify the Correctional
                                      Medical Administrator.

                                (2)   The Correctional Medical
                                      Administrator shall make
                                      arrangements with the Draper
                                      site Security Deputy Warden ~o
                                      have an officer accompany them


  RF.VISED 06/10/10                             TMf 01/05 - pg.95




                                                        Exhibit 20 Page 96
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 364 of 534




                                     to the location where the
                                     other drugs may be obtained.

                          c.




                     3.




                     4.




                     5.

                          a.




                          b.




                          c.


                     6.

                          a.

                               (1)   the sodium pentothal syringes
                                     shall be prepared by the
                                     pharmacist at the direction of
                                     the Warden when it appears the
                                     execution shall be carried
                                     out;


 REVISED 06/10/10                              TMF 01/05 - pg.96




                                                        Exhibit 20 Page 97
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 365 of 534




                                (2)    a medical-response team shall
                                       be on standby to provide any
                                       medical attention which may be
                                       needed during the time of the
                                       scheduled execution;

                                (3)    a USP emergency equipment kit
                                       and a back-up kit shall be
                                       made available at the
                                       execution site; and

                                (4)    the Correctional Medical
                                       Administrator (C!VIA) /designee
                                       and a USP Medical staff with
                                       skills in intravenous
                                       injections, I.V. set-up,
                                       cut-down, etc., shall be
                                       available at the execution
                                       site to provide medical
                                       assistance in the execution
                                       chamber, if necessary.

                           b.   Equipment and lethal drugs shall be
                                gathered up by the CMA/designee
                                following the execution.

                                (1)    The CMA/designee shall be
                                       responsible for the disposal
                                       of the medical equipment used
                                       for lethal injection in   .
                                       accordance with TMF 01/05.15.

                                ( 2)




                 C.   Maintenance Staff

                      1.   Receipt of Death Warrant

                           a.   Upon receipt of the death warrant
                                the Deputy Warden Support Services
                                 shall:

                                (1)    review the maintenance
                                       procedures and the equipment
                                       checklist and make recom-
                                       mendations in writing for
                                       changes, additional equipment,
                                       etc. as is viewed essential
  REVISED 06/10/10                                TMF 01/05 -   pg.97




                                                           Exhibit 20 Page 98
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 366 of 534




                                     and provide such
                                     recommendations to the Warden
                                             prior to the scheduled
                                     execu~ion date; and


                               (2)   confer with the Maintenance
                                     Director and assign all
                                     execution related tasks to be
                                     completed.

                         b.   The Maintenance Director shall then
                              prepare a task completion calendar
                              which shall be presented to the
                              Deputy Warden Support Services for
                              approval, including:

                              (1)    a review of the maintenance
                                     procedure and the equipment
                                     checklist;

                              (2)    recommendations to the Warden
                                     in writing of changes,
                                     additional equipment, etc. as
                                     is viewed essential
                                     prior to the schedu~eu
                                     execution date;

                              (3)    identification of strategies
                                     to ensure that all systems,
                                     equipment, and mechanisms
                                     associated with the execution
                                     facility are functional and
                                     are readily repairable given
                                     an unexpected malfunction;

                              (4)    identification of emergency
                                     equipment, materials, and
                                     substances necessary to ensure
                                     that system, equipment, and/or
                                     mechanism malfunctions are
                                     expeditiously remedied;

                               (5)   establishment of inspection
                                     checklist and time frames for:

                                     (a)   the facility designated
                                           for the execution;

                                     (b)   the observation cell; and

                                     (c)   emergency backup systems;
 REVISED 06/10/10                               TMF 01/05 - pg.98




                                                         Exhibit 20 Page 99
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 367 of 534




                                 (6)    ensuring that all maintenance
                                        service/repair trucks are in
                                        good operational condition and
                                        supplied with equipment,
                                        tools, and supplies necessary
                                        to correct all execution
                                        related emergencies; and

                                 (7)    identification of maintenance
                                        personnel necessary to address
                                        all execution day maintenance
                                        emergencies.
                     ')
                     L. •




                            The Maintenance Director shall:

                            a.   complete a pre-inventory check of
                                 the necessary equipment; and

                            b.   complete a written report to the
                                 Deputy Warden Support Services of
                                 equipment, etc. requiring repair,
                                 replacement or duplications,
                                 including recommendations to
                                 correct problems and time frame
                                 necessary to make necessary
                                 corrections.

                     3.

                            The Deputy Warden Support Services shall
                            direct the Maintenance Director to:

                            a.



                            c.   conduct an inspection of the
                                 following equipment:

                                 (1)    execution chamber;

                                 ( 2)   observation eel 1; and

                                 (3)    emergency back-up systems and
                                        equipment.

                     4.


  REVISSD 06/10/10                                 TMf 01/05 - pg.99




                                                             Exhibit 20 Page 100
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 368 of 534




                          a.

                               (1)

                               (2)

                               (3)



                          b.   A pre-inventory check shall be
                               completed to ensure equipment is
                               operational and in proper working
                               order.

                     5.

                          a.

                               ( 1)



                               (2)

                                      (a)

                                      (b)

                                      (c)

                               (3)    emergency back-up systems and
                                      equipment.

                          b.   Emergency equipment shall be
                               checked to ensure readiness for the
                               execution.

                     6.

                          a.   Complete the procedures as outlined
                               in 5, above.

                          b.




                          c.

  REVISED 06/10/10                              TMF 01/05 -   pg. 100




                                                       Exhibit 20 Page 101
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 369 of 534




                                                     Exhibit 20 Page 102
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 370 of 534




                          d.


                               ( 1)

                               (2)

                               (3)

                               ( 4)


                               (5)



                               ( 6)




  REVISED 06/10/10                            TMF 01/05 -   pg. 101




                                                     Exhibit 20 Page 103
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 371 of 534




                                                           Exhibit 20 Page '\ 04
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 372 of 534




 TMF 01/07.00    WITNESSES

 TMF 01/07.01    General Provisions
 TMF 01/07.02    News Media Witnesses
 TMF 01/07. 03   Designation of Persons Required,   Permitted or
                 Prohibited from Witnessing
 TMF 01/07.04    Witness Agreement




 REVISED 06/10/10                              TMF 01/07    -   pg. 107




                                                         Exhibit 20 Page 105
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 373 of 534




  'l'MF 01/07. 00   WI'l'NESSES

  TMF 01/07.01      General Provisions

                    A.    Purpose of Chapter

                          The purpose of this chapter is to:

                          1.      identify the types and number of
                                  witnesses permitted to attend the
                                  execution; and
                          2.      to provide legal requirements concerning
                                  the witnessing of the execution.

                    B.    Policy
                          It is the policy of the Department that:

                          1.      procedures for selecting witnesses to
                                  the execution shall conform with 77-19-
                                  11 UCA;

                          2.      witnesses shall enter into written
                                  agreements before being approved for
                                  attendance; and

                          3.      witnesses shall be subject to search
                                  prior ·to being admitted.


  TMF 01/07.02      News Media Witnesses

                    A.    Members of the news media shall be permitted
                          to witness the execution.
                    B.    Selection shall be at the discretion of the
                          Executive Director/designee.
                    C..   rte fer to 'rMF 01 /08 for   ne~vs   modi a select i.on
                          procedures.


  TMF 01/07.03      Designation of Persons Required 1 Permitted or
                    Prohibited from Witnessing

                    A.    The Utah Code limits and identifies those
                          persons who may attend and witness the
                          execution.



  REVISED 0,.6/10/10                                     TMF 01/07      -   pg. 108




                                                                    Exhibit 20 Page 106
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 374 of 534




                     1.   The Executive Director of Corrections or
                          his designee shall:

                          a.   cause a physician to attend the
                               execution, 77-19-10 (5) UCA; and

                          b.   permit the attendance at the
                               execution of members of the press
                               and broadcast news media named by
                               the Executive Director of the
                               Department/or his designee,
                               77-19-11 ( 4) UCA.

                    2.    At the discretion of the Executive
                          Director of the Department of
                          Corrections/designee, the following may
                          attend the execution:

                          a.   the prosecuting attorney, or his
                               designated deputy, of the county in
                               which the defendant committed the
                               offense for which he is being
                               executed, 77-19-11 (2) (a) UCA;

                          b.   no more than two law enforcement
                               officials from the county in which
                               the defendant committed the offense
                               for which he is being executed,
                               77-19-11 (2) (b) UCA;

                          c.   the Attorney General or his
                               designee, 77-19-11 (2) (c) UCA;

                          d.   religious representatives, friends,
                               or relatives designated by the
                               defendant, not exceeding a total of
                               five persons, 77-19-11 (2) {d) UCA;
                               and

                          e.   unless approved by the Executive
                               Director, no more than five close
                               relatives of the deceased victim,
                               as selected by the Executive
                               Director, but giving priority in
                               the order listed in TMF 01/01.04.

                     3.   The persons enumerated in Subsection (2)
                          may not be required to attend, nor may
                          any of them attend as a matter of right,
                          77-19-11 (3) UCA.


 REVISED 06/10/10                             TMF 01/07   -   pg. 109




                                                       Exhibit 20 Page 107
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 375 of 534




                      4.   The following persons may also attend
                           the execution:

                           a.   staff as determined necessary for
                                the execution by the Executive
                                Director of the Department of
                                Corrections/designee; and

                           b.   no more than three correctional
                                officials from other states that
                                are preparing for executions, but
                                no more than two correctional
                                officials may be from any one
                                state, as designated by the
                                Executive Director of the
                                Department of Corrections or his
                                designee, 77-19-11 (7) (a) UCA.

                      5.   Other necessary staff designated by the
                           Executive Director of the Department of
                           Corrections/designee shall be permitted
                           to the execution.

                           a.   The "necessary staff" shall include
                                those persons identified in the
                                post orders and procedures in
                                TMF 01.

                           b.   "Necessary staff" shall not be
                                limited to members of the Utah
                                Department of Corrections but may
                                include members of allied agencies
                                assisting with the execution.

                      6.   The Department is empowered and directed
                           by 77-19-11 (8) UCA to adopt rules
                           governing the attendance of persons at
                           the execution .
                      .,   No person under     age of 18 may
                      I•

                           the execution.

                 B.   For those persons who shall carry out the
                      execution or serve in support roles in the
                      execution area, refer to TMF 01/05.05 B, C.




  REVISED 05/10/10                             TMF 01/07   -   pg.110




                                                      Exhibit 20 Page 108
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 376 of 534




 TMF 01/07.04     Witness Agreement

                  (See following page for Witness Agreement.)

          Rules of Conduct for Witnesses Observing an Execution
                                at the
                           Utah State Prison

 1.  That you will not bring onto prison property anything
 constituting legal or illegal contraband under any applicable
 statute, rule, or policy including any firearm, dangerous weapon,
 implement of escape, explosive, spirituous of fermented liquor,
 medicine, poison, or any other item creating a threat to the
 safety, security, or management of the prison;

 2.  That you agree to submit to a reasonable search for
 contraband and other searches as considered necessary by the
 Department for entry to Department prison and staging area
 property;

 3.    That you conduct yourself in a lawful and orderly manner;

 4.  That you comply with all lawful directives of correctional
 personnel while on Department property;

 5.  That you will not bring to the execution site any
 photographic or recording equipment; and

 6.   That you understand that the Department of Corrections will
 not provide mental health services to witnesses.

 7.  That you understand the Department of Corrections is required
 to record/report the names of all witnesses in attendance as well
 as provide the information to media representatives.


 I have read the above rules and agree to abide by them.  I
 understand that my failure to comply with the rules will result
 in my immediate removal from Department of Corrections property
 and that I may be subject to criminal prosecution.




        Signature of Witness                           Date


 UDC   Representa~ive                                  Date




 REVISED 06/10/10                               TMF 01/07   -   pg. 111

                                                         Exhibit 20 Page 109
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 377 of 534




  TMF 01/08.00   NEWS MEDIA PROCEDURES

  TMF 01/08.01   General Provisions
  TMF 01/08.02   News Media Selection
  TMF 01/08.03   Alternate Coverage/Accommodations
  TMF 01/08.04   News Media Attendance at the Execution
  TMF 01/08.05   Limitations on Coverage
  TMF 01/08.06   News Media Briefing
  TMF 01/08.07   News Media Support and Equipment
  TMF 01/08.08   Media Representative Agreement




  REVISED 05/10/10                            TMF 01/08   - pg,   112




                                                      Exhibit 20 Page 110
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 378 of 534




 TMF 01/08.00   NEWS MEDIA PROCEDURES

 TMF 01/08.01   General Provisions

                A.   Purpose of Chapter

                     The purpose of this chapter is:

                     1.   to provide the policies, procedures and
                          requirements for providing access to the
                          execution and information relating to
                          the execution to the news media;

                     2.   to provide the procedure for:

                          a.   releasing background information;

                          b.   releasing information during the
                               execution;

                          c.   coverage of the execution; and

                     3.   to provide requirements for safeguarding
                          the institution and protected
                          information.

                B.   Policy

                     1.   It shall be the policy of the Department
                          to permit press access to the execution
                          and information concerning the execution
                          consistent with the requirements of the
                          constitutions and laws of the United
                          States and state of Utah.

                     2.   The Department is generally required to
                          provide no more access to the news
                          media, to the inmates and facilities it
                          supervises and controls than that
                          available to the general public.

                     3.   The Department and the Utah Code
                          recognize the need for the public to be
                          informed concerning executions conducted
                          by the Department of Corrections.

                          a.   The Department will participate and
                               cooperate with the news media to
                               inform the public concerning the
                               execution.

                          b.   Information should be provided in a
                               timely manner.

 REVISED 06/10/10                             TMF 01/08   -   pg.113
                                                       Exhibit 20 Page 111
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 379 of 534




                         4.   If the condemned is willing, the
                              Department may allow an opportunity
                              forthe condemned to speak with the news
                              media.  If allowed, the interview may:

                              a.   include those members of the news
                                   media selected to witness the
                                   execution;

                              b.   include additional members of the
                                   news media authorized by the
                                   Department, but not including more
                                   than one reporter from the same
                                   agency; and

                              c.   be held at a time and location
                                   determined by the Department.

                         5.   During exigent circumstances,
                              communication may be temporarily
                              suspended until the situation has been
                              stabilized. Exigent circumstances shall
                              include, but not be limited to:

                              a.   riots;

                              b.   hostage situations;

                              c.   fires or other disasters; or

                              d.   other inmate disorders.

                         6.   Refer to Chapter AGr05, 11 Media Relations"
                              for general news media access to
                              information, inmates and facilities.

  TMF 0:'._/08.02   News Media Selection

                    A.   Number in Attendance

                         'l'he Department shall permit members of the
                         press and broadcast news media to witness the
                         execution.




                    B.   Authority to Select

                         The Executive Director/designee shall be
                         responsible for selecting the members of the


  REVISED 06/10/10                                 TMF 01/08   - pg. 114




                                                           Exhibit 20 Page 112
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 380 of 534




                     news media who will be permitted to witness
                     the execution.  77-19-11(4) UCA

                C.   Selection Process

                     1.   After the court sets a date for the
                          execution of the death penalty, news
                          directors or editors may submit a
                          written list of news media witnesses
                           (one per organization) and other news
                          personnel needed at the execution, to
                          the attention of the Executive Director
                          at least 30 days prior to the execution.
                            When administrative convenience or
                          fairness to the news media dictates, the
                          Department in its discretion may extend
                          the request deadline.

                     2.   Requests for consideration may be
                          granted by the Executive
                          Director/designee provided they contain
                          the following:

                          a.   a statement setting forth facts
                               showing that the requesting
                               individual falls within the
                               definition of "member of the press
                               and broadcast news media" set forth
                               in these regulations;

                          b.   an agreement to act as a pool
                               representative as described in
                               these regulations;

                               an agreement that the media member
                               will abide by all of the
                               conditions, rules and regulations
                               while in attendance at the
                               execution; and

                          d.   agreement that they will conduct
                               themselves consistent with existing
                               press standards.

                     3.   Upon receipt of a news director's or
                          editor's request for permission for news
                          media witnesses to attend the execution,
                          the Executive Director/designee may take
                          such steps as he deems necessary to
                          verify the statements made in the
                          request.  After verifying the
                          information in the requests, selection

 REVISED 06/10/10                             TMF 01/08   -   pg.115

                                                     Exhibit 20 Page 113
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 381 of 534




                           of witnesses shall be made by the
                           Executive Oirector/designee.

                      4.   The Executive Director/designee shall
                           identify the media members who have been
                           selected to witness the execution.
                           Media members shall be selected on a
                           rotating basis from the following
                           organizations:

                           a.   Salt Lake daily newspapers;

                           b.   television stations licensed and
                                broadcasting daily in the State of
                                Utah;

                           c.   one newspaper of general
                                circulation in the county in which
                                the crime occurred;

                           d.   one radio station licensed and
                                broadcasting in the State of Utah;
                                and

                           e.   the remainder from a pool of
                                broadcast, print and wire services
                                news media organizations operating
                                in Utah.

                      5.   In the event that the Executive Director
                           is unable to name a news media witness
                           from each of the above-described
                           organizations, he shall name other
                           qualifying media members to attend.

                      6.   No news media witnesses other than those
                           named to attend the execution as
                           described in this chapter shall be
                           permitted to witness the execution.




                 D.   Pool Photographers

                      1.   Two photographers shall be appointed as
                           pool photographers to photograph/film
                           the execution chamber following clean
                           up.

                      2.   The pool photographers may be selected
                           from agencies other than those
  REVISED 06/10/10                             TMF 01/08   - pg. 116



                                                      Exhibit 20 Page 114
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 382 of 534




                           represented among those witnessing the
                           execution.

 TMF 01/08. 03   Alternate Coverage/Accommodations

                 A.   Additional Media Selected

                      1.   The Executive Director may designate
                           additional members of the press and
                           broadcast news media who request and
                           receive permission to be allowed at a
                           location designated by the Executive
                           Director on prison property during the
                           execution.

                      2.   The additional media selected shall be
                           from both the print and broadcast media.

                 B.   Alternate Location

                      1.   The alternate location shall be a press
                           briefing area.

                      2.   Media members must contact the
                           Department's Public Affairs Director at
                           least 14 days prior to the execution
                           date to mokc any special arrangements
                           for hook ups or other necessary
                           arrangements.  Any expense incurred
                           shall be borne by the specific news
                           media requiring special equipment or
                           hook ups.

                      3.   No special access nor briefings will be
                           provided to members of the press who are
                           not selected as witnesses nor selected
                           for the alternate site.

                      4.   The alternate site shall be made
                           available to the selected members of the
                           news media at 1700 hours the day prior
                           to the scheduled execution date.

                 C.   Briefing Media at the Alternate Site

                      1.   The Public Affairs Director shall
                           arrange for:

                           a.   pre-execution briefings;

                           b.   distribution of media briefing
                                packages;


 REVISED 06/10/10                                 TMF 01/08   -   pg.117
                                                         Exhibit 20 Page 115
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 383 of 534




                           c.   briefings throughout the execution
                                event; and

                           d.   post-execution briefings by the
                                news media who witnessed the
                                execution.

                      2.   The news media witnesses to the
                           execution shall be returned to the media
                           briefing area to answer questions from
                           media members at the alternate site.

  TMF 01/08.04   News Media Attendance at the Execution

                 A.   The Warden/designee shall permit the members
                      of the press and broadcast news media,
                      selected by the Executive Director/designee
                      in accordance with these regulations, to
                      witness the execution.

                 B.   Each news media witness attending the
                      execution shall be carefully searched prior
                      to admittance to the execution chamber.

                      1.




                           a.   Electronic or mechanical recording
                                devices.include, but are not
                                limited to, still, moving picture
                                or video cameras, tape recorders or
                                similar devices, broadcasting
                                devices, or artistic paraphernalia,
                                such as notebooks, and drawing
                                pencils or pens, etc.

                           b.   Violation of this prohibition is a
                                class B misdemeanor. 77-19-11(5)

                           c.   Only a small notebook (no larger
                                than 4" x 6") and a pen or pencil
                                issued by the Department shall be
                                permitted.

                      2.   Only the selected members of the news
                           media (witnesses and two pool
                           photographers) shall be allowed to
  REVISED 05/10/10                             TMF 01/08   -   pg. 118




                                                      Exhibit 20 Page 116
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 384 of 534




                          attend the pre-execution briefing.  The
                          group will be escorted into a briefing
                          room.

                          a.




                          b.




                          c.




                     3.



                          a.




                          b.




                     4.   Persons requesting to witness the
                          execution shall be required to sign a
                          statement or release absolving the
                          institution or any of its staff from any

 REVISED 06/10/10                             TMF 01/08   -   pg. 119




                                                     Exhibit 20 Page 117
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 385 of 534




                            legal recourse resulting from the
                            exercise of search requirements or other
                            provisions of the witness agreement.

                  C.   The Warden/designee shall not exclude any
                       news media witness duly selected in
                       accordance with these regulations from
                       attendance at the execution except as
                       described in these regulations, nor may the
                       Warden/designee cause a selected news media
                       witness to be removed from the execution
                       chawber unless the media member:

                       l.   refuses to submit to a reasonable search
                            as permitted in these regulations;

                       2.   faints, becomes ill or requests to be
                            allowed to leave during the execution;

                       3.   causes a disturbance within the
                            execution chamber; or

                       4.   refuses or fails to abide by the
                            conditions and regulations set forth by
                            the Department.

                  D.   The execution chamber shall be arranged so as
                       to provide space for the attending news media
                       witnesses and the space arranged shall have a
                       view of the execution site, with the
                       exception of:

                       1.   a view of the members of the firing
                            squad, if employed; or

                       2.   if lethal injection is chosen, those
                            directly administering the method of
                            execution, who shall be concealed from
                            the view of the media.members so that
                            their identities will remain unknown.

                  E.   The selected news media witnesses shall be
                       transported as a group to the execution
                       location prior to the execution and shall be
                       allowed to remain there throughout the
                       proceeding.

                  F.   The Department shall designate a
                       representative or representatives to remain
                       with the media members throughout the
                       execution proceedings for the purpose of
                       supervising and escorting.

   REVISED 06/10/10                            TMF 01 /08   -   pg. 120




                                                       Exhibit 20 Page 118
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 386 of 534




                G.   News media witnesses shall be admitted to the
                     execution area on the date set for the
                     execution only after:

                     1.   proof of identification have been
                          presented to the Public Affairs
                          Director/designee at the staging area;

                     2.   receiving an orientation by the Public
                          Affairs Director/designee; and

                     3.   signing an agreement to abide by
                          conditions required of news media
                          witnesses to the execution.

                H.   After the execution has been completed and
                     the site has been restored to an orderly
                     condition, news media witnesses may be
                     permitted t6 return to the execution chamber
                     for purposes of filming, photographing and
                     recording the site.

                     1.   Re-entry to the site shall be permitted
                          only after the site has been restored to
                          an orderly condition, including:

                          a.   removal of the body of the
                               condemned;

                          b.   evacuation of those involved in
                               administering the execution; and

                          c.   clean up of the execution chamber.

                     2.   Restoring the site to an "orderly
                          condition" prior to the filming
                          opportunity shall not unnecessarily
                          disturb the physical arrangements for
                          the execution.

                     3.   Media members permitted to return to the
                          execution charober for the filming and
                          recording of the site shall include:

                          a.   the news media witnesses who were
                               selected to witness the execution;

                          b.   one pool television camera man; and

                          c.   one pool newsprint photographer.


 REVISED 06/10/10                             TMF 01/08     - pg.121




                                                      Exhibit 20 Page 119
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 387 of 534




                      4.   The film/videotape shall not be used in
                           any news or other broadcast until made
                           available to all agencies participating
                           in the pool.  All agencies receiving the
                           film/videotape will be p~rmitted to
                           usethem in news coverage and to retain
                           the film/videotape for file footage.

                 I.   News media representatives shall, after being
                      returned from the execution to the staging
                      area, act as pool representatives for other
                      media representatives covering the event.

                      1.   The pool representatives shall meet at
                           the designated media center and provide
                           an account of the execution and shall
                           freely answer all questions put to them
                           by other media members and shall not be
                           permitted to report their coverage of
                           the execution back to their respective
                           news organizations until after the non-
                           at tending media members have had the
                           benefit of the pool representatives'
                           account of the execution.

                           a.   News media members attending the
                                post-execution briefing shall agree
                                to remain in the briefing room and
                                not leave nor corrununicate with
                                persons outside the briefing room
                                until the briefing is over.

                           b.   The briefing shall end when the
                                attending news media members are
                                through asking questions or after
                                90 minutes, whichever comes first.

                      2.




  TMF 01/08.05   Limitations on Coverage

                 A.   The Warden, with the concurrence of the
                      Executive Director, may alter these
                      regulations to impose additional conditions,
                      restrictions and limitations on media
                      coverage of the execution when such
                      requirements become necessary for the

  HEVISED 06/10/10                             TMF 01/08   - pg.   122




                                                      Exhibit 20 Page 120
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 388 of 534




                      preservation of prison security, personal
                      safety or other legitimate interests which
                      may be in jeopardy.

                 B.   If extraordinary circumstances develop, the
                      additional conditions and restrictions
                      shallbe no more restrictive than required to
                      meet the exigent circumstances.

 TMF 01/08.06    News Media Briefing

                 A.   Pre-Execution Briefing Packets

                      1.   The Public Affairs Director shall
                           prepare a press briefing packet for
                           reporters approved to witness the
                           execution, or to cover the execution
                           from the news media staging area.

                      2.   The briefing press packet should be
                           provided to news media representatives
                           as they arrive at the staging area.

                      3.   The contents of the press briefing
                           packet shall include, but not be limited
                           to, biographical information on the
                           condemned, the list of official
                           witnesses, pool reporters, family
                           witnesses, execution procedures,
                           sequence of events, and the history of
                           executions in Utah.

                      4.   Updates will generally be communicated
                           and/or distributed to the press on an
                           hourly basis beginning about 1700 hours
                           the day preceding the execution.
                           Briefing updates should include:

                           a.   a sununary of activities related to
                                the execution procedures and
                                sequence of events; and

                           b.   a summary of the condemned inmate's
                                activities during his final 24
                                hours.

                 B.   Death Announcement

                      1.   The Public Affairs
                           Representative/designee shall read a
                           prepared statement to the press, prior
                           to the post-execution press conference,
                           announcing that the execution has been
                           completed.


  REVISED 06/10/10                             TMF 01/08   - pg.   123
                                                       Exhibit 20 Page 121
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 389 of 534




                      2.   The announcement shall include, but not
                           be limited to:

                           a.   the time of the execution;

                           b.   the time the condemned was
                                pronounced dead; and

                           c.   the condemned's final words.

                 C.   Post-Execution Conference

                      1.   The post-execution conference shall
                           begin immediately following the arrival
                           of the pool reporters from the execution
                           site.

                      2.   The Public Affairs Director shall
                           introduce the members of the press who
                           witnessed the execution and facilitate
                           the post-execution conference.

                      3.   The Executive Director, Deputy Director,
                           Institutional Operations Division
                           Director and/or Warden may appear and
                           answer questions at the press
                           conference.

                      4.   The post-execution conference shall
                           continue for ninety minutes or until the
                           questioning of the reporters who
                           witnessed the execution has been
                           completed; whichever comes first.

                 D.   Travel Routes

                      1.




                      2.




                 E.   Media Center

                      1.   The Media Center shall be located in the
                           designated staging area.

  REVISED 06/10/10                             TMF OJ /08   - pg. 124




                                                       Exhibit 20 Page 122
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 390 of 534




                     2.   The Public Affairs Director shall assume
                          responsibility for routine press
                          briefings at the Media Center.

                     3.   Press briefings and the post-execution
                          conference will be held at the Media
                          Center.

                     4.   News media personnel may not access nor
                          occupy any other part of the staging
                          area.  The media shall have access only
                          to the designated media center.

                     5.   Members of the news media may not seek,
                          speak to or interview any official
                          visitor while at the staqinq area.

                     6.




 TMF 01/08.07   News Media Support and Equipment

                A.   Telephones

                     1.   The Public Affairs Director shall
                          coordinate all telephone needs with the
                          Deputy Warden Support Services at the
                          Utah State Prison.

                     2.   Each news agency requiring dedicated
                          telephone lines, shall submit in writing
                          its telephone needs to the Public
                          Affairs Director 14 days prior to the
                          scheduled execution. Agencies
                          requesting dedicated phone lines will be
                          responsible for the cost of those lines.

                     3.   The Department shall install a
                          reasonable number of telephones, for
                          local use and collect calls only, for
                          news media use at the Media Center.   If
                          the Department is unable to install
                          collect-call only telephones, personal
                          cellular phones may be used.

                B.   Electrical Outlets



 REVISED 06/10/10                             TMF 01 /08   - pg.   125



                                                      Exhibit 20 Page 123
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 391 of 534




                       Each news agency must corrununicate its needs
                       for electrical power to the Public Affairs
                       Director 14 days prior to the scheduled
                       execution.

                  C.   Refreshments

                       The Public Affairs Director may inquire about
                       having a private caterer at the staging area
                       for the media to purchase items.

                  0.   News Media Support Vehicles

                       1.




                       2.



  TMF 01/08.08    Media Representative Agreement

                  (See following page for Media Representative
                  agreement. )




  RE;VISEO 06/10/10                             TMF 01/08   - pg.   126


                                                        Exhibit 20 Page 124
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 392 of 534




 Rules of Conduct for Media Representatives Observing an Execution
                              at the
                         Utah State Prison


 1.  That you will not bring onto prison property anything
 constituting legal or illegal contraband under any applicable
 statute, rule, or policy including any firearm, dangerous weapon,
 implement of escape, explosive, spirituous of fermented liquor,
 medicine, poison, or any other item creating a threat to the
 safety, security, or management of the prison;

 2.  That you agree to submit to a reasonable search for
 contraband and other searches as considered necessary by the
 Department for entry to Department prison and staging area
 property;

 3.   That you conduct yourself in a lawful and orderly manner;

 4. That you comply with all lawful directives of correctional
 personnel while on Department property;

 5.  That you will not bring to the execution site any
 photographic or recording equipment;

 6. That you understand that the Department of Corrections will
 not provide mental health services to witnesses; and

 7.  That you understand the Department of Corrections is required
 torecord/report the names of all witnesses in attendance as well
 as provide the information to media representatives.


 I have read the above rules and agree to abide by them.  I
 understand that my failure to comply with the rules will result
 in my immediate removal from Department of Corrections property
 and that I may be subject to .criminal prosecution.



 News Organization~~~~~~~~~~



      Signature of News Media Witness                  Date



       News Agency Editor/Producer                     Date




 REVISED 06/10/10                              TMF 01 /08   - pg.   127

                                                         Exhibit 20 Page 125
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 393 of 534




                                                    Exhibit 20 Page 126
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 394 of 534




TMF 01/20.00      REVIEWAND DOCUMENTATION

TMF   01/20.01    General Provisions
TMF   01/20. 02   Review Assignment
TMF   01/20.03    Documentation of Execution
TMF   01/20.04    Retention and Safeguarding Documentation
TMF   01/20.05    UDC Employee Questionnaire




REVISED 06/10/lU                                        TMF 01/20- pg.LjL

                                                       Exhibit 20 Page 127
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 395 of 534




TMF 01/20. 00    REVIEW AND DOCUMENTATION

TMF 01/20.01     General Provisions

                 A.   Purpose of Chapter

                      The purpose of this chapter is to provide the
                      policies, procedures and requirements for
                      reviewingthe execution process.

                 B.   Policy

                      1.   It shall be the policy of the Department
                           that of the execution process shall be
                           performed as ordered by the Executive
                           Director.

                      2.   Auditors assigned to perform
                           thesereviewsshall beallowed access to
                           designated aspects of the
                           executionpreparation.

                      3.   Auditors participating in the reviewof
                           the execution are not to be involved in
                           the execution preparationprocess, but
                           shall act as observers only and, at all
                           times, act in such a way that they
                           create the least disruption possible in
                           that process.

                      5.   Appropriate documentation of the
                           execution shall be created, collected,
                           safeguarded, and retained to provide an
                           adequate review trail and a proper
                           historical record.

                      6.   Documentation shall be protected in
                           accordance with 64-13-25(2) UCA.

TMF 01/20.02    ReviewAssignment

                Authority to Conduct a Review

                      1.   The Executive Director shall be
                           responsible for determining if a
                           reviewis to take place in each
                           execution.

                      2.   The Auditor(s) selected for the
                           execution review shall, upon direction



REVISED 06/10/10                                        TMF' 01/20- pg.233

                                                      Exhibit 20 Page 128
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 396 of 534




                         from the Executive Director, prepare a
                         questionnaire to be completed by staff
                         involved in the execution process.   The
                         survey shall be approved by the
                         Executive Director and all responses
                         shall be confidential.  Only the
                         Executive Director may grant release of
                         the survey responses.


TMF 01/20.03   Documentation of Execution


                    Documentation to be Retained

                    Documentation which shall be retained shall
                    include:

                    1.   the warrant and all other legal papers;

                    2.   correspondence, both official and
                         unofficial, which is received by the
                         Department of Corrections;

                    3.   minutes of meetings held for purposes of
                         planning or disseminating information;

                    4.   inter-agency written communication;

                    5.   intra-departmental written
                         communication;

                    6.   logs, journals, chronological notes,
                         etc., of key locations; and

                    7.   a newspaper file.

TMF 01/20.04   Retention and Safeguarding Documentation

               A.   Execution File

                    1.   An execution file shall be established
                         for each condemned person.  The file
                         shall be organized into sections which
                         should include:


                         a.   legal documents;

                         b.   official correspondence;



REVISED 06/10/10                                         TMF 01/20- pg.234
                                                      Exhibit 20 Page 129
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 397 of 534




                           c.   unofficial correspondence;

                           d.   intra-departmental written
                                communication;

                           e.   chronological notes, logs, etc.;
                                and

                           f.   meeting minutes.

                      2.   Each section of the execution file shall
                           have material filed in chronological
                           order.

                      3.   All working documents which cannot be
                           filed during the execution process or
                           immediately after, shall be copied and a
                           copy shall be placed in the execution
                           file.

                      4.   All intra-departmental communication
                           shall have a courtesy copy to the
                           execution file.

                 B.   Execution File Maintenance

                      1.


                      2.




                 C.   Access to Execution File

                      Only those individuals authorized by the
                      Executive Director of Corrections, DIO
                      Director, or Warden, shall have access to the
                      execution file.

                 D.   Long-Term Storage

                      To ensure that all documents concerning an
                      execution shall be retained to provide a
                      reviewtrail and an adequate historical
                      record, the execution file shall be stored in
                      accordance with the archive's plan of the
                      Department.



REVIS~D   06/10/10                                     TMF 01/20- pg.   235
                                                      Exhibit 20 Page 130
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 398 of 534




TMF 01/20.05       UDC EMPLOYEE QUESTIONNAIRE



                                 Name of the Condemned

INSTRUCTIONS:

Please complete this questionnaire as soon after the execution as possible. Answer
each question completely and accurately. Add as many pages as necessary if answers
need more space.

Complete and return this questionnaire to the AuditBureau at Utah Department of
Corrections, 14717 S. Minuteman Drive, Draper, 84020, by

Thank you.


FULL NAME:   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~




TITLE:~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
LOCATION:   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~-




FUNCTION DURING THE
EXECUTION:   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~




1.   Were you provided adequate direction for your area of responsibility?

     If you answered "No," please explain what direction would havebeen
     beneficial to you.




2.   Were you adequately trained or briefed in your area of    responsibility?

     Yes     No

     If you answered "No," please explain what training or briefing would have
     been beneficial to you.




3.    Did you observe anything that you thought was not adequately addressed?

      Yes     No

      If you answered "Yes," please explain.




kSVl~~U     Ob/10/10                                          TMF 01/20- pg.Ljb
                                                                 Exhibit 20 Page 131
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 399 of 534




4.    Please make any additional comments or suggestions.




                                      THANK YOU!




REVISED 06/10/10                                            TMF 01/20- pg.237

                                                               Exhibit 20 Page 132
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 400 of 534




TMF 01/21. 00   TRAINING AND BRIEFING

TMF 01/21. 01   General Provisions
TMF 01/21.02    Training and Briefing Components




REVISED 06/10/10                              TMF 01/21   - p~238


                                                     Exhibit 20 Page 133
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 401 of 534




TMF 01/21. 00   TRAINING AND BRIEFING

TMF 01/21.01    General Provisions

                A.   Purpose of Chapter

                     The purpose of this chapter is to provide the
                     policy and procedure concerning briefing and
                     training of staff, members of allied agencies
                     and others involved in an execution.

                B.   Policy

                     It is the policy of the Department that staff
                     and others involved in carrying out an
                     execution:

                     1.   receive comprehensive briefings
                          covering:

                          a.   their duties and responsibilities;

                          b.   the specifics of post orders
                               covering assigned positions;

                          c.   communication and chain of command;

                          d.   overview of functions and
                               activities during the execution;

                     2.   are provided copies of post orders
                          outlining the duties and
                          responsibilities of assigned positions;

                     3.   receive the level of briefing and
                          training necessary based on the
                          requirements of assigned duties;

                     4.   rehearse and practice functions which
                          involve:

                          a.   difficult timing;

                          b.   a high degree of skill;

                          c.   procedures of a highly critical
                               nature; and/or

                          d.   moderately difficult or complex
                               interaction with others; and

REVISED 06/10/10                              TMF 01/21   - pg. 239


                                                     Exhibit 20 Page 134
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 402 of 534




                     5.   receive instructions concerning back-up
                          systems to provide:
                          a.   problem-resolution assistance;

                          b.   policy decisions;

                          c.   crisis management assistance; and

                          d.   information requests.

TMF 01/21. 02   Training and Briefing Components

                A.   General
                     Training and briefing shall include, but not
                     be limited to:

                     1.   issuing all members or other
                          participants a post order for their
                          assigned positions;
                     2.   providing an orientation or briefing
                          covering assigned duties and general
                          operational information;

                     3.   if necessary, detailed training covering
                          legal, operational or technical aspects
                          of assigned position;

                     4.   if necessary, rehearsal of job
                          functions; and

                     5.   key positions in Manual TMF 01.

                B.   Post Orders

                     1.   Each member or other participant shall
                          be issued the post order or instructions
                          for his assigned position.
                     2.   The post order shall include, but not be
                          limited to:

                          a.   the position title;

                          b.   location{s) of assignment;

                          c.   title of supervisor;

REVISED 06/10/10                              TMF 01/21     -   pg. 240

                                                       Exhibit 20 Page 135
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 403 of 534




                          d.   supervisory role,    if any;

                          e.   duties and responsibilities--
                               general and specific; and

                          f.   emergency role.

                    3.   When appropriate, one or more chapters
                         of TMF 01 may be issued with a post
                         order.

                    4.   All post orders (and any accompanying
                         manual material) shall be returned at
                         the completion of the execution event.

               C.   Briefing/Orientation

                    1.   Most assignments will be very
                         specialized, involving a narrow range of
                         duties.   For such positions,
                         briefing/orientation sessions will be
                         all the training required in addition to
                         the general training skills and
                         experience of the persons assigned.

                    2.   Orientation sessions shall include but
                         not be limited to:

                         a.    an overview of the execution
                               process and operational components;

                         b.    location of assigned post;

                         c.    chain of command and organizational
                               information;

                         d.    an overview of the countdown of
                               activities and procedures leading
                               to the execution;

                         e.    an explanation of support and
                               crisis intervention systems;

                         f.    interaction with the news media;

                         g.    a review of the specific post order
                               requirements, duties and other
                               elements; and


REVISED 06/10/10                                 TMF 01/21    - pg.   241


                                                        Exhibit 20 Page 136
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 404 of 534




                         h.   a question-and-answer period.

               D.   Training/Rehearsal

                    1.   For assignments requiring more technical
                         or complex functions, critical timing or
                         interaction elements, or duties of a
                         particularly difficult nature, more
                         comprehensive training shall be
                         required.

                    2.   Team leaders shall be responsible for
                         training and scheduling rehearsals as
                         needed for team members.




REVISED 06/10/10                             TMF 01/21   - pg.242

                                                     Exhibit 20 Page 137
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 405 of 534




                                                           Exhibit 20 page 138 ·
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 406 of 534




                              AFFIDAVIT OF JOSEPH CUMMINGS, Ill

I, Joseph Cummings, Ill, do declare as follows:


1.      I am currently employed as an Investigator with the Eastern District Federal Public

Defender Office of Arkansas. I was assigned to complete a work request pertaining to the

Lethal Injection Litigation that is currently being litigated by our office. One of the work

requests I received requested that I contact various pharmaceutical companies to obtain

information about the products sevoflurane and isoflurane. First, was to verify if sevoflurane

and/or isoflurane are available for purchase to Department of Correction Agencies. Second, to

establish whether the company has any objections to the use of their products by Department

of Correction Agencies for use in executions; and if the company has any provisions set forth in

their distribution contracts to prevent their products from being obtained by Department of

Correction Agencies for use in executions.


2.      On July 18, 2016, I contacted Piramal Healthcare. Piramal Healthcare is located at 3950

Schelden Circle in Bethlehem, Pennsylvania. I spoke to Ester Kessler by telephone to discuss

the issues stated above. Ms. Kessler is a Sales Representative for Piramal Healthcare. Ms.

Kessler stated if the Arkansas Department of Correction was a member of the Federal Supply

Schedule or Managed Healthcare Associates, the Arkansas Department of Correction
                                                                       /
                                                                                 would

have access to their products, isoflurane and sevoflurane, through multiple wholesale

companies at a discounted price for purchase. Ms, Kessler stated the products, isoflurane and

sevoflurane, would be available for direct purchase from the manufacturer if the Arkansas




                                                  1
                                                                                Exhibit 21 Page 1
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 407 of 534




Department of Correction was not a member of the Federal Supply Schedule or Managed

Healthcare Associates.


3.        I declare under penalty of perjury under the laws of the United States of America that

the above information is true and correct to the best of my knowledge.




          FURTHER AFFIANT SAYETH NOT.        ·~······.····
                                                 · .. ··.~
                                                   .• ·.·. ~ J. ~·
                                                                ..
                                                                   ·.
                                                                   ~l ·.· ·.· . · . .··.··JiC·
                                                 <$eph I. Cummings, Ill
                                                Capital Habeas Unit Investigator
                                                Federal Public Defender Office-Eastern District

                                           ACKNOWLEDGMENT

STATE OF ARKANSAS


COUNTY OF PULASKI


         Subscribed and sworn to before me, a Notary Public, on this 20th day of July, 2016.




                                                Notary Public

My Commission Expires:


              PULASKI COUNTY
         NOTARVPUBUC·ARKANSAS
      My Commiaslon Expires May 31, 2017
          c.?'!''"'~''~n No. 12361103




                                                   2

                                                                                Exhibit 21 Page 2
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 408 of 534




                                                              Nitrogen Induced Hypoxia




             Nitrogen Induced Hypoxia as a Form of Capital Punishment

                            Michael P. Copeland, J.D.

                                 Thom Parr, M.S.

                            Christine Papas, J.D., Ph.D.

                              East Central University




                                                           Preliminary Draft. Do Not Cite
                                                                                       1
                                                                   Exhibit 22 Page 1
        Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 409 of 534




                                                                         Nitrogen Induced Hypoxia




                                       Executive Summary

At the request of Oklahoma State Representative Mike Christian, the authors of this study
researched the question of whether hypoxia induced by nitrogen gas inhalation could serve as a
viable alternative to the current methods of capital punishment authorized under Oklahoma law.
As per the above, this study does not express an opinion on the wider question of whether
Oklahoma should continue to administer capital punishment in general. The scope of this study
is limited to the assumption that capital punishment will continue to be administered in
Oklahoma, and given that assumption, analyzing whether hypoxia via nitrogen gas inhalation
would be an effective and humane alternative to the current methods of capital punishment
practiced in Oklahoma law.

This study was conducted by reviewing the scientific, technical, and safety literature related to
nitrogen inhalation.

The study found that:

1. An execution protocol that induced hypoxia via nitrogen inhalation would be a humane
method to carry out a death sentence.
2. Death sentence protocols carried out using nitrogen inhalation would not require the
assistance of licensed medical professionals.
3. Death sentences carried out by nitrogen inhalation would be simple to administer.
4. Nitrogen is readily available for purchase and sourcing would not pose a difficulty.
5. Death sentences carried out by nitrogen inhalation would not depend upon the cooperation of
the offender being executed.

Accordingly, it is the recommendation of this study that hypoxia induced by the inhalation of
nitrogen be offered as an alternative method of administering capital punishment in the State of
Oklahoma.

The views expressed in this study are solely those of its authors and do not necessarily reflect
those of the university at which we are affiliated.




                                                                     Preliminary Draft. Do Not Cite
                                                                                                  2
                                                                                      Exhibit 22 Page 2
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 410 of 534




                                                                           Nitrogen Induced Hypoxia


Introduction

        Nitrogen is an inert gas that at room temperature is colorless, odorless, and tasteless. It is

the most common gas in the earth's atmosphere, comprising 78.09% of the air that humans

breathe on a regular basis.

        When combined with the normal 20. 95% oxygen found in the atmosphere, nitrogen is

completely safe for humans to inhale. However, an environment overly enriched in nitrogen will

lack the appropriate level of oxygen necessary for human survival and will thus lead to hypoxia

and rapid death. (U.S. Chemical Safety and Hazard Investigation Board, 2003, p. l).

       Nitrogen hypoxia has been suggested as a means of administering capital punishment in

the popular media on previous occasions. For example, inl995 the National Review featured an

article by Stuart Creque titled Killing Witlz Kindness: Capital Punishment by Nitrogen

Asphyxiation (1995). Creque·s article was written in response to a 9th Circuit U.S. District Court

decision that California's gas chamber was an unconstitutionally cruel and unusual punishment.

The article suggested nitrogen could provide a simple and painless alternative to the gas chamber

that would require no elaborate medical procedures to administer.

       The idea of administering capital punishment via nitrogen hypoxia resurfaced more

recently in a Tom McNichol Slate magazine ruticle titled Death by Nitrogen (2014). The article

was inspired by the stay of execution issued by the U.S. Supreme Court for a Missouri man

facing execution via lethal injection. Again, the author suggested nitrogen induced hypoxia as a

painless alternative to traditional methods of execution, adding that it offered the additional

benefits of requiring no medical training to administer and lacked any of the supply issues that

exist with lethal injection.




                                                                       Preliminary Draft. Do Not Cite
                                                                                                         3
                                                                                 Exhibit 22 Page 3
            Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 411 of 534




                                                                           Nitrogen Induced Hypoxia


        The capital punishment protocols cited that utilize nitrogen to administer a death sentence

do not actually rely on the nitrogen itself to bring about death. Nitrogen simply displaces the

oxygen normally found in air and it is the resulting lack of oxygen which causes death. Without

oxygen present, inhalation of only 1-2 breaths of pure nitrogen will cause a sudden loss of

consciousness and, if no oxygen is provided, eventually death. (European Industrial Gases

Association, 2009, p. 3).

            Since nitrogen has not previously been used for capital punishment there is a lack

scientific literature that specifically addresses its pe1fonnance for that purpose. However, there

have been medical experiments which involved human subjects breathing pure nitrogen until

they became unconscious. Beyond those experiments, most of the data related to nitrogen

induced hypoxia comes from documented suicides in humans and research in high altitude pilot

training.


        Author's Note: in some cases the lay press will inadvertently re.fer to hypoxia as
        asphyxiation. This is technically inaccurate in this context, as asphyxia is the inability to
        breathe in oxygen and the inability to exhale carbon dioxide. Hypoxia is the pathology
        related to the inability to intake oxygen even though one may still be able
        to exhale carbon dioxide. As will be seen later. the ability to exhale carbon
        dioxide is critical to the proposed method of execution. as it prevents the
        acidosis normally associated with asphyxiation.


Medical Literature

        The adult brain uses about 15 per cent of the heart's output of oxygenated blood

(Graham, 1977, p.170). Hypoxia is the condition of having a lower-than-normal amount of

oxygen in the blood. Anoxia is an extreme form of hypoxia in which there is a complete absence

ofoxygen in the blood (Brierley, 1977 p.181 ). If the supply of oxygen in the blood is reduced




                                                                       Preliminary Draft. Do Not Cite
                                                                                                    4
                                                                                         Exhibit 22 Page 4
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 412 of 534




                                                                           Nitrogen Induced Hypoxia


below a critical level it will result in a rapid loss of consciousness and eventually irreversible

brain damage will occur (Graham, 1977, p.170).

       A complete immediate global loss of oxygen to the brain, (a scenario in which no residual

oxygen in the lungs or blood is delivered to the brain), will result in a loss of consciousness in

eight to ten seconds, and a loss of any electrical output by the brain will occur a few seconds

later. The heart may continue to beat for a few minutes even after the brain no longer functions

(Brierley, 1977 p.182).

       Ernsting (1961) performed a study on human volunteers that hyperventilated on pure

nitrogen gas. The subjects performed the test multiple times, varying the length of time they

inhaled the nitrogen. When the subjects inhaled nitrogen for eight-to-ten seconds they reported a

dimming of vision. When the period was expanded to fifteen-to-sixteen seconds, the subjects

reported some clouding of consciousness and impairment of vision. When the tests were

expanded to seventeen-to-twenty seconds, the subjects lost consciousness. There was no reported

physical discomfmt associated with inhaling the pure nitrogen. (p. 295)

        Unlike asphyxiation, hypoxia via the inhalation of nitrogen allows the body to expel the

carbon dioxide buildup that is normally associated with the respiratory cycle. This helps prevent

a condition known as hypercapnia - an accumulation of carbon dioxide in the blood. The result

of this buildup of carbon dioxide is respiratory acidosis - a shifting of the ph levels in the blood

to become more acidic. This is the pathology many people associate with suffocating. Some of

the symptoms of respiratory acidosis are expected to be present in cases of asphyxiation. but not

expected to be present under pure hypoxia are anxiety and headaches, (Merrick Manuel, 2013).



Suicide Data

                                                                       Preliminary Draft. Do Not Cite
                                                                                                       5
                                                                                Exhibit 22 Page 5
        Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 413 of 534




                                                                         Nitrogen Induced Hypoxia


       Perhaps one of the greatest testaments to both the humanity of nitrogen induced hypoxia

as well as the ease of administration is its rapidly gaining popularity as a self-selected means of

suicide. Suicide by hypoxia using an inert gas is the most widely promoted method of human

euthanasia by right-to-die advocates (Howard, M.O. et. al., 2011, P. 61 ).

       The trend toward using an "exit bag" filled with an inert gas such as nitrogen or helium

likely started with a publication of Final Exit: The Practicalities of Se(fDeliverance and Assisted

Suicide for the Dying. The authors of the publication sought to identify methods of death that

were swift, simple, painless, failure-proof, inexpensive, non-disfiguring and did not require a

physician·s assistance or prescription (Howard, M.O. et. al., 2011. p 61).

       This method of suicide is indeed simple. It involves a clear plastic bag fitted over the

head, two tanks filling the bag with helium via vinyl tubing, and an elastic band at the bottom of

the bag to prevent the bag from slipping off the head. The parts needed to create the bag are

inexpensive and available locally without prescription (Howard, M.0. et. al., 2011. p 61-62).


       Reports of deaths observed via this method suggest that it is painless. Jim Chastain, Ph.D.

President of the Final Exit Network of Florida described the process this way:


              In the several events I have observed the person breathes the odorless, tasteless
       helium deeply about three or four times and then is unconscious. no gagging or gasping.
       Death follows in 4-5 minutes. A peaceful pfocess.
Derek Humphrey, current chair of the Final Exit advisory board is quoted as saying:


               In the approximate 300 cases which have been reported to me there has never
       been mention of choking or gagging. When I witnessed the helium death of a friend of
       mine it could not have been more peaceful (Final Exit, 20 l 0).


       However, it should be noted that deviations from the above protocols have not always

been as successful. When masks were placed over the face (instead of using bags of helium over

                                                                      Preliminary Draft. Do Not Cite
                                                                                                   6
                                                                                       Exhibit 22 Page 6
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 414 of 534




                                                                          Nitrogen Induced Hypoxia


the head) it has been reported some problems have occurred. This is typically a result of the

mask not sealing tightly to the face, resulting in a small amount of oxygen being inhaled by the

individual. This extends the time to become unconscious and extends the time to death. This may

result in purposeless movements by the decedent (Ogden et al, 2010. p 174-179).



Research on High Altitude Pilot Training

       A great deal of research on the effects of hypoxia on human beings comes from

aerospace medicine. Pilots that tly at high altitudes are subject to becoming hypoxic if their

cabins lose air pressure. Altitude hypoxia has similar effects as the hypoxia one gets from

breathing inert gases although it is caused by the inability of the lungs to absorb the oxygen in

the air rather than a lack of oxygen in the air.

       The Federal Aviation Administration (2003, p. 11) states:

                        Hypoxia is a lack of sufficient oxygen in the body cells or tissues caused
                by an inadequate supply of oxygen, inadequate transportation of oxygen, or
                inability of the body tissues to use oxygen. A common misconception among
                many pilots who are inexperienced in high-altitude flight operations and who
                have not be exposed to physiological training is that it is possible to recognize the
                symptoms of hypoxia and to take corrective actions before becoming seriously
                impaired. While this concept may be appealing in theory, it is both misleading
                and dangerous for an untrained crew member. Symptoms of hypoxia vary from
                pilot to pilot, but one of the earliest effects of hypoxia is impairment of judgment.
                Other symptoms can include one or more of the following:
                ( 1) Behavioral Changes (e.g. a sense of euphoria).
                (2) Poor coordination.
                (3) Discoloration in the fingernails (cyanosis).
                (4) Sweating.
                (5) Increased breathing rate, headache, sleepiness, or fatigue
                (6) Loss or deterioration of vision
                (7) Light-headedness or dizzy sensations and listlessness.
                ( 8) Tingling or warm sensations.




                                                                      Preliminary Draft. Do Not Cite
                                                                                                   7
                                                                               Exhibit 22 Page 7
         Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 415 of 534




                                                                          Nitrogen Induced Hypoxia


       Indeed, hypoxia has caused several airline accidents which are often fatal. The onset of

hypoxia is typically so subtle that it is unnoticeable to the subject. The effects of hypoxia are

often difficult to recognize. (Federal Aviation Administration, 2014, Ch. 8-1-2 (A) 5)

       Attempts to train pilots to notice hypoxia are conducted using a hyperbaric chamber to

simulate high altitudes. Often a trainee will be asked to remove his or her mask and perform

simple tasks. At low levels of hypoxia, trainees typically feel little more than euphoria and a

sense of confidence. At higher levels of hypoxia, trainees will quickly become unconscious.

Time of useful consciousness at altitudes above 43,000 is 5 seconds (Federal Aviation

Administration, 2003, p. 13).



                                             Findings

Based on the review of the literature related to hypoxia induced by inert gases, this study makes

the following findings:

1. An execution protocol that induced hypoxia via nitrogen inhalation would be a humane
method to carry out a death sentence.
2. Death sentence protocols carried out using nitrogen inhalation would not require the
assistance of licensed medical professionals.
3. Death sentences carried out by nitrogen inhalation would be simple to administer.
4. Nitrogen is readily available for purchase and sourcing would not pose a difficulty.
5. Death sentences carried out by nitrogen inhalation would not depend upon the cooperation of
the offender being executed.
6. Use of nitrogen as a method of execution can assure a quick and painless death of the offender


Finding 1. An execution protocol that induced hypoxia via nitrogen inhalation would be a
humane method to carry out a death sentence.

Rationale:




                                                                      Preliminary Draft. Do Not Cite
                                                                                                   8
                                                                                        Exhibit 22 Page 8
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 416 of 534




                                                                           Nitrogen Induced Hypoxia


       As an inert gas, nitrogen is odorless, colorless, tasteless and undetectable to human

beings. It is 78% of the air we breathe on a daily basis, and thus there is little chance that any

subject would have an unusual or allergic reaction to the gas itself.

       Because the subject is able to expel carbon dioxide, the anxiety normally associated with

acidosis in asphyxiation would not be present.

       The literature indicates after breathing pure nitrogen, subjects will experience the

following: within eight-to-ten seconds the subjects will experience a dimming of vision, at

fifteen-to-sixteen seconds they will experience a clouding of consciousness, and at seventeen-to-

twenty seconds they will lose consciousness. There is no evidence to indicate any substantial

physical discomfort during this process.

       There is a possibility that subjects will feel euphoria prior to losing consciousness and a

slight possibility they will feel a tingling or warm sensation. After the subjects are unconscious,

it should be expected some of the subjects will convulse. Most electrochemical brain activity

should cease shortly after loss of consciousness, and the heart rate will begin to increase to

varying degrees until it stops beating 3 to 4 minutes later. Observed suicides involving inert gas

hypoxia are described as peaceful, so long as caution is taken to eliminate the possibility of the

subject inadvertently receiving supplemental oxygen during the process. Inert gas hypoxia is

considered such a humane and dignified process to achieve death that it is recommended as a

preferred method by right-to-die groups.




Finding 2. Death sentence protocols carried out using nitrogen inhalation would not
require the assistance of licensed medical professionals.

Rationale:



                                                                        Preliminary Draft. Do Not Cite
                                                                                                      9
                                                                                Exhibit 22 Page 9
           Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 417 of 534




                                                                        Nitrogen Induced Hypoxia


         The administration of a death sentence via nitrogen hypoxia does not require the use of a

complex medical procedure or pharmaceutical products. The process itself, as demonstrated by

those who seek euthanasia, requires little more than a hood sufficiently attached to the subject's

head and a tank of inert gas to create a hypoxic atmosphere.

         While a state execution would likely have a more elaborate mechanism to create hypoxia,

nothing in the process would require specialized medical knowledge or the use of regulated

pharmaceutical products. Accordingly, except for the pronouncement of death, the assistance of

licensed medical professionals would not be required to execute this protocol.



Finding 3. Death sentences carried out by nitrogen inhalation would be simple to

administer.

Rationale:

         When considering a substitute method of capital punishment it is important to consider

more than just what happens if everything goes according to protocol. The likelihood of mishaps

must also be considered, as well as the consequences that would flow if those mishaps should

occur.

         Because the protocol involved in nitrogen induced hypoxia is so simple, mistakes are

unlikely to occur. Oxygen and nitrogen monitors may be placed inside the contained

environment to insure the proper mixes of gas are being expelled into the bag and inhaled by the

subject.

         However, the protocol should be careful to prevent the possibility of oxygen entering into

the hood, as that can prolong time to unconsciousness and death, as well as increase the

possibility of involuntary movements by the subject.

                                                                     Preliminary Draft. Do Not Cite
                                                                                                10
                                                                                     Exhibit 22 Page 10
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 418 of 534




                                                                         Nitrogen Induced Hypoxia


        The risks to witnesses are minimal, as any potential leak of the nitrogen would not be

harmful in a normally ventilated environment.



Finding 4. Nitrogen is readily available for purchase and sourcing would not pose a

difficulty.



Rationale:

       Nitrogen is utilized harmlessly in many fields within United States industries. Nitrogen is

used in welding, hospital and medical facilities, cooking, and used in the preparation of liquid

nitrogen cocktails. Nitrogen is used as a process to extend the life of food products such as potato

chips. Nitrogen is used in doctor's offices to remove skin tags as well as other procedures.

Accordingly, sources of nitrogen to be used for administering a death sentence should be easy to

find and readily available for purchase for such purpose.



Finding 5. Death sentences carried out by nitrogen inhalation would not depend upon the

cooperation of the offender being executed.

Rationale:

        Some forms of capital punishment require the offender to submit or comply to some

degree in order to assure an efficient and humane method of execution. With proper protocol and

utilizing such devices as a restraint chair, nitrogen inhalation can be administered despite the

presence of a non-compliant offender. The use of nitrogen can be used by non-medical personnel

and a delivery system can be designed to ensure the execution is carried out without issue.




                                                                     Preliminary Draft. Do Not Cite
                                                                                                   11
                                                                             Exhibit 22 Page 11
        Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 419 of 534




                                                                       Nitrogen Induced Hypoxia


                                              Conclusion

As per the above, it is the recommendation of this study that hypoxia induced by the inhalation

of nitrogen be offered as an alternative method of administering capital punishment in the State

of Oklahoma.




                                                                   Preliminary Draft. Do Not Cite
                                                                                                  12
                                                                                   Exhibit 22 Page 12
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 420 of 534




                                                                       Nitrogen Induced Hypoxia


                                           References

       Brierley, J.B. Experimental hypoxic Brain Damage Journal of Clinical Pathology. 1977,
11, 181-187.

       Creque, S. A. (1995). Killing with kindness--capital punishment by nitrogen asphyxiation.
Natl Rev, 47(17), 51.

       Ems ting, J. The E.fj'ect of Brief Profound Hypoxia upon the Arterial and Venous O.tygen
Tensions in Man. J. Physiol. 169, Air Force Inst. of Av. Med. 1-23-1963 pp. 292-311.

        Federal Aviation Administration, Department of Transportation, (7/24/14) - Aeronautical
Information Manual. Retrieved online at:
https://www.faa.gov/airtraffic/publications/atpubs/aim/aim080 I .html on 9/ 14/2014

       Federal Aviation Administration, Department of Transportation, (1/2/2003) AC 61-107A-
Operations of Aircraft at Altitudes Above 25,000 Feet MSL And/Or Mach Number (MMO)
Greater Than .75

       Final Exit Network, The. (March 17 ,20 I, 20 I Olium Deaths Do Not involve Gagging Say
Observers. Retrieved on 9/ 14/2014 http://assisted-dying.org/blog/20I0103117 /helium-deaths-do-
not-invol ve-gagging-say-observers/

       Graham, D.I. Pathology of hypoxic brain damage in man, J. din. Path., 30, Suppl. (Roy.
Coll. Path.). 1977. 11. 170-180

        Hazards of Inert Gases and Oxygen Depletion. IGC Document 44/09/E European
Industrial Gases Association. 2009.

        Hazards of Nitrogen Asphyxiation. No. 2003-10-B, U.S. Chemical Safety and Hazard
Investigation Board. June. 2003.

        Howard, M. 0., Hall, M. T., Edwards, J. D., Vaughn, M. G., Perron. B. E., & Winecker,
R. E. (2011). Suicide by asphyxiation due to helium inhalation. The Americanjounzal offorensic
medicine and pathology, 32(1 ), 61-70.

        Humphry, D. (2002). Final exit: the practicalities of se?fde/iverance and assisted suicide
for the dying. Random House LLC.

        Merrick Manuel The. (2013, October) Repertory Acidosis. Retrieved from:
http://www.merckmanuals.com/professional/endocrine and metabolic disorders/acid-
base re!;mlation and disorders/respiratorv acidosis.html on 9/14/2014.
                                                                    Preliminary Draft. Do Not Cite
                                                                                               13
                                                                            Exhibit 22 Page 13
        Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 421 of 534




                                                                        Nitrogen Induced Hypoxia


        McNichol, T. Death by Nitrogen - Slate Magazine.14 Sep. 2014
hllp://www.slate.com/articles/news and polilics/jurisprudence/2014/05/death by nitrogen 2as
will the new method of execution save ihe death penaltv.html.

       Ogden, R.D., Hamilton, W.K., Whitcher, C., (2010 Mar) Assisted suicide by oxygen
deprivation with helium at a Swiss right-to-die organisation.I. Med. Ethics: 174-9.


      Ogden, R. D., & Wooten, R.H. (2002). Asphyxia! suicide with helium and a plastic bag.
The Americanjoumal ojforensic medicine and pathology, 23(3), 234-237.




                                                                    Preliminary Draft. Do Not Cite
                                                                                               14
                                                                                      Exhibit 22 Page 14
           Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 422 of 534




Death by nitrogen gas: Will the new method of                                                                                                                   ofll


I Sign In I Sign Up I                                                              Appendix D
Death by Nitrogen: Will This New Method of Execution Save the Death Penalty?

I    Sign In    I   Sign Up

    I   JURISPRUDENCE   I   THE LAW, LAWYERS, AND THE COURT.   I   MAY 22201411:47 AM



    Death by Nitrogen
    If lethal injection falls out of favor, death penalty states could turn to a new method: nitrogen gas.
    By Tom McNichoJ




                                                                                              Justice Samuel Alito issued an order halting the execution of a




 Missouri inmate.


    On Wednesday night, the Supreme Court stopped an execution by lethal injection. The condemned Missouri man, Russell Bucklew, says he has a medical
    condition, affecting his veins, that would make the injection cause hemorrhaging-and make him feel Hke he's choking on his own blood. The court took the
    unusual step of intervening at the last minutes, when every other court had turned Bucklew down, and also of sending the case back to the lower courts to
    decide whether to hold a hearing about Bucklew's claim.

    The Supreme Court ruled in 2008 that Kentucky's three-drug protocol for carrying out lethal injections was conslituliional, but there's no question that the
    method looks grimly suspect in the wake of Clayton Lockett's apparently painful, botched execution in Oklahoma last month. Not so long ago, though, this was
    the method that represented progress. Hanging. Firing squad. The guillotiine. The electric chair. The gas chamber. Lethal injection. Eve1y age seems to feature
    a new and improved method of capital punishment, blled as more efficient and humane. The spectacle of Lockett's death, and the Supreme Court's hesitation,
    shines a spotlight on the latest idea-death by nitrogen.
    As long as there's a will to kHI criminals, someone will come up with an improved form of capital punishment.

    This new proposed method, known as nitrogen asphyxiation, seals the condemned in an airtight chamber pumped ful of nitrogen gas, causing death by a lack
    of oxygen. Nitrogen gas has yet to be put to the test as a method of capital punishment-no count1y currenlily uses it for state-sanctioned executions. But
    people do die accidentally of nitrogen asphyxiation, and usually never know what hit them. (It's even possible that death by nitrogen gas is mildly euphoric.
    Deep·sea divers exposed to an excess of nitrogen develop a narcosis, colorfully known as "raptures of the deep," similar to drunkenness or nitrous oxide
    inhalation.)

    Advertisement


    You can oppose the death penalty and still see the merit in making executions more humane. As Boer Deng and Dahlia Lithwick argued in Slate, opponents of
    the death penalty inadvertently have made lethal injection less safe, by forcing prison officials into using Inferior methods and substandard drug providers. As
    the states struggle to obtain drugs, such as pentobarbital, for lethal injections because of an export ban by the European Union, lethal Injection has been tumed
    from a method of execution into a medical experiment.
    Proponents say that death by nitrogen, by contrast, adheres to the constitutional prohibltiion against cruel and unusual punishment. The condemned prisoner
    would detect no abnormal sensation breathing the odorless, tasteless gas, and would not undergo the painful experience of suffocation, which is caused by a
    buildup of carbon dioxide in the bloodstream, not by lack of oxygen.

    In late April, Louisiana Department of Corrections Secreta1y James LeBlanc suggested to a state legislative committee that Louisiana should look into using
    nitrogen gas as a new method of execution, since lethal injection has become so contentious. "It's become almost impossible to execute someone," LeBlanc
    complained lo the Louisiana House Administration of Criminal Justice Committee.
    "Nitrogen is the big thing," LeBlanc told the committee. it's a painless way to go. But more lime needs to be spent [studying] that." The committee instructed
    LeBlanc lo do some research on the subject and repo1t back. In the meantime, Louisiana has delayed a pending execution. "I'm not taking anything off the
    table," says state Rep. Joseph P. Lopinto Ill, chairman of the state's AdministraU:on of Criminal Justice Committee. 1f someone says nitrogen gas is the way to
    go, then we can debate that and do it if need be."




http://www.slate.com/articles/news_and_politics/jurisprudence/2014/05/death_by_nitrogen_... 1/8/2015

                                                                                                                                      Exhibit 22 Page 15
           Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 423 of 534




Death by nitrogen gas: Will the new method of execution save the death penalty?                                                                     Page 2of11

 As long as 32 states have capital punishment on the books, there should be a less reliably cruel method of execution than lethal injection. "If we're going to
 take a life, then we should do it in the most humane, civilized manner as Is possible," says Lawrence Gist H, an attorney and professor of business and law at
 Mount St. Mary's College. "Right now, nitrogen is the best of the available options."
 Gist, a death penalty opponent, runs a website dedicated to promoting nitrogen asphyxiation for state-sanctioned executions. Polling suggests the public could
 get behind the idea. In a recent NBC News poll, 1 in 3 people said that if lethal injections are no longer viable, executiions should be stopped altogether. But
 many others were open to alternative methods of putting prisoners to death. About 20 percent opted for the old version of the gas chamber (which traditionally
 used hydrogen cyanide to kill), 18 percent for the electric chair, 12 percenlfor death by firing squad, and 8 percent for hanging.
 Nitrogen gas, unlike the lethal drugs that states have relied on, is widely available. The gas is used extensively in industrial settings, from aerospace to oil and
 gas production "Lethal injection is just fine if you can get the pentobarbital," says Kent Scheidegger, legal director of the Criminal Justice Legal Foundation, a
 group that favors capital punishment. "But If that's not available, an altemative like nitrogen gas would work,"
 Top Comment
 I always thought that people who voluntariy went to witness a cyanide gas chamber execution were morons. You have to have a special kind of faith in
 window caulking. MmL..
                                                                                                                                                               -Pete R
 Join In

 In contrast to lethal injection, no medical expertise would be needed to introduce nitrogen gas into a sealed chamber. The gas chamber Itself is technology that
 has been around since the 1920s. In fact, three states-Arizona, Missouri, and Wyorning-stm authorize lethal gas as a method of execution (depending on the
 choice of the inmate, the date of the execution or sentence or the possibility that lethal injection is held unconstitutional).
 The last gas chamber execution in the U.S. was in 1999-the method fell out of favor because hydrogen cyanide is a poison causing suffering that lasts 1O
 minutes or longer. Lethal injection, of course, was supposed to be painless and better. Whatl f It's not? That's the question the Supreme Court now finally
 seems to be returning to. The history of capital punishment suggests that as long as there's a will to kill criminals, someone will come up with an improved way.
 The new tool in the executioner's bag may turn out to be nitrogen, a better way to cariy out a gruesome task.

 Tom McNichol is a writer in San Francisco.




                             PROMOTED STORIES                                                                  MORE FROM SLATE



     5 States that Will Take the Most of Your Paycheck in                            A Conservative Judge Annihilates
     Income Taxes Monster                                                            North Carolina's Ultrasound
                                                                                     Requirement
     5 Easy To     Obt~n    Jobs That Pay Very Well Excite ec1ucauon

                                                                                      Louis C.K. Wrote "Charlie Hebda" on His Shirt For His
     15 Hot Female Athletes Who Are Only Famous For Their
                                                                                      Madison Square Garden Show
     Looks RantSpons

                                                                                      Slate's Favorite Smartphone Apps of 2014
     4 Surgeries to Avoid AARP

                                                                                      This Puzzle's Simple Design Is Gorgeous and Mind-
     Oprah Winfrey's Surprising DNA Test Ancestry
                                                                                      Boggling


     This New App is Replacing Human                                                  AP Takes Down "Piss Christ" Image After Complaints
     Financial Advisors PCMagavn•                                                     About Double Standard


                                                                                      Protests Have Achieved Some of America's Greatest
                                                                                      Ideals




httu://www.slate.com/articles/news and uolitics/iurisnrudence/2014/0.'i/death hv nitTo!7fm                                                                 1 /R/?.01 <;
                                                                                                                                         Exhibit 22 Page 16
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 424 of 534




Killing with kindness - capital punishment by nitrogen asphyxiation                         Page 1 of6



                  alt.suicide.methods

 Killing with kindness - capital punishment by nitrogen asphyxiation              (too old to reply)

 Philbert                                                                                 9 years ago

 http://www.findarticles.com/p/articles/mi_m1282/is_n17_v47/ai_17374449

 Capital punishment needn't be cruel or unusual -- especially if you use
 nitrogen asphyxiation to put people to sleep.

 LAST October, Judge Marilyn Hall Patel of the 9th U.S. District Court ruled
 that execution in California's gas chamber is a form of cruel and unusual
 punishment, the first ruling ever by a state or federal judge to invalidate
 a method of execution on Eighth Amendment grounds. She noted that the
 evidence showed that the condemned man might remain conscious for several
 minutes, experiencing the emotions of 'anxiety, panic, terror,' as well as
 'exquisitely painful muscle spasms' and 'intense visceral pain.'

 On its face, Judge Patel's ruling applies only to the gas chamber, but every
 method of execution in current use involves toxic chemicals or physical
 trauma to induce death -- and every method can go awry. An ideal hanging
 snaps the condemned man's neck cleanly; a botched one either strangles him
 slowly or severs the head entirely from the body. A firing squad that misses
 its mark leaves the condemned man conscious as he bleeds to death. In the
 electric chair, according to eyewitness accounts, some condemned men have
 literally been cooked until their flesh was charred and loosened from the
 bone; some had sparks and flame emanating from their cranial-cap electrodes.

 Besides society's concern for the condemned man's physical suffering, all of
 these methods implicitly require an executioner to inflict some degree of
 trauma upon the condemned. Concern for the executioner's conscience drives
 such customs as loading one of the guns for a firing squad with a blank
 cartridge, so that each member of the squad can imagine that his will be the
 non-lethal shot. And with lethal injection, the executioner's use of skills
 and procedures normally devoted to life-saving poses ethical questions for
 medical caregivers.

 Given these defects, abolitionists will presumably press to have each of
 these methods declared 'cruel and unusual.' The intended result of these
 efforts is to make the death penalty unconstitutional in practice, even if
 it remains constitutional in theory.

 It is in fact possible to conceive of a method of execution that would cause
 neither pain nor physical trauma, require no medical procedure (other than
 pronouncing death), and use no hazardous chemicals. A case of accidental



http://alt.suicide.methods.narkive.com/G72bumjnlkilling-with-kindness-capital-punishment-... 1/8/2015
                                                                                Exhibit 22 Page 17
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 425 of 534




Killing with kindness - capital punishment by nitrogen asphyxiation                   Page 2 of6


 death suggests such a method.

 Early in the Space Shuttle program, a worker at Kennedy Space Center walked
 into an external fuel tank (a vessel nearly as big inside as a Boeing 737)
 to inspect it. He was not aware that it had been purged with pure nitrogen
 gas to prevent oxygen in the air from corroding its interior. Since nitrogen
 is the major component of ordinary air, pure nitrogen has no distinctive
 feel, smell, or taste; the worker had no indication that anything was out of
 the ordinary. After walking a short distance into the tank, he lost
 consciousness and collapsed. A co-worker, not realizing that his collapse
 had an external cause, ran in to aid him and succumbed also. By the time
 other workers realized what was happening, the two men were dead.

 More recently, a bizarre accident involving nitrogen killed two people in
 the Bay Area. They had stolen from a hospital a gas cylinder containing what
 they thought was laughing gas. However, the cylinder contained not the
 anaesthetic nitrous oxide but pure nitrogen. When the two men stopped their
 car to partake of their booty, the nitrogen gas displaced the air in the
 car, leaving them without oxygen. Had they had any indication of the
 problem, they could have saved their lives simply by opening the car doors.

 These deaths were similar in cause to a relatively common drowning accident
 known as shallow-water blackout, mentioned specifically in certification
 classes for recreational scuba diving. When a person is skin diving (that
 is, without scuba gear), his bottom time is limited by how long he can hold
 his breath. Occasionally, a skin diver will attempt to lengthen the time he
 can stay under by hyperventilating before a dive. Unfortunately, this can
 lead to his losing consciousness underwater, sometimes only a few feet
 before reaching the surface.

 THE connection between nitrogen asphyxiation and shallow-water blackout lies
 in human respiratory physiology. When you hold your breath, you begin to
 develop a powerful urge to breathe. This is caused not by the depletion of
 oxygen from your body, but by the buildup of carbon dioxide in your
 bloodstream, which changes the pH of the blood. The ambitious skin diver
  "blows off most of the carbon dioxide in his bloodstream when he
 hyperventilates; as a result, he notices the urge to breathe much later than
 he normally would, at a point when his blood oxygen is dangerously low. If
  his blood oxygen falls too low before he reaches the surface, he blacks out
  and drowns. Because the Kennedy Space Center workers continued to exhale
  carbon dioxide with each breath, neither of them noticed an unusual urge to
  breathe, even though they were completely deprived of oxygen.

 Nitrogen asphyxiation is a unique way to die.. The victim is not racked by a
 choking sensation or a burning urge to breathe, because as far as his body



                                                                                         1 /0/•1f\1 C

                                                                                Exhibit 22 Page 18
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 426 of 534




Killing with kindness - capital punishment by nitrogen asphyxiation                              Page 3 of6


 knows, he is breathing normally. Carbon dioxide is not building up in his
 bloodstream, so he never realizes that anything is wrong, nor does he
 experience any discomfort; he simply passes out when his blood oxygen falls
 too low.

 Nitrogen asphyxiation is therefore a perfect method of execution. It uses a
 cheap and universally available working medium that requires no special
 environmental precautions for its storage and disposal. Its first symptom is
 loss of conscious sensation, a primary goal in a humane execution. It
 involves no physical trauma, no toxic drugs; the executed man's organs will
 even be suitable for donation, a factor cited in a recent stay of execution
 for a Georgia killer.

 Assuming that the prisoner's guilt has been sufficiently proved, nitrogen
 asphyxiation is perhaps the most gentle way to deal with him. A condemned
 m~n awaiting death by nitrogen asphyxiation would experiehce no more pain or
 suffering than he created in his own mind.

Dell Printers
dellcom/Printers
DJ~~!1Vl:LProJei;s(o11aJ:Grac!e_Cq_lor fr.o!Jl Qe!.l_l'll!.Sinm!'r.inte..,rs.._.-~

 nubbins                                                                                        9 years ago

 x-no-archive:yes

 Maybe even go out laughing.

 - nubbins -
                                                                      ·-1111
f Hey, Sandra Bullock Lied                                                       i   i

! lifecool beauty .com/sandra-secret
! Her Fans Are In Shock. Her Huge Secret

: Is Finally Exposed!       ·
                                                                      )!
 Philbert                                                                                       9years ago

   Post by nubbins
   x-no-archive:yes
   Maybe even go out laughing.
   - nubbins -
  You're thinking of nitrous oxide aka laughing gas. The article is about
  nitrogen.

 nubbins                                                                                         9 years ago

  x-no-archive:yes
    Post by Philbert


     I Post by nubbins
       Maybe even go out laughing.



http://alt.suicide.methods.narkive.com/G72bumjn/killing-with-kindness-capital-punishment-... 118/2015
                                                                                         Exhibit 22 Page 19
           Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 427 of 534




Killing with kindness - capital punishment by nitrogen asphyxiation                                               Page4 of6



 IYou're thinking of nitrous oxide aka laughing gas. The article is about
  nitrogen.
 You are absolutely correct, sir. I was not paying due attention. Gets
 me in trouble in class all the time. Who would mind if a doctor
 diagnosed onychomycosis as cryptorchidism, really? Details, details.

 - nubbins -

d***@hotmail.com                                                                                              9 years ago

 Awesome article. I think you just solved the puzzle for me. Thank you.

 Philbert                                                                                                     9 years ago

 Google nitrogen suicide for a lot of stuff. Basically people find that
 euthanising animals works pretty well using nitrogen, plus it's safe to
 use
 unless it's in a very high concentration.

 Rabbits don't like nitrogen because they have adaptive traits for living
 in
 holes where nitrogen can build up, unlike other animals and humans.



 On 4/6/06 3:25 PM, in article

 IPost by d ..*@hotmail.com
  Awesome article. I think you just solved the puzzle for me. Thank you.

 slunky                                                                                                       9 years ago

 Thanks for finding an article on it. I've been saying it for weeks, and
 was starting to wonder if I had just imagined it or what.


 -slunky

 Cesar                                                                                                        9 years ago

 Thanks for the great post and it was interesting and informative. I
 have concern that when the death penalty is ruled out as cruel and
 inhumane, it leaves the potential that the prisoners on death row could
 at some point get release and re-enter society. When prisons become
 too full, it can be ruled that a certain amount of prisoners be
 released early. In the years to come, laws could change and see a
 prisoner sentenced to death instead getting a life sentence of 20 years
 then getting out. Of course, it would help those that were wrongly
 convicted in the first place.

 Jimmy                                                                                                        9 years ago




httn ://alt. su1 ci<le. methods. n~r k1ve. com /G7?.hnm1 n/ki111n P-wit h-kinrln P.~~M~:mitii l-nnni ~ hm P.nt-     1 /R/?01 '\

                                                                                                       Exhibit 22 Page 20
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 428 of 534




                   HAZARDS OF INERT GASES
                    AND OXYGEN DEPLETION
                            IGC Document 44/09/E
                               Revision of IGC Doc 44/00/E




                   EUROPEAN INDUSTRIAL GASES ASSOC/AT/ON A/SBL •

                                    A\IENUEDES.ARTS3-5 • B-1210BRussas
                                        Tel:+3222177098 • Fax:+3222198514
                                   E-mal : info@eiga.eu • Internet: http:/MvMi.eiga.eu




                                                                 Exhibit 22 Page 21
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 429 of 534




                                                                                                           IGC Doc 44/09/E




                                                                     HAZARDS OF
                                                                INERT GASES AND
                                                               OXYGEN DEPLETION

                                                      PREPARED BY :


                                                      ARRI ETA, Angel                              PRAXAIR EUROHOLDING

                                                      BRICKELL, Phil                               THE LINDE GROUP

                                                      CAMPARADA, Vincenzo                          SOL

                                                      FRY, Christina                               AIR PRODUCTS
                                                      GACHOT, Roger                                AIR LIQUIDE
                                                      LEWANDOWSKI, Janusz                          LINDE GAS
                                                      NIELSEN, Arvid                               YARA
                                                      PATEL, Milan                                 AIR PRODUCTS
                                                      RITLOP, Danilo                               MESSER GROUP




                                                         Disclaimer
All technical publications of EIGA or under EIGA's name, including Codes of practice, Safety procedures and any other technical
information contained in such publications were obtained from sources believed to be reliable and are based on technical
information and experience currently available from members of EIGA and others at the date of their issuance.

\Miile EIGA recommends reference to or use of its publications by its members. such reference to or use of EIGA's publications by
its members or third parties are purely voluntary and not binding.

Therefore, EIGA or its members make no guarantee of the results and assume no liability or responsibility in connection with the
reference to or use of information or suggestions contained in EIGA's publications.

EIGA has no control whatsoever as regards, performance or non performance, misinterpretation, proper or improper use of any
information or suggestions contained in EIGA's publications by any person or entity (including EIGA members) and EIGA expressly
disclaims any liability in connection thereto.

EIGA's publications are subject to periodic review and users are cautioned to obtain the latest edition.




     © EIGA 2009 - EIGA grants permission lo reproduce this publication provided the Association is acknowledged as the source

                                                                        EUROPEAN INDUSTRIAL GASES ASSOCIATION (AISBL)
                                                  Avenue desArts 3-5 B 1210 Brussels    Tel +32 2 217 70 98
                                                                                E-mail: info@eiga.eu
                                                                                                                Fax+32 2 219 85 14
                                                                                                         Internet: http://www.eiqa.eu   II
                                                                                                                 Exhibit 22 Page 22
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 430 of 534




    IGC                                                                                                                                      DOC44/09

                                                                      Table of Contents
           Introduction ....................................................................................................................................... 1
    2      Scope and purpose .......................................................................................................................... 1
    3      Definitions ......................................................................................................................................... 1
    4      General Information about Inert Gases and Oxygen Depletion ....................................................... 1
        4.1       Oxygen is essential for life ........................................................................................................ 2
        4.2       Inert gases give no warning ...................................................................................................... 2
        4.3       Inert gases act quickly .............................................................................................................. 2
        4.4       The ambiguity of inert gases ..................................................................................................... 3
        4.5       Watchfulness with regard to inert gases and oxygen depletion ............................................... 3
    5      Some typical situations with inert gas and/or oxygen depletion hazards ......................................... 3
        5 .1      Confined or potentially confined spaces and enclosures ......................................................... 3
        5.2       The use of inert cryogenic liquids ............................................................................................. 3
        5.3       Areas near where inert gases are vented or may collect ......................................................... 4
        5.4       Use of inert gas instead of air ................................................................................................... 4
        5.5       Dangers of improper inhalation (abuse) of inert gases .............................................................4
    6      Hazard mitigation and preventive measures .................................................................................... 5
        6.1     lnformation,,Jraining .................................................................................................................. 5
        6.2     Proper installation and operation .............................................................................................. 5
        6.3     Identification and safeguarding of potentially hazardous areas ................................................ 5
        6.4     Ventilation and atmospheric monitoring for inert gases and oxygen deficiency ....................... 5
           6.4.1     Ventilation/ monitoring of rooms which people regularly enter or work in ......................... 5
           6.4.2     Ventilation/ monitoring prior to entry into confined spaces or enclosures ......................... 6
           6.4.3     Ventilation/monitoring for entry into other spaces where inert gases may be present... ... 6
           6.4.4     Notes on purging requirements ......................................................................................... 7
        6.5     Testing of oxygen content ......................................................................................................... 7
        6.6      Work permit ...............................................................................................................................7
        6.7      Lock-out Tag-out procedure ...................................................................................................... 8
        6.8      Protection of personnel ............................................................................................................. 8.
                                                                  I
    7      Confined space entry ...................... :................................................................................................ 8
    8       Rescue and first-aid ......................................................................................................................... 8
        8.1       Basic rules ................................................................................................................................. 9
        8.2       Rescue plan elements .............................................................................................................. 9
        8.3       Equipment .................................................................................................................................9
        8.4       Rescue training ....................................................................................................................... 10
        8.5       First Aid ................................................................................................................................... 10
    9       Conclusions .................................................................................................................................... 10
    1O         References ................................................................................................................................. 1o
    Appendix A: Summary for operators ..................................................................................................... 12
    Appendix 81: Rescue considerations from normally accessible rooms ................................................ 15
    Appendix 82: Rescue considerations from Confined Spaces ............................................................... 16
    Appendix 83: Rescue considerations from pits, trenches ..................................................................... 17
    Appendix C: Accidents involving oxygen deficiency ............................................................................. 18
    Appendix D: Hazard of inert gases sign ............................................................................................... 21




                                                                                                                               Exhibit 22 Page 23
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 431 of 534




IGC                                                                                        DOC 44/09

1     Introduction

EIGA is very concerned about the accidents that industrial gas companies and users of inert gases
continue to report each year, where the direct cause has been lack of oxygen resulting in
asphyxiation. EIGA identified that existing information on the hazards of inert gases was not
sufficiently directed at the users who were most at risk. This document sets out the essential
information that is necessary to prevent asphyxiation accidents involving inert gases.

2     Scope and purpose

It is intended that this document is used as a training package suitable for supervisors, line managers,
direct workers and users wherever inert gases are produced, stored, used, or where oxygen depletion
could otherwise occur.

This document has 4 parts:

The main document is intended for line managers and supervisors and gives the background of the
subject, the typical description of oxygen deficiency accidents and the recommended rescue
preparations to be in place in case of accident.

Appendix A is a simplified summary of the main document, designed to be reproduced as a pamphlet
for sharing with workers and end users.

Appendix B gives an introduction to rescue considerations from normally accessible rooms, confined
spaces or pits and trenches.

Appendix C lists some actual accidents that have taken place in recent years, which can be used as
examples to underline the potentially fatal hazards of inert gases.

Appendix D gives an example of a warning sign or poster to highlight the hazards of inert gases and
asphyxiating atmospheres.

3     Definitions

Asphyxiation: the effect on the body of inadequate oxygen, usually resulting in loss of consciousness
and/or death. This is also known as suffocation or anoxia.

Asphyxiant: any material which reduces the amount of available oxygen either by simple dilution or
by reaction.

Inert gas: A gas that is not toxic, which does not support human breathing and which reacts little or
not at all with other substances. The common inert gases are nitrogen and the rare gases like helium,
argon, neon, xenon and krypton.

Flammable gas: a gas whose major hazard is flammability. Note that all flammable gases also act as
asphyxiants.

User: for the purpose of this document this term covers any individuals, companies or other
organisations that make use of the products sold by industrial gas companies. Users may be, but are
not necessarily, customers.

4      General lnfonnation about Inert Gases and Oxygen Depletion

In spite of the wealth of information available, such as booklets, films and audio-visual aids, there are
still serious accidents resulting in asphyxiation caused by the improper use of inert gases or by
oxygen depletion. It is therefore absolutely essential to draw attention to the hazards of inert gases
and oxygen depletion. Accidents due to oxygen depleted atmospheres are usually very serious and in
many cases fatal.




                                                                                               Exhibit 22 Page 24
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 432 of 534




IGC                                                                                          DOC44/09

Although carbon dioxide is not an inert gas, most of the information in this document is applicable as it
too will cause oxygen depletion. However, the specific hazards and physiological effects of carbon
dioxide are more complex than those of inert gases. This document does not cover these aspects.
(See IGC Doc. 67 "C02 cylinders at user's premises" for more details about the additional hazards of
carbon dioxide).

4.1      Oxygen is essential for life

Oxygen is the only gas that supports life. The normal concentration of oxygen in the air we breathe is
approximately 21 %. Concentration, thinking and decision-making are impaired when the oxygen
concentration falls only slightly below this norm. These effects are not noticeable to the affected
individual.

If the oxygen concentration in air decreases or, if the concentration of any other gases increase, a
situation is rapidly reached where the risks of asphyxiation are significant. For this reason any
depletion of oxygen below 21 % must be treated with concern:

Asphyxia - Effect of 02 Concentration (from NU77 Campaign against Asphyxiation)

      Oz                                          Effect& and Symptoms
  (Vol%)
                No discernible symptoms can be detected by the individual.
   18-21        A risk assessment must be undertaken to understand the causes and determine whether
                it is safe to continue working.
   11-18        Reduction of physical and intellectual performance without the sufferer being aware.
                Possibility of fainting within a few minutes without prior warning.
      8-11
                Risk of death below 11%.
      6-8       Fainting occurs after a short time. Resuscitation possible if carried out immediately.

      0-6       Fainting almost immediate. Brain damage, even if rescued.
                                                                                                          I
WARNING: The situation is haza1dous as soon as the oxygen concentration inhaled is Jess than
18%.
With no oxygen present, inhalation of only 1-2 breaths of nitrogen or other inert gas will cause sudden
loss of consciousness and can cause death.

4.2      Inert gases give no warning

It is absolutely essential to understand that with inert gases such as nitrogen, argon, helium, etc.,
asphyxia is insidious - there are no warning signs!
•    Inert gases are odourless, colourless and tasteless. They are undetectable and can therefore be
     a great deal more dangerous than toxic gases such as chlorine, ammonia, or hydrogen sulphide,
     which can be detected by their odour at very low concentrations.
• The asphyxiating effect of inert gases occurs without any preliminary physiological sign that could
     alert the victim. Lack of oxygen may cause vertigo, headache or speech difficulties, but the victim
     is not capable of recognising these symptoms as asphyxiation. Asphyxiation leads rapidly to loss
     of consciousness - for very low oxygen concentrations this can occur within seconds.

4.3        Inert gases act quickly

In any accident where the supply of oxygen to the brain is affected, prompt emergency treatment is
critical. Proper medical treatment (resuscitation) if given quickly enough can prevent irreversible brain
damage or even death in some instances.

 Furthermore, and this is often poorly understood, the emergency rescue procedure to save the victim
 must be carefully thought out in advance to avoid a second accident, where members of the rescue



                                                        2

                                                                                          Exhibit 22 Page 25
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 433 of 534




IGC                                                                                       DOC44/09

team can become victims. Unplanned interventions resulting in the fatalities of would-be rescuers are
sadly not unusual.

4.4   The ambibuity of inert gases

Everyone, particularly customers, must be aware of the ambiguity of the expression "inert gas"
(sometimes called "safety gas", when it is used to prevent fire or explosion), whereby an "inert gas" is
often perceived, understood and wrongly taken to be a harmless gas!

4.5   Watchfulness with regard to inert gases and oxygen depletion

Considering the hazards mentioned above, it is essential to provide all those who handle or use inert
gases (gas company personnel as well as customers) with all the information and training necessary
regarding safety instructions. This includes the means of prevention and procedures to be respected
to avoid accidents, as well as planned rescue procedures to be implemented in the event of an
accident.

5     Some typical situations with inert gas and/or oxygen depletion hazards

5.1   Confined or potentially confined spaces and enclosures

Confined, restricted or enclosed spaces are particularly dangerous situations where an inert gas may
be normally present (inside a process vessel), may have accumulated (from leaks or vents) and/or
because the space has not been adequately vented or purged, and/or the renewal of air is poor or
ventilation is inadequate.

Examples of such spaces include:
• Confined soaces: tanks. vessels, reservoirs, the inside of "cold boxes" of liquefaction equipment,
   cold storage rooms, warehouses with fire suppressant atmospheres, etc.
• Enclosures: analyzer or instrument cabinets, small storage sheds, temporary/tented enclosures,
   or spaces where welding protective gas is used, etc

The precautions required for safe access by personnel will be different in each of these cases as
explained in Appendix 8.

5.2   The use of inert cryogenic liquids

It is to be noted, that the use of inert cryogenic liquids such as nitrogen or helium is accompanied by
two primary hazards:
• The fluids are very cold (-196°C for nitrogen and -269°C for helium) and can cause serious cold
      burns on contact with the skin.
• Once vaporised both products will generate a large volume of cold inert gas (e.g. 1 litre of liquid
      nitrogen will yield 680 litres gaseous product) that will displace ambient air, causing oxygen
      deficiency and may accumulate in low points.

In processes where cryogenic liquids are handled and vaporisation takes place, special care must be
taken to avoid situations where personnel are exposed to oxygen deficiency. These may be in rooms
which people regularly enter or work in.

Examples of such spaces include:
• The internal rooms of a building where cryogenic liquid cylinders/dewars are filled and/or stored,
• Laboratory rooms,
• Elevators (lifts) used for transport of dewars,
• Rooms where liquid nitrogen food freezers are operated. (Tunnel, cabinet)
• Rooms where Magnetic Resonance Imaging (MRI) scanner or other liquid helium cooled
   equipment is used
• Rooms in which cryogenic de-flashing equipment is operated.




                                                   3

                                                                                         Exhibit 22 Page 26
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 434 of 534




       IGC                                                                                          DOC 44/09

       Notes: Due to the extremely low temperature of liquid helium a secondary hazard may exist where the
       product is flowing through hoses or pipes. In this case it is possible for the components of air to
       liquefy on the outside of the hose/pipe, possibly leading to pooling of liquid containing levels of
       enriched oxygen. [See Ref. 7).

       5.3   Areas near where inert gases are vented or may collect

       The risk of asphyxiation can arise, even outdoors, in the vicinity of:
       •  Gas leaks
       • Vent exhausts
       • Outlet of safety valves and rupture disks
       • Openings of machines in which liquid nitrogen is used for freezing
       •  Blind flanges
       •  Near manways/access to vessels or purged enclosures (e.g. ASU cold boxes, electrical
          enclosures)

       Any cold gas or heavier-than-air gas will travel or "flow" - often unseen - and collect even outdoors, in
       low spaces such as:
       • Culverts
       • Trenches
       • Machine pits
       • Basements
       • Elevator (lift) shafts

       Similarly and just as dangerously lighter-than-air gases (e.g. helium) will rise and collect in
       unventilated high points such as:
       • Behind false ceilings
       • Under a roof

       5.4    Use of inert gas instead of air

       Planned Use
       In many workplaces, there are often compressed inert gas distribution networks that are used for
       process applications, safety or instrumentation purposes, e.g. inerting/purging of reactors or using
       nitrogen as a pressure source to operate pneumatic equipment (such as jackhammers) or as
       instrument fluids.

       Additionally, nitrogen is often used as either a backup to, or substitute for, an instrument air system.
       Where it is used as a backup supply in case of instrument air compressor failures it is quite common
       to find a nitrogen supply connected to an air supply by means of isolation valves, It must be
       appreciated that most pneumatically operated instruments vent continuously and that the vented
       nitrogen may accumulate in poorly ventilated control panels/cubicles or plant rooms. This can present
       a serious asphyxiation risk. Where nitrogen is used temporarily to substitute for compressed air in this
       way, it must be done under strictly controlled conditions such as a permit to work, and all relevant
       personnel shall be informed.

       Improper Use
       In situations where piped breathing systems exist there is always the potential for employees, who are
       insufficiently trained or not familiar with the systems, to connect the breathing apparatus to a nitrogen
       system with fatal results. Such systems must be clearly marked and ideally the breathing air system
       should have a dedicated connection type not used elsewhere in the premises.

       5.5    Dangers of improper inhalation (abuse) of inert gases

       There has been increased of reporting and presentations in TV-programmes on the careless
       approach and dangerous misuse of breathing in gases such as helium and other inert rare gases. The
       media reports in particular trivialise the effects of inhaling helium to achieve a very high-pitched voice.
       Inhalation of helium can lead to unconsciousness, cessation of breathing and sudden death.
       [See Ref. 6 for more information]



                                                            4
                                                                                        Exhibit 22 Page 27
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 435 of 534




IGC                                                                                        DOC 44/09

6      Hazard mitigation and preventive measures

6.1    Information, training

All persons who handle or who use inert gases shall be informed of:
•    Safety measures that should be adopted when using gases.
• The hazard represented by the release of inert gases in to the working space and the potential for
     oxygen depletion.
• Procedures to be observed should an accident occur.

This information and training should be systematically and periodically reviewed in order to ensure
that it remains up to date and appropriate for the hazards identified.

6.2    Proper installation and operation

Equipment for the manufacture, distribution or use of inert gas must be installed, maintained and used
in accordance with:
• All applicable regulations.
• The recommendations of the supplier
• Industrial gas industry standards and codes of practice

Newly assembled equipment for inert gas service must undergo a proof test and be leak-checked
using suitable procedures.

Each inert gas pipeline entering a building should be provided with an easily accessible isolation valve
outside the building. Ideally such valves should be remote activated by push buttons or other safety
monitoring equipment.

Discontinued inert gas lines shall be physically disconnected from the supply system when not in use. ,

At the end of each work period, all valves that isolate the inert gas should be securely closed to avoid
possible leakage between work periods.

6.3    Identification and safeguarding of potentially hazardous areas

Measures should be taken to identify potentially hazardous areas, or restrict access to them, e.g.
•  Warning signs should be displayed to inform of an actual or potential asphyxiation hazard
   (An example is shown ·in Appendix D). The warning sign should be associated with measures to
   prevent unauthorised entry to the areas.                                                      ,
•   Temporary or permanent barricades, for example physical lock on vessel manway or barricades
   around temporary excavations.
• Communication to site personnel to ensure awareness and understanding.

6.4    Ventilation and atmospheric monitoring for inert gases and oxygen deficiency

Typically there are three situations where the need for ventilation or atmospheric monitoring must be
assessed in order to avoid asphyxiation accidents from inert gases and/or oxygen depletion:

    6.4.1 Ventilation/ monitoring of rooms which people regularly enter or work in

Examples in this category would include:
•  Rooms containing inert gas pipelines with possible leaks such as compressor houses, control
   rooms (with control/analyser panels).
•  Rooms where inert cryogenic liquid is used or stored (see 5.2 above)

Building/room size, ventilation capacity, system pressures, etc. must be determined for each specific
case. The following guidelines can be applied to ventilation system design:
• Ventilation must be continuous while the hazard exists. This can be achieved by interlocking the
    ventilation system with the process power supply.



                                                    5
                                                                                             Exhibit 22 Page 28
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 436 of 534




   IGC                                                                                          DOC 44/09

   •     Ventilation system design should ensure adequate air flow around the normal operating areas.
   •     Good engineering practice indicates a minimum ventilation capacity of 6-10 air changes per hour.
   •     The use of devices to indicate correct system operation, such as:
             Warning lights
             "Streamers" in the fan outlet,
             Flow switches in the suction channels (monitoring should not rely only upon secondary
            controls such as "power on" to the fan motor).
   •     Exhaust lines containing inert gases shall be clearly identified, and should be piped to a safe, well
         ventilated area outside the building, away from fresh air intakes.
   •     Consideration should be given to the use of workplace atmospheric monitoring, e.g. personal
         oxygen analyser or an analyser in the work area, location to be based on assessment of the
         areas described in 5.3.
   •     People working in or entering the area shall be aware of action required in event of alarms from
         atmospheric monitors or loss of ventilation.

        6.4.2 Ventilation/ monitoring prior to entry into confined spaces or enclosures

   As    described in 5.1 above, these spaces would include enclosures or vessels which:
   •      Are not routinely entered and
   •     Are known to have contained inert gas or
   •      May contain inert gas or low concentration of oxygen
   •      Any vessel not known and verified to contain atmospheric air.

   In these cases the following guidelines apply to prepare a safe atmosphere prior to entry:
   • Sources of inert gas must be isolated from the space or enclosure by positive blinds or by
        disconnection of lines. Never rely only on a closed valve.
   •    The vessel or enclosure must be adequately purged with air (i.e. remove the iner1 gas and
        substitute with air).
        •   It is necessary to have at least 3 complete air changes within the enclosure involved.
        • Purging shall continue until analysis confirms that the quality of the vessel atmosphere is safe
            for personnel entry. If there is any doubt that effective purging has taken place, the analysis
            should be made in the interior of the vessel by taking a sample at several locations by probe,
            or if this is not possible, by a competent person using a self contained breathing apparatus.
        • The purge system must ensure turbulence for adequate mixing of air and inert gas to take
            place (to avoid "pockets" of dense or light inert gases remaining or to avoid "channelling" of
             gases due to inadequate purging).
        • Removal of argon or cold nitrogen from large vessels and deep pits can be difficult due to the
            relatively high density of the gas compared with air. In that case the gas should be exhausted
            from the bottom of the space.
        • Ventilation should never be carried out with pure oxygen, but exclusively with air.
    • Another method of removing inert gases is to fill the vessel with water and allow air to enter when
        the water is drained off.
    •    Oxygen content of the atmosphere in the enclosure/vessel shall be monitored continuously or
         repeated at regular intervals.
    •    Consideration should also be given to the use of personal oxygen monitors.

    Where a safe atmosphere cannot be created and confirmed, then the task must only be performed by
    competent personnel provided with a positive breathing air supply.

         6.4.3 Ventilation/monitoring for entry into other spaces where inert gases may be present

    This type of confined space is one that has any of the following characteristics:
    •   Limited opening for entry and exit
    •   Unfavourable natural ventilation

       Examples are listed in sections 5.1 and 5.3 and include;
       • Underground works
       •  Trench/pit deeper than 1 metre
       •  Small rooms where gases are stored but not designed for continuous worker occupancy.


                                                         6
                                                                                          Exhibit 22 Page 29
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 437 of 534




IGC                                                                                            DOC 44/09


In the majority of these cases the presence of inert gases is not anticipated when entering such
spaces. However, the one essential safeguard in all cases is to sample the atmosphere in the room,
enclosure, trench, pit, etc. for oxygen prior to any entry. Where appropriate a continuous fixed point
monitoring device should be used.

The fact that an oxygen deficient atmosphere is not normally expected is the greatest danger.

    6.4.4 Notes on purging requirements

The guidance for air changes, mentioned in section 6.4.2, is valid where nitrogen is the inert gas
involved because its density is very near to that of air and oxygen.

If the gas to be purged has a density very different from the density of air, such as helium, argon or
carbon dioxide, etc. the ventilating air may not adequately mix and the purge may be inadequate.

For inert gases of this type the volume of gas to be displaced (air changes) must be at least 10 times
that of the volume involved. The preferred method of removal of very dense gases (e.g. argon or cold
nitrogen vapour) is to suck out the gas from the bottom of the space.

In the presence of toxic or flammable gases, it is mandatory to perform an additional analysis of the
gases present in the confined space, before entry of personnel. For obvious reasons, the
measurement of only the oxygen content is not sufficient in this case. All other dangerous toxic or
flammable gases must also be analysed.

In the specific case of flammable gases, a nitrogen purge must be used first to prevent any explosion
risk and then subsequently purge with ventilating air.

6.5     Testing of oxygen content

Historically, the need to check that an atmosphere is respirable has been considered to be of the
greatest importance. In the past, simple means were employed, such as, for example, the lighted
candle or the canary bird.

Currently, various types of oxygen analysers are available, which are often reliable and simple and to
operate. The selection of the type of apparatus depends on the nature of the work in the place to be
monitored (presence of dust, temperature and humidity, multiple detectors, portable equipment, etc.).

•     Oxygen analysers are critical equipment and must be properly maintained and calibrated in order
      to sufficiently reliable. It is also important to ensure that fixed and portable detectors are properly
      positioned to measure a representative sample of the atmosphere.
•     A simple way check to confirm that an oxygen analyser is operating properly before use is to
      measure the oxygen content of the open air (21 %). This check should be part of the work permit
      requirements.
•     All oxygen analysers should be fitted with an alarm device to indicate possible defects (e.g. low
      battery).
•     The minimum safe oxygen concentration for entry into a space that is being controlled or
      measured because of the risk is 19.5 % oxygen. There are applications with oxygen
       concentrations below 19.5 % where entry is permitted provided that further precautions are taken
      in accordance with proper risk assessment and national regulations (e.g. fire suppression). (See
      Ref4]

6.6     Work permit

For certain types of work, safety instructions and a special work procedure must be set up in the form
of a work permit, this particularly relates to any form of confined space entry. [See Ref B]
This procedure is necessary during work carried out by subcontractors in air separation cold boxes, or
where vessel entry is required.




                                                      7
                                                                                                   Exhibit 22 Page 30
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 438 of 534




      IGC                                                                                             DOC44/09

      It is important that a work permit procedure deals with the detailed information that must be given to
      involved personnel before the start of work. This information should include contractual conditions
      together with documented risk assessments. procedures and the training of site workers.

      6.7     Lock-out Tag-out procedure

      To ensure any sources of inert gas have been properly isolated, the implementation of a stringent,
      formal lock-out and tag-out procedure is necessary before safe entry into a confined space.

      6.8     Protection of personnel

      The type of work to be performed, the layout of the premises and the assessment of potential rescue
      scenarios will determine the provision of additional protective measures. This additional protection
      should include organisational measures and/or safety equipment such as:

      •     Fixed or personal oxygen monitoring equipment
      •     The wearing of a harness so that the worker can be easily and rapidly taken out of an enclosed
            space in the case of an emergency. Preferably, this harness is to be connected to a hoist to
            facilitate removing the victim. (In practice, it is extremely ditricult for one person to lift up another
            person in the absence of a mechanical aid of some kind.)
      •     The provision of an alarm system in case of an emergency.
      •     The wearing of a self contained breathing apparatus (not cartridge masks, which are ineffective in
            a case of lack of oxygen).                                               .
      •     In the case of work inside a confined space, a standby person should be placed on watch outside
            the space/vessel.
      •     Having a self contained breathing apparatus on stand by.
      •     The wearing of other personal protective equipment such as safety boots, hard hat, goggles or
            gloves, depending on the hazards of the location and task.

      7       Confined space entry

      The employer has an overriding duty to ensure that tasks in confined spaces with potentially
      hazardous atmospheres are performed without entry whenever this is practical. Only if it there is no
      practical alternative shall people be required to enter confined spaces.

      Any entry into a confined space or enclosure with a potentially hazardous atmosphere shall be
      carefully controlled and have:
          • A written method statement for the work to be undertaken with the space.
          • A documented risk assessment for performing this task in this particular vessel.
          • Formal, stringent lock-out and tag-out procedures.
          • An assessment of potential scenarios where rescue may be required.
          • An emergency (rescue) plan to deal with any possible accident scenario related to entry in to
               the enclosure or vessel.
          • Rescue personnel and equipment should be available as required by the rescue plan.
          • Trained and competent personnel in roles of; entrant, stand-by watch, rescue team (where
               required) and supervisor/permit issuer.
          • A safe work permit issued and signed before entry is allowed.

      This document is not a detailed procedure for confined space entry, but focuses on the considerations
      which are important where there is an actual or potential hazard from inert gases or oxygen
      deficiency.

      8        Rescue and first-aid

      Awareness       training in the hazards of inert gases and oxygen deficient atmosphere is of vital
      importance     for everyone who might enter a space or who might discover and affected person in a
      space with     potentially asphyxiant atmosphere, in order to prevent subsequent fatalities as result of
      "'unplanned    rescue" attempts.




                                                              8
                                                                                            Exhibit 22 Page 31
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 439 of 534




IGC                                                                                       DOC 44/09

Training in rescue work is fundamental since quickly improvised rescue without the formality of a
procedure, often proves to be ineffective, if not catastrophic, i.e. the rescue worker lacking foresight
becomes a second or even a third victim. This is one of the most common causes of multiple fatalities
in cases involving asphyxiation.

8.1     Basic rules

If a person suddenly collapses and no longer gives any sign of life when working in a vessel, a
pa1tially enclosed space, a trench, a pit, a small sized room, etc., it MUST be assumed that the
person may lack oxygen due to the presence of an inert gas (which is, as mentioned, odourless,
colourless and tasteless):

WARNING: the discoverer must assume that his life is at risk entering the same area!

The risk is that the rescuer will become the second victim, which obviously must be avoided at all
costs. Ideally he should raise an alarm and call for assistance so that a prepared rescue can be
carried out.

Rescuers intent on saving a possible asphyxiation victim should only do so if they have the necessary
equipment, have been suitably trained, have proper assistance and support.

8.2    Rescue plan element&

The method of rescue will be determined by the access to particular space. If practical a non-entry
rescue is preferred. Appendix B lists the considerations which should be given to rescue plans from
three different situations:
    • Rescue from normally accessible rooms
    • Rescue from Confined Spaces
    • Rescue from pits, trenches or excavations

In each case the Rescue plan must have elements which address:
    • How the alarm is raised
    • Identification of possible rescue scenarios (not only for low oxygen effects)
    • Any scenarios in the surrounding work place which may or may not require immediate exit
        from the space (e.g. site evacuation in event of fire elsewhere)
    • Stand-by watch trained to keep visual and verbal contact with the entrant and to ensure the
        entrant exits the space if symptoms of oxygen deficiency are suspected or observed
    • Any assistance which may be needed/given from outside the space to help entrant escape
        from the space, without further entry.
    • Re-checking/confirmation of atmosphere prior to rescue
    • Manpower and equipment required to move unconscious person from that space
    • Provision of first aid/medical treatment (e.g. resuscitation and/or oxygen treatment) inside the
         space if necessary
    • Safe access by rescue and/or medical personnel if necessary
    • How to make the space safe/prevent further injury after the rescue.

8.3     Equipment

A successful rescue action may need some of the following equipment. The actual needs must be
assessed as part of the rescue plan and made available and accessible during the confined space
work:
• A portable audible alarm devices, e.g.; personal horn, whistle, klaxon etc. to alert nearby people
    that assistance is required.
•   Telephone or radio atthe work site so that an alarm can be raised in event of problems
• A safety belt or harness connected to a line
•   Mechanical aid such as pulley, hoist, to extract the victim.
•   Possibly a source of air or oxygen to ventilate the confined space, such as:
        A compressed air hose connected to the plant compressed air network,
         A ventilation device.



                                                   9
                                                                                               Exhibit 22 Page 32
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 440 of 534




      IGC                                                                                        DOC44/09

      •     Additional oxygen monitors for rescue team for re-checking conditions inside the space
      •     Positive pressure breathing air supply. This may be an externally fed breathing air system or self-
            contained breathing apparatus (SCBA).
             WARNING: Cartn'dge masks for toxic gases are not suitable as they do not replenish missing
            oxygen.
      •     A resuscitation kit supplied with oxygen for the victim. In general, such a kit includes a small
            oxygen cylinder, a pressure regulator, an inflatable bag, and a mask to cover both the nose and
            mouth of the victim.
      •     Stretcher to carry injured person out of the space, away from work place and/or to ambulance.

      It should be noted that any equipment identified as necessary to carry out an emergency rescue from
      a confined space should be defined on the basis of a full risk assessment and the emergency plan
      developed from it. Where this equipment is not available, a rescue should not be undertaken.

      8.4     Rescue training

      Where an emergency plan considers that a rescue is to be performed, it is recommended that there is
      an annual programme of training including practical rescue drills. It is also a good practice to
      consider a rescue exercise before start of confined space work.

      8.5     First Aid

      Where there is a potential hazard from inert gases/oxygen deficiency it is advisable to have personnel
      available who are formally qualified to give first aid and/or perform resuscitation in the event of an
      accident. The simplest first aid treatment for someone suffering from effects of oxygen deficiency is to
      bring the affected person into fresh air- as long as it safe to do so!

      In most countries additional training is required so that frst aiders are qualified to provide Oxygen as
      medical treatment for anoxia and other conditions.

      9       Conclusions

      There are two essential points to remember related to oxygen deficiency accidents involving inert
      gases:
      • Accidents resulting from oxygen deficiency due to inert gases happen unexpectedly and the
         reactions of personnel may be incorrect. To avoid this, all personnel who may work with, or may
          be exposed to, inert gases must have routine awareness training in respect of the hazards of
          these gases.
      • Accidents involving asphyxiant atmospheres are always serious, if not fatal. It is absolutely
         necessary to carry out both regular and periodic awareness training sessions for all personnel, as
          well as rescue drills.

      1O      References

      [1] CGA document SB-2 2007 Oxygen-Deficient Atmospheres

      [2] EIGA Asphyxiation campaign documents 2003 - including Dangers of Asphyxiation leaflet;
           Oxygen Deficiency training presentation and Newsletter 77/xx

      [3] Oxygen deficiency hazards. Video tape EIGA, 1997

      [4] EIGA Position Paper PP-14: Definitions of Oxygen Enrichment/Deficiency Safety Criteria - August
           2006.

      [5] US Chemical Safety and Hazard Investigation Board website Video Room www.csb.gov

      [6] EIGA position Paper PP-24: Abuse of Gases

      [7] IGC Doc 004 Fire Hazards of Oxygen and Oxygen Enriched Atmospheres



                                                           10
                                                                                        Exhibit 22 Page 33
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 441 of 534




IGC                                                   DOC 44/09

(8] JGC Doc 040 Work Permit Systems




                                      11
                                                        Exhibit 22 Page 34
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 442 of 534




       IGC                                                                                        DOC44/09


                                        Appendix A: Summary for operators

      1       Why do we need oxygen?

                                           OXYGEN IS ESSENTIAL FOR LIFE

                                   WITHOUT ENOUGH OXYGEN WE CANNOT LIVE

      When the natural composition of air is changed, the human organism can be affected or even
      severely impaired.

      If gases other. than oxygen are added or mixed with breathing air, the oxygen concentration is
      reduced (diluted) and oxygen deficiency occurs.




                    ox .::•••--...- ~




      If oxygen deficiency occurs due to the presence of inert gases (e.g. nitrogen, helium, argon, etc.) a
      drop in physical/mental efficiency occurs without the person's knowledge; at about 11 % oxygen
      concentration in air (instead of the normal .21 % concentration) fainting occurs without any prior
      warning.

      Below this 11 % concentration there is a very high risk that death due to asphyxiation will occur within
      a few minutes, unless resuscitation is carried out immediately!

      See also EIGA Safety Newsletter NU77 Campaign against Asphyxiation

      2       Causes of oxygen deficiency

      a)    When liquefied gases (such as liquid nitrogen, liquid argon, or liquid helium) evaporate, one litre
            of liquid produces approximately 600 to 850 litres of gas. This enormous gas volume can very
            quickly lead to oxygen deficiency unless there is adequate ventilation.




       b)   In the event of gases other than oxygen leaking out of pipe work, cylinders, vessels, etc .• oxygen
            deficiency must always be expected. Checks should be made periodically for possible leaks.

            Spaces with limited or inadequate ventilation (e.g. vessels) must not be entered unless air
            analysis has been made, safe conditions are confirmed and a work permit has been issued.




                                                           12
                                                                                        Exhibit 22 Page 35
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 443 of 534




 IGC                                                                                        DOC 44/09

 c)   If work has to be carried out in the vicinity of ventilation openings, vent pipes or vessel man ways
      for example, personnel must be prepared to encounter gases with low oxygen concentration or
      without oxygen at all, being discharged from these openings.




 d) Oxygen deficiency will always arise when plant and vessels are purged with nitrogen or any other
    inert gases.

 3      Detection of oxygen deficiency

I HUMAN SENSES CANNOT DETECT OXYGEN DEFICIENCY
 Measuring instruments give an audible or visual alarm of oxygen concentration and can indicate the
 oxygen content.

 These instruments should always be tested in the open air before use.

 If the presence of toxic or flammable gases is possible, specific instruments should be used.




 4      Breathing equipment

 Breathing equipment must be used in situations where oxygen deficiency has to be expected and
 which cannot be remedied by adequate ventilation.

 Cartridge gas masks necessary for use in the presence oftoxic gases (such as ammonia, chlorine,
 etc.) are useless for this purpose.

 Recommended types of breathing equipment are:
 • Self contained breathing apparatus using compressed air cylinders;
 • Full-face masks with respirator connected through a hose to a fresh air supply.

 NOTE:




                                                     13
                                                                                                 Exhibit 22 Page 36
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 444 of 534




         IGC                                                                                           DOC 44/09

         >   It should be born in mind that when wearing these apparatus, particularly with air filled cylinders, it
             might sometimes be difficult to enter manholes.
         >   Periodic inspection of the correct functioning of the equipment shall be carried out in accordance
             with local regulations.
         >   Users shall be trained and shall practice handling of the equipment regularly.

      5        Confined spaces, vessels, etc.

      Any vessel or confined space where oxygen deficiency is expected and which is connected to a gas
      source shall be disconnected from such a source:

      By the removal of a section of pipe; or
      by inse11ing a blanking plate before and during the entry period.

      Reliance on the closure of valves alone might be fatal.

      A space or vessel should be thoroughly ventilated, and the oxygen content shall be measured
      periodically before and during entry period.

      If the atmosphere in such a vessel or space is not breathable, a qualified person shall use breathing
      equipment.


     IPermission to enter such a space shall be given only after the issue of an entry permit signed by a
      responsible person.
                                                                                                                         I
      As long as a person is in a vessel or confined space, a watcher shall be present and stationed
      immediately outside of the confined entrance.

      He shall have a self-contained breathing apparatus readily available.

      The person inside the confined space to facilitate rescue shall wear a harness and rope. The duty of
      the watcher should be clearly defined. A hoist may be necessary to lift an incapacitated person.




         6     Emergency Measures

         In the event of a person having fainted due to oxygen deficiency, he can only be rescued if the rescue
         personnel are equipped with breathing apparatus enabling them to enter the oxygen deficient space
         without risk.

         Remove the patient to the open air and administer oxygen without delay from an automatic
         resuscitator if available or supply artificial respiration. Guidelines and instructions for resuscitation can
         be obtained from the European Resuscitation Council (Internet Homepage: www.erc.edu ).
         Continue until patient revives or advised to stop by qualified medical personnel.




                                                              14
                                                                                             Exhibit 22 Page 37
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 445 of 534




IGC                                                                                        DOC 44/09



     Appendix 81: Rescue considerations from normally accessible rooms

                                              Planned Rescue Scenario:
                                              If work is unde11aken on inert gas or cryogenic liquid
                                              systems within an enclosed room it is suggested that:
                                                   • The entrant carries a personal oxygen monitor in
                                                       addition to any fixed systems as the oxygen
                                                       concentration may vary within the room if
                                                       ventilation is absent or inadequate for the leak
                                                       rate.
                                                  • The atmosphere within the space is checked
                                                       before entry
                                                   • A stand-by watch is posted outside the space, to
                                                       keep visual and verbal contact with the entrant
                                                       and to ensure the entrant leaves the room
                                                       unaided in case of early symptoms of oxygen
                                                       deficiency
                                                   • The stand-by watch can raise an alarm by
                                                       telephone or radio on event of problems

      •   The stand-by watch has Self Contained Breathing Apparatus (SCBA) ready so that he can
          safely enter the enclosed room to go to the assistance of, or to extract the victim if
          necessary.
      •   Unless a plan is in place so that the entrant can be safely removed by the standby-watch
          alone, then the rescue team should have been warned of the confined space entry work in
          progress, and be ready with Self Contained Breathing Apparatus (SCBA) and other
          equipment so that they can safely enter the Confined space to go to the assistance of, or
          to extract the victim if necessary.
      •   Plans have been made to obtain treatmenUassessment from qualified medical personnel
          for the victim as soon as possible after he is retrieved from the room.




Unplanned Rescue Scenario:
If a person is found collapsed in a room where there is a potential inert gas leak I oxygen deficient
atmosphere, then the discoverer must assume that his life is at risk entering the same area.
He should raise an alarm and call for assistance so that a prepared rescue can be carried out.

ONLY if the collapsed person can be reached, from outside the room should any consideration be
given to extracting the victim from th~ space and bringing him out to fresh air and medical attention.

IF the victim has collapsed as a result of an oxygen deficient atmosphere and been there for any
length of time it is very likely that he is dead and the discoverer's life is risked in vain.




                                                   15
                                                                                                Exhibit 22 Page 38
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 446 of 534




      IGC                                                                                        DOC 44/09



                 Appendix 82: Rescue considerations from Confined Spaces


                                                   Planned Rescue Scenario:
                                                   If work is undertaken within a Confined Space such as a
                                                   vessel or a difficult access space, with potential inert gas/
                                                   oxygen deficient atmosphere, it is essential that:
                                                        • The atmosphere within the space is made safe.
                                                            ventilated and checked before entry
                                                       • The entrant carries a personal oxygen monitor.
                                                       • If practical the entrant wears a body harness with
                                                            life line, so that he can be removed from the
                                                            space by persons outside. A hoist or other
                                                            mechanical aid may be needed
                                                        • A stand-by watch is posted outside the space, to
                                                            keep visual and verbal contact with the entrant
                                                            and to ensure the entrant exits the Confined
                                                            Space if symptoms of oxygen deficiency are
                                                            suspected or observed
                                                        • The stand-by watch can raise an alarm to call a
                                                            trained rescue team by telephone or radio on
                                                            event of problems
            •   The rescue team should have been warned of the confined space entry work in progress,
                and be ready with Self Contained Breathing Apparatus (SCBA) and other equipment so that
                they can safely enter the Confined space to go to the assistance of, or to extract the victim
                if necessary.
            •   The stand-by watch should never enter the Confined Space.
            •   Plans have been made to obtain treatmenVassessment from qualified medical personnel
                for the victim as soon as possible after he is retrieved from the room.




      Unplanned Rescue Scenario:
      All Confined Spaces shall be closed or barricaded to prevent unauthorised access. There should be
      no possibility for uncontrolled entry into the Confined Space, so the "unplanned rescue" situation
      should not occur!

      If however a person is found collapsed in a Confined Space where there is a potential inert gas I
      oxygen deficient atmosphere, then the discoverer must assume that his life is at risk entering the
      same area. He must raise an alarm and call for assistance so that a prepared rescue can be carried
      out.

      IF the victim has collapsed as a result of an oxygen deficient atmosphere and been there for any
      length of time it is very likely that he is dead and the discoverer's life is risked in vain.




                                                         16
                                                                                       Exhibit 22 Page 39
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 447 of 534




IGC                                                                                         DOC 44/09



              Appendix 83: Rescue considerations from pits, trenches


                                                                             Planned Rescue Scenario:

                                                                            If work is undertaken in an
                                                                            excavation, trench, pit, or
                                                                            other open spaces with
                                                                            potential inert gas I oxygen
                                                                            deficient atmosphere, it is
                                                                            strongly recommended that:

                                                                             •   The atmosphere within
                                                                                 the space is checked
                                                                                 before entry

      •   The entrant carries a personal oxygen monitor, as the oxygen concentration may vary within
          the space if there is limited fresh air circulation.
      •   A stand-by watch is posted outside the space, to keep visual and verbal contact with the
          entrant and to ensure the entrant exits the area unaided if symptoms of oxygen deficiency
          are suspected or observed.
      •   The stand-by watch can raise an alarm to call a trained rescue team by telephone or radio
          on event of problems.
      •   The stand-by watch has Self Contained Breathing Apparatus (SCBA) ready IF it is practical
          for him enter the enclosed room to go to the assistance of, or to extract the victim alone. OR
      •   The rescue team should have been warned of the confined space entry work in progress,
          and be ready with Self Contained Breathing Apparatus (SCBA) and other equipment so that
          they can safely enter the space to extract the victim if necessary
      •   Plans have been made to obtain treatmenUassessment from qualified medical personnel for
          the victim as soon as possible after he is retrieved from the room.




Unplanned Rescue Scenario:
If a person is found collapsed in a trench, pit or other space where there is a potential inert gas leak I
oxygen deficient atmosphere, then the discoverer must assume that his life is at risk entering the
same area. He should raise an alarm and call for assistance so that a prepared rescue can be carried
out.

IF the victim has collapsed as a result of an oxygen deficient atmosphere and been there for any
length of time it is very likely that he is dead and the discoverer's 6fe is risked in vain.
In addition it will often require several people to remove a victim from these kinds of spaces.




                                                    17
                                                                                                 Exhibit 22 Page 40
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 448 of 534




      IGC                                                                                          DOC 44/09



                         Appendix C: Accidents involving oxygen deficiency

      The following list highlights real accidents recorded by EIGA, some of them very recent. The list
      illustrates how essential it is to regularly draw the attention of our personnel, as well as that of our
      customers, to the hazards of inert gases and oxygen deficiency.


      1.   A new pipeline in a trench was being proof tested with nitrogen. A charge hand entered the trench
           to investigate the cause of an audible leak. He was overcome by nitrogen and died.

      2.   A workman was overcome by lack of oxygen after entering a large storage tank, which had been
           inerted with nitrogen. Two of his workmates, who went to his aid, without wearing breathing
           equipment, were also overcome and all three died.

      3.   A man was overcome on entering a steel tank which had been shut up for several years. The
           atmosphere inside the tank was no longer capable of supporting life due to removal of oxygen
           from the air by the rusting of steel.

      4.   A worker from a contractor company had to carry out welds inside a vessel. The vessel had been
           under a nitrogen blanket, but was ventilated with air before work started. In order to be on the
           safe side, the welder was asked to wear a fresh air breathing mask. Unfortunately a fellow worker
           connected the hose to a nitrogen line and the welder died from asphyxiation.
           This accident happened because the nitrogen outlet point was not labelled and had a normal air
           hose connection.

      5.   Welding work with an argon mixture was performed inside a road tanker. During lunchtime the
           welding torch was left inside the tank, and as the valve was not properly closed, argon escaped.
           When the welder re-entered the tank, he lost consciousness, but was rescued in time.
           Equipment that is connected to a gas source, except air, must never be Jeff inside confined
           spaces during lunch breaks, etc. Merely closing the valves is not a guarantee against an escape
           of gas. If any work with inert gas is carried out in vessels, etc. take care with adequate ventilation
           or the use of proper breathing equipment.

      6.   A driver of a small-scale liquid nitrogen delivery service vehicle was making a delivery. He
           connected his transfer hose to the customer-installed tank, which was situated in a semi-
           basement. After he had started to fill, one of the customer's employees told him that a cloud of
           vapour was forming around the tank. The driver stopped the filling operation and returned to the
           area of the tank to investigate. On reaching the bottom of the stairs, he collapsed, but fortunately
           he was seen by one of the customer's staff that managed to put on breathing apparatus, go in
           and drag the man to safety. The driver fully recovered.
           Unknown to the driver, the bursting disc of the storage tank had failed prior to the start of his fill
           and as soon as he started filling, nitrogen escaped in the vicinity of the storage tank. The oxygen
           deficient atmosphere overcame him when he went down to investigate without wearing his
           portable oxygen monitor, which would have warned him of the oxygen deficiency. The installation
           had been condemned and was no longer being used. Not only was the tank situated in a semi-
           basement, but the relief device was also not piped to a safe area.

      7.   During a routine overhaul of an air separation plant, a maintenance technician had the task of
           changing the filter element on a liquid oxygen filter. The plant was shut down and a work permit
           was issued each day for each element of work. In spite of these precautions, the technician
           collapsed when he inadvertently worked on the filter after it had been purged with nitrogen. The
           fitter collapsed apparently asphyxiated by nitrogen. All efforts to revive him failed.




                                                           18
                                                                                         Exhibit 22 Page 41
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 449 of 534




IGC                                                                                       DOC 44/09

8. At a cryogenic application, the equipment pressure relief valve located on the equipment inside
   the building opened because the pressure in the storage tank outside increased above the
   setting of the equipment pressure relief valve. Personnel about to enter the room the next
   morning were warned by the frosted appearance and did not enter.

9.   A customer was supplied with 2 low temperature-grinding machines, which were located in the
     same area in the factory. The customer installed a joint nitrogen extraction system between the
     two machines. One machine was switched off for cleaning while the other machine was left
     running. One of the operators who had entered the unit for cleaning fell unconscious and was
     asphyxiated before help arrived. The linked extraction syst.em had allowed exhausted nitrogen
     from the operating machine to flow into the unit to be cleaned.

10. A driver was fatally asphyxiated during commissioning of a nitrogen customer station. The
    customer station tank was located in a pit that was not recognized as a confined space by the
    design team, distribution operation team or the driver. The driver was sent to do the
    commissioning by himself.
    During the commissioning the driver made a mistake in opening the liquid supply line valve,
    instead of the gas vent valve, for purging and cool down of the tank. It is believed he did not
    immediately notice the valving error partially due to a modified manifold that allowed gas to vent
    from an uncapped drain in the liquid supply line. When the driver opened the valve gas started
    venting as would normally occur except from the wrong location. Once he noticed that liquid
    rather than gas venting, he went into the pit to correct the valving error. At this point he walked
    into a nitrogen rich/oxygen deficient atmosphere.

11. A group of workers were routinely working at the in-feed end of a tunnel freezer. As the
    temperature of the tunnel was approaching the desired set point, a new operator noticed that
    there was a Cloud of N2 gas coming out at exit end of the freezer. He suddenly increased the
    speed of the scroll fan in order to remove the gas from exit to product entrance. The exhaust and
    scroll fans were running on manual mode. As a result, the N2 cloud moved to product entrance
    and five workers who were working around the loading table passed out. Fortunately, there were
    no serious injuries and all of them returned to work after taking a rest.

12. On an ASU still in commissioning phase three painters from a sub-subcontractor were working on
    a ladder to complete external painting works on nitrogen/water tower. To complete the painting of
    top tower section a wooden plank was put across the exhaust section to atmosphere. One painter
    climbed on the plank, surrounded by the nitrogen stream, and fell off inside the tower. The two
    other painters rushed from the ladder to the plank to rescue their team mate. Both collapsed into
    the tower as well. The three painters died before they could be rescued.

13. An experienced contractor was used to purge a natural gas pipeline, 0.5m diameter 10 km long,
    with nitrogen before start-up. When one contractor employee and two customer employees
    entered the remotely located chamber, they were asphyxiated and later found dead in the
    chamber. Two blind flanges were leaking and the oxygen monitor was not used.

14. A customer nitrogen tank, volume 10 m3 , on a PSA plant was to be inspected by the competent
    body. The inspector entered the tank and lost consciousness immediately. Two persons from the
    gas company participating in the inspection managed to bring the inspector out without entering
    the tank. The inspector recovered.

15. A liquid C02 tank was installed. The tank should be purged with air but mistakenly the hose was
    connected to nitrogen. The tank manhole was situated 4 m above ground. For reasons unknown,
    a contract employee brought a ladder, entered the tank and was asphyxiated. Previously that
    morning employees had been told not to enter the tank before the atmosphere was officially
    checked.

16. Employee stepped into a control cubicle where the instrument air was temporarily replaced with
    N2 during shutdown. The green light outside the door was on indicating safe atmosphere. As
    soon as he stepped into the cubicle his personal 0 2 monitor alarmed indicating 18% 0 2 or less.
    After exiting safely he opened the door and when 0 2 level was OK, checked the fan. The
    ventilation fan was not running. The light was wrongly wired.


                                                  19
                                                                                             Exhibit 22 Page 42
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 450 of 534




      IGC                                                                                        DOC 44/09

      17. The perlite in a storage tank under erection had to be emptied by a contractor company, familiar
          with this job. During this work one of the workers fell down in the perlite, depth approximately 3m,
          and was asphyxiated.

      18. During the cleaning and painting maintenance of the internal and external surfaces of a water
          tank, one operator suffered anoxia due to nitrogen being used to purge the vessel instead of air.
          Two employees tried to rescue the victim and fainted. These two operators were rescued and
          transported to hospital for intensive care however the original operator died.

      19. During the installation of a new LIN phase separator on LIN pipe work at a customer site, a
          technician went into the roof space. His personal oxygen-monitoring device began to alarm
          immediately, indicating low oxygen levels. The technician left the roof space immediately and
          informed the customer. Later in the same week, the customer owned food-freezing machinery
          was operating, and a project engineer measured concentrations far below 19% in the production
          room. He left the room, asked all subcontractors to stop work and leave the room, and informed
          the customer. Investigation showed that the customer had not connected the exhaust ducting to
          the food-freezing machine that they owned and installed. The exhaust pipes ended in the attic
          space, not being extended to the atmosphere. Customer had "bridged" the alarm/trip output so
          LIN supply would not be shut off by low 0 2 concentrations.

     20. An experienced site employee wanted to take some photographs to add to a report concerning
         production problems relating to problems with leaks in the argon condenser. In the control room
         he asked a Contractor to accompany him to take photographs of equipment in the cold box. One
         hour later the two men were found unconscious in a manhole access to the cold box. Emergency
         authorities were called and declared the two men dead.

     21. Two people on a customer's site were asphyxiated and died whilst attempting to unblock a pipe,
         using Argon gas in a confined space. The use of Argon gas in this application is not authorised.
         The incident took place in a sump 2 metres below ground level, which is used to drain water from
         a nearby trench.




      22. An air compressor that provided instrument air to an acetylene plant and for breathing air failed. A
          back-up nitrogen supply from a liquid cylinder was connected to the piping system to replace the
          function of the air compressor. An operator put on a full respiratory face mask to load Calcium
          Carbide into the hopper and inhaled nitrogen. He died.




                                                         20
                                                                                      Exhibit 22 Page 43
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 451 of 534




IGC                                                   DOC 44/09



             Appendix D: Hazard of inert gases sign




      DANGER OF DEATH
      Potential Asphyxiating
          Atmosphere


                               21


                                                         Exhibit 22 Page 44
                   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 452 of 534




    SalBIV
    Bulletin
   U.S. Chemical Safety and Hazard Investigation Board



HAZARDS OF NITROGEN ASPHYXIATION                                                                    No. 2003-10-B    I June 2003

                                                                     ... '':'.-,·"'':".
 '·:. 1\1-H ""~X~ ~\T?}~!_:!_~,~p?~:;.:\:·/'                                              inadvertent use of nitrogen rather
              ·:.·· ..:;·="
       .·.:.- .. -·:.::
                   ·,,,
                              -                                                           than breathing-air delivery
                                                                                          systems.
                                                                                          This bulletin focuses only on the
                                                                                          hazard of asphyxiation, though
                                                                                          nitrogen also presents cryogenic
                                                                                          and high-pressure hazards.



                                                                                          Commercial
          I,••:-   '.~ ·~-,!:·.<>:··('~~:.::   .··                                        Uses of Nitrogen
                                                                                          One of the most important
 T   his Safety Bulletin is pub-
     lished to bring additional
 attention to the continuing
                                                     • Good practices and awareness
                                                       of hazards minimize the risk
                                                       ofnitrogen asphyxiation
                                                                                          commercial uses of nitrogen is as
                                                                                          an inerting agent to improve
 hazards of nitrogen asphyxiatic:i.n.1                 (Figure 1).                        safety. Nitrogen is inert under
                                                                                          most conditions (i.e., it does not
  • Nitrogen is widely used com-                     Many incidents reviewed by CSB       react with or affect other material).
    mercially. It is often used to                   were caused by inadequate
    keep material free of con-                       knowledge of the hazard or           It is often used to keep material
    taminants (such as oxygen) that                                                       free of contamjnants, including
    may corrode equipment,                               *   Figure I . Sign warning of   oxygen-which can corrode
    present a fire hazard, or be                                 nitrogen hazard.         equipment or present a fire and
    toxic.                                                                                explosion hazard when in contact
                                                                                          with flammable liquids or
   • Nitrogen asphyxiation hazards
                                                                                          combustible solids. In such cases,
     in industry resulted in 80 deaths
                                                                                          a flow of nitrogen is maintained in
     from 1992 to 2002. These
                                                                                          a vessel to keep oxygen out.
     incidents occurred in a variety
                                                                                          Nitrogen is also used to purge air
     of facilities, including industrial
                                                                                          from equipment prior to
     plants, laboratories, and
                                                                                          introducing material, or to purge
     medical facilities; almost half
                                                                                          flammable or toxic material prior
     involved contractors.
                                                                                          to opening equipment for
                                                                                          maintenance.
                                                                                          In industrial and commercial
   1In 1998, the U.S. Chemical Safety Board                                               settings where a nitrogen-enriched
   (CSB) investigated a nitrogen                                                          environment may present a
   asphyxiation incident that occurred in                                                 hazard, such as when using
   Hahnville, Louisiana. As part of that
   investigation, CSB reviewed the                                                        supplied air or working in or
   prevalence of asphyxiation incidents.                                                  around spaces that are confined,


                                                                                                   Exhibit 22 Page 45
           Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 453 of 534




2

precautions must be taken to                serious and immediate effects,       resuscitated, he or she risks
ensure that sufficient oxygen is            including unconsciousness after      cardiac arrest.
prpvided to personnel.                      only one or two breaths. The
                                            exposed person has no warning
                                            and cannot sense that the oxygen     Nitrogen ... presents a
                                            level is too low.
Nitrogen is safe to                                                              hazard when it displaces
                                            The Occupational Safety and
breathe only when mixed                                                          oxygen.
                                            Health Administration (OSHA)
with the appropriate                        requires employers to maintain
amount of oxygen.                           workplace oxygen at levels
                                            between 19.5 and 23.5 percent As
                                            shown in the table on page 3, the
                                                                                 Statistics on
Effects of
                                            human body is adversely affected     Nitrogen
                                            by lower concentrations.

Oxygen-                                     As the oxygen concentration falls
                                                                                 Asphyxiation
                                            below 16 percent, the brain sends    From reported data for the United
Deficient                                   commands to the breathing control    States, CSB identified 85 nitrogen
                                            center, causing the victim to        asphyxiation incidents that
Atmosphere                                                                       occurred in the workplace
Nitrogen is not a "poison" in the                                                between 1992 and 2002. In these
traditional sense. It presents a            In industrial and                    incidents, 80 people were killed
                                                                                 and 50 were injured. 2
hazard when it displaces oxygen,            commercial settings
making the atmosphere hazardous
to humans. Breathing an oxygen-
                                            where a nitrogen-                    Profile of Affected
deficient atmosphere can have               enriched environment                 Industries and Activities
                                            may present a hazard,                Of the 85 incidents reported, 62
                                            ... precautions must be              percent occurred in chemical
•'i  CSB Safety Bulletins offer advisory                                         plants and refineries, food
 .~  information on good practices for      taken to ensure that                 processing and storage facilities,
)    managing chemical process hazards.     there is sufficient oxygen           metal and manufacturing
,.\  Case studies provide supporting
 :~  information. Safety Bulletins differ   in the atmosphere.                   operations, and other industrial,
  :\ from CSB Investigation Reports in                                           maritime, and manufacturing
 ·.~ that they do not comprehensively                                            sites, including nuclear plants.
 ) review all the causes of an incident.
                                            breathe faster and deeper. As the    Approximately 13 percent of the
                                            oxygen level continues to            incidents involved maintenance
                                            decrease, full recovery is less
                                            certain. .An atmosphere of only 4
   :: U.S. Chemical Safety and Hazard                                            2 Data sources for the CSB review include
   /    Investigation Board                 to 6 percent oxygen causes the
                                                                                 regulatory agencies, media reports,
 ·i   Office of Investigations and Safety   victim to fall into a coma in less   technical publications, and contacts with
   i Programs                               than 40 seconds. Oxygen must be      safety personnel; however, only those
  J   2175 K Street NW. Suite 400           administered within minutes to       incidents that were reported and accessible
                                                                                 are represented. Although the summary
   '' Washington, DC 20037-1848
                                            offer a chance of survival. Even     data reported above are not all-inclusive,
 ···~ 202-261-7600                                                               the numbers dearly indicate that nitrogen
  } www.chemsafety.gov                      when a victim is rescued and
                                                                                 asphyxiation presents a serious hazard in
                                                                                 the workplace. Statistical analysis is based
   '
  -i
                                                                                 on available, limited information.



                                                                                               Exhibit 22 Page 46
         Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 454 of 534




                                                                                                                             3

                                                                                  . . . I 30 workplace
                                                                                  fatalities and injuries
                                                                                  occurred from breathing
                                                                                  nitrogen-enriched air.
                                                                                  Over 60 percent of these
                                                                                  victims were working in
                                                                                  or next to a confined
                                                                                  space.

                                                                                  these 42 incidents account for over
                                                                                  60 percent of the fatalities.

                                                                                  Causal Information
       SOURCE: .COmpresseci Ga5 A5~c)~ial:io~. 200 L
                                               : .:· :..
                                                           >. .
                                                           :-,';-'?~·   ··... '
                                                                                  From the CSB data, a combined
                                                                                  total of 130 workplace fatalities
                                                                                  and injuries occurred from
                                                                                  breathing nitrogen-enriched air.
                                             identified as being in manu-
CSB identified 85                                                                 Over 60 percent of these victims
                                             facturing facilities- account for
                                                                                  were working in or next to a
nitrogen asphyxiation                        about 14 percent of the incidents.
                                                                                  conHned space.3•4
incidents that occurred in                   1he remainder of the incidents
                                             occurred in laboratories and         One characteristic of a confined
the workplace between                        miscellaneous industries, such as    space is its capability to contain an
 1992 and 2002 ... 80                        medical and transportation.          atmosphere that may be totally
                                                                                  different from outside air.
people were killed and 50                    The data show that employees and
                                                                                  Confined spaces in manufacturing
were injured.                                contractors alike are victims of
                                                                                  sites typically include equipment
                                             asphyxiation. Of the 85 incidents
                                                                                  such as reactors, vessels, tanks,
                                             reviewed, 42 involved contractors,
                                                                                  and boilers. Other such spaces are
                                             including construction workers;
 activities, such as railcar and tank                                             railcars, trenches, and areas
 truck cleaning, painting,                                                        accessible by manholes.
 maintenance, and repair. 1hese
 incidents are categorized as                 Of the 85 incidents
 "maintenance" because incident               reviewed, 42 involved               3"Next to a confined space" means that a
 reports do not include enough                                                    person's breathing zone is affected by the
 information on the type of                   contractors, including              atmosphere emanating from the space.
                                                                                  The person may be standing in the
 industrial setting; they could have          construction workers;               immediate area but not actually in the
 occurred   at manufacturing sites,                                               space.
1                                             these 42 incidents                  4According to OSHA, a confined space can
 which would increase the 62                                                      be entered to perform work, has limited
  percent estimate above.                     account for over 60                 means of egress, and is not designed for
                                                                                  continuous employee occupancy. A
 Likewise, trenches and                       percent of the fatalities.          "permit-required confined space" includes
                                                                                  a space that contains or has the potential to
 manholes -not specifically                                                       contain a serious safety or health hazard,
                                                                                  such as a hazardous atmosphere.



                                                                                               Exhibit 22 Page 47
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 455 of 534




4

Failure to Detect Oxygen-             flush equipment prior to enhy. In   lhe data provide examples of
                                      either situation, inadequate        workers inadvertently using
Deficient Atmosphere
                                      knowledge of the hazard and         nitrogen instead of air because of
Failure to detect an oxygen-          failure to detect additional        interchangeable couplings on lines
deficient (nitrogen-enriched)         nitrogen resulted in a fatal        and poor or nonexistent labeling.
atmosphere was a significant          concentration of gas.
                                                                          In one incident, a worker
factor in several incidents.
                                                                          mistakenly used nitrogen instead
In the data evaluated for this                                            of air to purge a confined space.
study, 67 of the 85 incidents         When fatalities and injuries        An inert atmosphere was
involved circumstances where          occurred in "open areas"            unexpected and undetected. One
personnel were in or around a                                             worker was killed, and a colleague
confined area-such as a railcar,
                                      . . . the hazard of
                                                                          also died while attempting rescue.
room, process vessel, or tank         asphyxiation was not                In another case, workers
(Figure 2 )- and nitrogen was         expected and personnel              inadvertently connected the hose
initially present in high levels or                                       for their breathing-air respirator to
later collected in the area lhese     were typically caught off           a pure nitrogen line.
incidents accounted for 62            guard.
fatalities and 33 injuries. In each
of the 67 incidents, personnel                                            In one incident, a worker
failed to detect elevated levels of   Mix-Up of Nitrogen and
nitrogen and take appropriate                                             mistakenly used nitrogen
                                      Breathing Air
precautions.                                                              instead of air to purge a
                                      Confusing nitrogen gas with air
When fatalities and injuries
                                      and problems with breathing-air     confined space . . . In
occurred in "open areas"
(including areas with ventilation,
                                      delivery systems accounted for 12   another case, workers
                                      of the 85 incidents, and approxi-   inadvertently connected
laboratories, buildings, and
outside in the vicinity of            mately 20 percent of fatalities.
                                                                          the hose for their
equipment), the
hazard of                                                                 breathing-air respirator
asphyxiation                                                              to a pure nitrogen line.
was not
expected and
personnel were                                                            Fatalities and Injuries
typically caught
off guard. In
                                                                          During Attempted Rescue
some cases,                                                               One of the most difficult issues
personnel                                                                 concerning hazardous atmosphere
unknowingly                                                               emergencies is the human instinct
created a                                                                 to aid someone in distress.
nitrogen-                                                                 Approximately 10 percent of
enriched                                                                  fatalities from the CSB data were
 atmosphere by                                                            due to attempts to rescue injured
 mistakenly                                                               persons in confined spaces.
using nitrogen
 instead of air to




                                                                                   Exhibit 22 Page 48
         Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 456 of 534




                                                                                                                          5


~~   Approximately I0                       The victim used a lift to access the   Inadequate Monitoring of
                                            external area of the upper tank,       Atmosphere
     percent of fatalities from             which was fitted with a manway.
     the CSB data were due                  As he leaned into the tank
                                                                                   Contractor Asphyxiated Inside
                                            opening, hls coworkers noticed
     to attempts to rescue                  that he was not responding to
                                                                                   Tank Car
     injured persons in                     their communication. They found        White mineral oil in a tank car at
                                            the victim unconscious, and he         an oil refinery was offloaded by
     confiined spaces.
                                            later died as a result of oxygen       injecting nitrogen gas into the car.
                                            deficiency.                            An employee of a railcar cleaning
                                                                                   company was asphyxiated while
     Asphyxiation Hazards                   Employee Overcome While                cleaning the nitrogen-filled tank
     Outside Industry and                   Testing Atmosphere                     car.
     Effect on General Public
                                            An operator was conducting a
     Asphyxiation hazards may also be
                                                                                   Corrupt Breathing Air
                                            flammable gas test on a tower ·
     present outside industry,              feedline that discharged into a        Supply
     especially among people who use        low-pressure flare gas header.
     breathing air, such as firefighters,   The test was required for a hot        Two Laborers/Painting
     divers, and medical patients.          work permit to take flash photos.      Contractors Asphyxiated
     Statistics on these types of
     incidents are difficult to collect     The chief operator issued a work       Two painting contractors were
     and are not included in this           permit thatrequired a supplied-        abrasive-blasting tubes inside a
     bulletin, though one such case is      air respirator. Two contractor         boiler at a chemical plant. They
     summarized below.                      pipefitters wore respirators and       each wore supplied-air respirators
                                            removed the safety valve. The          connected to a 12-pack cluster of
                                            operator, however, wore no             com pressed air cylinders. Another
                                            respiratory protection. After          subcontractor monitored the work
     Selected Case                          climbing the scaffold, he was
                                            overcome by nitrogen gas from
                                                                                   outside the confined space.
                                                                                   Work proceeded normally
     Studies                                the open flare line before he could
                                            complete atmospheric sampling.
                                                                                   throughout the night shift;
                                                                                   however, at 3:00 am, the attendant
     Failure to Recognize                   The operator backed away,              got no response after repeatedly
     Asphyxiation Hazards                   turned, and slumped to his knees.      sounding the air horn. When
                                            He was disoriented and briefly         another contractor employee was
     Near Confined Spaces                   lost consciousness. An investi-        sent into the boiler to assess the
                                            gation concluded that the incident     situation, he found the two men
     Employee Dies A~er Partially           was due to elevated levels of          lying on opposite ends of the
     Entering a Nitrogen-Purged             nitrogen gas that had                  scaffolding.
     Tank                                   inadvertently entered the flare
                                                                                   When the plant health, safety, and
                                            system.
     Two coworkers and the victim                                                  environmental department tested
     were cleaning filters in a hydrogen                                           the compressed air 12-pack, they
     purifying tank. The tank was                                                  found that it contained less than 5
     partly purged with nitrogen to                                                percent oxygen. The "air" had
     remove internal dust particles.                                               been manufactured with too low a




                                                                                          Exhibit 22 Page 49
          Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 457 of 534




6

concentration of oxygen. (Note:        A splitter diverted one part of the
This fatal incident prompted           gas stream to the air hammer and
                                                                                    Good Practices
OSHA to issue a safety alert on the
batch of breatlting air.)
                                       the other part to the airline res-
                                       pirator. Once the respirator was
                                                                                    for Safe
                                       in place, the worker breathed                Handling of
Mix-Ups Between                        pure nitrogen and was
Nitrogen and Air                       asphyxiated.                                 Nitrogen
Three Employees Asphyxiated in         Four Killed and Six Injured in
                                                                                    Implement Warning
Coating Tank                           Nursing Home
                                                                                    Systems and Continuous
The atmosphere inside a coating        A nursing home routinely                     Atmospheric Monitoring
tank was tested and ventilated the     ordered large pure oxygen                    of Enclosures
day before work was to be              compressed gas cylinders for
performed. On the following day,       residents with respiratory system            The atmosphere in a confined
a contractor entered the tank to       diseases. The supplier mistakenly            space or smaH enclosed area may
clean it and collapsed. Two plant      delivered one cylinder of pure               be unfit for breathing prior to
employees entered to attempt           nitrogen with three cylinders of             entry, or it may change over time,
rescue, but they were also             oxygen; a nursing home                       depending on the type of
overcome.                              maintenance employee                         equipment or work being
                                       mistakenly accepted the nitrogen             performed. Recognizing this
The tank had been ventilated with      tank.                                        hazard, good practice calls for
what was thought to be com-                                                         continuous monitoring of a
pressed air but was actually           Another maintenance employee
                                                                                    confined space to detect oxygen-
nitrogen. The atmosphere was not       took this cylinder, which had a
                                                                                    deficient, toxic, or explosive
tested prior to beginrUng work.        nitrogen label partially covering
                                                                                    atmospheres. The entire confined
All three men were asphyxiated.        an oxygen label, to connect it to
                                                                                    space should be monitored-not
                                       the oxygen supply system. The
                                                                                    just the enhy portal.
Employee Killed by                     tank was fitted with nitrogen-
                                       compatible couplings. The
Overexposure to Pure Nitrogen          employee removed a fitting from
                                       an empty oxygen cylinder and          ~ e-   The atmosphere i1 a
A contractor planned to use an air-
powered hammer to chip residue         used it as an adapter to connect             confined space or small
from a furnace in an aluminum          the nitrogen tank to the oxygen
                                       system. Four deaths and six
                                                                                    enclosed area may be
foundry. He wore an airline
respirator. Of two compressed gas      injuries occurred as a result of             unfit for breathing prior
lines with fittings, one was labeled   pure nitrogen being delivered to             to entry, or it may
"natural gas" and the other had an     the patients.
old paper tag attached with "air"                                                   change over time ...
handwritten on it. However, this
line actually contained pure
nitrogen.                                                                           Warning and protection systems
                                                                                    include flashing lights, audible
                                                                                    alarms, and auto-locking
                                                                                    entryways to prevent access. Such
                                                                                    devices, if properly installed and




                                                                                                Exhibit 22 Page 50
          Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 458 of 534




                                                                                                                          7

  maintained, warn workers of                 Personnel should be trained on        or legs. The attendant and rescue
  hazardous atmospheres. Personal             how to properly respond and           personnel should be available at
  monitors can measure oxygen                 evacuate in the event of failure of   all times. Rescuers must have an
  concentration and give an audible           the system.                           effective system to communicate
  or vibration alarm for low oxygen                                                 with personnel inside enclosures.
  concentrations.                             Implement System for                  No one should enter a dangerous
                                              Safe Rescue of Workers                atmosphere without proper
                                                                                    personal protective equipment.
~ ~ Good practice calls for                   Rescue may be necessary in the
                                              event of continuous monitoring,       The last measure of defense
   continuous monitoring                      ventilation failure, or another       requires personnel to actually
                                              emergency condition. lhe ability      enter the confined area to retrieve
   of a confined space to                                                           the victim. lhis approach should
                                              to immediately retrieve
   detect oxygen-                             immobilized workers is a critical     be used only when personnel are
   deficient, toxic, or                       component of confined space entry     appropriately trained, have
                                              preplanning.                          donned rescue equipment, and
   explosive atmospheres.                                                           have dependable breathing air.
                                                                                    Approximately 10 percent of
  Ensure Ventilation With                ~~   It is essential to maintain           fatalities from the survey data
                                                                                    occurred to personnel attempting
  Fresh Air                                   continuous forced draft               rescue. lhese deaths could have
  Because the atmosphere of a                 fresh-air ventilation                 been prevented if a reliable
  confined space or small/ enclosed           before the job begins                 retrieval system was in place.
  area often changes dilling the                                                    Such a system would also prevent
  course of work, it is essential to          through to completion.                many entry worker fatalities
  maintain continuous forced draft                                                  because it provides for quickly
  fresh-air ventilation before the job                                              removing the worker from a
  begins through to completion.               One method is to attach a body        dangerous atmosphere to a safe
  Areas with the paten ti.alto contain        harness and lifeline to personnel     one.
  elevated levels of nitrogen gas             entering confined areas. 1his
  should be continuously ventilated           procedure also benefits paten ti.al   Ensure Uninterrupted
  prior to and during the course of           rescuers because they do not have     Flow and Integrity of
  the job.                                    to enter the confined area to
                                              retrieve the victim. However,
                                                                                    Breathing Air
   Ventilation is also required in            when a worker enters a pipeline,      Breathing air must be supplied
   rooms and chambers into which              some furnaces, ducts, or other        when workers enter environments
   nitrogen may leak or vent. In a            narrow-diameter confined spaces,      where oxygen is or may become
   few of the study cases, people who         pulling on a line attached to a       deficient. Workers may use either
   were simply working close to the           body harness may cause the            a self-contained breathing
   nitrogen-containing confined               person to bunch up and become         apparatus (SCBA) or an airline
   space, room, or enclosure were             stuck inside.                         respirator, which consists of a long
   asphyxiated.                                                                     hose connecting a breathing air
                                              Depending on the situation,
   Systems must be in place to                wristlets or anklets attached to a    supply to the respirator or hood.
   properly design, evaluate, and             lifeline and a retrieval mechanism    Because a worker using an airline
   maintain ventilation systems. A            allow the confined space attendant    respirator does not control the
   warning system will alert workers          to pull the person out by the arms
   of a dangerous atmo~phere.



                                                                                              Exhibit 22 Page 51
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 459 of 534




8

Breathing air must be                   and dedicated to breathlng-air
                                        systems. The compressor should
supplied when workers                   have a moisture trap, an oil trap,
enter environments                      and a carbon monoxide sensor and
                                        alarm. When breathing air is
where oxygen is or may                  manufactured by mixing nitrogen
become deficient.                       and oxygen, the pressure of the
                                        cylinders during filling must be
                                        known to ensure that the correct
source of supply, air may               amounts are mixed. The final
suddenly or inadvertently be            product must be tested to ensure
interrupted. For example, a power       its integrity.
failure may stop an air
compressor, the air supply may          Prevent Inadvertent Mix-
simply run out, or the supply hose      Up of Nitrogen and
may become twisted or obstructed        Breathing Air
(e.g., by a vehicle). When supplied
air is used, facility management        To prevent interchanging com-
systems must protect against            pressed nitrogen with compressed
interruption of airflow and             industrial grade air or com.pressed
provide alternate sources of power      breathing-quality air, specific
for the com pressers.                   fittings should be used for each       fittings are additional reminders of
                                        cylinder. Cylinders for nitrogen,      which gas is contained inside.
A comprehensive management
                                        industrial grade air, and              Color coding also helps to identify
system includes the following:
                                        breathing-quality air have distinct,   systems.
• Continuous monitoring of air          incompatible fittings that cannot
  supply.                               be cross-connected                     Develop and Implement
• Routine inspection and                                                       Comprehensive Training
  replacement of supplied-air
                                                                               Programs
  hoses.                                Personnel should
                                        understand that the                    The good practices for safe
• Restriction of vehicular traffic in
                                                                               handling of nitrogen, described
  the area of supply hoses.             fittings are intended to               above, are effective only if
When using supplied air, a worker       be incompatible to                     personnel are trained on the
should carry a small backup                                                    importance of the following:
cylinder (escape pack)-attached
                                        ensure safety.
                                                                               • Use of ventilation systems,
to a different supplied-air
                                                                                 retrieval systems, and
system -with enough breathing
                                        Personnel should understand that         atmospheric monitoring
air to last 5 to 10 minutes.
                                        the fittings are intended to be          equipment- both how to use
Breathing air is manufactured           incompatible to ensure safety.           them and how to determine
either by purifying and                 Cylinders should be clearly              when they are not working
com pressing air or by mixing           labeled; typical cylinders are           properly.
nitrogen and oxygen to the              shown in Figure 3. Labels on           • Dangers of nitrogen-enriched
appropriate ratio. A breathing-air      piping systems, compressors, and         atmospheres and the systems to
compressor and its hoses should
be specifically manufactured for




                                                                                        Exhibit 22 Page 52
        Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 460 of 534




                                                                                                                    9

    prevent interchanging breathing
    air and nitrogen.
                                         References and                        Harris, Michael K., Lindsay E.
                                                                                 Booher, and Stephanie Carter,
  • Implementing good hazard             Additional                              1996. Field Guidelines for
                                                                                 Temporary Ventilation of C011fined
    communication, which includes
    safe handling of air and             Information                             Spaces, American Industrial
                                                                                Hygiene Association (AIHA).
    nitrogen delivery systems.
                                         American National Standards
                                                                               Kletz, Trevor, 1995. Wliat Went
  • Mandatory safety practices and        Institute (ANSI)/ American
    procedures for entry into                                                    Wrong? Case Histories of Process
                                          Society of Safety Engineers
    confined spaces, such as                                                     Plant Disasters, Gulf Publishing
                                          (ASSE), 2003. SafetlJ.
                                                                                 Company.
    permits, providing an attendant,      Requirements Jar C011fined Spaces,
    monitoring, ventilating, rescue,      2117.1-2003.                         Institution of Chemical Engineers
    and contractor oversight.                                                    (IChemE), 2003. Accident Data
                                         ANSI/ ASSE, 2003. Criteria for
  • Precautions when working                                                     Base, she@ichme.org.uk.
                                          Accepted Practices in Safetij,
    around equipment that may             Health, and Environmental            Martin, Lawrence, 1997. "Effects
    contain elevated levels of            Training, 2490.1-2001.                of Gas Pressure at Depth:
    nitrogen.                                                                   Nitrogen Narcosis, CO and C02
                                         ANSI, 2002. Standards on Signage
  • The reason for special fittings on                                          Toxicity, Oxygen Toxicity, and
                                          and Labeling, 2535 Series.
    com pressed gas cylinders.                                                  'Shallow-Water' Blackout,"
                                         Compressed Gas Association, Inc.,      Settba Diving Explained,
  • Proper use of air supply               2002. Standard for Compressed        Physiology and Medical Aspects of
    equipment.                             Gas Cylinder Valve Outlet and        Scuba Diving, Best Publishing
  Training should cover new and            Inlet Connections, V-1, 10th         Company.
  revised procedures for confi~ed          edition.
                                                                               McManus, Neil, 1999. Safety and
  space entry, and establish             Compressed Gas Association, Inc.,      Health in Confined Spaces, Lewis
  measurements for employee                2001. Sa fetiJ Bulletin, OXljgen-    Publishers/ CRC Press.
  proficiency. Contractors as well as      Deficient Atmospheres, SB-2, 4th
  employees should be trained.                                                 National Institute for Occupational
                                           edition.
                                                                                Safety and Health (NIOSH),
                                         Compressed Gas Association, Inc.,       2002. "State FACE Inves-
                                           1999. Handbook of Compressed          tigations of Fatal Confined-
~ E- Contractors as well as                Gases, 4th edition, Kluwer            Space Incidents," Traumatic
   employees should be                     Academic Publishers.                  Occupational Inj1ui1 1
                                                                                 www.cdc.gov/niosh/face,Oct-
   trained.                              Federal Aviation Administration
                                                                                 Nov 2002.
                                           (FAA), 2003. NASA PhysiolfY61J
                                           Training,www.faa.gov/ avr/          Occupational Safety and Health
                                           cmo/ coa/PH-TR.html.                  Administration (OSHA), 2003.
                                         Finkel, Martin H., 2000. Guidelines
                                                                                 Safety and Health Topics:
                                                                                 C011fined Spaces, www.osha.gov/
                                           for Hot Work in Confined Spaces;
                                                                                 SLTC/ confinedspaces/
                                           Recommended Practices for
                                                                                 index.html.
                                            Industrial Hygienists and Safety
                                            Professionals, ASSE.




                                                                                        Exhibit 22 Page 53
          Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 461 of 534




10


OSHA, 2002. Accident Investigation            Safety Engineering, 2002. Daily                 U.S. Air Force, 2003. Hypoxia,
  S11mman1 Index Page,                           Incident Alert Archives,                       www.batnet.com/mfwright/
  www.osha.gov, Oct-Nov 2002.                    www.safteng.net, Oct-Nov 2002.                 hypoxia.html.
OSHA, 1994. "Permit-Required                  The Bureau of National Affairs,                 U.S. Chemical Safety and Hazard
 Confined Spaces," Federal                      Inc. (BNA), 1998. OcCHpational                  Investigation Board (USCSB),
 Register, 29 CFR 1910.146, May                 Safety and Health Reporter, Vol.                 2002. Incident Data Base,
 1994.                                          27, No. 46, April 22, 1998.                      www.csb.gov, Oct-Nov 2002.
Rekus, Jolm F., 1994. Complete                BNA, 1996. Occupational Safety and
  Confined Spaces Handbook, Lewis              Health Report~r, Vol. 25, No. 47,
  Publishers/CRC Press.                         May l, 1996.




      The U.S. Chemical Safety and Hazard Investigation Board (CSB) is an independent Federal agency whose mission is to
      ensure the safety of workers, the public, and the environment by investigating and preventing chemical incidents. CSB
      is a scientific investigative organization; it is not an enforcement or regulatory body. Established by the Clean Air Act
      Amendments of 1990, CSB is responsible for determining the root and contributing causes of accidents, issuing safety
      recommendations, studying chemical safety issues, and evah.Jating the effectiveness of other government agencies
      involved in chemical safety.
      No part of the conclusions, findings, or recommendations of CSB relating to any chemical incident may be admitted as
      evidence or used in any action or suit for damages arising out of any matter mentioned in an investigation report (see
      42 U.S.C. § 7 412(r)(6 )(G)). CSB makes public its actions and decisions through investigation reports, summary
      reports, safety bulletins, safety recommendations, case studies, incident digests, speclal technical publications, and
      statistical reviews. More information about CSB may be found at www.chemsafety.gov.

      Information about available publications may be                  CSB investigation reports may be purchased from:
      obtained by contacting:                                                                                                      ·,:.
                                                                                                                                  .:;~
                                                                       National Technical Information Service
                                                                                                                                  ··_·f.
      U.S. Chemical Safety and Hazard Investigation Board              5285 Port Royal Road
      Office of Prevention, Outreach, and Policy                       Springfield, VA 22161
      2175 K Street NW. Suite 400                                      (800) 553-NTIS or (703) 487-4600
      Washington, DC 20037-1848                                        Email: info@ntis.fedworld.gov
      (202) 261-7600                                                   For international orders, see:
                                                                       www.ntis.gov/support/cooperat.htm.

                                              Salus Populi E.st Lex Suprema
                                          People's Safety is the Highest Law




                                                                                                             Exhibit 22 Page 54
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 462 of 534




                                                        J. c/in. Path., 30, Suppl. (Roy. Coll. Path.), 11, 181-187




 Experimental hypoxic brain damage
 J. B. BRIERLEY
 From the Medical Research Council Laboratories, Carshalton, Surrey



 The majority of hypoxic episodes that result in             the light of subsequent information from human and
 histologically proven damage in the human brain             experimental animals sources as follows:
 cannot be adequately defined in physiological terms.
 They are usually accidents so that basic information        1 ISCHAEMIC
 such as the precise duration of a cardiac arrest or the     Blood flow is arrested in the brain as a whole or in
 blood pressure and heart rate during a period of            the territory of a single artery.
 severe hypotension is very rarely available. In such
 cases, neuropathological descriptions, however ex-          2   OLIGAEMIC
 haustive, may well explain the final neuropsychiatric       A reduction in blood flow in the brain as a whole or
 status of the patient but can at best indicate only         within the territory of a single artery may occur
 tentatively the nature of the episode itself.               as a result of a greatly reduced cardiac output or
    The experimental approach is justified if it can         major systemic hypotension from any cause.
 indicate whether damage of a particular type in
 neurones and in white matter is or is not a direct          3 ANOXIC
 consequence of a particular hypoxic stress adequately       The arterial oxygen tension is 0 mm Hg. It occurs if
 delineated in physiological terms.                          inert gases are inhaled, if there is total obstruction of
    At the outset it must be recalled that the energy        the upper respiratory tract or in the event of sudden
 for the normal functioning of the central nervous           exposure to an altitude greater than 50 000 ft (the
 system is derived from the oxidative metabolism of          combined tensions of water vapour and carbon
 glucose. A deficiency of oxygen or glucose will             dioxide within the pulmonary alveoli then exceed the
 impair function and if severe and protracted enough         ambient pressure and no oxygen can enter the lungs).
 will lead to irreversible brain damage. Interruption
 of the oxygen supply produces the most rapid                4   HYPOXIC
 impairment of brain function. Thus consciousness is         There is some reduction in a pOz short of anoxacmia.
 lost about 10 sec after circulatory arrest. Abrupt          This occurs in chronic pulmonary disease and in
 anoxia exemplified by inhalation of an inert gas or         congestive heart disease; when the inspired oxygen
 sudden decompression to an altitude above 50 000            is diluted by an inert gas (as in some anaesthetic
 ft leads to loss of consciousness after a slightly longer   accidents) and also in exposures to altitudes less than
  interval (17-20 sec). This rapid loss of consciousness     50000 ft
  in instances of profound hypoxia may well be
  responsible for the widely held view that enduring         5   ANAEMIC
  brain damage may begin soon after consciousness is ·       There is some reduction in the amount of circulating
  lost.                                                      haemoglobin available for combination with oxygen.
                                                             It can occur after severe haemorrhage, in severe
  Types of hypoxia                                           hypocbromic anaemia but the commonest apparent
                                                             cause of anaemic brain damage is carbon monoxide
  Before considering the relationships between the           intoxication.
  known neuropathological patterns in the human
  brain that are ascribed to hypoxia and their apparent 6 HtSTOTOXIC
  counterparts in the brains of experimental animals, it This implies the poisoning of oxidative eQZ)'ID£.!
  will be useful to classify the several types of hypoxia. within neuronal mitochondria. Cyanide and azide
  However, it will be shown that there is no justifica- are examples.
  tion for the assumption that each type of hypoxia
  can, per se, give rise to brain damage. The original 7 HYPOGLYCAEMIA
  classification of Barcroft (1925) must be modifi.ed in A deficiency of the principal substrate, glucose, ~r
                                                          181



                                                                                              Exhibit 22 Page 55
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 463 of 534




182                                                                                                 J. B. Brierley

se can also give rise to ischaemic cell change even if      primate are sharp reminders that such 'models' can-
the level of arterial oxygenation is normal.                not provide two of the most important factors in the
   The previous contributors to this stction of the         aetiology of 'stroke' in man. These are some impair·
Symposium have defined the nature and time course           ment in cardiac function (leading to some reduction
ofischaemic cell change and have pointed out that it        in cerebral blood flow) and some degree of occlusive
is the principal neuronal response to all types of          vascular disease. These factors, singly or together,
hypoxia in the brains ofrodents as well as in those of      account for the extension of the infarct into the
primates including man. In this survey of the brain         centrum semi-ovale and even into the whole of the
damage attributable to hypoxia in all its forms, only       anatomical cortical territory. It follows, that in the
the patterns of distribution of ischaemic cell change       human· brain, ischaemic necrosis in some portion of
will be considered with emphasis on the contributions       an arterial territory can seldom be explained
from experimental studies.                                  satisfactorily without careful examination of the
                                                            myocardium, the coronary arteries and the major
1 lschaemic                                                 arteries of the neck and brain.
                                                                 Overall or global arrest of the brain circulation
Arrest of circulation within a single brain artery          leads to a loss of consciousness in eight to 10 sec and
results in an infarct which can range in size from the      the EEG is isoelectric a few stconds later. Respira-
'total territory' in an anatomical sense to a small         tion fails at about the same time while the heart may
volume of tissue close to the point of arterial             continue to beat for a matter of minutes. Neuro-
occlusion. Where the cortex of cerebrum or cerebel·         pathological descriptions of the consequences of
lum is concerned the extent of infarction is deter·         circulatory arrest (including 35 personal cases) pro-
mined by the level of systemic blood pressure at and        vide the best examples of the involvement of the
after the instant of occlusion and, in particular, by       'selectively vulnerable' regions of the brain in
the functional efficiency of the leptomeningeal ves-        hypoxia. Frequently, little of the cerebral cortex is
sels that anastomose with the cortical branches of          normal but damage is usually greater in the posterior
neighbouring arteries. If these anastomotic systems         half of each cerebral hemispltere, in the floors of
and the major arteries in the neck and the circle of        sulci rather than over the crests of gyri and in the
Willis are normal, the cortical infarct will be small. If    third, fifth and sixth layers rather than in the stcond
one or both are the site of occlusive vascular disease,     and fourth. Certain portions of the hippocampus
the infarct will be larger.                                 (zones h.1-Sommer Stctor-and h.3-5,.-endfolium)
    It must be borne in mind that the basal ganglia and     are vulnerable as are the Purkinje cells of the
 the internal capsule, in particular, are supplied by       cerebellum. Many sensory nuclei in the brain stem
 end-arteries (penetrating organglionicbranchesofthe         are vulnerable in the infant and young child (Ranck
 major cerebral arteries). Occlusion of an arterial          and Windle, 1959; Brierley, 1965, 1976).
 trunk proximal to the ganglionic branches produces               Where circulatory arrest has been studied in the
 an infarct in these deeply placed regions of grey and       experimental animal, it is important to recognize
 white matter even in the healthy experimental               that earlier studies were concerned to define the
 primate. Evidently the retrograde flow of blood from         maximum period of arrest of the cerebral circulation
 leptomeningeal anastomoses into the arterial stem           beyond which some degree of irreversible brain
 may never enter all its ganglionic branches or, if it       damage would occur. Attempts to define such a
  does so, it may be too little and too late to avert         'threshold' have been reviewed by Hoff et al (1945),
  irreversible tissue damage. Thus, for example,              Meyer (1963) and Brierley (1976). The general
  division of the middle cerebral artery close to its         conclusion from these studies has been stated by
  origin from the internal carotid artery in the baboon       Schneider (1963) as follows: 'A complete revival
 leaves the sensory and motor cortex intact and               without neurological or histological damage cannot
 cortical infarction is confined to some portion of the       be brought about after a complete stop of brain
  insula. A variable hemiparesis involves only the            circulation of more than four to five min duration'.
  contralateral face and upper limb and its neuro-                In contrast to the experiments summarized above,
  pathological basis has been shown to lie entirely           certain recent studies have attempted to define a
  within white matter, ie, in the genu and supra·             much greater period of circulatory arrest after which
  lentiform portions of the internal capsule, where after     there can be some evidence of recovery in at least a
  a survival of three years there is a sharply circum-        neurophysiologicalsenseandhistologicalexamination
  scribed cystic infarct (Symon and Brierley, 1976).          can show that some parts of the brain are normal.
  The limited neurological deficit and the small,             Thus Hossmann and Sato (1970) claimed that
  deeply placed infarct that follow division of the            '. . . unequivocal signs of neuronal recovery can be
  middle cerebral artery in a healthy. experimental            detected after complete ischaemia of more than one



                                                                                                      Exhibit 22 Page 56
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 464 of 534




   Experimental hypoxic brain damaKe                                                                             183

  hour's duration'. Hirsch etal(1915) failed to confirm       if respiration docs not fail. In these monkeys, typical
  these results and attributed 'recovery' after such          ischacmic neuronal alterations were not evenly
  protracted ischacmia in the cxperimentsofHossmann           distributed in the cerebral cortex but were restricted
  and Sato (1970 and subsequent studies) to the pro-          to the arterial boundary zones of the cortex of the
  tective ctrccts of anaesthesia and the progressive fall     cerebrum and also of the cerebellum. They were
  in temperature that must occur in the isolated head         variable in the basal ganglia. The pysiological basis
  during such periods of time.                                of lesions along arterial boundary zones has been
     It must be emphasized that experimental studies of       discussed by Ziilch and Behrend (1961) and by
  the effects of circulatory arrest (or any other form of     Meldrum and Brierley (1971). When perfusion pres-
  hypoxia) on the brain, whether directed towards the         sure falls below 45-50 mm Hg the capacity of the
  definition of a 'threshold' for a particular hypoxic        vascular bed to maintain a constant cerebral blood
  stress or to the capacity for recovery after an             flow (autorcgulation) is lost (there is then maximum
  extended period of the same stress, have clinical           vasodilatation) and flow becomes directly dependent
  relevance only if spontaneous respiration has been          upon perfusion pressure. The reduction in flow is
  resumed in the unmcdicatcd animal, and detailed             greatest in the vessels most remote from the arterial
  neurological assessments. together with serial              stem, ic, at the boundary of each arterial territory.
  recordings of the EEG, have been made during an                In the clinical situation, a reduction in brain
  adequate period of survival. All these arc essential        perfusion pressure while arterial oxygenation
  fora meaningful appraisal of'recovecy'.Finally,after        remains normal is virtually confined to the technique
  in-vivo perfusion-fixation of the brain, ncuro-             ofhypotensivc anaesthesia with controlled ventilation
  pathological examination of the brain must be               and then only when perfusion pressure through the
  comprehensive. Unfortunately clinico-pathological           brain is lowered by excessive head-up tilt (Brierley
  studies according to such standards have not yet been       and Cooper, 1962). The two additional factors that
  reported in support ofthcclaim that 'recovery' of the       may result in brain damage after a period of relatively
  central nervous system can occur after periods of           moderate hypotcnsion are some degree of
  circulatory arrest far in excess of those hitherto          hypoxaemia and some clement of occlusive disease in
  accepted as 'critical' where the inception of minimal       the extra- and/or intracranial arteries. The fre-
   brain damage is concerned.                                  quency of these two factors in addition to the
                                                              reduction in brain blood fl.ow due to the initial
   2 Oligaemlc hypoxia                                         systemic hypotcnsion is largely responsible for the
                                                              fact that ischacmic damage along arterial boundary
   A reduction of blood flow in a single artery of the         zones of the cortex of cerebrum and cerebellum is the
   human brain is usually due to a combination of              commonest neuropathological outcome of hypoxia
   systemic hypotension and occlusive disease in the           in all its forms. It is important to appreciate that no
   vessel itself. If flow is sufficiently impaired the out-    experimental model permitting the introduction and
   cow will be an infarct involving grey and white             control of .oligacmia, hypoxaemia and partial
   matter. Such a local reduction in flow can only be          vascular occlusion is yet available.
   inferred if thrombosis and embolism can be excluded.           Previous contributors to this section of the
   There arc, as yet, no experimental models of this           Symposium have emphasized that this 'boundary
   particular situation.                                       zone' pattern of brain damage can only be identified
      Global oligacmia implies some reduction in the           if blocks for histological examination are selected
   overall flow of blood through the brain. Experi-            with an awareness of the anatomical distribution of
   mental studies in the Rhesus monkey have shown              the cortical arteries of cerebrum and cerebellum.
   that, if arterial oxygenation remains normal,
   cerebral perfusion pressure (mean arterial blood           3Ano:x:lc
    pressure - venous sinus pressure) must be reduced to
   25 mm Hg for at least 15 min before brain damage is        Anoxia, induced by breathing pure nitrogen, has
   produced (Brierley et al, 1969; Meldrum and                been studied in human volunteers by Gastaut et al
   Brierley, 1969). However, it was only possible to          (1961) and Emsting (1963). After a few seconds the
   damage the brain if the profound hypotcnsion was           EEG shows low voltage activity at 11 to 13 c/s and
   continued beyond the point of apnoea when                  consciousness is lost at 17 to 20 sec. In experimental
    mechanical ventilation was required in order to           animals, longer periods of nitrogen breathing lead,
    maintain a normal arterial oxygen tension. These          after an initial hyperventilation, to slowing of
    experiments clearly demonstrated that in the              respiration, bradycardia and a falling blood pres-
    healthy spontaneously breathing primate, global           sure. Apnoea occurs at about the third minute while
    oligacmia per se is unlikely to lead to brain damage      blood pressure is still appreciable (5-20 mm Hg) at




                                                                                            Exhibit 22 Page 57
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 465 of 534




184                                                                                               J.B. Brierley
the fifth minute (Swann and Brucer, 1949). In the             In the human subject exposed to hypoxia not
Rhesus monkey, the responses to nitrogen breathing         severe enough to bring about failure of respiration
are similar and if mechanical ventilation is begun         and the heart, the initial increase in cerebral blood
soon after the 'last breath', the blood pressure rises,    flow may be so restricted by occlusive vascular
spontaneous respiration is resumed and the EEG,            disease in the arteries of the brain and/or neck that
previously isoelectric, returns to normal. Subsequent      ischaemic brain damage may ensue.
neuropathological examination reveals no brain
damage (Brierley and Meldrum, unpublished                  5 Anaemic
observations). Evidently the period of anoxaemia
and of secondary circulatory impairment is too brief       There is no convmcmg evidence that a simple
to lead to ischaemic neuronal alterations so that it       reduction in circulating haemoglobin due to severe
must be concluded that pure anoxic anoxia cannot           hypochromic anaemia (iron-deficient or haemolytic)
produce brain damage.                                      or to haemorrhage can result in brain damage.
                                                           Carbon monoxide intoxication remains the sole
4 Hypoxic                                                  example of anaemic hypoxia (due to the formation of
                                                           stable carboxyhaemoglobin) that can be associated
In spontaneously breathing experimental animals,           with ischaemic cell change and also with damage in
including primates, the minimal level of arterial          white matter. The pathology in the human brain has
oxygen tension that does not lead to early apnoea          been reviewed by Meyer (1963), Lapresle and
and cardiac failure is about 20 mm Hg. At this level       Fardeau (1966) and Brierley (1976). Ischaemic
the cerebral vascular bed is fully dilated, the cerebral   alterations may be seen in the vulnerable regions of
A-V oxygen difference is reduced (due to reduced           the cortex of cerebrum and cerebellum and of the
oxygen consumption and increased blood flow) but           hippocampus. Necrosis in the globus pallidus is not
the EEG is normal. This precarious state can be dis-       invariable (Meyer, 1928; Lapresle and Fardeau,
turbed by a slight fall in perfusion pressure and the      1967) a.nd damage in white matter varies con-
immediate decline in the EEG is evidence of some           siderably.
reduction in cerebral blood flow. This may occur as a         The presence of some element of perfusion failure
consequence of a period of cardiac arrhythmia. A           in the genesis of, at least, the cortical damage was
progressive fall in heart rate and blood pressure          suggested by the report of Poursines et al (1956). A
together with slowing of respiration herald the            woman, aged 33 years, Jived 26 days after attempted
cardio-respiratory crisis that sets the limit to the       suicide with illuminating gas. In her brain, laminar
period during which the organism can tolerate this         necrosis was distributed along arterial boundary
level of hypoxia. Where the circulatory failure is         zones but information concerning respiratory and
concerned the final bradycardia and falling blood          cardiac functions early in the survival period was
 pressure may not be a direct effect of hypoxia on the     lacking. The case of Neubuerger and Clarke (1945),
 myocardium but a consequence of the stimulation of        dying 13 days after carbon monoxide poisomng,
 chemoreceptors in the carotid bodies or brain stem        exhibited patchy myocardial infarction suggesting a
 (Cross et al, 1963). As blood pressure continues to       direct effect of carbon monoxide on the myocardium.
 fall respiration ceases and the EEG becomes iso-             Among experimental studies, that of Lewey and
 electric at about the same time. Adequate resuscita-       Drabkin (1944) in the dog was important because,
 tion commenced soon after the 'last breath' can, as        after intermittent exposures to carbon monoxide for
 after anoxic anoxia, allow the heart to recover,           up to 11 weeks the electrocardiograms were abnormal
 spontaneous respiration to be resumed and the EEG          and the brain damage was considered to be similar to
  to return to normal. Brain damage is rarely seen and      that seen in man but was not described in detail.
 only when there has been a prolonged period of car-        Further details of electrocardiographic abnormalities
 diac impairment and an even longer period of iso-          were presented by Ehrich et al (1944). Recently
 electric EEG (Brierley, Prior, Calverley, and Brown-       Ginsberg et al(1974) exposed 19 Rhesus monkeys to
 unpublished results). Brain damage in such animals         0·2 or 0·3 per cent carbon monoxide for 60 to 325
 consists of ischaemic neuronal alterations along the       min with a carboxyhaemoglobin level of 72 to 77 per
 arterial boundary zones of the cerebrum and                cent throughout. Cardiac arrhythmias and some
 cerebellum and sometimes in the basal ganglia. This        degree of hypotension were common but the EEG
  pattern of damage, indistinguishable from that seen       was only intermittently isoelectric. Grey matter
  after oligaemic hypoxia, underlines the fact that         damage (globus pallidus and hippocampus) was seen
  systemic hypoxaemia can only bring about brain            in less than a fifth of the brains while white matter
  damage through the medium of a secondary reduc-           was abnormal in the majority. Apparently the degree
  tion in perfusion pressure.                               of intoxication was not sufficient to produce the



                                                                                                   Exhibit 22 Page 58
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 466 of 534




 Experimental hypoxic brain tfomDge                                                                           185
 more extensive grey matter damage so often seen in        change was restricted to the striatum of a single
 the human brain.                                          animal. In the latter there had been a period of
   Further confirmation of a direct effect of carbon       bradycardia, hypotension and raised central venous
 monoxide on the heart was provided by Hodjati et al       pressure. It was concluded that in the lightly
 (1976) who irrigated the cerebral circulation of one      anaesthetized and spontaneously breathing Rhesus
 dog from one carotid artery of a donor animal. A          monkey, as in the rat, there is no evidence for the
 mean carboxyhaemoglobin level of S2 per cent in the       entity of hypoxic neuronal damage of purely
 donor animal led to bradycardia, hypotension and its      histotoxic type,
 death in 10 to IS min. All the recipients survived.
                                                           1 Hypoglycaemia
 6 Histotoxic
                                                           Hypoglycaemic damage in the human brain is
 Cyanide, the best known cause ofhistotoxic hypoxia,       usually associated with irreversible coma and Meyer
 acts by inhibiting cytochrome oxidase in mit~             (1963) stated that the neuropathological findings
 chondria while the oxygen tension and content of          '. . . closely resemble those which occur in other
 arterial blood remain normal. The few human cases         types of anoxia'. Most of the selectively vulnerable
 with delayed death and evidence of brain damage           regions may be involved but with a tendency to spare
 have been reviewed by Brierley (1976). There was          the globus pallidus and cerebellum. Although hypo-
 loss of neurones in cerebral cortex and cerebellum        glycaemic coma may be associated with cardi~
 and a single case showed haemorrhagic necrosis in         vascular disturbances and epileptic seizures the
 each globus pallidus. Hyperaemia and haemorrhages         ability of hypoglycaemia per se to produce ischaemic
 occurred in white matter.                                 damage in physiologically monitored experimental
     Numerous experimental studies have suggested          primates has been demonstrated only recently,
 that cyanide, in any form and administered by any            Kahn and Myers (1971) and Myers and Kahn
 route, can damage neurones and myelin sheaths. In         (1971) studied the long-term effects of insulin-
 the first experimental study (Meyer, 1933) sub-           induced hypoglycaemia in Rhesus monkeys. Blood
 cutaneous injections of potassium cyanide in dogs         glucose fell to 20 mg/100 ml after one and a half to
 and rabbits produced typical ischaemic alterations in     threeh and was maintained at this level for four to 10
 cerebral cortex, globus pallidus, hippocampus and         h with normal blood oxygenation. In seven of 11
 cerebellum. White matter damage was most marked            animals there was neuronal loss with a gliomesoder-
 in the corpus callosum. Subsequent studies were           mal reaction in striatum, cerebral cortex and
 more concerned with white matter damage because           hippocampus.
 of its apparent similarity to the plaques of multiple         In order to define the earliest neuronal alterations
 sclerosis. However, the report of Levine and               due to insulin-induced hypoglycaemia, lightly
 Stypulkowski (1959) was noteworthy because it sug-         anaesthetized Rhesus monkeys received insulin
 gested thatgreymatterdamagein the rat brain after          intravenously while EEG, EKG, heart and respira-
  the administration of cyanide was largely due to          tory rates were recorded and blood -aas tensions, pH
 concomitant ischaemia and hypoxic hypoxia.                 and glucose content were measured at intervals
  Brierley et al (1976) gave sodium cyanide to rats by      (Meldrum et al, 1971). When blood glucose was
  intravenous infusion. There was full physiological        below 20 mg/l 00 ml for more than two h and the
  monitoring in an anaesthetized group and restricted       brains were fixed by perfusion, typical ischaemic cell
  monitoring in the unanaesthetized remainder. White        change (from the stage of microvacuolation) was
  matter, particularly the corpus callosum, was             seen in the cortex and occasionally in striatum,
  damaged in six of 19 animals and grey matter              hippocampus and cerebellum. Thus a major
  additionally in only one. In the latter animal             deficiency in substrate alone can produce the same
  bradycardia, epileptic seizures and hypotension were      type of neuronal damage as a deficiency of oxygen.
  particularly marked and it was concluded that the
   neuronal damage was brought about through the           Conclusion
  medium of the secondary effects of cyanide on the
  circulation. In a recent study in M mulatto (Brierley    It will be evident from this brief review that ischaemic
   et al, 1977) sodium cyanide was given by intravenous    cell change is the cytopathological common denomi-
   infusion. The effects of the infusion on respiration,   nator in all types of hypoxia. Nevertheless there is no
   heart rate, blood pressure, blood gases and the EEG     pattern of its distribution specific for each category
  were monitored in the lightly anaesthetized animals.     with the exception of circulatory arrest (global
   Brain damage was seen in four of 11 animals. It         ischaemia) and pure hypoglycaemia after both of
   involved white matter in all four but ischaemic cell    which ischaemic neuronal alterations may occur




                                                                                           Exhibit 22 Page 59
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 467 of 534




 186                                                                                                            J. B. Brierley

  uniformly within the 'selectively vulnerable' regions          through a cerebral vascular bed initially fully dilated
  of the brain. In the remaining categories of hypoxia,          by hypoxia. It will also impair the rapid restoration
  ie, oligaemic, anoxjc, hypoxic, histotoxic and                 of normal cerebral blood flow after any terminal
  probably anaemic (carbon monoxide), an initially               cardio-respiratory crisis. Secondly, preexisting occlu-
  pure hypoxic stress in the intact and spontaneously            sive disease in the arteries of brain and neck and any
  breathing animal gives rise, sooner or later, to               impairment of the normal reactivity of the smaller
  terminal secondary impairments of respiration and              cerebral vessels will further reduce cerebral blood
  particularly of circulation. In the healthy experi·            flow during and after hypoxia.
  mental animal, however, it is only rarely that the                In conclusion, experiments in physiologically
  associated period of reduced cerebral blood flow is            monitored, spontaneously breathing animals can
  long enough to cause brain damage but not too long             show that hypoxia gives rise to an integrated series of
  to preclude recovery. In such instances, brain damage          responses in the respiratory and circulatory systems
  consists of a concentration of ischaemic cell change           and in the nervous system itself. Initially these serve
  along the arterial boundary zones.                             to maintain brain function and respiration in
      Experimental studies have shown that the terminal          particular. Ultimately these compensatory cardio-
  hypoxic cardio-respiratory deterioration or crisis             respiratory responses may fail. Experiments have
  consists of a slowing of respiration to the point of           also shown that where the human brain is concerned ·
  apnoea with a fall in blood pressure and in heart rate         the commonest cause of damage must be sought in
  (but the heart may continue to beat long after the             some failure of brain perfusion.
  'last breath'). There is a more or less parallel decline
  in EEG background activity and an isoelectric state            The author is greatly indebted to Dr Pamela F. Prior
  is reached at about the time of the 'last breath'. There       (The EEG Department, the London Hospital) for
  is no evidence to suggest that systemic hypoxia of any         many helpful suggestions and comments in the
. type can lead to brain damage unless the EEG has               preparation of the manuscript.
  been isoelectric for an appreciable period. In the
  paralyzed and mechanically ventilated animal
  exposed to systemic hypoxia, initial hyperventilation          References
  as well as the 'last breath' cannot occur and the              Barcron, J. (1925). The Respiratory Function of the Blood.
  duration of hypoxia may be considerably prolonged.               Part I. ussonsfrom High Altitudes. Cambridge University
  For this reason 'thresholds' for brain damage                    Press, Cambridge.
   defined in such preparations must be applied with             Brierley, J. B. ( 1965). The influence of brain swelling, age and
                                                                   hypotension upon the pattern of cerebral damage in
  considerable caution to the spontaneously breathing              hypoxia. Excerpta Medica lnurnational Congress Series,
  experimental animal and to man.                                  100,21-28.
      There is now ample evidence to show that in the            Brierley, J. B. (1976). Cerebral hypoxia. Jn Greenfield's
                                                                   Neuropathology, 3rd edition, edited by W. Blackwood and
   intact healthy, and spontaneously breathing animal              J. A. N. Corsellis, pp. 43-85. Arnold, London.
  tolerance to hypoxia is limited by the respiratory and         Brierley, J. B., Brown, A. W., and Calverley, J. (1976).
  circulatory systems and not by the intrinsic energy              Cyanide intoxication in the rat: physiological and neuro-
   reserves of the brain itself. If effective resuscitation is     pathological aspects. Journal of Neurology, Neurosurgery
                                                                   and Psychia1ry, 39, 129-140.
   begun soon after the 'last breath' the EEG will               Brierley, J. B., Brown, A. W., Excell, B. J., and Meldrum,
   return and the brain will be undamaged. Thus a                   B. S. (1969). Brain damage in the Rhesus monkey resulting
   depression of central nervous system function up to             from profound arterial hypo! :nsion. I. Its nature, distri-
   and some time after the 'last breath' and the appear-            bution and general physiological correlates. Brain Research,
                                                                    13, 68-100.
   ance of transiently isoelectric EEG need have no              Brierley, J.B., and Cooper, J.E. (1962). Cerebral complica-
    structural consequences.                                        tions ofhypotensive anaesthesia in a healthy adult. Journal
       The relative frequency of all degrees of ischaemic           of Neurosurgery and Psychiatry, 25, 24-30.
   damage in the human brain after hypoxic episodes              Brierley, J. B., Prior, P. F., Calverley, J., and Brown, A. W.
                                                                    (1977). Cyanide intoxication in Mac2ca mulatto. Physio·
    docs not, however, necessarily imply a greater                  logical and neuropathological aspects. Journal of Neuro-
    susceptibility of the brain itself. The existence of a          logical Science, 31, 133-137.
    single type of hypoxia in human patients is rare. It          Cross, C. E., Rieben, P.A., Barron, C. r.. and Salisbury, P. F.
    should be stressed that several types of hypoxia, each          (1963). Effects of arterial hypoxia on the heart and circu-
                                                                    lation: an integrative study. American Journal ofPhysiology,
    constituting a relatively mild stress can, in combi-            205, 963-970.
    nation, produce brain damage. The additional                  Ehrich, W. E.. Bellet, S., and Lewey, F. H. (1944). Cardiac
    factors most probably responsible for the increased             changes from CO poisoning. American Journal of Medical
    extent and frequency of brain damage in man are                 Science, 208, 511-523.
                                                                  Ernsting, J. (1963). Some ell'ects of brief profound anoxia
    twofold. Preexisting cardiac disease will impair the            upon the central nervous system. rn Selet:ti•e Vulnerability
    capacity to maintain a high level of blood flow                 of the Brain in Hypoxaemia, edited by J. P. Schade and




                                                                                                             Exhibit 22 Page 60
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 468 of 534




  Experimental hypoxic brain damage                                                                                             187
    W. M McMenemey, pp. 41-45. Blackwell Scientific,                   (Clinics in Developmental Medicine 39/40. Spastics
    Oxford.                                                            International Medical Publications). Heinemann, London.
  Gastaut, H., Fischgold, H., and Meyer, J. S. (1961). Conclu•       Meldrum, B. S., Horton, R. W., and Brierley, J. B. (1971).
    sions of the International Colloquium on Anoxia and the            lnsulin·induced hypoglycaemia in the primate: relationship
    EEG. In Ctrtbral Anaxia and rht Eltcrrotnctphalagram,              between physiological changes and neuropathology. In
    edited by H. Gastaut and J. S. Meyer, pp. 599·617.                 Brain Hypoxia, edited byJ. B. Brierley and B. S. Meldrum,
    Thomas, Springfield, Jllinois.                  '                  pp. 207-224. (Clinics in Developmental Medicine 39/40.
  Ginsberg, M. D., Myers, R. E., and McDonagh, B. F. (1914).           Spastics International Medical Publications). Heinemann,
    Experimental carbon monoxide encephalopathy in the                 London.
    primate. Jr. Clinical aspects, neuropathology, and physio-       Meyer, A. (1928). Ober das Verhalten des Hemisphrirenmarks
    logic correlation. Archivu of Nturology, 30, 209-216.              bei der menschlichen Kohlenoxydvergillung. Ztirschri/rfiir
  Hirsch, H., Oberdiirster, G., Zimmer, R., Benner, K. U., and         dit gtsamrt Nturologit und Psychiarrit, 112, 172-186.
    Lang, R. (1975). The recovery of the electrocorticogram of       Mi;yer, A. (1933). Experimentelle Vergifiungsstudien. Ill.
    normothermic canine brains after complete cerebral                 Uber Gehirnveriinderungen bei experimenteller Blau-
    ischemia. Archiv. fiir Psychiarrit und N trvtnkrankhtirtn,         s:l.urevergiftung. Ztirschrifr fiir dit gesamre Nturologit und
    221, 171-179.                                                      Psychiarrit, 143, 333-348.           ,
  Hodiati, H., Derga!, E., Montalbert, C., Goldbaum, L. R.,          Meyer, A. (1963). Anoxic poisons and the problems of anoxia
    and Absolon, K. B. (1976). Cross-circulation experiments           and selective vulnerability. In Grttn/ield's Nturoparhology,
    in dogs discerning the target organ of carbon monoxide             2nd edn, edited by W. Blackwood tr al., pp. 237-261.
    intoxication. (Abstract.) BririshJournal of Surgtry, 63, 655.      Arnold, London.
  Hoff, E. C., Grenell, R. G., and Fulton, J. F. (194S). Histo-      Myers, R. E., and Kahn, K. J. (1971). Insulin-induced
    pathology of the central nervous system after exposure to          hypoglycemia in the non-human primate. II. Long-term
    high altitudes, hypoglycemia and other conditions associa-         neuropathological consequences. In Brain Hypoxia, edited
    ted with central anoxia. Mtdicint (Balrimort), 24, 161-217.        by J. B. Brierley and B. S. Meldrum, pp. 195-206. (Clinics
  Rossmann, K. A. and Sato, K, (1970). Recovery of neuro·              in Developmental Medicine 39/40. Spastics International
    nal function after prolonged cerebral ischemia Scitnct, 168,       Medical Publications). Heinemann, London.
    375-376.                                                         Neubuerger, K. T., and Clarke, E. R. (1945). Subacute
  Kahn, K. J., and Myers, R. E. (1971). Insulin-induced                carbon monoxide poisoning with cerebral myelinopathy
    hypoglycaemia in the non-human primate. I. Clinical                and multiple myocardial necroses. Rocky Mounrain
    consequences. In Brain Hypoxi<Z, edited by J. B. Brierley          Mtdical Journal, 42, 29-35 and 196.
    and B.S. Meldrum, pp. 185-194. (Clinics in Developmental         Poursines, Y., Alliez, J., and Toga, M. (1956). Etude des
    Medicine 39/40, Spastics International Medical Publica-            lesions corticales d'un cas d'intoxication oxycarbonee.
    tions). Heinemann, London.                                         Rtvut Nturo/ogiqut, 94, 731-735.
  Lapresle, J., and Fardeau, M. <1966). Les leuco-encephalo-         Ranck, 1. B. Jr., and Windle, W. F. (1959). Brain damage in
    pathies de !'intoxication oxycarbonee. Etude de seize              the monkey, Macaca mu/arra, by asphyxia neonatorum.
    observations anatomo·cliniques. Acra Nturoparhologica, 6,          Exptrimtnral Nturology, l, 130-154.
    327-348.                                                         Schneider, M. (1963). Critical blood pressure in the cerebral
  Lapresle, J., and Fardeau, M. (1967). The central nervous            circulation. In Stltcrivt Vulntrabiliry of rht Brain in
    system and carbon monoxide poisoning. Ir. Anatomical               Hypoxatmia, edited by 1. P. Schade and W. M.
    study of brain lesions following intoxication with carbon          McMenemey, pp. 7-20. Blackwell, Oxford.
    monoxide (22 cases). Progress in Brain Rtuarch, 24, 31-74.       Swann, H. G., and Brucer, M. (1949). The cardiorespiratory
  Levine, S., and Stypulkowski, W. (1959). Effect of ischemia          and biochemical events during rapid anoxic death. I.
    on cyanide encephalopathy. Nturology (Minntapolis), 9,             Fulminating anoxia. Ttxas Rtporrs on Biology and
    407-411.                                                           Mtdicint, 1, 511-538.
  Lewey, F. H., and Drabkin, D. L. (1944). Experimental              Symon, L., and Brierley, J. B. (1976). Morphological changes
    chronic carbon monoxide poisoning of dogs. Amtric:zn               in cerebral blood vessels in chronic ischemic infarction:
   Journal of Mtdical Scitnct, 208, 502-51 I.                          fl.ow correlation obtained by the hydrogen clearance
  Meldrum, B. S., and Brierley, I. B. (1969). Brain damage in          method. In Tht Ctrebral Vtsstl Wall, edited by J. Cerv6s-
    the Rhesus monkey resulting from profound arterial hypo-           Navarro, tr a/., pp. 165-174. Raven Press, New York.
    tension. II. Changes in the spontaneous and evoked               Ziilch, K. J., and Behrend, R. C.H. (1961). The pathogenesis
    electrical activity of the neocortex. Brain Rtstarch, 13, 101-     and topography of anoxia, hypoxia and ischemia of the
    118.                                                               brain in man. In Ctrtbral Anoxia and rht Eltcrrotnctphalo-
  Meldrum, B. S., and Brierley, J.B. (1971). Circulatory factors       gram, edited by H. Gastaut and J. S. Meyer, pp. 144-163.
    and cerebral boundary zone lesions. In Brain Hypoxia,              Thomas, Springfield, Illinois.
    edited by J. B. Brierley and B. S. Meldrum, pp. 20-33.




                                                                                                         Exhibit 22 Page 61
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 469 of 534




..-



                     292                                                   J. Phynol. (1963), 169, pp. 292-311
                                                                           With 9 tu:t-figuru
                                                                           PrinUd in <kw Britain


                      THE EFFECT OF BRIEF PROFOUND HYPOXIA UPON THE
                       ARTERIAL AND VENOUS OXYGEN TENSIONS IN MAN

                                               BY J. ERNSTING
                              From the Royal Air Force Institute of Aviation Medicine,
                                               Farnborough, Hants.

                                                (Received 23 January 1963)

                       The partial pressure of oxygen in the alveolar gas may be reduced
                    either by decreasing the total pressure of the environment or by replacing
                    the oxygen normally present in the inspired air by an inert gas. The severe
                    a.noxia. induced by rapid decompression from 565 to 155 mm Hg absolute,
                    whilst breathing air, may be terminated by the delivery of 100% oxygen
                    to the respiratory tract. The effects of such brief profound a.noxia. upon the
                    alveolar and arterial gas tensions and upon the central nervous system
                    have been studied extensively {Ernsting & McHa.rdy, 1963; Ernsting,
                    Gedye & McHa.rdy, 1960; Ernsting, 1962). The effect of the resultant
                    severe but short-lived arterial hypoxaemia. upon the supply of oxygen to
                    various organs of the body is of considerable interest. The oxygen content
                    of the venous blood flowing from a. region reflects the ha.la.nee between the
                    supply of oxygen to it and its metabolic oxygen consumption. Continuous
                    measurements of the oxygen content of the venous blood flowing from
                    several regions have been ma.de in subjects exposed to brief but profound
                     hypoxia.. In the experiments described in this pa.per a. short period of over-
                     ventila.tion, nitrogen being used as the inspired gas, was employed in
                     place ofra.pid decompression to induce hypoxia.. This method allowed more
                     extensive observations to be ma.de than were considered practical in a.
                     decompression chamber.
                                                            METHODS
                       lndudion of hypo:ria. Three healthy men, aged from 33 to 38 years, were used. The sub.
                     ject lay on a couch and breathed through a valve box, to the inlet of which two tape were
                     connected in aeries. The aide arm of the tap next to the box was open to the atmosphere.
                     One arm of the second tap wae connected to a demand valve which was supplied with
                     nitrogen, whilst the other arm was connected to a second demand valve supplied with
                     oxygen. Before the experiment was started the hoses between the two demand regulators
                     and the second tap were purged with the gas delivered by the corresponding regulator. The
                     dead apace between the two tape was purged with nitrogen to ensure that 100 % nitrogen was
                     delivered directly the first tap was operated. During each rest period the :lirat tap was
                     positioned so that the subject breathed air. Nitrogen was administered by instructing the
                     subject to expire maximally at the end of a normal expiration, and at this instant the fiut
                     tap was turned BO that the subject breathed from the demand valve which supplied nitrogen.




                                                                                        Exhibit 22 Page 62
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 470 of 534



                                                                                                                        -.



                         BRIEF PROFOUND HYPOXIA                                           293
 During the period of breathing nitrogen the subject was instructed to breathe as deeply as
 possible at a rate of about 20 breaths per minute. After 7-20 sec over-ventilation with
 nitrogen the fast tap was returned to its original position so that air was breathed again.
 At the same time the subject was told to cease over-breathing.
     Respired g(J(I tension.t. The partial pressures of oxygen and carbon dioxide in the gas
 passing the subject's lips were recorded continuously in all the experiments by means of a
 respiratory mass spectrometer (Fowler & Hugh-Jones, 1957). Preliminary studies showed
 that the output of the instrument was linearly related to the partial pressure of each of
 these gases. The delay between a sudden change of partial pressure of either at the sampling
 tip and the beginning of the response of the recording pen motor was 0·2 sec and 90% of the
 total response occurred in a further O·l sec. Calibrations employing gas mixtures of known
 composition were performed at intervals throughout each experiment. Over a 30 min
 period no significant change occurred in the sensitivity of the instrument. The pulmonary
 ventilation was recorded in some of the experiments by collecting the expired gas in a
 recording Tissot spirometer.
     Blood sampling. In separate experiments blood was sampled continuously from various
 sites in the cardiovaacular system. Blood was obtained from the brachia! artery and the
 femoral vein through a Cournand needle introduced into the vessel after local analgesia had
 been produced with 2 % lignocaine. A catheter was introduced into the right side of the
 heart through a large-bore needle which had been inserted into a vein in the antecubital
 fossa. The position of the catheter was detem1ined during its introduction by recording the
 pressure at the tip by means of a strain-gauge pressure tracsducer. The catheter was advan-
  ced until its tip Jay in the pulmonary artery, Blood fl.owing through the intercal jugular
  vein was sampled by means of a radio-opaque catheter which was introduced into a vein
  which had been exposed through an incision in the right antecubital fossa. Thia catheter was
  advanced under direct fluoroscopic control with the subject's head held against hi.a left
  shoulder. The catheter entered the right internal jugular vein and was placed so that its end
  Jay above the level of the tip of the rightmaatoid process. When in place, the patency of the
  Coumand needle or the intravascular catheter was maintained when sampling was not in
  progress by a fl.ow of sterile physiological saline (NaCl 0·9 g/100 ml.), approximately
  2 ml./min containing heparin (200 i.u./100 ml.).
      Recording of blood oxygen saturation and pH. The blood from the intravascular needle or
   catheter fl.owed through a tubular cuvette oximeter (Fig. 1) and was then diluted I: I 0 with
  neutral physiological saline to which heparin had been added (Sherwood-Jones, Robinson
   & Cooke, 1960). The diluted suspension of blood waa then passed through a microflow-glass-
   electrode-<lalomel-reference-electrode system. The saline reservoir and microfiow-electrode
   system were immersed in a water-bath which was maintained at 38° C. The fl.ow of blood
   and the desired dilution of the blood with saline were produced by means of a two-cylinder
   pump with a single piston, the velocity of which could be varied. The pump was constructed
   so that the cross-sectional area of one cylinder, which was charged with saline, was 10/ll of
   that of the other cylinder into which the mixture of saline and blood was drawn after it had
    passed through the glass·electrode system. In all the experiments a blood sampling rate of
    20 ml./min was used.                           '
      The outputs of the oximeter amplifier and of the pH meter were fed on to two of the pen
    motors of a recorder. Preliminary experiments showed that the output of the oximeter
    amplifier was linearly related to the oxygen saturation of the blood flowing through the
    cuvette. At the beginning and end of each period of recording the output of the oximeter
    was calibrated by drawing a fully saturated sample of blood and a second sample of a known
    degree of unsaturation through the cuvette. A linear relation was also found between the
    pH of the blood and the output of the pH meter. The output of the latter was calibrated at
    intervals by using two phosphate buffers (pH 6·84 and 7·60). The time course of the re·
    sponse of the entire measuring system to a sudden change in the oxygen saturation and pH
    of the blood entering the sampling system was determined at the end of each experiment.




                                                                                                   Exhibit 22 Page 63
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 471 of 534




.-




                    294                                 J.ERNSTING
                   When sampling was required the drip of heparinized saline waa turned off and the speed of
                   the aampling pump was increased until blood was withdrawn at 20 ml./min. Sampling waa
                   continued for 1 min before the subject breathed nitrogen and waa maintained until all the
                   disturbances produced by the procedure had subsided.
                     Ekctroenaphalogram (e.e.g.) and ekdrocardiogram (e.c.g.) recording. In many of the
                   experimenta the e.e.g. waa recorded. Two pain of aaline pad electrodea were placed on the
                   acalp over the frontal and occipital regions of the left aide of the head. The potential changea
                   from each pair of electrodea were amplified and recorded at a high paper speed. In addition,
                   lead II of the e.c.g. was recorded.



                                                                                                   Soampllng
                                                                                                   •thecer




                                                               Saline
                                                              reservoir
                           Variable-speed
                               motor
                          Fig. 1. Apparatus for the continuoua measu.mment of the oxygen saturation and
                          pH of blood. Blood is drawn into the apparatus through a catheter and then it
                          paaaea through the cuvette oximeter. Saline at 38° C driven by the pump in the
                          direction indicated by the arrows miltes with the blood and the diluted blood
                          flows through the pH electrode aaaembly back to the pump.

                       Arterial prumre and calf blood flow. The arterial blood preasme was recorded through a
                    Riley needle by means of an unbonded strain-gauge pressure transducer which Wjl& filled
                    with phyuiological aaline containing heparin. The needle was connected to the transducer
                    by means of a 3 cm length of polyethylene tubing with an internal diameter of l mm. Pre-
                    liminary measurementa demonatrated that the complete recording system faithfully
                    reproduced the magnitude and phase of sinusoidal preBSUnl fluctuations at frequencies of
                    up to 20 c/s. The Riley needle waa insert.ed into the brachia) artery and the transducer wae
                    placed on the same horizontal plane as the tip of the needle. The output "of the amplifier
                    connected to the transducer, which was fed to one channel of the recorder, was calibrated
                    by means of a mercury manometer before and after each aeries of measurements. Blood
                    flow through the calf was measured by means of venous occlusion plethysmography, with a
                    mercury-in-rubber atrain gauge (Whitney, 1958) to meesure changes in the circumference of
                     the calf. The lower limb was supported eo that the lower border of the calf was juet above
                     the horizontal level of the eternal angle. The circulation to the foot was occluded by means
                     of a cuff placed around the ankle, which was inflated to 250 mm Hg 1 min before the calf
                     blood-flow measurements were started. The venoua outllow from the calf was obstructed
                     for 5 eeo of every 10 sec period by inflating the cuff placed around the lower part of the
                     thigh to between 30 and 40 mm Hg. The elt&ct preeaure used in the venous cuff was adjusted
                     at the beginning of each eltperiment eo that the circumference of the calf increased at a
                     constant rate during each collection period. The output of the gauge was calibrated while it
                     was in position by producing a known reduction of its length. The circumference of the calf
                     at the level at which the gauge was filted was meuured at the end of each,eltperiment.




                                                                                           Exhibit 22 Page 64
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 472 of 534




                      BRIEF PROFOUND HYPOXIA                                     295
  In all the experiments the subject was careflilly observed during and following the
period of over.ventilation with nitrogen. If any severe disturbance of conacioumess or
respiration occurred, oxygen was administered.

                                     RESULTS
    Effect upon con.sciousness. The increase of pulmonary ventilation
achieved by each subject during nitrogen breathing was measured from
the spirometer records. The mean pulmonary ventilation of the three
subjects was increased to 80 l./min at b.t.p.s. during the period of over-
ventilation. When the duration of over-ventilation with nitrogen was
greater than 8-10 sec the subject reported a transient dimming of vision.
In the experiments in which nitrogen breathing was carried out for 15-16
sec the subject experienced some general clouding of consciousness and
impairment of vision. Vision was frequently lost in these experiments for
a short period. In the few experiments in which nitrogen was breathed
for 17-20 sec unconsciousness supervened and was accompanied on most
occasions by a genera1ized convulsion. The duration of the · interval
between the start of over-ventilation with nitrogen and the onset of
 symptoms was 12-14 sec.
    End-tidal gas tensions. A typical record of the partial pressures of
 oxygen and carbon dioxide in the gases flowing through the mouth-piece is
 presented in Fig. 2. The end-tidal oxygen tension fell very rapidly when
 the subject commenced over-ventilation with nitrogen. It reached a
 value ofless than 10 mm Hg at the end of the third expiration and remained
 below this level until air was inspired after 16 sec of nitrogen breathing.
 During the over-ventilation period the end-tidal carbon dioxide tension
 also fell rapidly. With the restoration of a.ir breathing and the cessation of
 over-breathing the end-tidal oxygen and carbon dioxide tensions rose
 gradually to regain their control values. Each of the three subjects over-
 ventilated, whilst breathing nitrogen for a period of 15-16 sec on six
  separate occasions. The time course of the changes of the end-tidal tensions
  of oxygen and carbon dioxide has been measured for each of these 18 experi-
 ments and mean curves for each of these variables are presented in Fig. 3.
     Arterial blood oxygen saturation and pH. Blood was sampled from the
  brachia! artery of each subject on three separate occasions during which
  the subject over-ventilated with nitrogen for 16 sec. The records of the
  response of the entire system to a sudden change in the composition of
  blood at the tip of the Cournand needle showed a mean delay of 0·7 sec to
  the beginning of the response ofthepenmotorrecording oxygen saturation
  and a further 0- 9 sec elapsed before 90 % of the total response had occurred.
  The corresponding times for the response of the pH recording system were
   1·4 sec and 2·0 sec respectively. Corrections for these delays in response
  were applied to the recorded values of oxygen saturation and pH. A



                                                                                         Exhibit 22 Page 65
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 473 of 534




              296                                     J. ERNSTING
                      160
                      120

                       80
                       '40
                        0
                       '45
                      30
                      15
                       0
                    7'56
                    NS
                    7·-40


                    100
                      75
                     so
                     25                                                                              .._.
                                                                                                     S sec
                Fig. 2. Respiratory gllB tensions and systemic arterial oxygen saturation and pH
                before, during and after 16 sec over-ventilation with nitrogen. The tensions of
                oxygen and carbon dionde were recorded at the lips, whilst the blood was sampled
                continuously from the brachia! artery. Delay time of oxygen saturation record,
                0·7 sec or pH record, 1·5 sec.



                              ;
                                  . ,120

                                       100
                                             1
                              ii
                                  E    80
                              £.
                                  c
                              ~c
                              ·~
                                        60
                                  ..
                                  ~




                              Oi  "°    40
                              :g
                              -0c
                              w
                                        20


                                         0

                                                 Time from start of nitrogen breathing (sec)
                    Fig. 3. Effect of over.vent.nation with nitrogen upon end.tidal tensions of
                    oxygen (e) a.nd carbon dioxide (Q). Each point represents the mean of eighteen
                    values from three subjects; each bar represents ± l s.E. ofthe mean. Tbe period of
                    over-ventilation with nitrogen is indicated by the hatched bar.




                                                                                           Exhibit 22 Page 66
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 474 of 534




                                                                                                               ...




                             BRIEF PROFOUND HYPOXIA                                      297
typical experimental record of the arterial oxygen saturation and pH is
presented in Fig. 2. The arterial oxygen saturation and hydrogen-ion
concentration began to fall 4-5 sec after the commencement of nitrogen
breathing and both fell very rapidly at first and then more slowly until air
breathing was started again at 16 sec. The oxygen saturation then increased
rapidly whilst the pH gradually returned to its control value. The mean
time courses of the changes of arterial oxygen saturation and pH have been
calculated for the nine experiments and these values together with their
standard errors are shown in Fig. 4.




                     100 r-
                            o---0--0


             g        80
              c
             .g
              :!      60
             a
              :::
             0
               ...
                      '10
             ~
             <
              .
              ~
                     20'


                       0
                                 0      10     20        30              so    60
                                 Time from start of nitrogen breathing (sec)
    Fig. 4. Effect of over-ventilation with nitrogen upon arteri!U. oxygen saturation
    (O) and art.erial pH (A). Each point represents the mean of nine values from three
    subjects; eac1:1 bar represents ± l s.E. of the mean.

  Veno'U8 blood oxygen saturation and pH. Blood was sampled from the
femoral vein, the pulmonary artery and the right jugular bulb on separate
occasions in each of the subjects. The delay in the response of the recording
systems was lengthened considerably when intravascular catheters were
employed. On none of these occasions did any significant change of pH
occur during the period of nitrogen breathing. The mean time courses of
the oxygen saturation of the venous blood drawn from these three sites are
presented in Fig. 5.



                                                                                               Exhibit 22 Page 67
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 475 of 534




               298                             J.ERNSTING
                  Electroencephalogram changes. The resting e.e.g. shows no specific
               electrical activity and no change occurred in any experiment until 15-18
               sec after the beginning of the period of over-ventilation with nitrogen.
               When nitrogen over-breathing was carried out for 8-12 sec low voltage




                                 eo x-x-x--x--x-x--x--x




                                 60                          A


                        g
                         c
                        .....
                        ~
                         0


                        ...":%   '40
                                                A
                                                 \   A-A
                                                         I
                        d''



                                 20




                                 ol__-FJ~~~-:l-~.l--'---L--
                                     o  10 20 30 -40 so 60
                                         Time from start of nitrogen breathing (sec)

                  Fig. 5. Effect of over.ventilation with nitrogen upon the oxygen saturation of
                  blood fiowiDg through the femoral ( x} and in«irnal jugular (Ci) veina and the
                  pulmonary artery (Q). Each point represents the mean of three values obtained
                  from three subjects.


               activity at 11-13 c/s appeared in both channels of the e.e.g. 15 sec after the
               beginning of the procedure and persisted for 7-9 sec. When the duration
               of nitrogen over-ventilation was extended to 15-16 sec, similar. changes
               arose in the e.e.g. but they persisted for slightly longer. Occasionally the



                                                                                 Exhibit 22 Page 68
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 476 of 534




                               BRIEF PROFOUND HYPOXIA                                                                                 299
  11-13 c/s activity was replaced by high-voltage 2-4 c/s activity, which
  appeared 4-6 sec after the beginning of the change of the e.e.g. This slow
  activity genera.Uy persisted for 4-6 sec. When nitrogen breathing was
  extended to 18-20 sec the initial fa.st, low-voltage activity was always
  replaced by high-voltage 2-4 c/s activity after 5 sec, which lasted for a.bout
  10 sec. Control experiments in which a. subject over-ventilated for a. similar
  period whilst breathing air produced no change of e.e.g. activity.

                so



       c
       {.       30
       .
       e
       s
       .....
        I!      20
       ..c
       'o                ..........
                                      ..............
       .:. +10
        c
       ..c
       u
                                                       ... x...
                                                                  ... ..........
                                                                                   '·x............... ,
                 0
                                                                                                          ""~x-----X-   - - --

               -10....-~~_..~~~_,_~~--''--~~--L~--~....._~~--1.
                     0                  10                             20                         30                    so       60
                                                        Time from start of over-ventllatlon (sec)
      Fig. 6. Effect of over-ventilation with nitrogen for various periods upon the
      heart rate. bu nitrogen for 17 sec; O. nitrogen for 11 sec; O. nitrogen for 8 sec;
       x, air for 15 sec. Each point represents the mean of three values obtained from
      three subjects.


     Cardiovascular change.s. The period of over-ventilation with nitrogen
  produced a. transient acceleration of the heart rate. This commenced at the
, beginning of the period of over-ventilation and reached a. maximum a.bout
  30 sec later. The magnitude of the increase varied directly with the dura-
  tion of the nitrogen over-ventilation. The mean changes of the heart rate
  for the three subjects when they over-ventilated with nitrogen for various
  periods a.re presented in Fig. 6. There were no consistent changes in the
  shape of the e.c.g. in these experiments. In one subject, however, there
  was a. transient flattening of the 'T' wave, which started 5 sec after the
  beginning of the nitrogen over-ventilation and persisted for 10 sec. In



                                                                                                                                            Exhibit 22 Page 69
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 477 of 534




                                       r




              300                            J.ERNSTING
              several experiments the subjects over-ventilated whilst breathing air.
              This ca.used a. relatively sma.11 and transient increase of hes.rt rate which
              had subsided 10 sec after the end of the over-ventilation period
              (Fig. 6).
                 The period of over-ventilation produced marked respiratory vaJ."ia.tions
              of the arterial blood pressure. The mean and pulse pressure were both
              increased during the deep expiratory efforts and decreased during ea.ch
              inspiration. The mean blood pressure was increased by a.bout 20 mm Hg
              during the period of over-breathing. Directly the subject ceased over-
              ventila.tion the arterial pressure fell and reached a. minimum after some
              15 sec from the beginning of nitrogen breathing. The minima.I value was
              less than the mean blood pressure before the over-ventilation period. The
              fall of mean pressure was accompanied by a. reduction of the pulse pressure.
              It was followed by a. secondary rise of pressure and a.n increase of pulse
              pressure, both of which reached a. maximum a.t a.bout 30 sec after the
              beginning of the period of over-ventilation with nitrogen. In a.11, two
              separate periods of over-ventilation with nitrogen were studied for ea.ch of
              the three subjects and the mean values of arterial pressure before, during
              and after the period of over-ventilation with nitrogen a.re presented in
              Fig. 7. The blood fl.ow through the ca.If was ca.lcula.ted from the rate a.t
              which the circumference of the pa.rt increased during ea.ch venous-conges-
              tion period (Whitney, 1953). The mean value for the ca.If blood flow
               obtained in twelve separate periods of over-ventilation with nitrogen in
               the three subjects a.re shown in Fig. 7. The fl.ow of blood into the ca.If was
              increased during the period of over-ventila.tion, following which it returned
               to the resting level, to increase a.gs.in between 20 and 40 sec after the
               beginning of over-ventilation.

                                                DISCUSSION
                 Preliminary experiments in which the subjects over-ventilated with
              nitrogen for various periods showed that unconsciousness supervened if the
              duration of this procedure exceeded 16-17 sec. In the majority of these
              experiments, therefore, the period of over-ventilation with nitrogen was
              limited to 16 sec. This period of nitrogen over-breathing produced only a.
              transient disturbs.nee of the e.e.g. The low-voltage 8--13 c/s activity was
              generally associated with a. transient dimming of vision and could not be
              distinguished from that produced by closure of the eyelids. Further,
              a.pa.rt from a. transient flattening of the 'T' wa.ve on one occasion, no sig-
               nifica.n t change was seen in the e.c.g., although only a. stands.rd limb lead
               (II) was recorded. In view of these findings it was considered that the
               degree of hypoxia. induced by over-ventilation with nitrogen for 15-
               16 sec was within a.ccepta.ble limits for resting subjects.



                                                                         Exhibit 22 Page 70
           Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 478 of 534




                              BRIEF PROFOUND HYPOXIA                                             301
         The concentration of oxygen in the gas contained within the respiratory
      tract at the beginning of the nitrogen breathing period was reduced very
      rapidly by the very large voluntary increase of pulmonary ventilation. The
      reduction of the lung volume to a minimum before the :first breath of
      nitrogen was taken decreased the quantity of oxygen to be washed out.
      The combination of these two manoeuvres resulted in a very rapid fall of
      end-tidal oxygen tension to 10 mm Hg after 8 sec of over-ventilation. The
      rate of rise of the end-tidal oxygen tension foUowing the cessation of
      nitrogen over-ventilation and the return to breathing air was considerably
      less than the rate at which it had fallen. This difference refl.ects the reduc-
      tion of alveolar ventilation associated with the resumption of a more
      normal breathing pattern.




           :~
      C"
J::
o~
      'E
""c;
.,, u
0 •
o-
-     E
~8
......
u:::
      !.   :t
           -30      -20
                       I        I
                              -10        0
                                          rzzzn
                                                   10         20        30
                                     Time from scart of nitrogen breathing (sec)
                                                                                           S()         60

            Fig. 7. Effect of over-ventilation with nitrogen upon the mean systemic arterial
            pressure(~)    and the blood flow through the calf (e). The results are from three
            s11bjects, each pressure point representing the mean of six values whilst each blood
            flow point u the mean of twelve values; each bar depicts ± 1 s.E. of the mean
            value.
                           Arterial oxygen saturation and pH
         The delay of 4-5 sec between the beginning of nitrogen breathing and
       the reduction of the oxygen saturation of the brachia} artery blood was a
       reflexion of the circulation time from the pulmonary capilla.ries to the
       sampling point in the systemic arterial tree. A similar delay occurred
            20                                                                      Physiol. 169



                                                                                                            Exhibit 22 Page 71
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 479 of 534




               302                            J.ERNSTING
               between the restitution of a.ir breathing and the subsequent increase of the
               arterial oxygen saturation. The reduction of the end-tidal oxygen tension
               to below 10 mm Hg was associated with an a.rteriaJ oxygen sa.tura.tion of
               less than 40 %·The increase of the pH of the a.rteriaJ blood was related to
               the fall of the alveolar carbon-dioxide tension and the reduction ~the
               blood oxygen saturation (Christiansen, Douglas & Haldane, 1914). Th:e
               mean increase of the arterial pH produced by the over-ventilation a.mounted
               to 0·18 unit. This gave a. calculated value for the minimal arterial oa.rbon-
               dioxide tension of 22·5 mm Hg as compared with the observed end-tidal
               value of 17 mm Hg. The changes of arterial oxygen tension produced by
               over-breathing with nitrogen have been calculated from the simultaneous
               measurements of the oxygen saturation and pH of the arterial blood by
               means of standard oxygen dissociation curves (Dill, 1944). The mean
               time course of the oxygen tension for all the experiments is presented in
               Fig. 8. together with the curve for the end-tidal oxygen tension. During
               over-ventilation the end-tidal oxygen tension may be ta.ken as representa-
               tive of the mean alveolar tension of this gas. When aJlowa.nce is ma.de for
               the 4 sec delay between the change of a.lveolal' gas composition and the
               resultant change of the oxygen tension of the arterial blood at the samp1ing
               point, it is apparent that the a.rteria.l oxygen tension fell in the same manner
                as the alveolar oxygen tension until this was less than 16 mm Hg. Beyond
                this point the systemic arterial oxygen tension was consistently greater
                than that of the alveolar gas until air breathing was restored. There was a.
                statistically significant difference (P < 0·01; n = 9) between the oxygen
                tensions of the arterial blood and of the alveolar gas for the la.st 7 sec of the
                period of nitrogen breathing. The oxygen tension of the mixed venous
                blood during nitrogen breathing was between 35 and 40 mm Hg (Fig. 9),
                and hence the oxygen tension of the alveolar gas was less than that of the
                blood entering the pu1monary capillaries for nearly the whole period of
                nitrogen over-ventilation. During this procedure, therefore, there was a.
                reversal of the normal oxygen-tension gradient between the alveolar gas
                and the mixed venous blood. Since the oxygen saturation of the systemic
                 arterial blood was considerably leBB than that of the mixed venous blood,
                oxygen must have pa.BSed from the blood fl.owing through the pu1monary
                 capillaries into the alveolar gas during the latter pa.rt of the nitrogen-
                 breathing period. Such a. reversal of the normal direction of passage of
                 oxygen a.cross the a.lveolu capillary membrane has been demonstrated
                 following rapid decompression to high altitude (Luft, Cla.ma.nn & Adler,
                 1949; Ernsting & McHa.rdy, 1960) and during rapid a.scent following a.
                 breath-holding dive to a. water depth of 60-100 ft. (18-30 m; Rahn, 1963),
                 In both these situations the oxygen tension of the alveolar gas is reduced
                 rapidly below that of the mixed venous blood.



                                                                           Exhibit 22 Page 72
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 480 of 534




                            BRIEF PROFOUND HYPOXIA                                     303

                        Ve?U>U8 pH and oxygen saturation
     The a.bsence of a.ny detecta.ble change of the pH of the blood sampled
  from the three venous sites following the period of over-ventilation with
  nitrogen demonstrated the marked carbon dioxide buffering power of the
 peripheral tissues and the rapid diffusibility of this gas. The consta.ncy of
  the venous pH was unexpected, since the reduction of the oxygen sa.tura.-
. tion of the venous blood would of itself ha.ve produced a.n increase of pH
  (Christia.nsenetal.1914). Ats. constant ca.l.'bon-dioxide tension the greatest
 increase of pH due to this mechanism, associated with the decrease of

                      110
                            1
                      1oof-1
                        ~           f
                       BO -




             'iii      60
             :r
               E
              .§.
              c
              ~c
              ~
               ....    40
              0




                       20




                                0     5 10 15 20 25 30 35 40 45                  50
                                    Time from start ofnltrogen breathing (sec)

     Fig. 8. Effect of over.ventilation with nitrogen upon end-tidal oxygen tension
     (el and syatemic arterial oxygen tension (b. ). Each point represents the mean of
     eighteen end-tidal values and nine arterial values. Each bar denotes ± l e.E. of the
     mean value.
                                                                                    20.2



                                                                                             Exhibit 22 Page 73
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 481 of 534




              304                                    J. ERNSTING
              oxygen saturation of the cerebra.I venous blood by 2:1 o/°' was calculated to
              be of the order of 0·012 unit. The over-all sensitivity of the system used
              for the measurement of the pH of the venous blood was such, however,
              that a. change of this magnitude might not have been detected.




                                                                                              ~

                                   80

                                                                                /
                            a;;    60
                            :J::
                             E
                            ~
                             c          +
                            ~c
                            s
                            0      10•

                                                      \AP
                                   20                A'A---a~-)/
                                            0    5    10   15    20   25   30    35   10      -45   50
                                                Time from Start or nitrogen breathing (sec)

                    Fig. 9. Effect of over·ventilation with nitrogen upon the oxygen tension of the
                    11ystemio arterial (ll.), femoral venous ( + ), internal jugular (0) and pulmonary
                    a.rterial (0) blood. Each point repreaenta the mean of the values obtained from
                    three aubjecta.

                 The pattern of the reduction of the oxygen saturation of the venous
               blood produced by the period of nitrogen breathing varies markedly with
               the site of sampling (Fig. 5). The oxygen content of the jugular venous
               blood was the first to change and it exhibited the greatest reduction a.nd
               the most rapid recovery. In contrast the oxygen saturation of the femoral
               venous blood started to fall last, was reduced by the smallest a.mount and
               recovered the most slowly. Mixed venous blood showed changes which



                                                                                           Exhibit 22 Page 74
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 482 of 534




                   BRIEF PROFOUND HYPOXIA                                305
were intermediate between those of the jugular and femoral venous
bloods. The maximal fall of the oxygen saturation of the femoral venous
blood was half that which occurred in the blood sampled from the pul-
monary artery, whilst the maximal reduction of the oxygen content of the
jugular blood was more than twice the latter. The changes of the oxygen
tension of the blood sampled from these venous sites have been calculated
from the measured values of oxygen saturation and pH and the mean
curves are presented in Fig. 9, together with the mean curve for the
arterial oxygen tension. It is apparent that during the period of severe
hypoxia the oxygen tension of the blood flowing from the lower limbs, the
brain and the whole body was greater than that of the art.erial blood
                                                                                                      \,
flowing into these regions.

                 Cardiovascular effects of profound hypoxia
   The limited measurements made in this study demonstrate that the
period of over-ventilation with nitrogen produced significant changes in
the cardiovascular system. The control experiments in which the subject
over-breathed with air make it possible to distinguish two pha.ses in the
cardiovascular response. First, during the period in which the pulmonary
ventilation was increased there was a moderate rise of heart rate and the
arterial pressure and calf blood flow were raised (Fig. 7). Immediately the
over-ventilation ceased the ar~erial pressure and calf blood flow returned
to their resting values. These changes occurred when either air or nitrogen
was breathed. When the over-breathing was performed with nitrogen the
rise of hea~ rate persisted for considerably longer and there was a secon-
dary increase of arterial pressure and calf blood fl.ow. These secondary
changes were absent when air was substituted for nitrogen and were due,
therefore, to the severe hypoxia induced by the nitrogen. Throughout
each experiment the calf blood flow was directly proporMonal to the mean
 systemic arterial pressure. Thus the observed changes of calf blood flow
 were a result of the concomitant changes of art.erial pressure. The secondary
 changes which occurred after over-ventilation with nitrogen were probably
 the result of an increase of cardiac output and of systemic arteriolar con-
 striction which were produced reflexly by chemoreceptor stimulation. It
 is apparent that the a~erioles of the caJf did not contribute to this vaso-
 constriction, and the most probable sites for the increase of peripheral
 resistance were the splanchnic and cutaneous circulations. The rise of the
 oxygen saturation of the jugular venous blood above the control value
 when air breathing was restored (Fig. 5) suggests that there wa.s , an
 increase of the over-all cerebral blood flow at this time. In the steady
 state moderate arterial hypoxa.emia, even when accompanied by hypo-
 capnia, is known to produce a dilatation of the cerebral vessels (Kety &



                                                                                 Exhibit 22 Page 75
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 483 of 534




.-



                    306                          J. ERNBTING
                    Schmidt, 1948). The rate at which the cerebral vasodilatation develops
                    when arterial hypoxaemia is induced suddenly is not known, but the
                    present experiments suggest that the cerebral vessels respond to a fall of
                    arterial oxygen tension within 20 sec.

                                    Pulmonary gas exclw:nge in profaund hypoxia
                       The arterial oxygen-tension values derived in this study demonstrated
                    that during over-ventilation with nitrogen the oxygen tension of the
                    a.rterial blood was significantly greater than that of the alveolar gas. The
                    time for which this state existed was only 7-8 sec, although during this
                    period the rates of change of alveolar and arterial oxygen tensions were
                    relatively slow. Furthermore, this length of time is large relative to the
                    average transit time of 0·73 sec (Roughton, 1945; Roughton & Forster,
                    1957) for a red cell through the pulmonary capillaries lining ventilated
                    alveoli. It would appear, therefore, that the observed difference between
                    systemic arterial and alveolar oxygen tensions cannot be accounted for on
                    the basis of the short period for which the condition existed. Such a
                    difference could be produced by the presence of either a shunt of venous
                    blood into the systemic arterial tree or a higher tension of oxygen in the
                    blood leaving the pulmonary capiJlaries than in the alveolar gas. Mixed
                    venous blood flowing into the systemic arterial tree without having
                    transversed the capillaries of ventilated alveoli would raise the oxygen
                    tension of the systemic arterial blood above that of the alveolar gas. The
                    effect of the normal quantity of venous admixture upon the arterial
                    oxygen tension would be insignificant, because of the relative steepness of
                    the blood-oxygen dissociation curve over the range concerned here. H,
                    however, the proportion of the cardiac output perfusing ventilated alveoli
                    was reduced during nitrogen breathing, this effect could become significant.
                    In order for this mechanism to account for the total observed oxygen-
                    tension gradient the venous-arterial shunt would have to amount to at
                    least half of the total cardiac output. There is at present no evidence in
                    favour of such a degree of shunting during severe hypoxia. It would
                    appear probable, therefore, that the tension of oxygen in the blood leaving
                    the pulmonary capillaries is considerably greater than that in the alveolar
                    gas during over-ventilation with nitrogen.
                       Since no measurements were made of the rate of gaseous exchange
                    during the period of over-ventilation with nitrogen it is impossible to
                    examine quantitatively the factors affecting the exchange of oxygen
                    between the pulmonary capillary blood and the alveolar gas. It is of
                    value, however, to compare the effects of over-ventilation with nitrogen
                     with those produced by moderate hypoxia in the steady state. Thus,
                     Lilienthal, Riley, Proemmel & Franke (1946) found that at an alveolar



                                                                            Exhibit 22 Page 76
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 484 of 534




                   BRIEF PROFOUND HYPOXIA                                  307
oxygen tension of 46 mm Hg a.t rest the difference between the tensions of
oxygen in the alveolar ga.s a.nd the systemic arterial blood a.mounted to
9· l mm Hg. They ca.lcula.ted that under these circumstances the oxygen
tension of the mixed venous blood was 19 mm Hg less than that of the
alveolar gas a.nd that the oxygen tension of the blood leaving the pul-
monary capillaries was a.bout 8 mm Hg less than that of the alveolar ga.s.
Although in the nitrogen over-ventilation experiments the oxygen tension
gradient between the alveolar ga.s a.nd the mixed venous blood was
reversed, it was of the same order a.a that which existed in the experiments
performed by Lilienthal et al. (1946). Furthermore, the mean difference
between the oxygen tensions of the arterial blood a.nd the alveolar ga.s
obtained in the present study, which a.mounted to 11 mm Hg, was only
slightly greater than that found in moderate hypoxia. by Lilienthal et al.
(1946). The a.rteria.1-a.lveola.r oxygen-tension difference observed in nitro-
gen over-ventilation experiments was probably due, therefore, to a.
mechanism analogous to that which wa.s deduced by Lilienthal et al. (1946)
to be responsible for the existence of a.n alveolar to end-pulmonary capil-
 lary blood-oxygen tension difference in moderate hypoxia.. The limited
rate a.t which oxygen wa.s transferred from chemical combination in the
 pulmonary blood into the alveolar ga.s under the circumstances which
 existed in the nitrogen-breathing experiments gave rise to a. large oxygen-
 tension difference between the blood leaving the pulmonary capillaries a.nd
 the alveolar ga.s.
Exchange of oxygen between blood and peripheral tissues in profound hypoxia
   The reduction in the rate a.t which oxygen is carried to a. pa.rt ca.used by
a. short period of arterial hypoxaemia. depends upon the degree and
duration of the desaturation of the arterial blood a.nd the arterial flow to
the pa.rt. In the resting state the total blood flow to the bra.in is over
twice that to the lower limbs. Thus in the present experiments the deficit
of the oxygen supply to the bra.in wa.s twice that to the lower Jimbs. The
effect of such a. deficit in the oxygen supply to a. region upon the oxygen
content of the blood flowing from it will be determined in part by the
relation between the magnitude a.nd nature of its oxygen store a.nd its
metabolic oxygen consumption. Where the a.va.ila.ble oxygen store is
sma.11 in relation to the oxygen uptake, the venous oxygen saturation will
 be reduced to a. greater extent than when the store is large in relation to the
 oxygen consumption. Quantitatively the most important oxygen store is
 that contained by the blood, a.nd the greater proportion of this resides in
 the small a.nd large veins. Muscle possesses in addition a. specific oxygen
 storage mechanism in the form of oxymyoglobin. The a.mount of oxygen
 stored in this manner in ma.n is, however, relatively sma.11 (Dra.bkin, 1950)



                                                                                   Exhibit 22 Page 77
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 485 of 534




. ·-




                     308                           J. ERNSTING
                     and the oxygen tension in muscle must be reduced below 10 mm Hg
                     before a. significant proportion of the oxygen held in this form is liberated
                     (Hill, 1936). Finally, all tissues contain oxygen in simple physical solution,
                     although quantitatively this store is relatively small. The bra.in, in contra.st
                     to the lower Jimbs and the body a.a a. whole, ha.a a. high arterial inflow, a.
                     high oxygen consumption and a. small oxygen store. For a. specified tran-
                     sient arterial hypoxaemia. all these factors tend to produce a. greater fa.II of
                     the oxygen saturation in the jugular blood than in the blood flowing from
                     the lower Jimbs.
                        The pattern of the fall of the saturation of venous blood ca.used by a.
                     transient arterial hypoxaemia. will be modified by changes of blood flow
                     into the region and of the ca.pa.city of its vascular bed. In the present
                     experiments there were transient changes of ca.]f blood flow during and
                     after the period of hypoxaemia.. There was also evidence which suggested
                     that the cerebra.I blood flow changed, although no direct measurements of
                     this quantity were ma.de. If a.n increase of blood flow occurred during the
                     period of hypoxaemia., the deficit of the oxygen supply would have been
                     increased. If, however, the increase of blood fl.ow did not occur until the
                     arterial oxygen saturation was rising, it would have produced a. more
                     rapid recovery of the venous oxygen saturation, or even a. rise to a.hove the
                     nontrol value. Although no direct measurements of the ca.pa.city of the
                     vessels of the ca.If were ma.de, it w~s noted that the volume of this region
                     was decreased by the period of over-ventilation with nitrogen. Eckstein,
                     Hamilton & McCa.mmond (1958) have shown that the reflex reduction of
                     the distensibility of the ca pa.city vessels produced by over-ventilation is in
                     part due to the hypocapnia and in pa.rt a. result of the intra.thoracic
                      pressure changes a.ssociated with the over-ventilation. Such a reduction
                      of the blood content of the calf would have tended to increase the venous
                      desaturation produced by the arterial hypoxaemia.
                         During the period of over-ventilation with nitrogen, the oxygen tension
                      of the arterial blood was reduced to 20-30 mm Hg below that of the venous
                      blood normally flowing from the regions studied. Thus the oxygen tension
                      of the arterial blood during this period was lower than the mean ca.piJla.ry
                      oxygen tension (Barcroft, 1938) which existed before nitrogen breathing
                      was commenced. Furthermore, during the period of profound hypoxaemia
                      the oxygen tension of the blood flowing from the regions under investiga-
                      tion was greater than that of the arterial blood perfusing them. Although
                      the oxygen content of the blood leaving the tissue capillaries was probably
                      raised by admixture with the blood a]ready present in thevenules and veins
                      of the part, it is apparent that during the period of severe hypoxaemia. the
                      oxygen tension of the capillary blood was markedly reduced. Thus the
                      diffusion of oxygen into the various tissues from the blood flowing through



                                                                                 Exhibit 22 Page 78
    Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 486 of 534




                   BRIEF PROFOUND HYPOXIA                                 309
them was severely reduced by the period of hypoxia. Indeed, in some
areas, especiaJly those with a relatively high capillary blood flow, the
capillary oxygen tension may have been reduced below that of the sur-
rounding tissues, so that oxygen actuaJly diffused into the blood as it
flowed through them. Thus direct measurements of the oxygen tension of
the grey matter of the cerebral cortex in animals breathing air have given
values of the order of 18--25 mm Hg (Cater, Garattini, Marina & Silver,
1962), whiJst in the present experiments the arterial oxygen tension was
reduced to about 17 mm Hg. The effect of a given reduction of the rate at
which oxygen diffuses into a tissue upon the ceJlular oxygen tension will
depend upon the relation between the ceJlular oxygen consumption and
the extravascular oxygen store. There is considerable evidence that the
ceJlular oxidative enzyme systems wi11 continue to function normaJly
until the local oxygen tension is reduced to below 5 mm Hg (Kei1in, 1930).
Thus the cellula.r metaboJic oxygen uptakewiJl probablyremain unchanged
until severe hypoxia is induced. In the brain, where the only extravascular
oxygen store is oxygen dissolved in tissue fl.uid, and the metaboJic oxygen
uptake is high, sudden arterial hypoxaemia wiJl produce a very rapid fall of
the cellular oxygen tension.
   In the present series of experiments it was found that unconsciousness
ensued if over-ventilation with nitrogen was continued for longer than 17
sec. A more rapid fall of arterial oxygen tension can be produced by
sudden reduction of the environmental pressure to below 140 mm Hg
whilst air is breathed. Thus in one series of experiments in which the
arterial oxygen tension was reduced to below 20 mm Hg in about 1 sec,
unconsciousness ensued 8 sec after the induction of arterial hypoxaemia
(Ernsting et al. 1960). The delay between a sudden occlusion of the cerebral
circulation and loss of consciousness in man also amounts to between 7 and
8 sec (Rossen, Kabat & Anderson, 1943). Thus the time which elapses
between a sudden reduction of the arterial oxygen tension to below 20 mm
Hg and the onset of unconsciousness is very similar to the interval which
occurs between sudden occlusion of the cerebral circulation and loss of
consciousness. Kety (1950) has calculated that at any one moment the
total oxygen content of the brain and of the cerebral capilJary blood is
about 7 ml. Thus at the normal level of cerebral oxygen consumption the
oxygen tension of the brain foJlowing cessation of the supply of this sub·
stance would be reduced to zero in about 8 sec. These results suggest that
when unconsciousness supervenes following the sudden induction of severe
 cerebral hypoxia the ceJlular oxygen tension in many regions of the brain
wiJl be vir~uaJly zero. This conclusion is in close agreement with the results
of ca.lculations made by Thews (1962) with respect. to hypoxia of slow
onset. His calculations suggest that when the arterial oxygen tension is




                                                                                 Exhibit 22 Page 79
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 487 of 534




·'




                    310                                J. HRNSTING
                    reduced to the level which produces unconsciousness, the oxygen tension of
                    the neurones which a.re furthest from their vascular supply will be of the
                    order of 2-4 mm Hg.
                                                            SUMMARY
                      I. Brief profound hypoxia. was induced by voluntary over-ventilation
                    whilst breathing nitrogen. Unconsciousness ensued when this procedure
                    was performed for longer tha.n r6 sec. Voluntary over-ventilation with
                    nitrogen for 16 sec reduced the end-tidal oxygen tension to below I 0 mm Hg
                    for 8 sec.
                       2. Continuous recordings were ma.de of the systemic arterial oxygen
                    saturation and pH during 16 sec of nitrogen over-ventilation. The cal-
                    culated minimal arterial oxygen tension was 16 mm Hg. There was there-
                    fore a reversal of the normal a.lveole.r-a.rteria.l oxygen tension difference.
                       3. The oxygen saturation and pH of venous blood fl.owing through the
                    jugular bulb, the femoral vein and the pulmonary artery were recorded
                    continuously. The oxygen tension of the jugular blood exhibited the most
                    rapid and most profound reduction when nitrogen was breathed. The
                    femoral-vein oxygen tension exhibited only a very transient and slight fa.11,
                    whilst the oxygen tension of the blood flowing through the pu]mona.ry
                    artery exhibited a moderate fall.
                      The author wishes to thank the Director General Medical Services, Royal Air Force, for
                    permission to submit this paper for publication.

                                                           REFERENCES
                    Bacao:rr, J. (1938). Architedure of Physiological Function, 2nd ed. p. 244. London:
                      Cambridge University Pr8118.
                    C&TEB, D. B., G.uu:rrINI, S., M.uaN.&., F. & Srr.vxa, L A. (1962). Changes of oxygen tension
                      in brain and somatic tiaauee induced by ve.eodilator and vaaoconstrictor drl2p. Proc.
                      Roy. Soc. B, 155, 136-157.
                    Cmu:sTIAUSEN, J., DouGL.&.S, C. G. & HALDANE, J. S. (1914). The absorption and dissocia.
                      tion of carbon dioxide by human blood. J. Physiol. 48, 244-271.
                    DILL, D. B. (1944). Oxygen dissociationcurveeforhuman bloodat37° C. In BBONX, D. W.
                      Handbook of Rupiratory Data in Atliation. W aehington: Committee on Medical Research.
                    DB.ADKIN, D. L. (1950). The distribution of the chromoproteins, haemoglobin, myoglobin
                      and cytochrome in the tieeuee of different species, and the relationship of the total content
                      of each chromoprotein to body mass. J. biol. Chem. 182, 317-333.
                    Ec1tsTEIN, J. w., lUKILToN, W. K. & McCAMMON», J.M. (1958). Preeeure·volume
                      changes in the forearm veins of man during hyperventilation. J. clin. Invut. 37, 956-961.
                    EBNSTING, J. (1962). Some effects of brief profound anoxia upon the central nervous
                      system. In Mc!b:NEMEY, W. H. and SclllDJ:, J.P., Selective VUlnerabilily of tluBrainin
                       Hypozaemia. Oxford: Blackwell.
                    EmrsTING, J., GBDYE 1 J. L. & McHilmY,. J. R. (1960). Anoxia subsequent to rapid
                      decompression. Flying Per11onml Reaearch OommiUu Report, No. 1141. London: Air
                      Ministry.
                    ERNSTING, J. & McHilnY, G. J. R. (1960). Brief ano:icia following rapid decompression
                       from 560 to 150 mm Hg. J. Phyaiol. 153, 73P.
                    ERNSTING, J. & McHA:BDY, G. J. R. (1963). The oxygen saturation and pH of the arterial
                       blood during brief profound anoxia induced by rapid decompreaaion from 560 to 140 mm
                       Hg. In CCINNINGJUM, D. J. C. and LLOYD, B. B., The Regulmkm of Human Rupiration.
                       Oxford: Blackwell




                                                                                          Exhibit 22 Page 80
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 488 of 534




                        BRIEF PROFOUND HYPOXIA                                             311
 FoWLEB, K. T. & HUGH-JONES, P. (1957). MBBS spectrometry applied to clinical practice
   and research. Brit. med. J. i, 1205-1211.
 Hl:r.L, R. (1936). Oxygen dissociation curves of muscle haemoglobin. Proc. Roy. Soc. B,
   130, 472-483.
 KEILIN, D. (1939). Cytochrome and intra-cellular o::lide.ae. Proc. Roy. Soc. B, 106, 418-444.
 KETY, S. S. (1950). Circulation and mete.bolimi of the hwna.n bra.in in health and disease.
    Amer. J. Med. 8, 205-217.
 KETY, S. S. & Scmm>T, C. F. (1948). The effects of altered arterial tensions of carbon
    dio:ride and oxygen on cerebral blood fiow and cerebral oxygen consumption of normal
    young men. J. clin. In11ue. 27, 484-492.
 LILIENTHAL, J. L., RILEY, R. L., PBOEMKEL, D. D. & Fli.AmcE, R. E. (1946). An experi-
    mental e.ne.lyaia in man of the oxygen preeaure gradient from alveolar air to arterial blood
    during rest and exercise at see. level and at altitude. Amer. J. Phyaiol. 147, 199-216.
 Lu.FT, U. C., CLA:au.NN, H. G. & ADI.EB, H. F. (1949). Alveole.rge.aea in re.piddecompreeaiona
    to high altitudes. J. appl. Phyaiol. 2, 37--48.
 RAHN, H. (1963). Leeaona from breath Holding. In Cmm!NGHAK, D. J.C. and LLOYD, B. B.
    The R~ion of human reapiration. Oxford: Blackwell.
 ROSSEN, R., KABAT, H. & ANDERSON, J.P. (1943). Acut.e arrest of the cerebral circulation
    in man. Arch. Neural. Paychiat., Chicago, 50, 510-528.
 ROUGHTON, F. J. W. (1945). The average time spent by the blood in the human lung
    capillary and its relation to the rate of CO uptake and elimination in man. Amer. J.
' Phyriol. 143, 621-633.
 ROUGHTON, F. J. w. & FoBSTEB, R. E. (1957). Relative importance of diffusion and
    chemical reaction re.tea in determining rate of exchange of gases in the human lung, with
    special reference to trae dllfuaing cape.city of pulmonary membrane and volume of blood
    in the lung capillaries. J. appl. PhyaiDl. 11, 290-302.
 SHEJ1.wooD.JoNES, E., ROBINSON, J. S. & Coou:, w. H. (1960). A device for the con-
    tinuous measurement and recording of intre.ve.acule.r pH. Lanut, 278, 1329.
 THEWS, G. (1962). Implications of the physiology and pathology of oxygen diffusion at the
    capillary level. In Mc'MENEKEY, W. H. & SCHADE, J.P. Seleai11e Vulnerability oft~
    Brain in Hypo:taemia. Oxford: Blackwell.
 WHITNEY, R. J. (1953). The mee.aurement of volume changes in human limbs. J. Phyaiol.
     121, 1-27.




                                                                                                   Exhibit 22 Page 81
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 489 of 534




      J. clitL Path., 30, Suppl. (Roy. Coll. Path.), 11, 170-180



       Pathology of hypoxic brain damage in man
       D. I. GRAHAM
       From the University Department of Neuropathology, Institute of Neurological Sciences, Southern General
                                                                      1
       Hospital, Glasgow


       The energy requirements of the brain demand                 until the CPP falls to less than 25 mm Hg (Brierley
       amongst other things adequate supplies of oxygen            et al, 1969).
       and glucose. These are provided by the functions of           The energy state of the brain may also be severely
       respiration and circulation. Neurons are particularly       reduced in the presence of normal supplies of oxygen
       susceptible to hypoxia since they have an obligative,       and glucose by substances which poison the oxi-
       aerobic, glycolytic metabolism. The adult brain             dative enzymes of nerve cells. These considerations
       receives about 15 per cent of the cardiac output, or        form the basis of the various categories of brain
       as expressed in terms of blood flow, about 45 ml/           hypoxia (Brierley, 1976; Adams, 1976).
       100 g/minute in the adult and about twice as much
       in children (Mcilwain, 1966). The respiratory               Categories of brain hypoxia
       quotient of the brain is almost unity and glucose is
       the principal source of energy by oxygenation. If the       1 STAGNANT
       supply of oxygen or glucose is reduced below a              (a) Ischaemic is due to local or generalized arrest of
       critical level consciousness is lost after a few seconds    blood supply; (b) oligaemic is due to local or
       and irreversible brain damage may occur if the              generalized reduction in blood supply.
       'hypoxia' is more prolonged.
                                                                   2 ANOXIC AND HYPOXIC
       Physiology                                                  (a) Anoxic, an absence of oxygen in the lungs which
                                                                   leads to tissue anoxia; (b) hypoxic, a reduced oxygen
       The supply of oxygen to the brain depends on the            tension in the lungs which leads to tissue hypoxia.
       cerebral blood flow (CBF) and the oxygen content
       of the blood. Cerebral blood flow in turn depends            3 ANAEMIC
       on the cerebral perfusion pressure (CPP) which is            Anaemic is where there is insufficient haemoglobin
       defined as the difference between the mean systemic          in the blood to carry the oxygen in chemical com-
       arterial pressure (SAP) and the cerebral venous              bination.
       blood pressure. Blood flow to the brain shows a
       remarkable capacity for remaining constant, only             4 HISTOTOXIC
       hypercapnia, hypoxia and extreme hypotension                 Histotoxicis due to poisoning ofneuronal respiratory
       affecting it to any marked extent. The preservation          enzymes.
       of CBF in response to changes in arterial blood
       pressure is brought about by autoregulation which            5   HYPOGLYCAEMIC
       can be defined as the 'maintenance of a relatively           Hypoglycaemic is due to a deficiency of the substrate
       constant blood flow in the face of changes in perfu-         glucose.
       sion pressure' (Harper, 1972). The mechanism of this
       autoregulation is still uncertain but it appears to be       6   FEBRILE CONVULSIONS A ND ST A TUS
       lost or at least severely impaired in a wide range of            EPILEPTICUS
       acute conditions producing brain damage (Bruce et
       al, 1973; Harper et al, 1975). Thus there are many           Hypoxic brain damage
       situations in which cerebral autoregulation may be
        impaired before an episode of hypoxia. The level of         Hypoxic brain damage may occur in any situation
        CPP at which brain damage is produced is not                 where there is an inadequate supply of oxygen or
        known in man but in the presence of normal auto-             glucose to nerve cells. It is therefore a potential
        regulation the critical level of SAP is about 50 mm          hazard to any patient subjected to general anaes-
        Hg (Harper, 1972). In primates with a normal PaOz,           thesia, a severe episode of hypotension, cardiac
        it would appear that brain damage does not occur             arrest, status epilepticus, carbon monoxide or
                                                                  170


                                                                                         Exhibit 22 Page 82
           Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 490 of 534




Pathology of hypoxic brain damage in man                                                                             171

barbiturate intoxication and hypoglycaemic coma.
The eventual degree of clinical recovery will be
determined by whether or not satisfactory resuscita-
tion can be achieved before permanent brain damage
ensues. Crises of this kind are not uncommon in
clinical practice but the central question as to 'what
duration of anoxia or ischaemia defines the watershed
between recovery of the tissue and extensive perma-
nent injury?' has not bten critically defined in man
(Plum, 1973). Reasons for this include the lack of
precise physiological data about a patient's cardio-
vascular and respiratory status at the time of a crisis
since the immediate priority is resuscitation, and the
inadequate neuropathological examination of the
brains from fatal cases.
   Postmortem examination of patients with severe
hypoxic brain damage is usually carried out under           Fig 1 Coronal section of brain from patient who
warrant by the forensic pathologist who often feels         survived 48 hours after cardiac arrest. There are no
obliged to slice the unfixed brain in the mortuary.         macroscopic abnormalities.
Under these conditions it is impossible to recognize
recent hypoxic brain damage up to and including
frank cerebral infarction even when subsequent
histological examination shows severe and extensive
neuronal necrosis. When the brain has been properly
dissected after adequate fixation (up to three weeks'
immersion in buffered 10 per cent formol saline)
an infarct of about 18 to 24 hours' duration may just
be recognizable but even an experienced neuro-
pathologist may fail to identify extensive diffuse
hypoxic brain damage if it is less than some three to
four days' duration (figs 1 and 2). The extent and
severity of hypoxic brain damage can be identified
 and its distribution analysed only by the micro-
scopical examination of many large, bilateral and
 representative sections of the brain.! It is, however,
 often possible to establish that a patient has suffered    Fig 2 Same patient as in figure I. N Ole subtotal
 hypoxic brain damage on the basis of a more                ('laminar') necrosis of the third, fifth and sixth cortical
 restricted histological examination provided that the      layers with relative sparing of the second and fourth
 pathologist knows that certain parts of the brain are      layers (darker staining). Cresyl violet. x 4.
 selectively vulnerable and is familiar with the cyto-
 logical and histological appearances of ischaemic
 nerve cell change.                                         fusion-fixed material is microvacuolation (Brown
    The identification of ischaemic cell change is          and Brierley, 1966; Brierley et al, 1971a and b;
 made difficult in the human brain because of the           Meldrum and Brierley, 1973). This rather subtle
 frequent occurrence of histological artefact. The          histological change is difficult to identify in human
 commonest artefacts are 'dark cells', 'hydropic cells'     material so that perhaps the earliest incontrovertible
 and 'perineuronal and perivascular spaces' (Cammer-        evidence in man of hypoxic brain damage is the
 meyer, 1961). They are due partly to postmortem            second stage, ie, ischaemic cell change. The cell
 handling and to the slow penetration of fixative.          body and nucleus are shrunken and become tri-
  Studies in experimental primates and in selected          angular in shape. The cytoplasm, which usually still
  human material ha veshown that there is an identifiable   contains microvacuoles, stains intensely with eosin
  process, namely ischaemic cell change, which is the       and from bright blue to dark mauve with the very
  neuropathological common denominator in all types          useful Luxol fast blue/cresyl violet technique (Adams
  of hypoxia.                                                and Miller, 1970); the nucleus stains intensely with
    The earliest histological stage of recent hypoxic        basic aniline dyes. The succeeding stage of ischaemic
  neuronal damage in experiQ1ental animals in per-           cell change with incrustations is characterized by


                                                                                                                 Exhibit 22 Page 83
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 491 of 534




       172                                                                                                  D. /.Graham




       ~3                                                         ~4
       Fig 3 Bottom: normal cortex.Hand E x 500. Top: Jschaemic cell chanze. The nerve cells are small and
       trianzular and contain hyperchromatic nuclei (arrows). The cytoplasm is intensely eosinophilic. There is also some
       disintegration of the neuropil. Hand E x 500. Top inset: Jschaemic cell change with incrustations. Note the granules
       on the surface of the cell. Hand E x 500.
       Fig 4 Homogenizing cell change. Note the Purkinje cells with swollen homogeneous cytoplasm and hyperchromatic
       nuclei (arrows). Cresyl violet. x 500.




       further shrinkage of the nerve cell cytoplasm and the      changes become more intense, including the forma-
       development of small, relatively dense granules lying      tion of lipid phagocytes, even though the latter may
       on or close to the surface of the nerve cell (fig 3).      not appear if damage is restricted to neuronal
       Finally the neuron undergoes homogenizing cell             necrosis. When survival is for more than a week or
       change when the cytoplasm becomes progressively            so the damaged tissue becomes rarefied due to loss
       paler and homogeneous and the nucleus smaller.             of myelin and there is a reactive gliosis. Collagen
       This type of change is most commonly seen in the           and reticulin fibres are also laid own, the whole
       Purkinje cells (fig 4) of the cerebellum. The time         appearing as a glio-mesodermal reaction.
       course of ischaemic cell change is relatively constant        The differing susceptibility ofnervecells to hypoxia
       for neurons according to their size and site so that       has been known for many years. According to Jacob
       the interval between a hypoxic episode and death if        (1963), 'in general the nerve cells are the most
       between two and 18 to 24 hours can be assessed with        sensitive followed by oligodendroglia and astrocytes
       reasonable accuracy. If the patient survives for more      while the microglia and the cellular elements of the
       than 24 to 36 hours more advanced changes occur in         vessels are the least vulnerable'. Recent work
       neurons, and early reactive changes appear in              suggests that local metabolic rather than vascular
       astrocytes, microglia and endothelial cells. After a       factors largely determine the pattern of selective
       few days the dead nerve cells disappear and reactive        vulnerability (Brierley, 1976).


                                                                                          Exhibit 22 Page 84
            Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 492 of 534




Pathology of hypoxic brain damage in man                                                                            173
                                                               1 STAGNANT HYPOXIC BRAIN DAMAGE
                                                               This is divided into two main types, viz, ischaemic
                                                               and oligaemic.

                                                               Ischaemic
                                                               If the blood flow through an artery is arrested, eg
                                                               by thrombus or an embolus, an infarct will develop
                                                               within part or the whole of the distribution of the
                                                               occluded vessel. The earliest macroscopic change is
                                                               swelling of the infarct and its edges may be just
                                                               discernible in the fixed brain within 12 to 18 hours.
                                                               The lesion may be 'haemorrhagic' or 'anaemic'
                                                               (fig S) and at an early stage there is irregular,
                                                               blotchy pallor of the affected cortex (fig 6). A sharp


Fig S Coronal section of brain from patient who
survived three days after sudden stroke. There is a large
recent swollen illfarct in territories of left middle and
anterior cerebral arteries. Part of the infarct is 'anaemic'
and part is 'haemorrhagic'. Note the asymmetry of the
lateral ventricles, the displacement of the midline
structures to the right, the supracal/osal hernia to the
right (black arrow) and deep groovi11g (white arrows)
along the line of bilateral tentorial herniae.




                                                               Fig 7 Recent infarction in white mailer. There is a
                                                               sharply defined border between the abnormal (pale) and
                                                               normal white mailer. Hand E x 40.

                                                               and often very irregular line of demarcation between
                                                               normal and abnormal myelin also appears early, the
                                                               abnormal myelin staining palely (fig 7). A large
                                                               infarct may swell sufficiently to constitute a space-
                                                               occupying mass within 24 to 48 hours (Adams, 1966)
                                                               resulting in tentorial herniation with secondary
                                                               distortion of the mid-brain and infarction in the
                                                               medial occipital (calcarine) cortex. The necrotic
                                                               tissue is ultimately removed and replaced by a
                                                               rather shrunken and cystic gliomesodermal scar.
                                                                  A generalized arrest of blood flow to the brain is
                                                               most commonly the result of cardiac arrest. This is
                                                               usually a complication of some surgical procedure
                                                               under general anaesthesia. Milstein (1956) estimated
Fig 6 Recent infarction in cerebral cortex. There is            that about 300 deaths in the United Kingdom were
irregular pallor (infarction) of staining of the affected      caused by cardiac arrest related to surgery but by
areas. Hand E x 15·6.                                           1970 the number of such deaths had dropped to 100




                                                                                                               Exhibit 22 Page 85
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 493 of 534




      174                                                                                               D. I. Graham




      Fig Ba Normal right Amman's horn to compare with         Fig Sb Right Amman's horn. Necrosis in the Sommer
      figure Bb.                                               sector is seen macroscopically.




      Fig 9a Normal right Amman's horn. To compare with        Fig 9b Right Ammon's horn showing recent selective
      figure 9b. T~ arrows delineate the Sommer sector.        neuronal necrosis of Sommer sector (between arrows)
       Cresyl violet. x 9.                                     and in endfolium. Cresyl violet. x s:i.


      per annum in England and Wales (Wylie, 1975), the the brain, apart from a variable degree of swelling,
      difference in mortality being attributed to better may appear normal externally and on section even
      methods of resuscitation.                                . after adequate fixation. Within 36 to 48 hours it is
         If cardiac arrest is of abrupt onset and occurs in sometimes possible to identify laminar or patchy
      a patient at normal body temperature, complete discolouration in the depths of sulci, particularly in
      clinical recovery is unlikely if the period of arrest is the posterior halves of the brain and selective necrosis
      more than five to seven minutes (Brierley, 1972). A in the Sommer sector of the Ammon's horn (fig Ba
      short period of cardiac arrest combined with periods and b). Microscopy reveals diffuse neuronal necrosis
      of reduced cerebral perfusion pressure before or after with a characteristic pattern of selective vulnerability.
      the arrest may be as important as the duration of Ischaemic damage is commonly greater within sulci
      complete arrest (Miller and Myers, 1972) and may than at the crests of gyri and is maximal in the third,
      lead to accentuation of the ischaemic damage in the fifth and sixth layers of the parietal and occipital
      arterial boundary zones (Brierley, 1976).                  lobes (fig 2). In the Ammon's horn the Sommer
         If death occurs within 24 to 36 hours of the arrest, sector and endfolium are the most vulnerable (fig 9a



                                                                                         Exhibit 22 Page 86
            Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 494 of 534




Pathology of hypoxic brain damage in man                                                                          175
and b). These changes arc sometimes associated with          cortical necrosis is severe and survival is for only a
necrosis of the base-lateral portion of the amyg-            few weeks the thalami may appear grossly normal.
daloid nucleus. The pattern of damage in the basal           Eventually evidence of retrograde degeneration will
ganglia is less constant and tends to be most frequent       be seen in the corresponding thalamic association
in the outer halves of the head and body of the              nuclei (fig l 0).
caudatcnuclcus, and in the outer halfofthc putamcn.
Damage in the globus pallidus may occur in all               Oligaemic
types of hypoxia but is especially common in carbon          Because of autorcgulation a moderate fall in cerebral
monoxide intoxication. Primary hypoxic damage in             perfusion pressure does not lead to a reduction in
the thalamus is most common in the anterior, dorso-          cerebral blood flow. However, when vasodilatation
medial and ventro-lateral nuclei. In the cerebellum          is maximal, autoregulation ceases and the cerebral
there is characteristically diffuse necrosis of Purkinje     blood ftow will fall parallel to the perfusion pressure.
cells. Damage to the brain stem nuclei tends to be           Oligaemic brain damage due to systemic arterial
more severe in infants and young children than in            hypotension confonns to one of three patterns
adults.                                                      (Adams et al, 1966), of which the first two types are
   Patients with severe diffuse brain damage due to          the most common.
cardiac arrest rarely survive for more than a few               l Ischaemic damage is concentrated along the
days (Bell and Hodgson, 1974) but occasionally               boundary zones between the arterial territories of the
they may remain alive in a persistent vegetative             cerebral cortex and in the cerebellum (fig 11). If the
state for up to six months or longer (Brierley et al,        lesions are large and of several days' duration they
1971; Jennett and Plum, 1972). With increasing               can be recognized macroscopically provided that the
survival, the necrotic tissue is replaced by a glio-         brain is cut in the coronal plane (fig 12a). They vary
mcsodermal scar. When this occurs there may be an            in size from foci of necrosis in the cortex to large,
appreciable reduction in the weight of the brain and         wedge-shaped lesions extending from the cortex
evidence of atrophy of both the cortical gyri and            almost to the angle of the lateral ventricle. In the
cerebellar folia. In coronal slices ventricular enlarge-     cortex, damage is most frequent and most severe in
ment may be considerable. Whereas the cortex of
the parietal and occipital lobes will be reduced to a
thin band of discoloured tissue, often with a line of
cleavage between it and the underlying white matter,
 that .of the frontal and temporal lobes may appear
 essentially normal. While the parahippocampal gyri
 are usually normal, the hippocampi may show the
 features of Amman's horn sclerosis. Even when




                                                              Fig 11 Diagram to show arterial boundary zones in
                                                              cerebral and cerebellar hemispheres. The right cerebral
 Fig 10 Coronal section of brain from patient who             hemisphere is shown at three levels, viz, I =frontal,
 survived for four years in a persistent vegetative state     2 = mid-temporal and 3 = occipital. Each boundary
 after cardiac arrest. The cortex is greatly narrowed and     zone is stippled. ACA = anterior cerebral artery,
 there is gross essentially symmetrical enlargemtnt of the    MCA = middle cerebral artery, PCA = posterior
 ventricles. The Amman's horns and the thalami are also       cerebral artery, SCA = superior cerebellar artery and
 small.                                                       PICA =posterior inferior cerebellar artery. ·



                                                                                                               Exhibit 22 Page 87
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 495 of 534




       176                                                                                                   D. I. Graham
                                                                 Fig 12a Coronal section of brain from patient who
                                                                 sunivedfor 11 days after a myocardial infarct. Note
                                                                 focally haemorrhagic infrr.cts (arrows) in the boundary
                                                                 zones between the anterior and middle cerebral
                                                                 arterial territories, and between the middle and posterior
                                                                 cerebral arterial territories. Compare distn"bution of
                                                                 lesions with.figure 11.
                                                                 Fig 12b Same case as illustrated in figure 12a. Slices
                                                                 of cerebellar hemispheres to show duskily
                                                                 haemorrhagic infarcts at darsal t1J18le of each
                                                                 hemz"sphere, ie, in the boundary zones between the
                                                                 superior and posterior infen'or cerebellar arterial
                                                                 territories. Compare withjigure 11.



      Fig 12a




       Fig 12b

       the parieto-occipital regions, ie, in the common          putamen, The Ammon's horn and brain stem are
       boundary zone between the territories of the anterior,    usually not involved. While infarction in the cortical
       middle and posterior cerebral arteries: it decreases      boundary zones may occur in the absence of ischae-
       towards the frontal pole along the intraparietal and      mic lesions in the basal ganglia and cerebellum the
       the superior frontal sulci, ie, between the anterior      converse is not common.
        and middle cerebral arterial territories, and towards      On the basis of clinical evidence (Adams et al,
        the temporal pole along the inferior temporal gyrus,     1966; Adams, 1974) and experimental studies on
        ie, between the middle and posterior cerebral arterial   primates (Brierley et al, 1969) this type of brain
        territories. The lesions are usually asymmetrical and    damage appears to be caused by a major and abrupt
        may be unilateral, the pattern of ischaemic damage       episode of hypotension followed by a rapid return
        often being determined by atheroma and variations        to a normal blood pressure. It is often seen after a
        in the calibre of the vessels forming the circle of      conscious patient has collapsedas aresult of asudden
        Willis. lo the cerebellum the boundary zone between      reduction in cardiac output, viz, due to ischaemic
        the territories of the superior and posterior inferior   heart disease, and it may occur in the anaesthetized
        cerebellar arteries lies just beneath the dorsal angle   subject during dental or neurosurgical procedures,
        of each hemisphere (fig 12b). There is variable          particularly in the sitting position (Brierley, 1970).
        involvement of the basal ganglia particularly in the     More recently it has been described following the use
        head of the caudate nucleus and the upper part of the    of methylmethacrylic bone cement (Adams et al,


                                                                                           Exhibit 22 Page 88
            Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 496 of 534




Pathology of hypoxic brain damage in man                                                                           177
1972), in patients undergoing emergency treatment
with antihypertensive agents (Graham, 1975) and in
patients dying from blunt head injury (Graham eta/,
1975). Because of the precipitate decrease in arterial
pressure there is a transient failure of autoregulation
and a severe reduction in CBF in the regions most
removed from the parent arterial stems, ie, the
boundary zones.
   2 Ischaemic damage is generalized in the cortex
of the cerebrum and cerebellum, is minor or absent
in the hippocampi and is often severe in the thalami.
The number of reported cases is small (Brierley and
Cooper, 1962; Adams et al, 1966) but it would seem
that this type of damage appears to be associated
with hypotension of a relatively slow onset but of
long duration.
   3 Ischaemic damage is generalized in the cortex        Fig 13 Carbon monoxide poisoni11g. There is
of the cerebrum and cerebellum but with variable          infarction of the superior pole of the g/obus pal/idus
accentuation along the arterial boundary zones. The       (arrow). Celloidin section-myelin stain. x 1·6.
hippocampi are usually spared and there is patchy
damage in the basal ganglia. This type of damage
appears to be associated with the abrupt onset of         and psychiatric symptoms that can be regarded as the
hypotension which is responsible for the accentuation     specific consequences of such poisoning since similar
of damage within the boundary zones followed by a         symptoms and signs may be encountered after
sustained period of less severe hypotension which         cardiac arrest, hypoglycaemia, etc.
causes the diffuse damage.                                   When death occurs within a few hours after
                                                          poisoning, the organs display the pink/red colour
2 ANOXIC AND HYPOXIC BRAIN DAMAGE                         characteristic of carboxyhaemoglobin. When sur-
These terms imply that the blood leaving the lungs is     vival is for 36 to 48 hours, the brain shows evidence
either devoid of or has a greatly reduced oxygen          of congestion, and petechiae are frequently seen in
content. Hypoxaemia of this severity will occur if        the white matter and the corpus callosum. Although
there is obstruction of the air passages, after the       there is a particular predilection for infarction of the
inhalation of inert gases and in aviation accidents       globus pallidus in carbon monoxide poisoning (fig
producing decompression. Even though it is still          13), there is also neuronal necrosis in other selectively
widely believed that brain damage can result from a       vulnerable regions such as the Ammon's hom and
simple reduction in the oxygen content of arterial        the cerebral and cerebellar cortex.
blood, there is a lack of critical physiological data        Changes in the white matter are a common and
about cases purporting to show a correlation between      often conspicuous neuropathological consequence
neurological dysfunction and brain damage ascribed        of carbon monoxide poisoning. Damage to white:
to the hypoxaemia. Indeed there is good experi-           matter tends to occur, particularly in patients who
mental evidence in Rhesus monkeys and in baboons          develop delayed signs of intoxication after a period
(Brierley, 1972) that the severity of the hypoxia         ofrelative normality following acute poisoning.
required to produce brain damage also produces               Recent experimental work in the Rhesus monkey
myocardial depression and a reduction in cardiac          (Ginsberg et al, 1974) has underlined the importance
output. Thus, Brierley concluded that hypoxic             of systemic circulatory factors in the production of
hypoxia can produce brain damage only through the          brain damage, the concentration of damage in the
 medium of a secondary depression of the myo-             white matter possibly being due to a combination of
cardium, the pattern of damage being similar to that      a toxic effect of carbon monoxide together with a
of oligaemic hypoxic brain damage as described            moderate reduction in blood flow and perhaps an
above.                                                    additional acidosis.

3 ANAEMIC BRAIN DAMAGE                                    4 HISTOTOXIC BRAIN DAMAGE
This occurs classically in carbon monoxide poison-        The histotoxic effects of the cyanide ion and sodium
ing. The neurological complications of carbon             a:1ide are due to the inhibition of cytochrome oxidase.
monoxide poisoning are many (Garland and Pearce,          In acute intoxication death ensues rapidly from
1967) but there is not a combination of neurological      respiratory failure. In such cases the brain shows



                                                                                                               Exhibit 22 Page 89
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 497 of 534




        178                                                                                                   D. I. Graham

       hyperaemia and multiple petechial haemorrhages. In
       longer surviving cases necrosis has been identified
       in the lentiform nucleus and in the cortex of the
       cerebrum and cerebellum (Brierley, 1976). Experi-
       mental studies have now shown that brain damage
       produced by either cyanide (Brierley, 1975) or azide
       (Mettler and Sax, 1972) cannot be attributed to
       histotoxic hypoxia alone but results from their
       secondary effects on respiration and circulation.
       5 HYPOGLYCAEMIC         BRAIN DAMAGE       J
       Hypoglycaemia in man may lead to permanent
       brain damage. It may be due to an excess of insulin
       given either for the treatment of diabetes mellitus
       or psychosis and in rare instances of islet cell tumour
       of the pancreas and in examples of idiopathic
       hypoglycaemia in infants (Brierley, 1976).
          In cases of short survival the brain may appear         Fig 14 Status epilepticus. Celloidin section of right
       normal. There may be atrophy of the cortex and             temporal lobe from a child who died in coma five days
       hippocampi and enlargement of the ventricular              after a series of convulsions. Note widespread neuronal
       system in cases surviving for a number of weeks.           necrosis in cortex and Ammon's horn. There is also
       Microscopy shows that the brain damage is very             some nerve cell loss in the thalamus. Cresyl violet.
                                                                  x 1·8.
       similar in type and distribution to that seen in
       ischaemic hypoxic brain damage, ie, nerve cell loss
       and a glio-mesodermal reaction in the striatum, the
       cortex and the hippocampus, except that there is           sive episode lasting over an hour with6ut an interve-
       often relative sparing of the Purkinje cells in the        ning period of consciousness (Corsellisand Meldrum,
       cerebellum.                                                1976). It has long been recognized as a serious danger
          Studies of hypoglycaemia in experimental animals        to life at any age but it offers a special threat in
       have shown that ischaemic cell change is the principal     childhood. The basic neuropathology is that of
       neuropathological consequence of uncomplicated             severe and diffuse ischaemic damage of stagnant
       hypoglycaemia (Meldrum et al, 1971; Brierley et al,        hypoxic type in which there is widespread necrosis
       1971a and b) and in longer surviving animals there is      of the cortex, Ammon's horn, basal ganglia,
       nerve cell loss and a variable glio-mesodermal             thalamus, cerebellum and parts of the brain stem
       reaction in the striatum, the cerebral cortex and the      (fig 14). Thus status epilepticus, particularly in
       hippocampus (Kahn and Myers, 1971). These                  children, constitutes a medical emergency. Fortu-
        experiments show that the blood glucose level must        nately many patients make an uneventful recovery
       fall to about 1 mmol/I (20 mg/100 ml) if uncompli-          but some have a permanent intellectual or neuro-
       cated hypoglycaemia is to produce brain damage              logical deficit caused by hypoxic brain damage.
        though a higher level of blood sugar may produ~              Experimental studies in subhuman primate
        similar damage if complicated by some hypotension,         (Meldrum and Horton, 1973; Meldrum and
        hypoxaemia or epileptic activity. It is therefore quite    Brierley, 1973; Meldrum eta/, 1973)haveemphasized
        possible that if a patient has been in hypoglycaemic       that several factors may contribute to the brain
        coma for some time, both oligaemic and hypoxic             damage, eg, arterial hypotension and hyperpyrexia.
        factors may have contributed to the brain damage.          Evidence of an impaired neuronal energy metabolism
           A different type of neuropathological change has        was also found due to a combination of excessive
        been described in the human infant as a consequence        neuronal activity and accumulative effects of second-
        of hypoglycaemia (Anderson et al, 1967). Neuronal          ary changes such as hypoxia, hypoglycaemia,
       changes were generalized and included chromato-             hypotension, etc.
        lysis with cytoplasmic vacuolation in some and
        fragmentation of nuclear chromatin in others. It has,     Conclusions
        however, been suggested that these appearances could
        be attributed to autolysis (Brierley, 1976).              Hypoxic brain damage may occur in diverse clinical
                                                                  situations where there is an inadequate supply of
        6FEBRILE CONVULSIONS AND STATUS                           oxygen or glucose to nerve cells. Many patients who
        EPILEPTICUS                                               experience an episode of severe hypoxia die within a
        Status epilepticus may be defined broadly as aconvul-     few hours when the pathologist will not be able to


                                                                                         Exhibit 22 Page 90
        Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 498 of 534




Pathology of hypoxic brain damage i'n man                                                                                 179

identify any macroscopic abnormalities in the brain.               Neurology, S, edited by D. Williams, pp. 164-177. Butter-
If the patient survives for more than a few hours,                  worths, London.
                                                                 Brierley, J. B. (1972). The neuropathology of brain hypoxia.
however, varying degrees of damage are easily                      In Scientific Foundations of Neurology, edited by M.
identified, particularly if the brain has been properly            Critchley, J. L. O'Leary, and B. Jennett, pp. 243-252.
dissected after adequate fixation.                                  Heinemann, London.
   The identification of early hypoxic brain damage is           Brierley, J.B. (1975). Comparison between effects of profound
                                                                   arterial hypotension, hypoxia, and cyanide on the brain of
made difficult in the human brain because of histo-                Macaca mulatta. Advances in Neurology, 10, 213-221.
logical artefact. The earliest clearly identifiable              Brierley, J. B. (1976). Cerebral hypoxia. In Greenfield's
structural damage is selective neuronal necrosis as                Neuropathology, 3rd ed., edited by W. Blackwood and
shown by ischaemic nerve cell change with incrusta-                J. A. N. Corsellis, pp. 43-86. Arnold, London.
                                                                 Brierley, J.B., Adams, J. H., Graham, D. I., and Simpson,
tion formation. If the hypoxic insult is more severe               J. A. 0971). Neocortical death after cardiac arr•t. Lancet,
then frank infarction may occur. In each instance                  2, 560·565.
the necrotic tissue is replaced by a glio-mesodermal             Brierley, J.B., Brown, A. W., Excell, B. J., and Meldrum,
reaction.                                                          B. S. (1969). Brain damage in the rhesus monkey resulting
                                                                   from profound arterial hypotension. I. Its nature, distri·
   The distribution of hypoxic damage is most easily               bution and general physiological correlat•. Brain Re:.earch,
assessed in large representative sections of the brain.            13, 68-100.
It is not usually feasible for the general pathologist           Brierley, J.B., Brown, A. W., and Meldrum, B. S. (1971a).
                                                                   The neuropathology of insulin-induced hypoglycaemia in a
to undertake a comprehensive neuropathological                     primate (M. mulatta): topography and cellular nature. In
analysis in every case of suspected hypoxic brain                  Brain Hypoxia edited by J, B. Brierley and B. S. Meldrum,
damage. Fortunately, however, it is possible to                    pp. 225-230. (Clinics in Developmental Medicine, no.
establish that a patient has experienced an episode                39/40). Spastics International Medical Publications and
                                                                   Heinemann, London.
of hypoxia sufficiently severe to produce widespread             Brierley, J. B., Brown, A. W., and Meldrum, B. S. (1971b).
hypoxic damage by the histological examination of                  The nature and time course of the neuronal alterations
bilateral small blocks from the 'selectively vulnerable            resulting from oligaemia and hypoglycaemia in the brain
areas', namely, the arterial boundary zones, the                   of Macaca mulatta. Brain Research, 25, 483·499.
                                                                 Brierley, J. B., and Cooper, J. E. (1962). Cerebral compli·
Ammon's horns, the thalamus and the cerebellum.                    cations of hypotensive anaesthesia in a healthy adult.
                                                                   Journal of Neurology, Neurosurgery and Psychiatry, 25, 24-
My thanks to Professor J. H. Adams for helpful                     30.
criticism, to Mrs Ann Gentles for typing the                     Brown, A. W., and Brierley, J.B. (1966). Evidence for early
                                                                   anoxic-ischaemic cell damage in the rat brain. Experentia
manuscript and to Mrs Margaret Murray for photo-                   (Base/), 22, 546-54 7.
graphic assistance.                                              Bruce, D. A., Langfitt, T. W., Miller, J. D., Schutz, H.,
                                                                   Vapalahti, M. P., Stanek, A., and Goldberg, H. I. (1973).
References                                                         Regional cerebral blood flow, intracranial pressure and
Adams, J. H. (1966). Echoencephalography. (Letter.)                brain metabolism in comatose patients. Journal of Neuro-
   Lancet, 1, 487-488.                                             surgery, 38, 131-144.
Adams, J. H. 0974). Ischaemic brain damage in arterial           Cammenneyer, J. (1961). The importance of avoiding 'dark'
   boundary zones in man. In Pathology of Cerebral Micro-          neurons in experimental neuropathology. Acta Neuro-
   circulation, edited by J. Cervos-Navarro, pp. 397·404. de       pathologica, 1, 245-210.
   Gruyter, Berlin.                                              Corsellis, J. A. N., and Meldrum, B. S. (1976). Epilepsy. In
Adams, J. H. (1976). The neuropathology of cerebral                Greenfield's Neuropathology, 3rd ed., edited by W. Black·
   hypoxia. In Gradwohl's Legal Medicine, 3rd ed., edited by       wood and J. A. N. Corsellis, pp. 771-795. Arnold, London.
   F. E. Camps, A. E. Robinson, and B. G. B. Lucas, pp. 337-     Garland, H., and Pearce, J. (1967). Neurological complica-
   348. Wright, Bristol.                                           tions of carbon monoxide poisoning. Quarterly Journal of
l\.dams, J. H .. Brierley, J. B., Connor, R. C. R., and Treip,     M ediclne, 36, 445-455.
   C. S. (1966). The effects of systemic hypotension upon the    Ginsberg, M. D.• Myers, R. E., and McDonagh, B. F.
   human brain. Clinical and neuropathological observations         (1974). Experimental carbon monoxide encephalopathy in
   in 11 cases. Brain, 89, 235-268.                                the primate. II. Clinical aspects, neuropathology and
Adams, J. H. Graham, D. I., Mills, E., and Sprunt, T. G.            physiologic correlation. Archives of Neurology, 30,209-216.
   (1972). Fat embolism and cerebral infarction after use of     Graham, D. I. (1975). lschaemic brain damage of cerebral
   methylmethacrylic cement. British Medical Journal, 3,           perfusion failure type aft.er treatment of severe hyper·
   740-741.                                                         tension. British Medical Journal, 4, 739.
Adams, J. H., and Miller, L. (1970). Nervous system tech-        Graham, D. I.,Adams,J. H., and Doyle, D. (1975). Ischaemic
   niques for the general pathologist. Association of Clinical      brain damage in arterial boundary zones in non-missile
   Pathologists Broadsheet, No. 73.                                 head injuries. In Blood Flow and Metabolism in the Brain:
Anderson, J. M., Milner, R. D. G., and Strich, S. J. (1967).       Proceedings of the Seventh International Symposium on
   Effects of neonatal hypoglycaemia on the nervous system:        Cerebral Blood Flow and Metabolism, Aviemore, edited by
   a pathological study.Journal a/Neurology, Neurosurgeryand      A. M. Harper, W. B. Jennett, J. D. Miller, and J. O.
   Psychiatry, 30, 295-310.        ·                               Rowan, pp. 13.29-13.30. Churchill Livingstone, Edinburgh.
Bell, J. A., and Hodll5on, H.J. F. (1974). Coma after cardiac    Harper, A. M. (197:1). Control of the cerebral circulation. In
   arrest. Brain, 97, 361-372.                                     Scientific Foundations of Neurology, edited by M. Critchley,
Brierley, J. B. (1970). Systemic hypotension-neurological         J. L. O'Leary and B. Jennett, pp. 235·243. Heinemann,
    and neuropathological aspects. In Modern Trends in             London.




                                                                                                                 Exhibit 22 Page 91
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 499 of 534




     180                                                                                                              D. I. Graham
     Harper, A. M., Jennett, W. B., Miller, J. D., and Rowan, I. 0.     Meldrum, B. S., Horton, R. W., and Brierley, J. B. (1971),
       Eds. (197S). Blood Flow and Metabolism in the Brain:               Insulin-induced hypoglycaemia int he primate: relationship
       Proceedings of the Seventh International Symposium on              between physiological changes and neuropathology. In
       Cerebral Blood Flow and Metabolism, .Aviemore. Churchill           Brain Hypoxia, edited by J. B. Brierley and B.S. Meldrum,
       Livingstone, Edinburgh.                                            pp. 207-224. (Clinics in Developmental Medicine, no.
     Jacob, H. (1963). CNS tissue and cellular pathology in               39/40). Spastics International Medical Publications and
       hypoxaemic states. In Selective Vu/nerabi'/ity of the Brain in     Heinemann, London.
       Hypoxaemia, edited by J. P. Schad#; and W. H.                    Meldrum, B. S., Vigouroux, R. A., and Brierley, I. B. (1973).
       McMenemey, pp. 153·163. Blackwell, Oxford.                         Systemic factors and epileptic brain damage . .Archives of
     Jennett, B., and Plum, F. (1972). Persistent vegetative state        Neurolocy,29, 82-87.
       after brain damage: a syndrome in search of a name.              Mettler, F. A., and Sax, D. S. (1972). Cerebellar cortical
       Lancet, I, 734-737.                                                degeneration due to acute azide poisoning. Brain, 95, SOS·
     Kahn, K. J., and Myers, R. E. (1971). Insulin-induced                Sl6.
       hypoglycaemia in the non-human prjmate. I. Clinical              Miller, I. R., and Myers, R. E. (1972). Neuropathology of
       consequences. In Brain Hypoxia, edited by I. B. Brierley           systemic circulatory arrest in adult monkeys. Neurolocy,
       and B.S. Meldrum, pp. 185-194. (Clinics in Developmental           22, 888-904.
        Medicine, no. 39/40). Spastics International Medical            Milstein, B. B. (19S6). Cardiac arrest and resuscitation.
       Publications and Heinemann, London.                                .Annals of the Royal Collece of Surceons of Enc/and, 19, 69·
     Mcilwain, H. (1966). Biochemistry and the Central Nervous            87.
       System, 3rd ed. Churchill, London.                               Plum, F. (1973). The clinical problem: how much anoxia·
     Meldrum, B. S., and Brierley, I. B. (1973). Prolonged                ischemia damages the brain? .Archives of Neurolocy, 29,
       epileptic seizures in primates: ischemic cell change and its       3S9·360.
       relation to ictal physiological events. .Archives ofNeurolocy,   Wylie, W. D. (197S). "There, but for the Grace of God •..".
       28, 10·17.                                                         .Annafr of the Royal Collece of Surceons of Enc/and, 56, 171 •
     Meldrum, B. S., and Horton, R. W. (1973). Physiology of              180.
        status epilepticus in primates. .Archives of Neurolocy, 28,
        1-9.




                                                                                                      Exhibit 22 Page 92
      Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 500 of 534




> SEE ALL MERCK MANUALS


Merck Manual > Health Care Professionals   >   Endocrine and Metabolic Disorders   >
Acid-Base Regulation and Disorders

Respiratory Acidosis
Respirato1y acidosis is prima1y increase in Pco 2 with or without compensato1y increase in HC0 3-; pH is usually low
but may be near normal. Cause is a decrease in respiratory rate, volume (hypoventi/ation), or both due to CNS,
pulmona1y, or iatrogenic conditions. Respiratory acidosis can be acute or chronic; the chronic form is asymptomatic,
but the acute, or worsening, form causes headache, confusion, and drowsiness. Signs include tremor, myoclonic




                                                                                          Exhibit 22 Page 93
        Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 501 of 534



Respiratory Acidosis: Acid-Base Regulation and Disorders: Merck Manual Professional                                                        Page 2 of2




 Treatment
  • Adequate ventilation
  • NaHC03 almost always contraindicated

 Treatment is provision of adequate ventilation by either endotracheal intubation or noninvasive positive pressure
 ventilation (for specific indications and procedures, see Respiratorv Failure and Mechanical Ventilation). Adequate
 ventilation is all that is needed to correct respiratory acidosis, although chronic hypercapnia generally must be
 corrected slowly (eg, over several hours or more), because too-rapid Pco2 lowering can cause a posthypercapnic
 "overshoot" alkalosis when the underlying compensatory hyperbicarbonatemia becomes unmasked; the abrupt rise
 in CNS pH that results can lead to seizures and death. Any K+ and                    c1- deficits are corrected.

 NaHC03 is almost always contraindicated, because HC03- can be converted to Pco 2 in serum but crosses the
 blood-brain barrier slowly, thus increasing serum pH without affecting CNS pH. One exception may be in cases of
 severe bronchospasm, i1 which HC03- may improve responsiveness of bronchial smooth muscle to J3-agonists.


 Key Points
  • Respiratory acidosis involves a decrease in respiratory rate and/or volume (hypoventilation) .
  • Common causes include impaired respiratory drive (eg, due to toxins, CNS disease), and airflow obstruction (eg, due to
    asthma, COPD, sleep apnea, airway edema) .
  • Recognize chronic hypoventilation by the presence of metabolic compensation (elevated HC0 3-) and clinical signs of
    tolerance (less somnolence and confusion than expected for the degree of hypercarbia) .
  • Treat the cause and provide adequate ventilation, using tracheal intubation or noninvasive positive pressure ventilation
    as needed.

                                                                              Last full review/revision February 2013 by James L. Lewis, Ill, MD
                                                                                                             Content last modified October 2013




   Audio      Figures   Photographs      Sidebars     Tables     Videos

 Copyright    © 2010-2014 Merck Sharp & Dahme Corp.. a subsidiary of Merck & Co .. Inc., Whitehouse Station. N.J., U.S.A.   Privacy   Terms of Use
Permissions




                                                                                                                            Exhibit 22 Page 94
             Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 502 of 534



.-   ~




                                                                          ORIGINAL ARTICLE



                              Suicide By Asphyxiation Due to Helium Inhalation
            Matthew 0. Howard, PhD,* Martin T. Hall, PhD, f Jeffrey D. Edwards, MSW.* Michael G. Vaughn, PhD,/
                                   Brian E. Perron, PhD,§ and Ruth E. Winecker, PhDf

                                                                                            effective suicide method to the masses. The book was a commercial
         Abstract: Suicide by asphyxiation using helium is the most widely promoted
                                                                                            success, appearing on the New York Times bestseller list and selling
         method of "self-deliverance" by right-to-die advocates. However, little is
                                                                                            more than 1.5 million copies in the decade following its publication.
         known about persons committing such suicides or the circumstances and
                                                                                            In 2007, Final Exit was named one of the 25 most influential books
         manner in which they are completed. Prior reports of suicides by asphyxia-
                                                                                            of the fast quarter-century by book critics and editors of USA
         tion involving helium were reviewed and deaths determined by the North
                                                                                            Today.
         Carolina Office of the Chief Medical Examiner to be helium-associated
                                                                                                    Concerns that suicides in nonterminally ill depressed persons
         asphyxia! suicides occurring between January I, 2000 and December 31,
                                                                                            might follow exposure to methods elucidated in Final Exit were
         2008 were included in a new case series examined in this article. The 10
                                                                                            soon raised,4 and dramatic increases in plastic bag asphyxia! sui-
         asphyxia! suicides involving helium identified in North Carolina tended to
                                                                                            cides were observed in New York City 5 and the United States6 in the
         occur almost exclusively in non-Hispanic, white men who were relatively
                                                                                            year following publication of Final Exit Investigators concluded
         young (M age = 41.1 :!: 11.6). In 6 of IO cases, decedents suffered from
                                                                                            that "most persons exposed to Final Exit were not terminally ill and
         significant psychiatric dysfunction; in 3 of these 6 cases, psychiatric disor-
                                                                                            had used it as a suicide manual ... (and that) it is likely that a
         ders were present comorbidly with substance abuse. In none these cases were
                                                                                            psychiatric disorder would have been diagnosed in most of these
         decedents suffering from terminal illness. Most persons committing suicide         people."s tp. tSO•l
         with helium were free of terminal illness but suffered from psychiatric and/or
                                                                                                    Efforts by NuTech and others to develop a more effective
         substance use disorders.
                                                                                            suicide method and widely disseminate it to the public have contin-
         Key Words: asphyxia, helium, suicide, right-to-life                                ued to the present. In 2000, a supplement to Final Exit was published
         (Ant J Fore11sic Med Pathol 20IO;XX: 000-000)                                      that presented the first description of helium-assisted plastic bag
                                                                                            asphyxiation. 7 Advocates emphasized the enhanced lethality of this
                                                                                            approach, reduction in time required for death to occur to less than
                                                                                            5 minutes, and elimination of the need for a sedative prescription.

         P   ublication, in 1991, of the right-to-die manifesto and suicide
             "how-to" guide, Final Exit: The Practicalities of Self-Deliver-
         ance and Assisted Suicide for the Dying,1 raised a maelstrom of
                                                                                            Proponents of the method also noted that materials needed to
                                                                                            complete such suicides are readily accessible and that asphyxiation
                                                                                            due to helium inhalation is often undetected by autopsy (where
         controversy regarding the appropriateness of suicide as a response to              findings are typically nonspecific) or toxicological analysis {because
         terminal or "hopeless" physical illness and exposed divisions within               special sampling and assay methods are required). Thus, such
         the right-to-die movement itself. In the 1990s, many right-to-die                  suicides are likely to remain undetected in cases where the helium
         advocates were engaged in public education as to the purported                     delivery apparatus and plastic bag are removed before the death
         virtues of advanced directives, living wills, and legalized physician-             scene is examined and no other information is available implicating
         assisted suicide.2 At the same time, other elements of this move-                  death by helium-assisted asphyxiation. Modifications of the helium
         ment, including the Self-Deliverance New Technology (NuTech)                       method were published in 20028 and 2009, 9 a DVD including a
         Group, were developing technologies to "empower people to die on                   step-by-step demonstration of the method is available for pur-
         their own terms by controlling the timing and manner of their own                   chase, ' 0 and instructional videos depicting the method are accessible
         death."2 CP. Bl NuTech members, including Derek Humphry, author of                 on the internet. A schematic of the helium delivery apparatus is
         Final Exit, sought to identify multiple suicide methods that were                  presented in Figure I. 9
         swift, painless, failure-proof, inexpensive, and nondisfiguring. The                        Given the recent development, broad dissemination, and no-
         group also considered it vital that the method be simple, leave little              table lethality of helium-assisted suicide, we endeavored to better
         or no indication that the death was unnatural in nature, and not                   understand characteristics of suicides by this method. First, we
         require a physician's assistance or prescription.2                                 reviewed findings of extant studies examining suicides by asphyx-
                With its detailed descriptions of diverse suicide methods and                iation due to helium inhalation. Second, we report new findings from
         specific endorsement of the plastic bag asphyxiation method, pub-                  the largest series of these suicides heretofore examined. Results of
         lication of Final Exit brought an easily understood and generally                   this investigation may lead to improved identification of helium-
                                                                                            assisted suicides by medical examiners, enhanced screening and
                                                                                            prevention efforts on the part of physicians and other professionals
         Manuscript received Janua1y 19, 20!0; accepted March 3, 2010.                      treating individuals at risk foc suicide, and shed new light on
         From the •School of Social Work, University of North Carolina at Chapel Hill;       unintended deleterious consequences of widespread dissemination
            tDepartment of Behavioral Medicine, School of Medicine, University of
            Kentucky; tSchool of Public Health, Saint Louis Unive1sity; §Department of       of detailed suicide methods to the general public.
            Psychiatty, School of Medicine, Unive1sity of Michigan; and 'lfNorlh Carolina
            Office of the Chief Medical Examiner.
         Supported by NIH grants DA15929, DA15556, DA021405 (M.O.H.) and
                                                                                                             MATERIALS AND METHODS
            DA007304 (M.T.H.).                                                                     The current report presents findings from 2 related studies.
         Correspondence: Matthew 0. Howard, Frank Daniels Distinguished Professor,          The first is a review of published investigations of suicides by
            Tate-Turner-Kuralt Building, 325 Pittsboro, CB 3550, Chapel Hill, NC            asphyxiation due to helium inhalation. The second is a case series of
            27599-3550. E-mail: mohoward@email.unc.edu.
         Copyright C> 2010 by Lippincott Williams & Wilkins                                 suicides by asphyxiation due to helium inhalation occurring in North
         ISSN: 0195-7910/10/0000-000I                                                       Carolina between 2000 (the year in which the method was first
         DOI: I0.1097/PAF.Ob0!3e318led7a2d                                                  described) and December 31, 2008.

         Am J Forensic Med Pathol • Volume XX, Number X, XXX 201 O                                   I l                 www.amjforensicmedicine.com
          Copyright© Lippincott Williams & Wilkins. Unauthorized reproduction of this article is prohibited.
                                                                                                                                  Exhibit 22 Page 95
           Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 503 of 534




Howard et al                                                           Am j Forensic Med Pathol • Volume XX, Number X, XXX 2010



                                                                        lied cases. Only the first reported case (ie, 2001) was not subjected
                                                                        to toxicological testing for helium. Specimens from suspected he-
                                                                        lium asphyxiation cases autopsied at the NCOCME are collected in
                                                                        20 mL headspace vials. In some cases, given that one central
                                                                        laboratory conducts testing for all medical examiner cases in the
                                                                        state, blood samples are delivered to the NCOCME in standard
                                                                        collection vials. Immediately upon arrival, 5 mL of blood from the
                                                                        standard autopsy vial is transferred to a headspace vial for later
                                                                        analysis. Medical records associated with these deaths were manu-
                                                                        ally reviewed and abstracted including the OCME Report of Inves-
                                                                        tigation, State of North Carolina Death Certificate, Report of Au-
                                                                        topsy, Toxicology Report, Case Encounter Fonn, Pathologist's
                                                                        Notes, and Supplemental Report of Cause of Death. On January 5,
                                                                        2010, the University of North Carolina Institutional Review Board
                                                                        detennined that the reported research does not require Institutional
                                                                        Review Board approval under pertinent federal regulations. Char-
                                                                        acteristics of the l 0 cases identified are presented in Table 2.

                                                                                                     RESULTS
                                                                        Review of Published Cases
                                                                                The first death attributed to suicide by asphyxiation due to
                                                                        helium inhalation reported in the medical literature occuxred in
                                                                        September 2000, 11 shortly after the description of the method was
                                                                        published. Several investigators asserted that suicides by the helium
                                                                        method had not been seen in their localities prior to publication of
                                                                        the 2000 Supplement to Final Exit. 11 · 12·15 •16
                                                                                The 14 decedents whose cases were presented in the 6
                                                                        published repoxts ranged in age from 19 to 81 (M age = 50.0, SD =
                                                                        21. 8, median = 48.5). Between these extremes, decedents were
                                                                        approximately evenly divided between those in their 20s, 30s, 40s,
FIGURE 1. Schematic of plastic bag asphyxiation suicide us-             60s, and 70s. Medical and psychiatric histories were scant or entirely
ing helium gas in final exit. Reprinted with permission from            unreported for some cases, but revealed a history of depression,
Final Exit: The Practicalities of Self-deliverance and Assisted Sui-
                                                                        prior suicide attempt(s}, paranoid schizophrenia, or some combina-
cide for the Dying.9 <M>
                                                                        tion thereof in 4 (25.6%) cases. In 4 (25.6%) additional cases,
                                                                        psychiatric dysfunction may have contributed to the suicide, given
                                                                        that 3 of these decedents were detennined to be in good health (ages
Identification of Published Reports                                     49, 49, and 76) and one mentioned the recent death of his wife as a
       A broad search of the general medical literature was under-       reason for his suicide in a note left at the death scene. In 5 other
taken for any relevant reports addressing suicide by asphyxiation        cases (including 4 decedents in their 20s or 30s), no medical or
due to helium inhalation. This process entailed searching the           psychiatric histories were reported. A tenninal disease process was
PubMed database for the period January l, 1957 to November 1,           present in only 2 of 14 (14.3%) cases. In 2 (14.3%) additional cases
2009 using the search phrase "suicide and heliui,i." Seven pertinent     involving men ages 71 and 78, "failing health" and "unspecified
records were identified as follows: 6 English-language case stud-        health problems" were possible contributing factors. Medical disor-
ies11-16 and a Danish-language case study. 17 A search of EMBASE         ders were not implicated in I 0 of 14 (71.4%) suicides.
using the identical approach for the period January 1, 1988 to                  In all reported cases, routine toxicological testing did not
November 1, 2009 identified the same 7 reports. The 6 English-           reveal the presence of helium and manner and cause of death
language reports relevant to this review were published between          detexminations relied heavily on death scene investigations. Autopsy
 2002 and 2007 and present a total of 14 cases."- 16 The Danish          findings tended to be absent or nonspecific in the 12 cases that
study included a synoptic abstract in English indicating that the        involved an autopsy.
 decedent was a 35-year-old man who had committed suicide with                  In 8 cases (57.1 %), a suicide note was found, and in 4 cases
 a plastic bag and helium using a "new and highly lethal tech-           (28.6%) right-to-die literature was found at the death scene.
 nique."17 The case reports included in this review constitute the              A number of helium delivery devices were employed. Five
entirety of published research on helium-assisted suicide and are        cases involved use ofa mask; 4 of these cases were reported in 2002
presented in Table !.                                                    or 2003, before plastic bag asphyxiation (without use of a mask)
                                                                         became preferred by advocates of the helium method.a Character-
Identification of Suicides by Asphyxiation Due to                        istics of the plastic tubing used, use of rubber bands and Velcro
Helium Inhalation in North Carolina                                      straps to secure plastic bags to the neck, types of helium canisters
       All deaths detexmined by the North Carolina Office of the         employed, and use of multiple plastic bags in 1 case were consistent
Chief Medical Examiner (NCOCME) to be asphyxia! suicides due to          with published descriptions of helium-assisted suicide.a
helium inhalation that occurred between January l, 2000 and De-
cember 31, 2008, were included in this study. These suicides were       Characteristics of Suicides by Asphyxiation due to
identified through a search of the manner and cause of death fields     Helium Inhalation in North Carolina
of the electronic records maintained by the NCOCME. The presence               Asphyxia! suicides in North Carolina involving helium inha-
of helium was confixmed by toxicological testing in 9 of 10 identi-     lation tended to occur almost exclusively in non-Hispanic, white

2   I   www.amjforensicmedicine.com                                                                   © 2010 lippincott Williams & Wilkins
 Copyright© Lippinoott Williams & Wilkins. Unauthorized reproduction of this article is prohibited.
                                                                                                                   Exhibit 22 Page 96
                                                                                                                                                                                                                                                                 )>.
o@             TABLE 1.          Published Case Reports of Suicides by Asphyxia Due to Helium Inhalation                                                                                                                                                         3
 0      '"                                                                                                                                                                                                                                                      .._
'O      ~      AulborslDalcl             Characlcrlsllcs of
'< c                                                                                                                                                                                                                                                             6'
               Localion                         Decedent            Mcdical/Psychialric Hislory        Helium-Delivery Apparatus                             Dca1h Scene                               Autopsy Findings             Toxicology Findings          <il
:5·~           Ogden and Woolen       Woman, 60. while,         Hislofy of depression and a prior  Found wilh sw·gical mask over      Deccdenl discovered on Ji vine room Jloor of home    Docs nol appear an aulopsy was
                                                                                                                                                                                                                                                                 :::.
:::; '-2.                                                                                                                                                                                                                        Blood/urine lcsls fOI'
...... fi        (2002). Somh           suffering from             suicide anempl. Unclear whether   face and clear plaslic bag         wilh suicide nolc and copy of her will. The book     conducted. II was noted al             medications and
                                                                                                                                                                                                                                                                 n·
                                                                                                                                                                                                                                                                 "'
@g               Carolina 11            adenoid cyslic             depression/suicide allempl         over  head.  Next  10 body  was   Final Exil, Final Exir vidcolape. and Spring  2000   dealh scene lhal deccdenl's            psychoaclivc subslanccs
                                        carcinoma with             an1eda1ed carcinoma diagnosis.     refillable industrfal lank of     Hemlock   society newslcucr  were  found on  a       skin color was unremarkable           were negalive.                ~
c~                                                                                                    helium. Clear plastic tube led    nearby coffcc lab le.
u· :=.:                                 rclalcd eye                                                                                                                                          and no cxtcmal signs of                                             ti'
u       l5'                             involvcmcnl and                                               from plasric bag lo helium                                                             poisoning were observed.                                            9-
-·  ::!
::J ..                                   diplopio.. Death                                            lank valve.                                                                                                                                                 sa.
                                         occurred 9/2000                                                                                                                                                                                                          •
8    Ro
               Gilson et al. (2003)   Cases I and 2: man, 49  No specific informalion presenlcd; Each decedent had 3 plaslic bags        Couple found lying supioe by police on floor of     Remarkable only for early           Unremarkable for bolh
::I: ~                                                                                                over 1hcir heads, which were         maslcr bedroom in lhcir residence. Couples'
                                                                                                                                                                                                                                                                 ~
                  Tucson.                and woman., 48, who      decedents wen: n~porlcdly m                                                                                                   dccomposirional changes.            dccedenls.                   2"
<~
<: ::s'           Arizona 12             were common-law         good heallh. Motivalion for         secured by elaslic straps             anomey had called police aJ\er receiving a mailed                                                                     3,,,
::.: ""                                  man'icd.                suicide unclear.                     around their necks.                  suicide note. No righl-lo·die materials found.
ii)'                                  Cases 3 and 4: husband, Husband repodedly in "failing       Dolh deccdcnls were wearing            Couple found dead in bed by neighbor. Suicide       Exlemal exams unremarknblc.         Negative for elh:mol,
                                         78; wife, 76            heallh" and "depressed"; wife in     filler ca11ridgc-s1ylc masks         notes were found ckuc lo bodies. Noles referring    ln1emal exams not perfonned         medications. and illicil
                                                                                                                                                                                                                                                                ~
3                                                                ..good heallh" other than a          auached lo heliwn tanks wilh         10 lhe Hemlock society were found in apartment      per family's wishes.
                                                                                                                                                                                                                                                                 z
en                                                                                                                                                                                                                                 drugs for bolh decedcnls.     c:
Qo                                                               recenl minor elcclivc surgery.      plastic lubing.                       No olher righl-IO·die materials found                                                                                 3
                                                              Advanced squamous ccJI c::ircinoma Plaslic bag over head wilh              Found by doughier in bed. f;m1ily unable 10 provide Not clear lhat an autopsy was                                       tT
               Gilson ct al. (2003)   Case S; lnan, 81                                                                                                                                                                           Blood and urine lcsls were
                                                                                                                                                                                                                                                                 ~
~                 Tucson, Arizona                                of lhroat, c:tchcclic.              plaslic lube running from             infomalion as ID whelher "right-lo-d;c.. 1i1era1ure conducted.                           negative, bul ii was not
                  (continued}                                                                        inside plaslic bag 10 helium          or suicide nole were found al dealh scene.                                               clear whal substances
                                                                                                                                                                                                                                                                :?<
~                                                                                                     l::ink.                                                                                                                       were assayed.
                                                                                                                                                                                                                                                                 x
                                                                                                                                                                                                                                                                 x
¢                                     Case 6: man, 71         Dccedenl menlioncd unspecified      Plastic bag over head secured          Found expired in chair in living room of home by       Exlemal exam unremarkable        Toxicology tests not            x
                                                                 heallh problems and the recent       with elastic band and Vekro          police. A suicide nole found, but no Jighl-lo-die      except fa decomposition.          pcrformcd due lo             N
                                                                                                                                                                                                                                                                 0
                                                                                                                                                                                                                                                                 _.
c::J                                                             dealh of his wife as principal      slrap al neck. Plastic tube           li1cra1urc.                                                                              decomposirion.
                                                                                                                                                                                                                                                                 0
nl                                                               reasons for his suicide.            from helium lank connecled
c                                                                                                    10 lhc mask inl'iide plaslic bag.
.....                                 Case 7: man, 25         Medical hislory unknown;            Ploslic bag over head with             Found dead in cmply ba1h1ub of his ap.:111mcn1 by      Unremarkable excepl for          Remarkable only f(I" ethanol
5                                                                molivalion for suicide unclear.     plaslic rube running from             landlord. Righl-lo·dic lilcralure and suicide nole     dccomposilional changes.          (234 mg/dL) in
                                                                                                     helium lank 10 bag wilh lube          were nol found.                                                                          dccomposilion rluid.
~·                                                                                                   p;issing 1hrough a sink where
a.                                                                                                   Wann waler was 1unning.
(i)            Gallagher ct al.       Woman, 19 1 welt ..     Hislo1y ofp1ior i,;uicide ancmpls   Dc'"i:dcnl wore air liltcr gas         Dccedenl Ji:Jund supine in backseat of car wilh       Conjunc1ival pc\echial            Rouline 10.:icology
u                (2003), Indiana"       nourished                (number and nalurc nol              mask coaled with a subslance          helium lank on Roor and valve between knees.          hemorrhage.\ bilaterally. Narcs   unremarkable. Prcsenls a      l=:'
                                                                 described). No description of       similar IO C01Teclion nujd. A         Many signed suicide notes and a page from the         and oral cavily conlained         method by which               n·
                                                                 medical his101y. Had sCDrchcd       heliwn lank oblained from a           "Church of Euthanasia .. wcbsile entilled "How to     frothy while edema fluid. R       specimens can be              ~
00.
c                                                                mcd1ods of suicide on lhe           local l'iupply company was            kill yoursclr' were lefl in an envelope on the        )wig = 670 g; L lung = 620 g.     collected and analyzed        0-
0                                                                                                    anachcd via clear plastic             driver's seal. A hand-wrillen map to a local
                                                                                                                                                                                                                                                                ,-.:
                                                                 internet                                                                                                                        Lungs congested wilh severe       for lhc presence of           )>.
g:                                                                                                   lubing 10 lhe mask. Duct tape         general slore was also found in lhe envelope wilh     pulmoniu-y edema. No evidence     hc&um.                       ~
::J                                                                                                                                        a lisl including lubing. mask alll duel lapc. A                                                                       ~
        ~                                                                                            scaled mask lo skin or face                                                                 oflrawna, injury, or
0       ;,.                                                                                          covc1ing nose and moulh.              leHer was found in dccedcnl's residence               expianalion for dcalh other                                    ~
                                                                                                                                                                                                                                                                Ci'
        3                                                                                                                                  describing where her body was located.                lhan helium inhaJa1ion.
g. a'          Auwaerter ct al.       Mon, 23                   No infonnalion p.·csenlcd.           A helium gas canister was           Decedenl was found dead in '1ying'" posilion in       Nonspecific findings included "an Roulinc 1es1s revealed a
                                                                                                                                                                                                                                                                 g·
c;r;;;           (2007) Freiburg.                                                                      comecled to a plaslic bag           uniden1ified location. A nearly empty boll)e of       aqueous swelling of lhe brain     BAC of 0.9 mglg;              0
                                                                                                       with polypropylene lubing.          1equila, blister pack oflravel sickness medication.
-a
m       ;:;·     Ocnnany 14                                                                                                                                                                      and of the lun~ and an acute      diphcnhydraminc in hcan      ...c:
....    3                                                                                              The bag was over lhc                and pack of Ibuprofen 1ablels were found.             hyperemia of lhe kidneys ... No   se1um (0.81 l'c/mL) and       0
g       ,.
        ci
                                                                                                       decedenc's head and affixed                                                               evidence of severe illness or     urine (2.2 l'c/mL).           ::i:
<P      ;:;·                                                                                           10 neck wilh a rub~er band.                                                               inju1y.                           lbuprof en found in urine
        5·                                                                                                                                                                                                                         and gaslric conlenl. A
                                                                                                                                                                                                                                                                 "'@'
en      ID                                                                                                                                                                                                                                                      3
                                                                                                                                                                                                                                   posilive test for helium
                                                                                                                                                                                                                                                                        Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 504 of 534




                                                                                                                                                                                                                                   by novel assay melhod        ~
        3                                                                                                                                                                                                                                                       Q
a8                                                                                                                                                                                                                                 wns reported.                Q"
2:                                                                                                                                                                                                                                                (Continued)
CT ...,                                                                                                                                                                                                                                                         g·
~
a.

                                                                                                                                                                                                                                        Exhibit 22 Page 97
                    ./>..
          0                                                                                                                                                                                                                                                                       ~
           0                                                                                                                                                                                                                                                                      ~
          "'O
          <::::!.                                                                                                                                                                                                                                                                 ~
                                                                                                                                                                                                                                                                                  ~
          i.O    i
           ::r ill
               3
           .....                                                                                                                                                                                                                                                                  a
                    ~
           @        0
                    iii
           r        ::I
          -a·       ;:;·
                    "'
          "'O
           5· Ill3c.
           0        ;:;·
          0 5·
          :::; Ill          TABLE 1.            (Continuecf)
               r.           Authors/Date/             Characteristics of
          ~ 03              Local.Jon                    Decedent              Mcdic•l/Psychlolrlc History        HeUo.m-Dellvery Apparatus                              Death Sc11me                                  Aulopsy Finding•                Toxicology Findings
          iii"              Grru:sbcrger &         Case I: n>an, 28         His1ory of paranoid sdUzophrcnia;   Found wilh plastic bPg over        Decedent fo'11ld C.llpircd in his apartmt=at reclining in   External exam uruemmkable.           Blood/urine lcsts for 6
                               Krauskopf (2007)                                othccwisc. no medical llistocy      head scaled al neck wilh duct     a chair. Mouth contained frothy white edema                  Eni!orgcnu:nt or rlgbl alJ'lwn       classes of illicil drugs
          3                                                                                                        lope. A 10 L lank of porty         Ouid. A suicide nole was lei\ which muned his
           en                  Vienna, Austria"                                reported.                                                                                                                          and ventricle, pulmonary             were nega.tvc, Not clear
           Qo                                                                                                      balloon helium wM c:oruicc:ted    m.enfal illness ~ tile primary reason for la.is              edema, and • few subplcural          whether etlm11ol wos
                                                                                                                   to the bPg via plastic Cubing.    suicide. No right-lo-die literature found in                 pelchiao.                            assayed.
           ~                                                                                                                                         domic:ile.
           ;;;=                                    Cd.Sc 2:   111an,   39   Not reported                        Ploslic lubing led from indusltial Found ..pired in on empty bothiub weming a plastic          Auiopsy remru:kablc. only for    Tests of deeomposition fluid
           5·                                                                                                      helium lank inlo plastic mask.    mnsk over face. Right-to-die literature and suicide         early dccomposi1ioual changes.    idendficd a BAC of I
                                                                                                                                                     nole were found.                                                                             mg.IL.
           ~
                                                   Case 3: man, 39          Not reported.                       Plaslic bag over bead cmm«tcd Found supirn: on Hoor of bis apartment wil11 plastic             Extemalfuucmal cx:uns            Negative except for traces.
           c                                                                                                       via plastic IUbiog to a 10 L      b:11s over head. A suicide note was rowtd.                  unremarkable exccpl for          ofbcnzodiazepines in
           :::J
          Ill                                                                                                      helium lank affixed lo neck                                                                   ad\•.11nccd decomposicional      urine.
          c:                                                                                                       with rubber barn!.                                                                            changes.                                                         )>.
          .....                                                             Noc rcpol1ed                        A gas canisc-er labeled "'helium" Dcccdenl round expin:d in ltotcl roon1 lying supin~          No cxlcmal injuriesipelechi:il
                                                                                                                                                                                                                                                                                  3
           ::r              Schon &. Ketterer      Mon, 64, whice                                                                                                                                                                               No obvious evidence of
           0...,              (2007) Dem,                                                                          wns found on a table at side      011 bed wilh garbage bag over llClld. No alcohol            hemorrhages found, except for    alcohol/drug abuse, but         -
           ;:::r              Switzel"landJ 6                                                                      nr room opposite fram where       bottles, medications or drug pmpbemali11 were               a ligature mark bnprcSJiion      no to>;icology assays.
           <D                                                                                                      body \VIS fotmd. The helium       found. A rental rcccipl for lhe helium caol.ier             allribulcd to a rubber band      performed.
           a.                                                                                                      canislcr was not connccled 10     wos found, bu1 no suicide •Ole or self-help                 around neck. Nose~ mouth, and
           ...,                                                                                                    lbo 17 L blue pl .. lio garbage   matcri.ols. An inquiry 1111hc deccden1's home               airways filled wid1 frod1y
           <D                                                                                                      bog 1hat was rowwl over tile      town revealed that anolhea· person in the area had          reddish Ouid. Lungs/brain
                                                                                                                                                                                                                                                                                  i[
          "'O
           ...,                                                                                                    deceden1's head. In addition      tommiU<:d suicide. usi11g che same method wilhin             cdcmatoUB. 1n1cn1al organs                                      "ti
           0                                                                                                       to Ute platic n'bbon used to      tb~ same. week.                                             aculcly cong0S1ed. Pulmonasy                                     2
           a.                                                                                                                                                                                                                                                                     ::r
          c:                                                                                                       tic die bag, lhc <kcedcnt had                                                                 emphysema nod hypertrophy/                                       e.
           0                                                                                                      inscncd a rubber band into                                                                     dilation of right
           .....    @
                                                                                                                                                                                                                                                                                   •
           5·                                                                                                     !he bag's collar. The bag was                                                                  .atrium/ventricle noted. No
           :::J                                                                                                   sccun:d lightly around                                                                         other potential causes or dc:llh
                                                                                                                                                                                                                                                                                  <
                                                                                                                                                                                                                                                                                  0
                    0
                    ._
                    "'                                                                                                                                                                                                                                                            c:
                                                                                                                  doccdcnl"s neck.                                                                               were idcolificd.
           Q, 0                                                                                                                                                                                                                                                                   3Ill
           ..... t:                                                                                                                                                                                                                                                               x
           ::r :g
           iii"                                                                                                                                                                                                                                                                   2'<
m                   ~·
x          Ill
           ...,                                                                                                                                                                                                                                                                   zc:
::r        ..... g                                                                                                                                                                                                                                                                3
0:         cs·                                                                                                                                                                                                                                                                    C"
;::::;:    (0                                                                                                                                                                                                                                                                     !!l
I\.)                                                                                                                                                                                                                                                                              2'<
I\.)       en       f                                                                                                                                                                                                                                                             x
          "'O
           ...,     Ro                                                                                                                                                                                                                                                            x
"U                                                                                                                                                                                                                                                                                x
Ill        0                                                                                                                                                                                                                                                                      N
           ::r ~
                                                                                                                                                                                                                                                                                         Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 505 of 534




co                                                                                                                                                                                                                                                                                g
CD         a' t;~
           ;:+'                                                                                                                                                                                                                                                                   0
CD         <D
CX>        p..
                   @                                                                                                                                                                                                                                                     )>.
          0                TABLE 2.       Characteristic of Suicides by Asphyxiation due to Helium Inhalation in North Carolina: 2000-2008                                                                                                                                3
          0        c"'
                   .._                                                                                                                                                                                                                                                   ..._
          u         c      Yur
          <::::!. t::      of          Characteristics of          MedicaUPsycttlatric                                                                                                                                                    Toxicology Exam
          ta       :g      Death            Dl!CCdent                   History                        Helium-DeUvery Apparatus                 Death Sce11e Description                        Autopsy Findings                              Findings                   ~
                                                                                                                                                                                                                                                                         !:!.
           :::;
          .-+
                   -·
                   iil     2001    Man, 47, ncvcr..rnarried,   Long~           of d:p.,:ssion     Plastic bag over head, secured with        Found in Jiving room of his        Early deeompositional changes noicd at death          Trace levels of 7-
          @        g                  white (non-Hispanic)       treated by his physician.           vclcro tic nround neck. Plastic           homo by a co-worker and            scene; no autopsy conducted.                          aminoclonazcpam, and
                                                                                                                                                                                                                                                                         s:"
           r       ~
                                      gradualC school            Depression li!lCd os a              tubing was toped lo top of head,          police. Two bottles of                                                                   tcmazcpllJll (0.016 mH/
                                                                                                                                                                                                                                                                         "'tl.
          -a·      ::::.              education                  contnbuting cause of                extended down lel'l arm under             temazepam and a will and                                                                 L) were identified in a
                                                                                                                                                                                                                                                                         ....
          "O       ~                                             suicide. Little information         shirt sleeve and exited at left cuff.     suicide note found at scene.                                                              1 mL sample of                  s.
                   SI                                                                                                                                                                                                                                                    0
          :r       .                                             '1Vll!'\able obaut nu:dical Q[      The IUl>ing was connected to a                                                                                                     vil<eoushumor.
          0        Ro                                             psychiatric his<oty or acute       T-valve and aUacbed lo 2 hcliwn
          0
                                                                                                                                                                                                                                                                         -•
                                                                 prccipitanls of suicide.            tanks.                                                                                                                                                              <
                                                                                                                                                                                                                                                                         0
          ::i: ~           2003    Man, 31, mal"ried, white    Suicide note mentioned             Clear blue, lhin plastic bag over head     Decedent found ;,, his             Palhological diagnosis: bilateml pulmonaiy            Two 8.0 mL aortic blood            c:
                   ~
                                      (non-Hispanic), 13 yr      "chronic pain"' -'S a              secured with 2 large yellow rubber         apartment. Hod left a               congestion. No significant external/internal         samples were positive            3
          ~ a                         of education               reason for suicide.                bands around neck. Clear plaslic           suicide note describing how         injuries. Lungs: R lung: 750 g; L lung: 640 g.       for helium as was one
          iii"                                                   However, medical a1td              tube taped to inside of plastic bag,       he planned the suicide. No          Parenchyma of botl1 lungs show extensive             lung sample. No
                                                                                                                                                                                                                                                                         "'x
                                                                 psycl1ia1ric history are           OJ<tending out of bag, looping             medications found in                congestion w/o obvious consolidation or focal
                                                                                                                                                                                                                                                                         2'<
          3                                                                                                                                                                                                                             ethaiiol detected in an
          en                                                     not known.                         around Jell an11 and connected to          apartment.                          lesions. Brain: 1500 g. Leptomeninges tliin.         I 8.0 1nL aortic blood
                                                                                                                                                                                                                                                                         z
                                                                                                                                                                                                                                                                         c
          Qo                                                                                        helium tank.                                                                   delicate and congostcd. Cerebral hemispheres         sample.                          3
                                                                                                                                                                                   unremarkable w/mild generalized edema w/o
                                                                                                                                                                                                                                                                         er
                                                                                                                                                                                                                                                                         ~
          ~                                                                                                                                                                        evidence of hcmtialion. Microscopic exams
          ;;;=                                                                                                                                                                    of luni,,., kidneys, and brain show vascular                                           2'<
          5·                                                                                                                                                                       congestion. No evidence of injwy.                                                     x
                                                                                                                                             ~th    ace11rred in 1n<>tel.
                                                                                                                                                                                                                                                                         x
          ~                2005    Mnn. l1, nu.rricd, white    Medical and psychia\ric            Found will\ wmle plastic trash bag                                            Patl\ok>gical diagnll1\es: pulmonary 'Yascular        10 mL llOltic blood sample         x
                                     (non-Hispanic); 16 yr       history and acute                    around head wilh tube hooked lo           Decedent found supine in           congestion and edema, slight diffuse cerebral         revcalcd tracc levels of
          c                                                                                                                                                                                                                                                              0
                                     of education                prccipit:ants of suicide are         hcliwu tank valve at one end and          bed. Medications found at          swelling. moderate coronary atherosclerosis.          cyclobcozaprine DOd
          ::J
                                                                                                                                                •cone were an OTC sleep
                                                                                                                                                                                                                                                                         "'0
          Sll                                                   unclear.                              the other end wilhin the plastic                                             R lung: 920 g; L lung 700 g. Lungs on                propoxyphcne ond wa•
          c:                                                                                          bag. Tubing was connected to the          aid, Ibuprofen, and               section demonstrate marked vasculnr                    positive (0.91 mg/L) for
          .-+
          :::;                                                                                        helium tank with electrical tape.         bydrocodono, Receipts              congestion Bronchial branches contain clear           diphenhydraminc. and
          0                                                                                          The bag wus secured to neck with           from a local hardware store       Duid ond intra-alveolar edema. Brain: J500g            helium. Diphenhydraminc
          ~

          ;;::r                                                                                      bag tic. which was knotted in a            were found for helium              with mild diffuse swelling and narrowing of           was believed lo have
          CD                                                                                          bow knot on right anterior neck. A        tank, tubing, and tape No         sulci. No evidence of a.cute trauma.                   contributed to tho death.
          a.                                                                                         clear vinyl plostic tube extended          suicide note or right-to-die                                                             No ethanol or organic
          ~
                                                                                                      into the bag through a hole made          materials were found.                                                                    tia...s were identified
           CD
          "O                                                                                         in the rear of the bag space, held
          ....                                                                                       in place by black electrical 1apc.
          0
          a.               2005    Man, 21, never malTied,     History of symptoms,               Plastic bag over head with elastic         Found in bedroom at parent's       l'athological diagnosis: pulmonary vascular           Post-mortem exam                   ~
          c:                         white \non-Hispanic)        11calmcn~ and                       strap securing bog oro11nd neck.          l\OlllO oi11ing i-" chair. The       c-onge-5\l.on and edema, cetebta\ edema, -and       rt'Ycaled an clha110\            c:r
          0                          12 yr of education          hospilaliznlion for                 An empty helium canister found            following medications were           early dccompositional changes. R lung:              level of .40 mg/dL and
          .-+                                                                                                                                                                                                                                                            )>.
          5"                                                     paranoia/suicidal                   on Roar beside decedenl. A                found in honie: Tl"ll1.0done         640 g; L Jung: 590 g Brain: 1,500 g,                the presence of helium           {;
          ::J                                                                                        cylinder of beliwn and plastic            (IOOmg), Geodon (80n1g),             microscopic lung sedions shaw variable                                               :;,..
                   ~                                             ideation. Not clear                                                                                                                                                    in IS.O mL and 5.0 mL
          0        iii                                           whether patient suffered            tubi11g were found in decedent"•          Rispcrdal (3mg), Trileptal           degrees of pulmonary vascular co11gestio11 and      aortic blood samples,            ~
          ......   3                                             from psychotic illness .            bedroom closet                            (300mg). and Z.Oloft (50mg).         intra-alveolar hemorrhage.                          respectively.
m         ......   -·                                                                             Found with plaslic bag over head           Found Jyi11g supine in bed at      final anatomic diagnosis: congestion oflungs
                                                                                                                                                                                                                                                                         1:
          2: Q'            2005    Man. 39 1 never maL·ricd.   No history of suicide                                                                                                                                                  Positive for helium in 4.0
x
:::;      (/)      11>               white (non-Hispanic).       al!empts per family.                secured with a metal clip to hold         liome by mother. No                  with early pulmo1wy edema. Brain: 1.325 g.          mL subclavian vessel             0
                   ::J                                                                                                                                                                                                                                                   t::
          Sll      "'
                   ;:;·              12 yr of education          Little infonnation                  bag 1ight arouud neck. Plastic            suicide nolc Jell, but               Vessels over right hemisphere congested. R          blood sample, but
          ~
o=
;::::;:   .-+                                                    available about medical             tubing ran from a nearby helium           insurance policy and will            lung; 610 g; L lung: 560 g Lungs boggy whh          negative for ethanol in          "'
                                                                                                                                                                                                                                                                         0
             3                                                                                                                                 were found on coffee table.
I\.)      O" a.                                                  or psychiatric history and          tonk to the back of tllC plastic hag.                                          congestion. Microscopic sections show tbat          17.0 mL subclavian               :i:
I\.)      Cir;:;·  "'                                            acute prccipilan!s of               Duct tape covered ftonl of bog                                                 alveolar spaces were partially filed with clear     blood sample.                    ~
                   5·                                            suicide,                            and bad 0.5 cm cinmlar hole in ii.                                             edema fluid.                                                                         §
"U        ur "'                                                                                     Tube was connected to helium
tu        u ;-,                                                                                                                                                                                                                                                          :s
co        ~
                   0                                                                                tonk, which wn turned on and
                                                                                                                                                                                                                                                                                 Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 506 of 534




CD        0        3                                                                                 near decedent's hand.                                                                                                                                               5
<O        2:-                                                                                                                                                                                                                                        (C.:0111i111rl!d)   ~
<O        c:r                                                                                                                                                                                                                                                            a·
                                                                                                                                                                                                                                                                         ::i
          ;:::;:   "'
          CD
          !=l-
           Cl'\
  0 -                 TABLE 2.       (Continued)                                                                                                                                                                                                         g:
  0
 'O                   Year                                                                                                                                                                                                                               ~
                      of          Characteristics of           MedicaVPsychiatric
                                                                                                                                                                                                                                                         r:l..
 'Si                                                                                                                                                                                                                          Toxicology Exam
 cB" ;.,   i          Death          Decedent                       Hislory                     Helium-Delivery Apparnlus              Death Scene Descriplion                         Aulopsy Findings                           Findings
                                                                                                                                                                                                                                                        a
  ::l"                                                                                                                                                                                                                                                  a.
 ...... 3             2005     Man, 34, unmanied,          Hislmy of alcohol                Had clear plaslic bag over head wilh    Found dead in driver's seal of     Palhological diagnoses: pulmona1y edema and        20.0 mL and 6.0 mL
  @ ~                            while (non-Hispanic);       dependence and bipolar           lubing connecling il lo a helium        a car parked in lhe yard of         vascular congestion; atherosclcrotic corom:uy     aortic blood samples
           @                     9 yr of educalion           disorder. Prior psychialric       lank. A vclcro closure secured 1hc     a rchllive•s house. A               anery disease, focal, mild lo moderate. R         were positive for
  I        :l
                                                             lrealmenl for bolh                bag around neck.                       piclure of his girlf1iend was       lung: 960 g; L lung 820 g. Lungs heavy and        elhanol (70 mg/dL) and
 u         ;:;·
           "'                                                disorders. Was Jiving in                                                 found on dashboard.
 -a                                                                                                                                                                       congesled. Lung scclions revealed areas of        helium, respectively.
           3                                                 car and laking Zololl.                                                                                       atelectasis, pulmona1y edema, and collections     Ethanol was lisled as a
  :::J
  0        "';:;·a.                                                                                                                                                       of pigmenl·laden inlra-alveolar macrophages.      conlributing cause of
  g        5·                                                                                                                                                                                                               suicide.
                      2006     Woman. 60. never            Obese (5'9", 303 lbs). No        Decedent had clear plaslic bag over     Decedcnl fOllld iii fiml           Palhological diagnoses: Plaslic bag over head      A 20-mL·blood sample
           ri
                                                                                              head wilh 1·• inch plaslic lubing       passenger seal of car in mole]
           "'0                  manied while (non·           medical or psychiauic                                                                                       with evidence of helium inhalation:
  ~ 3                                                                                                                                                                                                                       from pleural cavity was
                                 Hispanic), 12 yr of         history information              auached lo helium lank in back          p.irl<ing lol wltc1e i.he had      pulmonary vascular congeslion (R lung:             posilive for helium and
  ii)"                          educalion                    available excepl llml            car seal and inside of plaslic bag.     Slaycd Le1tc1s lo dill'e1enl       430 g; L lung: 400 g); decomposilion.              elhanol (40 mgldl).
                                                             EKG leads were found             A lan elaslic band was used lo          people nnd "a very organiud"       Seclioned lungs showed vascular congestion         Elevated DAC may
  3                                                          on righl lower leg, len          secure bag lo neck. The plaslic         suicide nolc wc1e f OlRI in        wilh palchy inlra-a]veolar edema. No
 en                                                                                                                                                                                                                         have been parlially or
  Qo                                                         lower leg and Jen am1.           lubing was laped lo lower margin        car. Nole icfcmd lo pgs.           evidence of acute lrawna.                          lolally due lo
                                                             No acute precipilanls of         of plaslic bag.                          132-137 in Final Exil 3rd                                                            dccomposilion.
                                                             suicide were idcntiJied.                                                 edition which describe
  ~                                                                                                                                   hcli~assisled suicide.
  7\"
  5·                                                                                                                                  Dcccdcnl had scl e-mail lo
                                                                                                                                      n:spond lo messages with
 ~
                                                                                                                                      "Return to Sender due lo
 c:J                                                                                                                                  Suicide."
 O>                   2007    Man, 41, married (bul       Previously di!.ablcd in molar     Clear blue plaslic bag covered head     Found expired al home silting      No aulopsy.                                        A 13.0 ml subclavian
 c.....                         recenlly separaled from      vehicle accidenl wilh neck       and was wrapped wilh duel lope.         in chair in basement. No                                                              blood sample was
 ::J'"                          wife), white (non-           and back injuries. Was           Black lubing was connected al one       suicide nole left.                                                                    negnlive for elhanol,
                                                                                                                                                                                                                                                       §'
                                                                                                                                                                                                                                                       .._
 0                              Hii.panic ), 14 yr of        reportedly depll?SScd due lo     end lo lhe inside of bag and al lhe                                                                                           bul posilive for helium.
 -.                             education                    reccnl scparal.on from \WC       olher end lo a 65lb helium lank                                                                                                                          6'
 r::;·                                                                                                                                                                                                                                                 ~
 CD                                                          and pending sale of home.         used lo Jill balloons for parties.                                                                                                                      ::J
 Cl.                                                         Wife reponed ~ml decedenl                                                                                                                                                                  ~-
                                                             was laking presmllcd                                                                                                                                                                      s:
©
u                                                            antidcpressanls, Ncm"Ontin,
 .....                                                                                                                                                                                                                                                 ~
                                                             Oxycotllil\ and VicodilL
 0                    2007    Man, 45, never married,     Hislory of alcohol and drug       Clear plaslic bag was found over        Found sitting in chair in          No aulopsy, bul blue nail beds and burst                                        ti'
 Cl.                                                                                                                                                                                                                      19.0 mL subclavian blood
                               while (non-Hispanic)          abuse and diabeles.              head. Two black lubes led from          parent's home. Palient was         capillaries in lower legs bilalerally were
                                                                                                                                                                                                                                                       ~
 c:                                                                                                                                                                                                                         sample was negative        e.
 0                                                           Decedenl has been ve1y           helium lank inlo the plaslic bag.       pulseless and nol brealhing.       observed al dealh scene.                           for elhanol and posilive
 a.       @                                                  depressed per family's           Had purchased lhcse ma1e1ials al        TI1e book Final E•il was                                                                                          •
 0                                                                                                                                                                                                                          forhefium.
 ::l      ....                                               reporl. Family noled a           local hnrdware slore. The helium        lying open and face down                                                                                         ~
          <:>
 0        .....                                              hislory of social, medical       lank was from a parly slore             on lhe bed. A suicide nole                                                                                       c
          <:>
                                                             and emolional problems.          balloon-filling kit                     was len describing how                                                                                           g
 g.       ~                                                  Was laking Coumadin,                                                     severely depressed lhe                                                                                            x
 C/J      ;:;·                                              Clonidinc, Aspirin,                                                       decedenl had fell and                                                                                            :?<
 --·""    0                                                  Vernpamil, Alenolol, and                                                 apologizing for tlte suicide.
 O>       0                                                                                                                                                                                                                                            z
 -.
 ......   =t                                                 Lovaslalin.                                                                                                                                                                               c:
                      2008    Man, 56, mairied, while     Hislo1y of depression and         Decedenl had a bag over his head        Found in car in garage al          No aulopsy.                                        18.0 mL subclavian blood
                                                                                                                                                                                                                                                       3
 c=r ~                                                                                                                                                                                                                                                 CT
 (!)                            (non-Hispanic), 12 yr        substance abuse.                 with a tube auached lo il and lo a      home by wife wilh car                                                                 snmple was posi1ive for
          ~                    of education                                                   helium lank positioned on car           running and exhausl piped                                                             helium and negative for
                                                                                                                                                                                                                                                       "'..,
 (jj" :i                                                                                                                                                                                                                                               ]<
      ....                                                                                    passenger scat.                         inlo lhe vehicle. A suicide                                                           el11anol. Carbon
'O
 ...,     R<>                                                                                                                         nole was found                                                                        monoxide delected al
                                                                                                                                                                                                                                                       ><
                                                                                                                                                                                                                                                       x
 0                                                                                                                                                                                                                           <5.0% saluralion.
                                                                                                                                                                                                                                                               x
                                                                                                                                                                                                                                                                   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 507 of 534




 :T                                                                                                                                                                                                                                                    N
ET        a:~
          ::r'           OTC indicales over·lhe.counler; BAC, blood alcohol co11<>mlralion; EKG. eleclrocardiogram.                                                                                                                                    g
                                                                                                                                                                                                                                                       0
~-        "'
Cl.



                                                                                                                                                                                                                           Exhibit 22 Page 100
        Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 508 of 534




Howard eta/                                                                               Am J Forensic Med Patho/ • Volume XX, Number X, XXX 2010



       suffocotions in the yeor final exit wns published. Am J Psxchialry. 1994; IS I:     20. Ward D. Helium in an "exit bag" new choice fer suicide: at least 19 people
       1813-1814.                                                                               in B.C. have used method since 1999. Vancouver Sun. December 8, 2007.
 7.    Humphiy D. Supplement to Final Exit: The Latest How-to and Wiry of                  21. Lam A. Asian Americans' rising suicide rates-three students take their lives.
       Eutlranasia/Hastened Deatlr. Junction City, OR: Norris Lane and ERGO;                   New American Media. August 13, 2009.
       2000.                                                                               22. Bowers P. Final exit: compassion or assisted suicide? Time. March 2, 2009.
 8.   Humphry D. Final Exit: 711e Practica/ltie.s ofSelfDe/lverance and Assisted           23. Disposable helium tank for sale at Amazon.com. Available at: http://wwsw.
      Suicide for tire Dying. 3rd ed. New York, NY: Delta; 2002.                               amazon.com/BuyCostumes-Disposable-Helium-Tank/dp/BOOOWR8QQG/
 9.    Humphry D. Final Exit: 71ie Practicalities of Self-deliverance and Assisted             ref=pd_sbs_hpc_3. Accessed November 6, 2009.
      Suicide for tlll! Dying. 3rd ed. Addendum. Junction City, OR: ERGO; 2009.            24. Pok Iis JL, Garside D, Gaffuey-Kraft M, et al. A qualitative method for the
10.    Humphry D. Final Exit on DVD: The Art ofSelfdeliverance From a Terminal                  detection of helium in postrnonem blood and tissues. In: Proceedings from
       Illness. Junction City, OR: ERGO; 2006. ISBN: 978-0-9768283-0-3.                        the Society of Forensic Toxicologists; October 17-21, 2005; Nashville, TN.
11.   Ogden RD, Wooten RH. Asphyxia! suicide with helium and a plastic bag.                25. Lubell KM, Swahn MH, Crosby AE, et al. Methods of suicide among persons
      Am J Forensic Med Patlro/. 2002;23:234-237.                                              aged 10-19 years-United States, 1992-2001. MMWR Morb Mortal Weekly
12.   Gilson T, Parks BO, Porterfield CM. Suicide with inert gases: Addendum to                Rep. 2004;53:471-474.
      Final Exit. Am J Forensic Med Pat/10/. 2003;24:306-308.                              26. Lubell KM, Kegler SR, Crosby AE, et al. Suicide trends among youths and
13.   Gallagher KE, Smith DM, Mellen PF. Suicidal asphyxiation by using pure                   young adults aged 10-24 years-United States, 1990-2004. MMWR Morb
      helium gas: case report, review, and discussion of the influence of the internet.        Mortal Weekly Rip. 2007;56:905-908.
      Am J Forensic Med Patlro/. 2003;24:361-363.                                          27. HuG, Wilcox HC, Wissow L, etal. Midlife-suicide: an increasing problem in
14.   Auwaeter V, Perdekamp MG, Kempf J, et al. Toxicological analysis after                   U. S.Whites, 1999-2005. Am J Prev Med. 2008;35:589-593.
      asphyxia! suicide with helium and a plastic bag. Forensic Sci Int. 2007; 170:        28. BarberC. Trends and rates in methods of suicide: United States, 1985-2004.
       139-141.                                                                                Harvard Injury Control Research Center (cbarberOhsph.harvard.edu). Report
IS.   Grassberger M, Krauskopf A. Suicidal asphyxiation with helium: Report of                 based on data from the Web-based Injury Statistics and Reporting System
      three cases. Wien Kiin Woclll!nsclrr. 2007; 119:323-325.                                 (WISQARS), National Center for Injury Prevention and Control, Centers fer
                                                                                               Disease Control and Prevention, U.S. Vital Statistics. Available at: http://
16.   Schon CA, Ketterer T. Asphyxia! suicide by inhalation of helium inside a                 www.cdc.gov/ncipc/wisqars.
      plastic bag. Am J Forensic Med Patho/. 2007;28:364-367.
                                                                                           29. Gould MS, Marrocco FA, Kleinman MS, etal. Evaluating iatrogenic risk of
17.   BamungSK, Feddersen C. Suicide by inhaling helium inside a plastic bag[ln                youth suicide screening programs: a randomized controlled trial. JAMA.
      Danish]. Ugeskr Laeger. 2004;166:3506-3507.                                              2005;293: 1635-1643.
18.   Recupero PR, Harms SE, Noble JM. Googling suicide: suicide information on            30. American Psychiatric Association.Practice guidelines for the assessment and
      the internet. J Clin Psyclriatry. 2008;69:878-888.                                       treatment of patients with suicidal behaviors. In: Practice Guidelines for the
19.   Tyson AS. Military investigates West Point suicides. Wasliington Post.                   Trealment of Psychiatric Disorders Compendium. 2nd ed. Arlington, VA:
      January 30, 2009.                                                                        American Psychiatric Association; 2004:835-1027.




8 I www.amjforensicmedicine.com                                   © 2010 Lippincott Williams & Wilkins
 Copyright© Lippincott Williams & Wilkins. Unauthorized reproduction of this article is prohibited.
                                                                                                                                    Exhibit 22 Page 101
           Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 509 of 534




Am f Forensic Med Pathol • Volume XX, Number X, XXX 2010                                   Suicide by Asphyxiation Due to Helium Inhalation



men who were relatively young (M age, 41.1; SD, I 1.6; range,                    Of particular concern, are recent national reports of notable
21-60; median, 40.0). In 6 of IO cases, decedents suffered from           increases in the prevalence of suicide due to suffocation (a category
significant psychiatric dysfunction; in 3 of these 6 cases, psychiatric   that includes deaths by plastic bag asphyxiation with or without
problems were present comorbidly with substance abuse. Medical            helium assistance as well as hanging and strangulation) since the
histories identified chronic pain, disability, and chronic pain asso-     1990s and especially since 2000. 25- 27 Such increases have been
ciated with injuries suffered in a motor vehicle accident, and            observed in respondents of widely varying ages, including adoles-
diabetes (with probable coronary artery disease in 3 decedents). One      cents, and both genders. Observers have noted that the reasons for
decedent was found with electrocardiogram leads attached to her           these increases are poorly understood, that declining rates of suicide
body, but autopsy and toxicological findings were negative for            observed in the 1990s have been largely reversed, and that recent
potential explanations for the death other than helium-assisted sui-      increases in suicides due to suffocation account for most of the
cide. In none of the I 0 cases were decedents suffering from terminal     recent overall increases in rates of suicide. 28 It is possible that
illness.                                                                  greater awareness of the plastic bag asphyxiation method and the
        Helium delivery devices were consistent with those recom-         enhanced lethality of the method when used with helium may
mended in Final Exit (eg, use ofT-valves, 2 helium tanks, Velcro          account for the significant increases in suicides due to suffocation
and other neck fasteners), and all were associated with use of a          reported since 2000.
plastic bag rather than mask.8 In 5 cases, a suicide note was found;             Given the national growth in adolescent, young adult, and
in 2 cases, a will was left; in I case, insurance papers were left; and   adult suffocation suicides since 2000, 25 •26 and relatively young age,
in 2 cases, right-to-die materials were found.                            psychiatric dysfunction, and absence of tenninal illness character-
        Autopsies were performed in a majority of cases and typically     istic of many identified cases, it is possible that many persons
revealed evidence of pulmonary vascular congestion and mild cere-         committing suicide by the helium method are neither hopelessly nor
bral edema. Ethanol and diphenhydramine were considered contrib-          terminally ill, but rather psychiatrically disordered. Although the
uting causes of death in 1 case each.                                     author of Final Exit cautions readers to be certain they are
                                                                          hopelessly ill, and not just depressed and to talk to their doctor, 8
                                                                          depressive illness and substance dependency often impair the
                       . DISCUSSION                                       very capacities required to make these assessments and undertake
        Despite reports identifying a plethora of prosuicide internet     these actions.
sites providing detailed instructions in methods of suicide including            Prospective studies are needed to better understand the prev-
helium-assisted asphyxiation, 18 media accounts of helium-assisted        alence, incidence, predictors, and characteristics of asphyxia! sui-
suicides, 19 - 21 and the recent arrests ofFinal Exit Network members     cides due to helium inhalation. It is important to learn more about
for allegedly assisting in asphyxia! suicides involving helium, 22        decedents' medical and psychiatric histories and the circumstances
scientific investigations of such suicides are largely absent from the    in which depressed and/or suicidal persons encounter descriptions of
medical literature. This dearth of information is unfortunate given       the helium method (eg, internet demonstrations of the process). At
the tragic consequences of such acts and because it is possible that      present, professionals working with persons at risk for suicide
suicides by the helium method are underestimated and increasingly         should routinely assess whether patients have read or viewed in-
common for reasons described later in the text.                           structional materials describing specific methods of suicide such as
        The methods by which helium-assisted suicides are carried         helium-assisted plastic bag asphyxiation. Inquiries of this nature do
out have been carefully detailed and widely publicized and the            not increase subsequent risk for suicide and can provide critically
approach is promoted as simple, painless, and quick.8 Materials           important information to guide appropriate preventative actions
needed for helium-assisted suicides are easily obtained and inexpen-      where indicated. 29•30 Medical examiners should also increase their
sive. One well-known internet vendor currently sells disposable           index of suspicion for suicides by asphyxiation associated with
helium tanks for less than $50, and reports that customers who             helium inhalation. Medical ethicists and the general public may also
bought helium tanks also often boughtthe book Final Exit. 23 Unless       want to carefully weigh the unintended adverse consequences of
there is a high index of suspicion for helium involvement in a death,      widely disseminated suicide methods likely to appeal to some
the death may be erroneously attributed to natural causes or under-        depressed persons (irrespective of their physical health status or age)
 lying illness because standard toxicological assays are unlikely to       against the putative benefits associated with making these methods
 detect helium and autopsy findings are generally nonspecific. 14016       more widely known and available.
Standard toxicological assays using GC/MS employ helium as the
 carrier gas and therefore cannot detect helium unless another gas                               ACKNOWLEDGMENTS
 (eg, nitrogen) is substituted for the helium. Auwaeter et al 14 and            T/ie authors thank P. Barnes, Administrative Services Man-
 Gallagher et al 13 developed useful methods of collecting, preserv-      ager, and other staff of tire North Carolina Office of the Cliief
 ing, and analyzing gas samples taken from decedents' for qualitative     Medical Examiner for tlreir assistance.
 detection of helium. In all North Carolina cases, helium-delivery
 devices were found at the death scene, and toxicological testing was                                   REFERENCES
 conducted in 9 of I 0 cases. However, it is possible that an unknown      I. Humphry D. Final Exit: 11re Practicalities of Self-Deliverance and Assisted
 number of such suicides went undetected, if and when helium-                 Suicide for the Dying. New York, NY: Delta; 1991.
 delivery devices and plastic bags were removed from the death             2. Cote R. In Search of Gentle Death: A Brief History of the NuTech Group. Mt
 scene prior to investigation. The author of Final Exit states that a         Pleasant, SC: Corinthian; 2008.
 person may choose to leave right-to-die materials to be found to          3. The most memorable books of the last 25 years: 25 booksthatleavea legacy.
 make an ethical statement that they are committing "rational sui-            April 9, 2007. Available at: http://www.usatoday.com.~ife/top25-books.htm.
                                                                              Accessed November 6, 2009.
 cide" or, conversely, make plans to have the helium delivery
                                                                           4. Sacks MH, Kemperman I. Final exit as a manual fa suicide in depressed
 apparatus and plastic bag removed following their death if they              patients. Anr J Psychiatry. 1992;149:842.
 prefer to keep the suicidal nature of the death concealed. 8 Toxico-      5. Marzuk PM, TardiffK. Hirsch CS, et al. Increase in suicide by asphyxiation
 logical testing for helium has been conducted at the NCOCME in               in New York City after the publication of final exit N Engl J Med.
 suspected cases since 2003 by a novel testing procedure using a dual         1993;329: 1508-1510.
 cell thermal conductivity detector.24                                     6. Marzuk PM, Tardiff K, Leon AC. Increase in fatal suicidal poisonings and


© 2010 Lippincott Williams & Wilkins                                                                      www.amjforensicmedicine.com               I   7
 Copyright© Lippincott Williams & Wilkins. Unauthorized reproduction of this article is prohibited.
                                                                                                                         Exhibit 22 Page 102
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 510 of 534




                     Report on Study of Methods of Execution &
                        Recommendations for Procedures

       Submitted by: Louisiana Department of Public Safety & Corrections

                                   February 18, 2015

House Resolution 142 of the 2014 Regular Legislative Session was enrolled and signed
by the Speaker of the House on June 5, 2014 to study and make recommendations
relative to the different forms of execution and the methods of execution to determine
the best practices for administering the death penalty in the most humane manner.

The Secretary of the Louisiana Department of Public Safety and Corrections, James Le
Blanc, chaired this work and held an organizational meeting on July 22, 2014 to
organize a study committee to conduct this work. At that time, he assigned the
following individuals to serve on the committee:

Burl Cain, Warden, Louisiana State Penitentiary
William Kline, Executive Counsel, DPS&C Legal Department
Seth Smith, Chief of Operations, DPS&C Office of Adult Services
Stephanie LaMartinere, Assistant Warden, Louisiana State Penitentiary
Bruce Dodd, Deputy Warden, Louisiana State Penitentiary
James Hilburn, Attorney, Shows Cali & Walsh, LLP
Jeff Cody, Attorney, Shows Cali & Walsh, LLP
Angela Whittaker, Executive Mgmt Officer, DPS&C Secretary's Office

The committee met on the following dates:

August 11, 2014: Planning meeting to develop resource and research r'leeds of the
group.

September 2, 2014: Report and discussion on research findings.

October 31, 2014: Report and discussion regarding identifying experts and discussion
on additional research compiled.

December 4, 2014: Report and discussion regarding research and protocol options and
drafting the required written report.

January 8, 2015: Review of research and draft report and consensus on
recommendations for protocol options.

January 22, 2015: Review and approval final report.



         Study Response to HR 142 of the Louisiana 2014 Regular Legislative Session
                                         Page 12


                                                                             Exhibit 23 Page 1
        Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 511 of 534



Background:

Capital punishment, or the death penalty, is a sentence used in the justice process
whereby an offender is put to death as punishment for a crime he/she committed. The
death penalty in the United States is a legal sentence and states determine whether the
death penalty will be used as a form of punishment for crimes committed within their
borders.

In Louisiana, the death penalty may be applied in cases involving first degree murder, a
violation of La. R.S. 14:30, in circumstances such as:

 (1)   The murder was committed during the commission of or attempt of, a specified
       felony such as aggravated kidnapping, second degree kidnapping, aggravated
       escape, aggravated arson, aggravated rape, forcible rape, aggravated burglary,
       armed robbery, assault by drive-by shooting, first degree robbery, second degree
       robbery, simple robbery, terrorism, cruelty to juveniles, or second degree cruelty
       to juveniles.

 (2)   The murder was committed while the defendant was engaged in "ritualistic acts."

 (3)   The murder was committed for pecuniary gain or pursuant to an agreement that
       the defendant would receive something of value.

 (4)   The defendant caused or directed another to commit murder, or the defendant
       procured the commission of the offense by payment, promise of payment, or
       anything of pecuniary value.

 (5)   The defendant has been convicted of, or committed, a prior murder, a felony
       involving violence, or other serious felony.

 (6)   The capital offense was committed by a person who is incarcerated, has
       escaped, is on probation, is in jail, or is under a sentence of imprisonment.

 (7)   The defendant was a drug dealer or has prior convictions involving the
       distribution of a controlled substance.

 (8), The victim was under the age of 12 years.

 (9)   The victim was 65 years or older.

 (1 O) The victim was a fireman, peace officer, or correctional officer engaged in his
       lawful duties.




         Study Response to HR 142 of the Louisiana 2014 Regular Legislative Session
                                           Pag~   13
                                                                              Exhibit 23 Page 2
   Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 512 of 534




 (11) The victim was a witness in a prosecution against the defendant, gave material
      assistance to the state in any investigation or prosecution of the defendant, or
      was an eyewitness to a crime alleged to have been committed by the defendant
      or possessed other material evidence against the defendant.

 (12) The murder was especially heinous, atrocious, cruel or depraved (or involved
      torture).

Before a jury.may impose the death penalty it must consider whether there were any
mitigating circumstances against imposing the death penalty. Louisiana Code of Criminal
Procedure Art. 905.5 provides for the following mitigating circumstances:

 (a)    The offender has no significant prior history of criminal activity;

 (b)    The offense was committed while the offender was under the influence of
        extreme mental or emotional disturbance;

 (c)    The offense was committed while the offender was under the influence or
        under the domination of another person;

 (d)    The offense was committed under circumstances which the offender
        reasonably believed to provide a moral justification or extenuation for his
        conduct;

 (e)    At the time of the offense the capacity of the offender to appreciate the
        criminality of his conduct or to conform his conduct to the requirements of
        law was impaired as a result of mental disease or defect or intoxication;

 (f}    The youth of the offender at the time of the offense;

 (g)    The offender was a principal whose participation was relatively minor;

  (h)   Any other relevant mitigating circumstance.

Pursuant to La. R.S. 15:569 and 570, every sentence of death executed on or after
September 15, 1991, shall be by lethal injection, that is, by the intravenous injection of a
substance or substances in a lethal quantity into the body of the offender until such
person is dead.

Including Louisiana, there are currently 34 states that authorize the death penalty. Most
all of these states have adopted lethal injection as the primary means of implementing
the death penalty. While 18 of those states have solely authorized lethal injection as the
execution method, the rest of the states that impose the death penalty have also set
forth alternative methods of execution such as electrocution, lethal gas, hanging, and
the use of firing squads. The methods of execution for each such state are set forth in
the chart below.


           Study Response to HR 142 of the Louisiana 2014 Regular Legislative Session
                                           Page 14
                                                                              Exhibit 23 Page 3
           Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 513 of 534



Research from Other Capital Punishment States:

                         c
                         0           c          ...cu                                                   "O
                                                                                                                                         c
                                                                                                                                        z0
                                                                       "Cl                                    Ill
                        zu           0                                 (ti                              c     cu

                        ·--
                         cu
                                    ':;;
                                     =
                                     u
                                                .D
                                                E
                                                             bD
                                                             c
                                                            'iiQ
                                                                       =
                                                                       er
                                                                                                        (ti
                                                                                                         ~    ·=>                        ~      Ill
                         c
                        iii
                                     ...
                                     0
                                    ....u
                                                (ti
                                                ..c
                                                u
                                                            c
                                                            (ti
                                                            J:
                                                                       U')
                                                                       bD
                                                                        c
                                                                       ·;:
                                                                                                        "Cl
                                                                                                        0
                                                                                                        ..c
                                                                                                              (ti
                                                                                                              c
                                                                                                              ...
                                                                                                         .... cu
                                                                                                                                        -
                                                                                                                                        ·c- llO
                                                                                                                                            :::i

                                                                                                                                        iii 0
                                                                                                                                                ...
                        ..c
                         ....        cu         Ill
                                                (ti                                                     cu~                             ..c
                                                                                                                                         ....
                                    i:i:j       c:i                    u:::                             :?: <                            cu
                        ~                                                                                                               ~
       State
                                                                               Lethal injection, unless
                                                                                                                    500 mg - midazolam
                                                                               inmate affirmatively selects
                                                                                                                    hydrochloride; 600 mg-
     Alabama            x           x                                          electrocution
                                                                                                                    rocuronium bromide; 240
                                                                                                                    milliequivalents -
                                                                                                                    potassium chloride
                                                                                                                    midazlam/
                                                                               Lethal injection; inmate
                                                                                                                    hydromorphone
     Arizona            x                       x                              sentenced on or before
                                                                               11/15/92 may choose lethal
                                                                               injection or lethal gas                                                I
                                                                                                                    Statute specifies a
                                                                              Lethal injection, but
                                                                                                                    barbituate preceded by a
     Arkansas           x           x                                         electrocution if lethal
                                                                                                                    benzodiazepine
                                                                              injection declared
                                I                                             unconstitutional
                                                                               Lethal gas or lethal injection
    California          x                       x                              may be chosen by inmate; if
                                                                               inmate fails to choose either
                                            I                                  method, then lethal injection
                                                                                                                    Statute specifies sodium
                        x
I    Colorado
                                I           I                                  Lethal injection                     thiopental or equivalent          I
I   Connecticut         x       I           I                                  Lethal injection                                                       I
I    Delaware      I    x       I           I                                  Lethal injection                                                       I
                                                                               Lethal injection, unless
                                                                               inmate affirmatively selects
                                                                               electrocution; if both
      Florida           x           x
                                                                               deemed unconstitutional,
                                                                               then any constitutional
                                                        I                      method
I     Georgia       I   x       I           I           I                      Lethal injection                                                       I
I      Idaho        I   x       I           I           I                      Lethal injection                                                       I
l     Indiana       I   x       I           I           I                      Lethal injection                                                       I
I     Kansas        l   x       I           I           I          I          . Lethal injection                                                      I
                                                                               Lethal injection; inmates
     Kentucky           x           x                                          sentenced on or before
                                                                               3/31/98 may choose lethal
I                                                                              injection or electrocution



               Study Response to HR 142 of the Louisiana 2014 Regular Legislative Session
                                               Page IS

                                                                                                                           Exhibit 23 Page 4
          Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 514 of 534




                      c
                      0       c              ...
                                             CLI                   't:I                                 't:I   Ill
                                                                                                                                                c
                                                                                                                                                0
                     ~        0             .c                      ra                                   C     CL1                             ~
                      u      ~                          1111        :::s                                 ra >                                   u

                     ·-
                     =
                      CLI     :::s
                              u
                             ....u...
                              0
                                             E
                                             ra
                                            .s::.
                                             u
                                                        c
                                                        ·;a
                                                        c
                                                                    C'
                                                                   I.I)
                                                                    1111
                                                                                                         Ill ~
                                                                                                        't:I ra
                                                                                                         0 c
                                                                                                        .s::. ...
                                                                                                                                               ·-=c...
                                                                                                                                                CLI    Ill
                                                                                                                                                       1111
                                                                                                                                                       :::s


      State
                     ..
                     iij
                     .s::.
                      CLI
                     -'
                              CLI
                             jjj            ~
                                             Ill
                                             ra
                                                        ra
                                                        ::c         c
                                                                   ·.:
                                                                   u:::                                 2
                                                                                                         ..., CLI
                                                                                                         CLI ~
                                                                                                               <t                              ..
                                                                                                                                               iij
                                                                                                                                               .s::.
                                                                                                                                                CLI
                                                                                                                                               .....


I
     Louisiana      ,x
                                        I           I          I           I Lethal injection                        I   midazlam/hydromorphone
                                                                               Lethal injection
                                                                                                                         Statute specifies an ultra
    Mississippi      x                                                                                                   short-acting barbituate in
                                                                                                                         combination with a
                                                                                                                         paralytic agent
I    Missouri        x                  I   x       I          I           I Lethal gas or lethal injection I
                                        I                                      Lethal injection
                                                                                                                         Statute specifies an ultra-
     Montana         x                                                                                                   fast-acting barbituate in
                                                                                                                         combination with a
                                                                                                                         chemical paralytic agent
I    Nebraska        x                              I          I           I Lethal injection                        I                                        I
I    Nevada          x                                         I           I Lethal injection                        I                                        I
                                                                                                                         Statute specifies an
      New
                     x                                  x
                                                               I                                                         ultrashort-acting
    Hampshire                                                                  Lethal injection; but may be              barbituate in combination
                                                                               by hanging if lethal injection            with a chemical paralytic
                                                                               deemed "impractical"                      agent

                                                                               Lethal injection, but only for
    New Mexico       x                                                         crimes committed prior to
                                                                               July 1, 2009; otherwise,
                                                                               capital punishment repealed
      North                                                                I
                     x
I    Carolina                                                                  Lethal injection                                                               I
                                                                                                                         midazlam/
I      Ohio          x
                                                                               Lethal injection
                                                                               Lethal injection; but
                                                                                                                         hydromorphone
                                                                                                                         midazlam/
                                                                                                                                                              I
                                                                               electrocution if lethal                   hydromorphone
                                                                               injection held
                                                                               unconstitutional; if both
     Oklahoma        x       x                                     x
                                                                               lethal injection and
                                                                               electrocution held
                                                                           I   unconstitutional, then firing
                                                                               squad




              Study Response to HR 142 of the Louisiana 2014 Regular Legislative Session
                                              Page 16

                                                                                                                                 Exhibit 23 Page 5
        Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 515 of 534




                    c
                    0       c         ...
                                      QJ                  'ti                                  'ti
                                                                                               c
                                                                                                     Ill
                                                                                                                                      c
                                                                                                                                      0
                    ·;:     0        .a                    Ill                                       QJ                              ·;:
                    u      ~                    tlO        ::s                                 Ill    >
                    ·-
                    QJ

                    .5
                    ni
                            ::s
                            u
                           ......u
                            0
                                      E
                                      Ill
                                     ..c
                                     u
                                                 c
                                                '60
                                                 c
                                                Ill
                                                :c
                                                           C'
                                                          Ill
                                                           tlO
                                                           c
                                                                                               flt
                                                                                               'ti
                                                                                               0
                                                                                              ..c
                                                                                               ...
                                                                                                   c
                                                                                                     '+:i
                                                                                                   ...
                                                                                                   QJ
                                                                                                      Ill
                                                                                                                                      ~
                                                                                                                                     - c...
                                                                                                                                     ·c- ::s

                                                                                                                                     ni
                                                                                                                                         tlO
                                                                                                                                            Ill




                    ...
                    ..c
                    QI
                    ...I
                            QJ
                           Li:i
                                     Ill
                                     Ill
                                     l!:J
                                                          ·;:
                                                          u:
                                                                                               QJ
                                                                                               ~<
                                                                                                     ~                               ..c
                                                                                                                                     ....
                                                                                                                                      QI
                                                                                                                                     ...I
     State
                                                                     Lethal injection
                                                                                                            Statute specifies an ultra-
                                                                                                            short-acting barbituate in
    Oregon          x                                                                                       combination with a
                                                                                                            chemical paralytic agent
                                                                                                            and potassium chloride
                                                                     Lethal injection
                                                                                                            Statute specifies an
                                                                                                            ultrashort-acting
 Pennsylvania       x                                                                                       barbituate in combination
                                                                                                            with chemical paralytic
                                            I                                                               agents

                                                                     Electrocution, but inmate
                                                                     may choose lethal injection;
                                                                     if fails to choose either, then
                                                                     lethal injection; but if
    South
                    x      x                                         convicted prior to date of
   Carolina
                                                                     statute, then electrocution
                                                                     unless chooses lethal
                                                                     injection; if lethal injection
                                                                 I   held unconstitutional, then
                                                                     electrocution
I South Dakota      x                                            I Lethal injection                                                               I
                                                                     Lethal injection; but
                                                                     offender, whose capital
                                                                     offense occurred prior to
                                                                     1/1/99, may choose
   Tennessee        x      x
                                                                     electrocution; if those
                                                                     methods deemed
                                                                     unconstitutional, then use
                                            I I                      any constitutional method
     Texas          x                       I         I              Lethal injection                       I
                                                                     Lethal injection; but firing               Statute specifies that one
                                                                     squad if court determines                  of the intravenous
                                                                     inmate has a right to this                 injections shall be sodium
     Utah           x                                     x          alternative; if lethal                     thipoental or equivalent
                                                                     injection is held
                                                                     unconstitutional, then firing
                                                                     squad




             Study Response to HR 142 of the Louisiana 2014 Regular Legislative Session
                      1
                                             Page 17

                                                                                                                       Exhibit 23 Page 6
         Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 516 of 534




                 c
                 0      c      ...
                               QI                                            "O       Ill
                                                                                                                   c
                                                                                                                   0
                ·~      0     ..Q                                             c       QI                          ;;
                ....c
                 1.1
                        ·~    E
                                      bD

                                     ·=cc                                     "' +:i
                                                                                 >
                                                                                                                  -iiicM ."':s
                 QI                                                           Ill
                        1.1   (II                                                                                 .... tlO
                        e
                        tj
                              .c
                              u      11:1
                                                                             "O
                                                                              0  c
                                                                                 "'
                                                                             .c ...                                      0
                        QI
                              Ill
                              (II
                                     ::r:                                     ....
                                                                               QI
                                                                                      QI
                                                                                     .::!                         .c
    State
                        w     (!:I                                            :?i    ~                             ~
                                                                                                                  ..I


                                                    Inmate may choose lethal
   Virginia     x       x                           injection or electrocution; if
                                                    refuses to choose, then
                                                    lethal injection
                                                    Lethal injection, unless
 Washington     x                    x
                                                    inmate chooses hanging
                                                    Lethal injection; if lethal             Statute specifies an ultra-
                                                    injection is held                       short-acting barbituate,
                                                    unconstitutional, then lethal           alone or in combination
                                                    gas.                                    with a chemical paralytic
                                                                                            agent and potassium
  Wyoming       x             x             *       *Wyoming Senate recently                chloride
                                                    approved legislation that
                                                    allows for the use of a firing
                                                    squad. Concurrence is
                                                    pending by the House.



It may be noted that the basis for utilizing a particular method of execution is not
necessarily uniform among the states that offer more than one execution method. In
some states, lethal injection is the primary execution method unless it should be
declared unconstitutional, in which case the statute next provides for an alternate
method, or a series of alternate methods in the event a successive method should be
deemed unconstitutional. In other states, the condemned inmate is actually given a
choice between lethal injection and another alternate method of execution.

In Louisiana, between 1919 and May 21, 1957, executions were conducted by the local
parish law authorities. Prior to August 6, 1941, the penalty in Louisiana was carried out
by hanging. The last hanging in Louisiana was on March 7, 1941. Between August 6,
1941 and June 9, 1961, executions were performed by electrocution in the electric
chair. Between 1941 and 1957, a portable electric chair was transported from parish to
parish in order that the death penalty could be administered in the parish where the
crime was committed. After 1957, the State became responsible for administering the
death penalty. Prior the reinstatement of capital punishment, the last death in the
electric chair was on June 9, 1961.

In 1967, there was a rising tide of litigation against the death penalty. Federal courts
suspended all executions pending a final decision by the U.S. Supreme Court. In 1972,
the U.S. Supreme Court struck down all capital punishment laws as unconstitutional. All
individuals under death sentenced at that time were re-sentenced to life in prison.


         Study Response to HR 142 of the Louisiana 2014 Regular Legislative Session
                                         Paue 18
                                                '    -
                                                                                                     Exhibit 23 Page 7
         Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 517 of 534




 Effective October 1, 1976, the new Louisiana death penalty statute was adopted. The
state's death penalty law was again revised in 1978, specifying that the sentencing
judge must sign the death warrant rather than the governor. Capital punishment was
reinstated in Louisiana on June 29, 1979.

In 1990, the legislature approved the use of lethal injection for those sentenced after
January 1, 1991. In 1991, the legislature provided that every death sentence executed
after September 15, 1991 would be by lethal injection. Since the reinstatement of the
death penalty in 1979, there have been 28 executions performed, 20 by electrocution
and 8 by lethal injection. The last one was on January 7, 2010.

The death penalty has risen to the forefront of national headlines recently due to the
shortage of drugs historically used in the lethal injection process. States continuing to
carry out executions have been forced to obtain drugs from other sources or substitute
drugs normally used in the process. The alternatives have provided inmates with new
grounds for appeal as they request transparency regarding execution methods.

To date, Louisiana has 85 offenders in custody who have been sentenced to death.

Study:

This study was conducted by reviewing available scientific, technical and safety
literature related to various methods of execution. It is not intended to express an
opinion about Louisiana's law for administration of capital punishment.

Lethal Injection Protocols:

Through February 2011, Louisiana had in place a three drug protocol which included 3
gm sodium thiopental, 50 mg pancuronium bromide and 240 meq potassium chloride.

In February 2011, after lawsuits, international trade restrictions and raw materials
shortages complicated the market for drugs used in executions and the lack of
availability of sodium thiopental, a decision was made to modify the three 3 drug
protocol to use pentobarbital in lieu of sodium thiopental. This decision was based on
experiences in Oklahoma using pentobarbital and the use of it being upheld in the
United State District Court in the Western District of Oklahoma. Base on the change,
the protocol then called for 1 gm of Pentobarbitol, 50 mg pancuronium bromide and 240
meq potassium chloride.

In January 2014, the protocol was again updated to provide two options for lethal
injection. They are:

   A) 5 gm of Pentobarbital or
   B) 10 mg of Midazolam and 40 mg of Hydromorphone




         Study Response to HR 142 of the Louisiana 2014 Regular Legislative Session
                                         Page 19

                                                                               Exhibit 23 Page 8
       Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 518 of 534



Recommended Protocols:

  A. Lethal Injection

     We are recommending for consideration a lethal injection protocol that calls for
     the use of a one drug protocol utilizing 5 gm of Pentobarbital injected
     intravenously (IVP). This protocol has been used in numerous states, including
     Texas, as a one drug method. The availability of this drug to Departments of
     Corrections is however severely hampered and there could be issues obtaining
     a supply of Pentobarbitol or any other drug to be used for lethal injection. Drug
     suppliers have refused to sell drugs to the prison systems for use in executions
     and other entities have refused to sell to Louisiana DOC. It is this committees
     understanding that suppliers have threatened providers with no longer supplying
     the drugs to their businesses if they in turn sell to correctional agencies for the
     purpose of lethal injection. As a result, suppliers fear the backlash of bad
     publicity to their businesses if involved in providing the drugs to correctional
     agencies.

     This committee also recommends reconsideration of a bill that combines the
     language from the original and amended versions of House Bill 328 of the 2014
     Legislative Session authored by Representative Lopinto. The attached draft
     legislation (Appendix A) amending LA R.S. 15:569 outlines what is needed to
     allow for the recommendations within this report and will provide for the
     confidentiality of information related to the execution of a death sentence. The
     amended version of the prior bill stated that "The name, address, qualifications,
     and other identifying information of any person or entity that manufactures,
     compounds, prescribed, dispenses, supplies or administers the drugs or supplies
     utilized in an execution shall be confidential, shall not be subject to disclosure,
     and shall not be admissible as evidence or discoverable in any action of an kind
     in any court or before any tribunal, board, agency, or person. The same
     confidentiality and protection shall also apply to any person who participates in
     an execution or performs any ancillary function related to an execution and shall
     include information contained in any department records, including electronic
     records, that would identify any such person." Such legislation would provide
     some security to those tasked to and involved in carrying out the state's order to
     execute an individual as punishment for a qualifying crime.

     It should also be noted that the U.S. Supreme Court will consider in April whether
     a multi-drug protocol used in recent lethal injections in other states violates the
     Constitution with regard to cruel and unusual punishment.

  B. Induced Hypoxia via Nitrogen

     It is the recommendation of this study group that hypoxia induced by the
     inhalation of nitrogen be considered for adoption as an alternative method of
     administering capital punishment in the State of Louisiana.


       Study Response to HR 142 of the Louisiana 2014 Regular Legislative Session
                                      Page 110

                                                                             Exhibit 23 Page 9
         Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 519 of 534




       It is important to note that the recommendation would induce hypoxia, which is a
       deficiency of oxygen reaching the tissues of the body. In nitrogen induced
       hypoxia, there is no buildup of carbon dioxide in the bloodstream so the subject
       passes out when the blood oxygen falls too low. The research reviewed
       suggests that this method would be the most humane method and would not
       result in discomfort or cruel and unusual punishment to the subject.

       Though the exact protocol and nitrogen delivery device have not been finalized, it
       has been determined that a Gas Chamber would not be used. Options for the
       nitrogen delivery device include a mask or a device similar to an oxygen tent
       house (small clear oxygen tent covering only the head and neck area). Research
       as to the best method of delivery is ongoing.

      Oklahoma has recently filed similar legislation to allow for induced hypoxia (refer
      to Appendix B). Also, you will find attached the Executive Summary (Appendix
      C) of the research conducted in Oklahoma that supports this method as a
      humane method which does not require the assistance of licensed medical
      professionals. We have also attached the documents (Appendix D) which make
      up the research used in Oklahoma by this committee in developing this
      recommendation. This method is believed to be simple to administer and
      nitrogen is readily available.


Conclusion:

This committee submits this study response' to House Resolution 142 of the 2014
Regular Legislative Session to make recommendations to consider relative to the
different forms of execution and the methods of execution upon agreement that the
above considerations represent the best practices for administering the death penalty in
the most humane manner. There are two sides to the debate on the death penalty.
Proponents believe that the death penalty reduces crime and provides safe
communities, while also honoring the victim and those left behind who grieve a loss.
Opponents believe that the cost of capital punishment doesn't justify the outcome, that it
does not deter crime, and that there are social injustices that are not addressed that
make justice system inequitable. As a whole, this committee takes no stand on either
side of this debate, but submits this response based on the request for this study and
the research and materials available to the group.

We close reminding readers that many are directly impacted by the process of capital
punishment: the victim, the victim's friends and family; law enforcement; the judiciary,
the prosecutor, the defense attorney, the jurors, the public, the offender, the offender's
family, and the staff tasked to carry out the protocol, to name just a few. We understand
that the decision to act on these recommendations for consideration is an enormous
task before you that cannot be taken lightly. We trust that we have provided the
information you needed to consider Louisiana's options.


         Study Response to HR 142 of the Louisiana 2014 Regular Legislative Session
                                        Page 111


                                                                             Exhibit 23 Page 10
            Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 520 of 534




Amendment to LSA-R.S. 15:569                                Appendix A
**Delete current Sections A and B; rewrite statute to read as follows:

Section 1. R.S. 15:569 is hereby amended to read as follows:

§569. Place for execution of death sentence; manner of execution; confidentiality

     Every sentence of death executed in this state on or after August 1, 2015, shall be
conducted by either of the following methods:

      (I) Lethal injection, which is the intravenous injection ?fa substance or substances in a
          lethal quantity into the body of a person convicted until such person is dead.
          Execution by lethal injection shall be pennitted in accordance with procedures
          developed by the department.
      (2) Induced hypoxia via nitrogen or an inert gas, which is the administration of gas in a
          lethal quantity upon the body of a person convicted until such person is dead.
          Execution by nitrogen or inert gas shall be pennitted in accordance with procedures
          developed by the department.
   A. The method of execution shall be chosen by the secretary of the department based upon
      the availability of the department to administer the lethal injection or induced hypoxia.
   B. Every sentence of death imposed in this state shall be executed at the Louisiana State
      Penitentiary at Angola. Every execution shall be made in a room entirely cut off from
      view of all except those pennitted by law to be in that room.
   C. No licensed health care professional shall be compelled to administer the lethal injection
      or induced hypoxia.
   D. The name, address, qualifications, and other indentifying infonnation of any person or
      entity that manufactures, compounds, prescribes, dispenses, supplies, or administers the
      drugs or supplies utilized in an execution shall be confidential, shall not be subject to
      disclosure, and shall not be admissible as evidence or discoverable in any action of any
      kind in any court or before any tribunal, board, agency, or person. The same
       confidentiality and protection shall also apply to any person who participates in an
       execution or perfonns any ancillary function related to an execution and shall include
       infom1ation contained in any department records, including electronic records, that would
       identify any such person.
   E. The provisions of the Administrative Procedure Act, R.S. 49:950, et seq., shall not apply
       to the procedures and policies concerning the process for implementing a sentence of
       death.
                                                                          Exhibit 23 Page 11
          Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 521 of 534




 1                               STATE OF OKLAHOI    Appendix 8
 2                   1st Session of the 55th Legislature (2015)

 3   HOUSE BILL 1879                        By:    Christian

 4

 5

 6                                 AS INTRODUCED

 7            An Act relating to criminal procedure; amending 22
              O.S. 2011, Section 1014, which relates to the manner
 8            of inflicting punishment of death; providing
              alternative method for inflicting punishment of
 9            death; and providing an effective date.

10

11

12   BE IT ENACTED BY THE PEOPLE OF THE STATE OF OKLAHOMA:

13       SECTION 1.       AMENDATORY      22 O.S. 2011, Section 1014, is

14   amended to read as follows:

15       Section 1014.    A.   The punishment of death shall be carried out

16   by the administration of a lethal quantity of a drug or drugs until

17   death is pronounced by a licensed physician according to accepted

18   standards of medical practice.

19       B.   If the execution of the sentence of death as provided in

20   subsection A of this section is held unconstitutional by an

21   appellate court of competent jurisdiction or is otherwise

22   unavailable, then the sentence of death shall be carried out by

23   nitrogen hypoxia.

24


     Req. No. 6354                                                           Page 1
                                                                  Exhibit 23 Page 12
        Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 522 of 534




 1       C.   If the execution of the sentence of death as provided in

 2   subsection subsections A and B of this section is held

 3   unconstitutional by an appellate court of competent jurisdiction or

 4   is otherwise unavailable, then the sentence of death shall be

 5   carried out by electrocution.

 6       &;- D.   If the execution of the sentence of death as provided in

 7   subsections A    afl€l:.!...   B and C of this section is held unconstitutional

 8   by an appellate court of competent jurisdiction or is otherwise

 9   unavailable, then the sentence of death shall be carried out by

10   firing squad.

11       SECTION 2.        This act shall become effective November 1, 2015.

12

13       55-1-6354                  GRS    01/20/15

14

15

16

17

18

19

20

21

22

23

24


     Req. No. 6354                                                                 Page 2

                                                                     Exhibit 23 Page 13
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 523 of 534




                                                      Exhibit 24 Page 1
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 524 of 534




                                                  Exhibit 24 Page 2
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 525 of 534



                                                       Exhibit 10




                           Midazolam
                           Infection, USP




                                                       Exhibit 25 Page 1
        Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 526 of 534




-
0
.....
:.0
:cx
w




                                                              Exhibit 25 Page 2
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 527 of 534



                                                       Exhibit 10




                                                      Exhibit 25 Page 3
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 528 of 534



                                                        Exhibit 10




                                                       Exhibit 25 Page 4
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 529 of 534



                                                       Exhibit 10




                                                       Exhibit 25 Page 5
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 530 of 534




                                                       Exhibit 25 Page 6
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 531 of 534



                                                       Exhibit 10




                                                       Exhibit 25 Page 7
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 532 of 534



                                                       Exhibit 10




                    ... ~.




                                                       Exhibit 25 Page 8
Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 533 of 534




                                                                     Q)
                                                                     Cl
                                                                     Cll
                                                                     a_
                                                                     c.o
                                                                     N
                                                                     ~
                                                                     :cx
                                                                     w
     Case 4:17-cv-00179-KGB Document 2-2 Filed 03/27/17 Page 534 of 534




I!

I
l



I
 I

                                           eqhll:kes      .·
                   paceJor.eii:ecutipllS was .till~ . .1 ;Acc§idmk·toJJi.~)$CiVet;:
                   ~ bne·clatonAug:3, 19!14•. and·'n8i;'s•procliimations,•.tli~ex·
                   Jan; 8,}99Z.       .           i ... ecutions are .sChedttled to be
                  •.. De          .entof Correction: citrriedoutasfollows: ••·
                  •aata:       ilJ.at;l89 ~~!Jili'. • .Qo,n !D~yi.s and Bruce.Ea!"!.
                                    b~enexefu!e<i:m\:Wf::ih:l;April.17• , . S • ·•· · ,:.•
                                                               a, Ii~d~Jle L.ee a,~d .·Stacey
                                            · e.most ·~~~W1~·ita]a~k ·
                   ~~~~~IB!~efi6Y:~~ ~1:~z~:~~~lt~;k~~
                   1930. The Il).~"exeaffi\d'!-Yi\filii        neth wtlliamS;':April 27. r . .


                                                                                                 Exhibit 26 Page 2
